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                                         Nos. 25-3030, 25-3034, 25-3293


                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


               AMERICAN FEDERATION OF GOVERNMENT EMPLOYEES, AFL-CIO,
                                       et al.,
                                               Plaintiffs-Appellees,
                                                           v.
                  DONALD J. TRUMP, in his official capacity as President of the United States, et al.,
                                                          Defendants-Appellants.

                                 On Appeal from the United States District Court
                                     for the Northern District of California


               In re DONALD J. TRUMP, in his official capacity as President of the United States, et al.,
                                                          Petitioner.

                     On Petition for Writ of Mandamus to the United States District Court
                                     for the Northern District of California


                  ADDENDUM TO SUPPLEMENTAL EMERGENCY MOTION
              FOR STAY PENDING APPEAL/PETITION FOR WRIT OF MANDAMUS


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          15                                  UNITED STATES DISTRICT COURT
          16                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
          17                                      SAN FRANCISCO DIVISION
          18     AMERICAN FEDERATION OF                              Case No.
          19     GOVERNMENT EMPLOYEES, AFL-CIO;
                 AMERICAN FEDERATION OF STATE                        COMPLAINT FOR DECLARATORY AND
          20     COUNTY AND MUNICIPAL EMPLOYEES,                     INJUNCTIVE RELIEF
                 AFL-CIO; SERVICE EMPLOYEES
          21     INTERNATIONAL UNION, AFL-CIO;
                 AFGE LOCAL 1122; AFGE LOCAL 1236;
          22     AFGE LOCAL 2110; AFGE LOCAL 3172;
          23     SEIU LOCAL 1000; ALLIANCE FOR
                 RETIRED AMERICANS; AMERICAN
          24     GEOPHYSICAL UNION; AMERICAN
                 PUBLIC HEALTH ASSOCIATION;
          25     CENTER FOR TAXPAYER RIGHTS;
                 COALITION TO PROTECT AMERICA’S
          26
                 NATIONAL PARKS; COMMON DEFENSE
          27     CIVIC ENGAGEMENT; MAIN STREET
                 ALLIANCE; NATURAL RESOURCES
          28     DEFENSE COUNCIL, INC.; NORTHEAST

                COMPLAINT, No.
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           1     ORGANIC FARMING ASSOCIATION,
                 INC.; VOTEVETS ACTION FUND INC.;
           2     WESTERN WATERSHEDS PROJECT;
                 COUNTY OF SANTA CLARA,
           3
                 CALIFORNIA; CITY OF CHICAGO,
           4     ILLINOIS; MARTIN LUTHER KING, JR.
                 COUNTY, WASHINGTON; HARRIS
           5     COUNTY, TEXAS; CITY OF BALTIMORE,
                 MARYLAND; and CITY AND COUNTY OF
           6     SAN FRANCISCO, CALIFORNIA
           7             Plaintiffs,
           8
                    v.
           9
                 DONALD J. TRUMP, in his official capacity
          10     as President of the United States;
                 UNITED STATES OFFICE OF
          11     MANAGEMENT AND BUDGET;
          12     RUSSELL VOUGHT, in his official capacity
                 as Director of U.S. Office of Management and
          13     Budget;
                 UNITED STATES OFFICE OF PERSONNEL
          14     MANAGEMENT;
                 CHARLES EZELL, in his official capacity as
          15     Acting Director of the U.S. Office of Personnel
          16     Management;
                 DEPARTMENT OF GOVERNMENT
          17     EFFICIENCY;
                 ELON MUSK, in his official capacity as the
          18     actual head of the Department of Government
                 Efficiency;
          19     AMY GLEASON, in her official capacity as
          20     the titular Acting Administrator of the
                 Department of Government Efficiency;
          21     UNITED STATES DEPARTMENT OF
                 AGRICULTURE;
          22     BROOKE ROLLINS, in her official capacity
                 as Secretary of the U.S. Department of
          23
                 Agriculture;
          24     UNITED STATES DEPARTMENT OF
                 COMMERCE;
          25     HOWARD LUTNICK, in his official capacity
                 as Secretary of the U.S. Department of
          26     Commerce;
                 UNITED STATES DEPARTMENT OF
          27
                 DEFENSE;
          28     PETE HEGSETH, in his official capacity as

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           1     Secretary of the U.S. Department of Defense;
                 UNITED STATES DEPARTMENT OF
           2     ENERGY;
                 CHRIS WRIGHT, in his official capacity as
           3
                 Secretary of the U.S. Department of Energy;
           4     UNITED STATES DEPARTMENT OF
                 HEALTH AND HUMAN SERVICES;
           5     ROBERT F. KENNEDY JR., in his official
                 capacity as Secretary of the U.S. Department
           6     of Health and Human Services;
                 UNITED STATES DEPARTMENT OF
           7
                 HOMELAND SECURITY;
           8     KRISTI NOEM, in her official capacity as
                 Secretary of the U.S. Department of Homeland
           9     Security;
                 UNITED STATES DEPARTMENT OF
          10     HOUSING AND URBAN DEVELOPMENT;
          11     SCOTT TURNER, in his official capacity as
                 Secretary of the U.S. Department of Housing
          12     and Urban Development;
                 UNITED STATES DEPARTMENT OF
          13     JUSTICE;
                 PAM BONDI, in her official capacity as
          14     Attorney General of the U.S. Department of
          15     Justice;
                 UNITED STATES DEPARTMENT OF THE
          16     INTERIOR;
                 DOUG BURGUM, in his official capacity as
          17     Secretary of the U.S. Department of the
                 Interior;
          18     UNITED STATES DEPARTMENT OF
          19     LABOR;
                 LORI CHAVEZ-DEREMER, in her official
          20     capacity as Secretary of the U.S. Department
                 of Labor;
          21     UNITED STATES DEPARTMENT OF
                 STATE;
          22
                 MARCO RUBIO, in his official capacity as
          23     Secretary of the U.S. Department of State;
                 UNITED STATES DEPARTMENT OF
          24     TREASURY;
                 SCOTT BESSENT, in his official capacity as
          25     Secretary of U.S. Department of Treasury;
                 UNITED STATES DEPARTMENT OF
          26
                 TRANSPORTATION;
          27     SEAN DUFFY, in his official capacity as
                 Secretary for the U.S. Department of
          28     Transportation;
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           1     UNITED STATES DEPARTMENT OF
                 VETERANS AFFAIRS;
           2     DOUG COLLINS, in his official capacity as
                 Secretary of Veterans Affairs;
           3
                 AMERICORPS (a.k.a. the CORPORATION
           4     FOR NATIONAL AND COMMUNITY
                 SERVICE);
           5     JENNIFER BASTRESS TAHMASEBI, in her
                 official capacity as Interim Agency Head of
           6     AmeriCorps;
                 UNITED STATES ENVIRONMENTAL
           7
                 PROTECTION AGENCY;
           8     LEE ZELDIN, in his official capacity as
                 Administrator of U.S. Environmental
           9     Protection Agency;
                 UNITED STATES GENERAL SERVICES
          10     ADMINISTRATION;
          11     STEPHEN EHIKIAN, in his official capacity
                 as Acting Administrator for U.S. General
          12     Services Administration;
                 NATIONAL LABOR RELATIONS BOARD;
          13     MARVIN KAPLAN, in his official capacity as
                 Chairman of the National Labor Relations
          14     Board;
          15     WILLIAM COWEN, in his official capacity as
                 the Acting General Counsel of the National
          16     Labor Relations Board;
                 NATIONAL SCIENCE FOUNDATION;
          17     BRIAN STONE, in his official capacity as
                 Acting Director of the National Science
          18     Foundation;
          19     UNITED STATES SMALL BUSINESS
                 ADMINISTRATION;
          20     KELLY LOEFFLER, in her official capacity
                 as Administrator of the U.S. Small Business
          21     Administration;
                 UNITED STATES SOCIAL SECURITY
          22
                 ADMINISTRATION; and
          23     LELAND DUDEK, in his official capacity as
                 Acting Commissioner of the U.S. Social
          24     Security Administration,

          25           Defendants.
          26
          27

          28

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           1                                               INTRODUCTION

           2          Plaintiffs are a coalition of labor organizations, non-profit groups, and local governments that

           3   file this complaint to hold unlawful and stop the unconstitutional dismantling of the federal

           4   government by the President of the United States on a scale unprecedented in this country’s history

           5   and in clear excess of his authority. Plaintiffs are the American Federation of Government

           6   Employees, AFL-CIO (“AFGE”); American Federation of State County and Municipal Employees,

           7   AFL-CIO (“AFSCME”); Service Employees International Union, AFL-CIO (“SEIU”); AFGE Local

           8   1122; AFGE Local 1236; AFGE Local 2110; AFGE Local 3172; SEIU Local 1000; Alliance for

           9   Retired Americans; American Public Health Association; American Geophysical Union; Center for

          10   Taxpayer Rights; Coalition to Protect America’s National Parks; Common Defense Civic

          11   Engagement; Main Street Alliance; Natural Resources Defense Council, Inc.; Northeast Organic

          12   Farming Association Inc.; VoteVets Action Fund Inc.; Western Watersheds Project; the County of

          13   Santa Clara, California; Martin Luther King, Jr. County, Washington; the City of Baltimore,

          14   Maryland; Harris County, Texas; the City of Chicago, Illinois; and the City and County of San

          15   Francisco, California (collectively, “Plaintiffs”).

          16          By way of Executive Order, President Donald J. Trump has ordered agencies across the entire

          17   federal government to engage in a “critical transformation of the Federal bureaucracy” for the

          18   purported purpose of “eliminating waste, bloat, and insularity,” including by conducting “large-scale”

          19   Reductions in Force (“RIFs”) to further the reorganization of the federal agencies—all without any

          20   Congressional authorization. See Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025)

          21   (Implementing the President’s ‘‘Department of Government Efficiency’’ Workforce Optimization

          22   Initiative). Executive Order 14210, and the actions taken by the Administration to implement the

          23   President’s order, usurp Congress’s exclusive Article I legislative authority, exceed the President’s

          24   Article II Executive or statutory authority, and therefore violate the Constitution’s fundamental

          25   separation of powers principles. Plaintiffs seek to declare these acts of the President unconstitutional,

          26   unlawful, and otherwise in excess of any constitutional or statutory authority; to hold unlawful and set
          27   aside the acts of agency defendants implementing his orders as unlawful and in violation of the

          28
                COMPLAINT, No.                                                                                      1

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           1   Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C) and (D); and to enjoin this unconstitutional

           2   reorganization of the federal government without legislative authority. Plaintiffs therefore hereby

           3   plead as follows:

           4             1.    The President does not possess authority to reorganize, downsize, or otherwise

           5    transform the agencies of the federal government, unless and until Congress authorizes such action.

           6    Federal agencies are “creatures of statute.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., OSHA, 595

           7    U.S. 109, 117 (2022). Since the founding of the nation, federal courts have recognized that the

           8    federal agencies are not created by the President: “To Congress under its legislative power is given

           9    the establishment of offices … [and] the determination of their functions and jurisdiction.” Myers v.

          10    United States, 272 U.S. 52, 129 (1926).

          11             2.    When the President takes for himself the legislative power of Congress to recreate

          12    federal agencies in the manner he sees fit, he violates the Constitution. Youngstown Sheet & Tube Co.

          13    v. Sawyer, 343 U.S. 579, 587 (1952) (“In the framework of our Constitution, the President’s power to

          14    see that the laws are faithfully executed refutes the idea that he is to be a lawmaker.… And the

          15    Constitution is neither silent nor equivocal about who shall make laws which the President is to

          16    execute.”). And when the President does so across every federal agency, he threatens the very

          17    constitutional foundation of this nation: “There can be no liberty where the legislative and executive

          18    powers are united in the same person.” Bowsher v. Synar, 478 U.S. 714, 721–22 (1986) (quoting

          19    James Madison in The Federalist No. 47, p. 325 (J. Cooke ed. 1961)). Thus, for nearly 100 years,

          20    when Presidents have wanted to restructure the government by reorganizing both between and within

          21    federal agencies, they have obtained Congressional authorization to do so. See Cong. Rsch. Serv.,

          22    RL31446, Reorganizing the Executive Branch in the 20th Century: Landmark Commissions (June 10,

          23    2002).

          24             3.    President Trump contends he was elected with a mandate to radically transform the

          25    size and organization of the entire federal government. Ignoring applicable constitutional law, he has

          26    engaged in a campaign unprecedented in American history: to eliminate entire federal agencies;
          27    drastically reduce the number of employees, functions, programs, and offices at others; terminate

          28
                COMPLAINT, No.                                                                                       2

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           1    leases for government property; terminate government contracts; and sell off government property, all

           2    without Congressional authorization. President Trump has called his plan to downsize and transform

           3    the federal government as he desires “The ‘Manhattan Project’ of our time.”1

           4           4.      As soon as President Trump took office, he immediately began his “large scale

           5    structural reform” project. Id.

           6           5.      First, on January 20, 2025, he created the “Department of Government Efficiency” or

           7    “DOGE” out of a former information technology office and charged it with enacting an “18-month

           8    DOGE agenda” (which the Administration has never made public) and embedding a “DOGE Team”

           9    at every federal agency. Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 20, 2025). He also

          10    immediately ordered DOGE, along with the Office of Management and Budget (“OMB”) and the

          11    Office of Personnel Management (“OPM”), to create “a plan to reduce the size of the Federal

          12    Government’s workforce.” The White House, Presidential Actions: Hiring Freeze (Jan. 20, 2025).

          13           6.      The President then proceeded to dismantle several government agencies, either

          14    eliminating their functions or transferring and subsuming them within other agencies. Exec. Order

          15    No. 14242, 90 Fed. Reg. 13679 (Mar. 20, 2025) (Education); Exec. Order No. 14238, 90 Fed. Reg

          16    13043 (Mar. 14, 2025) (seven agencies); Exec. Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025)

          17    (four agencies); see also Exec. Order No. 14169, 90 Fed. Reg. 8619 (Foreign Aid) and Press Release,

          18    U.S. Dep’t of State, Prioritizing America’s National Interests One Dollar at A Time (Jan. 29, 2025)

          19    (USAID); Nat’l Treasury Emps. Union v. Vought, __ F. Supp. 3d __, No. 25-0381, 2025 WL 942772

          20    (D.D.C. Mar. 28, 2025) (CFPB).

          21

          22

          23
                   1
          24         Statement by President-elect Donald J. Trump announcing Department of Government
                Efficiency, The American Presidency Project (Nov. 12, 2024):
          25                To drive this kind of drastic change, the Department of Government Efficiency [“DOGE”]
                        will provide advice and guidance from outside of Government, and will partner with the
          26            White House and Office of Management & Budget to drive large scale structural reform,
                        and create an entrepreneurial approach to Government never seen before.
          27
                Available at: https://www.presidency.ucsb.edu/documents/statement-president-elect-donald-j-trump-
          28    announcing-that-elon-musk-and-vivek-ramaswamy (emphasis added).
                COMPLAINT, No.                                                                                   3

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           1           7.      On February 11, 2025, President Trump issued the Executive Order 14210 that is the

           2    subject of this lawsuit. Executive Order 14210 (hereinafter “Workforce Executive Order” or

           3    “Executive Order 14210”) ordered all federal agencies to “commence[]” a “critical transformation

           4    of the Federal bureaucracy” for the purported purpose of “eliminating waste, bloat, and insularity.”

           5    Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025) (emphasis added), attached hereto as

           6    Exhibit A.

           7           8.      This Workforce Executive Order, in pertinent part, requires all federal agencies to

           8    effectuate President Trump’s vision for the radical transformation and downsizing of the federal

           9    government by: 1) freezing agency hiring and allowing OMB and DOGE to control future hiring

          10    government-wide; 2) commencing “large-scale reductions in force” (“RIFs”) that serve the purpose

          11    of stripping away agency functions, eliminating the offices and functions that the President chooses

          12    to eliminate, and dramatically reducing staffing levels throughout the government; and 3) creating

          13    corresponding “reorganization” plans reflecting these RIFs that also address whether the “agency or

          14    any of its subcomponents should be eliminated or consolidated.” Id.

          15           9.      The Workforce Executive Order does not simply suggest or encourage agencies to

          16    exercise their own statutory authority to effectuate a government-wide reorganization: it orders them

          17    to act according to the President’s vision, regardless of that statutory authority. The Workforce

          18    Executive Order imposes the following requirements:

          19           a.      Agencies are required to commence large-scale RIFs (irrespective of whether staffing
                               reductions are necessary or even appropriate in light of agency functions, obligations,
          20                   and appropriations);
          21
                       b.      Agencies are required to prioritize in RIFs any “agency initiatives, components, or
          22                   operations that my Administration suspends or closes” (irrespective of statutory
                               requirements, obligations, or authority delegated to the agencies);
          23
                       c.      Agencies are required to prioritize in RIFs levels of staffing equivalent to government
          24                   emergency shutdown levels (which have nothing to do with the staffing needed to
                               properly run fully appropriated agencies);
          25

          26           d.      Agencies are required to consider their own abolition, by addressing whether the
                               agency or any subparts should be eliminated by the President (again, regardless of
          27                   statutory requirements, obligations, or authority delegated to the agencies);
          28
                COMPLAINT, No.                                                                                       4

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           1           e.      And finally, agencies are required to reorganize themselves by picking up and
                               arranging the pieces that are left, following these large-scale reductions.
           2
                As the President made plain in the White House “Fact Sheet” that accompanied the Executive Order,
           3
                the Executive Order furthers the President’s goals of “reforming the federal workforce” and
           4
                “reducing the unnecessary footprint of government.”2
           5
                       10.     Again and again, the President has explained his plan to reorganize and reform the
           6
                entire federal government: “I got elected on the basis of making our government stronger and smaller,
           7
                because we have millions of people that — obviously, they’re paying millions of people that
           8
                shouldn’t be paid.” The White House, Remarks by President Trump after Executive Order Signing
           9
                (Feb. 18, 2025); see also The White House, Remarks by President Donald J. Trump in Joint Address
          10
                to Congress (Mar. 4, 2025) (“Americans have given us a mandate for bold and profound change. For
          11
                nearly 100 years, the federal bureaucracy has grown until it has crushed our freedoms, ballooned our
          12
                deficits, and held back America’s potential in every possible way. The nation founded by pioneers
          13
                and risk-takers now drowns under millions and millions of pages of regulations and debt. … My
          14
                administration will reclaim power from this unaccountable bureaucracy, and we will restore true
          15
                democracy to America again.”); The White House, Fact Sheet: President Donald J. Trump Continues
          16
                the Reduction of the Federal Bureaucracy (Mar. 14, 2025) (“President Trump has made reforming the
          17
                federal workforce a key priority for his second term.”).
          18
                       11.     At no point has Congress authorized President Trump’s actions with respect to the
          19
                federal agencies that Congress created in an exercise of its Article I legislative authority, which the
          20
                Constitution grants to Congress, not to the President. Unlike President Trump, nine Presidents on 16
          21
                occasions, across the political spectrum, have been granted authority by Congress to propose fast-
          22
                tracked legislation before reorganizing federal agencies: Presidents Herbert Hoover, Franklin D.
          23
                Roosevelt, Harry S. Truman, Dwight D. Eisenhower, John F. Kennedy, Lyndon B. Johnson, Richard
          24
                Nixon, Jimmy Carter, and Ronald Reagan. See Cong. Rsch. Serv., RL31446, Reorganizing the
          25

          26
          27       2
                    The White House, Fact Sheet: President Donald J. Trump Works to Remake America’s Federal
          28    Workforce (Feb. 11, 2025).
                COMPLAINT, No.                                                                                       5

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           1    Executive Branch in the 20th Century: Landmark Commissions (June 10, 2002); see also Paul Larkin,

           2    Jr. & John-Michael Seibler, The President’s Reorganization Authority, Heritage Foundation Legal

           3    Memorandum No. 210 (July 12, 2017). Congress has given no such authority to President Trump.

           4           12.     President Trump should well understand the constitutional limits on his authority to

           5    reorganize the federal government, because he tried and failed to obtain that authorization during his

           6    first term in office. See Exec. Order No. 13781, 82 Fed. Reg. 13959 (Mar. 13, 2017) (Comprehensive

           7    Plan for Reorganizing the Executive Branch) (ordering OMB to engage in public and agency

           8    processes to create a report with recommendations regarding reorganization); Off. of Mgmt. and

           9    Budget, Delivering Government Solutions in the Twenty-First Century: Reform Plan and

          10    Reorganization Recommendations (June 2018).3 As the first-term OMB reorganization report

          11    expressly acknowledged, the plans “establish a vision for the Executive Branch that will require

          12    further exploration and partnership with the Congress.” Id. at 4. Congress did not re-enact

          13    reorganization authority for this first-term plan. President Trump determined that in his second term

          14    he would proceed without Congress.

          15           13.     To serve his goals of radical transformation, the President has also enlisted three

          16    centralized agencies with government-wide reach. OMB, OPM, and DOGE are implementing the

          17    President’s unconstitutional and unlawful orders to federal agencies by way of requiring all those

          18    other agencies to present “Agency RIF and Reorganization Plans” (“ARRPs”) for approval,

          19    according to parameters and requirements imposed on those agencies. See Memorandum from

          20    Russel Vought, OMB Director, and Charles Ezell, OPM Acting Director, to Heads of Executive

          21    Departments and Agencies re: Guidance on Agency RIF and Reorganization Plans Requested by

          22    Implementing The President's "Department of Government Efficiency" Workforce Optimization

          23    Initiative (Feb. 26, 2025) (attached hereto as Exhibit B). DOGE, for its part, has been dictating to

          24

          25       3
                      Available at: https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-
          26    and-Reorg-Plan.pdf. In 2017, President Trump ordered notice and public comment on the creation of
                these reorganization recommendations: “The Director shall publish a notice in the Federal Register
          27    inviting the public to suggest improvements in the organization and functioning of the executive
                branch and shall consider the suggestions when formulating the proposed plan described in
          28    subsection (c) of this section.” Exec. Order No. 13781, Sec. 2(b).
                COMPLAINT, No.                                                                                       6

                                                        Add.10
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           1    each agency the required cuts to staffing and programs, in the name of “fraud and waste”: “We are

           2    cutting the waste and fraud in real time. Every day like that passes, our goal is to reduce the waste

           3    and fraud by $4 billion a day every day, seven days a week. And so far, we are succeeding.”4

           4           14.     Through these agents, President Trump’s orders, effectuated by OMB, OPM, and

           5    DOGE, require federal agencies within weeks to create plans to reorganize themselves through

           6    massive layoffs, for the purpose of President Trump’s desire for “large scale structural reform” and

           7    “reducing the size and scope of the federal government.” These orders require agencies to disregard

           8    individual authorizing statutes, regulations, and terms that govern each agency, and the requirements

           9    of reasoned decision-making. To be clear, the agencies that are directed to submit ARRPs are not the

          10    decision-makers here: even if they are quickly creating and submitting these plans, they are required

          11    to submit plans that follow the President’s mandate, according to the President’s designs, and that are

          12    only effectuated by OMB and OPM (and DOGE) approval.

          13           15.     Three months into this Administration, there can be no real doubt that impacted

          14    federal agencies are acting according to the direction being given by President Trump through

          15    DOGE, OMB, and OPM. Courts throughout the country have rejected this Administration’s attempts

          16    to blame agencies for action that this Administration required them to take. See New York v. Trump,

          17    133 F.4th 51, 65 (1st Cir. 2025) (affirming District of Rhode Island’s conclusion that “any

          18    ‘suggest[ion] that the challenged federal funding freezes were purely the result of independent agency

          19    decisions’ was ‘disingenuous.’”); Am. Fed’n of Gov. Emps., AFL-CIO v. Off. of Pers. Mgmt., No. 25-

          20    cv-01780-WHA (N.D. Cal.), ECF Nos. 44, 45, 120, 132 (holding that OPM, not federal agencies,

          21    unlawfully ordered the terminations of probationary employees government-wide); Does v. Musk, __

          22    F. Supp. 3d __, No. 25-0462, 2025 WL 840574 (D. Md. Mar. 18, 2025) (holding DOGE is directing

          23    agency action); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, __ F. Supp. 3d __, No. 25-cv-

          24    239, 2025 WL 597959, at *7 (D.D.C. Feb. 25, 2025) (rejecting contention that “countless federal

          25

          26
                   4
          27          Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
          28    available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
                COMPLAINT, No.                                                                                      7

                                                        Add.11
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           1    agencies ... suddenly began exercising their own discretion to suspend funding across the board at the

           2    exact same time” because it requires “unfathomable” “coincidental assumptions” and “contradicts the

           3    record”).

           4             16.       Moreover, President Trump himself has touted his ability to control agencies through

           5    DOGE, stating that, “after he signs an executive order, it gets ‘passed on to [Musk] and his group’

           6    and ‘they’re all getting done.’” Does v. Musk, 2025 WL 840574 at *2 (quoting The White House,

           7    Interview of President Trump and Elon Musk by Sean Hannity, “the Sean Hannity Show”, (Feb. 18,

           8    2025)).5 The President explained further:

           9            [H]e would take that executive order that I’d signed, and he would have those people to
                        whatever agency it was – “when are you doing it? Get it done. Get it done.” And some guy
          10            that maybe didn’t want to do it, all of a sudden, he’s signing – he just doesn’t want to be
                        bothered.
          11

          12    Id.; see also The White House, Remarks by President Trump Before Cabinet Meeting, (Feb. 26,

          13    2025) (President Trump: “We’re cutting down government. We’re cutting down the size of

          14    government. We have to. We’re bloated. We’re sloppy. We have a lot of people that aren’t doing

          15    their job”).6

          16             17.       Those who work for President Trump confirm that the President is controlling federal

          17    agencies according to his vision:

          18                   •   The President’s National Economic Council Director Kevin Hassett, White House
                                   Press Briefing (Feb. 20, 2025):
          19                              I’m saying that we’re studying every agency and deciding who to let go and
                                          why, and we’re doing so very rationally with a lot of support from analysis.
          20                              (Emphasis added.)7
          21

          22

          23        5
                      Available at: https://www.whitehouse.gov/remarks/2025/02/interview-of-president-trump-and-
          24    elon-musk-by-sean-hannity-the-sean-hannity-show/.
                    6
                      Available at: https://www.whitehouse.gov/remarks/2025/02/remarks-by-president-trump-before-
          25    cabinet-meeting/.
                    7
          26          The White House, Press Briefing by Press Secretary Karoline Leavitt, Deputy Chief of Staff
                Stephen Miller, National Economic Council Director Kevin Hassett, and National Security Advisor
          27    Mike Waltz (Feb. 20, 20250, available at: https://www.whitehouse.gov/remarks/2025/02/press-
                briefing-by-press-secretary-karoline-leavitt-deputy-chief-of-staff-stephen-miller-national-economic-
          28    council-director-kevin-hassett-and-national-security-advisor-mike-waltz/.
                COMPLAINT, No.                                                                                       8

                                                           Add.12
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           1                   •   Elon Musk, who according to the President, is head of DOGE, told reporters on
                                   February 11, 2025 that “the people voted for major government reform and that’s what
           2                       people are going to get.”8 Musk, again on March 27, 2025: “Well, this is a revolution,
           3                       and I think it might be the biggest revolution in government since the original
                                   revolution.”9
           4
                         18.       The Administration has not revealed the transformation and downsizing plans to the
           5
                press, to the public (even in response to FOIA requests), in response to union information requests, or
           6
                to Congress. OMB and OPM required all federal agencies to submit the ARRPs in a two-stage
           7
                approval process, by deadlines of March 13 and April 14, 2025. The Administration has refused to
           8
                make either the March 13 or April 14 version of the ARRPs public, claiming they are “pre-
           9
                decisional” because they have not been approved by OMB, and that employees and the public will
          10
                learn what these plans are only when the reorganization occurs and RIF notices come out:
          11
                        It’s no secret the Trump Administration is dedicated to downsizing the federal
          12            bureaucracy and cutting waste, fraud, and abuse. This document is a pre-deliberative
                        draft and does not accurately reflect final reduction in force plans…. When President
          13            Trump’s Cabinet Secretaries are ready to announce reduction in force plans, they will
          14            make those announcements to their respective workforces at the appropriate time.

          15    Email from White House Principal Deputy Press Secretary Harrison Fields, as reported by the

          16    Washington Post.10

          17             19.       What information Plaintiffs have painstakingly collected is gleaned from RIF notices

          18    that have been issued to date, press coverage of agency sources and leaked government documents,

          19    and statements by the President and agency heads describing general plans. That information reveals

          20    that the Administration is actively implementing this unprecedented reorganization now. The

          21

          22

          23        8
                      Gov’t Exec., Trump orders agencies to plan for widespread layoffs and attrition-based hiring,
          24    (Feb. 11, 2025), available at: https://www.govexec.com/workforce/2025/02/trump-orders-agencies-
                plan-widespread-layoffs-and-attrition-based-hiring/402938/.
          25        9
                      Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
          26    available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
                    10
          27           Washington Post, Internal White House document details layoff plans across U.S. agencies
                (March 27, 2025), available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-
          28    layoffs-government-agencies/.
                COMPLAINT, No.                                                                                      9

                                                           Add.13
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           1    American people have a right to know what the President is doing to dismantle their federal

           2    government.

           3           20.     Details are emerging: in late March, pursuant to the mandate of Executive Order

           4    14210, the Department of Health and Human Services (“HHS”) began eliminating more than 10,000

           5    positions throughout the Center for Disease Control (“CDC”), Food and Drug Administration

           6    (“FDA”), the National Institutes of Health (“NIH”), among other programs, throwing the medical,

           7    public health, and scientific community into utter chaos.11 As of April 15, 2025, the IRS was slated

           8    to commence RIFs ultimately totaling 40% of its workforce, including over 50% of the tax

           9    enforcement staff (the very staff that brings in revenue to the government).12 On April 22, 2025, the

          10    EPA began sending RIF notices to employees across its headquarters and regional offices.13 Other

          11    agencies are right behind (see infra ¶¶189‒256):

          12             •    The Department of Agriculture will eliminate at least 9,000 positions and entire
                              regional offices and Research Stations within the Forest Service, taking staff down to at
          13                  least 2019 levels;
          14
                         •    The Department of Energy will terminate 43% of its staff, eliminating offices and
          15                  functions (including more than 500 positions at the Nuclear National Security
                              Administration and eliminating the Office of Clean Energy Demonstrations entirely);
          16
                         •    The U.S. Environmental Protection Agency will reportedly lose 65% of its staff and
          17                  effectively the entire Office of Research and Development (over 1,000 chemists,
                              biologists, toxicologists and other scientists), among others;
          18

          19             •    The Department of Housing and Urban Development is looking to cut approximately
                              51% of staff, eliminating and consolidating offices and functions;
          20

          21    11
                   See March 27, 2025 Press Release: HHS Announces Transformation to Make America Healthy
                Again, available at: https://www.hhs.gov/press-room/hhs-restructuring-doge.html.
          22    12
                   Fed. News Network, IRS outlines plan to cut up to 40% of workforce, as tax filing season ends,
          23    (Apr. 15, 2025), available at: https://federalnewsnetwork.com/workforce/2025/04/irs-outlines-plan-
                to-cut-up-to-40-of-workforce-as-tax-filing-season-ends/. The IRS began RIFs with one office in
          24    March. Gov’t Exec., IRS sends RIF notices as it begins widespread layoffs (Apr. 4, 2025), available
                at: https://www.govexec.com/workforce/2025/04/irs-sends-rif-notices-it-begins-widespread-
          25    layoffs/404317/. On April 23, 2025, the IRS confirmed the RIFs are ongoing. Fed. News Network,
                IRS layoff notices to employees delayed by ‘glitches,’ (Apr. 23, 2025), available at:
          26    https://federalnewsnetwork.com/workforce/2025/04/irs-layoff-notices-to-employees-delayed-by-
                glitches/.
                13
          27       Reuters, EPA begins layoffs of environmental justice staff (Apr. 22, 2025), available at:
                https://www.reuters.com/business/world-at-work/epa-begins-layoffs-environmental-justice-staff-
          28    2025-04-22/.
                COMPLAINT, No.                                                                                     10

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           1
                          •   The Department of the Interior is going to engage in large-scale RIFs of positions and
           2                  programs that are deemed not “critical to public safety” or not “linked to highest
                              priority programs”;
           3

           4              •   The Department of Labor will eliminate the entire Office of Federal Contract
                              Compliance Programs, among other cuts;
           5
                          •   The Small Business Administration will lay off 43% of staff;
           6
                          •   The Social Security Administration will engage in “agency-wide organizational
           7                  restructuring that will include significant workforce reductions” that the agency
                              describes as “massive reorganizations” eliminating over 5,000 positions and potentially
           8
                              closing up to 47 field offices; and
           9
                          •   The Department of Veterans’ Affairs looks to roll back to at least 2019 staffing levels
          10                  by cutting over 83,000 jobs across the country, in critical veterans’ service roles.
          11    The list goes on, because the President has directed nearly every agency to make massive cuts to its
          12    workforce in furtherance of a reorganization of the entire federal government. These are no minor
          13    reforms or policy judgments: this is an express attempt to “transform” the country’s federal
          14    administrative structure.
          15            21.     By ordering and enacting the radical transformation President Trump contends he was
          16    elected to enact, President Trump has exceeded any constitutional authority granted to him in Article
          17    II or statutorily delegated by Congress, and has thereby usurped Congress’s Article I authority.
          18    President Trump’s Executive Order 14210 requiring agencies to engage in these large-scale RIF and
          19    reorganization plans is therefore ultra vires and unconstitutional.
          20            22.     Moreover, neither OMB, OPM, nor DOGE have their own authority to order federal
          21    agencies to engage in large-scale RIFs or take any other action in service of government
          22    reorganization. The statutory authority defined by Congress does not give OMB or OPM any
          23    authority to require agencies to RIF employees, or to do so according to specific parameters,
          24    including because the President has decided to eliminate programs, functions, or positions, or take
          25    agencies down to shutdown levels of staff, or for either OMB or OPM to assert decision-making
          26    authority over the agencies. Nor does DOGE have any authority to require agencies to meet targets
          27    imposed by DOGE for reductions of staff and/or spending. By implementing the President’s orders,
          28
                COMPLAINT, No.                                                                                     11

                                                        Add.15
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           1    OMB, OPM, and DOGE therefore are each exceeding their authority, engaging in arbitrary and

           2    capricious action, and ignoring proper procedure, in violation of the Administrative Procedure Act, 5

           3    U.S.C. § 706(2)(A), (C), and (D).

           4           23.     Finally, the impacted agencies themselves do not have the authority to do the

           5    President’s unconstitutional bidding, under the terms set by the President rather than by Congress.

           6    Over and over, newly appointed agency heads have explained that they are reorganizing, eliminating

           7    programs, and cutting thousands upon thousands of jobs, because the President directed them to and

           8    because DOGE told them how much and what to cut. As Veterans Affairs Secretary Doug Collins

           9    stated on the “Fox & Friends” program in early March 2025, the VA’s plan to cut 80,000 jobs

          10    pursuant to the President’s Executive Order was not his idea: “No, that is a goal that was put out …

          11    [as] President Trump and [the Office of Personnel Management] have said let’s look at a reduction in

          12    force across government,…And that is a goal, that is our target.”14 See also, e.g., U.S. Dep’t of

          13    Health & Hum. Servs., Fact Sheet: HHS Transformation to Make America Healthy Again (Mar. 27,

          14    2025) (“The restructuring of HHS is proceeding in accordance with President Trump's Executive

          15    Order”).15 By implementing the President’s unconstitutional orders, effectuated by DOGE’s, OMB’s,

          16    and OPM’s requirements, these agencies have acted and are acting not in accordance with law and are

          17    engaged in arbitrary and capricious action in violation of the Administrative Procedure Act, 5 U.S.C.

          18    § 706(2)(A) and (C).

          19           24.     The President’s insistence on implementing this politically driven “mandate” comes at

          20    a nearly immeasurable cost to federal agencies, millions of public employees, state and local

          21    governments, and all those who depend on the services the agencies provide every day. Plaintiffs

          22    stand together to name these harms at their source, pursue their right to judicial review, and stop

          23    actions that threaten the very foundations of our constitutional democracy.

          24

          25

          26
          27
                14
                   The Hill, VA Secretary: Cutting 80,000 is “our target,” (Mar. 10, 2025), available at:
                https://www.yahoo.com/news/va-secretary-cutting-80-000-170115439.html.
                15
          28       Available at: https://www.hhs.gov/press-room/hhs-restructuring-doge-fact-sheet.html.
                COMPLAINT, No.                                                                                        12

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           1              25.   And so it falls upon this Court to play its Article III role in restraining the President’s

           2    unconstitutional acts and the unlawful actions of the agencies that implement those directives.

           3    Marbury v Madison, 5 U.S. 137 (1803). None of the actions at issue here are dedicated by the

           4    Constitution to the President and out of this Court’s reach. Plaintiffs call upon this Court to hold

           5    unlawful President Trump’s unconstitutional reorganization and dismantling of the federal

           6    government by and through Executive Order 14210, and to enjoin the actions of the agencies

           7    implementing that unconstitutional presidential order.

           8                                        JURISDICTION AND VENUE

           9              26.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

          10              27.   Venue is appropriate in this district under 28 U.S.C. § 1391(e). Plaintiffs AFGE,

          11    AFGE Local 1122, AFGE Local 1236, AFGE Local 2110, AFGE Local 3172, AFSCME, SEIU, and

          12    SEIU Local 1000 represent federal, state, and/or local government employees whose place of

          13    employment is within the Northern District of California, and Plaintiffs the City and County of San

          14    Francisco and the County of Santa Clara are located within the Northern District of California.

          15              28.   Intradistrict assignment is appropriate in the San Francisco/Oakland division of this

          16    Court.

          17                                                    PARTIES

          18              29.   Plaintiff AFGE is a labor organization and unincorporated association headquartered at

          19    80 F Street N.W., Washington, D.C. 20001. AFGE, the largest union of federal employees, represents

          20    approximately 800,000 federal civilian employees through its affiliated councils and locals at 192

          21    Departments, agencies and sub-agencies of the federal government, and in every state in the United

          22    States.

          23              30.   Plaintiff AFSCME is a labor organization and unincorporated association

          24    headquartered at 1625 L Street, N.W., Washington, D.C. 20036. AFSCME is the largest trade union

          25    of public employees in the United States, with 1.4 million members organized into approximately

          26    3,400 local unions, 58 councils and affiliates in 46 states, the District of Columbia, and Puerto Rico.
          27    AFSCME members include nurses, corrections officers, child care providers, emergency medical

          28
                COMPLAINT, No.                                                                                          13

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           1    technicians, sanitation workers, school bus drivers, civil engineers, policy analysts, and more, all with

           2    one thing in common: a dedication to making our communities stronger, healthier, and safer.

           3    AFSCME represents federal civilian employees in numerous agencies and departments across the

           4    federal government, and state and local government employees who rely on the services of the

           5    federal government every day.

           6           31.     Plaintiff SEIU is a labor organization of approximately two million working people

           7    united by the belief in the dignity and worth of workers and the services they provide. SEIU’s

           8    members work in healthcare, the public sector, and property services. SEIU has more than 150

           9    affiliates across the United States, Canada, and Puerto Rico, and is headquartered at 1800

          10    Massachusetts Ave., N.W., Washington, D.C. 20036. SEIU members include physicians, technicians,

          11    long-term care workers, janitors, security officers, airport workers, librarians, childcare workers,

          12    educators, fast food workers, employees who work for city, county, and federal governments, and

          13    many more. SEIU, together with its local affiliates, represent approximately 80,000 federal sector

          14    employees in the United States, including nurses, doctors, other healthcare workers, police officers,

          15    firefighters, first responders, office workers, scientists, engineers, analysts, maintenance workers, and

          16    more. SEIU federal sector members provide a broad swath of services and bring a substantial amount

          17    of expertise to numerous agencies across the federal government. SEIU also represents about

          18    785,000 care providers and over 700,000 non-federal public sector employees employed by states,

          19    counties, cities, and school boards across the country, which rely on federal agencies in order to

          20    continue providing essential services to their communities. SEIU’s members also include over 8,000

          21    workers employed by contractors to provide cleaning, security, maintenance, and other services at

          22    federally owned and federally leased sites run by numerous federal agencies.

          23           32.     Plaintiff AFGE Local 1122 is a labor organization and unincorporated association

          24    headquartered in Richmond, California. AFGE Local 1122 represents approximately 600 employees

          25    at a Social Security Administration Western Program Service Center in Richmond, California, in

          26    addition to other units within SSA’s San Francisco region. Those employees work in positions
          27    including Claims Specialists, Benefits Authorizers, and other clerical staff.

          28
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           1            33.         Plaintiff AFGE Local 1236 is a labor organization and unincorporated association

           2    headquartered in San Francisco, California. AFGE Local 1236 represents approximately 74 attorney-

           3    advisors at Environmental Protection Agency Region 9 Headquarters in San Francisco, California,

           4    and EPA’s National Center for Radiation Field Operations in Las Vegas, Nevada.

           5            34.         Plaintiff AFGE Local 2110 is a labor organization and unincorporated association

           6    headquartered in Palo Alto, California. AFGE Local 2110 represents approximately 4,000 employees

           7    at the Department of Veterans’ Affairs Palo Alto Health Care System, including its Menlo Park and

           8    Livermore Divisions, and at several Community-Based Outpatient Clinics in Fremont, San Jose,

           9    Monterey, and Capitola. Those employees work as doctors, nurses, emergency medical services

          10    personnel, food service workers, custodial staff, and administrative staff.

          11            35.         Plaintiff AFGE Local 3172 is a labor organization and unincorporated association

          12    headquartered in Pacifica, California. AFGE Local 3172 represents approximately 1,600 employees

          13    at SSA field offices in California and Nevada. Those employees work in positions including Claims

          14    Services Representatives, Claims Specialists, Technical Experts, and other administrative and

          15    facilities staff.

          16            36.         Plaintiff SEIU Local 1000 is a labor organization and unincorporated association

          17    headquartered in Sacramento and has a Coastal & Central Representation office located at 436 14th

          18    Street, Suite 200, in Oakland, California. SEIU Local 1000 represents approximately 96,000

          19    employees who work in the California state government. Those employees live and work throughout

          20    the State, including in San Francisco, Oakland, and Sacramento. The employees represented by

          21    SEIU Local 1000 work in a wide range of positions across the state government, including as office

          22    assistants, secretaries, data entry staff, technical assistants, information technology analysts,

          23    accounting officers, auditors, and departmental analysts.

          24            37.         Plaintiff Alliance for Retired Americans (“ARA” or the “Alliance”) is a grassroots

          25    organization with 4.4 million retiree members. Founded by the AFL-CIO Executive Council in 2001,

          26    the Alliance has 40 state alliances and members in every state, including 950,000 members—nearly
          27    300,000 of whom are retirees—in California. The Alliance’s retiree members are from all walks of

          28
                COMPLAINT, No.                                                                                           15

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           1    life. They are former teachers, industrial workers, state and federal government workers,

           2    construction workers, and community leaders united in the belief that every American deserves a

           3    secure and dignified retirement after a lifetime of hard work.

           4           38.     Plaintiff American Geophysical Union (“AGU”) is a 501(c)(3) membership

           5    association for Earth and space scientists. The organization, founded in 1919, pursues a mission “to

           6    support and inspire a global community of individuals and organizations interested in advancing

           7    discovery in Earth and space sciences and its benefit for humanity and the environment.” AGU has

           8    more than 42,000 members worldwide, with 29,000 residing in the U.S., of whom more than 4,000

           9    are in California; approximately 8,400 of those members work in the federal government, 28,000 are

          10    university researchers, and 2,000 are scientists at nonprofit organizations. In addition to traditional

          11    career support provided by an association, AGU publishes a portfolio of 24 high-impact scholarly

          12    journals and convenes regular scientific meetings, including its Annual Meeting, which had more

          13    than 30,000 attendees in 2024.

          14           39.     Plaintiff the American Public Health Association (“APHA”) is a non-partisan, non-

          15    profit organization that champions the health of all people and all communities; strengthens the

          16    profession of public health; shares the latest research and information; promotes best practices; and

          17    advocates for public health issues and policies grounded in scientific research. APHA represents

          18    more than 23,000 individual members who reside in all 50 states, including 2,100 individual

          19    members in California, and also has 52 state and regional affiliates. APHA’s membership also

          20    includes organizational members, including groups interested in health, state and local health

          21    departments, and health-related businesses. APHA is the only organization that combines a 150-year

          22    perspective, a broad-based member community, and the ability to influence federal policy to improve

          23    the public’s health. APHA’s membership additionally includes more than 250 California students in

          24    university public health schools or related programs, and over 50 California agency or organizational

          25    members, including the California Department of Public Health, Contra Costa County Public Health,

          26    Marin County Public Health, and the Los Angeles Trust for Children’s Health.
          27

          28
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           1            40.     Plaintiff Center for Taxpayer Rights is a nonpartisan nonprofit organization dedicated

           2    to furthering taxpayers’ awareness of and access to taxpayer rights. The Center accomplishes its

           3    mission, in part, by educating the public and government officials about the role taxpayer rights play

           4    in promoting compliance and trust in systems of taxation. The Center provides technical support for

           5    the establishment and expansion of taxpayer advocate and ombuds offices as independent voices of

           6    taxpayer rights and systemic change. The Center develops materials to educate the public about the

           7    function of taxes and taxpayer rights in civil society. The organization also develops training

           8    programs for tax administration officials as a component of leadership training. Through the Center’s

           9    Low Income Taxpayer Clinic (“LITC”), the organization provides free representation to low-income

          10    taxpayers in disputes with the IRS and in the federal courts. All of the clients of the Center’s LITC

          11    are low-income taxpayers. The Center also operates LITC Connect, a nationwide network of Low-

          12    Income Taxpayer Clinics and volunteer attorneys, certified public accountants, and enrolled

          13    agents that matches LITCs with tax professionals who can provide pro bono representation to low-

          14    income taxpayers and support for specific issues. The Center, through LITC Connect, provides

          15    training when needed to LITC staff and tax professionals supporting LITCs in serving low-income

          16    taxpayers and hosts weekly calls with LITCs who are LITC Connect members. In 2023, LITCs, most

          17    of whom are members of LITC Connect and the weekly calls, represented nearly 20,000 taxpayers

          18    nationwide, educated over 140,000 taxpayers and service providers about their rights and

          19    responsibilities before the IRS, secured over $10 million in tax refunds, and decreased or corrected

          20    over $41 million in tax liabilities.

          21            41.     Plaintiff Coalition to Protect America’s National Parks (“Parks Coalition”) is a non-

          22    profit organization made up of over 4,000 members, all of whom are current, former, and retired

          23    employees and volunteers of the National Park Service. Together, they have accumulated over

          24    50,000 years of experience caring for America’s most valuable natural and cultural resources. The

          25    Coalition’s goal is to support the preservation and protection of the National Park System and the

          26    mission-related programs of the National Park Service (“NPS”) to ensure the survival of the park
          27    system for generations to come. The Coalition’s members are regular and avid users of the National

          28
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           1    Park System and NPS programs, as well as the national forests and other public lands, for recreation

           2    and conservation activities.

           3           42.     Plaintiff Common Defense Civic Engagement (“Common Defense”) is a grassroots

           4    membership organization of progressive veterans, military families, and civilian supporters standing

           5    up for our communities against the rising tide of racism, hate, and violence. Common Defense

           6    invests in the leadership of its members through training and deployment in campaigns that connect

           7    directly to their history of service, including voting rights, climate justice, and anti-militarism.

           8    Approximately 33,187 of Common Defense’s members live in California, including approximately

           9    2,000 veterans.

          10           43.     Plaintiff Main Street Alliance (“MSA”) is a national network of small businesses, with

          11    approximately 30,000 members throughout the United States. MSA helps small business owners

          12    realize their full potential as leaders for a just future that prioritizes good jobs, equity, and community

          13    through organizing, research, and policy advocacy. MSA also seeks to amplify the voices of its small

          14    business membership by sharing their experiences with the aim of creating an economy where all

          15    small business owners have an equal opportunity to succeed. MSA is nonpartisan and is a Section

          16    501(c)(3) organization. MSA has approximately 1,410 small business members in California,

          17    including more than 70 small businesses in Alameda, Santa Clara, San Francisco, Sonoma, and

          18    Contra Costa Counties.

          19           44.     Plaintiff Natural Resources Defense Council, Inc. (NRDC) is a not-for-profit

          20    environmental and public health membership organization that works to ensure the rights of all

          21    people to clean air, clean water, and healthy communities. NRDC has many hundreds of thousands

          22    of members throughout the United States. NRDC engages in research, policy analysis, advocacy,

          23    public education, and litigation to protect public health and the environment. As part of its work,

          24    NRDC petitions federal agencies for rulemaking and other actions to protect the environment and

          25    human health, comments on proposed regulations issued by federal agencies, researches and informs

          26    its members about important environmental and public health issues, and publishes scientific papers
          27    and advocacy briefs to inform the scientific community, policymakers, and the public.

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           1           45.     Plaintiff Northeast Organic Farming Association Inc. (“NOFA”) is a non-profit

           2    organization of over 5,000 farmers, farmworkers, gardeners, landscape professionals, and consumers

           3    working to promote healthy food, organic farming practices, and a cleaner environment. NOFA is

           4    comprised of seven state-chapters: Connecticut, Massachusetts, New Hampshire, New Jersey, New

           5    York, Rhode Island, and Vermont. Each of these organizations offers educational conferences,

           6    workshops, farm tours, and printed materials to educate farmers, gardeners, consumers, and land care

           7    professionals on organic farming. NOFA also publishes a quarterly newspaper, The Natural Farmer,

           8    that provides features on organic farming techniques, certification issues, organic market conditions,

           9    and environmental developments that may impact farmers and growers; administers the Organic

          10    Land Care program, which trains landscape professionals and others on the principles and practices

          11    of organic land care, as laid out by the NOFA Standards for Organic Land Care; runs a professional

          12    accreditation program; provides advice, support and cross-credentialing to partner institutions

          13    engaged in sustainable landscape education; and educates the public about the importance of using

          14    standards-based organic landscaping services.

          15           46.     Plaintiff VoteVets Action Fund Inc. (“VoteVets”) is a non-partisan, non-profit

          16    organization incorporated under the laws of the District of Columbia. Its purpose is to lift up the

          17    voices of veterans on matters of national security, veterans’ care, and everyday issues that affect the

          18    lives of those who served as well as their families including foreign policy, veterans’ unemployment,

          19    robust investment in care for veterans, energy security, protecting the rights of those who serve, and

          20    upholding the Constitution and democracy that every military member swore to uphold and protect.

          21    VoteVets has nearly two million supporters across the country, in all fifty states, with whom it

          22    regularly communicates about issues affecting veterans, including the operations, programs, and

          23    services available through the VA. Approximately 417,000 of VoteVets’ supporters live in California,

          24    including 131,000 in Northern California.

          25           47.     Plaintiff Western Watersheds Project (“WWP”) is a non-profit environmental

          26    conservation group that works to influence and improve public lands management throughout the
          27    western United States to protect native species and conserve and restore the habitats they depend

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           1    on. WWP’s primary focus is on the negative impacts of livestock grazing, including harm to

           2    ecological, biological, cultural, historic, archeological, scenic resources, wilderness values, roadless

           3    areas, Wilderness Study Areas, and designated Wilderness. WWP was founded in 1993 and has more

           4    than 14,000 members and supporters and field offices in Colorado, Utah, Idaho, Montana, Wyoming,

           5    Arizona, Nevada, and Oregon. WWP covers over 250 million acres of public land spanning all of the

           6    western states.

           7            48.       The Plaintiffs identified in the preceding paragraphs are all proceeding on their own

           8    behalf as an organization, including based on injury to their mission and organizational activities, as

           9    well as on a representative or associational basis, based on injury to their members.

          10            49.       Plaintiff County of Santa Clara, California (“Santa Clara”) is a charter county and

          11    political subdivision of the State of California.

          12            50.       Plaintiff Martin Luther King, Jr. County (“King County”) is a home rule charter

          13    county organized and existing under and by virtue of the constitution and laws of the State of

          14    Washington.

          15            51.       Plaintiff the Mayor and City Council of Baltimore (“Baltimore”) is the corporate

          16    identity of the Plaintiff City of Baltimore, Maryland, a home-rule jurisdiction created by the

          17    Baltimore City Charter as an entity that may sue and be sued.

          18            52.       Plaintiff Harris County, Texas (“Harris County”) is a local government entity in the

          19    state of Texas.

          20            53.       Plaintiff the City of Chicago, Illinois (“Chicago”) is a municipal corporation and home

          21    rule unit organized and existing under the constitution and laws of the State of Illinois.

          22            54.       Plaintiff the City and County of San Francisco (“San Francisco”) is a municipal

          23    corporation organized and existing under and by virtue of the laws of the State of California and is a

          24    charter city and county.

          25            55.       Defendant Donald J. Trump is the President of the United States and is sued in his

          26    official capacity.
          27

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           1            56.     Defendant Office of Management and Budget (“OMB”) is a federal agency

           2    headquartered in Washington, D.C. OMB is a federal agency within the meaning of the

           3    Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1).

           4            57.     Defendant Russell Vought is the Director of OMB and is sued in his official capacity.

           5            58.     Office of Personnel Management (“OPM”) is a federal agency headquartered in

           6    Washington, D.C. OPM is a federal agency within the meaning of the APA, 5 U.S.C. § 551(1).

           7            59.     Defendant Charles Ezell has been the Acting Director of OPM since January 20, 2025.

           8    He is sued in his official capacity.

           9            60.     Defendant Department of Government Efficiency (“DOGE”) is a federal agency

          10    headquartered in Washington, D.C. DOGE is a federal agency within the meaning of the APA, 5

          11    U.S.C. § 551(1).

          12            61.     Defendant Elon Musk is the actual head of DOGE and is sued in his official capacity.

          13            62.     Defendant Amy Gleason is the titular Acting Administrator of DOGE and is sued in

          14    her official capacity.

          15            63.     The following federal departments and agencies, including their agency heads, may be

          16    referred to collectively herein as “Federal Agency Defendants.” For purposes of this Complaint, the

          17    Federal Agency Defendants do not include OMB, OPM, or DOGE, which will be specifically

          18    identified. The Federal Agency Defendants are sued for their own unlawful conduct in Claims Six

          19    and Seven below, and also pursuant to Rule 19 for purposes of effectuating complete relief as to

          20    Claims One through Five against the President, OMB, OPM, DOGE and their agency heads.

          21            64.     Defendant United States Department of Agriculture (“USDA” or “Agriculture”) is a

          22    federal agency headquartered in Washington, D.C. USDA is a federal agency within the meaning of

          23    the APA, 5 U.S.C. § 551(1).

          24            65.     Defendant Brooke Rollins is the Secretary of Agriculture and is sued in her official

          25    capacity.

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           1           66.    Defendant United States Department of Commerce (“Commerce”) is a federal agency

           2    headquartered in Washington, D.C. Commerce is a federal agency within the meaning of the APA, 5

           3    U.S.C. § 551(1).

           4           67.    Defendant Howard Lutnick is the Secretary of Commerce and is sued in his official

           5    capacity.

           6           68.    Defendant United States Department of Defense (“DoD” or “Defense”) is a federal

           7    agency headquartered in Washington, D.C. Defense is a federal agency within the meaning of the

           8    APA, 5 U.S.C. § 551(1).

           9           69.    Defendant Pete Hegseth is the Secretary of Defense and is sued in his official capacity.

          10           70.    Defendant United States Department of Energy (“Energy”) is a federal agency

          11    headquartered in Washington, D.C. Energy is a federal agency within the meaning of the APA, 5

          12    U.S.C. § 551(1).

          13           71.    Defendant Chris Wright is the Secretary of Energy and is sued in his official capacity.

          14           72.    Defendant United States Department of Health and Human Services (“HHS”) is a

          15    federal agency headquartered in Washington, D.C. HHS is a federal agency within the meaning of

          16    the APA, 5 U.S.C. § 551(1).

          17           73.    Defendant Robert F. Kennedy Jr. is the Secretary of HHS and is sued in his official

          18    capacity.

          19           74.    Defendant United States Department of Homeland Security (“DHS”) is a federal

          20    agency headquartered in Washington, D.C. DHS is a federal agency within the meaning of the APA,

          21    5 U.S.C. § 551(1).

          22           75.    Defendant Kristi Noem is the Secretary of DHS and is sued in her official capacity.

          23           76.    Defendant United States Department of Housing and Urban Development (“HUD”) is

          24    a federal agency headquartered in Washington, D.C. HUD is a federal agency within the meaning of

          25    the APA, 5 U.S.C. § 551(1).

          26           77.    Defendant Scott Turner is the Secretary of HUD and is sued in his official capacity.
          27

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           1           78.    Defendant United States Department of Justice (“DOJ”) is a federal agency

           2    headquartered in Washington, D.C. DOJ is a federal agency within the meaning of the APA, 5 U.S.C.

           3    § 551(1).

           4           79.    Defendant Pam Bondi is the Attorney General and is sued in her official capacity.

           5           80.    Defendant United States Department of the Interior (“DoI” or “Interior”) is a federal

           6    agency headquartered in Washington, D.C. Interior is a federal agency within the meaning of the

           7    APA, 5 U.S.C. § 551(1).

           8           81.    Defendant Doug Burgum is the Secretary of the Interior and is sued in his official

           9    capacity.

          10           82.    Defendant United States Department of Labor (“DOL”) is a federal agency

          11    headquartered in Washington, D.C. DOL is a federal agency within the meaning of the APA, 5

          12    U.S.C. § 551(1).

          13           83.    Defendant Lori Chavez-DeRemer is the Secretary of Labor and is sued in her official

          14    capacity.

          15           84.    Defendant United States Department of State (“State”) is a federal agency

          16    headquartered in Washington, D.C. State is a federal agency within the meaning of the APA, 5

          17    U.S.C. § 551(1).

          18           85.    Defendant Marco Rubio is the Secretary of State and is sued in his official capacity.

          19           86.    Defendant United States Department of Treasury (“Treasury”) is a federal agency

          20    headquartered in Washington, D.C. Treasury is a federal agency within the meaning of the APA, 5

          21    U.S.C. § 551(1).

          22           87.    Defendant Scott Bessent is the Secretary of Treasury and is sued in his official

          23    capacity.

          24           88.    Defendant United States Department of Transportation (“DOT”) is a federal agency

          25    headquartered in Washington, D.C. DOT is a federal agency within the meaning of the APA, 5

          26    U.S.C. § 551(1).
          27

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           1           89.     Defendant Sean Duffy is the Secretary of Transportation and is sued in his official

           2    capacity.

           3           90.     Defendant United States Department of Veterans Affairs (“the VA”) is a federal

           4    agency headquartered in Washington, D.C. The VA is a federal agency within the meaning of the

           5    APA, 5 U.S.C. § 551(1).

           6           91.     Defendant Doug Collins is the Secretary of Veterans Affairs and is sued in his official

           7    capacity.

           8           92.     Defendant AmeriCorps (a.k.a. the Corporation for National and Community Service)

           9    is a federal agency headquartered in Washington, D.C. AmeriCorps is a federal agency within the

          10    meaning of the APA, 5 U.S.C. § 551(1).

          11           93.     Defendant Jennifer Bastress Tahmasebi is the Interim Agency Head of AmeriCorps

          12    and is sued in her official capacity.

          13           94.     Defendant United States Environmental Protection Agency (“EPA”) is a federal

          14    agency headquartered in Washington, D.C. EPA is a federal agency within the meaning of the APA, 5

          15    U.S.C. § 551(1).

          16           95.     Defendant Lee Zeldin is the EPA Administrator and is sued in his official capacity.

          17           96.     Defendant United States General Services Administration (“GSA”) is a federal agency

          18    headquartered in Washington, D.C. GSA is a federal agency within the meaning of the APA, 5

          19    U.S.C. § 551(1).

          20           97.     Defendant Stephen Ehikian is the GSA Acting Administrator and is sued in his official

          21    capacity.

          22           98.     Defendant National Labor Relations Board (“NLRB”) is a federal agency

          23    headquartered in Washington, D.C. NLRB is a federal agency within the meaning of the APA, 5

          24    U.S.C. § 551(1).

          25           99.     Defendant Marvin Kaplan is the Chairman of the NLRB and is sued in his official

          26    capacity.
          27

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           1            100.    Defendant William Cowen is the Acting General Counsel of the NLRB and is sued in

           2    his official capacity.

           3            101.    Defendant National Science Foundation (“NSF”) is a federal agency headquartered in

           4    Alexandria, Virginia. NSF is a federal agency within the meaning of the APA, 5 U.S.C. § 551(1).

           5            102.    Defendant Brian Stone is the Acting Director of the NSF and is sued in his official

           6    capacity.

           7            103.    Defendant United States Small Business Administration (“SBA”) is a federal agency

           8    headquartered in Washington, D.C. SBA is a federal agency within the meaning of the APA, 5 U.S.C.

           9    § 551(1).

          10            104.    Defendant Kelly Loeffler is the Administrator of the SBA and is sued in her official

          11    capacity.

          12            105.    Defendant United States Social Security Administration (“SSA”) is a federal agency

          13    headquartered in Baltimore, Maryland. SSA is a federal agency within the meaning of the APA, 5

          14    U.S.C. § 551(1).

          15            106.    Defendant Leland Dudek is the Acting Commissioner of the SSA and is sued in his

          16    official capacity.

          17                                        FACTUAL ALLEGATIONS

          18    I.      The Constitution’s Distribution of Legislative and Executive Authority With Respect to
                        the Agencies of the Federal Government
          19
                        107.    Article I vests in Congress the legislative power to create the departments, agencies,
          20
                and offices within the executive branch; to define their duties; and to fund their activities. U.S.
          21
                Const. art. I, § 1 (“All legislative Powers herein granted shall be vested in a Congress of the United
          22
                States, which shall consist of a Senate and House of Representatives.”); INS v. Chadha, 462 U.S. 919
          23
                (1983). Thus, “[t]o Congress under its legislative power is given the establishment of offices …
          24
                [and] the determination of their functions and jurisdiction.” Myers v. United States, 272 U.S. 52, 129
          25
                (1926); U.S. Const. art I, § 8, cl. 18 (“The Congress shall have Power To…make all Laws which shall
          26
                be necessary and proper for carrying into Execution the foregoing Powers, and all other Powers
          27
                vested by this Constitution in the Government of the United States, or in any Department or Officer
          28
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           1    thereof.”). Congress thus “control[s]” the very “existence of executive offices.” Free Enter. Fund v.

           2    Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 500 (2010); see also Nat’l Fed’n of Indep. Bus. v.

           3    Dep’t of Lab., OSHA, 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of statute.”).

           4           108.    Among Congress’s very first acts were “establishing executive departments and

           5    staffs.” David Engdahl, Necessary and Proper Clause, The Heritage Guide to the Constitution, The

           6    Heritage Foundation.16 When the First Congress created the Treasury Department, for example, it

           7    established therein “distinct offices—Secretary, Comptroller, Auditor, Treasurer and Register—and

           8    their duties.” Harvey C. Mansfield, Reorganizing the Federal Executive Branch: The Limits of

           9    Institutionalization, 35 L. & Contemporary Problems 462, 463 (1970).

          10           109.    Those executive agencies of the federal government are identified in various statutes,

          11    including 5 U.S.C. §§ 101 (listing Cabinet-level departments), 104 (independent establishments), and

          12    105 (defining “agency” to include, inter alia, Cabinet departments and independent establishments).

          13    Each agency has its own authorizing statutes that govern its administration, including statutory

          14    provisions that authorize one or more individuals to act as the head of the agency. See e.g., 10 U.S.C.

          15    §§ 111, 113 (Defense); 16 U.S.C. § 551 (Agriculture/Forest Service); 38 U.S.C. §§ 301, 303 (VA); 42

          16    U.S.C. §§ 202, 203 (HHS); 42 U.S.C §§ 281, 282 (NIH); 42 U.S.C. § 7131 (Energy).

          17           110.    The President’s Constitutional authority is set forth in Article II. U.S. Const. art. II §

          18    1, cl. 1. (“The executive Power shall be vested in a President of the United States of America.”). The

          19    President has no constitutional legislative authority. INS v. Chadha, 462 U.S. 919, 951, 956–59

          20    (1983); Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952). Thus, the President has

          21    no constitutional power to unilaterally enact, amend, or repeal parts of duly enacted statutes. Clinton

          22    v. City of New York, 524 U.S. 417, 438–39 (1998). The declared purpose of separating and dividing

          23    the powers of government was to “diffuse[] power the better to secure liberty.” Youngstown Sheet &

          24    Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952) (Jackson, J., concurring); see also Bowsher v. Synar,

          25    478 U.S. 714, 721–22 (1986) (“Justice Jackson’s words echo the famous warning of Montesquieu,

          26
          27    16
                  Available at: http://www.heritage.org/constitution/#!/articles/1/essays/59/necessary-and-proper-
          28    clause.
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           1    quoted by James Madison in The Federalist No. 47, that ‘there can be no liberty where the legislative

           2    and executive powers are united in the same person, or body of magistrates’....” The Federalist No.

           3    47, p. 325 (J. Cooke ed. 1961).”).

           4           111.    The Article II “Take Care Clause” requires that “[the President] shall take Care that

           5    the Laws be faithfully executed.” U.S. Const. art. II, § 3. The Take Care Clause “refutes the idea that

           6    [the President] is to be a lawmaker. The Constitution limits his functions in the lawmaking process to

           7    the recommending of laws he thinks wise and the vetoing of laws he thinks bad.” Youngstown Sheet

           8    & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952).

           9           112.    And yet, the President does not execute the laws alone: “He must execute them by the

          10    assistance of subordinates.” Myers v. United States, 272 U.S. 52, 117 (1926). “To aid him in the

          11    performance of these duties, he is authorized to appoint certain officers, who act by his authority and

          12    in conformity with his orders.” Marbury v. Madison, 5 U.S. 137, 166 (1803).

          13           113.    The President’s Constitutional authority with respect to those who assist him in taking

          14    care that the law is faithfully executed is established in the Appointments Clause which reads, “The

          15    President … shall nominate, and by and with the Advice and Consent of the Senate, shall appoint …

          16    [the] Officers of the United States, whose Appointments are not herein otherwise provided for, and

          17    which shall be established by Law.” U.S. Const. art. II, § 2, cl. 2. That power extends to removal of

          18    those appointed officers.See Myers, 272 U.S. at 135.

          19           114.    This does not mean, however, that the President has carte blanche authority over

          20    federal agencies. The President may exercise Article II authority to create, reorganize, or abolish an

          21    office that he established (such as the Executive Office of the President), but Article II does not

          22    authorize the President to fundamentally reorganize the executive branch by, for example, ordering

          23    government-wide terminations of federal employees, or restricting or abolishing the congressionally

          24    authorized work of even a single agency that he did not establish. Seila Law LLC v. Consumer Fin.

          25    Prot. Bureau, 591 U.S. 197, 217 (2020); see also Bessent v. Dellinger, No. 24A79 (U.S.) (Feb. 16,

          26    2025 Application to Vacate the Order Issued by the U.S. District Court for the District of Columbia
          27

          28
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           1    and Request for an Immediate Administrative Stay), at *27 (U.S. Solicitor General conceding:

           2    “Agency heads…control hiring and firing decisions for subordinates.” (emphasis added)).

           3           115.     “The President’s power, if any, to issue [an] order must stem either from an act of

           4    Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

           5    585 (1952). The President may, therefore, exercise only that legislative authority that Congress has

           6    constitutionally delegated. Id. at 587.

           7           116.    The President does not employ the millions of federal employees; the agencies do. 5

           8    U.S.C. § 3101 (“General authority to employ”: “Each Executive agency, military department, and the

           9    government of the District of Columbia may employ such number of employees of the various

          10    classes recognized by chapter 51 of this title as Congress may appropriate for from year to year.”).

          11    Thus, Congress has largely delegated authority, particularly for employment decisions, to the heads of

          12    the federal agencies, not to the President. Id.; see also, e.g., 26 U.S.C. §§ 7803, 7804 (IRS: “the

          13    Commissioner of Internal Revenue is authorized to employ such number of persons as the

          14    Commissioner deems proper for the administration and enforcement of the internal revenue laws, and

          15    the Commissioner shall issue all necessary directions, instructions, orders, and rules applicable to

          16    such persons.”).

          17           117.    Congress has never delegated corresponding authority to the President to make the

          18    employment decision to lay off federal employees. Instead, Congress has delegated to the President

          19    only rule-making authority to issue government-wide regulations consistent with merit-systems

          20    principles required by Congress. E.g., 5 U.S.C. § 2301 (delegating to President rule-making authority

          21    “necessary to ensure that personnel management is based on and embodies the merit system

          22    principles.”); id. § 3301 (regulations for the efficiency of hiring); id. § 3302 (authority to create

          23    excepted service from the usual competitive requirements). Likewise, to the extent that the authority

          24    to engage in reductions-in-force is grounded in statute, that statute only delegates the authority to

          25    OPM (not the President) and only to make government-wide rules for the “order of retention,” not to

          26    make the decisions. 5 U.S.C. § 3502.
          27

          28
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           1           118.    Nor has Congress delegated to the President the authority to transfer or excise specific

           2    programs, functions, or offices that Congress established and placed within a specific agency’s

           3    statutory authority or discretion. Such a delegation would come dangerously close to the line-item

           4    veto struck down as unconstitutional in Clinton v. City of New York, 524 U.S. 417 (1998). Many of

           5    President Trump’s recent actions effectively assume that line-item veto power, namely the power to

           6    excise programs that do not fall within the President’s desired vision.

           7           119.    Finally, Congress has not delegated to President Trump the broader authority to

           8    impose his transformation on the federal government. When Congress has wanted to grant

           9    reorganization authority to a President, it has done so; but that grant of authority that has been used

          10    by Presidents over the last century has not been reactivated for President Trump.

          11    II.    The 100-Year History of Congressionally Authorized Government Reorganization

          12           120.    Congress first delegated to a President the legislative authority to propose reforms to

          13    federal agencies in 1932. Economy Act of 1932, Pub. L. 72-212, tit. VI, §§ 401-408, 47 Stat. 413.

          14    Since then, from time to time, Congress has delegated to presidential administrations limited

          15    authority to propose reorganizations of the executive branch under specified conditions, usually

          16    within specified time limits. See, e.g., Economy Act of 1933, Pub. L. 73-2, tit. VI, §§ 401-408, 47

          17    Stat. 1517; Reorganization Act of 1939, Pub. L. 76-19, 53 Stat. 561; Reorganization Act of 1945,

          18    Pub. L. 79-263, 59 Stat. 613; Reorganization Act of 1949, Pub. L. 81-109, 63 Stat. 203, as amended

          19    by 67 Stat. 4 (1953), 69 Stat. 14 (1955), 71 Stat. 611 (1957), 75 Stat. 41 (1961), 78 Stat. 240 (1964),

          20    79 Stat. 135 (1965), 83 Stat. 6 (1969), and 85 Stat. 574 (1971); and the Reorganization Act of 1977,

          21    Pub. L. No. 95-17, 91 Stat. 29 (1977) (codified at 5 U.S.C. §§ 901-913 (1982)), as amended by 94

          22    Stat. 329 (1980) and 98 Stat. 3192 (1984).

          23           121.    Nine different Presidents on 16 occasions have been granted this authority to fast-track

          24    reorganizations of government, large and small, through the legislative process. See Cong. Rsch.

          25    Serv., R42852, Presidential Reorganization Authority: History, Recent Initiatives, and Options for

          26    Congress (Dec. 11, 2012) (“Presidents used the authority for a variety of purposes, from relatively
          27    minor reorganizations within individual agencies to the creation of large new organizations, including

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           1    the Department of Health, Education, and Welfare; the Environmental Protection Agency; and the

           2    Federal Emergency Management Agency.”). Presidents have submitted many other proposals that

           3    have not been accepted: “Between 1932 and 1984, presidents submitted 126 reorganization

           4    proposals to Congress, of which 93 were implemented and 33 were affirmatively rejected by

           5    Congress.” Id.

           6            122.     A House of Representatives committee report for the Reorganization Act of 1977

           7    explained the history of such laws: “Reorganizations, of course, may be made in the executive

           8    branch by legislation proposed by the President or originating within the Congress. This

           9    reorganization authority [in the Reorganization Act], however, is a cooperative effort by the President

          10    and the Congress to expedite needed reorganizations and to respond readily to changed

          11    requirements.” H.R. Rep. 95-105, 2, 1977 U.S.C.C.A.N. 41, 42.

          12            123.     The most recent authorization, the Reorganization Act of 1977, as amended, expired

          13    on December 31, 1984, and has not been renewed. 5 U.S.C. § 905(b). The expired law remains

          14    codified, however, and is instructive. The law defines reorganization as including changes to the

          15    structure of federal agencies effectuated by consolidating and transferring functions between

          16    agencies, and within agencies:

          17            (2) the abolition of all or a part of the functions of an agency, except that no
                        enforcement function or statutory program shall be abolished by the plan;
          18            …
                        (4) the consolidation or coordination of part of an agency or the functions thereof with
          19
                        another part of the same agency or the functions thereof;
          20            …
                        (6) the abolition of the whole or a part of an agency which agency or part does not have,
          21            or on the taking effect of the reorganization plan will not have, any functions.
          22    5 U.S.C. § 903(a).
          23            124.     In that same law, Congress imposed requirements on the President, first requiring the
          24    President to transmit any reorganization plan to Congress, and then that the President explain how
          25    any changes to federal agencies would comport with statutory requirements and congressionally
          26    authorized funding levels to facilitate Congress’s consideration of the reforms reflected in such a
          27    plan:
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           1           In his message transmitting a reorganization plan, the President shall specify with
                       respect to each abolition of a function included in the plan the statutory authority for
           2           the exercise of the function.
           3
                       The message shall also estimate any reduction or increase in expenditures (itemized so
           4           far as practicable), and describe any improvements in management, delivery of
                       Federal services, execution of the laws, and increases in efficiency of Government
           5           operations, which it is expected will be realized as a result of the reorganizations
                       included in the plan.
           6
                       In addition, the President’s message shall include an implementation section which
           7
                       shall (1) describe in detail (A) the actions necessary or planned to complete the
           8           reorganization, (B) the anticipated nature and substance of any orders, directives, and
                       other administrative and operational actions which are expected to be required for
           9           completing or implementing the reorganization, and (C) any preliminary actions which
                       have been taken in the implementation process, and (2) contain a projected timetable
          10           for completion of the implementation process.
          11
                       The President shall also submit such further background or other information as the
          12           Congress may require for its consideration of the plan.

          13    5 U.S.C. § 503(b).
          14           125.    On some occasions, Congress has denied presidential requests for reorganization
          15    authority, as when President Barack Obama sought such authority in 2012. See S. 2129, 112th Cong.
          16    (2012); H.R. 4409, 112th Cong. (2012). See also Retooling Government for the 21st Century: The
          17    President’s Reorganization Plan and Reducing Duplication: Hearing Before the S. Comm. on
          18    Homeland Sec. & Gov’t Aff., 112th Cong. (2012) (S. Hrg. 112-531). In 2003, reorganization authority
          19    for then-President Bush passed the House, but was defeated in the Senate. CRS Report R42852,
          20    supra, at 32-33.
          21           126.    Congress, exercising its Article I legislative authority, has also over the decades
          22    rejected specific presidential reorganization plans presented through the regular legislative process.
          23    These have included, for example, proposals to eliminate the Department of Education, see, e.g., H.R.
          24    714, 98th Cong. (1983) and H.R. 1510, 115th Cong. (2017); to merge the Department of Labor, the
          25    Department of Commerce, and the Small Business Administration, see, e.g. S. 1116, 112th Cong.
          26    (2011); and to consolidate parts of several agencies into a new Food Safety Administration. H.R.
          27    609, 114th Cong. (2015); among others.
          28
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           1           127.    At other times, Congress has authorized reorganizations via regular legislation, after

           2    legislative debate and compromise by the people’s representatives in Congress, such as when

           3    Congress enacted the Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135;

           4    Communication from the President of the United States: A Reorganization Plan for the Department of

           5    Homeland Sec., 108th Cong. 16 (Jan. 7, 2003); Cong. Rsch. Serv., RL31493, Homeland Security

           6    Department of Organization and Management – Legislative Phase (Feb. 25, 2003). Congress has

           7    also sometimes delegated to the President limited reorganization authority with respect to specific

           8    executive agencies, under specific conditions, and for specific periods of time. One such law, for

           9    example, authorized a reorganization of the U.S. Agency for International Development (“USAID”)

          10    and related foreign affairs agencies in 1998. See, e.g., Pub. L. 105-277, div. G, subdiv. A, § 1601,

          11    112 Stat. 2681-795 (1998) (codified at 22 U.S.C. § 6601). Such laws typically set expiration dates

          12    for the delegated authority: that particular law, for example, prohibits presidential reorganization of

          13    USAID after the effective date of the reorganization plan authorized in 1998. 22 U.S.C. § 6601(e).

          14           128.    The long history of this reorganization authority legislation makes abundantly clear

          15    that the power is legislative, rests with Congress, and is only delegated to the President when

          16    Congress expressly decides to do that.

          17    III.   President Trump’s First Unsuccessful Attempt at Government Reorganization

          18           129.    President Trump should be well aware that he does not possess the constitutional

          19    authority to order reorganization of the government and that that is an authority that rests with

          20    Congress, as evidenced by his experience during his first term.

          21           130.    On March 13, 2017, during his first term, President Trump issued Executive Order

          22    13781, which required the Director of OMB “to propose a plan to reorganize governmental functions

          23    and eliminate unnecessary agencies ... , components of agencies, and agency programs.” Exec. Order

          24    No. 13781, 82 Fed. Reg. 13959 (2017). OMB’s implementing memorandum created a process for

          25    both agency and public input to contribute to a proposed plan. Memorandum from Mick Mulvaney,

          26    OMB Director, to Heads of Executive Departments and Agencies re: Comprehensive Plan for
          27

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           1    Reforming the Federal Government and Reducing the Federal Civilian Workforce, M-17-22, at 2

           2    (Apr. 12, 2017).17

           3           131.    OMB released its comprehensive plan to the public on June 21, 2018. OMB,

           4    Delivering Government Solutions in the Twenty-First Century: Reform Plan and Reorganization

           5    Recommendations (June 2018) (hereinafter “2018 Reorganization Plan”).18

           6           132.    The 2018 Reorganization Plan listed 32 proposals and conceded that “significant

           7    changes will require legislative action.” Id. at 4; id. at 21 (emphasizing the Administration’s need for

           8    “the support of the Congress,”); id. at 55 (“Fully and effectively achieving the end-state vision

           9    presented here would necessarily require a partnership with the Congress, including the granting of

          10    statutory authorities as necessary.”). The 2018 Plan committed that, in September 2018, OMB would

          11    begin negotiations with Congress for legislative action. Id. at 6.

          12           133.    In 2018, Rep. Jody Hice (R-GA) introduced a bill that would have resurrected 5

          13    U.S.C. ch. 9 to give President Trump reorganization authority. See H.R.6787, 115th Congress (2017-

          14    2018).19 Senator Ron Johnson (R-WI) introduced a companion bill in the Senate. See S.3137,115th

          15    Congress (2018).20 The Senate bill cleared the committee following a hearing, but it was never

          16    brought up for a vote in the Senate. The Senate’s committee report does not appear to indicate (or

          17    even suggest) that the Trump administration expressly requested authority, but OMB’s deputy

          18    director testified in support of Trump’s reorganization plan at the committee hearing. See Reforming

          19    Government Act of 2018 Report of Comm. on Govt’l Aff. to Accompany S. 3137, 115th Cong. 381

          20    (2018).21

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          24       Available at:
                https://web.archive.org/web/20170716192101/https://www.whitehouse.gov/sites/whitehouse.gov/
          25    files/omb/memoranda/2017/M-17-22.pdf.
                18
                   Available at: https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-and-
          26    Reorg-Plan.pdf.
                19
                   Available at: https://www.congress.gov/bill/115th-congress/house-bill/6787/subjects.
          27    20
                   Available at: https://www.congress.gov/bill/115th-congress/senate-bill/3137.
                21
          28       Available at: https://www.congress.gov/115/crpt/srpt381/CRPT-115srpt381.pdf.
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           1           134.    In 2019, the Trump administration issued an update on the progress of the 2018 Plan.

           2    Off. of Mgmt. & Budget, Exec. Off. of the President, One Year [sic] Update: Reform Plan and

           3    Reorganization Recommendations (2019) (hereinafter “2019 Update”).22 The update noted that

           4    “some proposals require action by Congress.” Id. at 2. Along those lines, the update acknowledged

           5    that “Congress has taken action to consider at least 10 of the proposals, via hearings, legislation, or

           6    discussions with Members or staff.” Id.

           7           135.    Congress gave due consideration to the Trump administration’s first-term

           8    reorganization ambitions by convening numerous hearings before and after OMB publicly released

           9    the 2018 Plan. See, e.g., FAA Reauthorization: Administration Perspectives: Hearing Before the S.

          10    Comm. on Commerce, Science & Transp., 115th Cong. (June 7, 2017) (S. Hrg. 115-221);23 Agency

          11    Approaches to Reorganization Examining OMB’s Memorandum on the Federal Workforce: Hearing

          12    Before S. Comm. on Homeland Sec. & Govt’l Aff., 115th Cong. (June 15, 2017) (S. Hrg. 115-165);24 A

          13    Review of the State Department Reauthorization Bill for Fiscal Year 2018 and the State Department

          14    Reorganization Plans: Hearing Before the S. Comm. on For. Rel., 115th Cong. (July 17, 2017) (S.

          15    Hrg. 115-704);25 Examining OMB’s Memorandum on The Federal Workforce Part II: Expert Views

          16    on OMB’s Ongoing Government-Wide Reorganization: Hearing Before the S. Comm. on Homeland

          17    Sec. & Govt’l Aff., 115th Cong. (Sep. 13, 2017) (S. Hrg. 115-6177);26 Department of Energy:

          18    Management and Priorities; Hearing Before the H. Comm. on Science, Space, & Tech., 115th Cong.

          19    (Jan. 1, 2018) (Serial No. 115-45);27 Financing Overseas Development: The Administration’s

          20    Proposal: Hearing Before the H. Comm. on For. Rel., 115th Cong. (Apr. 11, 2018) (Serial No. 115-

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          23       Available at:
                https://web.archive.org/web/20200716100903/https://www.performance.gov/GovReform/Reform-
          24    and-Reorg-Plan-Update.pdf.
                23
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg29974/CHRG-115shrg29974.pdf.
          25    24
                   Available at: https://www.govinfo.gov/content/pkg/CHRG-115shrg27394/pdf/CHRG-
                115shrg27394.pdf.
          26    25
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg38105/CHRG-115shrg38105.pdf.
                26
          27       Available at: https://www.congress.gov/115/chrg/CHRG-115shrg28405/CHRG-115shrg28405.pdf.
                27
                   Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg28932/CHRG-
          28    115hhrg28932.pdf.
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           1    119);28 Workforce for the 21st Century: Analyzing the President’s Management Agenda: Hearing

           2    Before the H. Comm. on Oversight & Gov’t Reform, 115th Cong. (May 16, 2018) (Serial No. 115-

           3    96);29 USAID Resources and Redesign: Hearing Before the S. Comm. on For. Rel., 115th Cong. (June

           4    20, 2018) (S. Hrg. 115-791);30 Examining the Administration’s Government-Wide Reorganization

           5    Plan: Hearing Before H. Comm. on Oversight & Gov’t Reform, 115th Cong. (June 27, 2018) (Serial

           6    No. 115-88);31 Reviewing the Administration’s Government Reorganization Proposal: Hearing Before

           7    the S. Comm. on Homeland Sec. & Gov’t Aff., 115th Cong. (July 18, 2018) (S. Hrg. 115-547);32

           8    Administration Reorganization and Modernization Proposals Related to the Department of Energy

           9    and the Department of the Interior: Hearing Before S. Comm. on Energy and Nat’l Resources, 115th

          10    Cong. (July 19, 2018) (S. Hrg. 115-524);33 The Challenges and Opportunities of the Proposed

          11    Government Reorganization on OPM and GSA: Hearing Before the S. Comm. on Homeland Sec. &

          12    Gov’t Aff. (July 26, 2018) (S. Hrg. 115-451);34 Oversight Hearing on No Road Map, No Destination,

          13    No Justification: The Implementation and Impacts of the Reorganization of the Department of the

          14    Interior: Hearing Before the H. Comm. on Nat. Res., 116th Cong. (Apr. 30, 2019) (Serial No. 116-

          15    13);35 The Administration’s War on a Merit Based Civil Service: Hearing Before the Subcomm. on

          16    Gov’t Ops., H. Comm on Oversight & Reform, 116th Cong. (May 21, 2019) (Serial No. 116-26);36

          17    Document Production Status Update: OPM, FBI, and GSA: Hearing Before the Subcomm. on Gov’t

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                   Available at: https://www.congress.gov/115/meeting/house/108115/documents/HHRG-115-FA00-
          21    Transcript-20180411.pdf.
                29
                   Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg31422/CHRG-
          22    115hhrg31422.pdf.
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          23       Available at: https://www.congress.gov/115/chrg/CHRG-115shrg40341/CHRG-115shrg40341.pdf.
                31
                   Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg31276/CHRG-
          24    115hhrg31276.pdf.
                32
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg34573/CHRG-115shrg34573.pdf.
          25    33
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg30984/CHRG-115shrg30984.pdf.
                34
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg32987/CHRG-115shrg32987.pdf.
          26    35
                   Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg36257/CHRG-
          27    116hhrg36257.pdf.
                36
                   Available at: https://docs.house.gov/meetings/GO/GO24/20190521/109516/HMTG-116-GO24-
          28    Transcript-20190521.pdf.
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           1    Ops., H. Comm on Oversight & Reform, 116th Cong. 42 (June 27, 2019);37 BLM Disorganization:

           2    Examining the Proposed Reorganization and Relocation of the Bureau of Land Management

           3    Headquarters to Grand Junction, Colorado: Hearing Before the H. Comm. on Nat. Res., 116th Cong.

           4    (Sep. 19, 2019) (Serial No. 116-21).38

           5           136.    The Congressional Research Service aided Congress in its deliberations by preparing a

           6    report, which discussed the 2018 Plan’s 32 proposals and 3 significant subproposals. Cong. Rsch.

           7    Serv., Trump Administration Reform and Reorganization Plan: Discussion of 35 “Government-Wide”

           8    Proposals, at 1 (July 25, 2018).39

           9           137.    Congress largely did not support the proposed reforms. See The Administration’s War

          10    on a Merit Based Civil Service: Hearing Before the Subcomm. on Gov’t Ops., H. Comm on Gov’t

          11    Oversight & Reform, 116th Cong. (May 21, 2019) (Serial No. 116-26); see also Fed. News Network,

          12    Congress not yet convinced of Trump administration’s proposed OPM-GSA merger (May 22, 2019)

          13    (“Lawmakers on Tuesday afternoon expressed bipartisan concern and skepticism for the Trump

          14    administration’s proposed merger of the Office of Personnel Management with the General Services

          15    Administration. And they weren’t alone. The Government Accountability Office, OPM’s inspector

          16    general and a former agency director said the administration hasn’t demonstrated enough evidence to

          17    date to show the proposed OPM-GSA merger makes sense.”);40 Gov’t Exec., Omnibus Puts Kibosh

          18    on White House Efforts to Unilaterally Reorganize Agencies, Shed Workers. (Mar. 22, 2018);41 Gov’t

          19    Exec., Congress Begins Formally Blocking Trump’s Government Reorganization Plan. (Sep. 12,

          20    2018).42

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          22    37
                   Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg37283/CHRG-
          23    116hhrg37283.pdf.
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                   Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg37679/CHRG-
          24    116hhrg37679.pdf.

          25    40
                   Available at: https://federalnewsnetwork.com/opm-reorganization/2019/05/congress-not-yet-
                convinced-of-trump-administrations-proposed-opm-gsa-merger/.
          26    41
                   Available at: https://www.govexec.com/management/2018/03/omnibus-puts-kibosh-white-house-
          27    efforts-unilaterally-reorganize-agencies-shed-workers/146894/.
                42
                   Available at: https://www.govexec.com/management/2018/09/congress-begins-formally-blocking-
          28    trumps-government-reorganization-plan/151218/.
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           1    IV.    President Trump’s Second-Term Reorganization Without Congressional Authorization

           2           138.    Since Congress, as the representatives duly elected by the American people to the

           3    legislative branch of government, may not support his reform proposals, President Trump has chosen

           4    to proceed with his “Manhattan project of our time” without first obtaining Congressional

           5    authorization—or even providing Congress with clear information about the unprecedented

           6    reorganization he intends. And unlike during President Trump’s first term, there has been absolutely

           7    no public process by which the Administration’s current proposals have been vetted. Instead, the

           8    Administration is proceeding secretly, and by fiat.

           9           139.    The President has acknowledged that he needs and does not have Congressional

          10    authorization. The President responded “Yeah,” when asked in a February 18, 2025 interview by TV

          11    host Sean Hannity whether his Executive Order would “have to be codified into law” and “need the

          12    Republican Congress to follow up.” The White House: Interview of President Trump and Elon Musk

          13    by Sean Hannity, “the Sean Hannity Show” (Feb. 18, 2025).43

          14           A.      The Mandate to OMB, OPM, and DOGE to Reform and Downsize

          15           140.    On January 20, 2025, the President created DOGE to engage in his project of radically

          16    transforming the size and scope of the federal government. Exec. Order No. 14158, 90 Fed. Reg.

          17    8441 (Jan. 20, 2025) (Establishing and Implementing the President’s ‘‘Department of Government

          18    Efficiency’). That Order reorganized and renamed the U.S. Digital Service as DOGE and moved that

          19    office from reporting to OMB within the Executive Office of the President to reporting directly to the

          20    President’s Chief of Staff. Id. The January 20 Order created two other structures: a “U.S. DOGE

          21    Service Temporary Organization … headed by the [DOGE] Administrator and … dedicated to

          22    advancing the President’s 18-month DOGE agenda” and “DOGE Teams” embedded at each agency

          23    and jointly appointed by DOGE and the agency head. Id. The Administration has never made public

          24    the “18-month DOGE agenda” for the federal government. Id.

          25

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          27    43
                  Available at: https://www.whitehouse.gov/remarks/2025/02/interview-of-president-trump-and-
          28    elon-musk-by-sean-hannity-the-sean-hannity-show/.
                COMPLAINT, No.                                                                                     37

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           1           141.    On January 20, 2025, the President also issued a Presidential Memorandum imposing

           2    a government-wide hiring freeze on all federal agencies, with limited exceptions. The White House:

           3    Presidential Actions: Hiring Freeze (Jan. 20, 2025).44 The President generally ordered: “this freeze

           4    applies to all executive departments and agencies regardless of their sources of operational and

           5    programmatic funding.” Id. The President then ordered DOGE, OMB, and OPM to create a plan to

           6    reduce the size of the federal government. Id. (“Within 90 days of the date of this memorandum, the

           7    Director of the Office of Management and Budget (OMB), in consultation with the Director of OPM

           8    and the Administrator of the United States DOGE Service (USDS), shall submit a plan to reduce the

           9    size of the Federal Government’s workforce through efficiency improvements and attrition.”).

          10           142.    As other federal courts have found, individuals affiliated with DOGE, hired into the

          11    federal government on a temporary basis, proceeded to embed within federal agencies and centralize

          12    decision-making, with the part of DOGE based in the Executive Office of the President headed by

          13    Elon Musk. See, e.g., Does v. Musk, __ F. Supp. 3d __, No. 25-0462, 2025 WL 840574, at *1–4 (D.

          14    Md. Mar. 18, 2025); New York v. Trump, __ F. Supp. 3d __, No. 25-CV-01144, 2025 WL 573771, at

          15    *3–7 (S.D.N.Y. Feb. 21, 2025); AFL-CIO v. Dep’t of Lab., __F. Supp. 3d __, No. 25-339, 2025 WL

          16    1129227, at *1–4 (D.D.C. Apr. 16, 2025).

          17           143.    In a March 2025 interview, Elon Musk, on behalf of DOGE, explained the DOGE

          18    goals as follows:

          19           We want to reduce the spending by eliminating waste and fraud, reduce the spending
                       by 15%, which seems really quite achievable.
          20           …
                       We are cutting the waste and fraud in real time. Every day like that passes, our goal is
          21
                       to reduce the waste and fraud by $4 billion a day every day, seven days a week. And
          22           so far, we are succeeding.45

          23

          24

          25

          26    44
                  Available at: https://www.whitehouse.gov/presidential-actions/2025/01/hiring-freeze/.
                45
          27      Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
          28    available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
                COMPLAINT, No.                                                                                     38

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           1              144.    The President issued many other directives aimed at furthering the goals of

           2    transformation of the government and federal employment according to his vision, at each step

           3    enlisting the aid of OPM, OMB and/or DOGE to implement his directives, including:

           4                •    Exec. Order No. 14151, 90 Fed. Reg. 8339 (Jan. 20, 2025) (Ending Radical and
                                 Wasteful Government DEI Programs and Preferencing) (OMB and OPM);
           5

           6                •    Exec. Order No. 14170, 90 Fed. Reg. 8621 (Jan. 20, 2025) (Reforming the
                                 Federal Hiring Process and Restoring Merit to Government Service) (OMB,
           7                     OPM, DOGE, working with “the Assistant to the President for Domestic
                                 Policy”);
           8
                            •    Exec. Order No. 14171, 90 Fed. Reg. 8625 (Jan. 20, 2025) (Restoring
           9
                                 Accountability to Policy-Influencing Positions Within the Federal Workforce)
          10                     (OPM); and

          11                •    Exec. Order No. 14173, 90 Fed. Reg. 8633 (Jan. 21, 2025) (Ending Illegal
                                 Discrimination and Restoring Merit-Based Opportunity) (OMB).
          12

          13    In the President’s own words: “It is the policy of my Administration … to commence the

          14    deconstruction of the overbearing and burdensome administrative state.” Exec. Order No. 14219, 90

          15    Fed. Reg. 10583 (Feb. 19, 2025) (Ensuring Lawful Governance and Implementing the President’s

          16    “Department of Government Efficiency” Deregulatory Initiative) (enlisting DOGE and OMB); see

          17    also Exec. Order No. 14222, 90 Fed. Reg. 11095 (Feb. 26, 2025) (Implementing the President’s

          18    Department of Government Efficiency Cost Efficiency Initiative: enlisting DOGE in “a

          19    transformation in Federal spending”).

          20              145.    The President also eliminated certain agencies with the following proclamation:

          21              It is the policy of my Administration to dramatically reduce the size of the Federal
                          Government, while increasing its accountability to the American people. This order
          22              commences a reduction in the elements of the Federal bureaucracy that the President
                          has determined are unnecessary. Reducing the size of the Federal Government will
          23              minimize Government waste and abuse, reduce inflation, and promote American
                          freedom and innovation.
          24

          25    Exec. Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025) (Commencing the Reduction of the

          26    Federal Bureaucracy) (enlisting OMB and OPM to eliminate the Presidio Trust; the Inter-American

          27    Foundation; the United States African Development Foundation; and the United States Institute of

          28    Peace).
                COMPLAINT, No.                                                                                      39

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           1           146.    The President further enlisted OMB to “reduce the performance” of the following

           2    agencies to “the minimum presence and function required by law”: the Federal Mediation and

           3    Conciliation Service; the United States Agency for Global Media; the Woodrow Wilson International

           4    Center for Scholars in the Smithsonian Institution; the Institute of Museum and Library Services; the

           5    United States Interagency Council on Homelessness; the Community Development Financial

           6    Institutions Fund; and the Minority Business Development Agency. Exec. Order No. 14238, 90 Fed.

           7    Reg. 13043 (Mar. 14, 2025) (Continuing the Reduction of the Federal Bureaucracy). The President

           8    explained: “This order continues the reduction in the elements of the Federal bureaucracy that the

           9    President has determined are unnecessary.” Id.

          10           147.    The President also ordered the “closure” of the entire United States Department of

          11    Education and transfer of certain functions to other agencies. Exec. Order No. 14242, 90 Fed. Reg.

          12    13679 (Mar. 20, 2025) (Improving Education Outcomes by Empowering Parents, States, and

          13    Communities). The President likewise closed the United States Agency for International

          14    Development, firing nearly all of its staff, and subsumed what remained into the State Department,46

          15    as well as shuttered the Consumer Financial Protection Bureau, attempting to fire nearly all of its

          16    staff as well.47 Most recently, the President decimated AmeriCorps, ending core programs and

          17    placing nearly all staff on leave before later laying them off and cutting the bulk of grants to

          18    AmeriCorps grantees.48

          19

          20

          21    46
                   Carnegie Endowment for International Peace, Trump’s Move to Gut USAID Reveals the Crux of
          22    His Foreign Policy (Feb. 4, 2025), available at:
                https://carnegieendowment.org/emissary/2025/02/usaid-trump-foreign-aid-policy-why.
                47
          23       NBC News, Trump administration and Musk's DOGE plan to fire nearly all CFPB staff and wind
                down agency, employees say (Feb. 28, 2025), available at:
          24    https://www.nbcnews.com/business/business-news/trump-administration-musks-doge-plan-fire-cfpb-
                staff-close-agency-rcna194217.
          25    48
                   NY Times, DOGE Guts Agency That Organizes Community Service Programs (Apr. 17, 2025),
                available at: https://www.nytimes.com/2025/04/17/us/politics/doge-cost-americorps-community-
          26    service.html; see also MSN, AmeriCorps Faces Major Blow As Elon Musk-Led DOGE Slashes $400
          27    Million In Federal Grants (Apr. 26, 2025), available at: https://www.msn.com/en-
                in/news/world/americorps-faces-major-blow-as-elon-musk-led-doge-slashes-400-million-in-federal-
          28    grants/ar-AA1DEjSo.
                COMPLAINT, No.                                                                                        40

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           1             148.    DOGE and/or OPM have taken a series of other actions since January 20, 2025 aimed

           2    at deconstructing and drastically reducing the size of the federal government, including: the “Fork in

           3    the Road” Deferred Resignation Program, announced via e-mail to millions of federal employees; the

           4    unlawful termination of probationary employees nationwide; the mandated email reporting (“5

           5    bullets”) to all federal employees and corresponding threats for failure to respond; and the placement

           6    of employees throughout the federal government on administrative leave for a variety of reasons.

           7             B.      President’s February 11, 2025 Executive Order to All Federal Agencies to
                                 Downsize and Reorganize Themselves Via Agency RIF and Reorganization Plans
           8
                         149.    The President’s February 11, 2025 Workforce Executive Order is in the same vein as
           9
                these other actions, furthering the President’s express goal of “transforming” and “deconstruct[ing]”
          10
                the agencies of the federal government. Ex. A.
          11
                         150.    The Executive Order applies to the executive departments and agencies, including but
          12
                not limited to the Federal Agency Defendants. Id. (citing 44 U.S.C. § 3502). There are currently
          13
                fifteen executive cabinet-level departments, 5 U.S.C. § 101, and hundreds of federal agencies and
          14
                commissions.49
          15
                         151.    The President ordered, in pertinent part:
          16
                         a.      Reduction of the number of federal employees via hiring freezes, hiring/departure
          17
                ratios, and OMB and DOGE control of agency hiring. Ex. A, Sec. 3. Specifically, the President
          18
                required OMB to submit to him a “plan to reduce the size of the Federal Government’s workforce”
          19
                that will “require that each agency hire no more than one employee for every four employees that
          20
                depart, consistent with the plan and any applicable exemptions and details provided for in the Plan.”
          21
                Id. The President allowed limited exceptions for “functions related to public safety, immigration
          22
                enforcement, or law enforcement.” The President required all agency heads to submit all career
          23
                federal hiring to DOGE for approval. Id.
          24
                         b.      All federal agencies “shall promptly undertake preparations to initiate large-scale
          25
                reductions in force (RIFs).” Id. In making these cuts, the President ordered that “[a]ll offices that
          26
          27
                49
          28         Available at: https://www.usa.gov/agency-index.
                COMPLAINT, No.                                                                                         41

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           1    perform functions not mandated by statute or other law shall be prioritized in the RIFs, including”:

           2                •   “all agency diversity, equity, and inclusion initiatives”;
           3                •   “all agency initiatives, components, or operations that my Administration suspends or
           4                    closes”; and

           5                •   “all components and employees performing functions not mandated by statute or other
                                law who are not typically designated as essential during a lapse in appropriations as
           6                    provided in the Agency Contingency Plans on the Office of Management and Budget
                                website” (“Funding Lapse Plan Staffing Levels”).
           7

           8    Id. (emphasis added). The President allowed limited exceptions: “This subsection shall not apply to

           9    functions related to public safety, immigration enforcement, or law enforcement.” Id.

          10           c.       All federal agencies shall submit to OMB a “reorganization plan” that “shall discuss

          11    whether the agency or any of its subcomponents should be eliminated or consolidated.” Id.

          12           152.     The President’s Executive Order removed agency discretion and authority, by ordering

          13    agencies to act. The President’s Executive Order necessarily orders agencies to disregard applicable

          14    statutory authorizations and appropriations, by implementing the following mandates:

          15           a.       Agencies are required to implement “large-scale” RIFs (irrespective of whether

          16                    staffing reductions are necessary or even appropriate in light of agency functions and

          17                    appropriations);

          18           b.       Agencies are required to prioritize in RIFs “all agency initiatives, components, or

          19                    operations that [the] Administration suspends or closes” (irrespective of statutory

          20                    requirements or authority delegated to the agencies);

          21           c.       Agencies are required to prioritize in RIFs “all components and employees” not

          22                    deemed “essential”—and therefore that do not continue working—during a

          23                    government shutdown when annual appropriations have temporarily lapsed (aka

          24                    Funding Lapse Plan Staffing Levels, which have nothing to do with the staffing

          25                    needed to properly run fully appropriated agencies);

          26           d.       Agencies are required to consider their own destruction, by addressing whether the

          27                    agency or any subparts should be eliminated by the President (again, regardless of

          28                    statutory requirements or authority delegated to the agencies);
                COMPLAINT, No.                                                                                        42

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           1           e.      And finally, agencies are required to reorganize themselves by picking up and

           2                   arranging the pieces that are left, following these large-scale reductions.

           3           153.    The President further granted OPM, rather than the agencies, the power to “grant

           4    exemptions from this order where those exemptions are otherwise necessary and shall assist in

           5    promoting workforce reduction.” Id., Sec. 4.

           6           154.    The President gave agencies a mere 30 days, after commencing their planning for the

           7    massive RIFs, to submit reorganization reports describing how they would pick up and organize the

           8    pieces of what will be left. Id., Sec. 3.

           9           155.    Notwithstanding all of these requirements that order agencies to apply parameters that

          10    cannot be reconciled with agency statutory authority, the President then stated the Order should be

          11    implemented consistent with applicable law. Id. Sec. 5.

          12           C.      OMB, OPM, and DOGE Implementation of the President’s Orders: February 26
                               Directive, March 13 Deadline, and April 14 Deadline
          13
                       156.    On February 26, 2025, OMB and OPM issued a Memorandum to Heads of Executive
          14
                Departments and Agencies, including but not limited to the Federal Agency Defendants, regarding
          15
                “Guidance on Agency RIF and Reorganization Plans Requested by Implementing The President’s
          16
                ‘Department of Government Efficiency’ Workforce Optimization Initiative.” Ex. B.
          17
                       157.    OMB and OPM echoed the President’s purposes in transforming the federal
          18
                bureaucracy, explaining:
          19
                       The federal government is costly, inefficient, and deeply in debt. At the same time, it
          20           is not producing results for the American public. Instead, tax dollars are being
                       siphoned off to fund unproductive and unnecessary programs that benefit radical
          21           interest groups while hurting hard-working American citizens.
          22
                       The American people registered their verdict on the bloated, corrupt federal
          23           bureaucracy on November 5, 2024 by voting for President Trump and his promises to
                       sweepingly reform the federal government.
          24    Id.
          25           158.    In this Memorandum, OMB and OPM directed federal agencies to comply with the
          26    President’s Executive Order by submitting the “Agency RIF and Reorganization Plans” (“ARRPs”)
          27    required by the Workforce Executive Order to OMB and OPM for “review and approval.” Id.
          28
                COMPLAINT, No.                                                                                    43

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           1           159.    The OMB and OPM February 26 Memorandum, by imposing onerous requirements

           2    under exceptionally unreasonable time frames, guarantees that agencies will not be able to comply

           3    with their statutory and regulatory mandates, will not exercise any existing discretion in a manner

           4    that is faithful to those mandates or results from considered, proper decision-making, and will instead

           5    do the President’s unlawful bidding. The OMB and OPM February 26 Memorandum, by endowing

           6    OMB and OPM with ultimate decision-making power as to the ARRPs, transfers decision-making to

           7    those without personal knowledge of or experience with the particular requirements and obligations

           8    of these agencies, their component parts, or of the work performed by their employees—and the

           9    impacts of eliminating that work.

          10           160.    OMB and OPM set forth requirements for the ARRPs that included instructing that

          11    ARRPs “should” include “[a] significant reduction in the number of full-time equivalent (FTE)

          12    positions by eliminating positions that are not required.” OMB and OPM explained further:

          13    “Pursuant to the President’s direction, agencies should focus on the maximum elimination of

          14    functions that are not statutorily mandated while driving the highest-quality, most efficient delivery of

          15    their statutorily required functions.” Id. OMB and OPM further directed that agencies “should

          16    also[,]” among other things:

          17               •   “seek to consolidate areas of the agency organization chart that are duplicative”;
          18               •   “consolidate management layers where unnecessary layers exist”; and
          19               •   “seek reductions in components and positions that are non-critical[.]”
          20    OMB and OPM further instructed: “When taking these actions, agencies should align closures and/or

          21    relocation of bureaus and offices with agency return-to-office actions to avoid multiple relocation

          22    benefit costs for individual employees.” Id.

          23           161.    OMB and OPM also directed agencies to work with DOGE in planning required RIFs

          24    for non-essential positions, and to use 2019 Funding Lapse Plan Staffing Levels as the “starting

          25    point” for identifying those positions that are “essential.” Ex. B.

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                COMPLAINT, No.                                                                                      44

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           1              162.   Among the “tools” OMB and OPM directed agencies could use: “Eliminating non-

           2    statutorily mandated functions through RIFs (Appendix 1 contains a sample timeline).” Then, OMB

           3    and OPM directed that agencies must include the following in the plans submitted for approval:

           4              ARRPs should also list the competitive areas for large-scale reductions in force, the
                          RIF effective dates (which may be a date prior to when the plan is submitted), the
           5              expected conclusion of the RIFs, the number of FTEs reduced, and additional impact
                          of RIFs such as cancellation of related contracts, leases or overhead.
           6

           7    Id.

           8              163.   OMB and OPM required the ARRPs to be submitted for approval in two phases, the

           9    first of which was due merely two weeks later on March 13, 2025, and the second on April 14, 2025,

          10    and then gave specific requirements for each phase. Id.

          11              164.   The March 13 “Phase 1 ARRPs shall focus on initial agency cuts and reductions.” Id.

          12    Agencies were required to identify, among other things, Funding Lapse Plan Staffing Levels:

          13              All agency components and employees performing functions not mandated by statute
                          or regulation who are not typically designated as essential during a lapse in
          14              appropriations (because the functions performed by such employees do not fall under
                          an exception to the ADA) using the Agency Contingency Plans submitted to OMB in
          15              2019 referenced above.
          16
                Id. (emphasis added). Agencies were also required to identify “[w]hether the agency or any of its
          17
                subcomponents should be eliminated or consolidated.” Id.
          18
                          165.   The April 14 Phase 2 plans were required to contain further information regarding the
          19
                reorganization in light of the required RIFs, including a new organization chart and, among other
          20
                things:
          21
                      •   The agency’s plan to ensure that employees are grouped, to the greatest extent possible, based
          22              on like duties and job functions to promote effective collaboration and management, and that
                          the agency’s real estate footprint is aligned with cross-agency efforts coordinated by GSA to
          23              establish regional federal office hubs.
          24
                      •   Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
          25              National Capital Region to less-costly parts of the country.

          26          •   The competitive areas for subsequent large-scale RIFs.
          27          •   All reductions, including FTE positions, term and temporary positions, reemployed
          28              annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.
                COMPLAINT, No.                                                                                        45

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           1
                      •   Any components absorbing functions, including how this will be achieved in terms of FTE
           2              positions, funding, and space.
           3    Id.

           4              166.   Finally, OMB and OPM instructed once again that “law enforcement, border security,

           5    national security, immigration enforcement, or public safety responsibilities” as well as political

           6    appointees were exempt from these “transformation” efforts and that agencies providing services to

           7    the public were not permitted to implement any RIFs without OMB or OPM sign-off. Id.

           8              167.   On information and belief, it is not possible for any federal agency, let alone all federal

           9    agencies, to create an ARRP that both accommodates the specific parameters required by the

          10    President, OMB, and OPM and complies with all of the federal agency’s statutory and regulatory

          11    requirements in a mere two weeks, by the March 13 deadline, or even realistically by the April 14

          12    deadline. The OMB/OPM Memorandum did not provide agencies enough time to properly assess an

          13    agency’s statutory requirements, let alone assess how to comply with them and the President’s

          14    directives.

          15              168.   The requirements for the ARRPs imposed by OMB and OPM on all federal agencies

          16    effectively removed independent decision-making authority from the agencies and required agencies

          17    to disregard the statutory authority governing the agency’s organization, functions, personnel

          18    requirements, and appropriations. The language directing agencies to comply with applicable law in

          19    creating these plans was disingenuous.

          20              169.   The February 26, 2025 OMB and OPM memorandum contained new or modified rules

          21    without engaging in notice and comment rule-making, and effectively required agencies (including

          22    but not limited to Federal Agency Defendants) to comply with these new and modified rules

          23    regardless of any prior existing regulations.

          24              170.   On information and belief, DOGE, via individuals in the Executive Office of the

          25    President and DOGE teams embedded at agencies (including but not limited to Federal Agency

          26    Defendants), has enforced the requirements of the President’s Executive Order and OMB/OPM

          27    Memorandum, including by ordering federal agencies to make mandated cuts eliminating positions,

          28    programs, offices, and functions. On information and belief, DOGE has required federal agencies to
                COMPLAINT, No.                                                                                         46

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           1    comply with required targets imposed by DOGE for spending reductions by eliminating positions,

           2    programs, offices, and functions to meet the DOGE stated goal of imposing spending cuts

           3    government-wide.

           4           171.   In sum, OMB, OPM, and DOGE have usurped agency authority, exceeded their own

           5    authority, acted in an arbitrary and capricious manner, and ignored procedural requirements by

           6    requiring federal agencies throughout the government, including but not limited to Federal Agency

           7    Defendants, to:

           8           a.     Submit ARRPs for OMB and OPM approval;

           9           b.     Include in those ARRPs large-scale RIFs (irrespective of whether staffing reductions

          10           are necessary or even appropriate in light of agency functions and appropriations);

          11           c.         Prioritize in those large-scale RIFs any functions that “[the President’s]

          12           Administration suspends or closes” (irrespective of statutory requirements or authority

          13           delegated to the agencies);

          14           d.     Prioritize in those large-scale RIFs 2019 government emergency shutdown levels of

          15           staffing (which have nothing to do with the staffing needed to properly run fully appropriated

          16           agencies);

          17           e.     Include in their ARRPs consideration of their own destruction, by addressing whether

          18           the agency or any subparts should be eliminated by the President (again, regardless of

          19           statutory requirements or authority delegated to the agencies);

          20           f.     Include in their ARRPs a plan to reorganize themselves by picking up and arranging

          21           the pieces that are left, following these large-scale reductions;

          22           g.     Submit these plans for approval on timeframes that do not permit agencies to actually

          23           consider and assess their own needs or their statutory authority; and

          24           h.     Impose cuts to functions and staffing according to “targets” and “goals” imposed by

          25           DOGE.

          26
          27

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                COMPLAINT, No.                                                                                   47

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           1            D.      OMB, OPM, and DOGE Lack of Statutory Authority to Order Agencies to
                                Reorganize or Engage in a RIF
           2
                        172.    OMB must source its authority either directly from an act of Congress, or a delegation
           3
                by Congress to the President that the President has in turn delegated to OMB. OMB lacks the
           4
                authority to order federal agencies to downsize or reorganize themselves, or to assume final decision-
           5
                making power by requiring agencies to submit such plans for OMB approval. 31 U.S.C. §§ 501-507.
           6
                Insofar as neither Article II nor any act of Congress gives the President authority to reorganize federal
           7
                agencies or order them to engage in massive layoffs of federal employees, OMB cannot cloak itself in
           8
                Presidential authority, either.
           9
                        173.    OPM has no statutory authority to approve agency plans to reorganize or conduct RIFs
          10
                in service of such a reorganization. 5 U.S.C. §§ 1101-1105. OPM’s statutory authority with respect
          11
                to RIFs consists of setting government-wide order of retention rules for the release of employees in a
          12
                RIF. 5 U.S.C. § 3502. OPM cannot order federal agencies to downsize or reorganize themselves, or
          13
                assume final decision-making power by requiring agencies to submit such plans for approval. See,
          14
                e.g., Am. Fed’n of Gov’t Emps., AFL-CIO v. Off. of Pers. Mgmt., No. 3:25-cv-01780-WHA (N.D.
          15
                Cal.), ECF No. 45 (Feb. 28, 2025 Order), ECF No. 132 (Mar. 14, 2025 Order), ECF No. 202 (Apr.
          16
                18, 2025 Order). To the extent that Congress has generally authorized OPM to implement the
          17
                President’s rules for the federal workforce (5 U.S.C. § 1103), that authorization is coextensive with
          18
                the President’s authority and cannot exceed it. Insofar as neither Article II nor any act of Congress
          19
                gives the President authority to reorganize federal agencies or order them to engage in massive
          20
                layoffs of federal employees, OPM cannot cloak itself in Presidential authority, either.
          21
                        174.    DOGE has no statutory authority at all. Insofar as neither Article II nor any act of
          22
                Congress gives the President authority to reorganize federal agencies or order them to engage in
          23
                massive layoffs of federal employees, DOGE cannot cloak itself in Presidential authority, either.
          24
                        E.      The Administration’s Lack of Transparency Regarding Reorganization Plans
          25
                        175.    The Trump Administration has never made public the “18-month DOGE agenda”
          26
                referenced in Executive Order 14158.
          27

          28
                COMPLAINT, No.                                                                                         48

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           1              176.     The Trump Administration has never made public any plan being created by DOGE in

           2    conjunction with OPM and OMB pursuant to the President’s January 20, 2025 Memorandum

           3    requiring a “plan to reduce the size of the Federal Government’s workforce.”

           4              177.     When asked by Fox News in March 2025 whether DOGE’s actions would result in a

           5    report (“And the process is a report at some point? At 100 days?”), Elon Musk responded on behalf

           6    of DOGE: “Not really a report. We are cutting the waste and fraud in real time. Every day like that

           7    passes, our goal is to reduce the waste and fraud by $4 billion a day every day, seven days a week.

           8    And so far, we are succeeding.”50

           9              178.     The Trump Administration has refused to make public the phase-one agency ARRPs

          10    that were to be submitted by March 13 to OMB and OPM for approval, including in response to

          11    requests from members of the public via the Freedom of Information Act (“FOIA”), federal employee

          12    unions, the press, and Congress.

          13              179.     In lawsuits filed against the Trump Administration seeking disclosure under FOIA of

          14    the March 13 plans submitted to OMB and OPM, OMB and OPM refused to disclose those plans on

          15    the ground that they were “pre-decisional” and described them as pending OMB review and approval.

          16    See, e.g., Democracy Forward Foundation v. Off. of Mgmt. & Budget, No. 1:25-cv-00858 (D.D.C.),

          17    ECF No. 9 (Defendants’ Apr. 2, 2025 Motion to Dismiss: “‘[A]gency reduction-in-force plans are

          18    still under development by the Executive Branch[,] and OMB is currently actively reviewing these

          19    plans as part of Phase 1’ … OMB explained, the plans Plaintiff requested ‘are part of a longer two-

          20    phase process that has just been initiated.’”).

          21              180.     Executive Order 14210 did not, in ordering agencies to prepare and submit

          22    reorganization plans to OMB and OPM, create any process for notice and public comment, unlike the

          23    reorganization Executive Order issued in President Trump’s first term.

          24              181.     On March 13, 2025, the Washington Post reported: “Agencies across the federal

          25    government faced a Thursday deadline to submit plans for a large-scale firing of employees, but scant

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          28         Supra, n.9.
                COMPLAINT, No.                                                                                     49

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           1    details were made public about what the White House said would be a ‘mass reduction’ of the federal

           2    workforce. The White House did not preview the plans, saying only that it would share their contents

           3    ‘once the plans are enacted.’” Wash. Post, White House expects ‘mass reduction’ of federal

           4    workforce as deadline looms (Mar. 13, 2025).51 White House press secretary Karoline Leavitt said:

           5    “The coming mass reduction will ‘streamline our broken bureaucracy, save taxpayers millions of

           6    dollars and make the government more efficient for all.’” Id.

           7           182.    On March 27, 2025, the Washington Post published a report regarding “an internal

           8    White House document obtained by The Washington Post” that “contains closely held draft plans for

           9    reshaping the 2.3-million-person bureaucracy.” Wash. Post, Internal White House document details

          10    layoff plans across U.S. agencies (Mar. 27, 2025).52 The Post explained: “The details are compiled

          11    from plans that President Donald Trump ordered agencies to submit, according to two people familiar

          12    with the document who spoke on the condition of anonymity because they were not authorized to talk

          13    about it.” Id. The document shows that “[f]ederal officials are preparing for agencies to cut between

          14    8 and 50 percent of their employees as part of a Trump administration push to shrink the federal

          15    government.” When confronted with questions regarding this document, the Post reports that White

          16    House Principal Deputy Press Secretary Harrison Fields responded by e-mail:

          17           “It’s no secret the Trump Administration is dedicated to downsizing the federal
                       bureaucracy and cutting waste, fraud, and abuse. This document is a pre-deliberative
          18           draft and does not accurately reflect final reduction in force plans… When President
                       Trump’s Cabinet Secretaries are ready to announce reduction in force plans, they will
          19
                       make those announcements to their respective workforces at the appropriate time.”
          20    Id.

          21           183.    When individuals at agencies have gone public with information regarding the wide-

          22    scale (and unlawful) scope of these plans, the Trump Administration has claimed they are

          23    “fraudulent.” For example: On April 9, 2025, the Las Vegas ABC-news affiliate KTNV published a

          24    report titled, “As concerns among veterans rise, VA source shares details of workforce reduction

          25

          26    51
                   Available at: https://www.washingtonpost.com/politics/2025/03/13/government-agency-
          27    reorganization-rif-federal-workers/.
                52
                   Available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-layoffs-
          28    government-agencies/.
                COMPLAINT, No.                                                                                     50

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           1    plan.”53 The source described in detail the plans for cutting 80,000 jobs. The VA responded by

           2    calling the document “fraudulent” and an “intentionally false leaked document.” Id.

           3           184.    The Trump Administration has largely refused to make the April 14 ARRPs publicly

           4    available either, until it starts issuing RIF notices (and not even then).

           5           185.    Members of Congress have submitted multiple requests for information to the Trump

           6    Administration regarding these reorganization plans.

           7           186.    For example, on April 7, the Ranking Member of the Senate Budget Committee sent a

           8    demand letter requesting the OMB provide the Senate with documents including the March 13 plans

           9    as well as any further plans, and expressing concern that “[t]hese sweeping workforce reductions will

          10    not only strain agency operations and delay critical services for seniors and veterans, but they will

          11    also harm the government’s efforts to protect public health, conserve natural resources, and manage

          12    federal lands.”54

          13           187.    On April 10, another group of Senators wrote to OPM and OMB, requesting

          14    documents pertaining to the RIF and Reorganization plans; expressing concern regarding the

          15    illegality, harm, and lack of transparency; and noting that the parameter to use government-shutdown

          16    levels as a baseline could threaten the jobs of 700,000 federal employees. Letter from Senators to

          17    Off. of Mgmt. and Budget and Off. of Pers. Mgmt. (Apr. 10, 2025), attached hereto as Exhibit C. The

          18    Senators continued:

          19           Further, the size and scope of the reported RIF plans are clearly not about government
                       efficiency. The Department of Education has announced layoffs of 50% and the
          20           Department of Veterans Affairs has proposed cuts of over 80,000 employees. The
                       Department of Defense is seeking to reduce its civilian workforce by 5-8%, or 61,000
          21
                       employees, and the IRS reportedly plans to cut around 25% of its workforce, or 20,000
          22           employees. On April 1, 2025, the Department of Health and Human Services began
                       the process of firing 10,000 employees, in addition to 10,000 employees who left their
          23           positions through the deferred resignation program and other downsizing efforts. Two
                       days later, Secretary Kennedy suggested that 20% of these terminations could be
          24           mistakes. The Secretary stated, “[p]ersonnel that should not have been cut were cut…
          25
                53
          26       Available at: https://www.ktnv.com/news/as-concerns-among-veterans-rise-va-gives-timeline-of-
                how-their-workforce-reduction-plan-will-affect-them.
                54
          27       Letter from Jeffrey Merkley, Ranking Member of S. Comm. on the Budget, to Russell Vought,
                OMB Director (Apr. 7, 2025), available at:
          28    https://www.budget.senate.gov/imo/media/doc/letter_to_omb_re_rif_plans.pdf.
                COMPLAINT, No.                                                                                      51

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           1              that was always the plan. Part of the DOGE, we talked about this from the beginning,
                          is we’re going to do 80% cuts, but 20% of those are going to have to be reinstated,
           2              because we’ll make mistakes.” The Social Security Administration (SSA) has already
                          lost over 7,000 employees through terminations and resignations since February and
           3
                          closed 6 of 10 regional offices, leading to increased wait times and multiple website
           4              crashes over the past month—yet SSA plans to cut thousands more.

           5    Id.
           6              188.     As a result of the Trump Administration’s secrecy, federal employees throughout the
           7    federal agencies, their labor representatives, state and local governments, organizations including
           8    Plaintiffs, non-profits, and the public have been kept in the dark, intentionally, regarding this
           9    Administration’s plans. As late as March 28, 2025, after the March 13 ARRPs with the required
          10    “large-scale RIFs” had been submitted for approval, Elon Musk and his selected DOGE
          11    representatives, sitting down for a lengthy interview with Fox News, minimized the terminations of
          12    federal employees:
          13              [DOGE lead at OPM] Anthony Armstrong:
          14              And President Trump’s been very clear: it’s scalpel not hatchet. And that’s the way
                          it’s getting done.
          15

          16              And then once those decisions are made, there’s a very heavy focus on being
                          generous, being caring, being compassionate, and treating everyone with dignity and
          17
                          respect. And if you look at how people have started to leave the government, it is
          18              largely through voluntary means. There’s voluntary early retirement, there’s
                          voluntary separation payments. We put in place deferred resignation, the eight-month
          19
                          severance program.
          20
                          So there’s a very heavy bias towards programs that are long-dated, that are generous,
          21
                          that allow people to exit and go and get a new job in the private sector. And you’ve
          22              heard a lot of news about RIFs, about people getting fired. At this moment in time,
                          less than .15, not 1. 5, less than .15 of the federal workforce has actually been given a
          23
                          RIF notice.
          24
                          Elon Musk:
          25
                          Basically almost no one’s gotten fired, is what we’re saying.55
          26
          27
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          28         Supra, n.9.
                COMPLAINT, No.                                                                                        52

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           1              F.     Current and Impending Implementation of the President’s Mandated ARRPs

           2              189.   Despite the Trump Administration’s failure to provide the public, federal employees

           3    and their labor representatives, the press, and Congress with detailed advance information regarding

           4    these plans, information about the ARRPs that Plaintiffs have been able to obtain confirmation that

           5    some agencies have already begun to implement the large-scale RIFs and reorganization plans

           6    ordered by the President, and many other agencies are poised to do so imminently. Plaintiffs set forth

           7    their current information regarding actual and imminent implementation of President Trump’s plans

           8    to transform the federal government.

           9              1.     Ongoing RIFs and Reorganization

          10              190.   At least the following Federal Agency Defendants have begun to implement their

          11    ARRPs by commencing plans to reorganize, including notifying employees of large-scale RIFs:

          12          •   Health and Human Services
          13              191.   On March 27, 2025, HHS announced: “Today, the U.S. Department of Health and

          14    Human Services (HHS) announced a dramatic restructuring in accordance with President Trump's

          15    Executive Order, ‘Implementing the President’s ‘Department of Government Efficiency’ Initiative.’”

          16    Press Release, U.S. Dep’t of Health and Human Servs., HHS Announces Transformation to Make

          17    America Healthy Again (Mar. 27, 2025).56 The restructuring involves “a reduction in workforce of

          18    about 10,000 full-time employees who are part of this most recent transformation.” Id.

          19              192.   HHS explained the restructuring and consolidation of functions that it was engaging in

          20    as being pursuant to the President, DOGE, and OMB’s orders. Id. Secretary Kennedy explained,

          21    “We aren’t just reducing bureaucratic sprawl. We are realigning the organization….” Id.; see also

          22    Fact Sheet: HHS’ Transformation to Make America Healthy Again, U.S. Dep’t of Health and Human

          23    Servs. (Mar. 27, 2025) (“The restructuring of HHS is proceeding in accordance with President

          24    Trump's Executive Order”).57

          25

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          27    56
                     https://www.hhs.gov/press-room/hhs-restructuring-doge.html
                57
          28         https://www.hhs.gov/press-room/hhs-restructuring-doge-fact-sheet.html
                COMPLAINT, No.                                                                                    53

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           1              193.   HHS also revealed that the immediate 10,000-person reduction was just the beginning

           2    of a planned reduction: “The current 82,000 full-time employees will be reduced to 62,000.” Id.

           3    The cuts will affect the following subagencies:

           4              •   FDA will decrease its workforce by approximately 3,500 full-time employees;
           5              •   The CDC will decrease its workforce by approximately 2,400 employees;
           6              •   The NIH will decrease its workforce by approximately 1,200 employees;
           7              •   CMS will decrease its workforce by approximately 300 employees;
           8              •   28 divisions will be consolidated to 15;
           9              •   10 regional offices will become 5; and
          10              •   Human Resources, Information Technology, Procurement, External Affairs, and Policy
                              will be centralized.
          11    Id.
          12              194.   Secretary Kennedy told the New York Times, “We’re going to do more with less,”
          13    even as he acknowledged that it would be “a painful period for H.H.S.”58 Senator Patty Murray
          14    “called Mr. Kennedy’s comments about doing more with less an ‘absurd suggestion’ that ‘defies
          15    common sense.’ Her sentiments were echoed by several agency employees, who spoke on the
          16    condition of anonymity to avoid retribution.” Id.
          17              195.   HHS has never made public the ARRPs submitted to OMB and OPM for approval in
          18    conjunction with the March 13 and April 14 deadlines.
          19          •   Department of Labor
          20              196.   On April 16, 2025, the Department of Labor sent RIF notices to the “vast majority” of
          21    the staff of the Office of Federal Contract Compliance Programs (OFCCP).59 That office is
          22    responsible for ensuring contractors across government agencies comply with a variety of federal
          23    laws. All employees were not just given notice of the RIF but were also immediately placed on
          24

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          26       NY Times, 10,000 Federal Health Workers to Be Laid Off (Mar. 27, 2025), available at:
                https://www.nytimes.com/2025/03/27/us/politics/health-department-job-layoffs-rfk-jr.html.
                59
          27       Bloomberg Law, DOL Puts Contractor Watchdog Employees on Leave as Layoffs Loom (Apr. 16,
                2025), available at: https://news.bloomberglaw.com/daily-labor-report/dol-puts-contractor-watchdog-
          28    employees-on-leave-as-layoffs-loom.
                COMPLAINT, No.                                                                                     54

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           1    administrative leave. Id. The email to employees stated they were being terminated “due to the

           2    agency’s ‘significantly reduced scope of mission.’” Id.

           3             197.   Previously, on April 14, 2025, the Secretary of Labor also warned publicly that more

           4    layoffs at the Department “should be expected” in the coming weeks.60 One protesting employee

           5    explained: “This is no ordinary federal agency. This is literally the firewall between workers and

           6    exploitation. The people in this building are training people for jobs. They’re ensuring that they

           7    come home safe.” Id.

           8             198.   DOL has never made public the ARRPs submitted for OMB and OPM approval in

           9    conjunction with the March 13 and April 14 deadlines.

          10         •   AmeriCorps
          11             199.   On April 9, 2025, AmeriCorps announced to employees that the agency would be

          12    taking steps to “comply” with the Executive Order and ARRP, including by implementing a RIF of

          13    50% or more of AmeriCorps staff.

          14             200.   On April 16, 2025, AmeriCorps began sending boilerplate notices of administrative

          15    leave to AmeriCorps agency staff, both at headquarters in Washington, D.C. and in regional offices

          16    across the country, placing the vast majority of them on leave and locking them out of their computer

          17    systems shortly thereafter.

          18             201.   AmeriCorps is a federal agency that staffs community service work around the

          19    country, including disaster relief. As the New York Times reported:

          20             The independent federal agency that organizes community service work in the United
                         States has placed on administrative leave almost all of its federal staff at the direction
          21             of Elon Musk’s cost-cutting team, according to people familiar with developments at
                         the agency.
          22

          23    NY Times, DOGE Guts Agency That Organizes Community Service Programs (April 17, 2025).

          24             202.   On Thursday, April 24, 2025, the AmeriCorps employees began to receive RIF notices

          25    from the agency.

          26
                60
          27      Bloomberg Law, Lawmakers, Workers Push Chavez-DeRemer to Stop Labor DOGE Cuts (Apr. 14,
                2025), available at: https://news.bloomberglaw.com/daily-labor-report/lawmakers-workers-push-
          28    chavez-deremer-to-stop-labor-doge-cuts.
                COMPLAINT, No.                                                                                        55

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           1             203.   AmeriCorps has not made public the ARRP submitted for OMB and OPM approval in

           2    conjunction with the March 13 and April 14 deadlines.

           3         •   Small Business Administration
           4             204.   On April 18, 2025, employees at the SBA throughout the COVID-19 Economic Injury

           5    Disaster Loan Serving Center were laid off, effective in dates through May 2025.61 “They are firing

           6    us just to fire us,” one SBA employee was quoted as saying. “We literally made money for the

           7    government by taking loan payment and recovering money in bankruptcy.” Id.

           8             205.   Between March and April, employees throughout other offices at the SBA also

           9    received RIF notices, including the Office of Entrepreneurial Development and Office of

          10    Entrepreneurial Education, the procurement office, and positions in field, district, and branch offices.

          11    For example, the entire Office of Entrepreneurial Education received RIF notices; that office is

          12    responsible for administering a $17 million grant that helps small businesses throughout the country.

          13             206.   Previously, on March 21, 2025, the SBA issued a news release stating that, as required

          14    by President Trump’s Workforce Executive Order, “the agency will reduce its workforce by 43% –

          15    ending the expansive social policy agenda of the prior Administration, eliminating non-essential

          16    roles, and returning to pre-pandemic staffing levels.” 62 The agency referred to this elimination of

          17    over 2,700 jobs as a “strategic reorganization.” Id.

          18             207.   The SBA Administrator explained that SBA has “submitted” such a reorganization

          19    plan to OMB for approval. Id. The news release concluded: “SBA’s reorganization plan will

          20    provide for the preservation of public services through a strategic transfer of duties. It will be

          21    actioned in the coming weeks.” Id.

          22

          23

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                61
                   Gov’t Exec., SBA hit with more layoffs (Apr. 18, 2025), available at:
                https://www.govexec.com/workforce/2025/04/sba-hit-more-layoffs/404682/.
                62
          27       U.S. Small Bus. Admin., Small Business Administration Announces Agency-Wide Reorganization
                (Mar. 21, 2025), available at: https://www.sba.gov/article/2025/03/21/small-business-administration-
          28    announces-agency-wide-reorganization (emphasis added).
                COMPLAINT, No.                                                                                       56

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           1             208.   Notwithstanding the RIF notices going out by email on April 18, the SBA has not

           2    made public the ARRPs submitted for OMB and OPM approval in conjunction with the March 13

           3    and April 14 deadlines.

           4         •   Environmental Protection Agency
           5             209.   On April 22, 2025, the EPA began sending RIF notices to some employees across its

           6    headquarters and regional offices.63

           7             210.   Previously, both President Trump and EPA Administrator Lee Zeldin expressed that up

           8    to 65% of the EPA workforce will eventually be cut.

           9             211.   The New York Times reported on March 17, 2025 that the Trump Administration

          10    intends to “dismantle” EPA’s Office of Research and Development:

          11             The Environmental Protection Agency plans to eliminate its scientific research arm,
                         firing as many as 1,155 chemists, biologists, toxicologists and other scientists,
          12             according to documents reviewed by Democrats on the House Committee on Science,
                         Space and Technology. The strategy is part of large-scale layoffs, known as a
          13
                         “reduction in force,” being planned by the Trump administration, which is intent on
          14             shrinking the federal work force.

          15    NY Times, Trump Administration Aims to Eliminate E.P.A.ʼs Scientific Research Arm (Mar. 17,
          16    2025).64
          17             212.   In response to these public statements, 51 former EPA officials from both Democratic
          18    and Republican Administrations sent an “Open Letter” to Congress on March 18, 2025, that
          19    explained:
          20             We are former Senate-confirmed officials and Regional Administrators who served in
                         the U.S. Environmental Protection Agency during Republican and Democratic
          21             administrations. We adhere to EPA’s long-held core principles that the agency
                         should be apolitical, professional, transparent, and dedicated to following the law and
          22
                         science.
          23
                         We are greatly alarmed by President Trump’s recent comments that his administration
          24             is seeking to cut EPA by 65 percent. We share the concerns expressed by former EPA
                         administrators who recently wrote that “such cuts would render the agency incapable
          25

          26    63
                   Reuters, EPA begins layoffs of environmental justice staff (Apr. 22, 2025), available at:
          27    https://www.reuters.com/business/world-at-work/epa-begins-layoffs-environmental-justice-staff-
                2025-04-22/.
                64
          28       Available at: https://www.nytimes.com/2025/03/17/climate/trump-eliminates-epa-science.html.
                COMPLAINT, No.                                                                                     57

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           1             of protecting Americans from grave threats in our air, water and land.”

           2             We are writing to urge Congress to ensure that EPA has sufficient staff and funding to
                         effectively implement the Clean Air Act, Clean Water Act, and other bedrock
           3
                         environmental laws for the good of all Americans.
           4
                         Deep cuts to EPA threaten more than 50 years of bipartisan progress under Republican
           5             and Democratic Congresses and presidents. Actions that diminish EPA’s capabilities
                         will place at risk the quality of the air our children breathe, the water we all drink, and
           6             the waterways we swim, fish and play in. They would jeopardize EPA’s responses to
                         toxic chemical spills and other disasters as well as basic compliance with America’s
           7
                         environmental laws.
           8
                         Policy changes are to be expected from one administration to the next, but not the
           9             dismantling of EPA. …
          10             If the administration does not agree with the laws Congress has passed and the
          11             programs it has funded, it should work with Congress to seek changes, not unilaterally
                         and recklessly freeze, delay, or eliminate funding.65
          12
                         213.   Notwithstanding the RIF notices that began going out on or about April 22, the EPA
          13
                has not made public the ARRPs submitted for OMB and OPM approval in conjunction with the
          14
                March 13 and April 14 deadlines.
          15
                     •   Housing and Urban Development
          16
                         214.   HUD has commenced the RIF of positions in the Office of Field Policy and
          17
                Management (“FPM”) throughout the country, including management analysts, program analysts,
          18
                customer service representatives, and labor standards specialists. The FPM serves as the first point of
          19
                contact for HUD and housing-related questions and concerns within a community
          20
                         215.   Notwithstanding the RIF notices that have been sent at HUD, it has not made public
          21
                the ARRPs submitted for OMB and OPM approval in conjunction with the March 13 and April 14
          22
                deadlines.
          23

          24

          25

          26
          27    65
                  Available at: https://www.environmentalprotectionnetwork.org/wp-
          28    content/uploads/2025/03/Senate-Confirmed-Officials-and-RA-Letter-to-Congress-Final.pdf.
                COMPLAINT, No.                                                                                         58

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           1             2.     Imminent RIFs in Service of Government-wide Reorganization

           2             216.   At least the following federal agencies will begin to implement their ARRPs by

           3    commencing plans to reorganize, including notifying employees of large-scale RIFs, imminently:

           4         •   USDA
           5             217.   As of filing, the USDA has not yet made public the ARRPs submitted for OMB and

           6    OPM approval in conjunction with the March 13 and April 14 deadlines.

           7             218.   However, on April 7, 2025, Government Executive reported from USDA sources:

           8             Some employees have been told to expect the department to cut back to fiscal 2019
                         staffing levels—which would lead to USDA slashing around 9,000 of its 98,000
           9             employees—while others have been told there is an overall federal workforce
                         reduction number the administration has developed and the department will do its part
          10
                         proportionally to meet that target.
          11
                Gov’t Exec., USDA to slash headquarters, other staff and relocate some to new ‘hubs’ around the
          12
                country (Apr. 7, 2025).66
          13
                         219.   In an email to USDA employees offering them another round of the Fork in the Road
          14
                Deferred Retirement program, Secretary Rollins stated that RIFs were imminent. Id.
          15
                         220.   On April 15, 2025, Government Executive reported further:
          16
                         The Trump administration is planning to severely scale back or outright eliminate
          17             funding for many programs across the Agriculture Department, according to White
                         House documents obtained by Government Executive, as it slashes workers and closes
          18             offices at the local level…. The proposed cuts come as USDA is planning to gut its
                         Washington headquarters, consolidate mission areas and administrative functions and
          19
                         relocate some staff to new “hubs” around the country.67
          20
                     •   Department of Commerce
          21
                         221.   In March, the press began reporting that the Department of Commerce would seek to
          22
                cut 20 percent of the NOAA staff. Later in March, staff at NOAA were told they could take
          23
                “voluntary” retirement offers rather than be laid off in the coming RIFs.
          24

          25
                66
          26       Available at: https://www.govexec.com/workforce/2025/04/usda-slash-headquarters-other-staff-
                and-relocate-some-new-hubs-around-country/404371/.
          27
                67
                   Gov’t Exec., White House pitches layoffs, local office closures and program eliminations at USDA
                (Apr. 15, 2025), available at: https://www.govexec.com/management/2025/04/white-house-pitches-
          28    layoffs-local-office-closures-and-program-eliminations-usda/404580/.
                COMPLAINT, No.                                                                                   59

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           1             222.   The Commerce Department has not made public the ARRPs submitted for OMB and

           2    OPM approval in conjunction with the March 13 and April 14 deadlines.

           3         •   Department of Defense
           4             223.   In March, Military Times reported on Defense Secretary Hegseth’s goal of cutting 5-8

           5    percent of the total Department civilian workforce, which amounts to 50,000 to 70,000 jobs.68

           6             224.   The Defense Department has not made public the ARRPs submitted for OMB and

           7    OPM approval in conjunction with the March 13 and April 14 deadlines.

           8         •   Department of Energy
           9             225.   The Department of Energy’s March 13 ARRP submitted to OMB and OPM for

          10    approval was, according to press reports, leaked to the press. 69

          11             226.   According to press reports, that ARRP identified 43 percent of its workforce as “non-

          12    essential” according to the provided parameters. The report admitted: “While the core group of

          13    essential personnel required to remain during a lapse are extremely minimal, such limited capabilities

          14    are neither intended nor capable of sustaining ongoing government operations.” Id.; see also

          15    Associated Press, The Energy Department identifies thousands of nonessential positions at risk of

          16    DOGE cuts (Apr. 4, 2025) (“The Energy Department has identified thousands of federal workers it

          17    deems “nonessential” and would not be protected if there is another round of large-scale firings,

          18    according to a document obtained by The Associated Press.”).70

          19             227.   Then, in early April 2025, U.S. Senate Democrats released a fact sheet detailing

          20    information in the possession of Senators that:

          21             DOGE is reportedly proposing staffing cuts of up to 50% of the workforce at the
                         Department of Energy (DOE), with new reductions in force (RIFs) hitting key
          22

          23
                68
                   MilitaryTimes, Almost 21,000 DOD employees approved to resign amid workforce cuts (Mar. 18,
          24    2025), available at: https://www.militarytimes.com/news/pentagon-congress/2025/03/18/almost-
                21000-dod-employees-approved-to-resign-amid-workforce-cuts/.
          25    69
                   Fed. News Network, Energy Department extends hiring freeze, deems 43% workforce non-
          26    ‘essential’ in reorganization plan (Apr. 4, 2025), available at:
                https://federalnewsnetwork.com/workforce/2025/04/energy-department-extends-hiring-freeze-deems-
          27    43-workforce-non-essential-in-reorganization-plan/.
                70
                   Available at: https://apnews.com/article/energy-federal-employees-layoffs-rif-doge-
          28    db7b6446928095c26bfe79c608e1e8e7.
                COMPLAINT, No.                                                                                      60

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           1              priorities such as clean energy, grid resilience, and state and community programs the
                          hardest while even targeting national security programs.
           2
                The document summarizes:
           3
                          The staffing cuts the Department is reportedly contemplating break down as follows:
           4
                                 1. 54% cut (1,800+ positions) to science and innovation programs
           5                     2. 61% cut (990+ positions) to energy infrastructure and deployment programs
                                 3. 71% cut (3,000+ positions) to the Deputy Secretary’s Office, environmental
           6                     management programs, and other policy programs
                                 4. 18% cut (540+ positions) to the Nuclear National Security Administration (NNSA)
           7                     5. 10% cut (520+ positions) to the Power Marketing Administrations (PMAs)
           8
                          228.   The Energy Department has not made public the ARRPs submitted for OMB and
           9
                OPM approval in conjunction with the March 13 and April 14 deadlines.
          10
                      •   Department of the Interior
          11
                          229.   The press began reporting the week of April 7, 2025 that a “major reorganization” of
          12
                the Department of Interior “looms.”71 “DOGE is leading the reorganization plan,” an Interior
          13
                employee anonymously told the press. Id. When asked,
          14
                          Interior spokesperson Elizabeth Peace said that “under President Trump’s leadership,
          15              we are implementing necessary reforms to ensure fiscal responsibility, operational
                          efficiency, and government accountability.”
          16              Peace added, “We do not comment on personnel matters.”
                Id.
          17
                          230.   On April 17, 2025, the Secretary of the Interior issued a Secretary’s Order:
          18
                Consolidation, Unification and Optimization of Administrative Functions. The Secretary explained:
          19
                          The Department is committed to supporting President Trump’s Executive Order (EO)
          20              No. 14210, titled “Implementing the President’s ‘Department of Government
          21              Efficiency’ Workforce Optimization Initiative,” issued on February 11, 2025. As part
                          of that commitment, the Department will be unifying and consolidating many of its
          22              functions within the Office of the Secretary.

          23    Dept. of the Interior, Order No. 3429. The Secretary then delegated the authority to “lead and
          24    coordinate the consolidation, unification and optimization efforts within the Department and its
          25

          26
                71
          27       E&E News, Major reorganization looms for Interior (Apr. 10, 2025), available at:
                https://subscriber.politicopro.com/article/eenews/2025/04/10/major-reorganization-looms-for-
          28    interior-00283745.
                COMPLAINT, No.                                                                                     61

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           1    Bureaus and Offices” to an individual who is the DOGE Team lead at the Department (Tyler

           2    Hassen). Id.72

           3           231.      Then, on April 23, 2025, news broke that “Interior solicits employees’ resumes in

           4    preparation for widespread layoffs.”73 The U.S. Geological Service emailed employees regarding

           5    coming RIFs, collecting resumes to determine which employees were essential. The NPS was

           6    reportedly not far behind. Alyse Sharpe, an Interior spokesperson, told Government Executive that

           7    the department was “adhering to guidelines as laid out by the Office of Personnel Management but

           8    had no further details on RIF plans at this time[,]” according to that publication.74

           9           232.      Interior has yet to explain the number of employees impacted by this reorganization,

          10    or to provide any further details regarding the ARRPs submitted to OMB for approval, including with

          11    respect to any of its important subagencies (including the National Park Service, the Bureau of Land

          12    Management, and the Bureau of Reclamation). An earlier memo stated that the Department will

          13    implement RIFs “to maximize workforce efficiency,” exempting only positions “critical to public

          14    safety” or “directly linked to the highest priority programs.”

          15           233.      On April 9, 2025, Interior Secretary Doug Blumin denied having a “specific

          16    headcount” for coming RIFs.75 A document provided to the Washington Post previously showed 1 in

          17    4 positions at Interior being considered for cuts.76

          18           234.      The Interior Department has not made public the ARRPs submitted for OMB and

          19    OPM approval in conjunction with the March 13 and April 14 deadlines.

          20

          21

          22    72
                   See also The Hill, Interior Department gives broad powers to DOGE-tied official (Apr. 21, 2025).
          23    73
                   Gov’t Exec., Interior solicits employees' resumes in preparation for widespread layoffs (Apr. 23,
                2025), available at: https://www.govexec.com/workforce/2025/04/interior-solicits-employees-
          24    resumes-preparation-widespread-layoffs/404786/.
                74
                   Id.
          25    75
                   E&E News, How many Interior jobs will be cut? Doug Burgum’s not sure, yet (Apr. 9, 2025),
          26    available at: https://www.eenews.net/articles/how-many-interior-jobs-will-be-cut-doug-burgums-not-
                sure-yet/.
                76
          27       Wash. Post, Internal White House document details layoff plans across U.S. agencies (Mar. 27,
                2025), available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-layoffs-
          28    government-agencies/.
                COMPLAINT, No.                                                                                       62

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           1         •   National Labor Relations Board
           2             235.   On information and belief, the National Labor Relations Board submitted its ARRP for

           3    approval to OMB, telling OMB it had determined it would not engage in any RIF, because the

           4    employees’ work was too essential to the agency’s mission. On information and belief, OMB

           5    rejected the NLRB ARRP and required the agency to submit a different one.

           6             236.   On information and belief, forced to do so, the NLRB now plans to RIF employees.

           7             237.   The NLRB has not made public the ARRPs submitted for OMB and OPM approval in

           8    conjunction with the March 13 and April 14 deadlines.

           9         •   National Science Foundation
          10             238.   In early April 2025, the press began reporting that the NSF leadership is being forced

          11    by the Trump Administration to lay off approximately half of the agency’s employees. NSF also

          12    abolished all of its outside advisory committees “in response to President Donald Trump’s campaign

          13    to shrink the federal government.” Scienceinsider, NSF scraps most outside advisory panels (Apr.

          14    15, 2025).77

          15             239.   NSF has not made public the ARRPs submitted for OMB and OPM approval in

          16    conjunction with the March 13 and April 14 deadlines.

          17         •   Social Security Administration
          18             240.   On April 7, 2025, Government Executive reported that it had obtained a copy of the
          19    SSA’s ARRP.78 That plan “includes ‘field office consolidation’ as a goal for next year—even as the
          20    agency maintains publicly that it isn’t closing field offices.” Id. This was after Elon Musk posted a
          21    list of federal real estate for sale that included 47 Social Security Administration field offices.79
          22

          23

          24
                77
                   Available at: https://www.science.org/content/article/nsf-scraps-most-outside-advisory-panels.
          25    78
                   Gov’t Exec., SSA reorg plan contemplates field office closures, contradicting public statements
          26    (Apr. 7, 2025), available at: https://www.govexec.com/management/2025/04/ssa-reorg-plan-
                contemplates-field-office-closures-contradicting-public-statements/404369/.
                79
          27       Associated Press, A list of the Social Security offices across the US expected to close this year
                (Mar. 19, 2025), available at: https://apnews.com/article/social-security-offices-closures-doge-trump-
          28    b2b1a5b2ba4fb968abc3379bf90715ff.
                COMPLAINT, No.                                                                                          63

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           1             241.   That same leaked document confirmed a planned cut of approximately 5,000 to 7,000

           2    employees. Id.

           3             242.   Back in February, the SSA confirmed that it would implement President Trump’s

           4    executive order by implementing reductions in force that “could include abolishment of organizations

           5    and positions” and would “soon implement agency-wide organizational restructuring.” Press

           6    Release, Social Security Administration, Social Security Announces Workforce and Organization

           7    Plans (Feb. 28, 2025).80

           8             243.   The SSA has not made public the ARRPs submitted for OMB and OPM approval in

           9    conjunction with the March 13 and April 14 deadlines.

          10         •   State Department
          11             244.   In recent days, the State Department has put forward conflicting accounts of a massive

          12    reorganization plan. Initially, on April 20, 2025, the New York Times reported on a draft

          13    reorganization plan that would require congressional approval and would take the form of another

          14    Executive Order.81 The State Department disclaimed responsibility and claimed that draft was “fake

          15    news.” Id.

          16             245.   On April 22, 2025, the Department officially announced a reorganization plan as

          17    follows:

          18             To deliver on President Trump’s America First foreign policy, we must make the State
                         Department Great Again.
          19             …
                         In its current form, the Department is bloated, bureaucratic, and unable to perform its
          20             essential diplomatic mission in this new era of great power competition. Over the past
                         15 years, the Department’s footprint has had unprecedented growth and costs have
          21             soared. …

          22             That is why today I am announcing a comprehensive reorganization plan that will
                         bring the Department into the 21 Century. This approach will empower the
          23             Department from the ground up, from the bureaus to the embassies. Region-specific
                         functions will be consolidated to increase functionality, redundant offices will be
          24             removed, and non-statutory programs that are misaligned with America’s core national

          25

          26    80
                   Available at: https://blog.ssa.gov/social-security-announces-workforce-and-organization-plans/.
                81
          27       New York Times, Trump Administration Draft Order Calls for Drastic Overhaul of State
                Department (April 20, 2025), available at https://www.nytimes.com/2025/04/20/us/politics/trump-
          28    state-department-overhaul.html.
                COMPLAINT, No.                                                                                     64

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           1           interests will cease to exist.82

           2    The announcement explained that “The Department will implement the changes methodically over

           3    the next several months.” Id.

           4           246.    The Department explained in a “Fact Sheet” that: “As part of the plan, the Under

           5    Secretaries will also submit a path to reducing staff in domestic offices by 15 percent, consistent with

           6    the President’s Workforce Optimization Initiative.” 83

           7           247.    The Department also issued an “FAQ” that explained the RIFs are coming within the

           8    next 60 days. That FAQ included such questions as “Q: My office is being eliminated. What

           9    happens to me and my colleagues?” and “Q: My bureau is being moved to another office. What

          10    happens to me and my colleagues?”

          11           248.    The Department also explained the efforts to integrate the U.S. Agency for

          12    International Development (dismantled by prior Executive Order) into the State Department:

          13           While implemented separately, these two distinct reorganization efforts are highly
                       complementary, and the Secretary and Department leadership continue to carefully consider
          14           the integration of former USAID programs and functions in developing and implementing the
                       Department’s reorganization plan.
          15
                Secretary of State Rubio explained further: “To transfer the remaining functions of USAID to such a
          16
                monstrosity of bureaus would be to undo DOGE’s work to build a more efficient and accountable
          17
                government.”84
          18
                       249.    The State Department has not made public the ARRPs submitted for OMB and OPM
          19
                approval in conjunction with the March 13 and April 14 deadlines.
          20

          21

          22

          23

          24

          25
                82
                   U.S. State Dept., Building an America First State Department, available at:
          26    https://www.state.gov/building-an-america-first-state-department/.
                83
          27       Available at: https://www.nbcnews.com/politics/trump-administration/marco-rubio-unveils-
                massive-overhaul-state-department-reduction-staff-rcna202458.
                84
          28       Available at: https://statedept.substack.com/p/a-new-state-department-to-meet-the.
                COMPLAINT, No.                                                                                      65

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           1         •   Department of the Treasury
           2             250.    On April 15, 2025, an internal IRS memo was leaked to the press detailing planned

           3    cuts of up to 40% of its workforce, including approximately 60,000 to 70,000 positions, through bi-

           4    weekly RIF notices starting “this week.”85

           5             251.    Previously, on April 9, 2025, leaked ARRP plans indicated that Treasury plans to cut

           6    up to 50% of its tax enforcement staff, and 20% across the board for other components.86

           7             252.    The Treasury Department has not made public the ARRPs submitted for OMB and

           8    OPM approval in conjunction with the March 13 and April 14 deadlines.

           9         •   Veterans Affairs
          10             253.    On March 4, 2025, the Chief of Staff of the Department of Veterans Affairs issued a

          11    Memorandum – Department of Veterans Affairs Agency Reduction in Force (RIF) and Reorganization

          12    Plan (ARRP), Dep’t of Veterans Affairs (Mar. 4, 2025). That memo implements the President’s

          13    Executive Order, and explains: “For planning purposes, the Department’s initial objective is to return

          14    to our 2019 end-strength numbers of 399,957 employees,” which reflects an approximate cut of

          15    80,000 jobs.87

          16             254.    In early March, VA Secretary Doug Collins appeared on Fox & Friends and was asked

          17    about the plans to cut 80,000 jobs:

          18             “So, the 80,000 number that has come out, is that number already done? Have you
                         already decided who to let go?” Fox’s Brian Kilmeade questioned.
          19              “No, that is a goal that was put out … [as] President Trump and [the Office of
                         Personnel Management] have said let’s look at a reduction in force across
          20

          21

          22
                85
                   Fed. News Network, IRS outlines plan to cut up to 40% of workforce, as tax filing season ends
          23    (Apr. 15, 2025), available at: https://federalnewsnetwork.com/workforce/2025/04/irs-outlines-plan-
                to-cut-up-to-40-of-workforce-as-tax-filing-season-ends; see also CNBC, Tax attorneys say IRS has
          24    become a ‘zombie’ as agency cuts staff and halts audits of the wealthy (Apr. 17, 2025), available at:
                https://www.cnbc.com/2025/04/17/irs-staff-cuts-fewer-audits-of-wealthy.html.
          25    86
                   Fed. News Network, Treasury plans to cut up to 50% of IRS enforcement staff, 20% of other
          26    components (Apr. 9, 2025), available at:
                https://federalnewsnetwork.com/reorganization/2025/04/treasury-plans-to-cut-up-to-50-of-irs-
          27    enforcement-staff-20-of-other-components/.
                87
                   Available at: https://www.afge.org/globalassets/documents/generalreports/2025/va-memo-3-4-
          28    25.pdf.
                COMPLAINT, No.                                                                                     66

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           1           government,” Collins replied. “And that is a goal, that is our target.”88

           2           255.    In April 2025, as the deadline for the April 14 ARRP approached, a VA employee
           3    leaked the contents of the plans to the press. The plan is to RIF the 80,000 employees in four
           4    categories, in phases including:
           5           1.      Administrative and Support Roles:
                               • Policy and program analysts
           6
                               • HR personnel
           7                   • IT support staff in non-critical functions
                               • Clerical and data entry positions
           8           2.      Medical and Healthcare Support Staff
                               • Non-patient-facing administrative healthcare roles
           9
                               • Some contract positions in VA medical centers
          10                   • Certain research positions with reduced funding
                       3.      Regional and Central Office Staff:
          11                   • Veterans Affairs Central Office (VACO) will see cuts in operational,
                                   administrative, and policy roles
          12
                               • Reductions in public affairs, strategic planning, and some procurement functions
          13           4.      Field Office and Call Center Reductions:
                               • VA call centers are expected to be streamlined with automation, reducing the need
          14                       for live agents
                               • Some regional field office roles will be merged or reassigned89
          15

          16    The VA responded to this report claiming the document was “fraudulent.” Id.

          17           256.    The VA has not made public the ARRPs submitted for OMB and OPM approval in

          18    conjunction with the March 13 and April 14 deadlines.

          19                                                      ***

          20           257.    The agency plans described above are being created and implemented pursuant to the

          21    Workforce Executive Order. Taken alone, as well as in conjunction with other government-wide

          22    actions ordered by this Administration, each would have constituted a “reorganization” within the

          23

          24

          25

          26
                88
                   The Hill, VA Secretary: Cutting 80,000 is “our target,” (Mar. 10, 2025), available at:
                https://www.yahoo.com/news/va-secretary-cutting-80-000-170115439.html.
                89
          27       KTNV Las Vegas, As concerns among veterans rise, VA source shares details of workforce
                reduction plan (Apr. 11, 2025), available at: https://www.ktnv.com/news/as-concerns-among-
          28    veterans-rise-va-gives-timeline-of-how-their-workforce-reduction-plan-will-affect-them.
                COMPLAINT, No.                                                                                   67

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           1    meaning of the most recent, but now expired, statute authorizing the President to propose

           2    reorganizations. 5 U.S.C. § 903.

           3              258.   There are no public reports, anywhere, of any federal agency planning to engage in

           4    “large-scale” RIFs of employees prior to President Trump’s February 11, 2025 Executive Order.

           5              259.   On information and belief, no agency had decided such reductions would be consistent

           6    with agency mission, statutory obligations, or good policy prior to President Trump’s order to plan

           7    such reductions.

           8              260.   On information and belief, as confirmed by the public statements of VA Secretary

           9    Collins, the “target” cuts in staff are being dictated to agencies by DOGE, in service of the

          10    President’s policy agenda of “transforming” the federal government.

          11              261.   On information and belief, no agency has or would independently decide to cut the

          12    entire offices, programs and functions that DOGE, acting the President’s behalf, is ordering agencies

          13    to cut.

          14    V.        Widespread Actual and Imminent Irreparable Harm

          15              262.   The above ongoing and imminent actions taken by the President, OMB and OPM,

          16    DOGE, and the Federal Agency Defendants to implement Executive Order 14210 and the

          17    OMB/OPM Memorandum and the resulting ARRPs, have and will cause harm, including irreparable

          18    harm, to Plaintiffs, their members, and others, including but not limited to the following:

          19              263.   Plaintiffs were denied the opportunity for advance notice and to publicly comment on

          20    the rules imposed by OMB and OPM in the February 26, 2025 Memorandum and thereby prevented

          21    from exercising a right guaranteed by the Administrative Procedure Act.

          22              264.   Plaintiffs AFGE, the AFGE locals, AFSCME, and SEIU each represent, and have as

          23    members, federal employees who have been or will be laid off as a result of the ARRPs created

          24    pursuant to the President’s Executive Order No. 14210. Those federal employees will lose their

          25    income, their health benefits, and other incidents of employment, causing severe irreparable harm to

          26    them, their families, and their communities.
          27

          28
                COMPLAINT, No.                                                                                      68

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           1           265.    Plaintiffs AFGE, AFGE locals, AFSCME, and SEIU each represent, and have as

           2    members, federal employees who, if they keep their job, will be subject to a reorganization resulting

           3    from the large-scale RIFs that makes doing their job more difficult as result of the ARRPs created

           4    pursuant to the President’s Executive Order 14210. Each federal employee who remains will be

           5    required to do more to meet the agency’s statutory mission and obligations, without the support of

           6    colleagues who, until the implementation of the President’s orders, the agency believed were needed

           7    to perform the work of the agency.

           8           266.    Each union Plaintiff has the core function of representing employees, including those

           9    in federal bargaining units, in collective bargaining and providing counseling, advice, and

          10    representation to employees in the event of adverse employment actions. Each union Plaintiff has

          11    and will be imminently prevented, by the mass terminations ordered by the President and directed by

          12    DOGE, OMB, and OPM as part of the purported reorganization of the federal government, from

          13    exercising those core functions as employee representatives.

          14           267.    Each union Plaintiff has expended substantial time and resources as a result of the

          15    President’s Executive Order and OMB/OPM’s implementing Memorandum, and the federal agencies’

          16    implementing ARRPs, addressing member concerns and attempting to provide employees with

          17    effective representation. Each Plaintiff has been forced to divert resources that would be devoted to

          18    representing employees who have or will experience adverse employment actions.

          19           268.    Each union Plaintiff has been harmed in multiple other ways by the actual and

          20    imminent termination of its members, including by the loss of dues income and bargaining power.

          21    For example, Plaintiffs AFSCME, SEIU, and SEIU Local 1000 have each been harmed because the

          22    well-being, job security, and working conditions of their members who work for state, local

          23    government, and private employers are significantly and adversely impacted by the reduction in

          24    federal government services occasioned by the President’s Executive Order, the OMB/OPM

          25    implementing Memorandum and the resulting ARRPs.

          26           269.    Each non-profit organization Plaintiff and its members have suffered or will
          27    imminently suffer actual and ongoing harm as a result of the implementation of Executive Order

          28
                COMPLAINT, No.                                                                                       69

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           1    14210, the OMB/OPM Memorandum and the resulting ARRPs, as the direct result of delays and

           2    reduction in services provided by the federal agencies on which they rely.

           3           270.    The Plaintiff non-profit organizations are being adversely impacted by these large-

           4    scale, agency-wide reorganizations and RIFs across the country and the harms caused by the

           5    reductions in staff are and will not be limited to a defined and particular geographic area.

           6           271.    Each local government Plaintiff has suffered or will imminently suffer actual and

           7    ongoing harm as a result of the implementation of Executive Order 14210, the OMB/OPM

           8    Memorandum and the resulting ARRPs, as the direct result of delays and reduction in services

           9    provided by the federal agencies on which they rely.

          10           272.    The Plaintiff local governments are being adversely impacted by these large-scale,

          11    agency-wide reorganizations and RIFs that have and will result in reductions in staff and services

          12    both within and without their borders, and often involve staff performing work in locations across the

          13    country not within the geographic borders of the local government.

          14           273.    Plaintiffs describe some of those harms to the Plaintiffs, by Federal Agency

          15    Defendant, as follows. Plaintiffs would also face severe and irreparable injury to the extent that other

          16    Federal Agency Defendants that have not publicly announced their plans, or taken action that has

          17    been made public, move forward with reorganization and reductions-in-force, including at the

          18    Department of Defense, Department of Homeland Security, and Department of Transportation.

          19       •   USDA
          20           274.    Implementing the Executive Order and USDA ARRP to imminently terminate many

          21    thousands of USDA staff, to return staffing to 2019 levels, will irreparably and immediately harm the

          22    federal employees who are terminated, those who remain, and their labor representatives including

          23    Plaintiff AFSCME and Plaintiff AFGE. It will also irreparably and immediately harm the non-federal

          24    employee members of Plaintiffs AFSCME and SEIU who work in food service in K-12 schools that

          25    rely on USDA’s school food programs for funding and for dietary guidelines or provide family

          26    childcare services that rely on USDA’s childcare food program reimbursements.
          27

          28
                COMPLAINT, No.                                                                                       70

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           1           275.    These actions will also have a direct and severely detrimental impact on Plaintiff

           2    NOFA, its members, and the farmers and other communities the USDA serves. For example,

           3    NOFA’s members rely financially on the services provided by the Farm Services Agency (FSA) and

           4    the Natural Resources Conservation Service (NRCS), including FSA loans to purchase and improve

           5    farms, farm equipment, and anything necessary to run the farms, and rely on their local FSA and

           6    NRCS officers to understand their specific farm’s physical characteristics and business plans and to

           7    conduct in-person business because many lack reliable internet access or proficiency.

           8           276.    These actions will also have a severely detrimental impact on the American

           9    Geophysical Union as well as its members, who rely on the USDA’s funding, collaboration with its

          10    scientists, and use of its research, which is vital to, among other things, supporting the health of

          11    forests and rangelands in the face of climate change and other ecological stressors. Western

          12    Watersheds Project will also face injury from the impairment of the Department’s ability to control

          13    livestock grazing on Forest Service lands, causing damage to riparian habitats and spawning streams

          14    that are critical to the survival of certain species, including on WWP-owned land.

          15           277.    In addition, the implementation of the Executive Order and USDA ARRP will cause a

          16    direct, immediate and seriously detrimental injury to local governments that interact directly with this

          17    agency and rely on its services every day, specifically including but not limited to Plaintiffs King

          18    County, Harris County, County of Santa Clara, and the City and County of San Francisco.

          19           278.    For example, Plaintiffs King County and Harris County own and/or operate some of

          20    the busiest airports and ports of entry in the nation. The Department of Agriculture provides

          21    personnel at these major transportation centers to manage prey animals that attract predatory birds

          22    that create hazards to air traffic through risk of bird strikes to aircraft. The Department also helps

          23    Plaintiff Harris County protect the food supply at food manufacturing facilities processing meat and

          24    dairy products. Absent these critical food safety staff provided by the agency, Plaintiff Harris County

          25    lacks the staff capacity, expertise, training, and authority to replace these critical food safety roles and

          26    would struggle to prevent outbreaks of food borne illnesses and pathogens such as avian flu that
          27    necessitate the destruction of food supply.

          28
                COMPLAINT, No.                                                                                           71

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           1           279.    Similarly, Plaintiff Santa Clara relies on the USDA Wildlife Services program to

           2    depredate predators and other animals, including, for example, mountain lions, bears, and pigs, and

           3    then tests them to determine if they have any infectious diseases or pose any other risks. In a recent

           4    example, USDA Wildlife Services staff depredated several feral swine in Santa Clara, and upon

           5    testing them learned—and alerted Santa Clara staff—that those specific swine carried diseases

           6    threatening residents, pets, agricultural producers, and the human food supply. Reductions to the

           7    USDA Wildlife Services program within and outside Santa Clara, will cause an information gap that

           8    will heighten the risks to Santa Clara, its agriculture industry, and its residents, and that Santa Clara

           9    (and no other local government) could make up for.

          10           280.    Local jurisdictions also rely on USDA to prepare for, respond to, and recover from

          11    natural disasters and other emergencies. For instance, in the aftermath of a major wildfire in Summer

          12    2020, Santa Clara’s Office of Emergency Management coordinated with USDA to facilitate USDA

          13    employees coming to the affected area. The USDA set up and staffed a field station to help ranchers

          14    who lost grazing lands apply for low-interest loans, obtain machinery and tools, and even repair

          15    damaged equipment. Reudcing and relocating staff will necessarily adversely impact Santa Clara’s

          16    ability to support its residents, including those who live in remote areas that are more difficult to

          17    serve, in the aftermath of wildfires and other natural disasters, particularly those that affect the

          18    substantial amount of agricultural production in the area. The results could include a weakened

          19    economy, potential loss or relocation of agricultural businesses, diminished community resilience

          20    after disasters, and additional costs to Santa Clara itself (in the form of staff time and funds) to

          21    support recovery.

          22           281.    Diminishment of the U.S. Forest Service staffing would force local and state

          23    firefighting agencies to carry more of the burden of responding to wildfires and go without the

          24    assistance on which they often rely. The U.S. Forest Service performs essential work to manage

          25    federal wildland, to mitigate the risks of wildfire, and to fight wildfires when they occur. It is a

          26    critical component of the system of mutual aid used by firefighters across the United States. Santa
          27

          28
                COMPLAINT, No.                                                                                          72

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           1    Clara has experienced several very large wildfires in recent years, including several that were, at the

           2    time, the largest in California history.

           3            282.    Reduction of the USDA’s already understaffed Food Safety Inspection Service, which

           4    is responsible for ensuring that the nation’s meat supply is free from disease and contamination, will

           5    directly impact local governments by increase the risks of suffer foodborne illness and disease, which

           6    will burden local governments’ health and hospital systems and public health departments, including

           7    those operated by Plaintiff Santa Clara. Reductions to the USDA’s Animal and Plant Health

           8    Inspection Service will hamper local governments’ efforts to monitor and respond to agricultural

           9    pests (such as the Mediterranean fruit fly, which was detected in the Bay Area in August 2024, Santa

          10    Clara worked with USDA officials to establish a quarantine area to prevent its spread). Similarly,

          11    Santa Clara’s Division of Agriculture also relies on USDA’s Smuggling Interdiction and Trade

          12    Compliance Program and reductions there would hamper local government’s ability to detect and

          13    respond to invasive pests arriving from overseas (such as the invasive pests that Santa Clara staff

          14    biologists found living in camellias illicitly imported from China, and then coordinated immediately

          15    with USDA staff to establish a federal quarantine). Agriculture Departments across California

          16    coordinate with USDA in the same way.

          17        •   AmeriCorps
          18            283.    The implementation of the Executive Order and ARRP to virtually eliminate

          19    AmeriCorps programs has harmed and will irreparably and immediately harm the employees and

          20    members who are terminated, those who remain, and their labor representatives including Plaintiff

          21    AFSCME.

          22            284.    These actions will also have a detrimental impact on organizations that rely on

          23    AmeriCorps programs. For example, Plaintiff the American Public Health Association has a program

          24    working with the CDC on the education and training of Public Health AmeriCorps members, and its

          25    decimation will cause harm to the ability of APHA to build capacity to improve community health.

          26            285.    In addition, the implementation of the Executive Order and AmeriCorps ARRP will
          27    cause a direct and seriously detrimental injury to local governments that interact directly with this

          28
                COMPLAINT, No.                                                                                      73

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           1    agency and rely on its services every day, specifically including but not limited to AmeriCorps’ work

           2    in schools; AmeriCorps’ Disaster Response Team, which is often involved in disaster recovery work

           3    for months and years after disasters such as the recent California wildfires; and King County’s work

           4    with AmeriCorps to expand capacity to deliver public health services, which will face increased costs

           5    and reduced program reach if King County’s partnerships with AmeriCorps are lost or diminished.

           6       •   Department of Commerce
           7           286.    The implementation of the Executive Order and ARRP to imminently reduce of staff in

           8    the Department of Commerce, including its announced plan to eliminate thousands of positions at

           9    NOAA and closure of the Minority Business Development Agency, will have direct and severely

          10    detrimental impacts on federal employees who are terminated, employees who remain, and their labor

          11    representatives including Plaintiff AFGE.

          12           287.    Terminations of staff at NOAA, which media reports indicate could eliminate 20

          13    percent or more of the agency’s 13,000 employees, will prevent NOAA from effectively carrying out

          14    its critical work, ranging from research supporting the health of the ocean and aquatic species

          15    conducted by the National Marine Fisheries Service to the foundational research conducted and data

          16    collected by the Office of Oceanic and Atmospheric Research to understand hurricanes, weather

          17    forecasts, extreme storms, and natural disasters.

          18           288.    These actions will have a severely detrimental impact on Plaintiff AGU and its

          19    members, who collaborate with NOAA scientists and rely on funding from NOAA as well as on

          20    NOAA’s funding, science, and research to provide AGU members with the foundational research and

          21    data to understand hurricanes, weather forecasts, extreme storms, climate change, the oceans, and

          22    natural disasters, among many other services. For example, AGU members will be harmed by the

          23    loss of NOAA’s provision of essential data services that they use to model coastal hazards and

          24    research that tailors climate adaptation guidance to community organizations. These actions will also

          25    cause injury to the Plaintiff Western Watersheds Project, which relies on NOAA’s climate data, data

          26    collected by NOAA’s National Weather Service, and conservation services by NOAA’s National
          27

          28
                COMPLAINT, No.                                                                                      74

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           1    Marine Fisheries Service, and Plaintiff NRDC, which relies on research from NOAA and the Census

           2    Bureau.

           3            289.   In addition, the implementation of the Executive Order and Commerce ARRP will

           4    cause a direct and seriously detrimental injury to local governments that interact directly with this

           5    agency and rely on its services every day, specifically including but not limited to all Plaintiff local

           6    governments.

           7            290.   All local government Plaintiffs rely on data, staff, services, and expertise provided by

           8    NOAA, including data they need to inform emergency preparations, planning, and response. For

           9    example, Plaintiffs Chicago, King County, Santa Clara, and San Francisco specifically rely on

          10    forecasts, modeling, and real-time information for major public event safety planning and weather-

          11    related operations at a granular level of detail with real-time updates, and Plaintiffs Harris County,

          12    King County, Santa Clara County, and others use this same information for major weather events.

          13    Plaintiff Chicago also relies on NWS personnel during large-scale outdoor City events, who are often

          14    present on site to assist in real-time assessment and response to weather data as it comes in. And

          15    King County relies on interagency County and National Weather Service teams to coordinate and

          16    conduct outreach to communities and provide education before major weather events like the

          17    November 2024 “bomb cyclone” windstorm that resulted in several fatalities. Plaintiff local

          18    governments would lose valuable information and services that are essential to human safety and

          19    resilience.

          20            291.   King County also relies on NOAA Fisheries to assist in the development and

          21    implementation of Puget Sound Salmon Recovery Plans that are critical to the recovery, management,

          22    and protection of several species of salmon within King County—an essential component of the

          23    region’s economic, recreational, and cultural life. Also, NOAA Fisheries’ consultation and review of

          24    capital projects for Endangered Species Act and Essential Fish Habitat compliance is a critical step in

          25    permitting projects. Delays would escalate construction costs, and elimination of review would

          26    undermine progress toward salmon recovery and other marine life management and protection goals.
          27        •   Department of Energy
          28
                COMPLAINT, No.                                                                                        75

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           1           292.    The implementation of the Executive Order and ARRP to impose imminent reductions

           2    of up to 50% of the staff at the Department of Energy will irreparably and immediately harm the

           3    federal employees who are terminated, those who remain, and their labor representatives including

           4    Plaintiff AFGE.

           5           293.    These reductions, which are proposed to cut half of the science and innovation

           6    programs, will also have a direct and substantially detrimental impact on the members of Plaintiff

           7    American Geophysical Union who rely on research by and funding from the Department and

           8    regularly collaborate with its scientists, and will directly impair the AGU’s financial resources and

           9    mission. They will also harm Plaintiff NRDC, which relies on publications and databases updated

          10    and maintained by the Federal Energy Regulatory Commission, National Renewable Energy

          11    Laboratory, and Energy Information Administration. By eliminating weatherization programs, they

          12    will harm Plaintiff AFSCME, which has non-federal-employee members who perform weatherization

          13    work funded, overseen, and assisted by the Department, which will be interrupted and injured. And

          14    they will cause substantial harm to members of the public, who depend on the Department to keep

          15    them safe including by maintaining the nation’s nuclear stockpile and operating environmental

          16    management programs that, among other things, clean up radioactive waste and prevent the material

          17    from contaminating the soil and groundwater.

          18           294.    In addition, the implementation of the Executive Order and Energy ARRP will cause a

          19    direct and seriously detrimental injury to local governments that interact directly with this agency and

          20    rely on its services every day.

          21           295.    Crises stemming from understaffing of the programs of the Department of Energy will

          22    enormously burden city and county governments, which will be left to handle environmental

          23    disasters, specifically including but not limited to Plaintiffs City and County of San Francisco and the

          24    City of Baltimore.

          25           296.    For example, the Executive Order and AARP have already caused, and will continue

          26    to cause, disruptions and harms to vital funding sources and supports. For example, Plaintiff San
          27    Francisco has received federal financial support from the Department of Energy to develop green

          28
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           1    building standards, deploy EV charging infrastructure, and continue to transition city vehicles to Zero

           2    Emission Vehicles. Three 2024 Department of Energy grants awarded to San Francisco for these

           3    purposes are in stasis awaiting information from San Francisco’s last known federal program officers

           4    on these grants—several of whom are no longer employed at the Department of Energy. Similarly,

           5    King County expects these actions to delay implementation of critical work funded by grants from

           6    the Department of Energy. As one example, Plaintiff King County is currently implementing a block

           7    grant under the DOE’s Energy Efficiency and Conservation Block Grant Program. This grant will

           8    allow King County to continue its efforts to reduce fossil fuel emissions and energy use, and improve

           9    energy efficiency in various sectors. On April 24, 2025, Plaintiff King County was advised that the

          10    technical project officer for that particular grant was leaving the agency, and that it may reach out to

          11    various email addresses unattached to specific people for issues and questions, and that a new

          12    technical project officer has not yet been assigned to the grant. King County expects that the

          13    reductions at the Department of Energy have reduced or eliminated its ability to work on this grant.

          14    Likewise, Plaintiff City of Baltimore also relies on the Department’s data, models, training, and

          15    support and funding for climate goals that affect it as a coastal city.

          16       •   Environmental Protection Agency
          17           297.    The implementation of the Executive Order and ARRP to impose imminent substantial

          18    cuts at EPA—including the initial terminations of nearly 300 employees at environmental justice

          19    offices, planned elimination of the Office of Research and Development and layoffs of more than

          20    1,000 employees working there, and targets to cut up to 65 percent of the budget, including

          21    employees—will directly and significantly harm the federal employees who are terminated, those

          22    who remain, and their labor representatives including Plaintiffs AFGE and SEIU.

          23           298.    The actions will also have a direct and severely detrimental impact on Plaintiff

          24    American Geophysical Union and its members, who collaborate with and rely on the EPA’s research

          25    and funding, as well as the public. They will stop the EPA’s research, tracking, and responses to

          26    health hazards in the air, water, and land. And they will harm non-profits that rely on data, analysis,
          27    and funding from the EPA for their work, including Plaintiffs American Geophysical Union and the

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           1    NRDC. In particular, the cuts to the EPA include large-scale staffing reductions at the EPA Office of

           2    Research and Development, which produces critical research on PFAS and lead contamination on

           3    which NRDC relies, as well as at the EPA Office of Environmental Justice and External Civil Rights,

           4    which ran EJScreen, an environmental justice screening and mapping tool on which NRDC relies.

           5            299.    In addition, the implementation of the Executive Order and ARRP will cause a direct

           6    and seriously detrimental injury to local governments, specifically including but not limited to

           7    Plaintiffs the City of Baltimore, City of Chicago, County of Santa Clara, City and County of San

           8    Francisco, and King County.

           9            300.    For example, Plaintiffs including King County and Chicago rely on the EPA in dealing

          10    with hazardous materials including Superfund sites, where EPA staffing and support is necessary to

          11    protect public health through remediation and technical assistance. Similarly, local government

          12    plaintiffs including Santa Clara rely on the EPA for tracking, tracing, and managing hazardous

          13    materials while in transit to, from, or through their jurisdictions, for which they rely on the e-Manifest

          14    system and protocols developed and managed by EPA. Plaintiffs Santa Clara and Chicago also rely

          15    on the EPA in the aftermath of disasters, including clearing hazardous waste and determining whether

          16    and when it is safe for residents to return to disaster-affected areas. If the EPA’s ARRP diminishes

          17    EPA’s capacity to deploy staff on-site after fires and other natural disasters, that will make it more

          18    difficult and more protracted for Plaintiff Santa Clara to fulfill its role of protecting its residents and

          19    the environment from hazardous material leaks and exposures and to facilitate recovery from natural

          20    disasters.

          21            301.    Localities like Plaintiff King County rely on EPA staff expertise, collaboration, and

          22    data sharing to support effective climate and environmental assessments and program

          23    implementation. Diminished access to EPA staff could hinder accurate greenhouse gas inventories

          24    and mitigation planning and limit Plaintiff King County’s ability to target mitigation efforts in areas

          25    with high pollution burdens and vulnerable populations.

          26            302.    Localities, including Plaintiffs King County and San Francisco, also rely on EPA staff
          27    for funding and resources to support local environmental justice work. Without EPA staff to manage

          28
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           1    and process grants, support mapping tools and other resources, and provide technical assistance,

           2    localities like Plaintiffs will be seriously harmed. Plaintiff San Francisco’s Environment Department

           3    will also be impaired in fulfilling its mission to promote environmental justice, and these cuts will

           4    detrimentally impact communities in San Francisco that are already harder hit by environmental

           5    issues.

           6              303.   In addition, the implementation of the Executive Order and ARRP will cause serious

           7    injury to local governments with respect to their agricultural work. EPA’s ongoing work is a linchpin

           8    for the agricultural industry across the country, including, for example, in Santa Clara. Plaintiff Santa

           9    Clara’s Division of Agriculture regulates and monitors the use of pesticides in this industry, including

          10    by issuing use permits and receiving and reviewing reports from producers of when the pesticides are

          11    used. But EPA, not local governments, primarily manages and implements the Federal Insecticide,

          12    Fungicide, and Rodenticide Act, which governs the registration, labeling, distribution, sale, and use of

          13    pesticides in the United States, by determining whether a given manufacturer’s product can be

          14    registered as a pesticide, which in turn requires EPA to determine its safety for use in the food supply.

          15    The EPA’s involvement is essential not only for registering new pesticides, but also when Plaintiff

          16    Santa Clara detects new invasive species or pests that require urgent response but for which there is

          17    not yet a registered pesticide. In those instances, the EPA must issue approvals for “off-label” use of

          18    registered pesticides. Execution of EPA’s ARRP could diminish if not altogether destroy EPA’s

          19    ability to register new pesticides and its ability to act promptly to permit famers to protect their crops

          20    from new and emerging threats. The risk is especially acute for Plaintiff Santa Clara: because the

          21    Bay Area is a site of significant international travel, there is an especially heightened chance that

          22    harmful pests will be detected first in or near Santa Clara.

          23              304.   EPA’s reorganization could also diminish or altogether block EPA’s capacity to deploy

          24    the on-scene coordinators who assist local governments including Plaintiff Santa Clara during

          25    emergency response to releases of hazardous materials and other harmful chemicals. Plaintiff Santa

          26    Clara relies heavily and directly on EPA staff to provide interpretation, guidance, and training for
          27    EPA’s Spill Prevention, Control, and Countermeasure regulations. Likewise, Plaintiff Santa Clara’s

          28
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           1    Department of Environmental Health also relies on modeling software that EPA develops, maintains,

           2    and updates in order to assess potential offsite consequences of catastrophic releases of hazardous

           3    substances. If EPA does not maintain or continue to update this software, it would substantially

           4    diminish the ability of Plaintiff Santa Clara—and, on information and belief, other local and state

           5    agencies—to respond to these releases in ways that effectively protect residents.

           6        •    General Services Administration
           7             305.   The implementation of the Executive Order and ARRP to impose imminent drastic

           8    cuts to GSA staff—including a 63 percent reduction in Public Buildings Service staff, which will

           9    eliminate more than 3,500 positions—will have direct and severely detrimental impacts on the federal

          10    employees who are terminated, employees who remain, their labor representatives including Plaintiff

          11    AFGE, and the public.

          12             306.   Federal employees who work at and members of the public who visit federal office

          13    buildings, courthouses, and other federal facilities rely on Public Buildings Service staff to ensure

          14    their health and safety in the facilities by overseeing the testing of water in the buildings for the

          15    presence of bacteria, lead, and copper; maintaining fire prevention systems; managing indoor air

          16    quality, including during wildfires; and containing the spread of infectious diseases in the buildings.

          17    The severe reduction in Public Buildings Service staff will threaten the health and safety of AFGE

          18    members, as well as other federal employees and visitors, at federal buildings and facilities

          19    throughout the country. Cuts to other parts of GSA will similarly undermine the agency’s ability to

          20    provide real estate, facilities management, procurement, technology, and other services to the federal

          21    government and the public.

          22             307.   SEIU has hundreds of members who are employed by federal contractors to provide

          23    cleaning services at GSA locations, who are at risk of losing their jobs due to the reduction in GSA

          24    staff.

          25        •    Department of Health and Human Services
          26             308.   The implementation of the Executive Order and ARRP has already included RIFs
          27    carried out at HHS in late March 2025 that eliminated roughly 10,000 positions across the agency,

          28
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           1    including 3,500 at the Food and Drug Administration (FDA), 2,400 at the Centers for Disease Control

           2    and Prevention (one-fifth of all CDC employees), 1,200 at the National Institutes of Health (NIH),

           3    and 300 at the Centers for Medicare & Medicaid Services (CMS). Many offices and programs were

           4    eliminated entirely or lost the vast majority of their employees, including the National Center for

           5    Injury Prevention and Control, National Institute for Occupational Safety and Health, Office of

           6    Health Equity, National Center on Birth Defects and Developmental Disabilities, certain programs

           7    within the National Center for Environmental Health, and various CDC laboratories. Five large HHS

           8    offices were shuttered: in New York City, Boston, Chicago, Seattle, and San Francisco.

           9           309.    These layoffs have caused immediate and severe harm to the federal employees who

          10    were terminated, as well as those who remain, and to their labor representatives including Plaintiffs

          11    AFGE. They are also directly harming Plaintiffs AFSCME and SEIU, and their non-federal

          12    employee members, some of whom are employed by Head Start programs that rely on HHS-

          13    administered funding, training, technical support, and investigation and enforcement of rules; some of

          14    whom are family childcare providers who depend upon HHS’s Office of Child Care for the timely

          15    receipt of grant funds, regulatory compliance guidance, and oversight; and many of whom work in

          16    state administration of Medicaid and in public health positions who have been and will continue to be

          17    injured by cuts to CMS and the CDC. SEIU also has members who are employed by federal

          18    contractors to provide cleaning services at HHS locations, who are at risk of losing their jobs due to

          19    the reduction in HHS staff.

          20           310.    The actions will also have a direct and severely detrimental impact on Plaintiff

          21    American Public Health Association and its members. Many APHA members are public health

          22    officials who work in state and local health departments who have lost access to critical services. For

          23    example, the CDC terminated employees who had been working on the ground responding to the

          24    worsening measles outbreak in Texas that has already claimed the lives of two children and lead

          25    experts who had been ready to provide essential on-the-ground support to Milwaukee public schools

          26    that were closed due to the discovery of widespread presence of lead. State and local public health
          27    officials and offices that relied on data, expertise, and support from HHS will have to expend

          28
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           1    significant resources in response to these sweeping terminations and reorganization and run the risk

           2    of new or worsening public health crises. The actions will also harm Plaintiff American Geophysical

           3    Union and its members, who regularly collaborate with CDC and NIH researchers, as well as Plaintiff

           4    NRDC, all of whom rely on CDC and NIH research including on lead contamination.

           5           311.    The virtual elimination of the National Institute for Occupational Safety and Health

           6    (NIOSH), which has seen 93% of the staff given RIF notices, will harm non-federal employee

           7    members of Plaintiffs SEIU and AFSCME because it will halt NIOSH’s research, investigations, and

           8    guidance to address occupational injuries and illnesses across all types of workplaces, including coal

           9    mines, fire departments, oil and gas wells, healthcare facilities, and small businesses (including

          10    Plaintiff Main Street Alliance members) and thereby increase health and safety risks to workers

          11    across the country. Firefighter safety programs, which address exposure to toxins and chemicals and

          12    cancer risk, and coal miner health surveillance programs, have been shuttered or virtually eliminated.

          13           312.    In addition, the implementation of the Executive Order and HHS ARRP will cause a

          14    direct and seriously detrimental injury to local governments that interact directly with this agency and

          15    rely on its services every day, specifically including but not limited to all local government Plaintiffs.

          16           313.    For example, Plaintiff San Francisco operates an extensive public health system that

          17    relies on CDC services in numerous ways. The CDC supports San Francisco’s public health efforts,

          18    including through trainings, guidance, public health pipeline programs, transportation services for

          19    rare but particularly infectious patients who cannot be treated at San Francisco’s public hospital,

          20    reference lab services, and surveillance support that is crucial for identifying and tracking the spread

          21    of infections and diseases, including resistant strains. Absent adequate CDC support, Plaintiff San

          22    Francisco will have to divert and expend resources.

          23           314.    The RIFs and reorganization at HHS are limiting or eliminating national data

          24    collection projects, and limiting access to staff with related subject-matter expertise, which will

          25    negatively affect the ability of local governments to respond to public health emergencies. For

          26    example, Plaintiff Chicago’s Department of Public Health relies upon CDC data and guidance to
          27    effectively surveil the spread of sexually transmitted diseases, control the spread of infectious

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           1    diseases like measles and Mpox, and efficiently allocate resources to address chronic diseases like

           2    diabetes and opioid addiction.

           3           315.    Local governments, including Plaintiff Santa Clara, also rely heavily on the CDC’s

           4    Laboratory Response Network, as well as several CDC laboratories that are the only ones authorized

           5    or capable of testing for certain infectious diseases, including some sexually transmitted diseases.

           6    Delays or disruptions in CDC’s ability to test specimens or report results to Plaintiff Santa Clara’s

           7    Public Health Department will produce information gaps and delays that result in unnecessary spread

           8    of infectious diseases as well as inadequate directions or recommendations to affected patients.

           9    Indeed, Plaintiff Santa Clara’s Public Health Department has protocols that often require its staff to

          10    contact and share specimens with the CDC very quickly and to monitor results that the CDC shares

          11    not only for its own specimens, but for tests of specimens from other parts of the country. When the

          12    CDC operates the only laboratory that can conduct the testing, HHS’s reorganization could mean the

          13    difference between life and death, between effective and ineffective treatment, between spread or

          14    containment of infectious disease, and whether residents suffer.

          15           316.    Reductions to the CDC’s extensive work developing information about emerging

          16    infectious-disease threats in other parts of the world, will directly impact Santa Clara and other local

          17    governments where there is frequent travel between Santa Clara and those areas. When the CDC

          18    develops and shares information about outbreaks of Ebola, novel influenza, mpox, and other

          19    diseases—recently Marburg haemorrhagic fever and COVID-19--, localities including Plaintiff Santa

          20    Clara can be better prepared to handle potential cases that may emerge locally. The CDC played a

          21    critical role in assisting Santa Clara in its response to these threats, including by sending experts with

          22    specific expertise in medicine, epidemiology, infection control, community mitigation, and

          23    communications to Santa Clara to coordinate with Santa Clara’s Emergency Operations Center, and

          24    to develop a community mitigation plan.

          25           317.    When there is a terrorist attack, disease outbreak, earthquake, or other emergency, and

          26    local government health systems (including both public health departments and hospitals) require use
          27    of medicines, including those that are not quickly or commercially available or in quantities that

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           1    would exhaust local supplies, those departments can access medicine from the Strategic National

           2    Stockpile, which is administered and staffed by HHS’s Administration for Strategic Preparedness and

           3    Response (ASPR). The time-sensitive availability of the Strategic National Stockpile is critical. If

           4    HHS’s ARRP closes or reduces the capacity of ASPR to operate the Strategic National Stockpile,

           5    CDC to operate the Drug Service, or FDA to operate the expanded access program, it would reduce if

           6    not altogether block the ability of Plaintiff Santa Clara’s Public Health Department and Health

           7    System—and other local and state hospitals, clinics, and public health departments—to access these

           8    vital, life-preserving resources in times of emergency.

           9           318.    Additionally, NIOSH provides local governments with essential investigative support

          10    in fire safety, particularly in the aftermath of industrial incidents. Plaintiff Harris County contains

          11    extensive petrochemical infrastructure, and has relied on NIOSH to identify causation in fires where

          12    initial assessments were inconclusive. Loss of NIOSH personnel and institutional knowledge will

          13    compromise this function, leaving Plaintiff Harris County ill-equipped to respond to industrial

          14    hazards and fire risks.

          15       •   Department of Housing and Urban Development
          16           319.    The implementation of the Executive Order and ARRP to impose an imminent RIF of

          17    up to 50 percent reduction in HUD staff, which will eliminate certain offices and more than 4,000

          18    positions, will directly and significantly harm the federal employees who are terminated, those who

          19    remain, their labor representatives including Plaintiff AFGE, and members of the public who depend

          20    on HUD’s services. It will prevent individuals and communities across the country from being able

          21    to access funding and support for disaster relief, community development, rental assistance,

          22    homeownership, homelessness, and housing discrimination complaints, and exacerbate the housing

          23    crisis and housing-related issues throughout the country.

          24           320.    These actions will also cause irreparable injury to Plaintiff AFSCME and SEIU, and

          25    their non-federal employee members, who work at housing authorities across the country—including

          26    in California—that depend on the regular and timely distribution of HUD funding and who will be
          27    harmed by the closure of local HUD offices. SEIU also represents hundreds of members employed

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           1    by service contractors who provide cleaning, security, and other services at housing authorities in

           2    numerous states, and risk losing their jobs due to the significant reduction in HUD staff and closure

           3    of offices. SEIU Local 1000 members work at a California state agency that administers affordable

           4    housing programs funded exclusively by HUD, and the cuts to HUD staff and dozens of office

           5    closures will imperil the agency’s critical functions and services, impede oversight and enforcement,

           6    diminish critical technical assistance and support, and threaten affordable housing programs and

           7    projects, harming SEIU Local 1000’s members and the members of the public whom they serve.

           8             321.   These actions will cause a direct and seriously detrimental injury to local governments

           9    that interact directly with this agency and rely on its services every day, specifically including but not

          10    limited to Plaintiffs City of Baltimore, County of Santa Clara and King County.

          11             322.   For example, delays in receiving technical assistance and guidance from HUD staff on

          12    topics critical to the governance of the Community Development Block Grant, HOME programs, and

          13    Section 108 Loan Programs will impact localities like Plaintiff Baltimore. These programs rely on

          14    HUD staff to, inter alia, review and provide approvals necessary for processing the flow of funds

          15    under these programs; reduced staff will hamper the ability of localities like Plaintiff Baltimore to use

          16    these funds and to refinance loans through the 108 Loan program, causing financial and economic

          17    harms.

          18             323.   In addition, HUD’s reorganization will cause delays in processing invoices and

          19    payment to local governments and nonprofits in connection with nationwide housing assistance and

          20    grant programs. HUD’s inability to timely process invoices and payments to grantees, provide

          21    technical assistance, or manage future grant cycles will not only hamper the ability of local

          22    governments to assist beneficiaries through housing support offices such as Plaintiff Santa Clara’s

          23    Office of Supportive Housing, but will also cause more residents to experience homelessness due to

          24    lack of availability of shelters and services.

          25       •     Department of Interior
          26             324.   The implementation of the Executive Order and ARRP to impose imminent mass
          27    layoffs at the Department of the Interior will have an immediate and detrimental impact on the federal

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           1    employees who are terminated, those who remain, and their labor representatives including Plaintiffs

           2    AFGE and SEIU.

           3           325.    These actions will also inflict irreparable injury upon Plaintiff American Geophysical

           4    Union and its members, who regularly collaborate with and depend on the agency—in particular, on

           5    the U.S. Geological Survey (USGS), Bureau of Land Management, and Fish and Wildlife—for

           6    funding and research. The targeting of USGS will compromise vital public services, including

           7    providing reliable science to resource managers, emergency response, other scientists who rely on it,

           8    and the public. For example, the planned reductions of 20 percent will eliminate regional centers that

           9    partner with local natural resource managers and communities to help them deal with mounting

          10    challenges of climate change, from wildfires to sea level rise.

          11           326.    The reductions in staffing will also harm Plaintiff NRDC, which relies on publications

          12    and databases updated and maintained by the Fish and Wildlife Service, U.S. Geological Survey, and

          13    the Bureau of Land Management; and Plaintiff Coalition to Protect America’s National Parks and its

          14    members, because inadequate staffing will endanger animal and plant species and compromise park

          15    functioning and operations, harming the recreational activities of members in national parks. It will

          16    harm Plaintiff Western Watersheds Project, by impeding timely access to public records necessary to

          17    accomplish its conservation mission, adversely affecting the Bureau of Land Management’s

          18    prevention of ecologically destructive grazing on federal public lands, hindering WWP’s ability to

          19    research and obtain information related to conservation efforts, impacting the U.S. Fish and Wildlife

          20    Service’s ability to categorize and protect endangered species such as the Wyoming toad and Arctic

          21    grayling, and causing other adverse effects that will decimate the National Wildlife Refuge, harm

          22    WWP’s ability to protect native wildlife, and impede the enjoyment of land by WWP’s members.

          23           327.    In addition, the implementation of the Executive Order and the Interior ARRP will

          24    cause a direct and seriously detrimental injury to local governments, specifically including but not

          25    limited to Plaintiffs Santa Clara and King County. It will harm Plaintiff Santa Clara’s emergency-

          26    planning efforts and capabilities, which rely on information about earthquake hazards developed by
          27    USGS to plan for and respond to earthquakes. Indeed, Plaintiff Santa Clara is a member of the

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           1    Association of Bay Area Governments, which partners closely with USGS to provide resources and

           2    guidance related to earthquakes. Similarly, implementation of the Executive Order and the Interior

           3    ARRP would significantly slow Plaintiff King County’s ability to complete infrastructure,

           4    transportation, and environmental projects, increase costs, and reduce the effectiveness of efforts to

           5    protect endangered species and historic resources. It would result in Plaintiff King County

           6    experiencing, among other things, increased uncertainty and project delays due to extended

           7    consultation and permit review and issuance in ESA and EFH reviews conducted by U.S. Fish and

           8    Wildlife Service along with NOAA Fisheries, which oversee species like Chinook Salmon and Bull

           9    Trout. It would also cause delays in compliance with federal laws requiring consultation with the

          10    Bureau of Indian Affairs and other DOI agencies on the impacts of federally funded or permitted

          11    projects on historic properties, potentially stalling project approvals.

          12       •   Department of Labor
          13           328.    The implementation of the Executive Order and ARRP to impose imminent large-scale

          14    layoffs at the Department of Labor will have a direct and severely detrimental impact on the federal

          15    employees who are terminated, those who remain, and their labor representatives including Plaintiff

          16    AFGE. For example, the Department has eliminated the enforcement division of the Office of

          17    Federal Contract Compliance Programs (OFCCP) and plans to cut OFCCP by 90 percent.

          18           329.    These actions will also have a direct and severely detrimental impact on Plaintiffs

          19    AFSCME and SEIU, whose non-federal employee members depends on many programs and

          20    subagencies of the Department including the Occupational Health and Safety Administration, Wage

          21    and Hour Division, Bureau of Labor Statistics, and Employee Benefits Security Administration.

          22    SEIU also represents members employed by service contractors who provide cleaning services at

          23    DOL offices, and risk losing their jobs due to the significant reduction in staff.

          24           330.    In addition, the implementation of the Executive Order and the Labor ARRP will

          25    cause a direct and seriously detrimental injury to local governments.

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           1       •   National Labor Relations Board
           2           331.    The implementation of the Executive Order and ARRP to impose a large-scale

           3    reduction-in-force at the NLRB will have a direct and severely detrimental impact on the federal

           4    employees who are terminated, those that remain, and their labor representatives.

           5           332.    In addition, these actions will also have a direct and severely detrimental impact on

           6    Plaintiffs AFSCME and SEIU, both of whom represent private-sector members who depend on the

           7    NLRB and who regularly file unfair practice charges and representation petitions at the NLRB. Due

           8    to flat-line budgeting, case processing time has increased over the past decade from 100 days to 444

           9    days. Decreasing staff will further extend the time it takes for the NLRB to prosecute violations of

          10    federal labor law, leaving workers and unions unprotected. Plaintiffs AFSCME and SEIU who

          11    regularly file unfair practice charges at the NLRB presently have significant pending petitions for

          12    representation and unfair labor practice charges that are not being timely processed due to current low

          13    staffing levels. The delay will mean that NLRA violations will effectively go unremedied and

          14    workers will be thwarted in having unions certified as their collective bargaining representatives

          15    because the NLRB will not be able to conduct timely elections.

          16       National Science Foundation

          17           333.    The implementation of the Executive Order and ARRP to impose imminent layoffs of

          18    up to half of NSF staff will have a direct and severely detrimental impact on the federal employees

          19    who are terminated, those who remain, and their labor representatives including Plaintiff AFGE.

          20           334.    They will also cause severe harm to science in the United States. NSF has already

          21    abolished eleven of its thirteen advisory panels. It is a major funder of critical scientific research, and

          22    the elimination of staff will cause serious disruptions in funding that created chaos and instability

          23    among researchers. For these reasons, the reduction in NSF staff will have a direct and substantially

          24    detrimental impact on the members of Plaintiff the American Geophysical Union, who rely on

          25    research by and funding from, and often collaborate with, the NSF. It will also harm Plaintiff

          26    Western Watersheds Project, which regularly uses NSF-funded research for protection and restoration
          27    of wildlife and native ecosystems,

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           1       •   Small Business Administration
           2           335.    The implementation of the Executive Order and ARRP to impose an imminent 43

           3    percent reduction in SBA staff, which will eliminate thousands of positions, will cause a direct and

           4    severely detrimental impact on the federal employees who are terminated, those who remain, and

           5    their labor representatives including Plaintiff AFGE.

           6           336.    This reduction will also cause harm to Plaintiffs AFGE, AFSCME, and SEIU members

           7    who carry student loan debt, many of whom have benefited from the Public Service Loan

           8    Forgiveness program and income-driven repayment options that attach to the federal student loans of

           9    those employed in the public sector. Because the Administration intends to transfer the processing of

          10    student loans from the (now eliminated) Department of Education to the SBA, understaffing in the

          11    SBA will cause delays in processing loan forgiveness or requests to adjust income-based repayment,

          12    causing significant financial harm to AFSCME, SEIU, and AFGE members.

          13           337.    The reductions will also have a severely detrimental impact on the small businesses

          14    across the United States, including the members of Plaintiff Main Street Alliance, who rely on SBA

          15    services, which include loans, loan guarantees, grants, disaster relief, assistance connecting with

          16    government contracting opportunities, a mentoring program, and a national network of Small

          17    Business Development Centers that provide counseling and training to help entrepreneurs start their

          18    own businesses.

          19           338.    In particular, Main Street Alliance members and other small businesses that have

          20    suffered substantial injuries in national disasters rely on the SBA’s Emergency Injury Disaster Loan

          21    (“EIDL”) program. But without adequate staff, EIDL loan processing will be delayed and loan

          22    recipients facing repayment difficulty will be unable to reach EIDL to renegotiate payments, causing

          23    them to end up in default and be sent to collection. Reductions in staffing will also slow the

          24    processing of loan guarantees, which will have detrimental effects not only on small business loan

          25    recipients but also on contractors and suppliers, and their employees. Many of these effects have

          26    already begun to occur. The SBA office that funds an important mentoring program has been
          27    effectively eliminated. At least one Small Business Development Center has already closed, with

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           1    more to come. As the RIFs continue to unfold, they will have extremely detrimental effects on small

           2    businesses throughout the nation including many members of Main Street Alliance.

           3           339.    In addition, the implementation of the Executive Order and SBA ARRP will cause a

           4    direct and seriously detrimental injury to local governments that interact directly with this agency and

           5    rely on its services every day, specifically including but not limited to Plaintiffs the City and County

           6    of San Francisco and King County. The elimination of positions at the SBA threatens the Plaintiff

           7    local governments’ ability to support communities that are recovering after major disasters, by

           8    slowing critical financial assistance. They will cause delays in, among other things, damage

           9    assessments, establishment of Disaster Loan Outreach Centers, and servicing of disaster loans, which

          10    are currently fully managed by SBA employees. In addition, residents and businesses that depend on

          11    timely access to disaster loans will face financial harm. Without sufficient SBA staff to travel to

          12    disaster locations to perform assessments and provide loan application technical assistance, residents

          13    in disaster areas will face difficulty obtaining low-interest federal disaster loans, therefore hindering

          14    their ability to rebuild and recover from disasters

          15       •   Social Security Administration
          16           340.    The implementation of the Executive Order and ARRP to imminently eliminate the

          17    jobs of 7,000 of the 57,000 SSA employees—at a time when the SSA was already at a 50-year

          18    staffing low just as the peak of the Baby Boomer generation become eligible for SSA retirement

          19    benefits—will have a direct and severely detrimental impact on the federal employees who are

          20    terminated, those who remain, and their labor representatives including Plaintiff AFGE.

          21           341.    These layoffs will also affect Plaintiffs AFSCME, SEIU, and SEIU Local 1000 and

          22    their non-federal employee members who work for state agencies that determine eligibility for Old

          23    Age, Survivors and Disability Insurance and depend on SSA-administered technology to make their

          24    assessments, for local or state determination entities, and/or for medical providers that make those

          25    determinations, which also depend on SSA staff. SEIU Local 1000 members are employed by the

          26    California state agencies that rely on the provision of social security numbers when issuing driver’s
          27    licenses and processing unemployment benefits applications, and will likely face long delays in

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           1    speaking with SSA staff and resolving problems with social security numbers, which, in turn, will

           2    delay the provision of state service, including driver’s licenses and unemployment/disability

           3    insurance.

           4            342.      In addition, these actions will also have a direct and severely detrimental impact on

           5    Plaintiff Alliance for Retired Americans and its members, who are already experiencing long wait

           6    times for appointments in person and long wait times (already up to 90 minutes) on the 800-number

           7    to apply for benefits or to correct benefit problems by phone. Employees processing benefits

           8    applications will no longer have the necessary information technology support, causing problems

           9    including website disruptions that prevent ARA members and others from applying for benefits or

          10    calculating benefits to make retirement decisions. And adding the caseload of employees who are

          11    terminated to SSA employees’ already overwhelming caseload will mean the current problem of

          12    almost one-fifth of benefit applications not being timely processed will expand and people who are

          13    entitled to receive Social Security benefits, including ARA members, will not timely receive them.

          14    These same issues will also affect Plaintiff AFSCME’s significant number of retired members and

          15    their families.

          16        •   State Department
          17            343.      The implementation of the Executive Order and ARRP imminently to impose

          18    sweeping cuts at the State Department—including staff reductions in domestic offices of 15%, on top

          19    of the elimination of entire offices—will have a direct and severely detrimental impact on the federal

          20    employees who are terminated, those who remain, and their labor representatives including Plaintiff

          21    AFGE. SEIU also represents members employed by service contractors who provide cleaning

          22    services at State Department offices, and risk losing their jobs due to the significant reduction in staff.

          23            344.      These reductions will also cause immediate, substantial, and irreparable harm to the

          24    vital diplomatic work the Department performs. For example, the planned reorganization eliminates

          25    numerous Special Envoys, Representatives, and Coordinators, positions that provide high-level,

          26    specialized attention to pressing issues such as climate change, global criminal justice, hostage
          27    affairs, nuclear nonproliferation and particularly geopolitically sensitive States like Iran, Sudan, and

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           1    North Korea. The scale of the Reorganization Plan announced on April 22 will also make it

           2    extremely hard for the employees who remain to keep the work of their offices going without severe

           3    disruptions.

           4       •   Department of the Treasury
           5           345.    The implementation of the Executive Order and ARRP to impose the planned and

           6    ongoing 40 percent reduction to the IRS workforce will have a direct and severely detrimental impact

           7    on the federal employees who are terminated, those who remain, and their labor representatives.

           8           346.    The IRS plans to reduce its workforce from 102,000 employees to roughly 60,000 to

           9    70,000, with especially high staffing cuts in taxpayer services and compliance, and to close more than

          10    110 offices with taxpayer assistance centers. These staffing cuts will reduce the IRS’s ability to

          11    accomplish its core functions and will directly and severely harm Plaintiff the Center for Taxpayer

          12    Rights, the members of its LITC Connect program, the clients of its own Low Income Tax Clinic, and

          13    taxpayers across the country. The planned IRS staffing shortfalls will cause simple, quick cases to

          14    snowball into labor-intensive, years-long matters for the Center’s advocates, requiring more technical

          15    assistance from the Center and leaving low-incoming taxpayers unassisted. The Center’s members

          16    will be required to expend more resources per case and be less able to accomplish their missions.

          17    Clients will suffer financially through delayed or denied tax refunds, the inability to reach the IRS to

          18    stop automatic assessments, and—for some prospective clients— the inability to be served by

          19    overwhelmed LITCs that are forced to impose client caps.

          20           347.    These actions will also have a direct and severely detrimental impact on local

          21    governments that interact directly with this agency and rely on its services every day, specifically

          22    including but not limited to Plaintiff Santa Clara. Federal law entitles local governments to

          23    reimbursement from the IRS for certain interest payments they make on “Qualified Energy

          24    Conservation Bonds.” For example, Plaintiff Santa Clara issued such bonds to provide low-interest

          25    financing to promote alternative energy usage, and is therefore entitled to monthly reimbursement

          26    payments from the IRS. Because these reimbursements depend on staff for processing,
          27    reorganization will likely cause slowdowns in the issuance of these reimbursement payments.

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           1            348.   The Department of Treasury is also responsible for processing federal payments and

           2    disbursing them to state and local governments, including money for block grants, formula grants,

           3    and direct payments for specified use by those state and local governments. The predicted across the

           4    board staffing cuts at the Department pose a significant threat to a functional Treasury. With a lower-

           5    staffed Treasury Department, these payments could be delayed or stop altogether, severely harming

           6    members of AFSCME and SEIU who work in state and local government, and jeopardizing their

           7    jobs.

           8       •    Department of Veterans Affairs
           9            349.   The implementation of the Executive Order and ARRP to imminently roll out the

          10    elimination of approximately 80,000 positions at the VA will directly and significantly harm the

          11    federal employees who are terminated, those who remain, and their labor representatives including

          12    Plaintiffs AFGE, AFSCME, and SEIU.

          13            350.   This massive reorganization will also harm Plaintiffs AFSCME, SEIU, and SEIU

          14    Local 1000 and their non-federal employee members, who are employed by facilities that provide

          15    care to veterans and are operated by state government but depend on the VA to timely process

          16    government funding.

          17            351.   These actions will also cause immediate and irreparable injuries to veterans who rely

          18    on VA services including members of Plaintiffs Common Defense and VoteVets, and to the

          19    organizational mission of those organizations. For example, cuts to support medical and healthcare

          20    support staff, IT support, and clerical and data entry positions make it significantly more difficult for

          21    VA health care providers to do their jobs and for veterans to make medical appointments and be

          22    connected with services. The RIFs will exacerbate staffing shortages that already exist at many VA

          23    facilities and make it harder for veterans to access health care, including mental health care, and other

          24    veterans’ services including crisis support. Cuts to research staff will also disrupt important work that

          25    benefits veterans and the public generally. The reductions will stress understaffed veterans’ hospitals

          26    and other services to the breaking point.
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           1            352.    In addition, the implementation of the Executive Order and VA ARRP will have

           2    substantial and deleterious effects on the veterans living in Plaintiff cities and counties and will also

           3    impose costs and burdens on the local governments themselves, specifically including but not limited

           4    to the County of Santa Clara.

           5            353.    For example, the delays, closures, and loss of staff at the VA—both at VA hospitals

           6    and in offices that perform centralized functions like call centers and benefits processing—will also

           7    prevent or hinder Plaintiff Santa Clara’s Office of Veterans Services from doing its primary, core

           8    function of connecting veterans to the healthcare and benefits-processing staff at the VA. Reduction

           9    in force at the VA will also impose additional burdens on hospitals, like those operated by Plaintiff

          10    Santa Clara, that operate emergency departments because delays and/or elimination of care options

          11    for veterans will make them more reliant on services provided by Plaintiff Satna Clara and other local

          12    governments such as housing support and behavioral and medical health care. And reduced VA staff

          13    will impact Plaintiff King County’s ability to serve veterans experiencing homelessness or housing

          14    instability, weakening a nationally recognized, award-winning program that had been advancing

          15    veteran support services.

          16                                            CLAIMS FOR RELIEF

          17                                                    Claim I:
                                                    Separation of Powers/Ultra Vires
          18                                  Against Defendant President Donald J. Trump

          19            354.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
          20            355.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official
          21    action that is ultra vires.
          22            356.    The Constitution vests the legislative power in Congress. U.S. Const., art. I.; I.N.S. v.
          23    Chadha, 462 U.S. 919, 951 (1983). Congress exercised that Article I legislative authority to create
          24    the agencies of the federal government. Congress has not delegated to the President the authority to
          25    employ and discharge the subordinate employees of the agencies or to spend appropriated funds on
          26    those positions; rather, it delegated those functions exclusively to the heads of federal agencies.
          27

          28
                COMPLAINT, No.                                                                                        94

                                                         Add.98
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           1           357.    From time to time in this nation’s history, Congress has delegated to the President the

           2    authority to fast-track legislation proposing the reorganization of federal agencies. But Congress has

           3    given President Trump no such authority. While Congress has also delegated certain authorities to

           4    President Trump to enact regulations with respect to the management and conduct of the federal civil

           5    service, none of those delegations authorize the sweeping authority President Trump has claimed for

           6    himself to order agencies to engage in large-scale RIFs, eliminate programs and offices at his

           7    direction, reduce staffing to 2019 or government shutdown levels, and otherwise reorganize the

           8    federal government.

           9           358.    The Constitution vests executive power in the President, U.S. Const., art. II, and

          10    imposes on the President a duty to “take Care that the Laws be faithfully executed,” U.S. Const. art.

          11    II, § 3. The President cannot usurp Congress’s legislative authority on his own mandate; any

          12    legislative authority wielded by the President must have been delegated within the confines of the

          13    Constitutional limitations protecting the respective spheres. The President has no constitutional

          14    power to enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S.

          15    417, 438–39 (1998). The President lacks the constitutional or statutory authority to order large-scale

          16    terminations of federal employees, to require agencies to eliminate offices and functions, to require

          17    agencies to consider their own elimination, to move agency functions as between agencies, or

          18    otherwise to engage in large-scale government reorganization. The President likewise has no

          19    constitutional or statutory authority to impose parameters and requirements for such RIFs and

          20    reorganizations that require agencies to defy and ignore their authorizing statutes.

          21           359.    Executive Order 14210 exceeds the President’s lawful authority, at a minimum, by

          22    ordering agencies, including but not limited to Federal Agency Defendants, to:

          23           a.      Implement large-scale RIFs (irrespective of whether staffing reductions are necessary

          24           or even appropriate in light of agency functions, needs, and appropriations);

          25           b.      Prioritize in RIFs any functions that “my Administration suspends or closes”

          26           (irrespective of statutory requirements or authority delegated to the agencies);
          27

          28
                COMPLAINT, No.                                                                                      95

                                                        Add.99
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           1            c.      Prioritize in RIFs 2019 and/or government emergency shutdown levels of staffing

           2            (aka, Funding Lapse Plan Staffing Levels, which have nothing to do with the staffing needed

           3            to properly run fully appropriated agencies);

           4            d.      Consider their own abolition in whole or part, by addressing whether the agency or

           5            any subparts should be eliminated by the President (again, regardless of statutory

           6            requirements or authority delegated to the agencies); and

           7            e.      Reorganize themselves by picking up and arranging the pieces that are left, following

           8            these large-scale reductions.

           9            360.    Therefore, the President’s Executive Order 14210 ordering agencies to engage in

          10    large-scale RIFs and reorganization plans, and impose hiring freezes, limits, and controls, is not

          11    authorized by Article II and usurps Congress’s Article I authority, and is thus ultra vires.

          12                                                 Claim II:
                                                  Separation of Powers/Ultra Vires
          13                             Against Defendants OMB, OPM, DOGE and their Directors
          14            361.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
          15            362.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official
          16    action that is ultra vires.
          17            363.    Congress exercised its Article I legislative authority to create the agencies of the
          18    federal government. See generally United States Code, Title 5 (Government Organization and
          19    Employees). To the agency heads, Congress has also expressly delegated the power to manage the
          20    functions of the agencies, including the right to employ and discharge subordinate employees of the
          21    agencies and to spend appropriated funds on those positions.
          22            364.    In addition to agency-specific authorizing statutes, Congress has also generally
          23    authorized the heads of administrative agencies to make employment decisions (5 U.S.C. § 3101),
          24    manage the employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the
          25    management decisions, including the hiring and firing of employees (5 U.S.C. § 302).
          26            365.    Neither OMB, OPM nor DOGE have the statutory authority to supplant the decision-
          27    making authority of the federal agencies with respect to federal agency employment or organization;
          28
                COMPLAINT, No.                                                                                         96

                                                        Add.100
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           1    to require agencies to take general or specific action with respect to employment or organization; or

           2    to impose substantive requirements that effectively demand agencies to disregard statutory and

           3    regulatory requirements.

           4           366.    The February 26, 2025 Memorandum from OMB and OPM to agency heads exceeds

           5    statutory authority and usurps the authority delegated by Congress to the agencies, not to OMB or

           6    OPM, by, at a minimum, requiring agencies, including but not limited to Federal Agency Defendants,

           7    to:

           8           a.      Submit ARRPs for OMB and OPM approval;

           9           b.      Include in those ARRPs large-scale RIFS (irrespective of whether staffing reductions

          10           are necessary or even appropriate in light of agency functions and appropriations);

          11           c.      Prioritize in those large-scale RIFs any functions that “[the President’s]

          12           Administration suspends or closes” (irrespective of statutory requirements or authority

          13           delegated to the agencies);

          14           d.      Prioritize in those large-scale RIFs 2019 government emergency shutdown levels of

          15           staffing (which have nothing to do with the staffing needed to properly run fully appropriated

          16           agencies);

          17           e.      Include in their ARRPs consideration of their own abolition in whole or part, by

          18           addressing whether the agency or any subparts should be eliminated by the President (again,

          19           regardless of statutory requirements or authority delegated to the agencies);

          20           f.      Include in their ARRPs a plan to reorganize themselves by picking up and arranging

          21           the pieces that are left, following these large-scale reductions; and

          22           g.      Submit these plans for approval on timeframes that do not permit agencies to actually

          23           consider and assess their own needs or the staffing needed to meet their statutory

          24           responsibilities.

          25           367.    DOGE has no statutory authority. DOGE exceeds any authority it may have to

          26    implement the President’s orders by usurping the authority delegated by Congress to the agencies, not
          27    to the President or DOGE. DOGE has no authority at all to dictate to the agencies created and

          28
                COMPLAINT, No.                                                                                    97

                                                       Add.101
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           1    governed by Congress any level of staffing cut or spending reduction. DOGE therefore exceeds any

           2    authority by ordering agencies, including but not limited to Federal Agency Defendants, to impose

           3    cuts to functions and staffing according to “targets” and “goals” imposed by DOGE.

           4           368.    Therefore, the actions and orders of OMB, OPM, and DOGE to implement the

           5    President’s February 11, 2025 Executive Order, including but not limited to the February 26, 2025

           6    Memorandum to all agencies, as well as any direction, approval, or requirement imposed with respect

           7    to any ARRPs that result from that Executive Order, exceed OMB, OPM, and DOGE’s authority and

           8    are contrary to statute and thus ultra vires.

           9                                              Claim III:
                                   Administrative Procedure Act, 5 U.S.C § 706(2)(A) and (C)
          10                       Against Defendants OMB, OPM, DOGE and their Directors
                            (Action Not in Accordance With Law and Exceeding Statutory Authority)
          11

          12           369.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

          13           370.    The Plaintiff unions’ federal employee members are subject to the requirements of

          14    OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons

          15    who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the

          16    actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal

          17    Directors, for purposes of 5 U.S.C. § 702.

          18           371.    Congress exercised its Article I legislative authority to create the agencies of the

          19    federal government. See generally United States Code, Title 5 (Government Organization and

          20    Employees). To the agency heads, Congress has also expressly delegated the power to manage the

          21    functions of the agencies, including the right to employ and discharge subordinate employees of the

          22    agencies and to spend appropriated funds on those positions.

          23           372.    In addition to specific authorizing statutes, Congress has also generally authorized the

          24    heads of administrative agencies to make employment decisions (5 U.S.C. § 3101), manage the

          25    employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the management

          26    decisions, including the hiring and firing of employees (5 U.S.C. § 302).

          27           373.    Neither OMB, OPM nor DOGE have the statutory authority to supplant the decision-

          28    making authority of the federal agencies with respect to federal agency employment.
                COMPLAINT, No.                                                                                        98

                                                         Add.102
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           1           374.    The February 26, 2025 Memorandum from OMB and OPM to agency heads exceeds

           2    statutory authority and usurps the authority delegated by Congress to the agencies (including but not

           3    limited to Federal Agency Defendants), and not to OMB or OPM, by: requiring agencies to submit

           4    Agency RIF and Reorganization Plans to OMB and OPM for approval; requiring agencies to include

           5    in those plans large-scale RIFs; and imposing an assortment of other parameters and requirements,

           6    including considering Funding Lapse Plan Staffing Levels as a baseline.

           7           375.    DOGE has no statutory authority. DOGE exceeds any authority it may have to

           8    implement the President’s orders by usurping the authority delegated by Congress to the agencies

           9    (including but not limited to Federal Agency Defendants), not to the President or DOGE. DOGE has

          10    no authority at all to dictate to the agencies created and governed by Congress any level of staffing

          11    cut or spending reduction.

          12           376.    Therefore, the actions and orders of OMB, OPM, and DOGE to implement the

          13    President’s February 11, 2025 Executive Order, including but not limited to the February 26, 2025

          14    Memorandum to all agencies, and any direction, approval, or requirement imposed with respect to

          15    any ARRPs that result from that Executive Order, exceed authority and are contrary to statute.

          16           377.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.

          17    5 U.S.C. § 701. OMB and OPM’s issuance and implementation of the February 26, 2025

          18    Memorandum, any decision “approving” an ARRP, and DOGE’s directives ordering agencies to

          19    make staffing and spending cuts are all final agency action under the APA. 5 U.S.C. § 704.

          20           378.    Under the APA, a court shall “hold unlawful and set aside agency action” that is “not

          21    in accordance with law” (5 U.S.C. § 706(2)(A)), or that is “in excess of statutory jurisdiction,

          22    authority, or limitations, or short of statutory right” (5 U.S.C. § 706(2)(C)).

          23           379.    The actions of OMB, OPM, and DOGE therefore violate the Administrative Procedure

          24    Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A) and exceed statutory

          25    authority in violation of 5 U.S.C. § 706(2)(C), and for those reasons are also arbitrary and capricious

          26    in violation of 5 U.S.C. § 706(2)(A).
          27

          28
                COMPLAINT, No.                                                                                     99

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           1                                              Claim IV:
                                       Administrative Procedure Act, 5 U.S.C § 706(2)(A)
           2                       Against Defendants OMB, OPM, DOGE and their Directors
                                           (Arbitrary and Capricious Agency Action)
           3
                       380.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
           4
                       381.    The Plaintiff unions’ federal employee members are subject to the requirements of
           5
                OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons
           6
                who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the
           7
                actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal
           8
                Directors, for purposes of 5 U.S.C. § 702.
           9
                       382.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.
          10
                5 U.S.C. § 701. OMB and OPM’s issuance and implementation of the February 26, 2025
          11
                Memorandum, any decision “approving” an ARRP, and DOGE’s directives ordering agencies to
          12
                make staffing and spending cuts are all final agency action under the APA. 5 U.S.C. § 704.
          13
                       383.    The actions of OMB and its Director, OPM and its Acting Director, and DOGE and its
          14
                actual and nominal Directors, violate the APA because they are arbitrary and capricious, in violation
          15
                of 5 U.S.C. § 706(2)(A), including because they: 1) order federal agencies to cede decision-making
          16
                authority to OMB OPM, and/or DOGE, regardless of the requirements of any applicable statute or
          17
                regulation; 2) require agencies to disregard their authorizing statutes and regulations and follow the
          18
                President’s unconstitutional directions and directions of OMB,OPM, and/or DOGE; 3) categorically
          19
                impose requirements to engage in large-scale RIFs that are necessarily contrary to agency function
          20
                and authorizing statutes and regulations; 4) categorically impose requirements to RIF employees at
          21
                the President’s direction, according to the offices, programs and functions the President and his
          22
                Administration eliminate regardless of statute or regulation; 5) categorically require agencies to
          23
                engage in RIFs that will align the agency with Funding Lapse Plan Staffing Levels, which necessarily
          24
                and by definition cannot adequately staff agencies; 6) require agencies to abandoned reasoned
          25
                decision-making considering all relevant factors, in service of the President’s orders; 7) require
          26
                agencies to act under unrealistic timeframes that necessarily will result in plans that are not supported
          27

          28
                COMPLAINT, No.                                                                                       100

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           1    by rational reasoning or the agency’s considered judgment; and 8) require the process for the creation

           2    and approval of plans to radically transform the entire federal government to proceed in secret.

           3                                               Claim V:
                                       Administrative Procedure Act, 5 U.S.C § 706(2)(D)
           4                       Against Defendants OMB, OPM, DOGE and their Directors
                                                    (Notice and Comment)
           5

           6           384.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

           7           385.    The Plaintiff unions’ federal employee members are subject to the requirements of

           8    OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons

           9    who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the

          10    actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal

          11    Directors, for purposes of 5 U.S.C. § 702.

          12           386.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.

          13    5 U.S.C. § 701.

          14           387.    Under the APA, a court shall “hold unlawful and set aside agency action …found to be

          15    …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

          16           388.    OMB and OPM’s February 26, 2025 Memorandum, and any decision “approving” an

          17    ARRP, and DOGE’s directives ordering agencies to make staffing and spending cuts, are all “rules”

          18    for purposes of the APA. 5 U.S.C. § 551(4).

          19           389.    Neither OMB, nor OPM, nor DOGE, has published and provided opportunity for

          20    notice and comment on its actions pursuant to Executive Order 14210, including but not limited to

          21    the February 26, 2025 Memorandum, any decision “approving” an ARRP, or DOGE’s directives

          22    ordering agencies to make staffing or spending cuts.

          23           390.    Neither OMB nor its Director, OPM nor its Acting Director, nor DOGE and its actual

          24    and nominal Directors complied with the rule-making provisions set forth in 5 U.S.C. § 553 before

          25    issuing OMB and OPM’s February 26, 2025 Memorandum. That memorandum, as well as any

          26    decision “approving” an ARRP and DOGE’s directives ordering agencies to make staffing or

          27    spending cuts, are all “rules” for purposes of the APA. 5 U.S.C. § 551(4).

          28
                COMPLAINT, No.                                                                                       101

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           1           391.    OMB, OPM, and DOGE’s actions therefore also violate 5 U.S.C. § 706(2)(D) by

           2    failing to observe procedures required by law.

           3                                              Claim VI:
                                   Administrative Procedure Act, 5 U.S.C § 706(2)(A) and (C)
           4                                 Against Federal Agency Defendants
                                            (Action Not in Accordance With Law)
           5

           6           392.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

           7           393.    The Plaintiff unions’ federal employee members are subject to the requirements of

           8    Federal Agency Defendants’ actions here at issue, and all Plaintiffs (and/or their members) are

           9    persons who have suffered legal wrong as a result of, and have been adversely affected or aggrieved

          10    by the actions of the Federal Agency Defendants, for purposes of 5 U.S.C. § 702.

          11           394.    Each Federal Agency Defendant is an agency that Congress has made subject to the

          12    APA. 5 U.S.C. § 701. The implementation of ARRPs by RIFing federal employees, closing offices,

          13    functions, and programs, and otherwise reorganizing agency functions are all final agency action

          14    under the APA. 5 U.S.C. § 704.

          15           395.    On information and belief, each of the Federal Agency Defendants has created and

          16    submitted for OMB and OPM approval an ARRP, according to the parameters imposed by OMB,

          17    OPM and DOGE.

          18           396.    None of the Federal Agency Defendants have the statutory authority to cede their

          19    decision-making authority with respect to the employees of that agency to the President, OMB, OPM,

          20    or DOGE. None of the Federal Agency Defendants have the statutory authority to implement the

          21    President’s unconstitutional direction to engage in large-scale RIFs, including with respect to

          22    functions, programs, or offices that the President and those acting on his authority have decided to

          23    cut; or to impose staffing cuts that take an agency, irrespective of duty or need, back to government-

          24    shutdown lapse levels. The Federal Agency Defendants have exceeded their authority by

          25    implementing the President’s unconstitutional plans.

          26           397.    Under the APA, a court shall “hold unlawful and set aside agency action” that is

          27    “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” (5 U.S.C.

          28
                COMPLAINT, No.                                                                                       102

                                                       Add.106
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           1    § 706(2)(A)), or that is “in excess of statutory jurisdiction, authority, or limitations, or short of

           2    statutory right” (5 U.S.C. § 706(2)(C)).

           3            398.    The actions of Federal Agency Defendants therefore violate the Administrative

           4    Procedure Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A) and exceed

           5    statutory authority in violation of 5 U.S.C. § 706(2)(C), and are for those reasons also arbitrary and

           6    capricious in violation of 5 U.S.C. § 706(2)(A).

           7                                                Claim VII:
                                         Administrative Procedure Act, 5 U.S.C § 706(2)(A)
           8                                   Against Federal Agency Defendants
                                            (Arbitrary and Capricious Agency Action)
           9
                        399.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
          10
                        400.    The Plaintiff unions’ federal employee members are subject to the requirements of
          11
                Federal Agency Defendants’ actions here at issue, and all Plaintiffs (and/or their members) are
          12
                persons who have suffered legal wrong as a result of, and have been adversely affected or aggrieved
          13
                by the actions of the Federal Agency Defendants for purposes of 5 U.S.C. § 702.
          14
                        401.    Congress made each Federal Agency Defendant subject to the APA. 5 U.S.C. § 701.
          15
                The implementation of ARRPs by RIFing federal employees, closing offices, functions, and
          16
                programs, and otherwise reorganizing agency functions are all final agency action under the APA. 5
          17
                U.S.C. § 704.
          18
                        402.    Each of the Federal Agency Defendants has created and submitted for OMB and OPM
          19
                approval an ARRP, according to the parameters imposed by OMB, OPM and DOGE.
          20
                        403.    The actions of the Federal Agency Defendants, including but not limited to
          21
                implementing the President’s unconstitutional orders to reorganize and RIF employees, pursuant to
          22
                the terms dictated by the President, violate the APA because they are arbitrary and capricious, in
          23
                violation of 5 U.S.C. § 706(2)(A), for reasons that include the following: they 1) cede decision-
          24
                making authority to OMB and OPM, regardless of the requirements of any applicable statute; 2)
          25
                disregard their authorizing statutes and follow the President’s unconstitutional directions and
          26
                directions of OMB and OPM; 3) engage in large-scale RIFs that are necessarily contrary to agency’s
          27
                ability to maintain required function and authorizing statute; 4) RIF employees at the President’s
          28
                COMPLAINT, No.                                                                                          103

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           1    direction, according to the offices, programs and functions the President and his Administration

           2    eliminate regardless of statute; 5) RIF according to Funding Lapse Plan Staffing Levels, which

           3    necessarily and by definition cannot staff agencies at the level necessary to adequately perform; 6)

           4    abandon reasoned decision-making considering all relevant factors, in service of the President’s

           5    orders; 7) act under unrealistic timeframes that necessarily will result in plans that are not supported

           6    by rational reasoning or agencies’ considered judgment; and 8) conduct the process for the creation

           7    and approval of plans to radically transform the entire federal government in secret.

           8                                           PRAYER FOR RELIEF

           9    Wherefore, Plaintiffs pray that this Court:

          10           1. Declare that President Donald J. Trump has violated the United States Constitution by

          11               engaging in wholesale transformation of the federal government without any

          12               Congressional authorization by and through the Workforce Executive Order;

          13           2. Declare that OMB, OPM, and DOGE have exceeded statutory authority and acted in an

          14               arbitrary and capricious manner and therefore acted unlawfully by ordering federal

          15               agencies to act in accordance with the President’s unconstitutional mandate by and

          16               through the Workforce Executive Order and the February 26, 2025 OMB/OPM

          17               Memorandum;

          18           3. Declare that Federal Agency Defendants have acted contrary to statutory authority and in

          19               an arbitrary and capricious manner and therefore acted unlawfully by implementing the

          20               President’s unconstitutional Workforce Executive Order and the February 26, 2025

          21               OMB/OPM Memorandum to reorganize the federal government and RIF large numbers of

          22               federal employees, without Congressional authorization;

          23           4. Vacate the February 11, 2025 Workforce Executive Order, the February 26, 2025 OMB

          24               and OPM Memorandum implementing that order; any and all approvals or exemptions

          25               awarded by OMB, OPM, or DOGE; any and all orders by OMB, OPM, or DOGE with

          26               respect to federal agency ARRPs; and the ARRPs; and issue all necessary and appropriate
          27

          28
                COMPLAINT, No.                                                                                       104

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           1             process to preserve status or rights pending conclusion of the review proceedings under 5

           2             U.S.C. § 705;

           3          5. Temporarily restrain and enjoin the Defendants from implementing or enforcing the

           4             February 11, 2025 Workforce Executive Order; the February 26, 2025 OMB and OPM

           5             Memorandum implementing that order; any and all approvals or exemptions awarded by

           6             OMB, OPM, or DOGE; any and all orders by OMB, OPM, or DOGE with respect to

           7             federal agency ARRPs; and the ARRPs, pending further orders from this Court;

           8          6. Pursuant to 5 U.S.C. § 706, vacate, hold unlawful and set aside the February 11, 2025

           9             Workforce Executive Order; the February 26, 2025 OMB and OPM Memorandum

          10             implementing that order; any and all approvals or exemptions awarded by OMB, OPM, or

          11             DOGE; any and all orders by OMB, OPM, or DOGE with respect to federal agency

          12             ARRPS; and the ARRPs;

          13          7. Enter preliminary and/ permanent injunctive relief;

          14          8. Award Plaintiffs their costs, reasonable attorneys’ fees, and other disbursements as

          15             appropriate; and

          16          9. Grant such other relief as this Court may deem proper.

          17
                DATED: April 28, 2025                      Stacey M. Leyton
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                                                           Danielle E. Leonard
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                COMPLAINT, No.                                                                                   105

                                                     Add.109
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                COMPLAINT, No.                                                                          106

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          28
                COMPLAINT, No.                                                                         107

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                COMPLAINT, No.                                                                               108

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                COMPLAINT, No.                                                                              109

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                COMPLAINT, No.                                                                         110

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                COMPLAINT, No.                                                                    111

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                                       Exhibit A




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                                                   Title 3—                                            Executive Order 14210 of February 11, 2025

                                                   The President                                       Implementing the President’s ‘‘Department of Government Ef-
                                                                                                       ficiency’’ Workforce Optimization Initiative

                                                                                                       By the authority vested in me as President by the Constitution and the
                                                                                                       laws of the United States of America, it is hereby ordered:
                                                                                                       Section 1. Purpose. To restore accountability to the American public, this
                                                                                                       order commences a critical transformation of the Federal bureaucracy. By
                                                                                                       eliminating waste, bloat, and insularity, my Administration will empower
                                                                                                       American families, workers, taxpayers, and our system of Government itself.
                                                                                                       Sec. 2. Definitions. (a) ‘‘Agency’’ has the meaning given to it in section
                                                                                                       3502 of title 44, United States Code, except that such term does not include
                                                                                                       the Executive Office of the President or any components thereof.
                                                                                                         (b) ‘‘Agency Head’’ means the highest-ranking official of an agency, such
                                                                                                       as the Secretary, Administrator, Chairman, or Director, unless otherwise
                                                                                                       specified in this order.
                                                                                                          (c) ‘‘DOGE Team Lead’’ means the leader of the Department of Government
                                                                                                       Efficiency (DOGE) Team at each agency, as defined in Executive Order
                                                                                                       14158 of January 20, 2025 (Establishing and Implementing the President’s
                                                                                                       ‘‘Department of Government Efficiency’’).
                                                                                                         (d) ‘‘Employee’’ has the meaning given to it by section 2105 of title
                                                                                                       5, United States Code, and includes individuals who serve in the executive
                                                                                                       branch and who qualify as employees under that section for any purpose.
                                                                                                          (e) ‘‘Immigration enforcement’’ means the investigation, enforcement, or
                                                                                                       assisting in the investigation or enforcement of Federal immigration law,
                                                                                                       including with respect to Federal immigration law that penalizes a person’s
                                                                                                       presence in, entry, or reentry to, or employment in, the United States,
                                                                                                       but does not include assisting individuals in applying for immigration bene-
                                                                                                       fits or efforts to prevent enforcement of immigration law or to prevent
                                                                                                       deportation or removal from the United States.
                                                                                                          (f) ‘‘Law enforcement’’ means:
                                                                                                          (i) engagement in or supervision of the prevention, detection, investigation,
                                                                                                          or prosecution of, or the incarceration of any person for, any violation
                                                                                                          of law; or
                                                                                                         (ii) the protection of Federal, State, local, or foreign government officials
                                                                                                         against threats to personal safety.
                                                                                                         (g) ‘‘Temporary employee’’ has the meaning given to it in 5 C.F.R. part
                                                                                                       316.
                                                                                                          (h) ‘‘Reemployed annuitant’’ has the meaning given to it in 5 C.F.R.
                                                                                                       part 837.
                                                                                                       Sec. 3. Reforming the Federal Workforce to Maximize Efficiency and Produc-
                                                                                                       tivity. (a) Hiring Ratio. Pursuant to the Presidential Memorandum of January
                                                                                                       20, 2025 (Hiring Freeze), the Director of the Office of Management and
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                                                                                                       Budget shall submit a plan to reduce the size of the Federal Government’s
                                                                                                       workforce through efficiency improvements and attrition (Plan). The Plan
                                                                                                       shall require that each agency hire no more than one employee for every
                                                                                                       four employees that depart, consistent with the plan and any applicable
                                                                                                       exemptions and details provided for in the Plan. This order does not affect
                                                                                                       the standing freeze on hiring as applied to the Internal Revenue Service.
                                                                                                       This ratio shall not apply to functions related to public safety, immigration


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                                                                                                       enforcement, or law enforcement. Agency Heads shall also adhere to the
                                                                                                       Federal Hiring Plan that will be promulgated pursuant to Executive Order
                                                                                                       14170 of January 20, 2025 (Reforming the Federal Hiring Process and Restor-
                                                                                                       ing Merit to Government Service).
                                                                                                         (b) Hiring Approval. Each Agency Head shall develop a data-driven plan,
                                                                                                       in consultation with its DOGE Team Lead, to ensure new career appointment
                                                                                                       hires are in highest-need areas.
                                                                                                         (i) This hiring plan shall include that new career appointment hiring
                                                                                                         decisions shall be made in consultation with the agency’s DOGE Team
                                                                                                         Lead, consistent with applicable law.
                                                                                                          (ii) The agency shall not fill any vacancies for career appointments that
                                                                                                          the DOGE Team Lead assesses should not be filled, unless the Agency
                                                                                                          Head determines the positions should be filled.
                                                                                                          (iii) Each DOGE Team Lead shall provide the United States DOGE Service
                                                                                                          (USDS) Administrator with a monthly hiring report for the agency.
                                                                                                          (c) Reductions in Force. Agency Heads shall promptly undertake prepara-
                                                                                                       tions to initiate large-scale reductions in force (RIFs), consistent with applica-
                                                                                                       ble law, and to separate from Federal service temporary employees and
                                                                                                       reemployed annuitants working in areas that will likely be subject to the
                                                                                                       RIFs. All offices that perform functions not mandated by statute or other
                                                                                                       law shall be prioritized in the RIFs, including all agency diversity, equity,
                                                                                                       and inclusion initiatives; all agency initiatives, components, or operations
                                                                                                       that my Administration suspends or closes; and all components and employ-
                                                                                                       ees performing functions not mandated by statute or other law who are
                                                                                                       not typically designated as essential during a lapse in appropriations as
                                                                                                       provided in the Agency Contingency Plans on the Office of Management
                                                                                                       and Budget website. This subsection shall not apply to functions related
                                                                                                       to public safety, immigration enforcement, or law enforcement.
                                                                                                         (d) Rulemaking. Within 30 days of the date of this order, the Director
                                                                                                       of the Office of Personnel Management (OPM) shall initiate a rulemaking
                                                                                                       that proposes to revise 5 C.F.R. 731.202(b) to include additional suitability
                                                                                                       criteria, including:
                                                                                                         (i) failure to comply with generally applicable legal obligations, including
                                                                                                         timely filing of tax returns;
                                                                                                          (ii) failure to comply with any provision that would preclude regular
                                                                                                          Federal service, including citizenship requirements;
                                                                                                          (iii) refusal to certify compliance with any applicable nondisclosure obliga-
                                                                                                          tions, consistent with 5 U.S.C. 2302(b)(13), and failure to adhere to those
                                                                                                          compliance obligations in the course of Federal employment; and
                                                                                                         (iv) theft or misuse of Government resources and equipment, or negligent
                                                                                                         loss of material Government resources and equipment.
                                                                                                         (e) Developing Agency Reorganization Plans. Within 30 days of the date
                                                                                                       of this order, Agency Heads shall submit to the Director of the Office
                                                                                                       of Management and Budget a report that identifies any statutes that establish
                                                                                                       the agency, or subcomponents of the agency, as statutorily required entities.
                                                                                                       The report shall discuss whether the agency or any of its subcomponents
                                                                                                       should be eliminated or consolidated.
                                                                                                         (f) Within 240 days of the date of this order, the USDS Administrator
                                                                                                       shall submit a report to the President regarding implementation of this
                                                                                                       order, including a recommendation as to whether any of its provisions
                                                                                                       should be extended, modified, or terminated.
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                                                                                                       Sec. 4. Exclusions. (a) This order does not apply to military personnel.
                                                                                                         (b) Agency Heads may exempt from this order any position they deem
                                                                                                       necessary to meet national security, homeland security, or public safety
                                                                                                       responsibilities.
                                                                                                         (c) The Director of OPM may grant exemptions from this order where
                                                                                                       those exemptions are otherwise necessary and shall assist in promoting
                                                                                                       workforce reduction.


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                                                                                                       Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                                                                                       to impair or otherwise affect:
                                                                                                         (i) the authority granted by law to an executive department, agency, or
                                                                                                         the head thereof; or
                                                                                                         (ii) the functions of the Director of the Office of Management and Budget
                                                                                                         relating to budgetary, administrative, or legislative proposals.
                                                                                                         (b) This order shall be implemented consistent with applicable law and
                                                                                                       subject to the availability of appropriations.
                                                                                                         (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                       substantive or procedural, enforceable at law or in equity by any party
                                                                                                       against the United States, its departments, agencies, or entities, its officers,
                                                                                                       employees, or agents, or any other person.




                                                                                                       THE WHITE HOUSE,
                                                                                                       February 11, 2025.


                                                   [FR Doc. 2025–02762
                                                   Filed 2–13–25; 11:15 am]
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                                       Exhibit B




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                             U.S. Office of                                   U.S. Office of
                             Management and Budget                    Personnel Management


                                                MEMORANDUM

             TO:                     Heads of Executive Departments and Agencies
             FROM:                   Russell T. Vought, Director, Office of Management and Budget;
                                     Charles Ezell, Acting Director, Office of Personnel Management.

             DATE:                   February 26, 2025
             RE:                     Guidance on Agency RIF and Reorganization Plans Requested by
                                     Implementing The President’s “Department of Government
                                     Efficiency” Workforce Optimization Initiative


                   I.      Background
                   The federal government is costly, inefficient, and deeply in debt. At the same time, it is not
            producing results for the American public. Instead, tax dollars are being siphoned off to fund
            unproductive and unnecessary programs that benefit radical interest groups while hurting hard-
            working American citizens.

                    The American people registered their verdict on the bloated, corrupt federal bureaucracy
            on November 5, 2024 by voting for President Trump and his promises to sweepingly reform the
            federal government.

                   On February 11, 2025, President Trump’s Executive Order Implementing The President’s
            “Department of Government Efficiency” Workforce Optimization Initiative (Workforce
            Optimization) “commence[d] a critical transformation of the Federal bureaucracy.” It directed
            agencies to “eliminat[e] waste, bloat, and insularity” in order to “empower American families,
            workers, taxpayers, and our system of Government itself.”

                     President Trump required that “Agency Heads shall promptly undertake preparations to
            initiate large-scale reductions in force (RIFs), consistent with applicable law.” President Trump
            also directed that, no later than March 13, 2025, agencies develop Agency Reorganization Plans.

                 The U.S. Office of Management and Budget (“OMB”) and the U.S. Office of Personnel
            Management (“OPM”) now submit guidance on these Agency RIF and Reorganization Plans
            (“ARRP”), along with the instruction that such plans be submitted to OMB and OPM.

                   II.     Principles to Inform ARRPs

                   ARRPs should seek to achieve the following:

                   1. Better service for the American people;




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                   2. Increased productivity;

                   3. A significant reduction in the number of full-time equivalent (FTE) positions by
                      eliminating positions that are not required;

                   4. A reduced real property footprint; and

                   5. Reduced budget topline.

                   Pursuant to the President’s direction, agencies should focus on the maximum elimination
            of functions that are not statutorily mandated while driving the highest-quality, most efficient
            delivery of their statutorily-required functions.

                   Agencies should also seek to consolidate areas of the agency organization chart that are
            duplicative; consolidate management layers where unnecessary layers exist; seek reductions in
            components and positions that are non-critical; implement technological solutions that automate
            routine tasks while enabling staff to focus on higher-value activities; close and/or consolidate
            regional field offices to the extent consistent with efficient service delivery; and maximally reduce
            the use of outside consultants and contractors. When taking these actions, agencies should align
            closures and/or relocation of bureaus and offices with agency return-to-office actions to avoid
            multiple relocation benefit costs for individual employees.

                   Agencies should review their statutory authority and ensure that their plans and actions are
            consistent with such authority.

                   Agency heads should collaborate with their Department of Government Efficiency
            (“DOGE”) team leads within the agency in developing competitive areas for ARRPs. In addition,
            the agency should specifically identify competitive areas that include positions not typically
            designated as essential during a lapse in appropriations. When making this determination, agencies
            should refer to the functions that are excepted from the Antideficiency Act (ADA) in the Agency
            Contingency Plans submitted to OMB in 2019 as the starting point for making this determination.

                   III.    Available Tools

                    In their ARRPs, agencies should employ all available tools to effectuate the President’s
            directive for a more effective and efficient government and describe how they will use each. Such
            tools include:

               1. Continuing to comply with the hiring freeze outlined in the January 20, 2025 Presidential
                  Memorandum Hiring Freeze or (with approval of OPM and OMB) implementing the
                  general principle that, subject to appropriate exemptions, no more than one employee
                  should be hired for every four employees that depart;

               2. Establishing internal processes that ensure agency leadership has visibility and/or direct
                  sign-off on all potential job offers and candidates prior to extending offers;



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               3. Eliminating non-statutorily mandated functions through RIFs (Appendix 1 contains a
                  sample timeline);

               4. Removing underperforming employees or employees engaged in misconduct, and
                  continuing to evaluate probationary employees;

               5. Reducing headcount through attrition and allowing term or temporary positions to expire
                  without renewal;

               6. Separating reemployed annuitants in areas likely subject to RIFs; and

               7. Renegotiating provisions of collective bargaining agreements (CBAs) that would inhibit
                  enhanced government efficiency and employee accountability.

                    ARRPs should also list the competitive areas for large-scale reductions in force, the RIF
            effective dates (which may be a date prior to when the plan is submitted), the expected conclusion
            of the RIFs, the number of FTEs reduced, and additional impact of RIFs such as cancellation of
            related contracts, leases or overhead.

                   Agencies should also closely consider changes to regulations and agency policies,
            including changes that must be pursued through notice-and-comment rulemaking, that would lead
            to the reduction or elimination of agency subcomponents or speed up the implementation of
            ARRPs.

                   IV.     Phase 1 ARRPs

                    Each agency will submit a Phase 1 ARRPs to OMB and OPM for review and approval no
            later than March 13, 2025. Phase 1 ARRPs shall focus on initial agency cuts and reductions.
            Each Phase 1 ARRP should identify:

               1. A list of agency subcomponents or offices that provide direct services to citizens. Such
                  subcomponents or offices should be included in ARRPs to improve services to citizens
                  while eliminating costs and reducing the size of the federal government. But for service
                  delivery subcomponents or offices, implementation shall not begin until certified by OMB
                  and OPM as resulting in a positive effect on the delivery of such services.

               2. Any statutes that establish the agency, or subcomponents of the agency, as statutorily
                  required entities. Agency leadership must confirm statutes have not been interpreted in a
                  way that expands requirements beyond what the statute actually requires. Instead, statutes
                  should be interpreted to cover only what functions they explicitly require.

               3. All agency components and employees performing functions not mandated by statute or
                  regulation who are not typically designated as essential during a lapse in appropriations
                  (because the functions performed by such employees do not fall under an exception to the
                  ADA) using the Agency Contingency Plans submitted to OMB in 2019 referenced above.



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               4. Whether the agency or any of its subcomponents should be eliminated or consolidated; and
                  which specific subcomponents or functions, if any, should be expanded to deliver on the
                  President’s priorities.

               5. The specific tools the agency intends to use to achieve efficiencies, including, as to each,
                  the number of FTEs reduced and any potential savings or costs associated with such actions
                  in Fiscal Years 2025, 2026 and 2027:

                   a. Continuation of the current hiring freeze;
                   b. Regular attrition (e.g., retirement, movement between agencies and the private sector);
                   c. Attrition through enhanced policies governing employee performance and conduct;
                   d. Attrition through the termination or non-renewal of term or limited positions or
                      reemployed annuitants;
                   e. Attrition achieved by RIFs. Please refer to Appendix 1 for specific steps and timing.
                      For purposes of the Phase 1 ARRP, the agency should include the following
                      information:

                         i. The competitive areas and organizational components that the agency has
                            targeted or will target for initial RIFs, and
                        ii. The agency’s target for reductions in FTE positions via RIFs.

               6. A list by job position of all positions categorized as essential for purposes of exclusion
                  from large-scale RIFs, including the number per each job position and total by agency and
                  subcomponent.

               7. The agency’s suggested plan for congressional engagement to gather input and agreement
                  on major restructuring efforts and the movement of fundings between accounts, as
                  applicable, including compliance with any congressional notification requirements.


               8. The agency’s timetable and plan for implementing each part of its Phase 1 ARRP.

                   V.     Phase 2 ARRPs

                    Agencies should then submit a Phase 2 ARRP to OMB and OPM for review and approval
            no later than April 14, 2025. Phase 2 plans shall outline a positive vision for more productive,
            efficient agency operations going forward. Phase 2 plans should be planned for implementation by
            September 30, 2025. The Phase 2 plan should include the following additional information:

               1. The agency’s proposed future-state organizational chart with its functional areas,
                  consolidated management hierarchy, and position titles and counts clearly depicted.

               2. Confirmation that the agency has reviewed all personnel data, including each employee’s
                  official position description, four most recent performance ratings of record, retention
                  service computation date, and veterans’ preference status.

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               3. The agency’s plan to ensure that employees are grouped, to the greatest extent possible,
                  based on like duties and job functions to promote effective collaboration and management,
                  and that the agency’s real estate footprint is aligned with cross-agency efforts coordinated
                  by GSA to establish regional federal office hubs.

               4. Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
                  National Capital Region to less-costly parts of the country.

               5. The competitive areas for subsequent large-scale RIFs.

               6. All reductions, including FTE positions, term and temporary positions, reemployed
                  annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.

               7. Any components absorbing functions, including how this will be achieved in terms of FTE
                  positions, funding, and space.

               8. The agency’s internal processes that ensure agency leadership has visibility and/or direct
                  sign-off on all potential job offers and candidates prior to extending offers.

               9. The agency’s data-driven plan to ensure new career appointment hires are in highest-need
                  areas and adhere to the general principle that, subject to appropriate exemptions, no more
                  than one employee should be hired for every four employees that depart. Until the agency
                  has finalized its post-hiring-freeze plan, agencies should continue to adhere to the current
                  hiring freeze.

               10. Any provisions of collective bargaining agreements that would inhibit government
                   efficiency and cost-savings, and agency plans to renegotiate such provisions.

               11. An explanation of how the ARRPs will improve services for Americans and advance the
                   President’s policy priorities.

               12. The framework and criteria the agency has used to define and determine efficient use of
                   existing personnel and funds to improve services and the delivery of these services.

               13. For agencies that provide direct services to citizens (such as Social Security, Medicare, and
                   veterans’ health care), the agency’s certification that implementation of the ARRPs will
                   have a positive effect on the delivery of such services. The certification should include a
                   written explanation from the Agency Head and, where appropriate, the agency’s CIO and
                   any relevant program manager.

               14. The programs and agency components not impacted by the ARRP, and the justification for
                   any exclusion.



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               15. Plans to reduce costs and promote efficiencies through improved technology, including
                   through the adoption of new software or systems, and elimination of duplicative systems.

               16. Any changes to regulations and agency policies, including changes that must be pursued
                   through notice-and-comment rulemaking, that would lead to the reduction or elimination
                   of agency subcomponents, or speed up implementation of ARRPs.

               17. The agency’s timetable and plan for implementing each part of its Phase 2 ARRP, and its
                   plan for monitoring and accountability in implementing its ARRPs.

                   Agencies should continue sending monthly progress reports each month on May 14, 2025,
            June 16, 2025, and July 16, 2025. All plans and reports requested by this memorandum should be
            submitted to OPM at tracking@opm.gov and OMB at workforce@omb.eop.gov; when submitting
            plans and reports, please ensure both OPM and OMB addresses are included on the message.

                   VI.    Exclusions

                   Nothing in this memorandum shall have any application to:

               1. Positions that are necessary to meet law enforcement, border security, national security,
                  immigration enforcement, or public safety responsibilities;

               2. Military personnel in the armed forces and all Federal uniformed personnel, including the
                  U.S. Coast Guard, the Commissioned Corps of the U.S. Public Health Service, and the
                  Commissioned Officer Corps of the National Oceanic and Atmospheric Administration;

               3. Officials nominated and appointed to positions requiring Presidential appointment or
                  Senate confirmation, non-career positions in the Senior Executive Service or Schedule C
                  positions in the excepted service, officials appointed through temporary organization hiring
                  authority pursuant to 5 U.S.C. § 3161, or the appointment of any other non-career
                  employees or officials, if approved by agency leadership appointed by the President;

               4. The Executive Office of the President; or

               5. The U.S. Postal Service.

                   Finally, agencies or components that provide direct services to citizens (such as Social
            Security, Medicare, and veterans’ health care) shall not implement any proposed ARRPs until
            OMB and OPM certify that the plans will have a positive effect on the delivery of such services.

            cc: Chief Human Capital Officers (“CHCOs”), Deputy CHCOs, Human Resources Directors,
            Chiefs of Staff, and DOGE team leads.




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                                         Appendix 1- Sample RIF Timeline

                    This sample timeline is prepared in accordance with the U.S. Office of Personnel
            Management Workforce Reshaping Operations Handbook. RIF timing may vary based on
            agency-specific requirements, collective bargaining agreements, and workforce considerations.
            Agencies can accelerate these timelines through parallel processing, securing OPM waivers to
            policy, expediting process steps, and streamlining stakeholder coordination.

            Step 1: Identification of Competitive Areas and Levels (by March 13, 2025 for Phase 1
            ARRPs)

               1. Identify competitive areas and levels and determine which positions may be affected. If
                  applicable, seek OPM waiver approval to adjust competitive areas within 90 days of the
                  RIF effective date.
               2. For Phase 1 ARRPs, this step should be completed no later than March 13, 2025.

            Step 2: Planning, Preparation & Analysis (up to 30 days)

               1. Explore use of VSIP/VERA.
               2. Conduct an impact assessment.
               3. Review position descriptions for accuracy, validate competitive levels, and verify
                  employee retention data (e.g., veteran preference, service computation dates).
               4. Develop retention register.
               5. Draft RIF notices and seek OPM waiver approval for a 30-day notification period.
               6. Develop transition materials.
               7. Notify unions (if required).
               8. Prepare congressional notification (if required).

            Step 3: Formal RIF Notice Period (60 days, shortened to 30 days with an OPM waiver)

               1. Issue official RIF notices.
               2. Provide employees with appeal rights, career transition assistance, and priority placement
                  options.
               3. Execute any required congressional notification and notice to the Department of Labor,
                  state, and local officials, if applicable.

            Step 4: RIF Implementation & Separation (Final Step)

               1. Officially implement separations, reassignments, or downgrades.
               2. Provide final benefits counseling, exit processing, and documentation.
               3. Update HR systems and notify OPM of personnel actions.




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          16
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          17
                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
          18
                                                  SAN FRANCISCO DIVISION
          19
                 AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
          20     GOVERNMENT EMPLOYEES, AFL-CIO, et
                 al.,                                                MOTION FOR TEMPORARY
          21                                                         RESTRAINING ORDER AND ORDER TO
          22              Plaintiffs,                                SHOW CAUSE

          23         v.

          24     DONALD J. TRUMP, in his official capacity
                 as President of the United States, et al.,
          25
                          Defendants.
          26
          27

          28

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           1          MOTION FOR TEMPORARY RESTAINING ORDER AND ORDER TO SHOW CAUSE

           2             TO ALL DEFENDANTS: PLEASE TAKE NOTICE that as soon as counsel may be heard in

           3    Courtroom 1, 17th Floor, United States District Court, Northern District of California, located at 450

           4    Golden Gate Avenue, San Francisco, CA, Plaintiffs1 will move the Court pursuant to Rule 65 of the

           5    Federal Rules of Civil Procedure and Rule 65-1 of the Civil Local Rules and this Court’s authority to

           6    “issue all necessary and appropriate process to postpone the effective date of an agency action or to

           7    preserve status or rights,” 5 U.S.C. §705, for a temporary restraining order follows:

           8             1.    Enjoin and/or stay Defendants Office of Management and Budget (“OMB”), Office of

           9    Personnel Management (“OPM”), Department of Government Efficiency (“DOGE”), AmeriCorps,

          10    Department of Agriculture, Department of Commerce, Department of Energy, Environmental

          11    Protection Agency, General Services Agency, Department of Health and Human Services,

          12    Department of Housing and Urban Development, Department of Interior, Department of Labor,

          13    National Labor Relations Board, National Science Foundation, Small Business Association, Social

          14    Security Administration, Department of State, Department of Treasury, and Department of Veteran

          15    Affairs and their agency heads named in their official capacities as Defendants in this lawsuit, their

          16    officers, agents, servants, employees, and attorneys, and all persons acting by, through, under, or in

          17    concert with these Defendants, from taking any action to implement or enforce Executive Order

          18    14210, 90 Fed. Reg. 9669 (Feb. 11, 2025) or the OMB/OPM Memorandum re: Guidance on Agency

          19    RIF and Reorganization Plans Requested by Implementing The Presidents “Department of

          20    Government Efficiency” Workforce Optimization Initiative (Feb. 26, 2025), including but not limited

          21    to:

          22

          23    1
                  Moving plaintiffs are: American Federation of Government Employees, AFL-CIO; American
          24    Federation of State County and Municipal Employees, AFL-CIO; Service Employees International
                Union, AFL-CIO; AFGE Local 1122; AFGE Local 1236; AFGE Local 2110; AFGE Local 3172; SEIU
          25    Local 1000; Alliance For Retired Americans; American Geophysical Union; American Public Health
                Association; Center For Taxpayer Rights; Coalition To Protect America’s National Parks; Common
          26    Defense Civic Engagement; Main Street Alliance; Northeast Organic Farming Association, Inc.;
                VoteVets Action Fund Inc.; Western Watersheds Project; County of Santa Clara, California; City of
          27
                Chicago, Illinois; Martin Luther King, Jr. County, Washington; Harris County, Texas; City of Baltimore,
          28    Maryland; and City and County of San Francisco, California.

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           1            (1) any further approval of Agency RIF and Reorganization Plans (“ARRPs”) by OMB and

           2    OPM;

           3            (2) any further orders by DOGE to agencies to cut programs or staff in conjunction with

           4    implementing the Executive Order, the OMB/OPM Memorandum, or the ARRPs;

           5            (3) any further implementation of the Executive Order, the OMB/OPM Memorandum, or

           6    ARRPs by Federal Agency Defendants, including but not limited to execution of any existing

           7    reduction in force (“RIF”) notices, issuance of any further RIF notices, and placement of employees

           8    on administrative leave; and

           9            (4) any further transfer of functions or programs between any Federal Agency Defendants in

          10    conjunction with implementing the Executive Order, the OMB/OPM Memorandum, or the ARRPs.

          11            2.      Order Defendants OPM and OMB to provide to the Court and to Plaintiffs the current

          12    versions of the ARRPs of the Federal Defendant Agencies identified above.

          13            3.      Order Defendants to serve and file a declaration(s) verifying that they have complied

          14    with this Order and detailing what steps, if any, they have taken to do so.

          15            The Motion is made on the grounds that (1) Plaintiffs are likely to prevail on their claims that

          16    President Trump’s Workforce Executive Order No. 14210 is ultra vires and unconstitutional; that the

          17    actions of OMB, OPM, and DOGE to implement the Executive Order are ultra vires and violate the

          18    Administrative Procedure Act (“APA”), 5 U.S.C. §706(2)(A), (C), and that OMB and OPM failed to

          19    engage in notice-and-comment rulemaking as required under 5 U.S.C. §706(2)(D); and that the

          20    actions of the other Federal Agency Defendants named above to implement the Executive Order, the

          21    OMB/OPM Memorandum, and the ARRPs violate the Administrative Procedure Act, id. §706(2)(A),

          22    (C); (2) that Plaintiffs will suffer irreparable injury unless the relief requested is granted; and (3) that

          23    the balance of equities and public interest favor injunctive relief.

          24            This Motion is supported by the accompanying Plaintiffs’ Memorandum in Support of Motion

          25    for Temporary Restraining Order and Appendices; the Declarations listed in the accompanying Index

          26    of Evidence; the Complaint; and the entire record in this case. Plaintiffs have provided notice of this
          27    Motion and are serving it through the Court’s electronic filing service, as set forth in the

          28    accompanying Declaration of Plaintiffs’ counsel Barbara J. Chisholm.

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                Motion for TRO and OSC; Case No. 3:25-cv-03698-SI                                                3
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          16                                  UNITED STATES DISTRICT COURT
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          18                                      SAN FRANCISCO DIVISION
          19

          20     AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
                 GOVERNMENT EMPLOYEES, AFL-CIO,
          21     et al.,                                             PLAINTIFFS’ MEMORANDUM IN
                                                                     SUPPORT OF MOTION FOR
          22              Plaintiffs,                                TEMPORARY RESTRAINING ORDER
          23
                     v.
          24
                 DONALD J. TRUMP, in his official capacity
          25     as President of the United States, et al.,

          26              Defendants.
          27

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           1                                             INTRODUCTION

           2           In the first three months of his second term, President Donald J. Trump has engaged in an

           3    unprecedented campaign to radically restructure and dismantle the federal government, in disregard

           4    of constitutional limits on executive power. The President calls this “large scale structural reform”

           5    the “Manhattan Project of our time.”1 As part of this plan, the President issued Executive Order

           6    14210, which exceeds his lawful authority by directing the restructuring of entire agencies, the

           7    elimination of programs and functions, and the drastic reduction of the number of employees within

           8    every agency, all without any Congressional authorization.2 This TRO motion seeks to preserve the

           9    status quo by enjoining the currently ongoing implementation of that Executive Order.

          10           President Trump has neither constitutional authority nor Congressional authorization to

          11    effectuate a government-wide reorganization and direct massive federal employee layoffs in service

          12    of that reorganization, either across or within agencies, and any attempt to implement such radical

          13

          14       1
                      Statement by President-elect Donald J. Trump announcing Department of Government
                Efficiency, The American Presidency Project (Nov. 12, 2024), available at:
          15    https://www.presidency.ucsb.edu/documents/statement-president-elect-donald-j-trump-announcing-
                that-elon-musk-and-vivek-ramaswamy. See also:
          16
                            • “It is the policy of my Administration … to commence the deconstruction of the
          17            overbearing and burdensome administrative state.” Exec. Order No. 14219, 90 Fed. Reg.
                        10583 (Feb. 19, 2025) (Ensuring Lawful Governance and Implementing the President’s
          18            “Department of Government Efficiency” Deregulatory Initiative);
          19              • “It is the policy of my Administration to dramatically reduce the size of the
                       Federal Government, while increasing its accountability to the American people.” Exec.
          20           Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025) (Commencing the Reduction of the
                       Federal Bureaucracy); and
          21
                          • “I got elected on the basis of making our government stronger and smaller,
          22           because we have millions of people that — obviously, they’re paying millions of people
                       that shouldn’t be paid.” Remarks by President after Executive Order Signing, The White
          23           House (Feb. 18, 2025).
          24
                   2
                      Other actions taken as part of this “policy” of radical transformation of the government have
                included an attempt to halt all spending, the elimination of entire agencies, termination of
          25    government property leases and sale of government property, as well as cancellation of government
                contracts and grants. The Executive Order enlisting the Office of Management and Budget to halt
          26    federal spending has been enjoined as unlawful by two courts. New York v. Trump, 133 F.4th 51, 70
                (1st Cir. 2025); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, -- F.Supp.3d --, 2025 WL
          27    597959, at *7 (D.D.C. Feb. 25, 2025). Efforts to dismantle certain specific agencies have also been
                enjoined. E.g., NTEU v. Vought, D.C. Cir. Case No. 25-5091 (Apr. 28, 2025) (reversing partial stay
          28    of preliminary injunction against further RIFs and terminations of CFPB employees so that court can
                “carefully consider the separation-of-powers and other arguments raised by the parties”).
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           1    restructuring is entirely ultra vires. “The President’s power, if any, to issue [an] order must stem

           2    either from an act of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v.

           3    Sawyer, 343 U.S. 579, 585 (1952). Since the founding of this nation, federal courts have recognized

           4    that the Constitution gives the legislative power to create, regulate, and restructure federal agencies to

           5    Congress—not to the President: “To Congress under its legislative power is given the establishment

           6    of offices … [and] the determination of their functions and jurisdiction.” Myers v. United States, 272

           7    U.S. 52, 129 (1926); Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., OSHA, 595 U.S. 109, 117 (2022)

           8    (federal agencies are “creatures of statute”).

           9           While Congress may choose at times to delegate to the President some of its statutory power

          10    with respect to agencies, it has not done so here. The President exceeds his constitutional authority

          11    when he unilaterally assumes and exercises the authority to recreate federal agencies in the manner he

          12    sees fit, without that legislative authorization. Youngstown, 343 U.S. at 587 (“In the framework of

          13    our Constitution, the President’s power to see that the laws are faithfully executed refutes the idea

          14    that he is to be a lawmaker. … And the Constitution is neither silent nor equivocal about who shall

          15    make laws which the President is to execute.”). And when the President does so across every federal

          16    agency, he threatens the nation’s constitutional foundations: “There can be no liberty where the

          17    legislative and executive powers are united in the same person.” Bowsher v. Synar, 478 U.S. 714,

          18    721-22 (1986) (quoting James Madison in The Federalist No. 47, p. 325 (J. Cooke ed. 1961)).3 Thus,

          19    for at least 100 years, when Presidents have sought to restructure the government by reorganizing

          20    both between and within federal agencies, they have universally obtained Congressional

          21    authorization to do so. See Cong. Rsch. Serv., RL31446, Reorganizing the Executive Branch in the

          22    20th Century: Landmark Commissions (2002); Heritage Foundation Legal Mem. No. 210, infra n.3.

          23

          24       3
                     See also Paul J. Larkin, Jr. & John-Michael Seibler, The President’s Reorganization Authority,
          25    Heritage Foundation Legal Memorandum No. 210, at 1, 3 (July 12, 2017) (“The President may
                create, reorganize, or abolish an office that he established, but he cannot fundamentally reorganize
          26    the executive branch in direct violation of an act of Congress. … [T]he President does not have
                constitutional authority to reorganize the executive branch on his own.” (emphasis added)); accord
          27    John W. York & Rachel Greszler, A Model for Executive Reorganization, Heritage Foundation Legal
                Memorandum No. 4782, at 1-2 (Nov. 3, 2017) (recognizing that “[s]ince [INS v.] Chadha, [462 U.S.
          28    919 (1983)], sweeping reorganization of the federal bureaucracy requires the active participation of
                Congress.”), both available at: www.heritage.org.
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           1            Despite these limits on Presidential authority, Executive Order No. 14210 was issued on

           2    February 11, 2025, to “commence a critical transformation of the Federal bureaucracy.” Exec.

           3    Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025) (Implementing the President’s “Department of

           4    Government Efficiency” Workforce Optimization Initiative, hereinafter “Workforce Executive Order”

           5    (emphasis added), attached as App. A. It directs all federal agencies to “eliminat[e] waste, bloat, and

           6    insularity” by immediately engaging in “large-scale reductions-in-force (RIFs)” in furtherance of

           7    government “reorganization.” Id. While superficially ordering agencies to act “consistent with

           8    applicable law,” id., the President orders agencies to immediately take actions that the President has

           9    no authority to direct—and which are necessarily inconsistent with the obligation of federal agencies

          10    faithfully to adhere to their authorizing statutes and appropriations, and to engage in considered and

          11    rational decision-making consistent with those statutes and the needs of the agencies. This Executive

          12    Order is plainly ultra vires.

          13            Further, the President has enlisted three agencies, the Office of Management and Budget

          14    (“OMB”), Office of Personnel Management (“OPM”), and newly created Department of Government

          15    Efficiency (“DOGE”), to implement this unlawful Executive Order. OMB, OPM, and DOGE have

          16    assumed decision-making power with respect to the Order’s implementation. OMB and OPM swiftly

          17    required all federal agencies to submit “Agency RIF and Reorganization Plans” (“ARRPs”) designed

          18    to implement the Executive Order for OMB and OPM approval by two deadlines: March 13 and

          19    April 14, 2025. See Feb. 26, 2025 OMB and OPM Memorandum (attached hereto as App. B).

          20    Cabinet-level departments and other federal agencies were thus given mere weeks to address how to

          21    enact the President’s “large-scale” RIFs (including, per the Executive Order, cutting any programs or

          22    functions “my Administration” decides to eliminate) and to propose a reorganization of whatever

          23    agency functions remain (including “[w]hether the agency or any of its subcomponents should be

          24    eliminated or consolidated”). Id. at 4 (implementing App. A, Sec. 3(c) and (e)) (emphasis added).

          25            By conditioning ARRPs on OMB and OPM approval, OMB and OPM have usurped the

          26    agencies’ ultimate decision-making power. DOGE, for its part, is imposing and enforcing directives
          27    for agencies to cut spending on staff and programs and eliminate offices deemed contrary to the

          28    President’s policy vision. OMB, OPM, and DOGE have taken these actions largely in secret,

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           1    refusing to reveal the ARRPs to employees, their labor representatives, the public, or Congress.

           2    OMB, OPM, and DOGE’s actions are in excess of any authority, arbitrary and capricious, and flaunt

           3    rule-making requirements, and violate the Administrative Procedure Act (“APA”), 5 U.S.C.

           4    §706(2)(A), (C), (D). Plaintiffs seek to enjoin OMB, OPM, and DOGE from further unlawful action.

           5           What information has become public makes clear that implementation of those ARRPs,

           6    including through large-scale RIFs and reorganizations ordered by the President and approved by

           7    OMB and OPM, and with cuts directed by DOGE, is now ongoing or imminent across the federal

           8    government. The evidence collected by Plaintiffs eliminates any doubt that the agencies are acting

           9    according to the President’s unlawful directive as executed by OMB, OPM, and DOGE, not based on

          10    their own independent analysis or reasoned decision-making with respect to their myriad and

          11    complex statutory obligations and agency functions.

          12           The radical restructuring of agencies and the attendant harms are addressed below, agency-by-

          13    agency. Just by way of example, on March 27, 2025, the Department of Health and Human Services

          14    (“HHS”) announced a “transformation” of the department that includes a “reduction in workforce of

          15    about 10,000 full-time employees” (with more to come), across agencies performing important

          16    medical, public health, and scientific work (the Center for Disease Control (“CDC”); the Food and

          17    Drug Administration (“FDA”); National Institutes of Health (“NIH”); Community Health Service

          18    (“CHS”)).4 As HHS explained, “The restructuring of HHS is proceeding in accordance with

          19    President Trump’s Executive Order… .”5 Secretary Kennedy further admitted that the restructuring

          20    was directed not only by the President’s Executive Order but also by DOGE, and did not take into

          21    account the proper function and requirements of the agency:

          22           “Personnel that should not have been cut, were cut,” Kennedy told reporters on
                       Thursday. “We’re reinstating them. And that was always the plan. Part of the Doge,
          23           we talked about this from the beginning, is we’re going to do 80% cuts, but 20% of
          24

          25
                   4
                      Press Release, U.S. Dep’t of Health & Hum. Servs., HHS announces transformation to make
          26    America healthy again (Mar. 27, 2025). The Department’s chosen url says it all:
                https://www.hhs.gov/press-room/hhs-restructuring-doge.html (emphasis added).
          27        5
                      U.S. Dep’t of Health & Hum. Servs., Fact Sheet: HHS’ transformation to make America healthy
          28    again (Mar. 27, 2025) (emphasis added), available at: https://www.hhs.gov/press-room/hhs-
                restructuring-doge-fact-sheet.html.
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           1           those are going to have to be reinstated, because we’ll make mistakes.”6

           2    As Secretary Kennedy further revealed, these Administration-ordered cuts terminated, among other
           3    functions, the entire office at the CDC that monitors lead exposure in children (the Lead Poisoning
           4    Prevention and Surveillance Branch).7
           5           Other Departments and agencies are marching in line to implement the President’s
           6    unconstitutional orders: The Small Business Administration (“SBA”) announced that pursuant to the
           7    Executive Order it “will reduce its workforce by 43 including by “eliminating non-essential roles.”8
           8    The Department of Veterans Affairs (“VA”) revealed in an internal memorandum that it would
           9    implement the President’s Executive Order by returning to 2019 staffing levels and cutting 80,000
          10    jobs.9 When asked about this, VA Secretary Doug Collins confirmed he too was following orders:
          11           “So, the 80,000 number that has come out, is that number already done? Have you
                       already decided who to let go?” Fox’s Brian Kilmeade questioned.
          12
                        “No, that is a goal that was put out … [as] President Trump and [the Office of
          13           Personnel Management] have said let’s look at a reduction in force across
                       government,” Collins replied. “And that is a goal, that is our target.” (Id.)
          14
                Plaintiffs set forth below, and extensively catalogued (Compl. ¶¶189-261) the currently available
          15
                information regarding implementation of these ARRPs. These agency actions pursuant to this
          16
                Executive Order are also arbitrary and capricious in violation of the APA, 5 U.S.C. §706(2)(A),(C).
          17
                       The size and scale of the destruction and harm caused by the Workforce Executive Order
          18
                cannot be overstated. The ill-considered actions at HHS alone have disrupted tens of thousands of
          19
                lives and irreplaceable scientific research, and threatened the health, safety, and well-being of
          20
                Plaintiffs and their members and the communities they serve. The estimates of federal employees
          21
                actually or imminently affected by this Executive Order, by losing their jobs and their benefits, are in
          22

          23

          24
                   6
                      The Guardian, RFK Jr says 20% of Doge’s health agency job cuts were mistakes (April 4, 2025)
                (emphasis added), available at: https://www.theguardian.com/us-news/2025/apr/04/rfk-jr-doge-cuts.
                    7
          25          CBS News, RFK Jr. says 20% of health agency layoffs could be mistakes (April 3, 2025),
                available at: https://www.cbsnews.com/amp/news/rfk-jr-hhs-job-cuts-doge-mistakes/.
          26        8
                      U.S. Small Business Administration, Small Business Administration announces agency-wide
                reorganization, available at: https://www.sba.gov/article/2025/03/21/small-business-administration-
          27    announces-agency-wide-reorganization.
          28
                    9
                      The Hill, VA secretary: Cutting 80,000 jobs ‘is our target’ (Mar. 10, 2025), available at:
                https://thehill.com/homenews/state-watch/5186097-va-seek-cuts-80000-jobs/
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           1    the hundreds of thousands. The federal labor unions are being decimated by these efforts to gut the

           2    civil service. And local governments, unions representing state and local government employees, and

           3    nonprofits—all of whom depend on the services of federal agencies—are facing overwhelming

           4    harms, as detailed in the more than 50 declarations submitted along with this Motion. All factors

           5    weigh heavily in favor of injunctive relief.

           6            Plaintiffs have sued and move for relief now because sufficient information has finally been

           7    made public to discern some of the significant actions and impact of the President’s Order,

           8    notwithstanding the efforts to keep these plans from the public eye. While this Executive Order

           9    applies to hundreds of agencies, Plaintiffs’ TRO focuses on the government dismantlement that is

          10    already or poised to be underway, at the agencies engaged in ongoing and imminent plans to

          11    implement the Executive Order by engaging in large-scale RIFs and reorganizations.10

          12            To maintain the status quo pending consideration of a preliminary injunction, Plaintiffs seek a

          13    TRO ordering an immediate halt to the following: (1) any further “approval” of ARRPs by OMB and

          14    OPM; (2) any further orders by DOGE to agencies to cut programs or staff in conjunction with

          15    implementing the Executive Order, the OMB/OPM Memorandum, or the ARRPs; (3) any further

          16    implementation of the Executive Order, the OMB/OPM Memorandum, or ARRPs by Federal Agency

          17    Defendants, including but not limited to execution of any existing RIF notices, issuance of any

          18    further RIF notices, and placement of employees on administrative leave; and (4) any further transfer

          19    of functions of any component of the Federal Agency Defendants between agencies. In furtherance

          20    of this Court’s ability to consider and resolve the challenge to these illegal actions, Plaintiffs also ask

          21    this Court to shine a light on these plans by requiring Defendants to reveal their ARRPs.

          22            Plaintiffs have served counsel for the United States, and ask that this Court set this motion for

          23    hearing as soon as possible next week, with Defendants’ response due Tuesday, May 6 (for which

          24    Plaintiffs attempted to reach agreement, but Defendants opposed this schedule), followed by full

          25    consideration of Plaintiffs’ request for a preliminary injunction as soon as possible thereafter.

          26                                                BACKGROUND
          27
                   10
          28          These include: AmeriCorps; USDA; Commerce; Energy; EPA; GSA; HHS; HUD; Interior;
                Labor; NLRB; NSF; SBA; SSA; State; Treasury; and the VA.
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           1    I.        Congressional Authorization Before Government Reorganization

           2              A.     History of Presidential Reorganization

           3              Congress first delegated to the President the authority to reorganize federal agencies in 1932.

           4    Economy Act of 1932, Pub. L. 72-212, tit. VI, §§401-08, 47 Stat. 413. From 1932 through 1984,

           5    Congress “amended, extended, narrowed, or reactivated” this government reorganization authority 16

           6    times to grant Presidents limited authority to develop plans to reorganize the executive branch. S.

           7    REP. 115-381 (2018); see also Henry B. Hogue, Cong. Rsch. Serv., R44909, Executive Branch

           8    Reorganization at 6 (2017). The most recent authority (the Reorganization Act Amendments of

           9    1984) expired on December 31, 1984. Pub. L. No. 98-614, 98 Stat. 3192; see 5 U.S.C. §905(b).11

          10              Presidents have used such statutory authorities to accomplish reorganizations of government,

          11    large and small, with Congressional approval. See Cong. Rsch. Serv., R44909, at *6 (reorganizations

          12    have included “relatively minor reorganizations within individual agencies” and “the creation of large

          13    new organizations” – such as the predecessor to HHS in 1953, EPA in 1970, and FEMA in 1979).

          14    Congress has also rejected various presidential reorganization plans—for example, proposals to

          15    eliminate the Department of Education, see, e.g., H.R. 714, 98th Cong. (1983); H.R. 1510, 115th

          16    Cong. (2017), to merge the Department of Labor, Department of Commerce, and SBA, see, e.g., S.

          17    1116, 112th Cong. (2011), and to consolidate agencies into a new Food Safety Administration, see

          18    H.R. 609, 114th Cong. (2015), among others. Congress has also denied requests for reorganization

          19    authority, as with Presidents Reagan in 1981, Bush in 2003, and Obama in 2012. See Cong. Rsch.

          20    Serv., R42852, at 29, 32-34; S. 2129, 112th Cong. (2012); H.R. 4409, 112th Cong. (2012). At other

          21    times, Congress has reorganized the government through the regular legislative process. See, e.g.,

          22    Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135. Congress has also sometimes

          23    delegated to the President limited reorganization authority with respect to specific agencies. See, e.g.,

          24    Pub. L. 105-277, div. G, subdiv. A, §1601, 112 Stat. 2681-795 (1998) (authorizing reorganization of

          25

          26
                     11
                       The 1984 amendments “altered the method by which a plan could take effect,” replacing prior
                procedures involving a one-house legislative veto with a requirement of a joint resolution of
          27    Congress approved by the President. This change responded to INS v. Chadha, 462 U.S. 919 (1983),
                which invalidated on separation of powers grounds a one-house legislative veto provision in another
          28    statute. Henry B. Hogue, Cong. Rsch. Serv., R42852, Presidential Reorganization Authority:
                History, Recent Initiatives, and Options for Congress 30-31 (2012).
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           1    USAID). Such laws typically set expiration dates for the delegated authority. E.g., id. §6601(e)

           2    (prohibiting presidential reorganization of USAID after 1998).

           3            President Trump has been given no such authorization by Congress.

           4            B.     Last Operative Authorization of “Reorganization” Authority

           5            The reorganization authority that expired in 1984 remains codified at 5 U.S.C. §§901-912 and

           6    is instructive: Congress defined “reorganization” as including changes to the structure of federal

           7    agencies both between and within agencies, including “the abolition of all or a part of the functions of

           8    an agency, except that no enforcement function or statutory program shall be abolished by the plan,”

           9    and “the consolidation or coordination of part of an agency or the functions thereof with another part

          10    of the same agency or the functions thereof.” Id. §903(a). Congress authorized the President to

          11    reorganize agencies only for purposes determined by Congress. Id. §901. And Congress required the

          12    President to explain how any changes would comport with the agencies’ statutory requirements and

          13    funding levels, to facilitate Congress’s consideration of the President’s changes. Id. §903(b).12

          14            C.     President Trump’s Unsuccessful First-Term Reorganization

          15            President Trump sought to reorganize the government during his first term and was never

          16    authorized by Congress to do so. First, on March 17, 2017, President Trump issued Executive Order

          17    13781, which required OMB “to propose a plan to reorganize governmental functions and eliminate

          18    unnecessary agencies …, components of agencies, and agency programs.” Exec. Order No. 13781,

          19    82 Fed. Reg. 13959 (2017).13 On June 21, 2018, the Administration released Delivering Government

          20    Solutions in the 21st Century, which listed over 30 government-wide reorganization proposals and

          21

          22
                   12
          23          Congress required a detailed explanation:
                       In his message transmitting a reorganization plan, the President shall specify with
          24           respect to each abolition of a function included in the plan the statutory authority for
                       the exercise of the function. The message shall also estimate any reduction or increase
          25           in expenditures (itemized so far as practicable), and describe any improvements in
                       management, delivery of Federal services, execution of the laws, and increases in
          26           efficiency of Government operations, which it is expected will be realized as a result
                       of the reorganizations included in the plan.
          27    5 U.S.C. §903(b) (also requiring detailed implementation plan).
                   13
          28          Notably, in that plan the President required and OMB implemented a notice and public
                comment process. Apr. 12, 2017 OMB Memorandum M-17-22, at 2.
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           1    conceded those “significant changes will require legislative action.” Id. at 4;14 see also id. at 21

           2    (emphasizing need for “support of the Congress”); id. at 6 (“OMB would begin a “dialogue with

           3    Congress to prioritize and refine proposals”); id. at 55 (plan “would necessarily require a partnership

           4    with the Congress, including the granting of statutory authorities as necessary.”).

           5               Members of the House and Senate introduced bills in 2018 to give President Trump the

           6    reorganization authority needed for his plan, under 5 U.S.C. chapter 9, but neither bill passed. H.R.

           7    6787, 115th Congress (2017-2018); S. 3137, 115th Congress (2018). Congress also considered the

           8    Trump administration’s first-term reorganization proposals by convening numerous hearings before

           9    and after OMB publicly released the 2018 Plan. ECF 1 ¶135 (listing hearings); Cong. Rsch. Serv.,

          10    Trump Administration Reform and Reorganization Plan: Discussion of 35 “Government-Wide”

          11    Proposals, at 1 (July 25, 2018). Congress chose not to engage in any large-scale reorganization.15

          12    II.        Defendants Are Reorganizing the Government Without Congressional Authorization

          13               A.     President Trump Has Ordered a Massive “Transformation” of Agencies

          14               President Trump has been unequivocal about his intent to radically transform the size and

          15    organization of the government via “large scale structural reform.” Supra n.1. To carry out his

          16    reorganization agenda (an “18-month DOGE agenda,” never made public), he created DOGE and

          17    embedded “DOGE Teams” in every federal agency. Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan.

          18    20, 2025). And he ordered OMB, OPM, and DOGE to create “a plan to reduce the size of the Federal

          19    Government’s workforce.” The White House, Presidential Actions: Hiring Freeze (Jan. 20, 2025).16

          20
                      14
                       Available at: https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-
          21    and-Reorg-Plan.pdf
                    15
                       See, e.g., Gov’t Exec., Omnibus puts kibosh on White House efforts to unilaterally reorganize
          22    agencies, shed workers (Mar. 22, 2018), available at:
                https://www.govexec.com/management/2018/03/omnibus-puts-kibosh-white-house-efforts-
          23    unilaterally-reorganize-agencies-shed-workers/146894/; Gov’t Exec., Congress begins formally
                blocking Trump’s government reorganization plan (Sep. 12, 2018), available at:
          24    https://www.govexec.com/management/2018/09/congress-begins-formally-blocking-trumps-
                government-reorganization-plan/151218/.
          25        16
                       The President separately dismantled several government agencies, either eliminating their
          26    functions or transferring and subsuming them within other agencies. Exec. Order No. 14242, 90 Fed.
                Reg. 13679 (Mar. 20, 2025) (Education); Exec. Order No. 14238, 90 Fed. Reg 13043 (Mar. 14, 2025)
          27    (seven agencies); Exec. Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025) (four agencies); see
                also Exec. Order No. 14169, 90 Fed. Reg. 8619 (Foreign Aid); Press Release, U.S. Dep’t of State,
          28    Prioritizing America’s national interests one dollar at a time (Jan. 29, 2025) (USAID); NTEU v.
                Vought, -- F.Supp.3d --, 2025 WL 942772 (D.D.C. Mar. 28, 2025) (CFPB).
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           1            On February 11, 2025, President Trump issued the Workforce Executive Order, commencing

           2    his “transformation” of the government without waiting for Congressional authorization. See App.

           3    A. The Order applies to almost all federal agencies, including 15 cabinet-level departments and

           4    hundreds of lower agencies and commissions. Id. §2(a) (excluding only Executive Office of the

           5    President). It requires hundreds of agencies to reorganize themselves through “large-scale” RIFs. Id.

           6    §§3(c), (e). In those RIFs, agencies must “prioritize[]” “agency initiatives, components, or operations

           7    that my Administration suspends or closes,” and, remarkably, “all components and employees

           8    performing functions not mandated by statute or other law who are not typically designated as

           9    essential during a lapse in appropriations as provided in the Agency Contingency Plans on the Office

          10    of Management and Budget website.” Id.17 The President also required agencies, within 30 days, to

          11    submit reorganization plans reflecting these required RIFs, and to assess their own eradication:

          12    “whether the agency or any of its subcomponents should be eliminated or consolidated.” Id. §3(e).

          13    The Order excluded from the RIF requirements only “functions related to public safety, immigration

          14    enforcement, or law enforcement,” and authorized OPM to grant agencies exemptions from the

          15    Order’s requirements as “necessary [to] assist in promoting workforce reduction.” Id. §§3, 4(c).

          16            B.     OMB, OPM, and DOGE Are Executing the President’s Reorganization Orders

          17            On February 26, 2025, OMB and OPM issued a Memorandum to all federal agencies

          18    directing compliance with the President’s Workforce Order. App. B. OMB and OPM combined the

          19    various requirements of the Executive Order into one “Agency RIF and Reorganization Plan,” due

          20    initially in two weeks. Id. at 3. They assumed decision-making “approval” for the content of these

          21    ARRPs. Id. at 3, 4 (“Each agency will submit a Phase 1 ARRPs to OMB and OPM for review and

          22    approval no later than March 13, 2025.”; “Agencies should then submit a Phase 2 ARRP to OMB

          23    and OPM for review and approval no later than April 14, 2025.”) (emphasis in original).

          24

          25       17
                       The referenced Contingency Plans, known as “Lapse Plans,” set forth the minimal staffing
          26    needed when agencies are not appropriated at all (to protect, for example, against the destruction of
                property or loss of life). Agencies by law cannot perform their normal Congressional-intended
          27    functions during such circumstances: “The Antideficiency Act restricts the conduct of business by
                agencies during a lapse of appropriations.” Dep’t of Commerce, Plan for Orderly Shutdown Due to
          28    Lapse of Congressional Appropriations (September 27, 2023), available at:
                https://www.commerce.gov/sites/default/files/2023-09/DOC-Lapse-Plan-2023.pdf.
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           1            OMB and OPM then provided extensive direction to agencies regarding the mandatory

           2    content of these ARRPs, consistent with and amplifying the President’s Executive Order. Id. at 3, 4

           3    (“Phase 1 ARRPs shall focus on initial agency cuts and reductions. … Phase 2 plans shall outline a

           4    positive vision for more productive, efficient agency operations going forward.”). The Memorandum

           5    instructed that “[p]ursuant to the President’s direction, agencies should focus on the maximum

           6    elimination of functions that are not statutorily mandated.” Id. at 2; see also id. at 1-2 (“Principles to

           7    Inform ARRPs” that included “significant reduction in the number of full-time equivalent (FTE)

           8    positions by eliminating positions that are not required”). OMB and OPM also ordered that agency

           9    heads must “collaborate with their … DOGE … team leads within the agency” in developing RIFs.

          10    Id. They further clarified that the agencies and their DOGE leads should not just use Lapse Plan

          11    levels as a “starting point” for RIFs, but (without explanation) 2019 Lapse Plan levels. Id.

          12            OMB has subsequently confirmed in court pleadings that it has final decision-making

          13    authority with respect to the ARRPs, withholding them as “pre-decisional” pending OMB review.

          14    Democracy Forward Found. v. Off. of Mgmt. & Budget, No. 1:25-cv-00858 (D.D.C.), ECF No. 9

          15    (Defendants’ Apr. 2, 2025 Motion to Dismiss: “[A]gency reduction-in-force plans are still under

          16    development by the Executive Branch[,] and OMB is currently actively reviewing these plans”).

          17            DOGE is also implementing the Workforce Executive Order, by giving agencies mandatory

          18    reduction targets for the ARRPs, including cuts to specific programs and functions, as publicly

          19    confirmed by at least HHS Secretary Kennedy and VA Secretary Rollins (supra, at 4-5).18

          20            C.     The Trump Administration is Hiding its Reorganization Plans from the Public

          21            The Trump Administration has refused requests from the press, employees, their labor

          22    representatives and the public for the ARRPs. See Democracy Forward Foundation v. OMB, No.

          23

          24       18
                       Courts have recognized that DOGE is imposing mandates on federal agencies. See AFSCME v.
          25    Soc. Sec. Admin., 2025 WL 868953, at *68 (D. Md. Mar. 20, 2025); AFL-CIO v. Dep't of Lab., 2025
                WL 1129227, at *45 (D.D.C. Apr. 16, 2025) (allegations that “USDS has been directing operations
          26    and personnel decisions at Congressionally-created agencies that Congress has imbued with the
                authority to exercise specific responsibilities.”). See also Anna Bower, On DOGE, Directives, and
          27    DOJ, Lawfare (Apr. 27, 2025) (“Recent litigation is also increasingly producing documentary
                evidence proving that DOGE has taken control of some agency functions, such as terminating
          28    contracts, despite the government’s representations that DOGE merely ‘consults.’”), available at:
                https://www.lawfaremedia.org/article/on-doge--directives--and-doj.
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           1    1:25-cv-00858 (D.D.C.), ECF 9-1 ¶23 (denying FOIA request for ARRPs).19 Recent reports indicate

           2    that individuals involved in discussions of the ARRPs at the VA had to sign Non-Disclosure

           3    Agreements (“NDAs”).20 The White House has stated that the plans will be revealed only “once …

           4    enacted.”21

           5    III.        Restructuring and RIFs at Agencies Are Causing Widespread Irreparable Harm

           6                The ARRPs were due to OMB/OPM on April 14, 2025. App. B. Some agencies’ ARRPs

           7    (such as NLRB and NSF, which proposed few or no RIFs) were rejected by OMB and required to be

           8    resubmitted. Chisholm Decl. Ex. 1; Soriano Decl. ¶¶8-11 (AFGE). Although ARRPs are not public,

           9    agency statements and employee RIF notices show that other agencies have begun implementation.

          10                RIFs: As of today (May 1, 2025), the agencies known to have begun RIFs include at least:

          11    AmeriCorps, EPA, GSA, HHS, HUD, Labor, and SBA. The agencies for which Plaintiffs have

          12    collected evidence of imminent RIFs include: Agriculture, Commerce, Energy, Interior, NLRB,

          13    NSF, SSA, State, Treasury, and VA. Breaking news reveals more agency RIFs every day.22

          14                Programs/offices: Nearly agencies or programs are being eliminated through these ARRPs an

          15    RIFs. At least one agency Congress created to provide important public services nationwide—

          16    AmeriCorps—has been decimated, with 85% of staff given RIF notices and immediately put on

          17    leave, all to “comply[]” with the Executive Order. Daly Decl. ¶25 & Ex. A (AFSCME). Other

          18    known ongoing or imminent RIFs impacting entire programs and offices include: Labor—OFCCP,

          19
                       19
          20           Bachelder Decl. ¶¶12-13; Bailey Decl. ¶¶14-15, 17; Bobbitt Decl. ¶¶19-23; Couture Decl.
                ¶¶10-11; Daly Decl. ¶21; Gamble Decl. ¶¶7, 9-10; Gustafsson Decl. ¶7; Howell Decl. ¶¶9-11; Hunter
          21    Decl. ¶11; Jacobs Decl. ¶¶15, 17; Kelley Decl. ¶¶12-14; Levin Decl. ¶¶17, 19-20; Niemeier-Walsh
                Decl. ¶¶16-17; Soldner Decl. ¶12.
          22        20
                       E.g., Gov’t Exec., VA forces staff in workforce reduction discussions to sign non-disclosure
                agreements (Apr. 24, 2025) (“Senior leaders are contemplating which jobs to keep and which to slash
          23    in meetings, but telling staff they cannot discuss those topics.”),available at:
                https://www.govexec.com/workforce/2025/04/va-forces-staff-workforce-reduction-discussions-sign-
          24    non-disclosure-agreements/404808/.
                    21
                       Wash. Post, White House expects ‘mass reduction’ of federal workforce as deadline looms
          25    (Mar. 13, 2025), available at: https://www.washingtonpost.com/politics/2025/03/13/government-
                agency-reorganization-rif-federal-workers/; see also Wash. Post, Internal White House document
          26    details layoff plans across U.S. agencies (Mar. 27, 2025).
          27
                    22
                       For example, after Plaintiffs’ complaint was filed on April 28, 2025, the press reported that
                DOGE is imposing cuts on the Peace Corps, which is not a named defendant. See N.Y. Times, Peace
          28    Corps, under review by DOGE, is said to plan ‘significant’ staff cuts
                https://www.nytimes.com/2025/04/28/us/politics/peace-corps-cuts-doge.html.
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           1    Neuman Decl. ¶29 & Ex. F (SEIU) (cutting 90% of AFSCME-represented staff); EPA—OEJ and

           2    External Civil Rights, and ORD, Dreyfus Decl. ¶13 (AFGE); Howell Decl. ¶¶16-18 (AFGE); HHS—

           3    NIOSH, Niemeier-Walsh Decl. ¶21 (AFGE) (cutting 93% of staff), including its Coal Workers’

           4    Health Surveillance Program, National Firefighter Registry for Cancer, and Health Hazard Evaluation

           5    Program, id. ¶¶24-29; Benjamin Decl. ¶25 (APHA); Substance Abuse and Mental Health Services

           6    Administration, Prendiville Decl. (SEIU Local 1021) ¶¶12-14; National Center for Injury Prevention

           7    and Control, Benjamin Decl. ¶¶16, 18 (APHA); Low-Income Home Energy Assistance Program, id.

           8    ¶23; HUD—OFPM, Bobbitt Decl. ¶13 (terminating nearly all positions).

           9            Intra-agency transfers: Agencies already reduced due to the illegal reorganization are

          10    simultaneously having the functions of other agencies transferred to them. In particular, the

          11    functions of the Department of Education (targeted for elimination by a different Executive Order so

          12    not a defendant here) are to be moved to agencies including the SBA. Infra. at 24. USAID (also a

          13    different Executive Order) is being merged into the State Department. Infra at 26.

          14            These actions have caused and continue to cause Plaintiffs irreparable harm, including:

          15            Harm to Unions and Others Representing Federal Employees. Plaintiffs AFGE, AFSCME,

          16    SEIU, and their locals are labor unions representing federal employees at agencies subject to the

          17    President and OMB, OPM, and DOGE’s orders, and are implementing ARRPs. See App C.23 These

          18    Plaintiffs’ hundreds of thousands of federal employee members are directly impacted by Defendants’

          19    unlawful acts. Employees subject to RIFs by each Federal Agency Defendant will imminently lose

          20    compensation, health benefits, and important work and careers as dedicated public servants; those

          21    who remain will face “worse and harmful” working conditions. Daly Decl. ¶30 (AFSCME).24

          22
                   23
          23          Appendix C to this Motion is a chart identifying the agencies for which each Plaintiff asserts
                harm. The chart identifies the agencies at which each of these unions represents federal employees.
          24       24
                      AmeriCorps: Blake ¶¶38-39 (AFSCME); Daly Decl. ¶¶30, 32, 36 (AFSCME); USDA: Blake
                ¶¶25-37 (AFSCME); Bachelder Decl. ¶17 (AFSCME); Kelley Decl. ¶3 (AFGE); Soldner Decl. ¶26
          25    (AFGE); Commerce: Kelley Decl. ¶3 (AFGE); Energy: id. ¶3; EPA: id. ¶3; Dreyfus Decl. ¶15
                (AFGE); Neuman Decl. ¶8 (SEIU); GSA: Kelley Decl. ¶3 (AFGE); Fabris Decl. ¶33 (AFGE); HHS:
          26    Kelley Decl. ¶3 (AFGE); Niemeier-Walsh Decl. ¶32 (AFGE); Neuman Decl. ¶8 (SEIU); HUD:
                Kelley Decl. ¶3 (AFGE); Bobbitt Decl. ¶37 (AFGE); Interior: Kelley Decl. ¶3 (AFGE); Cochran
          27    Decl. ¶¶19-21 (AFGE); Neuman Decl. ¶8 (SEIU); Labor: Kelley Decl. ¶3 (AFGE); Gamble Decl.
                ¶15 (AFGE); SBA: Kelley Decl. ¶3 (AFGE); Gustafsson Decl. ¶16 (AFGE); SSA: Kelley Decl. ¶3
          28    (AFGE); Wilson Decl. ¶¶6-9 (AFGE); Couture Decl. ¶4 (AFGE); State: Kelley Decl. ¶3 (AFGE);

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           1    Plaintiff AGU’s members likewise include thousands of federal employee scientists.25 See also Shah

           2    Decl. ¶11 (Common Defense; mass terminations disproportionately affect veteran members).26

           3              Harm to Other Unions and Their Members, Non-Profit Organizations, and Local

           4    Governments. Plaintiffs summarize some of the harms they and their members will face from cuts to

           5    agencies on which they and their members rely, arranged by Federal Agency Defendant:

           6    1.        AmeriCorps

           7              As explained above, in April, AmeriCorps sent RIF notices and placed immediately on leave

           8    approximately 90% of its staff, locking them out of their computer systems. Daly Decl. ¶¶14, 20-22

           9    & Ex. A (AFSCME). As the New York Times reported, the agency “has placed on administrative

          10    leave almost all of its federal staff at the direction of Elon Musk’s cost-cutting team, according to

          11    people familiar with developments at the agency.”27

          12              These severe staffing cuts left the gutted agency “unable to complete the day-to-day work

          13    required to keep the Agency running.” Id. ¶¶18, 26, 36. As a result, educational funds to former

          14    AmeriCorps participants are endangered, grantees will be left without assistance, and grants will not

          15    be timely processed or renewed. Id. ¶¶26, 28-29, 31. Local governments and non-profits rely on

          16    AmeriCorps to provide disaster relief, public health services and training, wildfire mitigation,

          17    emergency management, and other programs, and will be left without assistance. Dively Decl. ¶¶18-

          18    20 (King County); Benjamin Decl. ¶39 (APHA).

          19    2.        Agriculture (USDA)

          20              In April, USDA Secretary Brooke Rollins warned employees that “USDA is pursuing an

          21    aggressive plan to optimize its workforce by eliminating positions that are no longer necessary,” that

          22    RIFs were imminent, and that regional offices would be eliminated/consolidated, and headquarters

          23    employees would be moved to rural communities. Soldner Decl. ¶¶13-14 & Ex. B (AFGE);

          24

          25    Hunter Decl. ¶¶36-37 (AFGE); Treasury: Kelley Decl. ¶3 (AFGE); VA: Blake Decl. ¶45 (AFSCME);
                Kelley Decl. ¶3 (AFGE); Burke Decl. ¶21 (AFGE); Bailey Decl. ¶¶20, 22 (SEIU).
                   25
          26          Shultz Decl. ¶¶5-6, 8-27 (USDA, Commerce, EPA, Energy, Interior, NSF).
          27         27
                      N.Y. Times, DOGE guts agency that organizes community service programs (April 17, 2025),
          28    available at: https://www.nytimes.com/2025/04/17/us/politics/doge-cost-americorps-community-
                service.html.
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           1    Bachelder Decl. ¶11 & Ex. A (AFSCME). “[S]ome employees have been told to expect the

           2    department to cut back to fiscal 2019 staffing levels—which would lead to USDA slashing around

           3    9,000 of its 98,000 employees—while others have been told there is an overall federal workforce

           4    reduction number the administration has developed and the department will do its part proportionally

           5    to meet that target.” Soldner Decl. Ex. B. A USDA “executive” confirmed that DOGE, not USDA,

           6    “was making the decisions on where cuts will take place.” Id.

           7           Local governments will be directly impacted. Counties that operate ports and airports or

           8    otherwise receive imports rely on USDA to screen and seize prohibited or dangerous agricultural and

           9    food products and to test animals for disease, inspect food for safety, conduct safety studies,

          10    quarantine invasive pests, and disseminate critical information. Barton Decl. ¶¶10-12 (Harris

          11    County); Williams Decl. ¶¶25-28 (Santa Clara). With reduced ability to rely on those services,

          12    counties will face risks such as the spread of food-borne disease and avian flu and other public health

          13    threats. Barton Decl. ¶¶10-11 (Harris County); Williams Decl. ¶25 (Santa Clara); Dively Decl. ¶¶15-

          14    17 (King County relies on USDA to reduce risk of bird impacts to airplanes and for food assistance).

          15           Cuts to Forest Service staff will reduce park services and oversight of livestock grazing,

          16    causing damage to habitats, the survival of sensitive species, and Plaintiffs’ members’ recreational

          17    experience. Molvar Decl. ¶¶28-33 (including on WWP-leased land); see also Williams Decl. ¶24

          18    (Forest Service reductions will shift wildfire response burden to Santa Clara firefighting agencies);

          19    Crispen Decl. ¶¶2-4 (San Francisco; same). Reductions in USDA staffing will cause many other

          20    serious harms to Plaintiffs. See Davis Decl. ¶¶9-19, 21, 23-24 (NOFA; cuts will undermine organic

          21    certification and standards, leading to unfair competition, and interfere with access to loans and other

          22    programs, financially harming member farmers); O’Brien Decl. ¶¶17-19 (AFSCME members in K-

          23    12 food service and child and adult care programs depend on effective processing of USDA funds);

          24    Shultz Decl. ¶¶21-25 (AGU member scientists rely on USDA research, data, and expertise);

          25    Bachelder Decl. ¶¶14-16, 19-20 (AFSCME) (cuts harm farmers, market participants, and public, who

          26    rely on USDA information, including in relation to the beef trade and mad cow disease); Soldner
          27    Decl. ¶¶19-21 (AFGE; cuts will compromise slaughterhouse and processing facility inspections, with

          28    “serious implications for the safety and quality of meat, poultry, and eggs that Americans consume”).

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           1    3.        Commerce

           2              In March, the press began reporting that the Department of Commerce’s National Oceanic

           3    and Atmospheric Administration (“NOAA”) was planning to cut over 1000 positions or 20% of its

           4    staff, “as part of the Trump administration’s mandate for agencies to prepare ‘reductions in force,’

           5    according to multiple sources familiar with the matter.”28 PBS also reported on the planned cuts, and

           6    that DOGE had listed “19 NOAA facilities for lease termination” including the Radar Operations

           7    Center, where the nation’s Doppler radar network, which provides real-time weather data and

           8    operates 24 hours a day, is staffed.29

           9              These cuts will be devastating to, and compromise public safety in, cities and counties that

          10    rely on NOAA’s National Weather Service for detailed and real-time weather information, data, and

          11    expertise, and on the agency’s assistance, including on-site, to support localities handling emergency

          12    weather events. Williams Decl. ¶¶29-30 (Santa Clara); Velez Decl. ¶¶6-7, 11 (Chicago) Bechelli

          13    Decl. ¶4c (San Francisco). Localities lack the capacity to make up for this loss and will be forced to

          14    rely on less-accurate private weather services, which could have “catastrophic life-safety

          15    ramifications.” Pena Decl. ¶¶7-9 (Harris County); see Velez Decl. ¶¶8, 10; Jue Decl. ¶3; Dively

          16    Decl. ¶22 (King County); Leach Decl. ¶¶20-21, 24. Plaintiff organizations’ conservation, recovery,

          17    and environmental protection efforts will also be harmed, Molvar Decl. ¶¶23-27 (WWP); Neubacher

          18    Decl. ¶13 (CPANP), as will their members’ scientific research, Shultz Decl. ¶¶5, 21-27 (AGU).

          19    4.        Energy

          20              The Department of Energy’s March 13 ARRP, which was leaked, identified 43% of its staff

          21    as “non-essential.”30 Braden Decl. ¶13 & Ex. C. U.S. Senate Democrats released a fact sheet:

          22
                     28
                       ABC News, NOAA braces for mass layoffs, fueling concerns about lifesaving weather services
          23    (March 12, 2025), available at: https://abcnews.go.com/Politics/noaa-braces-mass-layoffs-fueling-
                concerns-lifesaving-weather/story?id=119730398.
          24        29
                       PBS News, As NOAA braces for more cuts, scientists say public safety is at risk (March 14,
                2025) available at: https://www.pbs.org/newshour/nation/as-noaa-braces-for-more-cuts-scientists-
          25    say-public-safety-is-at-risk; see also PBS News, As NOAA shrinks under Trump’s cuts, employees
                speak out (April 16, 2025), available at: https://www.pbs.org/newshour/politics/fired-rehired-and-
          26    fired-again-noaa-employees-are-caught-in-a-liminal-state.
                    30
          27           Federal News Network, Energy Department extends hiring freeze, deems 43% workforce non-
                ‘essential’ in reorganization plan (Apr. 4, 2025), available at:
          28    https://federalnewsnetwork.com/workforce/2025/04/energy-department-extends-hiring-freeze-deems-
                43-workforce-non-essential-in-reorganization-plan/.
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           1           DOGE is reportedly proposing staffing cuts of up to 50% of the workforce at the
                       Department of Energy (DOE), with new reductions in force (RIFs) hitting key
           2           priorities such as clean energy, grid resilience, and state and community programs the
                       hardest while even targeting national security programs.
           3
                Id. ¶11 & Ex. A. The cuts included 54% (1,800+ positions) to science and innovation programs; 61%
           4
                (990+ positions) to energy infrastructure and deployment programs; 71% (3,000+ positions) to the
           5
                Deputy Secretary’s Office, environmental management programs, and other policy programs; 18%
           6
                (540+ positions) to the Nuclear National Security Administration (NNSA); and 10% (520+ positions)
           7
                to the Power Marketing Administrations (PMAs). Id.
           8
                       These planned cuts will undermine cities’ building and vehicle electrification goals, leading to
           9
                continued pollutant exposure in the community, and harm cities that depend on the Department’s
          10
                support for energy policy implementation. Jue Decl. ¶¶5-6 (San Francisco); Leach Decl. ¶¶32-36
          11
                (Baltimore); see also Gabel Decl. ¶¶7, 12-13 (AFSCME; cuts will harm efforts to make homes
          12
                energy efficient). They will increase the risk of large-scale power outages throughout the country.
          13
                Braden Decl. ¶¶17, 19-20 (AFGE), and harm scientists including Plaintiff organizations’ members
          14
                who rely on the Department’s research, data, and expertise. Shultz Decl. ¶¶5, 21-27 (AGU).
          15
                5.     Environmental Protection Agency (EPA)
          16
                       On April 21, 2025, EPA began sending RIF notices to employees across its headquarters and
          17
                regional offices, including the Office of Environmental Justice. Dreyfus Decl. ¶¶12-14, Exs. A-C
          18
                (AFGE). Both the President and EPA Administrator have stated that up to 65% of EPA’s workforce
          19
                could be cut, and the press reported that the Office of Research and Development, with 1,155
          20
                chemists, biologists, toxicologists and other scientists, will be dismantled. Howell Decl. ¶¶8, 17, Exs.
          21
                A, E (AFGE). The New York Times reported: “The strategy is part of large-scale layoffs, known as
          22
                a ‘reduction in force,’ being planned by the Trump administration, which is intent on shrinking the
          23
                federal work force.” Id., Ex. E (AFGE).
          24
                       These ongoing and planned cuts will render Plaintiff localities unable to depend on the
          25
                expertise and support of EPA’s scientists and engineers to remediate hazardous environmental
          26
                conditions, Ige Decl. ¶¶25-28 (Chicago); to register pesticides and approve off-label uses for new
          27
                invasive species, to protect farmers’ crops, Williams Decl. ¶32 (Santa Clara). See also id. ¶¶33-34
          28

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           1    (Santa Clara depends on EPA tracking of hazardous waste shipments to ensure facilities manage

           2    waste properly and to prepare for emergency response); Dively Decl. ¶¶29-32 (King County relies on

           3    EPA staff to process and support grants and environmental initiatives, and for data and tools to reach

           4    decarbonization targets and support climate planning; EPA reductions will impede implementation of

           5    energy efficiency and conservation grant); Worthington Decl. ¶¶4, 6-8 (Chicago relies on EPA staff

           6    for advice on brownfield inspections and remediation, toxic site clean-up, and complying with federal

           7    requirements); Jue Decl. ¶4 (San Francisco relies on EPA research to electrify vehicles and

           8    buildings); Leach Decl. ¶¶27-31 (Baltimore relies on EPA data and technical assistance for

           9    environmental exposures and climate strategies); Dreyfus Decl. ¶16 (AFGE; RIFs will limit EPA’s

          10    work with tribal governments to ensure environmental regulations are observed across state borders);

          11    Howell Decl. ¶¶18, 22 (AFGE; RIFs will hamstring mitigation of environmental hazards following

          12    natural disasters like floods and wildfires, and cause loss of years of work in ongoing research and

          13    likely need to euthanize lab animals); id. ¶¶17, 21 (AFGE; RIFs will harm states that rely on EPA for

          14    management of Clean Water Act permits and guidance and oversight of state-managed programs and

          15    undermine environmental justice efforts).

          16    6.        General Services Administration (GSA)

          17              GSA has announced plans for a nearly 50% cut in staff and issued RIF notices throughout the

          18    agency, including to more than 600 employees in the Public Buildings Service. Fabris Decl. ¶¶23-25,

          19    Exs. J-L (AFGE).31 The RIFs to GSA’s public buildings staff threaten the health and safety of federal

          20    employees federal contractors, and all visitors to federal courthouses and other buildings throughout

          21    the country. Id. ¶¶28-32. No employees remain to maintain fire protection systems, oversee water

          22    testing for hazards, manage indoor air quality, supervise asbestos inspections, or address other health

          23    or safety concerns. Id. In addition, SEIU represents hundreds of federally contracted janitors at GSA

          24    locations as well as federal buildings at numerous other agencies who face layoffs if GSA staff are

          25    laid off or locations are closed. Adler Decl. ¶9 (SEIU); see also id. ¶7 (members laid off after U.S.

          26
          27         31
                       See, e.g., Gov’t Exec., GSA seeks 50% spending cuts, nonvoluntary RIF after OPM’s resignation
          28    offer (Feb. 4, 2025), available at: https://federalnewsnetwork.com/hiring-retention/2025/02/gsa-seeks-
                50-spending-cuts-nonvoluntary-rif-after-opms-resignation-offer/.
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           1    Institute of Peace shuttered); id. ¶8 (contracted janitor layoffs imminent at DOL sites).

           2    7.     Health and Human Services (HHS)

           3           On March 27, 2025 HHS announced “a dramatic restructuring in accordance with President

           4    Trump’s Executive Order.” Supra at 4; see also Fact Sheet: HHS’ Transformation (Mar. 27, 2025)

           5    (“The restructuring of HHS is proceeding in accordance with President Trump's Executive Order”);

           6    Jacobs Decl. ¶14, Ex. B (AFGE). HHS immediately noticed “a reduction in workforce of about

           7    10,000 full-time employees who are part of this most recent transformation” with a total goal of

           8    cutting 20,000 staff, including 3500 at the FDA, 2400 at the CDC, 1200 at NIH, and 300 at CMS; and

           9    consolidating divisions and closing regional offices. Id. Secretary Kennedy attributed the cuts to the

          10    President’s Executive Order and DOGE. Supra at 4.

          11           Cities and counties depend on CDC laboratories that have been or will be weakened by RIFs,

          12    including CDC’s now-eliminated sexually transmitted disease (“STD”) lab branch, without which

          13    public health agencies will lose important information about antimicrobial resistant organisms and

          14    STDs generally and may face difficulty in ensuring effective treatment and stopping further disease

          15    transmission. Philip Decl. ¶¶4-5, 7-8 (San Francisco). Santa Clara relies on several CDC labs that

          16    are the only ones capable of testing for certain infectious diseases; delays or disruptions in the CDC’s

          17    ability to test specimens or report results would produce information gaps and delays resulting in the

          18    avoidable spread of infectious diseases. Williams Decl. ¶¶38-39 (Santa Clara).

          19           Municipalities depend on the CDC to help them control outbreaks of contagious diseases such

          20    as measles. Ige Decl. ¶¶7-11, 13-17 (Chicago); Philip Decl. ¶15 (San Francisco); Barton Decl. ¶¶20-

          21    22 (Harris County), Williams Decl. ¶¶35-37, 39 (Santa Clara). Yet the CDC staff responding to the

          22    current measles outbreak in Texas were put on administrative leave. Jacobs Decl. ¶27 (AFGE).

          23    Localities also depend on the CDC to help serve certain rare and high-risk patients, Philip Decl. ¶14

          24    (San Francisco); to train city staff to prevent the spread of diseases like HIV and syphilis, id. ¶6; to

          25    provide personnel supporting an HIV treatment clinic, Dively Decl. ¶33(b) (King County); and for

          26    maternal and infant health data, Ige Decl. ¶¶18-19 (Chicago). See also Benjamin Decl. ¶¶16, 18-20
          27    (APHA) (RIFs effectively shuttered CDC offices on injury control, birth defects, and smoking and

          28    health; disrupted research on women’s reproductive health and drug-resistant STDs; closed reference

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           1    laboratories critical to nationwide public health measures); O’Brien Decl. ¶¶12-13 (AFSCME).

           2           Many of these effects are already being felt. RIFs have caused CDC to cancel plans to

           3    support Milwaukee public schools with lead exposure; severely hindered monitoring, testing, and

           4    prevention efforts for communicable diseases; and endangered disease testing for first responders and

           5    firefighters. Benjamin Decl. ¶¶17, 25, 29-34 (APHA); see Ige Decl. ¶¶12-15 (Chicago: lost access to

           6    HIV resources). Decimation of the Center for Injury Prevention and Control halted updates to

           7    guidance on diagnosing traumatic brain injury, Jacobs Decl. ¶24 (AFGE), and shut down critical data

           8    systems, publications, and grants on drownings, opioid overdoses, and suicides, id. ¶¶24-25; see also

           9    Barton Decl. ¶18 (Harris County; cessation of public health emergency preparedness calls); Leach

          10    Decl. ¶¶37-38 (Baltimore; delayed response when seeking CDC guidance and feedback); Dively

          11    Decl. ¶33(a) (King County; unable to reach HHS personnel that support public health grants,

          12    requiring county to divert funds); Philip Decl. ¶12 (San Francisco; difficulty with grant reporting).

          13           Nor is CDC the only HHS agency where RIFs have caused or will cause irreparable harm.

          14    The Administration for Children and Families terminated every employee administering a program to

          15    cover heating and cooling bills for millions of low-income households and eliminated the division

          16    overseeing a case management system tracking child abuse and neglect. Benjamin Decl. ¶¶22-23

          17    (APHA); see also Neuman Decl. ¶21 (lack of approval for a Head Start grant will force layoffs of up

          18    to 144 SEIU members and result in 1,200 children in Santa Clara losing childcare on July 1, 2025);

          19    O’Brien Decl. ¶7 (delay in HHS grants will harm AFSCME members at Head Start Programs and

          20    limit development services to children and families). Layoffs at NIOSH shuttered a federal screening

          21    program for black lung disease, Benjamin Decl. ¶25 (APHA); stopped routine mine safety

          22    inspections, Jacobs Decl. ¶23 (AFGE); shut down the program that investigates and recommends

          23    ways to reduce exposure to health hazards in workplaces, Niemeier-Walsh Decl. ¶¶24-27 (AFGE);

          24    O’Brien Decl. ¶16; and left no one to continue research to reduce cancer risk among firefighters or

          25    the risk of black lung disease among coal miners, Niemeier-Walsh Decl. ¶¶28-29 (AFGE); see also

          26    Pena Decl. ¶¶21-22 (Harris County; NIOSH information on causes of certain industrial fires can
          27    inform future life-saving practices); O’Brien Decl. ¶15 (AFSCME members in medical fields rely on

          28    NIOSH to certify respirators). Closure of the Substance Abuse and Mental Health Services

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           1    Administration impairs resources on which therapists and substance abuse counselors rely.

           2    Prendiville Decl. ¶¶12-14 (SEIU). Layoffs of FDA administrative staff forced the postponement or

           3    cancellation of site visits to inspect facilities. Garthwaite Decl. ¶¶12-14 (AFGE).

           4    8.        Housing and Urban Development (HUD)

           5              In April, HUD commenced a RIF of positions in the Office of Field Policy and Management

           6    (“FPM”) throughout the country. Bobbitt Decl. ¶¶13-14 (AFGE). The FPM serves as the first point

           7    of contact for HUD and housing-related questions and concerns within a community. Id. ¶¶24-28.

           8    Press reports staffing cuts of up to 50% and closed field offices.32 Id. ¶¶9-12 & Exs. A-B (AFGE).

           9              These FPM cuts will drastically limit access to HUD services, in particular among vulnerable

          10    populations like homeless veterans, seniors, and people with disabilities, and prevent effective

          11    coordination of important community development efforts. Id. ¶¶26-27. Further RIFs will harm

          12    states, cities, and counties that depend on HUD staff for technical assistance, grant administration,

          13    and timely processing of housing assistance program applications and payments and authorizations

          14    necessary for large-scale development projects; without those resources, housing instability will rise.

          15    Williams Decl. ¶43 (Santa Clara); Leach Decl. ¶¶49-53 (Baltimore); Dively Decl. ¶38 (King

          16    County); Wander Decl. ¶¶10-11 (SEIU); Neuman Decl. ¶51 (SEIU); O’Brien Decl. ¶¶39-40

          17    (AFSCME). Local governments receive from HUD millions of dollars in federal contracts, loans,

          18    and grants that support community capital projects, affordable housing development, and disaster

          19    recovery, any delay of which would divert local resources and increase housing instability. Dively

          20    Decl. ¶¶37-39 (King County); Leach ¶¶49-53 (Baltimore); see also Bobbitt Decl. ¶¶9, 11-12, 28

          21    (AFGE; forthcoming RIFs will reduce support for disaster relief and homelessness, limit rental

          22    assistance and support for public housing, and reduce housing discrimination investigations).

          23    9.        Interior

          24

          25
                     32
          26           Associated Press, Trump Administration looks to slash HUD workers tackling the housing
                crisis (Feb. 21, 2025), available at: https://apnews.com/article/doge-hud-trump-turner-affordable-
          27    housing-musk-0176c8539fa9b5959198c351c97b8652; Bloomberg News, Trump Administration
                Plans to Eliminate Dozens of Housing Offices (Mar. 5, 2025), available at:
          28    https://www.bloomberg.com/news/articles/2025-03-05/hud-plans-to-eliminate-dozens-of-state-and-
                local-field-offices.
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           1            In April, sources leaked a “major reorganization” being led by DOGE.33 The Department

           2    responded: “under President Trump’s leadership, we are implementing necessary reforms to ensure

           3    fiscal responsibility, operational efficiency, and government accountability,” and refused to

           4    “comment on personnel matters.” Id. Shortly thereafter, the Secretary transferred authority for

           5    complying with Executive Order 14210 and for the “consolidation, unification and optimization

           6    efforts within the Department” to the DOGE Team.34 Soon after, additional reports broke regarding

           7    upcoming RIFs.35 Neubacher Decl. ¶8 & Ex. B (CPANP).

           8            Like other Department components, the National Park Service (“NPS”) is already suffering

           9    from reduced staffing. Id. ¶¶5, 6 (CPANP). Further cuts will force NPS employees who lose their

          10    positions, and live in park housing, to relocate. Id. ¶16. Cuts will also undermine the agency’s work

          11    of protecting and preserving national parks, including by impacting threatened and endangered

          12    species and sensitive ecological areas; harm the visitor experience, including leading to the closure of

          13    areas, miles-long waits to enter parks, traffic problems, limitations on ranger tours and other

          14    educational programs, and reduction of park hours; and threaten visitors’ safety, including due to

          15    trails and trees that are not properly maintained and longer emergency response times. Id. ¶¶9-12, 14.

          16            RIFs to the Interior Department will also harm WWP by impeding timely access to public

          17    records necessary to accomplish its conservation mission; diminishing the Bureau of Land

          18    Management’s prevention of ecologically destructive grazing on federal lands; hindering WWP’s

          19    ability to research and obtain information for its conservation efforts; impacting the Fish and Wildlife

          20    Service’s ability to protect endangered species such as the Wyoming toad and Arctic grayling; and

          21    causing other adverse effects that will decimate National Wildlife Refuges, harm WWP’s ability to

          22
                   33
                       Politico Pro, Major reorganization looms for Interior (Apr. 10, 2025), available at:
          23    https://subscriber.politicopro.com/article/eenews/2025/04/10/major-reorganization-looms-for-
                interior-00283745.
          24        34
                       Dep’t of Interior Order No. 3429, Consolidation, Unification and Optimization of
                Administrative Functions (Apr. 25, 2025), available at: https://www.doi.gov/document-
          25    library/secretary-order/so-3429-consolidation-unification-and-optimization-administrative; Gov’t
                Exec., Interior solicits employees’ resumes in preparation for widespread layoffs (Apr. 23, 2025),
          26    available at: https://www.govexec.com/workforce/2025/04/interior-solicits-employees-resumes-
                preparation-widespread-layoffs/404786/.
          27        35
                       Gov’t Exec., Interior solicits employees' resumes in preparation for widespread layoffs (Apr.
          28    23, 2025), available at https://www.govexec.com/workforce/2025/04/interior-solicits-employees-
                resumes-preparation-widespread-layoffs/404786/.
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           1    protect native wildlife, and impede the enjoyment of land by WWP’s staff and members. Molvar

           2    Decl. ¶¶6-8, 10-22, 39. AGU members also depend on access to research, data, expertise, and grants

           3    that will be impaired by Interior’s layoffs. Shultz Decl. ¶¶5, 21-27.

           4               The cuts will also harm Plaintiff localities. See Bechelli Decl. ¶4(d) (San Francisco relies on

           5    U.S. Park Police to assist during emergencies and for incidents on federal property); Williams Decl.

           6    ¶44 (Santa Clara relies on U.S. Geological Survey resources and guidance on earthquake hazards).

           7    10.        Labor

           8               In April, Labor sent RIF notices to the “vast majority” of the staff of the Office of Federal

           9    Contract Compliance Programs (“OFCCP”), placing those staff immediately on administrative leave,

          10    and telling employees they were being terminated “due to the agency’s ‘significantly reduced scope

          11    of mission.’”36 The Department announced that more RIFs “should be expected” in the coming

          12    weeks.37 Gamble Decl. ¶14 & Ex. E (AFGE).

          13               Cuts will make it impossible for the Department to continue to conduct OSHA workplace

          14    safety inspections and mine inspections, increasing the likelihood of preventable workplace deaths

          15    and injuries. Id. ¶16 (AFGE); see Neuman Decl. ¶34 (SEIU) (OSHA likely will be unable to provide

          16    crucial services and investigations, particularly to workers in dangerous jobs, including SEIU

          17    members); O’Brien Decl. ¶¶21-28 (AFSCME). The shutdown of the OFCCP has already harmed

          18    employment prospects for veteran and disabled workers and left them vulnerable to

          19    discrimination. Levin Decl. ¶18 (AFGE); Gamble Decl. ¶16 (AFGE); Neuman Decl. ¶31 (SEIU).

          20    Chicago’s labor enforcement office also relies on the Department for coordination on training,

          21    education and outreach, investigation, and enforcement. Campos Decl. ¶¶3, 5-11.

          22    11.        National Labor Relations Board (NLRB)

          23               When the NLRB first submitted its ARRP, it told OMB it had determined it would not engage

          24    in any RIF, because the employees’ work was too essential to the agency’s mission. Chisholm Decl.,

          25
                      36
                       Bloomberg Law, DOL puts contractor watchdog employees on leave as layoffs loom (Apr. 16,
          26    2025), available at: https://news.bloomberglaw.com/daily-labor-report/dol-puts-contractor-
                watchdog-employees-on-leave-as-layoffs-loom; see also, e.g., Neuman Decl. ¶¶29, 31 (SEIU).
          27        37
                       Bloomberg Law, Lawmakers, workers push Chavez-DeRemer to stop labor DOGE cuts (Apr.
          28    14, 2025), available at: https://news.bloomberglaw.com/daily-labor-report/lawmakers-workers-push-
                chavez-deremer-to-stop-labor-doge-cuts.
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           1    Ex. 1. But OMB reportedly rejected the NLRB’s first ARRP and required the agency to submit a

           2    new one proposing staff reductions including layoffs, which OMB is currently reviewing. Id.

           3               Cuts will increase delays in enforcing labor laws and harm unions and workers who rely on

           4    the NLRB. The average time between filing a charge and issuance of a complaint was already 120

           5    days in 2023, and from complaint to decision was 330 days. Neuman Decl. ¶¶40-41 (SEIU). These

           6    delays will get worse. Id.; O’Brien Decl. ¶48 (AFSCME members already experiencing delays).

           7    When employers violate workers’ rights without recourse or timely response, it chills union

           8    organizing campaigns and bargaining. Neuman Decl. ¶38 (SEIU); O’Brien Decl. ¶48 (AFSCME).

           9    12.        National Science Foundation (NSF)

          10               NSF submitted an initial ARRP that did not include large-scale RIFs and instead relied on

          11    voluntary separation offers to satisfy the Executive Order and OMB/OPM Memorandum. Soriano

          12    Decl. ¶8 (AFGE). But OMB, OPM, and DOGE rejected that plan and instructed NSF to lay off half

          13    of the agency’s employees under “orders from the White House.”38 Id. ¶¶9-11.

          14               Cutting NSF staff by half will have devasting effects on the development of scientific

          15    research and technology. NSF provides funding to almost all scientific disciplines, and NSF-funded

          16    projects have led to discoveries that form the basis of many important technologies, including the

          17    Internet, artificial intelligence, electric batteries, and Magnetic Resonance Imaging (“MRI”). Id. ¶16.

          18    RIFs will drastically limit the agency’s ability to review proposals and provide funding for critical

          19    research projects. Id. ¶¶17-19. They will harm WWP by interrupting or canceling studies on certain

          20    species that WWP needs for its conservation efforts. Molvar Decl. ¶¶34-37. AGU’s member

          21    scientists also rely on NSF for research, data, funding, and expertise. Shultz Decl. ¶¶5, 21-26.

          22    13.        Small Business Administration (SBA)

          23               In March and April, SBA sent RIF notices to employees at the COVID-19 Economic Injury

          24    Disaster Loan Serving Center, Office of Entrepreneurial Development, Office of Entrepreneurial

          25

          26
          27          38
                      Science, Exclusive: NSF director to resign amid grant terminations, job cuts, and controversy
          28    (Apr. 24, 2025), available at: https://www.science.org/content/article/nsf-director-resign-amid-grant-
                terminations-job-cuts-and-controversy.
                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI                      24
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           1    Education, procurement office, and field, district, and branch offices.39 Gustafsson Decl. ¶¶8-9, 13

           2    (AFGE). The SBA then announced that as required by the President’s Executive Order, “the agency

           3    will reduce its workforce by 43%,” cutting over 2700 jobs as a “strategic reorganization.”40 The SBA

           4    Administrator explained that the RIF plan “will be actioned in the coming weeks.”41

           5               The anticipated 43% reduction will cause significant delays to loans, disaster loan guarantees,

           6    and other services. Gustafsson Decl. ¶¶14, 17 (AFGE). MSA members depend on low-interest loans

           7    to rebuild after disasters like hurricanes or fires, and any delays compound financial harm to those

           8    small businesses. Phetteplace Decl. ¶10. The cuts will harm localities as well: SBA provides disaster

           9    assistance for San Francisco businesses, homeowners, and renters and without sufficient SBA staff

          10    residents will be unable to access these funds, hindering rebuilding and recovery from disasters.

          11    Bechelli Decl. ¶4(b); see also Dively Decl. ¶44 (King County similarly relies on SBA disaster loans).

          12               Reduced SBA staff will also likely prevent small businesses from reaching SBA to modify

          13    loans when facing repayment difficulty, causing defaults; make it harder to secure loan guarantees,

          14    with ripple effects on contractors, suppliers, and employees; and harm small businesses that rely on

          15    the SBA for government contracting opportunities, education, and affordable business consulting.

          16    Phetteplace Decl. ¶¶11-16 (MSA); Gustafsson Decl. ¶17 (AFGE). These harms will be compounded

          17    by the reported transfer of student loan processing from the Department of Education to SBA, further

          18    straining the dramatically reduced staff. Neuman Decl. ¶43 (SEIU); O’Brien Decl. ¶41 (AFSCME).

          19    This will inevitably cause billing issues and delays in processing Public Service Loan Forgiveness

          20    applications and forbearance and loan repayment requests. Neuman Decl. ¶¶43-46 (SEIU).

          21    14.        Social Security Administration (SSA)

          22               In April, the SSA confirmed it is “proceeding with plans that may include abolishment of

          23    organizations and positions, directed reassignments, and reductions in force (RIF).” Couture Decl.

          24    ¶12. The SSA had previously stated plans to implement the Executive Order via RIFs that “could

          25
                       Gov’t Exec., SBA hit with more layoffs (Apr. 18, 2025), available at:
                      39

          26    https://www.govexec.com/workforce/2025/04/sba-hit-more-layoffs/404682/.
                    40
                       SBA, Small Business Administration Announces Agency-Wide Reorganization (Mar. 21, 2025),
          27    available at: https://www.sba.gov/article/2025/03/21/small-business-administration-announces-
                agency-wide-reorganization.
          28        41
                       Id.
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           1    include abolishment of organizations and positions” and would “soon implement agency-wide

           2    organizational restructuring.”42 Id. DOGE posted 47 SSA field offices for sale, and the SSA ARRP

           3    was reported to include “field office consolidation” and cuts of approximately 5 to 7,000

           4    employees.43 The Acting Commissioner discussed consolidation of regional offices and credited the

           5    reorganization as “support[ing] President Trump’s priorities to streamline functions.” Id. ¶10 & Ex.

           6    D. On April 4, the Washington Post reported SSA leaders were directed to provide OMB with a

           7    “more extensive RIF proposal.” Id. ¶13 & Ex. E.

           8               Even before any RIFs, SSA was at a 50-year staffing low, with high average call wait times;

           9    only 84% of retirement, survivor, and Medicare claims timely processed; and only 43% of people

          10    receiving appointments within 28 days (down from 85% in 2020). Id. ¶¶16-17. During the past two

          11    months, benefits recipients or applicants have experienced longer wait times, difficulty accessing the

          12    SSA website to apply for benefits, and delays in making appointments. Fiesta Decl. ¶¶7, 9-10

          13    (ARA); see also id. ¶¶12, 16-18; Nelson Decl. ¶¶7-13 (AFSCME; appointment request denied after

          14    11 calls and hours-long waits). Only 39% of callers in March 2025 reached a representative,

          15    compared to 70% last year. Fiesta Decl. ¶17 (ARA). And the SSA website has crashed repeatedly.

          16    Id. ¶¶13-15; Nelson Decl. ¶10 (AFSCME).

          17               RIFs to SSA will worsen these issues. Couture Decl. ¶¶20, 22, 25-26 (AFGE); Norman Decl.

          18    ¶¶16, 22 (AFGE); Fiesta Decl. ¶¶8, 13, 20, 21 (ARA); Nelson Decl. ¶18 (AFSCME); O’Brien Decl.

          19    ¶¶35-38 (AFSCME); Wells Decl. ¶¶20-28, 45 (former SSA official). This will threaten access to

          20    benefits, with particularly detrimental effects on individuals with disabilities or beneficiaries who are

          21    defrauded, or scammed. Wilson Decl. ¶15 (AFGE); Couture Decl. ¶22 (AFGE); Fiesta Decl. ¶¶8, 19,

          22    21-23 (ARA); O’Brien Decl. ¶38 (AFSCME); Jefferies Decl. ¶¶12-14 (SEIU Local 1000).

          23    15.        State

          24               On April 22, 2025, the State Department announced a reorganization plan for domestic

          25

          26          42
                      Press Release, Soc. Sec. Admin (Feb. 28, 2025), available at: https://blog.ssa.gov/social-
                security-announces-workforce-and-organization-plans/.
          27       43
                      Gov’t Exec., SSA reorg plan contemplates field office closures, contradicting public statements
          28    (Apr. 7, 2025), available at: https://www.govexec.com/management/2025/04/ssa-reorg-plan-
                contemplates-field-office-closures-contradicting-public-statements/404369/.
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           1    operations, including significant consolidation and reorganization of bureaus and offices and

           2    “reducing staff in domestic offices by 15 percent, consistent with the President’s Workforce

           3    Optimization Initiative.” Hunter Decl. ¶¶21-25, Ex. I (AFGE).

           4               The proposed consolidation and elimination of staff will stop crucial diplomatic work, day-to-

           5    day operations assisting American citizens abroad who lose passports or face criminal prosecution,

           6    and promotion of American business interests abroad. Id. ¶33; McKeon Decl. ¶¶42, 45 (former State

           7    Department official). Cuts to the Department’s programs focusing on democracy, human rights,

           8    refugees, and conflict stabilization operations “will inevitably be paid for in lives.” Hunter Decl. ¶31

           9    (AFGE). The proposed terminations of Special Envoys, Representatives, and Coordinators will

          10    hamper the Department’s ability to respond to pressing issues like climate change, global criminal

          11    justice, hostage affairs, nuclear nonproliferation and geopolitically sensitive states like Iran, Sudan,

          12    and North Korea; and the dismantlement of the Counter Foreign Information Manipulation and

          13    Interference office eliminated a key tool to counter the sophisticated disinformation campaigns from

          14    foreign governments, such as Russia, Iran, and China. Id. ¶¶30, 32. The proposed reductions will

          15    also harm localities that depend on the State Department to ensure the security of events like the 2026

          16    FIFA World Cup. Dively Decl. ¶13 (King County); see also Williams Decl. ¶¶18, 40.

          17    16.        Treasury

          18               In April, an internal IRS memorandum was leaked to the press detailing planned cuts of up to

          19    40% of the IRS workforce, including approximately 60,000 to 70,000 positions, through bi-weekly

          20    RIF notices starting “this week.”44 The leaked ARRP included plans to cut up to 50% of IRS tax

          21    enforcement staff, and 20% across the board for other components of Treasury.45

          22               Reduction of IRS staff will harm taxpayers served by Plaintiff Center for Taxpayer Rights,

          23    including delaying tax refunds. Olson Decl. ¶29 (CTR). The staffing reduction and office closures

          24
                      44
                       Fed. News Network, IRS outlines plan to cut up to 40% of workforce, as tax filing season ends
          25    (Apr. 15, 2025), available at: https://federalnewsnetwork.com/workforce/2025/04/irs-outlines-plan-
                to-cut-up-to-40-of-workforce-as-tax-filing-season-ends; see also CNBC, Tax attorneys say IRS has
          26    become a ‘zombie’ as agency cuts staff and halts audits of the wealthy (Apr. 17, 2025), available at:
                https://www.cnbc.com/2025/04/17/irs-staff-cuts-fewer-audits-of-wealthy.html.
          27        45
                       Fed. News Network, Treasury plans to cut up to 50% of IRS enforcement staff, 20% of other
          28    components (Apr. 9, 2025), available at: ttps://federalnewsnetwork.com/reorganization/
                2025/04/treasury-plans-to-cut-up-to-50-of-irs-enforcement-staff-20-of-other-components/.
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           1    will injure taxpayers who rely on those services and prevent them from resolving account issues and

           2    avoiding fines and/or levies. Id. ¶¶11-19, 34. For example, if a taxpayer can’t reach an IRS

           3    employee, or if their correspondence is not opened or processed, the IRS’s automated collection

           4    system will issue levies on bank accounts, or offset the next year’s tax refund, automatically. Id.

           5    ¶¶22-25. Other taxpayers will face severe risks as well. See id. ¶34; O’Brien Decl. ¶49 (AFSCME).

           6    17.    Veterans Administration (VA)

           7           In March, the VA issued a Memorandum that implements the President’s Executive Order

           8    and explains: “For planning purposes, the Department’s initial objective is to return to our 2019 end-

           9    strength numbers of 399,957 employees,” which reflects an approximate cut of 80,000 jobs. Burke

          10    Decl. ¶¶7-9, Ex. A (AFGE). VA Secretary Doug Collins confirmed this goal was “put out” by

          11    President Trump and OPM. Supra at 5. The planned cuts will be implemented in stages including

          12    “administrative and support roles”; “medical and healthcare support staff”; “regional and central

          13    office staff”; and “field office and call center reductions.” Burke Decl. ¶13, Ex. C (AFGE)

          14           “Cutting 80,000 VA employees will cause immediate chaos across every aspect of VA,

          15    including providing health care, helping veterans access other benefits, and processing claims.” Id.

          16    ¶16; see also Shah Decl. ¶¶14-22 (cuts will cause “mass disruption” to medical care); Bailey Decl.

          17    ¶19. Staff threatened by RIFs manage patient information, take calls from veterans in crisis, clean

          18    patient rooms, install and maintain fire suppression systems, conduct research studies, prevent

          19    dangerous workplace conditions, and perform other critical work. Burke Decl. ¶¶18, 20 (AFGE); see

          20    also Bailey Decl. ¶19. VA facilities are already short-staffed and further cuts will have catastrophic

          21    consequences for veterans’ health care access. Id. ¶¶19-20; Turner-Nichols Decl. ¶¶14, 16 (AFGE);

          22    O’Brien Decl. ¶¶32-34 (AFSCME). Cuts to procurement staff will disrupt access to medical devices,

          23    supplies, and mobility aids for VA medical centers and veterans. Burke Decl. ¶17 (AFGE).

          24           Members of Plaintiffs Common Defense and VoteVets will be harmed by delaying or

          25    curtailing VA services, cancellation of appointments, increasing wait times, raising barriers to

          26    communication and scheduling of appointments, and reducing the quality of services. Shah Decl.
          27    ¶¶12, 14-22 (CD); Eaton Decl. ¶¶2, 9 (VV). It will also harm Plaintiff localities, which depend on

          28    VA hospitals to provide high-quality care, including mental health services, tailored to veterans, such

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           1    that disruptions to services will impose additional burdens on county hospitals and support services.

           2    Williams Decl. ¶46 (Santa Clara); see also Dively Decl. ¶42 (King County).

           3                                                 ARGUMENT

           4    I.     This Court Should Enjoin Defendants’ Implementation of Executive Order 14210 and
                       the Resulting Agency RIF and Reorganization Plans
           5
                       A TRO is warranted when the moving party (1) is likely to succeed on the merits; (2)
           6
                irreparable harm is likely in the absence of preliminary relief; (3) the balance of equities tips in the
           7
                movant’s favor; and (4) an injunction is in the public interest. Fed. R. Civ. P. 65 (b)(1), (c); Winter v.
           8
                Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). All of these factors strongly favor Plaintiffs.
           9
                       A.        Plaintiffs Are Likely to Succeed on the Merits of Their Claims that the Executive
          10                     Order and Agency Implementation are Unlawful

          11                1.          Executive Order 14210 Violates Separation of Powers and is Ultra Vires
          12           The President’s actions must be authorized by the Constitution or an act of Congress.
          13    Youngstown, 343 U.S. at 585. As in Youngstown, the President has bypassed and usurped the role of
          14    Congress: “The President’s order does not direct that a congressional policy be executed in a manner
          15    prescribed by Congress—it directs that a presidential policy be executed in a manner prescribed by
          16    the President.” Id. Because, as explained in detail below, sections 3(c), (e), (f) and 4 of the
          17    Workforce Executive Order are not authorized by the Constitution or any statute, the President’s
          18    orders to dismantle federal agencies, including by “large-scale reductions in force,” are unlawful.
          19    Notably, the President cited no specific statutory authority for this Order. App. A at 1.
          20                     a.     The President Has No Article II Authority to Reorganize Agencies
          21           The Constitution vests in Congress the legislative power to create the departments, agencies,
          22    and offices within the executive branch; to define their duties; and to fund their activities. U.S.
          23    Const. art. I, §1 (legislative power); INS v. Chadha, 462 U.S. 919 (1983); Myers, 272 U.S. at 129;
          24    U.S. Const. art I, §8, cl. 18 (Necessary and Proper Clause). By this legislative power Congress thus
          25    “control[s]” the very “existence of executive offices.” Free Enter. Fund v. Pub. Co. Acct. Oversight
          26    Bd., 561 U.S. 477, 500 (2010); see also Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., OSHA, 595 U.S.
          27    109, 117 (2022). Indeed, among Congress’s very first acts were “establishing executive departments
          28    and staffs.” Gary Lawson, Necessary and Proper Clause, The Heritage Guide to the Constitution,

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           1    The Heritage Foundation.46 When the First Congress created the Treasury Department, for example,

           2    it established therein “distinct offices—Secretary, Comptroller, Auditor, Treasurer and Register—and

           3    their duties.” Harvey C. Mansfield, Reorganizing the Federal Executive Branch: The Limits of

           4    Institutionalization, 35 L. & Contemp. Probls. 462, 463 (1970).

           5            Those executive agencies of the federal government are defined by various statutes, including

           6    5 U.S.C. §§101, 104, 105 (defining “agency” to include departments and agencies). Each agency has

           7    its own authorizing statutes that govern its administration and create the office of the agency head.

           8    See e.g., 10 U.S.C. §§111, 113 (Defense); 38 U.S.C. §§301, 303 (VA); 42 U.S.C. §§202, 203 (HHS);

           9    42 U.S.C §§281, 282 (NIH); 42 U.S.C. §7131 (Energy).

          10            The President’s constitutional authority, by contrast, is set forth in Article II. U.S. Const. art.

          11    II §1, cl. 1. The President has no constitutional legislative authority. Chadha, 462 U.S. at 951, 956-

          12    59; Youngstown, 343 U.S. at 635. Thus, the President has no constitutional power to unilaterally

          13    enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S. 417,

          14    438-39 (1998). Rather than allowing the President to write or re-write statutes, the Constitution

          15    instead requires that “[the President] shall take Care that the Laws be faithfully executed.” U.S.

          16    Const. art. II, §3. The Take Care Clause “refutes the idea that [the President] is to be a lawmaker.

          17    The Constitution limits his functions in the lawmaking process to the recommending of laws he

          18    thinks wise and the vetoing of laws he thinks bad.” Youngstown, 343 U.S. at 587.

          19            And yet, the President does not execute the laws alone: “He must execute them by the

          20    assistance of subordinates.” Myers, 272 U.S. at 117. “To aid him in the performance of these duties,

          21    he is authorized to appoint certain officers, who act by his authority and in conformity with his

          22    orders.” Marbury v. Madison, 5 U.S. 137, 166 (1803); see also Seila L. LLC v. Consumer Fin. Prot.

          23    Bureau, 591 U.S. 197, 203-04 (2020) (“Because no single person could fulfill that responsibility

          24    alone, the Framers expected that the President would rely on subordinate officers for assistance.”).

          25            The President’s constitutional authority with respect to those who assist him in taking care

          26    that the law is faithfully executed is established in the Appointments Clause which reads, “[t]he
          27
                   46
          28         Available at: http://www.heritage.org/constitution/#!/articles/1/essays/59/necessary-and-
                proper-clause.
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           1    President … shall nominate, and by and with the Advice and Consent of the Senate, shall appoint …

           2    [the] Officers of the United States, whose Appointments are not herein otherwise provided for, and

           3    which shall be established by Law.” U.S. Const. art. II, §2, cl. 2. Even the removal of Senate-

           4    confirmed officers is subject to recognized constitutionally permissible constraints. See Seila Law,

           5    591 U.S. at 204 (recognizing boundaries of Article II authority to remove appointed officers).

           6            Article II authority has never been extended to the power to order the removal of rank-and-file

           7    federal employees, let alone order the wide-scale layoff of hundreds of thousands of positions

           8    authorized by Congress. Id. (reaffirming limits of Article II removal authority under Morrison v.

           9    Olson, 487 U.S. 654 (1988); Humphrey’s Executor v. United States, 295 U.S. 602 (1935); and United

          10    States v. Perkins, 116 U.S. 483, (1886)).47 As the Supreme Court explained in Free Enterprise Fund:

          11            Humphrey’s Executor did not address the removal of inferior officers, whose
                        appointment Congress may vest in heads of departments. If Congress does so, it is
          12            ordinarily the department head, rather than the President, who enjoys the power of
                        removal. This Court has upheld for-cause limitations on that power as well.
          13
                561 U.S. at 493 (emphasis added and citations omitted).
          14
                        Article II does not give the President carte blanche authority over the structure or functions of
          15
                the federal agencies created by Congress, either. Article II does not authorize the President to
          16
                fundamentally reorganize the executive branch or restrict or abolish the congressionally authorized
          17
                work of even a single agency that he did not establish. See, e.g., NTEU v. Vought, 2025 WL 942772
          18
                (D.D.C. Mar. 28, 2025); 2025 WL 1144646, at *4 (D.D.C. Apr. 18, 2025) (affirming that the
          19
                President lacks authority to dismantle agencies created by Congress). Congress has long understood
          20
                the power to authorize reorganization both between and within agencies to be a legislative, not
          21
                executive power. Supra at 8; e.g., 5 U.S.C. §§901-905; see also Limitations on Presidential Power to
          22
                Create A New Exec. Branch Entity to Receive & Administer Funds Under Foreign Aid Legis., 9 Op.
          23
                O.L.C. 76, 78 (O.L.C. 1985) (recognizing “Executive Branch’s acquiescence in the need for
          24
                reorganization legislation in order to restructure or consolidate agencies within the Executive
          25

          26       47
                      See also Bessent v. Dellinger, No. 24A79 (U.S.) (Feb. 16, 2025 Application to Vacate the Order
                Issued by the United States District Court for the District of Columbia and Request for an Immediate
          27    Administrative Stay), at *27 (U.S. Solicitor General conceding “Agency heads… control hiring and
                firing decisions for subordinates.” (emphasis added)).
          28

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           1    Branch”); President’s Authority To Promulgate a Reorganization Plan Involving the Equal

           2    Employment Opportunity Commission, Op. O.L.C. 248, 250 (1977) (“reorganization plan may not

           3    transgress the limitations set forth in 5 U.S.C. §905”).

           4           President Trump is trying to accomplish by executive fiat the exact type of reorganization that

           5    has long been understood to be solely within Congress’s power to exercise or delegate. The last

           6    version of the (now-lapsed) reorganization authority enacted by Congress defined “reorganization

           7    plan” to include the types of actions ordered by President Trump in the Workforce Executive Order

           8    14210, including, in particular, the “abolition of all or a part of the functions of an agency” other than

           9    statutorily mandated programs, id. §903(a)(2) (“except that no enforcement function or statutory

          10    program shall be abolished by the plan”). There can be no real dispute that the orders contained in

          11    the Workforce Executive Order are legislative, not executive in nature, and have not been delegated

          12    to President Trump by the power Congress has not reactivated.

          13                   b.      The President Has No Statutory Authority to Restructure Agencies

          14           The President does not employ the millions of federal employees; the agencies do. 5 U.S.C.

          15    §3101 (employment authority for all agencies). Congress has delegated authority to determine which

          16    employees to employ and how many (consistent with appropriations) to the heads of the federal

          17    agencies, not to the President, in agencies’ various authorizing statutes. Id.; AFGE v. OPM, N.D. Cal.

          18    Case No. 3:25-cv-01780-WHA (ECF 132 at *9).

          19           Congress has never delegated to the President the authority to make the decision to remove

          20    federal employees, whether by way of a RIF or for any other reason. Instead, Congress has delegated

          21    to the President only rule-making authority to issue government-wide regulations consistent with

          22    merit-systems principles required by Congress. E.g., 5 U.S.C. §2301 (delegating to President rule-

          23    making authority “necessary to ensure that personnel management is based on and embodies the

          24    merit system principles.”); id. §3301 (regulations for efficiency of hiring); id. §3302 (authority to

          25    create excepted service from usual competitive requirements); id. §7301 (regulations for “conduct” of

          26    employees within federal executive branch). The plain language of the authority to create rules for
          27    the “conduct” of the people who are employed by the government does not extend to the authority to

          28    make them no longer employed, and therefore no longer subject to such rules. Cf. Nat’l Ass’n of

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           1    Mfrs. v. United States Dep’t of Homeland Sec., 491 F.Supp.3d 549, 564 (N.D. Cal. 2020) (finding

           2    “that Congress did not delegate authority to eviscerate portions of the statute in which the

           3    Congressional delegation of power was made. Logic would so dictate.”).

           4            There is a statute within the Civil Service Reform Act (“CSRA”) that imposes constraints on

           5    how an agency can conduct a RIF, but it does not grant any authority to the President. That provision

           6    delegates authority only to OPM, and only to make government-wide rules for the “order of

           7    retention” that applies if agencies engage in such a reduction. 5 U.S.C. §3502. And, to the extent

           8    that Congress designated OPM as the agency responsible for procedural implementation of the

           9    President’s rules (5 U.S.C. §1103), that statute nowhere provides the President (or OPM, see infra),

          10    with authority to order agencies to implement wide-scale terminations of federal employees.

          11            Nor has Congress delegated to the President the authority to transfer or excise specific

          12    programs, functions, or offices that Congress established and placed within a specific agency’s

          13    statutory authority or discretion. Such a delegation would come dangerously close to the line-item

          14    veto struck down as unconstitutional in Clinton v. City of New York, 524 U.S. 417 (1998). Many of

          15    President Trump’s recent actions effectively assume that line-item veto power, namely the power to

          16    excise programs that do not fall within the President’s desired vision (i.e., AmeriCorps).

          17            Nor has Congress delegated to the President the authority to decide to remove agency

          18    functions, offices or programs that are not statutorily authorized but were established by the agencies

          19    in an exercise of the authority given to them by Congress. As discussed above, the 1977

          20    Reorganization Act specifically defined the elimination of agency functions other than statutorily

          21    mandated programs to require Congressional approval, as a legislative act. 5 U.S.C. §903(a)(2). The

          22    President crosses a line defined by Congress, and enters into the legislative arena, when he orders all

          23    federal agencies, across the board, to eliminate programs they created and budgeted for, and to

          24    wholescale eliminate personnel and cut services, regardless of the agencies’ respective needs, all in

          25    service of the President’s desire to reconfigure and shrink the government. No statute comes close to

          26    authorizing that.48 And to the extent Congress has previously ever delegated any authority to the
          27
                   48
                      Congress at times has imposed significant constraints even on the agencies’ ability to
          28    reorganize themselves. See, e.g., 26 U.S.C. §7802(d)(3)(C) (IRS: requiring approval by oversight

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           1    President to review and be involved in agency reorganizations in the past, as either general matter or

           2    in any agency-specific way, those authorizations have long since expired.49

           3           Finally, to the extent that programs, offices, and positions that the President is ordering federal

           4    agencies to eliminate via these “large-scale” reductions and reorganizations are authorized by

           5    Congress and funded through current appropriations, no statute delegates to the President the power

           6    to direct the agencies to eliminate those functions or to cut spending. To the extent the President’s

           7    order is directed at, in his words, “waste” and “bloat,” the President lacks the authority to replace

           8    Congress’s “considered policy judgment” in appropriating funds for the agencies’ approved budgets

           9    for this workforce with his own. E.g., Widakuswara v. Lake, 2025 WL 1166400, at *15 (D.D.C. Apr.

          10    22, 2025) (“defendants’ unwillingness to expend funds in accordance with the congressional

          11    appropriations laws is a direct affront to the power of the legislative branch”); Aids Vaccine Advoc.

          12    Coal. v. United States Dep't of State, 2025 WL 752378, at *15 (D.D.C. Mar. 10, 2025) (President

          13    lacks authority “to rescind or defer the funds Congress has appropriated); PFLAG, Inc. v. Trump,

          14    2025 WL 685124, at *19 (D. Md. Mar. 4, 2025) (President may not direct agencies to withhold

          15    congressionally appropriated funds “in order to further an administrative policy”); Nat’l Council of

          16    Nonprofits v. OMB, 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025) (OMB may not “interfer[e] with

          17    Congress’s appropriation of federal funds); New York v. Trump, 2025 WL 357368, at *2 (D.R.I. Jan.

          18    31, 2025) (“The Executive Branch has a duty to align federal spending and action with the will of the

          19    people as expressed through congressional appropriations, not through ‘Presidential priorities.’”).

          20           Thus, President Trump is now simply bypassing the Congressional authorization that his first-

          21    term Administration admitted was necessary for the reorganization plan but which he has not

          22    obtained, supra at 8. The President lacks either constitutional or statutory authority to order agencies

          23

          24    board prior to any agency reorganization); 42 U.S.C. §281 (HHS: requiring Congressional notice
                prior to reorganizing NIH); 38 U.S.C. §510 (VA: requiring Congressional approval before
          25    restructuring or downsizing personnel by more than 15% within any particular office).
                    49
          26           See, e.g., 5 U.S.C. §901-905, discussed supra at 8; see also 6 U.S.C. §542 (authorizing
                President to reorganize for purposes of creating the Department of Homeland Security,
          27    notwithstanding the requirements of 5 U.S.C. §905(b), now expired); 42 U.S.C. §8819 (authorizing
                President to “review periodically the progress of the Secretary of Agriculture and the Secretary of
          28    Energy in carrying out the purposes [of the particular program]” and apply to Congress to reorganize
                pursuant to the now-expired “provisions of chapter 9 of title 5”).
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           1    to act in the manner his Executive Order directs, and that Order is therefore ultra vires. And where

           2    the government, including the President, takes ultra vires action, it is the proper constitutional role of

           3    this Court to declare that action unlawful. E.g., Murphy Co. v. Biden, 65 F.4th 1122, 1130 (2023);

           4    Sierra Club v. Trump, 963 F.3d 874, 888-93 (9th Cir. 2020), judgment vacated on other grounds, sub

           5    nom. Biden v. Sierra Club, 142 S.Ct. 46 (2021); Sierra Club v. Trump, 929 F.3d 670, 696-97 (9th Cir.

           6    2019)); Chamber of Com. of U.S. v. Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996).

           7            This Court should thus hold this Administration’s actions unlawful and ultra vires. See, e.g.,

           8    Pacito v. Trump, 2025 WL 655075, at *11 (W.D. Wash. Feb. 28, 2025) (President Executive Order

           9    likely ultra vires); AIDS Vaccine Advoc. Coal. v. U.S. Dep’t of State, -- F.Supp.3d --, 2025 WL

          10    485324, at *5 (D.D.C. Feb. 13, 2025) (foreign aid executive order); New York v. Trump, 2025 WL

          11    1098966 (D.R.I. Jan. 28, 2025) (executive order suspending federal financial assistance); Nat’l

          12    Council of Nonprofits v. Off. of Mgmt. & Budget, 2025 WL 597959 (D.D.C. Feb. 25, 2025) (same).

          13                 2.          OPM’s, OMB’s, and DOGE’s Actions Implementing Executive Order
                                         14210 Exceed Statutory Authority and Are Ultra Vires
          14
                        Neither OMB, OPM, nor DOGE possesses authority to order agencies to reorganize, to
          15
                engage in “large-scale” RIFs, or to usurp the decision-making authority delegated by Congress.
          16
                        a.        OMB. Although OMB is housed within the Executive Office of the President, it was
          17
                created by Congress. See 31 U.S.C. §§501-507.50 OMB carries out statutorily mandated roles with
          18
                respect to a variety of centralized functions, including budgeting, regulatory review, financial
          19
                management, the promulgation of Executive Orders, and general management. The OMB role with
          20
                respect to Executive Orders is generally a procedural one (1 C.F.R. §19.2), unless the President
          21
                includes a directive to OMB in an Executive Order, as he has done here. OMB’s authority with
          22
                respect to financial and other management is generally limited to proposing policies, giving “advice”
          23
                and making “recommendations” to agencies, along with long-range management planning. 31 U.S.C.
          24
                §503. To the extent that OMB assumes a role that goes beyond advising, making recommendations,
          25

          26       50
                      As this Congressional Research Service Report explains, the roles played by OMB in faithfully
          27    implementing statutory authority and effectuating the President’s policy can result in tension. Cong.
                Rsch. Serv., RS21665, Office of Management and Budget (OMB): An Overview (2023). Most of the
          28    roles played by OMB do not remotely authorize the actions here, including “budget formulation and
                execution;” “legislative coordination and clearance;” “information and regulatory affairs.” Id. at *2.
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           1    or gathering reports from agencies, but instead purports to direct and approve (or reject) agency

           2    action, OMB crosses the line from clearinghouse or advisor to decision-maker—which Congress did

           3    not authorize. E.g., Nat’l Council of Nonprofits v. OMB, 1:25-cv-00239, 2025 WL 597959, at *15-16

           4    (D.D.C. Feb. 25, 2025) (rejecting argument that OMB management role set forth in §503 authorizes

           5    action implementing Executive Order freezing government spending). And §503 does not give OMB

           6    the authority to make significant decisions for agencies in the realm of agency organization, agency

           7    functions or programs, or the size and scope of programs or staffing, particularly in light of the many

           8    statutes delegating those functions to the agencies themselves.51

           9            The Administration has already confirmed that OMB is acting as the final decision-maker

          10    with respect to the content of the ARRPs. First, the February 26, 2025 Memorandum unambiguously

          11    provides “instruction” to submit the ARRPs for “approval.” App. B at 1, 3-4; supra at 12 (FOIA

          12    request for ARRPs rejected as pre-decisional because “none have been approved by OMB.”). Because

          13    OMB lacks the authority to order federal agencies to downsize or reorganize, or to assume final

          14    decision-making power by requiring agencies to submit such plans for OMB approval, its actions to

          15    implement the President’s Executive Order are ultra vires.

          16            b.     OPM. OPM similarly has no statutory authority to approve agency plans to

          17    reorganize between or within agencies. 5 U.S.C. §§1101-1105. Nor does it have authority to require

          18    agencies to terminate workers, as this Court recently held. AFGE v. OPM, No. 3:25-cv-01780-WHA

          19    (N.D. Cal.), ECF No. 45 (Feb. 28, 2025 Order); ECF No. 132 (Mar. 14, 2025 Order); ECF No. 202

          20    (Apr. 18, 2025 Order). OPM’s statutory authority with respect to RIFs consists of setting

          21    government-wide order of retention rules for the release of employees in a RIF, not making the

          22    decision whether or how many employees to RIF. 5 U.S.C. §3502. OPM cannot order federal

          23    agencies to downsize or reorganize, or assume final decision-making power. OPM’s actions in

          24    implementing the President’s Executive Order thus exceed any OPM authority and are ultra vires.

          25

          26
          27
                   51
                      OMB’s authority to apportion congressional appropriations to federal agencies gives OMB
                reach across the executive branch, but that apportionment authority is narrowly limited to
          28    “prevent[ing] obligation or expenditure at a rate that would indicate a necessity for a deficiency or
                supplemental appropriation for the period,” 31 U.S.C. §1512.
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           1           c.        DOGE. DOGE was created by Executive Order and has no statutory authority at all.

           2    See AFL-CIO v. Dep’t of Labor, Case No. 25-cv-00339-JDB (D.D.C. April 16, 2025 Order), ECF No.

           3    78 (“defendants’ motion to dismiss points to no legal source that grants USDS the authority to take

           4    these actions”); Exec. Order 14158 (Jan. 20, 2025). DOGE cannot cloak itself in authority the

           5    President lacks either. DOGE lacks any authority to order federal agencies to anything and its actions

           6    to implement the Executive Order therefore exceed any authority and are ultra vires.

           7                3.          OPM’s, OMB’s, and DOGE’s Actions Implementing Executive Order
                                        14210 Also Violate the APA
           8
                       OPM, OMB, and DOGE are all agencies subject to the APA. See 5 U.S.C. §701(b)(1); AFGE
           9
                v. OPM, N.D. Cal. Case No. 3:25-cv-01780-WHA (N.D. Cal.) (OPM); NTEU v. Helfer, 53 F.3d
          10
                1289, 1292-93 (D.C. Cir. 1995) (OPM)); New York v. Trump, 133 F.4th 51, 70 (1st Cir. 2025)
          11
                (OMB); Nat’l Council of Nonprofits, 2025 WL 597959, at *12-13 (OMB); see also AFL-CIO v.
          12
                Dep’t of Lab., 2025 WL 1129227, at *45 n.19 (D.D.C. Apr. 16, 2025) (“Defendants do not contest
          13
                that USDS is an agency—either for purposes of judicial review or APA review”); AFSCME, 2025
          14
                WL 868953, at *56 (analyzing whether USDS is “agency” including by reference to APA definition).
          15
                       OPM and OMB’s Memorandum requiring agencies to submit ARRPs, and OPM and OMB’s
          16
                “approvals” of ARRPs, are final agency actions that are reviewable under the APA. See 5 U.S.C.
          17
                §704; State v. Su, 121 F.4th 1, 15 (9th Cir. 2024) (“[F]inal agency actions, even if implementing an
          18
                executive order, are subject to judicial review under the APA.”). So are DOGE’s directives ordering
          19
                agencies to make staffing and spending cuts. Final agency action (1) marks the “consummation of
          20
                the agency’s decisionmaking process” and (2) is action by which “rights or obligations have been
          21
                determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78
          22
                (1997) (citation omitted). The finality requirement is “interpreted in a pragmatic and flexible
          23
                manner” that “focus[es] on the practical … effects of the agency action.” Prutehi Litekyan: Save
          24
                Ritidian v. United States Dep’t of Airforce, 128 F.4th 1089, 1108 (9th Cir. 2025) (citation omitted).
          25
                       Each action challenged here qualifies. OPM and OMB’s Memorandum is final agency action
          26
                because it is a “definitive statement of [OPM and OMB’s] position” on the steps federal agencies
          27
                must take to comply with Executive Order 14210, and it imposes obligations on federal agencies,
          28

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           1    including to submit and implement ARRPs, with which “immediate compliance … is expected.” See

           2    id.52 OPM and OMB’s approvals of specific agencies’ ARRPs are also independently final agency

           3    actions, because they are neither “tentative [n]or interlocutory,” Bennett, 520 U.S. at 178, but rather

           4    final decisions approving the individual ARRPs pursuant to which each agency will conduct RIFs

           5    and restructuring. See Oregon Nat. Desert Ass’n v. U.S. Forest Serv., 465 F.3d 977, 982 (9th Cir.

           6    2006); New York v. Trump, 133 F.4th at 67-68. DOGE’s directives to specific agencies requiring cuts

           7    to programs and staffing are similarly final agency actions because they are the “consummation” of

           8    DOGE’s decision-making process, with which “immediate compliance … is expected.” Id. (citation

           9    omitted); see supra at 4, 11.

          10                   a.      The OPM, OMB and DOGE actions exceed statutory authority

          11            The APA prohibits agency action that exceeds statutory or constitutional authority or is

          12    otherwise not in accordance with law. See 5 U.S.C. §706(2)(A), (C); Kaweah Delta Health Care

          13    Dist. v. Becerra, 123 F.4th 939, 944 (9th Cir. 2024) (under APA, vacating agency action that

          14    exceeded statutory authority); Northwest Env’t Advocates v. E.P.A., 537 F.3d 1006, 1025-27 (9th Cir.

          15    2008) (same). For the reasons discussed supra at 35-37, the OMB, OPM and DOGE actions issuing

          16    the Memorandum, exercising approval authority over ARRPs, and dictating cuts to agency staffing

          17    and functions exceed any authority those agencies possess and violate 5 U.S.C. §706(2)(A) and (C).

          18                   b.      The OPM, OMB, and DOGE actions are arbitrary and capricious

          19            OPM’s, OMB’s, and DOGE’s actions are also arbitrary and capricious, in violation of 5

          20    U.S.C. §706(2)(A). The APA requires federal agencies to engage in “reasoned decisionmaking,”

          21    Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 16 (2020), which means that

          22    agency action must be both “reasonable and reasonably explained,” FCC v. Prometheus Radio

          23
                   52
                      This Memorandum is final agency action even though “reviewing and approving individual”
          24    agency-specific ARRPs remains. See Env’t Def. Ctr. v. Bureau of Ocean Energy Mgmt., 36 F.4th
                850, 869 (9th Cir. 2022) (agencies’ programmatic environmental assessment of offshore well
          25    treatments was final agency action even though agencies “will still have to approve permits from
                private entities .. before the treatments will … be used” and plaintiffs harmed); Prutehi Litekyan:
          26    Save Ritidian, 128 F.4th at 1108 (“a federal agency’s assessment, plan, or decision qualifies as final
                agency action even if the ultimate impact of that action rests on some other occurrence—for instance,
          27    a future site-specific application, a decision by another administrative agency, or conduct by a
                regulated party”); Biden v. Texas, 597 U.S. 785, 807-10 (2022) (DHS memo was final agency action).
          28

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           1    Project, 592 U.S. 414, 423 (2021). An agency must “adequately consider[] all relevant factors,” Mt.

           2    Diablo Hosp. v. Shalala, 3 F.3d 1226, 1232 (9th Cir. 1993) (citation omitted), and “articulate a

           3    satisfactory explanation for its action including a rational connection between the facts found and the

           4    choice made,” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

           5    It is arbitrary and capricious for an agency to “entirely fail[] to consider [an] important aspect of the

           6    problem.” Regents of the Univ. of Cal., 591 U.S. at 30 (citation omitted). “It is a foundational

           7    principle of administrative law that judicial review of agency action is limited to the grounds that the

           8    agency invoked when it took the action.” Id. at 20 (quotation omitted).

           9            OMB and OPM Memorandum and ARRP Approvals. OMB and OPM’s Memorandum and

          10    approvals of ARRPs are the epitome of arbitrary and capricious action, for several reasons.

          11            1. The time period provided by OMB and OPM to submit plans for massive layoffs and

          12    restructuring (a mere two weeks for the initial plan that must identify agency-wide cuts) is absurdly

          13    short and necessarily means that agencies could not engage in rational decision-making, as opposed

          14    to simply following the desires of the President and his agents. See, e.g., McKeon Decl. ¶¶7-45;

          15    Hugler Decl. ¶¶7-21; Wells Decl. ¶¶39-47 (collectively, former government officials describing

          16    complex agency deliberations and process required to plan RIFs).

          17            2. OMB and OPM’s mandate that all agencies engage in “large-scale RIFs” to achieve a

          18    “significant reduction” in personnel and the “maximum elimination of functions” (in the name of

          19    eliminating “bloat” and “waste”), is per se unreasonable and necessarily disregards important aspects

          20    of the decision at issue, including the impacts on the agencies’ ability to effectively perform their

          21    statutory functions and requirements and the resulting consequences to the public, the economy, the

          22    environment, or anything else.53 App. B at 3-4; see also infra at 14-29.

          23
                   53
                       Although the Executive Order and Memorandum briefly acknowledge agencies are subject to
          24    statutory authority, those caveats are “nothing more than window dressing.” New York v. Trump, 133
                F.4th at 69; App. A §3(c); App. B at 2. The boilerplate references to statutory authority are
          25    inherently incompatible with the directive to adhere to the Executive Order’s and Memorandum’s
                categorical RIF requirements. “Savings clauses are read in their context, and they cannot be given
          26    effect when the Court, by rescuing the [legality] of a measure, would override clear and specific
                language.” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1239 (9th Cir. 2018) (rejecting
          27    Executive Order’s caveat that agency actions be performed “consistent with law” because it
                conflicted with the order’s unambiguous requirements). Additionally, Federal Agency Defendants’
          28    extensive functions and obligations are governed by myriad statutes. The deadlines imposed do not

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           1            3. OMB and OPM’s categorical requirements that agencies engage in large-scale RIFs, in

           2    compliance with instructions to cut all programs the President (or his agents) has targeted, App. B at

           3    4; see also App. A §3(c), and using 2019 Lapse Plan staffing levels as a baseline, App. B. at 2, are

           4    irrational and unmoored from any reasonable consideration of the relevant factors. Requiring

           5    agencies to abolish all offices, programs, and operations identified by the President (or via his agents)

           6    necessarily requires agencies to ignore their complex array of statutory authority and obligations and

           7    effectively permits the President to wield power that he does not have. Lapse Plan levels are an

           8    arbitrary starting point: by definition, they do not reflect staff levels for fully functioning agencies,

           9    see supra n. 17. And using 2019 levels (the last year of the prior Trump Administration) is even

          10    more arbitrary. Those levels have nothing to do with agencies’ current needs and obligations.

          11            These actions by OMB and OPM are neither “reasonable [nor] reasonably explained.”

          12    Prometheus Radio Project, 592 U.S. at 423. Indeed, they are patently unreasonable, given the harm

          13    and chaos they are causing. See supra at 14-29. The APA does not permit a “break it now, fix it

          14    later” method of governance. Even if the Memorandum’s stated goal were within OMB/OPM’s

          15    authority (which it is not), OMB and OPM have provided no explanation, let alone a rational one, for

          16    their choice to accomplish that goal through a whirlwind, clandestine process that replaces considered

          17    agency decision-making with unqualified mandates and ignores countervailing considerations,

          18    including the repercussions that will necessarily result from abruptly abolishing vast swaths of

          19    government service and functions. See id.; League of California Cities v. FCC, 118 F.4th 995, 1014

          20    (9th Cir. 2024) (agency action is arbitrary and capricious if the agency “entirely failed to consider an

          21    important aspect of the problem, or offered an explanation that runs counter to the evidence before

          22    the agency or is so implausible that it could not be ascribed to a difference in view or the product of

          23    agency expertise”). And OMB and OPM’s categorical requirements necessarily preclude the federal

          24    agencies that are carrying out RIFs from engaging in reasoned decision-making that considers all

          25    important aspects of the decision as required by the APA. See infra at 42-45.

          26            DOGE directives. The evidence (including the President’s orders, public statements from
          27

          28    provide them anywhere near sufficient time to assess what staffing and programs are necessary to
                adequately provide statutorily required functions. See New York v. Trump, 133 F.4th at 69.
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           1    agency officials, and statements from DOGE itself) establishes that DOGE is directing agencies to

           2    cut programs and personnel by imposing mandatory targets and using DOGE teams embedded at

           3    agencies to enforce those targets. DOGE’s actions are neither reasonable nor reasonably explained.

           4    The public explanation provided by representatives of DOGE for its actions is “waste and fraud.”54

           5    But none of the cuts to agency personnel and functions demanded by DOGE have any identified

           6    connection to “waste” or “fraud.” As in other cases:

           7           [DOGE] has not even attempted to explain why a more tailored, measured, titrated
                       approach is not suitable to the task. Instead, the government simply repeats its
           8           incantation of a need to modernize the system and uncover fraud. Its method of doing
                       so is tantamount to hitting a fly with a sledgehammer.
           9

          10    AFSCME v. Soc. Sec. Admin., 2025 WL 868953, at *68 (D. Md. Mar. 20, 2025). Again, even

          11    assuming for the sake of argument that DOGE has any authority here (which it does not), what

          12    DOGE’s statements make clear is that DOGE has utterly failed to grapple with numerous important

          13    relevant aspects of the decision at hand, including the consequences that its directed cuts have for

          14    agencies’ abilities to perform proper functions and obligations, the financial implications of these

          15    ham-handed decisions, and the resulting harms to the constituents the agencies serve and the public.

          16                   c.          OPM and OMB failed to comply with notice-and-comment rulemaking

          17           The APA requires OPM rules to go through a “notice-and-comment” process before

          18    enactment, so that the public can weigh in and the agency can consider the public’s views. See Perez

          19    v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015); 5 U.S.C. §553; 5 U.S.C. §1103(b)(1), 1105 (OPM

          20    rules subject to APA). “Rule” is “defined broadly to include any ‘statement[s] of general or

          21    particular applicability and future effect’ that are designed to ‘implement, interpret, or prescribe law

          22    or policy.’” Perez, 575 U.S. at 95-96 (quoting 5 U.S.C. §551(4)). OPM and OMB’s Memorandum

          23    and their decisions “approving” ARRPs are all “rules,” because they “create[] new rights and

          24    impose[] new obligations” that federal agencies are required to follow. Hemp Indus. Ass’n v. Drug

          25    Enf’t Admin., 333 F.3d 1082, 1088 (9th Cir. 2003); see Colwell v. Dep’t of Health & Hum. Servs.,

          26    558 F.3d 1112, 1124 (9th Cir. 2009). Yet OMB and OPM indisputably failed to proceed through the

          27
                54
          28       Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112.
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           1    notice-and-comment rulemaking process before issuing the Memorandum and approvals. Those

           2    actions were therefore “without observance of procedure required by law” and invalid. 5 U.S.C

           3    §706(2)(D); Chief Prob. Officers of Cal. v. Shalala, 118 F.3d 1327, 1329 (9th Cir. 1997).

           4                4.         Federal Agency Defendants Also Violate the APA

           5           The Federal Agency Defendants named in this TRO Motion are currently or imminently

           6    implementing the ARRPs, including by terminating federal employees on a massive scale, shuttering

           7    entire agency programs, offices, and functions, and reorganizing and restructuring the remaining

           8    agency positions and functions. See Section **, supra. Those actions to implement the ARRPs are

           9    all also final agency action under the APA, because they are the “consummation of [each] agency’s

          10    decisionmaking process” to comply with the Executive Order, Memorandum, and/or DOGE

          11    directives and they determine the legal rights and obligations of, and have legal consequences for,

          12    thousands of federal employees. See New York v. Trump, 133 F.4th at 62-63, 67-68 (OMB

          13    memorandum and agency implementing action were both “final agency action” under APA).

          14           Federal Agency Defendants’ actions implementing the Workforce Executive Order are

          15    arbitrary and capricious for several reasons.

          16           1. Agencies have ceded their decision-making authority to the President and his agents at

          17    OMB, OPM, and DOGE, and thereby have defied and ignored any applicable Congressional policy

          18    and intent. See supra at 9-29.

          19           2. Adhering to the categorical objectives in the President’s and his agents’ orders necessarily

          20    precludes agencies from considering or relying on important relevant factors – including their own

          21    statutory, programmatic, and other functions and obligations; their own appropriated funds authorized

          22    by Congress; the negative impact on the federal civil servants they employ; and myriad harmful

          23    effects that the decimation of government services and functions will have on public health, national

          24    security, scientific and medical research, the economy, and the environment. See supra, 14-29. An

          25    agency’s desire to meet one goal “does not excuse the failure to address” the agency’s other relevant

          26    requirements or obligations. Nat’l Urb. League v. Ross, 977 F.3d 770, 779 (9th Cir. 2020). But the

          27    Order prevents considering or prioritizing agency functions and public impacts, and agencies

          28    therefore “entirely fail[] to consider … important aspect[s] of the problem.” Regents of the Univ. of

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           1    Cal., 591 U.S. at 30 (citation omitted).

           2           3. Targeting 2019 Lapse Plan staffing levels and mandatory program reductions are

           3    necessarily arbitrary and capricious. “An agency’s obligation to consider alternatives is well

           4    settled[.]” Su, 121 F.4th at 16-17 see also Nat’l Urb. League, 977 F.3d at 779. But the pre-ordained

           5    parameters prevent any reasoned assessment or pursuit of alternatives.

           6           4. Federal Agency Defendants’ actions in abolishing fully funded agency offices, programs,

           7    and functions (and their corresponding workforces) that the agencies previously implemented and

           8    deemed necessary and important to performing the agencies’ purposes are an abrupt reversal in

           9    position. Agencies that reverse established policies are required to “take[] into account” the “serious

          10    reliance interests” in such policies and “weigh any such interests against competing policy concerns”

          11    before acting. Regents of the Univ. of Cal., 591 U.S. at 30, 32 (quoting Encino Motorcars, LLC v.

          12    Navarro, 579 U.S. 211, 221-22 (2016)). “It would be arbitrary and capricious to ignore such

          13    matters.” Id. (quotation omitted). Here, the directives of the President and his agents prevent any

          14    consideration of or accommodation for reliance interests.

          15           5. Federal Agency Defendants’ elimination of longstanding programs and the workforces

          16    needed to carry out those programs is also insufficiently explained. An agency that reverses its

          17    position is required to “display awareness that it is changing position” and “show that there are good

          18    reasons for the new policy.” Encino Motorcars, 579 U.S. at 221 (citation omitted); League of

          19    California Cities, 118 F.4th at 1014. But Federal Agency Defendants have provided no “good

          20    reasons” for their new position that programs and workforces that have existed for decades are no

          21    longer important to performing the agencies’ functions. Indeed, by refusing to make ARRPs public,

          22    these agencies have failed to provide any reasoned explanation for their actions. They are not entitled

          23    to any presumption of regularity for their irrational and unexplained about-face.

          24           6. The short deadlines in which Federal Agency Defendants were required to make RIF

          25    determinations prevented any meaningful consideration of relevant factors, and the oversight

          26    authority exercised by OPM and OMB would override attempts to depart from the categorical
          27    requirements based on other relevant considerations. See Nat’l Council of Nonprofits, 2025 WL

          28    597959, at *7 (rejecting contention that “countless federal agencies ... suddenly began exercising

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           1    their own discretion to suspend funding across the board at the exact same time” because it requires

           2    “unfathomable” “coincidental assumptions” and “contradicts the record”); New York v. Trump, 133

           3    F.4th at 68 (affirming conclusion that “any suggest[ion] that the challenged federal funding freezes

           4    were purely the result of independent agency decisions was ‘disingenuous’”).55 “A court is not

           5    required to exhibit a naiveté from which ordinary citizens are free.” New York, 133 F.4th at 68.

           6           For all of those reasons, Federal Agency Defendants’ actions carrying out the President and

           7    his agents’ orders are neither reasonable nor reasonably explained. Courts have enjoined similar

           8    arbitrary and capricious conduct by agencies blindly following the President’s unlawful orders.56

           9                5.         This Court Has Jurisdiction to Hear These Claims

          10                           a.      All Plaintiffs Have Article III Standing

          11           While all Plaintiffs have standing, this Court can proceed upon finding that even a single

          12    plaintiff does. See Townley v. Miller, 722 F.3d 1128, 1135 (9th Cir. 2013).

          13           The union Plaintiffs have standing on behalf of their members. See Fellowship of Christian

          14    Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 681 (9th Cir. 2023) (associational

          15    standing standard). Union Plaintiffs’ members include many federal employees who have suffered,

          16    or imminently will suffer, termination due to the RIFs, and so have lost or will lose salaries, health

          17    insurance, and other benefits, and will face moving expenses, new job searches, and in some cases

          18

          19    55
                   Courts have rejected this Administration’s attempts to blame agencies for action the Administration
                required them to take. See AFGE v. OPM, N.D. Cal. Case No. 25-cv-01780-WHA, ECF Nos. 44, 45,
          20    120, 132 (OPM, not federal agencies, ordered terminations of probationary employees); Supra at **.
                56
                   See Widakuswara v. Lake, 2025 WL 1166400, at *14 (D.D.C. Apr. 22, 2025) (“[D]efendants had
          21    no method or approach … that this Court can discern. They took immediate and drastic action to
                slash USAGM, without considering its statutorily or constitutionally required functions … and
          22    without regard to the harm inflicted on employees, contractors, journalists, and media consumers
                around the world. It is hard to fathom a more straightforward display of arbitrary and capricious
          23    actions[.]”); New York, 2025 WL 715621, at *8-9 (agencies’ funding freezes pursuant to executive
                order arbitrary and capricious because the record “does not suggest that agencies made individualized
          24    assessments … before making the determination to blanketly pause … funds”); New York, 133 F.4th
                at 70 (“categorical” funding freezes likely arbitrary and capricious:“given their breadth and
          25    immediacy, [they] were likely not supported by rational reasons and [the agencies] failed to consider
                meaningfully important aspects of the problem”); Nat’l Council of Nonprofits, 2025 WL 368852, at
          26    *11 (“Plaintiffs allege that OMB’s funding freeze … failed to consider the disastrous effects it would
                have. Defendants … insist that … it is done “to ensure compliance with the President’s priorities.’
          27    But furthering the President’s wishes cannot be a blank check for OMB to do as it pleases. The APA
                requires a rational connection between the facts, the agency’s rationale, and the ultimate decision.”).
          28

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           1    severe emotional distress.57 The members who remain employed will face overwork and worsened

           2    conditions.58 And AFSCME and SEIU also represent state, county, city, and private sector

           3    employees who will suffer direct injuries from implementation of the ARRPs. Supra at 13. The

           4    union Plaintiffs also have standing to sue in their own right because the government’s “behavior has

           5    frustrated [their] mission and caused [them] to divert resources in response to that frustration of

           6    purpose.” Fellowship of Christian Athletes, 82 F.4th at 681 (citation omitted). The RIFs “directly

           7    affect[] and interfere[] with [the unions’] core business activities,” which include representing and

           8    providing counseling and assistance to all federal employees in the unions’ bargaining units. Food &

           9    Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024).59

          10           The non-profit organization Plaintiffs similarly have standing to sue on behalf of their

          11    members and in their own right. The accompanying declarations demonstrate that their members

          12    have been and will be harmed by the loss of government services resulting from Defendants’

          13    elimination of agency staff, functions, and programs.60 That harm includes, for example, public

          14    health official members of APHA who are left without critical CDC support; AGU scientist members

          15    who face the loss of access to critical data and research from numerous federal agencies; retiree

          16    members of ARA facing barriers getting through to the SSA; small business members of MSA who

          17    face delays in obtaining loans and loan guarantees and the loss of support; and members of veterans

          18    groups facing delays and detriment to services. Benjamin Decl. ¶¶27-31 (APHA); Shultz Decl. ¶¶5,

          19    21-27 (AGU); Fiesta Decl. ¶¶5-9, 20-23 (ARA); Phetteplace Decl. ¶¶2-3, 6, 9-15 (MSA); Eaton Decl.

          20

          21    57
                    See App. C; Kelley Decl. (AFGE) ¶¶2-3, 22, 24, 25; Blake Decl ¶¶9-45 (AFSCME); Cochran Decl.
          22    ¶21; Norman Decl. ¶15 (AFGE); Howell Decl. ¶¶15, 23 (AFGE); Wilson Decl. ¶¶13, 16 (AFGE);
                Turner-Nichols Decl. ¶¶10, 12 (AFGE).
                58
          23       See, e.g., Fabris Decl. ¶¶28-33 (AFGE); Wilson Decl. ¶¶12-14 (AFGE); Hunter Decl. ¶37 (AFGE);
                Bailey Decl. ¶¶20, 22 (SEIU).
          24    59
                   Kelley Decl. ¶¶10-15, 16-21; Levin Decl. ¶20; Dreyfus Decl. ¶17; Gustafsson Decl. ¶16; Fabris Decl.
                ¶33; Niemeier-Walsh Decl. ¶32; Soldner Decl. ¶25; Bobbitt Decl. ¶37; Braden Decl. ¶21; Bachelder
          25    Decl. ¶21; Norman Decl. ¶18; Wilson Decl. ¶17; Daly Decl. ¶32. Union Plaintiffs are also harmed
                because they will lose members and funding from lack of dues. Kelley Decl. ¶¶16-21; Gamble Decl.
          26    ¶17; Dreyfus Decl. ¶¶18-20; Gustafsson Decl. ¶19; Levin Decl. ¶23; Fabris Decl. ¶34; Niemeier-Walsh
                Decl. ¶33; Soldner Decl. ¶¶23-24; Bobbitt Decl. ¶38; Braden Decl. ¶22; Bachelder Decl. ¶24; Daly
          27    Decl. ¶34; Norman Decl. ¶¶20-21; Turner-Nichols Decl. ¶13; Bailey Decl. ¶¶22, 24.
                60
          28       See, e.g., Olson Decl. ¶¶16, 26, 28-29, 36-39 (CTR); Shah Decl. ¶14-22 (Common Defense); Molvar
                Decl. ¶¶39, 40 (WWP); Davis Decl. ¶¶30, 32-41 (NOFA); Neubacher Decl. ¶10 (CPANP).
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           1    ¶¶2, 9 (VV). The organizations are also suffering organizational injury from the RIFs and

           2    reorganization.61 AGU also has federal employee members at risk of job loss and increased workload

           3    burdens due to RIFs. Shultz Decl. ¶¶5-6, 12, 13-20. These declarations show actual harm as well as

           4    a “substantial risk” of additional harm, either of which is sufficient. See Robins v. Spokeo, 867 F.3d

           5    1108, 1117-18 (9th Cir. 2017); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (future

           6    injury suffices “if … there is a substantial risk that the harm will occur”); San Diego Cnty. Credit

           7    Union v. Citizens Equity-First Credit Union, 65 F.4th 1012, 1025 (9th Cir. 2023) (same).62

           8            The local government Plaintiffs have standing to “protect [their] own proprietary interests…

           9    as varied as a municipality’s responsibilities, powers, and assets.” City of Sausalito v. O’Neill, 386

          10    F.3d 1186, 1197-98 (9th Cir. 2004). These Plaintiffs are incurring current and imminent harm cuts to

          11    the federal staff services that they rely on, including, for example, USDA screening of dangerous

          12    products at ports of entry, safety-essential weather forecasts from NOAA, irreplaceable CDC

          13    laboratory resources and support for controlling disease outbreaks, and HUD resources to support

          14    housing assistance and prevent instability—any one of which could present life-threatening and other

          15    serious risks to residents, and many of which will impose serious additional costs. See supra, 14-29.

          16            Finally, Plaintiffs have standing for their procedural claims, because they would have

          17    submitted comments had Defendants properly engaged in notice-and-comment rulemaking.63

          18                           b.     No Plaintiff is Required to Channel These Claims

          19            This Court has subject matter jurisdiction to hear these federal claims pursuant to 28 U.S.C.

          20
                   61
                       See Shultz Decl. ¶¶9, 26, 28-29 (AGU; lost revenue and advancement of science that is AGU’s
          21    mission, due to cuts at USDA, NOAA, DOE, EPA, NSF), ¶30 (resource diversion, pivoting away from
                priorities); Benjamin ¶33 (APHA: loss of data collection tools, scientific research), 37-38 (diversion of
          22    resources to fill gaps in public health advice and information), 41 (revenue loss); Olson Decl. ¶¶40-43
                (CTR; resource diversion, overburdened staff); Shah Decl. ¶23 (Common Defense; resource diversion,
          23    harming ability to provide services); Davis Decl. ¶43 (same); Eaton Decl. ¶11 (VoteVets; same, plus
                increased operating costs); Molvar Decl. ¶¶6-8, 10-22 (WWP; lost data and research it relies on for its
          24    conservation mission); Neubacher Decl. ¶17 (CPANP); Fiesta Decl. ¶10 (ARA).
                    62
                       This case is nothing like Clapper v. Amnesty International USA, 568 U.S. 398 (2013), in which
          25    the plaintiffs’ theory of future injury and causation relied on a “highly attenuated chain of
                possibilities” that required five separate and “speculative” events by independent actors to occur
          26    before the challenged statute would even affect the plaintiffs.
                    63
          27           See, e.g., Howell Decl. ¶25 (AFGE); Schelling Soldner Decl. ¶27 (AFGE); Jacobs Decl. ¶37
                (AFGE); Hunter Decl. ¶40 (AFGE); Soriano Decl. ¶24 (AFGE); Couture Decl. ¶25 (AFGE); Shah
          28    Decl. ¶27 (Common Defense); Fiesta Decl. ¶24 (ARA); Neubacher Decl. ¶18 (CPANP); Leach Decl.
                ¶54 (Baltimore); Williams Decl. ¶47 (Santa Clara).
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           1    §1331. Defendants may argue, as the Administration has elsewhere, that this Court lacks jurisdiction

           2    on the theory that Congress impliedly “channeled” these claims into an administrative adjudicatory

           3    scheme under the CSRA (via the Merit Systems Protection Board, “MSPB”) or the Federal Service

           4    Labor-Management Relations Statute (“FSLMRS”) (via the Federal Labor Relations Authority,

           5    “FLRA”), before they may be heard in federal court, under the doctrine established by Thunder Basin

           6    Coal Co. v. Reich, 510 U.S. 200, 207-13 (1994). Plaintiffs are likely to succeed, because Congress

           7    that created the civil service protections set forth in the CSRA and FSLMRS did not silently foreclose

           8    judicial review when the Administration engages in a wholesale dismantling of federal agencies.

           9            i. As a threshold matter, the administrative agencies at issue were never designed to handle

          10    claims involving (1) the President, (2) OPM, (3) OMB, or (4) DOGE, or (5) agency action

          11    effectuating government-wide Presidential orders, whether under the APA or ultra vires doctrine.

          12    The MSPB hears employee appeals from specific adverse personnel actions by employing agencies. 5

          13    U.S.C. §7701; id. §7703. The FLRA hears bargaining unit-specific matters that expressly exclude

          14    government-wide action. NTEU and Dep’t of Treasury, IRS, 60 F.L.R.A. 783, 783 (2005) (FLRA

          15    lacks jurisdiction to consider challenges to government-wide rules); see also 5 U.S.C. §7117(a)(1)

          16    (duty to bargain excludes “Government-wide rule or regulation”). Implied doctrines must, of course,

          17    remain grounded in and faithful to text. E.g., Loper Bright Enterprises v. Raimondo, 603 U.S. 369,

          18    391-92 (2024); see also Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 383 (2012) (“[J]urisdiction

          19    conferred by 28 U.S.C. §1331 should hold firm against ‘mere implication flowing from subsequent

          20    legislation.’”).64 There is no basis anywhere in text to conclude that the types of claims Plaintiffs

          21    assert were ever intended for these agencies. See, e.g., Elgin v. Dep’t of the Treasury, 567 U.S. 1, 10

          22    (2012) (noting that Congress created an administrative scheme for some claims by “covered

          23    employees appealing covered agency actions” (emphasis added)). Thus, recent decisions have agreed

          24    that government-wide action, or agency dismantling, are not channeled. E.g., AFGE, 2025 WL

          25    900057, at *2; see also Widakuswara v. Lake, 2025 WL 1166400, at *11 (D.D.C. Apr. 22, 2025).

          26            ii. Union Plaintiffs. As in the recent AFGE v. OPM case, and other union cases challenging
          27
                   64
          28          See also Axon Enters., Inc. v. FTC, 598 U.S. 175, 217 (2023). (Gorsuch, J., concurring)
                (“Respectfully, this Court should be done with the Thunder Basin project. I hope it will be soon.”).
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           1    the dismantling of agencies, these are not the type of claims that are properly sent to the MSPB or the

           2    FLRA. OPM, supra; Widakuswara, supra. An early challenge to a variety of actions by the

           3    President (including the Workforce Executive Order) brought by other unions that asserted limited

           4    claims based on impact on bargaining rights and their own financial harm was held to raise labor

           5    disputes that should be heard by the FLRA in the first instance. NTEU v. Trump., 2025 WL 561080,

           6    at *1 (D.D.C. Feb. 20, 2025).65 Plaintiffs bring entirely different claims here. And the Ninth Circuit

           7    has never channeled any case other than an employee’s individual claim against their employing

           8    agency.66 It certainly has never channeled an ultra vires or APA claim challenging government-wide

           9    orders of any sort, nor any claim against the President, OPM, OMB, or DOGE. See also Feds for

          10    Med. Freedom v. Biden, 63 F.4th 366 (5th Cir.) (en banc), judgment vac’d on other grounds, 144 S.

          11    Ct. 480 (2023) (rejecting channeling of challenge to Presidential mandate).

          12            iii. Non-Union Organizations and Local Government Plaintiffs. Organizations and

          13    government entities are not silently barred from bringing systemic challenges to unlawful

          14    government acts in federal court. See AFGE v. OPM., 2025 WL 914823, at *1 (9th Cir. Mar. 26,

          15    2025) (“Nor have appellants demonstrated—under existing authority—that they are likely to establish

          16    that Congress has channeled the organizational plaintiffs’ claims to administrative agencies.”);67

          17    Maryland v. USDA, 2025 WL 973159, at *15 (D. Md. Apr. 1, 2025) (states’ claims not channeled).

          18            For purposes of this TRO motion, under governing Ninth Circuit law, Plaintiffs have more

          19    than a likely chance of success of defeating any argument that these claims are “channeled.”

          20            B.     Defendants Are Causing, and Will Continue to Cause, Irreparable Harm

          21            First, “the deprivation of constitutional rights ‘unquestionably constitutes irreparable injury.’”

          22    Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (citation omitted); Rodriguez v. Robbins,

          23
                   65
          24           That case contended that agencies were going to violate RIF regulations regarding employee
                retention requirements, which that court believed could be heard by the FLRA. Id.
          25        66
                       E.g., Veit v. Heckler, 746 F.2d 508, 510-11 (9th Cir. 1984) (federal employee’s claims against
                his employing agency challenging a personnel action).
          26        67
                       The Supreme Court’s stay in the probationary employees case did not endorse the
          27    Administration’s channeling arguments. OPM v. AFGE, 2025 WL 1035208, at *1 (U.S. Apr. 8,
                2025). Alsup ultimately rejected these argument, with respect to unions, non-profits, and the State of
          28    Washington. AFGE v. OPM, Case 2025 WL 900057, at *2 (N.D. Cal. Mar. 24, 2025); 2025 WL
                660053, at *8 (N.D. Cal. Feb. 28, 2025); (ECF No. 88, Order Granting Leave to Amend).
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           1    715 F.3d 1127, 1144-45 (9th Cir. 2013). Where executive action causes constitutional injuries,

           2    injunctive relief is appropriate. See Washington v. Trump, 847 F.3d 1151, 1169 (9th Cir. 2017).

           3    These principles apply to structural separation of powers violations. Cnty. of Santa Clara v. Trump,

           4    250 F.Supp.3d 497, 537-38 (N.D. Cal. 2017). Second, the union and other Plaintiffs’ federal

           5    employee members who have been or will be terminated face irreparable injury from losing their

           6    wages and health benefits for themselves and their families and in many cases needing to relocate.

           7    See supra at 14; Golden Gate Rest. Ass’n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1126 (9th

           8    Cir. 2008) (loss of health coverage). Damages are not available in APA cases, making this monetary

           9    harm irreparable. See Pangea Legal Servs. v. U.S. Dep’t of Homeland Security, 512 F.Supp.3d 966,

          10    976 (N.D. Cal. 2021); E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 984 (9th Cir. 2020).68

          11           Third, the non-profit organization Plaintiffs’ members, and SEIU and AFSCME’s non-federal

          12    members, face irreparable injury from the disruption of critical government services, including high

          13    risks of environmental degradation, impairment of scientific research, risks to public health,

          14    nonenforcement of safety and labor standards, and lack of timely access to government benefits. See

          15    League of Wilderness Defs./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 764

          16    (9th Cir. 2014) (“[E]nvironmental injury, by its nature, … is … irreparable.”) (citation omitted);

          17    Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983) (loss of government benefits); supra, 14-29.

          18    Fourth, the local government Plaintiffs face irreparable harm from the loss of federal services,

          19    information, and support, without which they cannot effectively provide government services and

          20    protect their populations, and which will require substantial resource diversion and threaten the

          21    welfare of their citizens. See supra at 14-29. Fifth, the union and other non-profit organization

          22    Plaintiffs are suffering irreparable organizational injury, because Defendants’ actions are interfering

          23    with their organizational missions and forcing unexpected and immediate diversion of substantial

          24    resources. See supra at 14-29. Finally, the lack of public rulemaking injured Plaintiffs who would

          25    have participated. See supra at n.63; NTEU v. Newman, 768 F.Supp. 8, 10 (D.D.C. 1991)

          26
          27
                68
          28      Those who remain employed will have more work, see supra at 13, in federal buildings that no longer
                can guarantee healthful and safe conditions, see Fabris Decl. ¶¶28-33 (GSA).
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           1           C.      The Balance of Equities and Public Interest Weigh in Plaintiffs’ Favor

           2           The equities and public interest, which merge when the government is a party, Wolford v.

           3    Lopez, 116 F.4th 959, 976 (9th Cir. 2024), strongly favor Plaintiffs. Preserving constitutional and

           4    statutory rights “is always in the public interest.” Melendres, 695 F.3d at 1002; see also NTEU v.

           5    U.S. Dep’t of Treasury, 838 F. Supp. 631, 640 (D.D.C. 1993); Clarke v. Office of Fed. Hous. Enter.

           6    Oversight, 355 F.Supp.2d 56, 66 (D.D.C. 2004). The severe threats to the public presented by

           7    Defendants’ actions necessitate a temporary pause to protect the status quo. Supra at 14-29. By

           8    contrast, the government will suffer no harm from halting employee terminations and reorganizing,

           9    and will function (indeed function better) if the status quo is maintained.

          10    II.    Scope of the Order: Require an Immediate Halt to Approvals and the ARRPs

          11           Plaintiffs request that the Court temporarily restrain and enjoin OMB, OPM, DOGE, and the

          12    Federal Agency Defendants from any further implementation or enforcement of Executive Order

          13    14210 or the OMB and OPM Memorandum, including any further approvals of ARRPs, as set forth

          14    in the accompanying Proposed Order. This temporary relief is appropriate to maintain the status quo.

          15    See Fellowship of Christian Athletes, 82 F.4th at 684-85; Goto.com, Inc. v. Walt Disney Co., 202

          16    F.3d 1199, 1210 (9th Cir. 2000). Pausing enforcement and implementation of the challenged

          17    Administration orders will halt further RIFs and reorganizations, and thus will help maintain the last

          18    “uncontested status” between the parties that preceded this case. Goto.com, Inc., 202 F.3d at 1210.

          19    The scope of the relief is appropriate because Plaintiffs have demonstrated that they are suffering

          20    irreparable injury from the actions of each of the Federal Agency Defendants named in this motion.

          21    Plaintiffs further request that the Court order that OMB and OPM immediately provide to the Court

          22    and to Plaintiffs the Federal Defendant Agency ARRPs, which Defendants have to date kept secret.

          23    There is good cause for this narrow, expedited discovery to assist the Court in evaluating the

          24    illegality of these plans. See Fed. R. Civ. P. 26(d); Eurofins Elec. & Elec. Testing NA, LLC v. SGS N.

          25    Am. Inc., No. 5:24-CV-06340-EJD, 2024 WL 4453315, at *1 (N.D. Cal. Oct. 8, 2024) (good cause

          26    for expedited discovery to assist court evaluating preliminary injunction).
          27                                                CONCLUSION

          28           For the foregoing reasons, Plaintiffs respectfully request this Court grant this Motion and

                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI                    50
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           1    enter the accompanying proposed temporary restraining order and/or an order to show cause.

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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI                51
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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI             52
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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI             53
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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI              54
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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI             55
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                MEM. SUPP. MOT. FOR TEMPORARY RESTRAINING ORDER, NO. 3:25-cv-03698-SI               56
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                                                   Title 3—                                            Executive Order 14210 of February 11, 2025

                                                   The President                                       Implementing the President’s ‘‘Department of Government Ef-
                                                                                                       ficiency’’ Workforce Optimization Initiative

                                                                                                       By the authority vested in me as President by the Constitution and the
                                                                                                       laws of the United States of America, it is hereby ordered:
                                                                                                       Section 1. Purpose. To restore accountability to the American public, this
                                                                                                       order commences a critical transformation of the Federal bureaucracy. By
                                                                                                       eliminating waste, bloat, and insularity, my Administration will empower
                                                                                                       American families, workers, taxpayers, and our system of Government itself.
                                                                                                       Sec. 2. Definitions. (a) ‘‘Agency’’ has the meaning given to it in section
                                                                                                       3502 of title 44, United States Code, except that such term does not include
                                                                                                       the Executive Office of the President or any components thereof.
                                                                                                         (b) ‘‘Agency Head’’ means the highest-ranking official of an agency, such
                                                                                                       as the Secretary, Administrator, Chairman, or Director, unless otherwise
                                                                                                       specified in this order.
                                                                                                          (c) ‘‘DOGE Team Lead’’ means the leader of the Department of Government
                                                                                                       Efficiency (DOGE) Team at each agency, as defined in Executive Order
                                                                                                       14158 of January 20, 2025 (Establishing and Implementing the President’s
                                                                                                       ‘‘Department of Government Efficiency’’).
                                                                                                         (d) ‘‘Employee’’ has the meaning given to it by section 2105 of title
                                                                                                       5, United States Code, and includes individuals who serve in the executive
                                                                                                       branch and who qualify as employees under that section for any purpose.
                                                                                                          (e) ‘‘Immigration enforcement’’ means the investigation, enforcement, or
                                                                                                       assisting in the investigation or enforcement of Federal immigration law,
                                                                                                       including with respect to Federal immigration law that penalizes a person’s
                                                                                                       presence in, entry, or reentry to, or employment in, the United States,
                                                                                                       but does not include assisting individuals in applying for immigration bene-
                                                                                                       fits or efforts to prevent enforcement of immigration law or to prevent
                                                                                                       deportation or removal from the United States.
                                                                                                          (f) ‘‘Law enforcement’’ means:
                                                                                                          (i) engagement in or supervision of the prevention, detection, investigation,
                                                                                                          or prosecution of, or the incarceration of any person for, any violation
                                                                                                          of law; or
                                                                                                         (ii) the protection of Federal, State, local, or foreign government officials
                                                                                                         against threats to personal safety.
                                                                                                         (g) ‘‘Temporary employee’’ has the meaning given to it in 5 C.F.R. part
                                                                                                       316.
                                                                                                          (h) ‘‘Reemployed annuitant’’ has the meaning given to it in 5 C.F.R.
                                                                                                       part 837.
                                                                                                       Sec. 3. Reforming the Federal Workforce to Maximize Efficiency and Produc-
                                                                                                       tivity. (a) Hiring Ratio. Pursuant to the Presidential Memorandum of January
                                                                                                       20, 2025 (Hiring Freeze), the Director of the Office of Management and
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                                                                                                       Budget shall submit a plan to reduce the size of the Federal Government’s
                                                                                                       workforce through efficiency improvements and attrition (Plan). The Plan
                                                                                                       shall require that each agency hire no more than one employee for every
                                                                                                       four employees that depart, consistent with the plan and any applicable
                                                                                                       exemptions and details provided for in the Plan. This order does not affect
                                                                                                       the standing freeze on hiring as applied to the Internal Revenue Service.
                                                                                                       This ratio shall not apply to functions related to public safety, immigration


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                                                                                                       enforcement, or law enforcement. Agency Heads shall also adhere to the
                                                                                                       Federal Hiring Plan that will be promulgated pursuant to Executive Order
                                                                                                       14170 of January 20, 2025 (Reforming the Federal Hiring Process and Restor-
                                                                                                       ing Merit to Government Service).
                                                                                                         (b) Hiring Approval. Each Agency Head shall develop a data-driven plan,
                                                                                                       in consultation with its DOGE Team Lead, to ensure new career appointment
                                                                                                       hires are in highest-need areas.
                                                                                                         (i) This hiring plan shall include that new career appointment hiring
                                                                                                         decisions shall be made in consultation with the agency’s DOGE Team
                                                                                                         Lead, consistent with applicable law.
                                                                                                          (ii) The agency shall not fill any vacancies for career appointments that
                                                                                                          the DOGE Team Lead assesses should not be filled, unless the Agency
                                                                                                          Head determines the positions should be filled.
                                                                                                          (iii) Each DOGE Team Lead shall provide the United States DOGE Service
                                                                                                          (USDS) Administrator with a monthly hiring report for the agency.
                                                                                                          (c) Reductions in Force. Agency Heads shall promptly undertake prepara-
                                                                                                       tions to initiate large-scale reductions in force (RIFs), consistent with applica-
                                                                                                       ble law, and to separate from Federal service temporary employees and
                                                                                                       reemployed annuitants working in areas that will likely be subject to the
                                                                                                       RIFs. All offices that perform functions not mandated by statute or other
                                                                                                       law shall be prioritized in the RIFs, including all agency diversity, equity,
                                                                                                       and inclusion initiatives; all agency initiatives, components, or operations
                                                                                                       that my Administration suspends or closes; and all components and employ-
                                                                                                       ees performing functions not mandated by statute or other law who are
                                                                                                       not typically designated as essential during a lapse in appropriations as
                                                                                                       provided in the Agency Contingency Plans on the Office of Management
                                                                                                       and Budget website. This subsection shall not apply to functions related
                                                                                                       to public safety, immigration enforcement, or law enforcement.
                                                                                                         (d) Rulemaking. Within 30 days of the date of this order, the Director
                                                                                                       of the Office of Personnel Management (OPM) shall initiate a rulemaking
                                                                                                       that proposes to revise 5 C.F.R. 731.202(b) to include additional suitability
                                                                                                       criteria, including:
                                                                                                         (i) failure to comply with generally applicable legal obligations, including
                                                                                                         timely filing of tax returns;
                                                                                                          (ii) failure to comply with any provision that would preclude regular
                                                                                                          Federal service, including citizenship requirements;
                                                                                                          (iii) refusal to certify compliance with any applicable nondisclosure obliga-
                                                                                                          tions, consistent with 5 U.S.C. 2302(b)(13), and failure to adhere to those
                                                                                                          compliance obligations in the course of Federal employment; and
                                                                                                         (iv) theft or misuse of Government resources and equipment, or negligent
                                                                                                         loss of material Government resources and equipment.
                                                                                                         (e) Developing Agency Reorganization Plans. Within 30 days of the date
                                                                                                       of this order, Agency Heads shall submit to the Director of the Office
                                                                                                       of Management and Budget a report that identifies any statutes that establish
                                                                                                       the agency, or subcomponents of the agency, as statutorily required entities.
                                                                                                       The report shall discuss whether the agency or any of its subcomponents
                                                                                                       should be eliminated or consolidated.
                                                                                                         (f) Within 240 days of the date of this order, the USDS Administrator
                                                                                                       shall submit a report to the President regarding implementation of this
                                                                                                       order, including a recommendation as to whether any of its provisions
                                                                                                       should be extended, modified, or terminated.
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                                                                                                       Sec. 4. Exclusions. (a) This order does not apply to military personnel.
                                                                                                         (b) Agency Heads may exempt from this order any position they deem
                                                                                                       necessary to meet national security, homeland security, or public safety
                                                                                                       responsibilities.
                                                                                                         (c) The Director of OPM may grant exemptions from this order where
                                                                                                       those exemptions are otherwise necessary and shall assist in promoting
                                                                                                       workforce reduction.


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                                                                                                       Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                                                                                       to impair or otherwise affect:
                                                                                                         (i) the authority granted by law to an executive department, agency, or
                                                                                                         the head thereof; or
                                                                                                         (ii) the functions of the Director of the Office of Management and Budget
                                                                                                         relating to budgetary, administrative, or legislative proposals.
                                                                                                         (b) This order shall be implemented consistent with applicable law and
                                                                                                       subject to the availability of appropriations.
                                                                                                         (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                       substantive or procedural, enforceable at law or in equity by any party
                                                                                                       against the United States, its departments, agencies, or entities, its officers,
                                                                                                       employees, or agents, or any other person.




                                                                                                       THE WHITE HOUSE,
                                                                                                       February 11, 2025.


                                                   [FR Doc. 2025–02762
                                                   Filed 2–13–25; 11:15 am]
                                                   Billing code 3395–F4–P
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                             U.S. Office of                                   U.S. Office of
                             Management and Budget                    Personnel Management


                                                MEMORANDUM

             TO:                     Heads of Executive Departments and Agencies
             FROM:                   Russell T. Vought, Director, Office of Management and Budget;
                                     Charles Ezell, Acting Director, Office of Personnel Management.

             DATE:                   February 26, 2025
             RE:                     Guidance on Agency RIF and Reorganization Plans Requested by
                                     Implementing The President’s “Department of Government
                                     Efficiency” Workforce Optimization Initiative


                   I.      Background
                   The federal government is costly, inefficient, and deeply in debt. At the same time, it is not
            producing results for the American public. Instead, tax dollars are being siphoned off to fund
            unproductive and unnecessary programs that benefit radical interest groups while hurting hard-
            working American citizens.

                    The American people registered their verdict on the bloated, corrupt federal bureaucracy
            on November 5, 2024 by voting for President Trump and his promises to sweepingly reform the
            federal government.

                   On February 11, 2025, President Trump’s Executive Order Implementing The President’s
            “Department of Government Efficiency” Workforce Optimization Initiative (Workforce
            Optimization) “commence[d] a critical transformation of the Federal bureaucracy.” It directed
            agencies to “eliminat[e] waste, bloat, and insularity” in order to “empower American families,
            workers, taxpayers, and our system of Government itself.”

                     President Trump required that “Agency Heads shall promptly undertake preparations to
            initiate large-scale reductions in force (RIFs), consistent with applicable law.” President Trump
            also directed that, no later than March 13, 2025, agencies develop Agency Reorganization Plans.

                 The U.S. Office of Management and Budget (“OMB”) and the U.S. Office of Personnel
            Management (“OPM”) now submit guidance on these Agency RIF and Reorganization Plans
            (“ARRP”), along with the instruction that such plans be submitted to OMB and OPM.

                   II.     Principles to Inform ARRPs

                   ARRPs should seek to achieve the following:

                   1. Better service for the American people;




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                   2. Increased productivity;

                   3. A significant reduction in the number of full-time equivalent (FTE) positions by
                      eliminating positions that are not required;

                   4. A reduced real property footprint; and

                   5. Reduced budget topline.

                   Pursuant to the President’s direction, agencies should focus on the maximum elimination
            of functions that are not statutorily mandated while driving the highest-quality, most efficient
            delivery of their statutorily-required functions.

                   Agencies should also seek to consolidate areas of the agency organization chart that are
            duplicative; consolidate management layers where unnecessary layers exist; seek reductions in
            components and positions that are non-critical; implement technological solutions that automate
            routine tasks while enabling staff to focus on higher-value activities; close and/or consolidate
            regional field offices to the extent consistent with efficient service delivery; and maximally reduce
            the use of outside consultants and contractors. When taking these actions, agencies should align
            closures and/or relocation of bureaus and offices with agency return-to-office actions to avoid
            multiple relocation benefit costs for individual employees.

                   Agencies should review their statutory authority and ensure that their plans and actions are
            consistent with such authority.

                   Agency heads should collaborate with their Department of Government Efficiency
            (“DOGE”) team leads within the agency in developing competitive areas for ARRPs. In addition,
            the agency should specifically identify competitive areas that include positions not typically
            designated as essential during a lapse in appropriations. When making this determination, agencies
            should refer to the functions that are excepted from the Antideficiency Act (ADA) in the Agency
            Contingency Plans submitted to OMB in 2019 as the starting point for making this determination.

                   III.    Available Tools

                    In their ARRPs, agencies should employ all available tools to effectuate the President’s
            directive for a more effective and efficient government and describe how they will use each. Such
            tools include:

               1. Continuing to comply with the hiring freeze outlined in the January 20, 2025 Presidential
                  Memorandum Hiring Freeze or (with approval of OPM and OMB) implementing the
                  general principle that, subject to appropriate exemptions, no more than one employee
                  should be hired for every four employees that depart;

               2. Establishing internal processes that ensure agency leadership has visibility and/or direct
                  sign-off on all potential job offers and candidates prior to extending offers;



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               3. Eliminating non-statutorily mandated functions through RIFs (Appendix 1 contains a
                  sample timeline);

               4. Removing underperforming employees or employees engaged in misconduct, and
                  continuing to evaluate probationary employees;

               5. Reducing headcount through attrition and allowing term or temporary positions to expire
                  without renewal;

               6. Separating reemployed annuitants in areas likely subject to RIFs; and

               7. Renegotiating provisions of collective bargaining agreements (CBAs) that would inhibit
                  enhanced government efficiency and employee accountability.

                    ARRPs should also list the competitive areas for large-scale reductions in force, the RIF
            effective dates (which may be a date prior to when the plan is submitted), the expected conclusion
            of the RIFs, the number of FTEs reduced, and additional impact of RIFs such as cancellation of
            related contracts, leases or overhead.

                   Agencies should also closely consider changes to regulations and agency policies,
            including changes that must be pursued through notice-and-comment rulemaking, that would lead
            to the reduction or elimination of agency subcomponents or speed up the implementation of
            ARRPs.

                   IV.     Phase 1 ARRPs

                    Each agency will submit a Phase 1 ARRPs to OMB and OPM for review and approval no
            later than March 13, 2025. Phase 1 ARRPs shall focus on initial agency cuts and reductions.
            Each Phase 1 ARRP should identify:

               1. A list of agency subcomponents or offices that provide direct services to citizens. Such
                  subcomponents or offices should be included in ARRPs to improve services to citizens
                  while eliminating costs and reducing the size of the federal government. But for service
                  delivery subcomponents or offices, implementation shall not begin until certified by OMB
                  and OPM as resulting in a positive effect on the delivery of such services.

               2. Any statutes that establish the agency, or subcomponents of the agency, as statutorily
                  required entities. Agency leadership must confirm statutes have not been interpreted in a
                  way that expands requirements beyond what the statute actually requires. Instead, statutes
                  should be interpreted to cover only what functions they explicitly require.

               3. All agency components and employees performing functions not mandated by statute or
                  regulation who are not typically designated as essential during a lapse in appropriations
                  (because the functions performed by such employees do not fall under an exception to the
                  ADA) using the Agency Contingency Plans submitted to OMB in 2019 referenced above.



                                                            3

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               4. Whether the agency or any of its subcomponents should be eliminated or consolidated; and
                  which specific subcomponents or functions, if any, should be expanded to deliver on the
                  President’s priorities.

               5. The specific tools the agency intends to use to achieve efficiencies, including, as to each,
                  the number of FTEs reduced and any potential savings or costs associated with such actions
                  in Fiscal Years 2025, 2026 and 2027:

                   a. Continuation of the current hiring freeze;
                   b. Regular attrition (e.g., retirement, movement between agencies and the private sector);
                   c. Attrition through enhanced policies governing employee performance and conduct;
                   d. Attrition through the termination or non-renewal of term or limited positions or
                      reemployed annuitants;
                   e. Attrition achieved by RIFs. Please refer to Appendix 1 for specific steps and timing.
                      For purposes of the Phase 1 ARRP, the agency should include the following
                      information:

                         i. The competitive areas and organizational components that the agency has
                            targeted or will target for initial RIFs, and
                        ii. The agency’s target for reductions in FTE positions via RIFs.

               6. A list by job position of all positions categorized as essential for purposes of exclusion
                  from large-scale RIFs, including the number per each job position and total by agency and
                  subcomponent.

               7. The agency’s suggested plan for congressional engagement to gather input and agreement
                  on major restructuring efforts and the movement of fundings between accounts, as
                  applicable, including compliance with any congressional notification requirements.


               8. The agency’s timetable and plan for implementing each part of its Phase 1 ARRP.

                   V.     Phase 2 ARRPs

                    Agencies should then submit a Phase 2 ARRP to OMB and OPM for review and approval
            no later than April 14, 2025. Phase 2 plans shall outline a positive vision for more productive,
            efficient agency operations going forward. Phase 2 plans should be planned for implementation by
            September 30, 2025. The Phase 2 plan should include the following additional information:

               1. The agency’s proposed future-state organizational chart with its functional areas,
                  consolidated management hierarchy, and position titles and counts clearly depicted.

               2. Confirmation that the agency has reviewed all personnel data, including each employee’s
                  official position description, four most recent performance ratings of record, retention
                  service computation date, and veterans’ preference status.

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               3. The agency’s plan to ensure that employees are grouped, to the greatest extent possible,
                  based on like duties and job functions to promote effective collaboration and management,
                  and that the agency’s real estate footprint is aligned with cross-agency efforts coordinated
                  by GSA to establish regional federal office hubs.

               4. Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
                  National Capital Region to less-costly parts of the country.

               5. The competitive areas for subsequent large-scale RIFs.

               6. All reductions, including FTE positions, term and temporary positions, reemployed
                  annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.

               7. Any components absorbing functions, including how this will be achieved in terms of FTE
                  positions, funding, and space.

               8. The agency’s internal processes that ensure agency leadership has visibility and/or direct
                  sign-off on all potential job offers and candidates prior to extending offers.

               9. The agency’s data-driven plan to ensure new career appointment hires are in highest-need
                  areas and adhere to the general principle that, subject to appropriate exemptions, no more
                  than one employee should be hired for every four employees that depart. Until the agency
                  has finalized its post-hiring-freeze plan, agencies should continue to adhere to the current
                  hiring freeze.

               10. Any provisions of collective bargaining agreements that would inhibit government
                   efficiency and cost-savings, and agency plans to renegotiate such provisions.

               11. An explanation of how the ARRPs will improve services for Americans and advance the
                   President’s policy priorities.

               12. The framework and criteria the agency has used to define and determine efficient use of
                   existing personnel and funds to improve services and the delivery of these services.

               13. For agencies that provide direct services to citizens (such as Social Security, Medicare, and
                   veterans’ health care), the agency’s certification that implementation of the ARRPs will
                   have a positive effect on the delivery of such services. The certification should include a
                   written explanation from the Agency Head and, where appropriate, the agency’s CIO and
                   any relevant program manager.

               14. The programs and agency components not impacted by the ARRP, and the justification for
                   any exclusion.



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               15. Plans to reduce costs and promote efficiencies through improved technology, including
                   through the adoption of new software or systems, and elimination of duplicative systems.

               16. Any changes to regulations and agency policies, including changes that must be pursued
                   through notice-and-comment rulemaking, that would lead to the reduction or elimination
                   of agency subcomponents, or speed up implementation of ARRPs.

               17. The agency’s timetable and plan for implementing each part of its Phase 2 ARRP, and its
                   plan for monitoring and accountability in implementing its ARRPs.

                   Agencies should continue sending monthly progress reports each month on May 14, 2025,
            June 16, 2025, and July 16, 2025. All plans and reports requested by this memorandum should be
            submitted to OPM at tracking@opm.gov and OMB at workforce@omb.eop.gov; when submitting
            plans and reports, please ensure both OPM and OMB addresses are included on the message.

                   VI.    Exclusions

                   Nothing in this memorandum shall have any application to:

               1. Positions that are necessary to meet law enforcement, border security, national security,
                  immigration enforcement, or public safety responsibilities;

               2. Military personnel in the armed forces and all Federal uniformed personnel, including the
                  U.S. Coast Guard, the Commissioned Corps of the U.S. Public Health Service, and the
                  Commissioned Officer Corps of the National Oceanic and Atmospheric Administration;

               3. Officials nominated and appointed to positions requiring Presidential appointment or
                  Senate confirmation, non-career positions in the Senior Executive Service or Schedule C
                  positions in the excepted service, officials appointed through temporary organization hiring
                  authority pursuant to 5 U.S.C. § 3161, or the appointment of any other non-career
                  employees or officials, if approved by agency leadership appointed by the President;

               4. The Executive Office of the President; or

               5. The U.S. Postal Service.

                   Finally, agencies or components that provide direct services to citizens (such as Social
            Security, Medicare, and veterans’ health care) shall not implement any proposed ARRPs until
            OMB and OPM certify that the plans will have a positive effect on the delivery of such services.

            cc: Chief Human Capital Officers (“CHCOs”), Deputy CHCOs, Human Resources Directors,
            Chiefs of Staff, and DOGE team leads.




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                                         Appendix 1- Sample RIF Timeline

                    This sample timeline is prepared in accordance with the U.S. Office of Personnel
            Management Workforce Reshaping Operations Handbook. RIF timing may vary based on
            agency-specific requirements, collective bargaining agreements, and workforce considerations.
            Agencies can accelerate these timelines through parallel processing, securing OPM waivers to
            policy, expediting process steps, and streamlining stakeholder coordination.

            Step 1: Identification of Competitive Areas and Levels (by March 13, 2025 for Phase 1
            ARRPs)

               1. Identify competitive areas and levels and determine which positions may be affected. If
                  applicable, seek OPM waiver approval to adjust competitive areas within 90 days of the
                  RIF effective date.
               2. For Phase 1 ARRPs, this step should be completed no later than March 13, 2025.

            Step 2: Planning, Preparation & Analysis (up to 30 days)

               1. Explore use of VSIP/VERA.
               2. Conduct an impact assessment.
               3. Review position descriptions for accuracy, validate competitive levels, and verify
                  employee retention data (e.g., veteran preference, service computation dates).
               4. Develop retention register.
               5. Draft RIF notices and seek OPM waiver approval for a 30-day notification period.
               6. Develop transition materials.
               7. Notify unions (if required).
               8. Prepare congressional notification (if required).

            Step 3: Formal RIF Notice Period (60 days, shortened to 30 days with an OPM waiver)

               1. Issue official RIF notices.
               2. Provide employees with appeal rights, career transition assistance, and priority placement
                  options.
               3. Execute any required congressional notification and notice to the Department of Labor,
                  state, and local officials, if applicable.

            Step 4: RIF Implementation & Separation (Final Step)

               1. Officially implement separations, reassignments, or downgrades.
               2. Provide final benefits counseling, exit processing, and documentation.
               3. Update HR systems and notify OPM of personnel actions.




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                         Appendix C: Plaintiff Declarations By Federal Defendant Agency

               Federal          Union Plaintiff        Non-Profit         Local Government
              Defendant          Declarations         Organization       Plaintiff Declarations
               Agency                                   Plaintiff
                                                      Declarations

                             Blake (AFSCME)        Benjamin (APHA)     Dively (King County)
            AmeriCorps
                             Daly (AFSCME)
                             Kelley (AFGE)         Shultz (AGU)        Barton (Harris County)
                             Soldner (AFGE)        Davis (NOFA)        Dively (King County)
                             Bachelder (AFSCME)    Molvar (WWP)        Williams (Santa Clara
            Department of                                              County)
                             Blake (AFSCME)
            Agriculture
                             O’Brien (AFSCME)                          Crispen (San Francisco)
                             Adler (SEIU)
                             Neuman (SEIU)
                             Kelley (AFGE)         Shultz (AGU)        Leach (Baltimore)
                                                   Neubacher           Velez (Chicago)
                                                   (CPANP)             Pena (Harris County)
            Department of                          Molvar (WWP)        Dively (King County)
            Commerce                                                   Williams (Santa Clara
                                                                       County)
                                                                       Bechelli (San Francisco)
                                                                       Jue (San Francisco)
                             Braden (AFGE)         Shultz (AGU)        Leach (Baltimore)
            Department of
                             Kelley (AFGE)                             Dively (King County)
            Energy
                             Gabel (AFSCME)                            Jue (San Francisco)
                             Howell (AFGE)         Shultz (AGU)        Leach (Baltimore)
                             Kelley (AFGE)         Molvar (WWP)        Ige (Chicago)
            Environmental    Dreyfus (AFGE Local                       Worthington (Chicago)
            Protection       1236)                                     Dively (King County)
            Agency           Bailey (SEIU)                             Williams (Santa Clara
                             Neuman (SEIU)                             County)
                                                                       Jue (San Francisco)
                           Fabris (AFGE)
            General        Kelley (AFGE)
            Services
            Administration Adler (SEIU)
                           Neuman (SEIU)


                                                       1

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                            Garthwaite (AFGE)    Benjamin (APHA)   Leach (Baltimore)
                            Jacobs (AFGE)                          Ige (Chicago)
                            Kelley (AFGE)                          Barton (Harris County)
            Department of   Niemeier-Walsh                         Pena (Harris County)
            Health and      (AFGE)                                 Dively (King County)
            Human           Gabel (AFSCME)                         Williams (Santa Clara
            Services        O’Brien (AFSCME)                       County)
                            Adler (SEIU)                           Philip (San Francisco)
                            Neuman (SEIU)
                            Prendiville (SEIU)
                            Bobbitt (AFGE)                         Leach (Baltimore)
                            Kelley (AFGE)                          Dively (King County)
            Department of   O’Brien (AFSCME)                       Williams (Santa Clara
            Housing and                                            County)
            Urban           Adler (SEIU)
            Development     Neuman (SEIU)
                            Wander (SEIU Local
                            1000)
                            Cochran (AFGE)       Shultz (AGU)      Dively (King County)
                            Kelley (AFGE)        Neubacher         Williams (Santa Clara
            Department of                        (CPANP)           County)
            the Interior    Adler (SEIU)
                            Neuman (SEIU)        Molvar (WWP)      Bechelli (San Francisco)


                            Gamble (AFGE)                          Campos (Chicago)
                            Levin (AFGE)
            Department of   Kelley (AFGE)
            Labor           O’Brien (AFSCME)
                            Adler (SEIU)
                            Neuman (SEIU)
                            O’Brien (AFSCME)
            National
            Labor           Neuman (SEIU)
            Relations
            Board

                            Kelley (AFGE)        Shultz (AGU)
            National        Soriano (AFGE)       Molvar (WWP)
            Science
            Foundation      Adler (SEIU)
                            Neuman (SEIU)



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                           Gustafsson (AFGE)       Phetteplace (MSA)   Dively (King County)
            Small          Kelley (AFGE)                               Bechelli (San Francisco)
            Business
                           O’Brien (AFSCME)
            Administration
                           Neuman (SEIU)
                           Couture (AFGE)          Fiesta (ARA)
                           Kelley (AFGE)
                           Wilson (AFGE Local
                           1122)
            Social         Norman (AFGE Local
            Security       3172)
            Administration O’Brien (AFSCME)
                           Adler (SEIU)
                           Prendiville (SEIU)
                           Jefferies (SEIU Local
                           1000)
                           Hunter (AFGE)                               Dively (King County)
            Department of Kelley (AFGE)                                Williams (Santa Clara
            State          Adler (SEIU)                                County)
                           Neuman (SEIU)
                           Kelley (AFGE)           Olson (CTR)
            Department of O’Brien (AFSCME)
            Treasury       Adler (SEIU)
                           Neuman (SEIU)
                           Burke (AFGE)            Shah (Common        Dively (King County)
                           Kelley (AFGE)           Defense)            Williams (Santa Clara
                           Turner-Nichols          Eaton (Vote Vets)   County)
            Department of (AFGE Local 2110)
            Veterans       Blake (AFSCME)
            Affairs
                           O’Brien (AFSCME)
                           Neuman (SEIU)
                           Bailey (SEIU)




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                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
       15                                   SAN FRANCISCO DIVISION
       16
                                                                      Case No. 3:25-cv-03698-SI
       17   AMERICAN FEDERATION OF
            GOVERNMENT EMPLOYEES, et al.                              DEFENDANTS’ OPPOSITION TO
       18                                                             PLAINTIFFS’ MOTION FOR A
                     Plaintiffs,                                      TEMPORARY RESTRAINING ORDER
       19
                                                                      AND ORDER TO SHOW CAUSE;
                              v.
       20                                                             MEMORANDUM OF POINTS AND
            DONALD J. TRUMP, in his official capacity as              AUTHORITIES
       21
            President of the United States, et al.,
       22                                                             Hearing Date: May 9, 2025
                      Defendants.                                     Time: 10:30 am
       23                                                             Judge: Hon. Susan Illston
                                                                      Place: San Francisco Courthouse
       24                                                                    Courtroom 1
       25
       26
       27
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        1                                               INTRODUCTION
        2           The Administrative Procedure Act (APA) allows a plaintiff to challenge a specific final
        3   agency action for which there is no other adequate remedy in a court, but plaintiffs cannot seek
        4   “systemic improvement” to agency-wide policy. Lujan v. Nat’l Wildlife Fed., 497 U.S. 871, 894
        5   (1990). Yet in this lawsuit of staggering breadth, Plaintiffs do not challenge any discrete final
        6   agency action or even any agency-specific policy. They instead seek to enjoin implementation
        7   virtually government-wide of an Executive Order that is not subject to review and is in any event
        8   unquestionably lawful on its face. Plaintiffs also challenge a memorandum from the Office of
        9   Personnel Management (OPM) and Office of Management and Budget (OMB), but that document
       10   is also not a final agency action, does not affect Plaintiffs, and is entirely lawful.
       11           Plaintiffs’ request for government-wide relief is not the only respect in which their motion
       12   is extraordinary. Plaintiffs seek to prevent reductions in force (RIFs) for which affected individuals
       13   have or would have administrative remedies and judicial review directly in a court of appeals. That
       14   fact deprives this Court of jurisdiction. And Plaintiffs seek to forestall implementation of the
       15   Executive Order based on a legal theory—that a statutory authorization to federal agencies
       16   deprives the President of any role in directing or shaping how agencies exercise that authority—
       17   that upends the very structure of Article II. They seek in their motion to prevent 20 government
       18   components (including 12 cabinet-level departments) from implementing the Executive Order and
       19   memorandum—based on broad and novel structural constitutional theories, in a brief that is more
       20   than twice the presumptive limit under the local rules while claiming support in nearly 1,300 pages
       21   of declarations and exhibits—in the context of moving for a temporary restraining order (TRO).
       22   All this even though the Executive Order and memorandum they challenge were issued more than
       23   11 and 9 weeks before they sought emergency relief from this Court. Because the TRO motion is
       24   procedurally improper and lacks any legal basis, the Court should deny the motion.
       25           As no one disputes, Congress has expressly authorized federal agencies to engage in RIFs
       26   and has done so for nearly 150 years. Congress has further directed OPM to “prescribe regulations
       27   for the release of competing employees in a [RIF] which give due effect to” four statutorily
       28   prescribed factors. 5 U.S.C. § 3502. OPM implements the RIF statute through regulations



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        1   published in part 351 of title 5 of the Code of Federal Regulations. Consistent with these
        2   authorities, on February 11, 2025, President Trump issued Executive Order 14210, which aims to
        3   “restore accountability to the American public” by “eliminating waste, bloat and insularity.” Exec.
        4   Order. 14210, § 1, 90 Fed. Reg. 9669 (Feb. 11, 2025) (Workforce Executive Order). The
        5   Workforce Executive Order directed agency heads to “promptly undertake preparations to initiate
        6   large-scale reductions in force (RIFs), consistent with applicable law.” Id. § 3(c). On February 26,
        7   2025, OPM and OMB issued a memorandum (Workforce Memorandum) to agencies providing
        8   certain guidance for complying with the Executive Order, stating that the agencies should submit
        9   Agency RIF and Reorganization Plans (ARRPs) in two phases on March 13, 2025, and April 14,
       10   2025, delineating certain categories of information the ARRPs should include, and further stating
       11   that the Phase 2 plans should be planned for implementation by September 30, 2025.
       12           The Workforce Executive Order and Workforce Memorandum thus include general
       13   principles agencies should follow in preparing and submitting ARRPs, including a focus on
       14   statutorily provided functions as well as subcomponents and offices that provide direct services to
       15   citizens. But both sources make clear that RIFs must be carried out consistent with all applicable
       16   legal requirements. And neither the Workforce Executive Order nor the Workforce Memorandum
       17   directs RIFs of particular employees or otherwise dictates the results of agencies’ decisionmaking
       18   processes. Nor, contrary to Plaintiffs’ briefing, are RIFs being carried out “in secret.” TRO Brief
       19   at 3. The Workforce Memorandum suggests a notice period of at least 30 days before RIFs are
       20   effectuated (and in many cases significantly longer than that).
       21           On April 28, 2025, Plaintiffs nonetheless filed a 115-page complaint seeking broad relief
       22   against virtually every cabinet-level department, as well as OPM, OMB, and the United States
       23   DOGE Service (USDS)1, in addition to the President himself. On May 1, 2025, Plaintiffs filed the
       24   1
             It is unclear whether Plaintiffs are referring to USDS, which is a nonstatutory component located
       25   within the Executive Office of the President, as to which Amy Gleason serves as the Acting
            Administrator. Though Plaintiffs use the term Department of Government Efficiency, the
       26   Department of Government Efficiency and USDS are not the same thing. The Department of
            Government Efficiency or “DOGE” is the umbrella term for the government-wide initiative to
       27
            implement the President’s DOGE Agenda. It consists of USDS, the USDS Temporary
       28   Organization, and Agency DOGE Teams. Exec. Order 14158, § 3(a)–(c), 90 Fed. Reg. 8441 (Jan.
            20, 2025). Consistent with Executive Order 14158 and as the government has repeatedly explained

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        1   instant motion for a TRO, seeking to enjoin OPM, OMB, USDS, as well as seventeen departments
        2   or agencies and their heads from implementing the Workforce Executive Order or Workforce
        3   Memorandum, in addition to other relief. For multiple reasons, the motion should be denied.
        4           First, Plaintiffs cannot establish the immediacy required for a TRO. The Motion seeks to
        5   enjoin implementation of the Workforce Executive Order and Workforce Memorandum on the
        6   legal ground that they are ultra vires and exceed the President’s authority (as to the Workforce
        7   Executive Order) and the authority of OPM and OMB (as to the Workforce Memorandum).
        8   Nothing would have prevented Plaintiffs from filing their May motion in February immediately
        9   after the Executive Order and Memorandum were issued. Indeed, in the intervening time, multiple
       10   similar suits have been filed challenging, inter alia, the Workforce Executive Order and personnel
       11   actions across numerous federal agencies. This includes a February challenge to the Workforce
       12   Executive Order filed the day after that Order was issued (the district court in that case denied a
       13   preliminary injunction on jurisdictional grounds that equally bar this lawsuit). Consistent with
       14   extensive case law in this District, that delay alone warrants rejection of Plaintiffs’ plea for
       15   emergency relief now on a highly expedited timetable.
       16           Second, Plaintiffs cannot challenge the Workforce Executive Order or the Workforce
       17   Memorandum here. The comprehensive, reticulated administrative-judicial review scheme set
       18   forth in the Federal Service Labor-Management Relations Statute and the Civil Service Reform
       19   Act foreclose that. Plaintiffs have not established standing. And putting aside these jurisdictional
       20   defects, the Workforce Executive Order and Workforce Memorandum would still not be
       21   reviewable. The Workforce Executive Order is not subject to review under the APA or on an ultra
       22   vires theory. The Workforce Memorandum is not reviewable because it is not a final agency action.
       23           Even if the Court could review the legality of the Workforce Executive Order and
       24   Workforce Memorandum on the merits, that merits analysis would be exceptionally easy. The
       25
       26   in other litigation, Agency DOGE Teams (which consist of employees from the relevant agency
            and detailees, who take actions within their agency, and who report to agency leadership) are
       27   distinct from USDS and the USDS Temporary Organization (which are nonstatutory components
            with limited and advisory responsibilities). We use the term USDS in this brief but, regardless,
       28
            this distinction is not relevant to the TRO motion, which must be denied in any event.


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        1   Executive Order makes clear that any RIFs or other action must be “consistent with applicable
        2   law.” And there is no question that the Executive Order can be applied lawfully because, again,
        3   no one disputes that agencies have authority to conduct RIFs. Plaintiffs’ “ultra vires” argument
        4   thus rests on a contention that “Congress has delegated authority to determine which employees to
        5   employ and how many (consistent with appropriations) to the heads of the federal agencies, not to
        6   the President.” TRO Brief at 32 (emphases in original). But putting aside that the Workforce
        7   Executive Order neither orders specific RIFs nor divests agency heads of their discretion in this
        8   area, this is precisely backwards. The President has inherent authority to exercise “‘general
        9   administrative control of those executing the laws,’ throughout the Executive Branch of
       10   government, of which he is the head.” Bldg. & Const. Trades Dep’t v. Allbaugh, 295 F.3d 28, 32
       11   (D.C. Cir. 2002) (quoting Myers v. United States, 272 U.S. 52, 164 (1926)) (citation omitted); see
       12   also Seila Law LLC v. CFPB, 591 U.S. 197, 224 (2020) (authority exercised by federal officers
       13   “remains subject to the ongoing supervision and control of the elected President”). Agencies thus
       14   “must implement the President’s policy directives to the extent permitted by law.” Sherley v.
       15   Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012). There is no colorable argument that President Trump
       16   acted unlawfully in providing direction for agencies to follow, consistent with applicable law, in
       17   exercising the authority Congress expressly provided them. The Workforce Memorandum—which
       18   provides broad guidance (concerning information agencies should provide about the actions the
       19   agencies decide to take), and emphasizes to agencies that they should only undertake actions that
       20   are consistent with their statutory authority—is also plainly lawful.
       21           Plaintiffs also cannot demonstrate any irreparable harm that would justify the broad
       22   injunction they seek here. The Workforce Memorandum makes clear that any specific RIFs must
       23   be preceded by a 60-day formal notice period (which OPM can shorten to 30 days), which provides
       24   ample opportunity for any individual affected employees to attempt to seek relief, including
       25   emergency relief. More broadly, the Supreme Court has made clear that loss of government
       26   employment generally does not constitute irreparable injury. And in the exclusive remedial scheme
       27   Congress provided, prevailing employees may obtain reinstatement, backpay, and attorney’s fees.
       28           Likewise, the balance of equities and the public interest favor Defendants, as Plaintiffs’



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        1   requested TRO would interfere with the President’s ability to manage the federal workforce to
        2   more closely reflect policy preferences and the needs of the American public.
        3           Finally, if the Court does enter injunctive relief (which, respectfully, it should not), any
        4   injunction should be limited to only members of Plaintiff unions who themselves have Article III
        5   standing (specifically individual members, if any, who face a certainly impending RIF). And if the
        6   Court enjoins implementation of the Workforce Executive Order and Workforce Memorandum, it
        7   should make clear that its injunction does not prevent agencies from conducting RIFs and acting
        8   on other personnel and organizational matters independent of the Workforce Executive Order.
        9                                                BACKGROUND
       10   I. Statutory and Regulatory Background
       11       A. Agency Authority to Engage in RIFs
       12           For approximately 150 years, Congress has recognized federal agencies’ authority to
       13   engage in RIFs. The first such statute, enacted in 1876, required that veterans receive a preference
       14   over other employees when such reductions were undertaken. 19 Stat. 169 (Aug. 15, 1876); see
       15   also Hilton v. Sullivan, 334 U.S. 323, 336-39 (1948) (summarizing history of veterans’ preferences
       16   in reductions in force). A subsequent enactment precluded agencies from discharging or reducing
       17   the rank or salary of honorably discharged veterans. 37 Stat. 413 (Aug. 23, 1912). Interpreting this
       18   statutory framework, courts repeatedly rejected challenges to RIFs, recognizing that such
       19   reductions were a matter of executive discretion. See Medkirk v. United States, 45 Ct. Cl. 395, 401
       20   (Ct. Cl. 1910) (“The matter of qualification as between the persons then employed in the service
       21   was an administrative function which the courts could neither supervise nor inquire into after the
       22   exercise of the discretion of the proper official in dispensing with the services of those adjudged
       23   to be least qualified under the law which required a reduction in the force.”); Keim v. United States,
       24   177 U.S. 290, 295 (1900) (provision authorizing reductions in force “do[es] not contemplate the
       25   retention in office of a clerk who is inefficient, nor attempt to transfer the power of determining
       26   the question of efficiency from the heads of departments to the courts”).
       27           Later, the Executive Branch implemented a system whereby employees were placed into
       28   classes for purposes of determining which positions would be eliminated in a RIF. In 1921,


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        1   President Harding issued an executive order directing demotions and dismissals of employees with
        2   the lowest ratings in each class, with a preference provided to veterans. United States Civil Service
        3   Commission, Civil Service Act and Rules, Statutes, Executive Orders and Regulations (amended
        4   to November 15, 1925), at 104. A subsequent executive order issued by President Coolidge
        5   detailed how to categorize employees during a RIF. Id. The Civil Service Commission then issued
        6   regulations that codified the various requirements governing RIFs. United States Civil Service
        7   Commission, Departmental Circular No. 372 (Sept. 4, 1942). These regulations recognized that a
        8   RIF may be “necessary because of insufficient appropriations, consolidation of functions,
        9   diminution of work, or other reason, whereby one or more employees serving in other than
       10   temporary appointments will be required to be dropped from the rolls[.]” Id. ¶ 1.
       11           As World War II concluded, a widespread understanding emerged that the federal
       12   government would need to shrink dramatically as the nation shifted from a war-time footing to a
       13   peace-time posture. President Roosevelt recognized that agencies may need to undertake
       14   reductions in personnel: “Veterans should be accorded special consideration in connection with
       15   any reductions in total personnel which it may be necessary for Federal agencies to work out from
       16   time to time.” H.R. Rep. No. 78-1289 (1944). Congress then enacted the Veterans’ Preference Act
       17   of 1944. The intent of the statute was to “give legislative sanction to existing veterans’ preference,
       18   to the rules and regulations in the executive branch of the Government. . . .” Hilton, 334 U.S. 323
       19   at 338 (quotation marks omitted). The statute provided, inter alia, that “[i]n any reduction in
       20   personnel in any civilian service of any Federal agency, competing employees shall be released in
       21   accordance with Civil Service Commission regulations which shall give due effect to tenure of
       22   employment, military preference, length of service, and efficiency ratings.” Veterans’ Preference
       23   Act of 1944, § 12, Pub. L. 78-359, 58 Stat. 387, 390.
       24           Similarly, in enacting the Federal Employee Pay Act of 1945, Congress recognized the
       25   Executive Branch’s authority to reduce the size of the Government. A Senate Committee Report
       26   preceding enactment of the Act stated: “It was the feeling of the committee that the interests of
       27   efficiency and economy could best be served a policy of reduction of force in many Government
       28   agencies. By this proposal, authority of the Director of the Bureau of the Budget to fix personnel



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        1   ceilings for agencies within the executive branch is extended to all employees of executive
        2   agencies, including the Postal Service, Wage Board employees as well as employees subject to the
        3   Classification Act.” S. Rep. No. 79-265, at 6 (1945).
        4           In the 1966 recodification of Title 5, Congress amended the Veterans’ Preference Act of
        5   1944. Pub. L. No. 89-554, 80 Stat. 428 (1966). The amended statute provided: “[t]he Civil Service
        6   Commission shall prescribe regulations for the release of competing employees in a reduction in
        7   force which give due effect to” four specified factors. Id. The current version of the statute is
        8   substantively the same, with OPM substituted. 5 U.S.C. § 3502. It provides that OPM “shall
        9   prescribe regulations for the release of competing employees in a reduction in force which give
       10   due effect to--(1) tenure of employment; (2) military preference, subject to section 3501(a)(3) of
       11   this title; (3) length of service; and (4) efficiency or performance ratings.” Id. § 3502(a)(1)-(4).
       12           In 1944, the Civil Service Commission exercised the authority delegated by the Veterans’
       13   Preference Act of 1944 to enact regulations governing reductions in force. See 9 Fed. Reg. 9575,
       14   9575-82 (Aug. 8, 1944). The regulations encouraged agencies to proactively manage the size of
       15   their workforce. “Looking ahead for changes in workloads, available funds and employee turnover,
       16   and restricting appointments in certain lines of work may prevent a surplus in workers which would
       17   otherwise occur.” Id. “It is better practice to keep a working staff down to the number required
       18   than to cut down an oversize staff of employees.” Id. at 9576-77. Since the regulations were
       19   promulgated in 1944, they have been periodically amended, and are codified at 5 C.F.R. part 351.
       20           Under current regulations, agencies may invoke RIF authority “when the release is required
       21   because of lack of work; shortage of funds; insufficient personnel ceiling; reorganization; the
       22   exercise of reemployment rights or restoration rights; or reclassification of an employee’s position
       23   due to erosion of duties.” Id. § 351.201. A “reorganization” is defined as “the planned elimination,
       24   addition, or redistribution of functions or duties in an organization.” Id. § 351.203.
       25           The regulations acknowledge agencies’ discretion when deciding that a RIF is necessary.
       26   “Each agency is responsible for determining the categories within which positions are required,
       27   where they are to be located, and when they are to be filled, abolished, or vacated.” Id.
       28   § 351.201(a)(1). “This includes determining when there is a surplus of employees at a particular



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        1   location in a particular line of work.” Id. The regulations further emphasize that “[e]ach agency
        2   covered by this part is responsible for following and applying the regulations in this part when the
        3   agency determines that a reduction [in] force is necessary.” Id. § 351.204.
        4           Statutory RIFs generally involve seven steps. First, agencies must establish competitive
        5   areas in which employees compete for retention. Id. § 351.402. Employees potentially subject to
        6   a RIF compete for retention with other employees also within their competitive areas. Second,
        7   after establishing competitive areas, agencies must establish competitive levels. A competitive
        8   level consists of “all positions in a competitive area which are in the same grade (or occupational
        9   level) and classification series, and which are similar enough in duties, qualification requirements,
       10   pay schedules, and working conditions so that an agency may reassign the incumbent of one
       11   position to any of the other positions in the level without undue interruption.” Id. § 351.403(a)(1).
       12   Third, after establishing competitive levels, the agency establishes a retention register for each
       13   competitive level that classifies employees based upon their retention standing. The agency applies
       14   the four retention factors required by statute. See 5 U.S.C. § 3502. Fourth, the agencies must decide
       15   which employees to release from the competitive level based upon the ranking in the retention
       16   register.2 Fifth, agencies must assess whether employees have “bump and retreat” rights. 5 C.F.R.
       17   Part 351 Subpart G.3 In addition, released employees may be reassigned to vacant positions
       18   following the same retention procedures that apply to an employee’s bump and retreat rights. Id.
       19   § 351.703. Sixth, agencies must provide notice to affected employees. Agencies are generally
       20   required to provide written notice to employees affected by a RIF 60 full days in advance of the
       21   date of release. 5 U.S.C. § 3502; 5 C.F.R. Part 351 Subpart H. When a RIF is caused by
       22
       23   2
             Before an agency releases any employee from a competitive level, it must first release any
       24   noncompeting employee. See United States Office of Personnel Management, Workforce
            Reshaping Operations Handbook, 52-53 (2017), https://www.opm.gov/policy-data-
       25   oversight/workforce-restructuring/reductions-in-force-rif/workforce_reshaping.pdf.
            3
       26     “Bumping” is the assignment of an employee to a position in a different competitive level that
            “[i]s held by another employee in a lower tenure group or in a lower subgroup within the same
       27   tenure group.” 5 C.F.R. § 351.701(b). “Retreating” is the assignment of an employee to a position
            in a different competitive level that “[i]s held by another employee with lower retention standing
       28
            in the same tenure group and subgroup.” Id. § 351.701(c).


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        1   “circumstances not reasonably foreseeable,” the head of an agency or designee may request
        2   approval from OPM to provide notice less than 60 days in advance, provided that the notice is
        3   issued at least 30 days in advance of the release. 5 C.F.R. § 351.801(b). The regulations detail the
        4   information that RIF notices must include, such as the reasons for the action, its effective date, and
        5   information about the judicial review available to the employee. Id. § 351.802. Seventh, the
        6   regulations authorize judicial review for affected employees. Generally, employees may challenge
        7   RIFs at the MSPB. Id. § 351.901 (“An employee who has been furloughed for more than 30 days,
        8   separated, or demoted by a reduction in force action may appeal to the Merit Systems Protection
        9   Board”); Id. § 1201.3(a)(6).4 Appeals must generally be brought within 30 days of the effective
       10   date of the RIF. Id. § 1201.22. The MSPB’s decision can be appealed to the Federal Circuit.
       11   Markland v. OPM, 140 F.3d 1031, 1033 (Fed. Cir. 1998).
       12       B. Modern RIFs
       13           On numerous occasions since the Veterans’ Preference Act of 1944 was enacted, the
       14   federal government has exercised its authority to conduct RIFs. As noted, widespread reductions
       15   in the federal workforce were necessary after World War II ended. See 64 Ann. Rep. U.S. Civil
       16   Service Comm’n 10 (1946-1947). President Truman acknowledged the widespread reductions in
       17   force, and expressed hope that separated employees would be able to compete for other federal
       18   positions. Harry S Truman, Statement by the President on Federal Employees Displaced by the
       19   Reduction-in-Force         (Sept.      3,     1949),      https://www.trumanlibrary.gov/library/public-
       20   papers/201/statement-president-federal-employees-displaced-reduction-force. President Truman
       21   also noted that “[i]t is unrealistic to expect . . . that all these employees can be placed in current
       22   vacancies in the Federal service, which very properly is contracting in size.” Id.
       23           The 1980s also featured Executive Branch-led efforts to reduce the federal workforce,
       24   including through RIFs. These efforts were undertaken under the Reagan Administration’s policy
       25
       26   4
              Employees covered by collective bargaining agreements may have mandatory agency grievance
       27   procedures they must use in lieu of an MSPB appeal (unless there is an allegation of discrimination,
            in which case they either go through the agency grievance procedure or the MSPB).
       28


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        1   of reducing the size of Government. As President Reagan explained in a radio address, “[f]ifteen
        2   departments, agencies, and commissions have been able to reduce their payroll numbers by 20
        3   percent or more.” Ronald Reagan, Radio Address to the Nation on Federal Civilian Employment
        4   (Aug. 20, 1983), available at https://www.reaganlibrary.gov/archives/speech/radio-address-
        5   nation-federal-civilian-employment.
        6           The Reagan administration combined its emphasis on reducing the Federal workforce with
        7   increased oversight of federal agencies through OMB. See Executive Order 12498, 50 Fed. Reg.
        8   1036 (Jan. 4, 1985). Executive Order 12498 set out the following goals: “to create a coordinated
        9   process for developing on an annual basis the Administration’s Regulatory Program, establish
       10   Administration regulatory priorities, increase the accountability of agency heads for the regulatory
       11   actions of their agencies, provide for Presidential oversight of the regulatory process, reduce the
       12   burdens of existing and future regulations, minimize duplication and conflict of regulations, and
       13   enhance public and Congressional understanding of the Administration's regulatory objectives.”
       14   Id. It required executive agencies to “submit to the Director of the Office of Management and
       15   Budget (OMB) each year, starting in 1985, a statement of its regulatory policies, goals, and
       16   objectives for the coming year and information concerning all significant regulatory actions
       17   underway or planned.” Id. Further, the Executive Order required that “[t]he head of each Executive
       18   agency subject to this Order shall ensure that all regulatory actions are consistent with the goals of
       19   the agency and of the Administration, and will be appropriately implemented.” Id.
       20           In the 1990s, the Clinton Administration maintained the policies of the Reagan
       21   Administration, both in terms of reducing the number of federal employees and in exercising
       22   control over agencies to ensure that they were responsive to the President’s policy goals. To
       23   promote the goal of reducing the size of the Federal Government, President Clinton issued
       24   Executive Order 12839 the month after he took office. Executive Order 12839, 58 Fed. Reg. 8515
       25   (Feb. 10, 1993). The order outlined a plan to reduce 100,000 Federal positions.
       26           Executive Order 12839 relied upon “the authority vested in me as President by the
       27   Constitution and the laws of the United States of America, including section 301 of title 3, United
       28   States Code, section 3301 of title 5, United States Code, and section 1111 of title 31, United States



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        1   Code.” Id. The Order required that “[e]ach executive department or agency with over 100
        2   employees shall eliminate not less than 4 percent of its civilian personnel positions (measured on
        3   a full-time equivalent (FTE) basis) over the next 3 fiscal years.” Id. It further instructed that “[t]he
        4   positions shall be vacated through attrition or early out programs established at the discretion of
        5   the department and agency heads.” Id. The Executive Order also required that “[a]t least 10 percent
        6   of the reductions shall come from the Senior Executive Service, GS-15 and GS-14 levels or
        7   equivalent.” Id. The Executive Order set “target dates” for these reductions: “Each department and
        8   agency shall achieve 25 percent of its total reductions by the end of fiscal year 1993, 62.5 percent
        9   by the end of fiscal year 1994, and 100 percent by the end of fiscal year 1995.” Id. Finally, the
       10   Executive Order created a role for OMB, instructing the Director of OMB to “issue detailed
       11   instructions regarding the implementation of this order, including exemptions necessary for the
       12   delivery of essential services and compliance with applicable law.” Id.
       13           Later in 1993, President Clinton signed a presidential memorandum entitled “Streamlining
       14   the Bureaucracy” in which he “direct[ed] each head of an executive department or agency to
       15   prepare . . . a streamlining plan to be submitted to the Director of the Office of Management and
       16   Budget as part of a goal “to reduce the executive branch civilian work force by 252,000.” 5 Also in
       17   1993, President Clinton signed a presidential memorandum directing departments and agencies to
       18   appoint officials responsible for, among other things, “overseeing agency-specific application of
       19   . . . personnel reduction.”6 Ultimately, during the Clinton Administration, there was a substantial
       20   reduction in the number of federal employees, due in part to the implementation of RIFs. 7
       21
       22
       23
            5
               William J. Clinton, Memorandum on Streamlining the Bureaucracy (Sept. 11, 1993),
       24   https://www.presidency.ucsb.edu/node/327725 (last accessed May 6, 2025).
            6
       25    William J. Clinton, Memorandum on Implementing Management Reform in the Executive
            Branch (Oct. 1, 1993), https://www.presidency.ucsb.edu/node/327737.
       26
            7
             William J. Clinton, Memorandum on Career Transition Assistance for Federal Employees, (Sept.
       27   12,      1995),       https://www.presidency.ucsb.edu/documents/memorandum-career-transition-
            assistance-for-federal-employees (transition services to federal employees who “either have been
       28
            or are likely to be separated from Federal service due to a reduction in force”).


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                C. Exclusive Scheme for Administrative and Judicial Review of Labor and Personnel
        1          Disputes Involving Federal Civil Servants
        2           The Federal Service Labor-Management Relations Statute (FSLMRS), set forth in Title
        3   VII of the Civil Service Reform Act of 1978 (CSRA), Pub. L. No. 95-454, § 701, 92 Stat. 1111,
        4   1191-1216 (codified at 5 U.S.C. §§ 7101-35), governs labor relations between the Executive
        5   Branch and its employees. The statute further “establishes a scheme of administrative and judicial
        6   review.” Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929 F.3d 748, 752 (D.C. Cir. 2019)
        7   (“AFGE v. Trump”). Under that scheme, the Federal Labor Relations Authority (FLRA) reviews
        8   matters including negotiability and “unfair labor practice[]” disputes or claims. See 5 U.S.C.
        9   § 7105(a). When reviewing unfair labor practice complaints, it is “the FLRA [that] resolves
       10   whether an agency must bargain over a subject, violated the duty to bargain in good faith, or
       11   otherwise failed to comply with the Statute.” AFGE v. Trump, 929 F.3d at 752 (citing 5 U.S.C. §§
       12   7105(a)(2)(G), 7116(a), 7118)). Direct review of the FLRA’s decisions on unfair labor practice
       13   and negotiability issues is available in the courts of appeals. 5 U.S.C. § 7123(a).
       14           The CSRA “establishe[s] a comprehensive system for reviewing personnel action taken
       15   against federal employees.” Elgin v. Dep’t of the Treasury, 567 U.S. 1, 5 (2012) (citation omitted).
       16   If an agency takes a final adverse action against an employee no longer in his or her probationary
       17   period—including removal, suspension for more than 14 days, reduction in grade or pay, or
       18   furlough for 30 days or less, 5 U.S.C. § 7512—the employee may appeal to the MSPB. Id.
       19   § 7513(d). The MSPB may order relief to prevailing employees, including reinstatement, backpay,
       20   and attorney’s fees. Id. §§ 1204(a)(2), 7701(g). Non-probationary employees may appeal final
       21   MSPB decisions to the Federal Circuit, which generally has “exclusive jurisdiction” over such
       22   appeals. 28 U.S.C. § 1295(a)(9). This statutory review scheme, too, is “exclusive, even for
       23   employees who bring constitutional challenges to federal statutes.” Elgin, 567 U.S. at 13.8
       24
            8
       25     Federal employees serving in their probationary periods (for the Competitive Service) or trial
            periods (for the Excepted Service) generally do not enjoy a right to appeal to the MSPB, as they
       26   are not considered “employee[s]” for purposes of the CSRA’s Chapter 75, 5 U.S.C. § 7511(a)(1),
            but remain properly considered as “applicants” for employment under an extended hiring and
       27
            evaluation period. See 5 U.S.C. § 7511(a)(1)(A)-(B) (one-year trial period), (C) (two-year trial
       28   period); 5 C.F.R. §§ 315.801, 301.806. However, many of the protections of the CSRA’s Chapter
            23 extend to both “applicants and employees.” See, e.g., 5 U.S.C. § 2302(a)(2)(A)(i)–(xii)

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            II. Factual Background
        1
                A. Executive Order 14210
        2
                    On February 11, 2025, President Trump issued the Workforce Executive Order,
        3
            “Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization
        4
            Initiative.” Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025). As relevant to this motion,
        5
            subpart c of Section 3—“Reductions in Force”—directs “Agency Heads [to] promptly undertake
        6
            preparations to initiate large-scale reductions in force (RIFs), consistent with applicable law, and
        7
            to separate from Federal service temporary employees and reemployed annuitants working in areas
        8
            that will likely be subject to the RIFs.” Id. § 3(c). Further, it directs that “[a]ll offices that perform
        9
            functions not mandated by statute or other law shall be prioritized in the RIFs, including all agency
       10
            diversity, equity, and inclusion initiatives; all agency initiatives, components, or operations that
       11
            my Administration suspends or closes; and all components and employees performing functions
       12
            not mandated by statute or other law who are not typically designated as essential during a lapse
       13
            in appropriations as provided in the Agency Contingency Plans on the Office of Management and
       14
            Budget website.” Id. Finally, it directs that “[t]his subsection shall not apply to functions related
       15
            to public safety, immigration enforcement, or law enforcement.” Id.
       16
                    The Workforce Executive Order further provides that, within 30 days of its issuance (i.e.,
       17
            by March 13, 2025), “Agency Heads shall submit to” OMB and OPM “a report that identifies any
       18
            statutes that establish the agency, or subcomponents of the agency, as statutorily required entities.”
       19
            Id. § 3(e). That report “shall discuss whether the agency or any of its subcomponents should be
       20
            eliminated or consolidated.” Id. The Executive Order further provides that agency heads “may
       21
            exempt from this order any position they deem necessary to meet national security, homeland
       22
            security, or public safety responsibilities.” Id. § 4(b). The Director of OPM is also authorized to
       23
            “grant exemptions from [the] order.” Id. § 4(c). Finally, the order states that it “shall be
       24
            implemented consistent with applicable law and subject to the availability of appropriations,” id.
       25
       26
       27
            (identifying “personnel action[s]” that may form the basis for alleged prohibited personnel
       28
            practices “with respect to an employee in, or applicant for, a covered position in an agency”).


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        1   § 5(b), and shall not “be construed to impair or otherwise affect the authority granted by law to an
        2   executive department, agency, or the head thereof,” id. § 5(a)(i).
        3           The Workforce Executive Order does not direct specific RIFs and contains no specific
        4   requirements related to RIFs except for the guidance set forth above. Consistent with the Order’s
        5   language, the President has confirmed that agencies have ultimate responsibility for planning and
        6   implementing RIFs. See Reuters, Trump Tells Cabinet Secretaries They, Not Musk, are in Charge
        7   of Staff Cuts (March 7, 2025), available at https://www.reuters.com/world/us/trump-tells-cabinet-
        8   secretaries-they-not-musk-are-charge-staff-cuts-2025-03-06/.
        9       B. February 26, 2025 Memorandum
       10           On February 26, 2025, OPM and OMB jointly issued the Workforce Memorandum
       11   (Memorandum or Workforce Memorandum). ECF No. 37-1 App. 2. We describe the guidance
       12   provided by that Memorandum here.
       13           Agency Plans: The Memorandum noted that the Workforce Executive Order required
       14   agencies to submit reports by March 13 and the Memorandum “submit[s] guidance on these
       15   Agency RIF and Reorganization Plans (‘ARRP’), along with the instruction that such plans be
       16   submitted to OMB and OPM.” Id. AARPs should seek to achieve five principles: (1) “Better
       17   service for the American people; (2) “Increased productivity”; (3) “A significant reduction in the
       18   number of full-time equivalent (FTE) positions by eliminating positions that are not required”; (4)
       19   “A reduced real property footprint”; and (5) “Reduced budget topline.” Id. at 1-2. “Pursuant to the
       20   President’s direction, agencies should focus on the maximum elimination of functions that are not
       21   statutorily mandated while driving the highest-quality, most efficient delivery of their statutorily-
       22   required functions.” Id. at 2. The Memorandum identifies in broad terms “principles” agencies
       23   should consider in undertaking reorganization and reduction actions. Specifically, agencies should:
                   seek to consolidate areas of the agency organization chart that are duplicative;
       24
                   consolidate management layers where unnecessary layers exist; seek reductions in
       25          components and positions that are non-critical; implement technological solutions
                   that automate routine tasks while enabling staff to focus on higher-value activities;
       26          close and/or consolidate regional field offices to the extent consistent with efficient
       27          service delivery; and maximally reduce the use of outside consultants and
                   contractors.
       28


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        1   Id. at 2. The Memorandum cautions that “[a]gencies should review their statutory authority and
        2   ensure that their plans and actions are consistent with such authority.” Id.
        3           Formulation of Plans: The Memorandum provides a list of “available tools” agencies
        4   should consider employing in crafting their ARRPs to effectuate the President’s directive. This
        5   includes the hiring freeze President Trump set forth in a January 20, 2025 Presidential
        6   Memorandum, processes to ensure that agency heads have visibility and sign off onto potential job
        7   offers, eliminating non-statutorily mandated functions through RIFs, reviewing underperforming
        8   employees as well as employees engaged in misconduct and probationary employees, reducing
        9   headcount through attrition and allowing term or temporary positions to expire without renewal,
       10   separating reemployed annuitants in areas likely subject to RIFs, and renegotiating collective
       11   bargaining agreements that inhibit government efficiency and employee accountability. Id. at 3.
       12   The Memorandum also notes that agencies should consider changes to regulations and agency
       13   policies that would reduce or eliminate agency subcomponents and otherwise hasten
       14   implementation of ARRPs, while cautioning that some such changes “must be pursued through
       15   notice-and-comment rulemaking[.]” Id.
       16           Submission of Plans: The Memorandum states that agencies should submit ARRPs in two
       17   phases: Phase 1 ARRPs, to be submitted by March 13, 2025, which “shall focus on initial agency
       18   cuts and reductions, id. at 3; and Phase 2 ARRPs, to be submitted by April 14, 2025, which “shall
       19   outline a positive vision for more productive, efficient agency operations going forward,” id. at 4.
       20           Phase 1: Phase 1 ARRPs should provide a list of agency subcomponents or offices that
       21   provide direct services to citizens, any statutes that establish the agency, or subcomponents of the
       22   agency, as statutorily required entities, any agency components and employees performing
       23   functions not mandated by statute or regulation who are not typically designated as essential during
       24   a lapse in appropriations, “[w]hether the agency or any of its subcomponents should be eliminated
       25   or consolidated; and which specific subcomponents or functions, if any, should be expanded to
       26   deliver on the President’s priorities[,]” tools the agency intends to use to increase efficiencies, “[a]
       27   list by job position of all positions categorized as essential for purposes of exclusion from large-
       28   scale RIFs,” “[t]he agency’s suggested plan for congressional engagement to gather input and



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        1   agreement on major restructuring efforts and the movement of fundings between accounts,” and
        2   the agency’s timetable for implementation of each part of the Phase 1 AARP. Id.
        3           Phase 2: Phase 2 ARRPs should provide, among other things: confirmation that the agency
        4   has reviewed all its personnel data, plans to ensure that employees are grouped based on like duties
        5   and functions to the maximum extent possible, any proposed relocations from Washington, D.C.
        6   to less expensive areas of the country, “[t]he competitive areas for subsequent large-scale RIFs[,]”
        7   all reductions (of FTE positions and otherwise), the agency’s plan to ensure new career
        8   appointment hires are in highest-need areas, any collective bargaining agreement provisions that
        9   inhibit efficiency and cost-savings (and the agency’s plan to renegotiate any such provisions), an
       10   explanation how the ARRP will improve services for Americans and advance the President’s
       11   priorities, “[f]or agencies that provide direct services to citizens (such as Social Security,
       12   Medicare, and veterans’ health care), the agency’s certification that implementation of the ARRPs
       13   will have a positive effect on the delivery of such services” (a certification that “should include a
       14   written explanation from the Agency Head”), plans to improve efficiency and reduce costs through
       15   improved technology, “[a]ny changes to regulations and agency policies, including changes that
       16   must be pursued through notice-and-comment rulemaking,” as well as the agency’s timetable and
       17   plan for implementing the ARRP. Id. at 5-6. The Memorandum further states that agencies should
       18   continue sending monthly progress reports on May 14, 2025, June 16, 2025, and July 16, 2025. Id.
       19   at 6. Phase 2 Plans should be planned for implementation by September 30, 2025. Id. at 4.
       20           Exclusions: The Memorandum contains several exclusions, including the Postal Service,
       21   positions “necessary to meet law enforcement, border security, national security, immigration
       22   enforcement, or public safety responsibilities[,]” the Executive Office of the President, military
       23   personnel in the armed forces and Federal uniformed personnel. Id. at 6. Agencies providing direct
       24   services to citizens may “not implement any proposed ARRPs until OMB and OPM certify that
       25   the plans will have a positive effect on the delivery of such services.” Id.
       26           Relation to RIFs: ARRPs are distinct from RIFs. The Workforce Memorandum states
       27   that, before a RIF is implemented and an employee separated from service, there must be a formal
       28   RIF notice period of 60 days (or 30 days if the agency obtains an OPM waiver), in which affected



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        1   employees are issued formal RIF notices, as well as provided appeal rights, career transition
        2   assistance, and priority placement options. ECF No. 37-1 App. 2 at 7. As noted above, OPM’s
        3   regulations independently codify these notice requirements.
        4   III. Procedural History
        5           More than two months after OPM and OMB issued the Memorandum, Plaintiffs—
        6   employee unions, organizations, cities, and counties—sued on April 28, 2025. See ECF No. 1
        7   (Complaint). They filed the TRO motion three days later. See ECF No. 37 (TRO Motion); ECF
        8   No. 37-1 (TRO Brief). The Complaint names President Trump, OPM, OMB, USDS, and 23 other
        9   components as well as their heads as defendants (including virtually every Cabinet-level
       10   Department). Complaint ¶¶ 55-106.9
       11           The Complaint contains seven claims for relief. Claim I, styled as a “Separation of
       12   Powers/Ultra Vires” claim that is asserted against President Trump, asserts that “Executive Order
       13   14210 exceeds the President’s lawful authority” by, in Plaintiffs’ characterization of the Order,
       14   directing the Federal Agency Defendants to implement large-scale RIFs, and prioritize certain
       15   items and functions in those RIFs, among other things. Id. ¶ 359. According to Plaintiffs,
       16   “Congress has not delegated to the President the authority to employ and discharge the subordinate
       17   employees of the agencies or to spend appropriated funds on those positions; rather, it delegated
       18   those functions exclusively to the heads of federal agencies.” Id. ¶ 356.
       19           Claims II-V consist of claims against OPM, OMB, and USDS.10 Claim II asserts a
       20   Separation of Powers/Ultra Vires claim against OPM, OMB, and USDS as well as their directors,
       21   9
              Plaintiffs refer to the 23 other defendants as “Federal Agency Defendants.” Complaint ¶ 63. We
       22   do not concede that all of these entities are agencies for the purposes of the Freedom of Information
            Act, Federal Records Act, APA, or any other purpose (it is well-established that the President is
       23   not an agency; the government’s position is also that USDS is not an agency). But since the TRO
       24   must be denied regardless of whether any or all the Defendants are agencies, we do not address
            that issue further (except to note below that the President is not an agency who can be sued under
       25   the APA). And for ease of reference, we also use the “agency” terminology in this brief.
            10
       26     Again, Plaintiffs characterize this claim as being brought against “DOGE” but we assume that
            the intended defendant is USDS, since the DOGE structure—consisting of USDS, the USDS
       27   Temporary Organization, and every DOGE Team housed within agencies—is not even an entity
            that can be sued. In any event, the claim fails and is not the basis for a TRO regardless of who
       28
            Plaintiffs purport to bring it against.


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        1   and contends that the Workforce Memorandum exceeds these entities’ authority by supposedly
        2   “supplant[ing] the decision-making authority of the federal agencies with respect to federal agency
        3   employment or organization.” Id. ¶ 365. Claim III, an APA claim, asserts that the same
        4   Memorandum is not in accordance with law and exceeds the authority of OPM, OMB, and USDS
        5   on similar grounds. Id. ¶¶ 369-379. Claim IV, also an APA claim, asserts that OPM, OMB, and
        6   USDS acted arbitrarily and capriciously by issuing the Workforce Memorandum, and issuing any
        7   decision approving an ARRP (and that USDS’s supposed directives ordering agencies to make
        8   staffing and spending cuts are likewise arbitrary and capricious) because they supposedly “order
        9   federal agencies to cede decision-making authority to” those entities and direct large-scale RIFs
       10   regardless of agency’s statutory requirements, regulations, and necessary functions. Id. ¶¶ 380-83.
       11   Claim V asserts that the Workforce Memorandum is a “rule” under the APA that was subject to
       12   notice-and-comment requirements. Id. ¶¶ 384-91.
       13           Claims VI and VII are advanced against Federal Agency Defendants. Claim VI, an APA
       14   claim for action not in accordance with law, contends that that the Federal Agency defendants have
       15   unlawfully “cede[d] their decision-making authority with respect to the employees of that agency
       16   to the President, OMB, OPM, or DOGE.” Id. ¶ 396. Claim VII, an APA claim for arbitrary and
       17   capricious agency action, asserts (again, without discussion of any specific RIFs) that the agencies’
       18   implementation of the Workforce Executive Order is arbitrary and capricious. Id. ¶ 403.
       19           On May 1, 2025, Plaintiffs filed the TRO Motion against OPM, OMB, USDS, and 17 of
       20   the agency defendants, seeking to enjoin implementation of the Workforce Executive Order and
       21   Workforce Memorandum, including approvals of ARRPs, execution of any RIF notices, issuance
       22   of further RIF notices, placement of employees on administrative leave, “any further transfer of
       23   functions or programs between any Federal Agency Defendants in conjunction with implementing
       24   the Executive Order, the OMB/OPM Memorandum, or the ARRPs” and “any further orders by
       25   DOGE to agencies to cut programs or staff in conjunction with implementing the Executive Order,
       26   the OMB/OPM Memorandum, or the ARRPs[.]” TRO Motion at 1-2. 11
       27
            11
              In citing to filings, unless otherwise indicated, we use the page numbers corresponding to the
       28
            pages in the underlying document rather than on the ECF stamp.


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        1                                          STANDARD OF REVIEW
        2           Rule 65 of the Federal Rules of Civil Procedure empowers district courts to issue TROs.
        3   See Fed. R. Civ. P. 65(b). Like a preliminary injunction, a TRO is “an extraordinary remedy never
        4   awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); see also
        5   Washington v. Trump, 847 F.3d 1151, 1159 n.3 (9th Cir. 2017) (standards applicable to TROs and
        6   preliminary injunctions “substantially identical” (quoting Stuhlbarg Int’l Sales Co. v. John D.
        7   Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001)). A court should not “mechanically” grant an
        8   injunction for every violation of law. Weinberger v. Romero-Barcelo, 456 U.S. 305, 313 (1982).
        9   Instead, plaintiffs must establish that (1) they are “likely to succeed on the merits,” (2) they are
       10   “likely to suffer irreparable harm in the absence of preliminary relief,” (3) “the balance of equities
       11   tips in [their] favor,” and (4) “an injunction is in the public interest.” Winter, 555 U.S. at 20.
       12                                                  ARGUMENT
       13           Plaintiffs seek the extraordinary remedy of a temporary restraining order, and not just any
       14   restraining order. They ask this Court to enjoin implementation of an Executive Order on a
       15   virtually government-wide basis, in an area of core Executive Branch responsibility. See Arnett v.
       16   Kennedy, 416 U.S. 134, 168 (1974) (“[T]he Government, as an employer, must have wide
       17   discretion and control over the management of its personnel and internal affairs.”). But Plaintiffs
       18   are not entitled to any TRO because they waited far too long to bring this motion and any
       19   “emergency” is thus entirely of their own making. And even putting that aside, Plaintiffs satisfy
       20   none of the four Winter requirements, let alone all of them.
       21   I. Plaintiffs’ Delay Alone Warrants Denial of the TRO Motion
       22           The Court should deny the TRO on the threshold ground that Plaintiffs waited too long to
       23   seek this “emergency” relief. Plaintiffs filed their motion for a TRO on May 1, more than eleven
       24   weeks after the President signed the Workforce Executive Order (on February 11, 2025), and more
       25   than nine weeks after OPM and OMB issued the Workforce Memorandum. Plaintiffs’ delay
       26   forecloses preliminary injunctive relief—let alone a temporary restraining order. A “long delay
       27   before seeking a preliminary injunction implies a lack of urgency and irreparable harm.” Miller ex
       28   rel. NLRB v. Cal. Pac. Med. Ctr., 991 F.2d 536, 544 (9th Cir. 1993) (citation omitted). “Delays of


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        1   one month or more are common grounds for denying motions for temporary restraining orders,
        2   and some courts deny temporary relief based on delays of as little as ten days.” Int’l Tech. Univ.
        3   Found. v. WASC Senior Coll. & Univ. Comm’n, No. 22-cv-4576, 2023 WL 2621344, at *3 (N.D.
        4   Cal. Mar. 23, 2023).
        5           This Court and other federal district courts in California have denied motions for TROs by
        6   plaintiffs who delayed much less than Plaintiffs’ 11-week delay. See, e.g., Perez v. City of
        7   Petaluma, No. 21-CV-06190-JST, 2021 WL 3934327, at *1 (N.D. Cal. Aug. 13, 2021) (one-month
        8   delay); West v. PBC Mgmt. LLC, No. 23-cv-3283, 2023 WL 4477296, at *2 (N.D. Cal. July 10,
        9   2023) (eight-week delay); Devasahayam v. DMB Cap. Grp., No. 3:17-cv-02095-BEN-WVG, 2017
       10   WL 6547897, at *4 (S.D. Cal. Dec. 20, 2017) (one-month delay was “reason enough to deny a
       11   TRO”). In February, a federal judge in Washington, D.C., criticized attorneys who waited 21 days
       12   before filing a motion for a TRO challenging the removal of inspectors general. Chris Cameron,
       13   Judge Refuses to Immediately Reinstate Inspectors General Fired by Trump, N.Y. Times (Feb. 14,
       14   2025), https://www.nytimes.com/2025/02/14/us/politics/trump-inspectors-general-ruling.html.
       15           At bottom, preliminary relief exists to give a court enough time to engage in the ordinary
       16   adjudicative process. See 11A Wright & Miller, Federal Practice and Procedure § 2948.1 (3d ed.
       17   Apr. 2025 update) (“Only when the threatened harm would impair the court’s ability to grant an
       18   effective remedy is there really a need for preliminary relief.”). Thus, to obtain a temporary
       19   restraining order, Plaintiffs must show that they will suffer irreparable harm in the time before the
       20   Court can hold a hearing on a preliminary injunction; if they cannot meet that burden, they are not
       21   entitled to a TRO. Pan Am. World Airways, Inc. v. Flight Engineers’ Int’l Ass’n, PAA Chapter,
       22   AFL-CIO, 306 F.2d 840, 842–43 (2d Cir. 1962); cf. Granny Goose Foods, Inc. v. Bhd. of Teamsters
       23   Loc. No. 70, 415 U.S. 423, 439 (1974) (ex parte TROs “should be restricted to serving their
       24   underlying purpose of preserving the status quo and preventing irreparable harm just so long as is
       25   necessary to hold a hearing, and no longer.”). Here, where plaintiffs have produced a 50-page
       26   motion and 1,300 pages of declarations, where the government has been provided notice, and
       27   where the Court will hold a live hearing before resolving the motion, plaintiffs cannot show
       28   irreparable harm in the time before a preliminary injunction could be issued because this Court



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        1   could just as easily have considered this motion as one for a preliminary injunction. Plaintiffs’
        2   weeks-long delay in filing suit and in seeking a TRO underscores that they do not need immediate
        3   relief to preserve the Court’s ability to grant them effectual relief should they prevail on the merits.
        4   That they have titled their motion one for a TRO does not make it so. See Sampson v. Murray, 415
        5   U.S. 61, 86-87 (1974) (TRO label does shield a coercive order from appellate review).
        6           It is no answer to contend, as Plaintiffs have, that RIFs are only now occurring or are
        7   occurring soon. ECF No. 43 at 2. The TRO Motion does not make freestanding challenges to
        8   particular RIFs, and Plaintiffs do not seek to enjoin particular RIFs on fact-specific grounds. Again,
        9   Plaintiffs’ challenges involve legal grounds that were fully available to them beginning February
       10   11 and February 26. Although Plaintiffs also assert two claims against the Federal Agency
       11   Defendants, see supra p. 18, those claims also are not based on any fact-bound attack on particular
       12   RIFs. Rather, Plaintiffs complain that these agencies have supposedly ceded decisionmaking
       13   authority to the President, OPM, OMB, and USDS, that they are, inter alia, being compelled to act
       14   on unrealistic timetables, and that the RIFs they will supposedly engage in are necessarily contrary
       15   to statute. Id. As discussed further below, these contentions are entirely speculative and have no
       16   basis in either the Workforce Executive Order or the Workforce Memorandum. See infra pp. 45-
       17   46. But for present purposes, it suffices to note that Plaintiffs could have made all of these
       18   arguments months ago—beginning February 11 or (at the latest) by February 26.
       19           Plaintiffs also contend that “neither the White House, OMB, OPM, nor any of the
       20   implementing agencies made [the ARRPs] public” and “Plaintiffs have been required to uncover
       21   the evidence to support this TRO request by relying on leaks and unfolding events.” ECF No. 37
       22   at 2. But as the Workforce Memorandum and the description above make clear, the ARRPs are
       23   deliberative agency planning documents that discuss a number of steps the agency plans to take
       24   to, inter alia, improve the agency’s efficiency, as well as to focus on statutorily required functions
       25   activities that directly serve the public. See supra pp. 15-16. RIFs follow a separate process,
       26   including a formal RIF notice period of 60 days (or 30 days if the agency obtains an OPM waiver),
       27   in which affected employees are issued formal RIF notices, as well as provided appeal rights,
       28   career transition assistance, and priority placement options. ECF No. 37-1 App. 2 at 7. Employees



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        1   who receive a RIF notice also have an opportunity to inspect the retention register/related records
        2   before the RIF. 5 CFR § 351.505(b)(1). If pre-RIF challenges are judicially cognizable, the
        3   appropriate time for such litigation would be during the 60-day (or 30-day) notice period.
        4           And in any event, again, Plaintiffs’ legal claims are based on the content of the February
        5   11 Workforce Executive Order, and the February 26 Workforce Memorandum. Had Plaintiffs filed
        6   suit in February, these questions could have been litigated long ago—indeed, it is quite possible
        7   that this Court could have by now decided modestly expedited motions for summary judgment
        8   raising the legal issues Plaintiffs raise in this TRO motion. This Court should reject out of hand
        9   the notion that Plaintiffs’ sprawling current challenge to an Executive Order issued nearly three
       10   months ago constitutes an emergency that requires the nearly government-wide TRO that Plaintiffs
       11   now request. Because this motion comes far too late, the Court should deny it.
       12   II. Plaintiffs Satisfy None of the Winter Requirements
       13           Given the timing considerations set forth above, this Court should deny the TRO motion
       14   without further consideration of the relevant requirements. But even if the Court considers the four
       15   Winter requirements, Plaintiffs satisfy none of them.
       16       A. Plaintiffs Are Unlikely to Succeed on the Merits of their Claims
       17           The likelihood-of-success factor “is a threshold inquiry and is the most important factor.”
       18   Env’t Prot. Info. Ctr. v. Carlson, 968 F.3d 985, 989 (9th Cir. 2020). And it is dispositive here.
       19   Plaintiffs can show no likelihood of success in their challenge to the Workforce Executive Order
       20   and the Workforce Memorandum. They cannot challenge either and, even if they could, both are
       21   lawful. To the extent Plaintiffs purport to challenge particular RIFs, this Court lacks jurisdiction
       22   to consider those challenges, and any such challenge would be utterly conclusory.
       23           1. The Workforce Executive Order and Workforce Memorandum are Not Subject
                       to Review
       24
                    Plaintiffs are unlikely to succeed in challenging the Workforce Executive Order and the
       25
            Workforce Memorandum because this Court lacks jurisdiction to consider those challenges.
       26
            Congress’s comprehensive remedial scheme for adjudicating employment disputes with the
       27
            federal government precludes Plaintiffs’ suit. They have not established standing to pursue their
       28


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        1   claims and to seek the relief sought in the TRO motion. And even putting these threshold obstacles
        2   aside, neither the Workforce Executive Order nor the Workforce Memorandum is reviewable in
        3   this context. We address each point in turn.
                        a. The FSLMRS and CSRA Preclude District-Court Jurisdiction Over Plaintiffs’
        4
                           Challenge to the Workforce Executive Order and Workforce Memorandum.
        5           Congress has broadly empowered the judiciary to hear “claims ‘arising under’ federal law”
        6   “by way of 28 U.S.C. § 1331’s grant of jurisdiction.” Axon Enters., Inc. v. FTC, 598 U.S. 175, 185
        7   (2023). Nonetheless, “[a] special statutory review scheme, . . . may preclude district courts from
        8   exercising jurisdiction over challenges to federal agency action.” Id. Thus, when a statute sets out
        9   “a particular procedure and time period” for challenging agency actions, a plaintiff may be
       10   precluded from relying on a district court suit. See N.Y. Republican State Comm. v. SEC, 799 F.3d
       11   1126, 1135-36 (D.C. Cir. 2015). Where Congress has done so implicitly, courts determine whether
       12   it intended to preclude particular claims by assessing whether “(i) such intent is ‘fairly discernible
       13   in the statutory scheme,’ and (ii) the litigant’s claims are ‘of the type Congress intended to be
       14   reviewed within [the] statutory structure.’” Jarkesy v. SEC, 803 F.3d 9, 15 (D.C. Cir. 2015)
       15   (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)); accord Kerr v. Jewell,
       16   836 F.3d 1048, 1057-58 (9th Cir. 2016). Applying that framework here, neither the union Plaintiffs
       17   nor the non-union Plaintiffs can show that their challenge to any RIFs agencies may undertake in
       18   implementing the Workforce Executive Order can be heard in federal district court.
       19           Union Plaintiffs: First, the union Plaintiffs cannot show that district courts have
       20   jurisdiction over their claims. See AFGE v. Trump, 929 F.3d at 752; Maryland v. U.S. Dep’t of
       21   Agriculture, No. 25-1248, 2025 WL 1073657 (4th Cir. April 9, 2025); Nat’l Treasury Emps. Union
       22   v. Trump, No. 25-CV-420 (CRC), 2025 WL 561080 (D.D.C. Feb. 20, 2025); Am. Fed'n of Gov’t
       23   Emps., AFL-CIO v. Ezell, No. 25-cv-10276, 2025 WL 470459 (D. Mass. Feb. 12, 2025).
       24           In AFGE v. Trump, numerous federal unions asserted broad constitutional and statutory
       25   challenges to a set of three executive orders issued by President Trump during his first
       26   administration that would have enacted substantial changes to the way federal unions operated. On
       27   the government’s appeal from a district court decision largely in the unions’ favor, the D.C. Circuit
       28   reversed the underlying decision on jurisdictional grounds, holding that the FSLMRS’s


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        1   comprehensive administrative-judicial review scheme channeled jurisdiction entirely away from
        2   the federal district courts. Federal labor disputes must be heard through the FLRA review scheme,
        3   with judicial review in a federal court of appeals following the conclusion of administrative
        4   proceedings before the FLRA. See AFGE v. Trump, 929 F.3d at 754-61. Applying the logic of that
        5   holding, a federal district court in Washington, D.C. recently held—in denying a preliminary
        6   injunction that also challenged Executive Order 14210, in the context of alleged firing of 70 CFPB
        7   employees—that the FSLMRS channeled jurisdiction away from federal district courts and instead
        8   required the unions to pursue their claims before the FLRA. See Nat’l Treasury Emps. Union, 2025
        9   WL 561080, at *4. A district court in Massachusetts reached the same conclusion in a lawsuit by
       10   labor unions representing federal employees challenging the closing of the deferred resignation
       11   offer known as the “Fork in the Road.” Am. Fed’n of Gov’ Emps., 2025 WL 470459, at *1-*3.
       12           The Fourth and D.C. Circuits reached similar conclusions in decisions from the last month
       13   concerning the Administration’s workforce policies. The Fourth Circuit stayed a preliminary
       14   injunction to “refrain” from certain types of “reductions in force.” Maryland, 2025 WL 1073657,
       15   at *1. “[T]he Government argue[d] . . . that the district court lacked subject-matter jurisdiction
       16   because the Civil Service Reform Act . . . provides the exclusive means for review of personnel
       17   actions taken against federal employees.” Id. The Court agreed, recognizing “the Government is
       18   likely to succeed in showing the district court lacked jurisdiction over Plaintiffs’ claims.” Id. So
       19   too in the D.C. Circuit. See Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *2 (D.C.
       20   Cir. May 3, 2025). In response to an Executive Order directing the United States Agency for Global
       21   Media (USAGM) leadership to reduce the agency to the minimum level of operations required by
       22   statute, see 90 Fed. Reg. 13043 (Mar. 14, 2025), USAGM placed over 1,000 employees on
       23   administrative leave, and terminated nearly 600 personal-service contractors. The D.C. Circuit
       24   stayed a district court order preliminarily enjoining those actions, finding that “[t]he district court
       25   likely lacked jurisdiction over USAGM’s personnel actions.” Widakuswara, 2025 WL 1288817
       26   at *2. The Court noted that “‘[w]e have long held that federal employees may not use the
       27   Administrative Procedure Act to challenge agency employment actions.’” Id. (quoting Filebark v.
       28   U.S. Dep’t of Transp., 555 F.3d 1009, 1010 (D.C. Cir. 2009)). “Congress has instead established



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        1   comprehensive statutory schemes for adjudicating employment disputes with the federal
        2   government” and “[t]hese remedial schemes provide[] the exclusive procedures by which federal
        3   employees may pursue employment- and contractor-related claims.” Id.
        4           In so concluding, the panel majority also rejected the district court’s conclusion that an
        5   injunction was warranted because “this case is not simply a collection of employment disputes”
        6   since the “facts on the record and on the ground” suggest USAGM is being “dismantl[ed].”
        7   Widakuswara v. Lake, No. 25-cv-1015, 2025 WL 1166400, at *11 (D.D.C. Apr. 22, 2025). The
        8   panel majority did not quibble with the district court’s characterization but instead held that it was
        9   irrelevant to the channeling question. As the Court explained, “[t]he ‘dismantling’ that plaintiffs
       10   allege is a collection of ‘many individual actions’ that cannot be packaged together and ‘laid before
       11   the courts for wholesale correction under the APA.’” Widakuswara, 2025 WL 1288817, at *3
       12   (quoting Nat’l Wildlife Fed’n, 497 U.S. at 893). Rather, any individual personnel actions “must be
       13   pursued through other remedial channels.” Id.
       14           The same result is required here. “The claims here are brought by a union representing
       15   federal employees against their federal employers—thus, they are federal labor-management
       16   relations claims.” Nat’l Treasury Emps. Union, 2025 WL 561080, at *5 (quotation marks omitted).
       17   “And the Statute’s scheme is ‘exclusive’ with respect to such claims.” Id. Indeed, the Supreme
       18   Court recognized this exclusivity principle just last month in staying a district court’s temporary
       19   restraining order under the APA in the funding context: “The APA’s waiver of sovereign immunity
       20   does not apply ‘if any other statute that grants consent to suit expressly or impliedly forbids the
       21   relief which is sought.’” Dep’t of Educ. v. California, 145 S. Ct. 966, 968 (2025) (quoting 5 U.S.C.
       22   § 702). Citing California, the Fourth Circuit last month stayed a preliminary injunction
       23           Non-Union Plaintiffs: The non-union Plaintiffs also fail to show that their claims can be
       24   heard in federal district court. The CSRA provides the exclusive means of redressing employment
       25   disputes involving federal employees, see United States v. Fausto, 484 U.S. 439, 455 (1988)), even
       26   when those disputes involve constitutional claims. See Elgin, 567 U.S. at 10-15. Such claims must
       27   be pursued before the MSPB (if at all). The CSRA thus imposes an “implied preclusion of district
       28


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        1   court jurisdiction,” id. at 12, and “precludes courts from providing supplemental remedies,”
        2   Lampon-Paz v. OPM, 732 F. App’x 158, 161 (3d Cir. 2018).
        3           This is the exact conclusion the Ninth Circuit reached in Veit v. Heckler, 746 F.2d 508,
        4   510-11 (9th Cir. 1984), over four decades ago. In that case, a career employee of the Social
        5   Security Administration sued the Secretary of Health and Human Services in federal district court
        6   to challenge the agency’s appraisal of his job performance. Id. at 510. The district court rejected
        7   the employee’s claim, holding that it was not subject to federal court review, and the Ninth Circuit
        8   affirmed. The court noted that “[t]he CSRA provides a comprehensive scheme for administrative
        9   and judicial review of federal personnel actions and practices.” Id. It observed that “other circuits
       10   have held that the comprehensive nature of the procedures and remedies provided by the CSRA
       11   indicates a clear congressional intent to permit federal court review as provided in the CSRA or
       12   not at all.” Id. at 511 (emphasis added). And the Ninth Circuit agreed with those courts that “the
       13   federal courts have no power to review federal personnel decisions and procedures unless such
       14   review is expressly authorized by Congress in the CSRA or elsewhere.” Id. (emphasis added).
       15           Plaintiffs’ claims are precluded: Given that well-established precedent demonstrating
       16   that Plaintiffs’ claims are precluded, specific consideration of the Thunder Basin factors is
       17   unnecessary here. In any event, analysis of those factors confirms this conclusion.
       18           The first step under Thunder Basin—Congress’s intent to preclude—is satisfied here:
       19   Congress established a detailed scheme for adjudicating federal labor disputes. The FSLMRS
       20   provides for “administrative and judicial review” regarding disputes between employees and their
       21   federal employers and disputes between unions representing those employees and the government.
       22   AFGE, 929 F.3d at 752. Congress decided, through the FSLMRS, that federal labor disputes must
       23   first be administratively exhausted before the FLRA. Judicial review, if any, is available only in a
       24   court of appeals. See id. (citing 5 U.S.C. §§ 7105, 7123(a), (c)); see also 5 U.S.C. § 7703(b)
       25   (judicial review in Federal Circuit or other court of appeals). “Congress typically chooses . . .
       26   review in a court of appeals following the agency’s own review process” when designing an
       27   implicit preclusion scheme. Axon, 598 U.S. at 185. That is what this scheme includes. Accordingly,
       28   as the D.C. Circuit has recognized, the FSLMRS precludes jurisdiction in the district courts over



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        1   federal union disputes. See AFGE v. Trump, 929 F.3d at 754. This “enormously complicated and
        2   subtle scheme to govern employee relations in the federal sector” does not permit a district court
        3   runaround. See id. at 755 (quoting AFGE v. Sec’y of the Air Force, 716 F.3d 633, 636 (D.C. Cir.
        4   2013)). The same is true for the CSRA. See Elgin, 567 U.S. at 10-15; Fausto, 484 U.S. at 455.
        5           Turning to the second Thunder Basin step—whether particular claims are of the type
        6   Congress intended to be reviewed in this scheme—the Court must consider “three considerations
        7   designed to aid in that inquiry, commonly known now as the Thunder Basin factors.” Axon, 598
        8   U.S. at 186. The factors are: (i) “could precluding district court jurisdiction foreclose all
        9   meaningful judicial review of the claim”; (ii) “is the claim wholly collateral to the statute’s review
       10   provisions”; and (iii) “is the claim outside the agency’s expertise?” Id. (internal quotation marks,
       11   citation, and alteration omitted). These “considerations” are ultimately merely guideposts to “best
       12   [] understand what Congress has done—whether the statutory review scheme, though exclusive
       13   where it applies, reaches the claim in question.” Id.
       14           All three factors are satisfied here. First, both statutory schemes provide meaningful
       15   judicial review over Plaintiffs’ claims. Plaintiffs do not substantially argue otherwise. Plaintiffs
       16   briefly contend that “[t]he FLRA hears bargaining unit-specific matters that expressly exclude
       17   government-wide action.” TRO Brief at 47 (citing NTEU and Dep’t of Treasury, IRS, 60 F.L.R.A.
       18   783, 783 (2005). But even if this assessment of the FLRA’s authority is accurate, the assertion is
       19   irrelevant. As Judge Cooper observed in National Treasury Employees Union, “even if the FLRA
       20   cannot decide [Plaintiffs’] constitutional claims, ‘it is of no dispositive significance whether the
       21   agency has the authority to rule on constitutional claims so long as the claims can eventually reach
       22   an Article III court fully competent to adjudicate them.’” 2025 WL 561080 at *7 (quoting AFGE
       23   v. Trump, 929 F.3d at 758 (some quotation marks omitted)). Here, as in AFGE v. Trump, parties
       24   can bring certain claims through the administrative process “in the context of concrete . . .
       25   disputes.” Id. at 757. Similarly, if any Plaintiff thinks particular RIFs conflict with any federal rule,
       26   guidance, or statute, it may assert such a claim within one of the review schemes. See, e.g.,
       27   Marshall v. HHS, 587 F.3d 1310, 1318 (Fed. Cir. 2009) (reversing based on an erroneous statutory
       28   interpretation); Lyons v. Dep’t of Veteran’s Affs., 273 F. App’x 929, 931 (Fed. Cir. 2008)



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        1   (considering whether regulation was violated); Fed. L. Enf’t Offs. Ass’n v. Ahuja, 62 F.4th 551,
        2   560 (D.C. Cir. 2023) (noting challenges to OPM guidance through the MSPB system). 12
        3           Plaintiffs’ claims are also not wholly collateral. As the Supreme Court explained in Elgin,
        4   what matters for purposes of this inquiry is whether the subject of Plaintiffs’ challenge is a matter
        5   covered by the CSRA and FSLMRS schemes. Thus, in Elgin, Plaintiffs’ “constitutional claims
        6   [were] the vehicle by which they seek to reverse the removal decisions, to return to federal
        7   employment[.]” 567 U.S. at 22. And “[a] challenge to removal is precisely the type of personnel
        8   action regularly adjudicated by the MSPB and the Federal Circuit within the CSRA scheme.” Id.
        9   Similarly here, the ultimate subject of Plaintiffs’ challenge is agency removals in the form of RIFs;
       10   their APA and ultra vires claims are simply the vehicles by which they seek to prevent such RIFs. 13
       11           Third, and for similar reasons, the agency may bring its expertise to bear on many of the
       12   questions raised. As noted, Plaintiffs contend that the Workforce Executive Order and Workforce
       13   Memorandum effectively compel agencies to engage in large-scale RIFs that are necessarily
       14   contrary to statute, and force them to act under unrealistic timeframes. See supra p. 18. That
       15   assertion is incorrect but, in any event, is a question expert administrative agencies should assess
       16   in the context of challenges to particular RIFs, not a question a federal district court should address
       17
            12
               The FLRA and MSPB are also both capable of adjudicating claims of multiple employees raising
       18
            common issues on a consolidated basis. See Nat’l Treasury Emps. Union, 2025 WL 561080, at *7
       19   (“NTEU provides no reason why it could not seek relief from the FLRA on behalf of a class of
            plaintiffs and admits that it would ask other agencies to follow an administrative judge's ruling in
       20   its favor.”); Order on Stay Request, Special Counsel ex rel. John Doe v. Department of Agriculture,
       21   No. CB-1208-25-0020-U-1 (MSPB Mar. 5, 2025), https://perma.cc/3F45-PKG5 (single MSPB
            order staying termination of nearly 6,000 employees); see also Widakuswara, 2025 WL 1288817,
       22   at *2 n.2 (D.C. Circuit noting this MSPB ruling and stating that “administrative agencies are not
            powerless to issue broad-reaching relief in large-scale personnel matters”).
       23   13
               This case is thus unlike Axon, where the Supreme Court held that the claims at issue did not
       24   need to be channeled. In that case, plaintiffs challenged pending FTC and SEC enforcement actions
            on the ground that the ALJs could not “constitutionally exercise governmental authority because
       25   of their dual-layer protection from removal.” 598 U.S. at 183. The core of each plaintiffs’ claim
       26   was that they were subject to “an illegitimate proceeding, led by an illegitimate decisionmaker,”
            which qualified as a “here-and-now injury” that could not be remedied after the fact, because “[a]
       27   proceeding that has already happened cannot be undone.” Id. at 191 (citation omitted). Here,
            Plaintiffs’ claims are not based on a claim that the administrative schemes are unconstitutionally
       28
            structured or otherwise invalid.


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        1   in a government-wide challenge to an Executive Order that provides agencies with significant
        2   discretion in implementation. Indeed, even in Elgin (where the question at issue was the
        3   constitutionality of a federal statute), the Court noted that the need for agency expertise supported
        4   a channeling requirement, since “preliminary questions unique to the employment context” include
        5   fact questions about a “resignation” (there whether it “amounted to a constructive discharge”) as
        6   well as “statutory or constitutional claims that the MSPB routinely considers.” 567 U.S. at 22-23.
        7   Even if some of the claims could move beyond the administrative expertise of the FLRA or the
        8   MSPB, these “threshold questions” may “alleviate [the other] concerns.” Id.
        9           Against all of this, Plaintiffs address channeling only briefly and unpersuasively. Plaintiffs
       10   do not specifically address the Thunder Basin factors14 but insist that the channeling requirement
       11   does not apply because “the administrative agencies at issue were never designed to handle claims
       12   involving (1) the President, (2) OPM, (3) OMB, or (4) DOGE, or (5) agency action effectuating
       13   government-wide Presidential orders, whether under the APA or ultra vires doctrine.” TRO Brief
       14   at 47. But initially, it is not even clear what this means. The personnel actions Plaintiffs seek to
       15   prevent—namely, RIFs—will be carried out by individual agency defendants, and there is no basis
       16   for Plaintiffs’ claim that the President, OPM, OMB, and USDS are dictating specific RIFs.
       17           But in any event, it makes no difference whether labor relations claims covered by the
       18   FSLMRS or personnel actions covered by the CSRA are ultimately traceable to the President (or
       19   OMB, OPM, or USDS). In AFGE v. Trump, an Executive Order was also involved and that did
       20   not change the fact that the labor statutes applied. AFGE v. Trump, 929 F.3d at 753. Nor is there
       21   any exception to channeling requirements for covered personnel actions purportedly taken
       22   pursuant to “government-wide” policies. The employees in Elgin, to take just one example, were
       23   discharged pursuant to a “government-wide” rule: they failed to register for the draft and a federal
       24   statute barred from Executive agency employment anyone who has knowingly and willfully failed
       25
            14
       26     Plaintiffs cite Justice Gorsuch’s concurrence in Axon criticizing Thunder Basin. See Axon, 598
            U.S. at 205 (Gorsuch, J., concurring). Justice Thomas also expressed criticism of Thunder Basin.
       27   Id. at 196 (Thomas, J., concurring). But as Judge Cooper pointed out in National Treasury
            Employees Union, 2025 WL 561080 at *5 n.3, the seven other Justices applied the Thunder Basin
       28
            factors, and there is no question this framework remains good law that is binding here.


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        1   to register for the Selective Service as required by the Military Selective Service Act, 5 U.S.C.
        2   § 3328. See Elgin, 567 U.S. at 7. Plaintiffs also cite the Fifth Circuit’s decision in Feds for Med.
        3   Freedom v. Biden, 63 F.4th 366 (5th Cir. 2023) (en banc) (since vacated as moot) as a case
        4   “rejecting channeling of challenge to Presidential mandate.” TRO Brief at 48. But the Fifth Circuit
        5   there rejected channeling arguments because it concluded that the subject of the challenge—a
        6   vaccine mandate—was not a personnel action covered by the CSRA. 63 F.4th at 375. That holding
        7   has nothing to do with this case. The FSLMRS and CSRA bar Plaintiffs’ claims.
        8             Finally on this point, Defendants recognize that, as Plaintiffs note, Judge Alsup recently
        9   concluded that public-sector unions were not subject to statutory channeling in a case challenging
       10   the termination of probationary employees. AFGE v. OPM, No. 25-01780, 2025 WL 900057, at
       11   *2 (N.D. Cal. Mar. 24, 2025). Defendants respectfully submit that this decision was incorrect and
       12   have appealed it but, in any event, it is clearly distinguishable from this one in several respects.
       13             For one, Judge Alsup concluded there that “[t]he public-sector unions’ ultra vires and other
       14   claims will not be subject to judicial review if not litigated here” because probationary employees
       15   do not have appeal rights to the MSPB (whose decision could then be subject to judicial review).
       16   Id. at *4. That consideration is irrelevant here because this action does not involve a challenge to
       17   matters concerning probationary employees in particular.
       18             And in applying the Thunder Basin factors, Judge Alsup concluded that the case involved
       19   OPM directing “all federal agencies to terminate their probationers en masse.” Id. at *3. Based on
       20   that characterization15—that the case involved whether OPM had the authority to issue a clear
       21   directive that agencies purportedly then obeyed—Judge Alsup concluded that the case raised “only
       22   a standard issue of administrative and constitutional law, relating not at all to considerations of
       23   agency policy,” id. at *2 (citation omitted), and that the claim was wholly collateral because it
       24   involved no challenge to any decision about a particular agency’s workforce but, rather, about “a
       25   prior controlling event: Did the OPM exceed its authority when it directed all federal agencies to
       26   terminate their probationers en masse[,]” id. at *3. Here, by contrast, the Workforce Executive
       27   Order and Memorandum plainly do not contain the sort of simple directive like the “terminate all
       28   15
                 Which, to be clear, the government asserts was and is incorrect.


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        1   probationary employees” directive that Judge Alsup ascribed to OPM in that case. Neither source
        2   directs RIFs of particular employees or classes of employees, and both provide ample discretion
        3   for agencies to conduct RIFs consistent with their own workforce needs, and statutorily required
        4   functions. Any challenges to RIFs in this context thus necessarily involve consideration of agency
        5   policy issues—including agency-specific questions regarding each agency’s particular statutory
        6   authorities and responsibilities, and the particular RIF action that the agency chose or is planning
        7   to carry out—of the sort that must be channeled through the exclusive remedial schemes that
        8   Congress has established. Because this Court lacks jurisdiction over Plaintiffs’ claims, Plaintiffs
        9   are not likely to succeed on the merits of those claims.
                        b. Plaintiffs Fail to Show Standing
       10
                      To establish standing, a plaintiff must show: (i) an “injury in fact,” that is, a violation of a
       11
            legally protected interest that is “concrete and particularized” and “actual or imminent, not
       12
            conjectural or hypothetical”; (ii) a causal connection between the injury and the defendant’s
       13
            conduct such that the injury is “fairly . . . traceable to the challenged action”; and (iii) that it is
       14
            “likely, as opposed to merely speculative that the injury will be redressed by a favorable decision.”
       15
            Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992) (cleaned up) (omission in original).
       16
            Plaintiffs “bear[] the burden of establishing these elements,” and therefore “must clearly . . . allege
       17
            facts demonstrating each element.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (cleaned up)
       18
            (omission in original). Because Plaintiffs seek a 14-day TRO and bear the burden of showing
       19
            standing for each remedy they request, they must demonstrate a redressable injury for that time
       20
            period.
       21
                      To establish injury in fact, a plaintiff must show that the defendant’s action affects him or
       22
            her in a “personal and individual way,” Lujan, 504 U.S. at 560 n.1, rather than being a “generalized
       23
            grievance,” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 381 (2024). A
       24
            plaintiff must show more than a “possible future injury”; he or she must show that harm has
       25
            actually occurred or is “certainly impending.” Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)
       26
            (citation omitted). “[A]llegations of possible future injury are not sufficient” to establish standing.
       27
            Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation marks omitted).
       28


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        1           The union Plaintiffs have not established their standing. Because they rely on their
        2   members’ injuries, the union Plaintiffs must “make specific allegations establishing that at least
        3   one identified member had suffered or would suffer harm.” Summers v. Earth Island Institute, 555
        4   U.S. 488, 498 (2009). Plaintiffs assert that “[u]nion Plaintiffs’ members include many federal
        5   employees who have suffered, or imminently will suffer, termination due to the RIFs,” TRO Brief
        6   at 44. But the examples in the footnote accompanying that assertion do not adequately substantiate
        7   this claim. Specifically, the Kelley, Blake, Cochran, Norman, Howell, Wilson, and Turner-Nichols
        8   declarations do not appear to allege any imminent RIFs of any named Plaintiff union members.
        9   See ECF Nos. 37-6 (no specific allegations about pending or specific imminent RIFs), 37-10 ¶ 9
       10   (“To date, I have not heard of any formal plans for a RIF at the Department of the Interior or,
       11   specifically at NPS.”), 37-19 ¶ 14 (noting that formal RIF notices have not been sent but will be
       12   30 days in advance of June 30), 37-23 ¶ 16 (noting that bargaining unit employees have received
       13   RIFs but not specifying whether any are members and not naming them), 37-25 (no specific
       14   allegations about pending or specific imminent RIFs), 37-28 (same), 37-33 (same), 37-35 (same). 16
       15   Nor can plaintiffs rely (TRO Brief at 44-45) on the speculative possibility that some member may
       16   be harmed as a result of a future RIF. See Summers v. Earth Island Inst., 555 U.S. 488, 497–98
       17   (2009). Rather, they must identify specific members by name who will suffer harm. See Associated
       18   Gen. Contractors of Am., San Diego Chapter, Inc. v. California Dep't of Transp., 713 F.3d 1187,
       19   1194 (9th Cir. 2013). “This requirement of naming the affected members has never been dispensed
       20   with in light of statistical probabilities, but only where all the members of the organization are
       21   affected by the challenged activity.” Summers, 555 U.S. at 498-99 (2009). Plaintiffs do not meet
       22   that standard here.
       23
       24
       25   16
               The TRO motion does not seek relief as to any employee as to whom a RIF has already been
       26   effectuated. TRO Motion at 2. And any such request would be without merit given that the purpose
            of a preliminary injunction (and certainly a TRO) is to preserve the status quo, and “courts must
       27   be ‘institutionally wary of granting relief that disrupts, rather than preserves, the status quo.’”
            Hanson v. Dist. of Columbia, 120 F.4th 223, 247 (D.C. Cir. 2024) (quoting Singh v. Berger, 56
       28
            F.4th 88, 95 (D.C. Cir. 2022)).


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        1           Plaintiffs’ other standing allegations are unavailing. Although Plaintiffs assert that “[t]he
        2   members who remain employed will face overwork and worsened conditions,” TRO Brief at 45,
        3   this contention is entirely conclusory, particularly since—as discussed above—the Executive
        4   Order directs agencies to consider RIFs as part of a broader effort to focus agencies on, among
        5   other things, the performance of statutorily required functions (not to reduce headcount for its own
        6   sake). Nor have Plaintiffs shown that being asked to perform more duties at work is a concrete
        7   harm for purposes of Article III. See TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021)
        8   (plaintiff must show harm of the type cognizable at common law). Plaintiffs also claim standing
        9   based on the supposedly impending loss of critical government services. TRO Brief at 45. But this
       10   too is speculative, particularly given the discretion afforded to agencies by the Workforce
       11   Executive Order, and the Workforce Memorandum’s repeated instructions that agencies should
       12   not undertake any action that would impair service delivery functions. See infra p. 37. Even if it
       13   were not speculative, Plaintiffs would still lack standing as mere potential end-users of government
       14   services. United States v. Texas, 599 U.S. 670, 674, 680 n.3 (2023); Arizona v. Biden, 40 F.4th
       15   375, 386 (6th Cir. 2022) (rejecting contention that any federal policy that “imposes peripheral costs
       16   on a State creates a cognizable Article III injury for the State to vindicate in federal court”).
       17   Plaintiffs also contend that the prospect of RIFs require them to divert their own resources. TRO
       18   Brief at 45. That theory of organizational standing was expressly rejected in the Supreme Court’s
       19   recent decision in FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024). The Court
       20   rejected the proposition that “standing exists when an organization diverts its resources in response
       21   to a defendant’s actions,” stating “[t]hat is incorrect.” Id. at 395. And, in any event, this assertion
       22   too is entirely conclusory. Finally, Plaintiffs contend that they “have standing for their procedural
       23   claims, because they would have submitted comments had Defendants properly engaged in notice-
       24   and-comment rulemaking.” TRO Brief at 46. But Plaintiffs’ notice and comment claim concerns
       25   only the February 26, 2025 Workforce Memorandum, which has no direct effect on any of
       26   Plaintiffs. See infra p. 36-38.
       27
       28


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                        c. Independent of the FSLMRS and CSRA, the Workforce Executive Order Is
        1
                           Not Reviewable Here
        2           Even if statutory preclusion did not apply, the Workforce Executive Order still would not
        3   be reviewable in this Court. The President is not an agency, see Franklin v. Massachusetts, 505
        4   U.S. 788, 800-01 (1992), and therefore “actions of the President . . . are not reviewable under the
        5   APA,” Dalton v. Specter, 511 U.S. 462, 470 (1994). To be sure, final agency actions implementing
        6   the Workforce Executive Order may be subject to judicial review (though not in federal district
        7   court for personnel and labor actions, see supra pp. 23-31), see Chamber of Com. of U.S. v. Reich,
        8   74 F.3d 1322, 1327 (D.C. Cir. 1996), but the Executive Order itself is not. As noted above,
        9   Plaintiffs do not challenge any specific RIF. Thus, APA review of the Workforce Executive Order
       10   is plainly unavailable here.
       11           Although the “President’s actions may still be reviewed for constitutionality” through a
       12   cause of action in equity, Franklin, 505 U.S. at 801, that cause of action is unavailable here because
       13   this exception applies only to constitutional claims. “Claims simply alleging that the President has
       14   exceeded his statutory authority are not ‘constitutional’ claims, subject to judicial review under
       15   the exception recognized in Franklin.” Dalton, 511 U.S. at 473-74.
       16           In Dalton, for example, the Supreme Court rejected the proposition that “whenever the
       17   President acts in excess of his statutory authority, he also violates the constitutional separation-of-
       18   powers doctrine.” Id. at 471. Rather, the Court explained that not “every action by the President,
       19   or by another executive official, in excess of his statutory authority is ipso facto in violation of the
       20   Constitution.” Id. at 472. In reaching this conclusion, the Court carefully “distinguished between
       21   claims of constitutional violations and claims that an official has acted in excess of his statutory
       22   authority.” Id. (collecting cases). It explained that the Constitution is implicated only if executive
       23   officers rely on it as an independent source of authority to act or if the officers rely on an
       24   unconstitutional statute. Id. at 473 & n.5; see also Ctr. for Biological Diversity v. Trump, 453 F.
       25   Supp. 3d 11, 51-54 (D.D.C. 2020) (rejecting separation-of-powers claim based on Appropriations
       26   Clause under Dalton because “[a]t bottom, this is just an allegation that [executive officials]
       27   exceeded their statutory authority”). That forecloses Plaintiffs’ ultra vires claim here because it is
       28   a claim for statutory violations, not freestanding constitutional claims. See TRO Brief at 29-35


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        1   (Plaintiffs arguing at length that neither Article II nor a specific statute authorizes the Workforce
        2   Executive Order but making no freestanding constitutional arguments).
        3           To be sure, the Supreme Court suggested in Dalton that nonstatutory review of the
        4   President’s actions for constitutionality could be available in a case “involv[ing] the conceded
        5   absence of any statutory authority.” 511 U.S. at 473; see also id. (discussing Youngstown Sheet &
        6   Tube Co. v. Sawyer, 343 U.S. 579 (1952) as an example of this scenario because the Government
        7   in that case had made no argument about statutory authorization and thus “[t]he only basis of
        8   authority asserted was the President’s inherent constitutional power as the Executive and the
        9   Commander in Chief of the Armed Forces”). But that narrow exception is plainly inapplicable here
       10   because federal law expressly permits RIFs, the governing statute expressly directs OPM to
       11   promulgate regulations governing RIFs, and Congress has consistently recognized agencies’
       12   authority to engage in RIFs since the nineteenth century. See supra pp. 5-11.
                        d. The Workforce Memorandum is Not a Reviewable Final Agency Action
       13
                    Also independent of the jurisdictional barriers identified above, the Workforce
       14
            Memorandum is not reviewable because only “final agency action” is reviewable under the APA.
       15
            5 U.S.C. § 704. That requirement has two distinct parts. First, what is challenged must be “agency
       16
            action” recognized by the APA, which defines the term to include a specific “rule, order, license,
       17
            sanction, relief, or the equivalent[.]” Id. § 551(13). Such an action must be a “discrete” act, as
       18
            plaintiffs are prohibited from leveling a “broad programmatic attack,” Norton v. S. Utah Wilderness
       19
            All., 542 U.S. 55, 64 (2004), against programs for which they are seeking “wholesale improvement
       20
            . . . by court decree, rather than in the offices of the Department or the halls of Congress,” Lujan,
       21
            497 U.S. at 891. As the Lujan Court explained, the APA is not intended to permit “general judicial
       22
            review of the [an agency’s] day-to-day operations.” Id. at 899; see also Jones v. U.S. Secret Serv.,
       23
            701 F. Supp. 3d 4, 17 (D.D.C. 2023) (“the term [agency action] is not so all-encompassing as to
       24
            authorize us to exercise judicial review over everything done by an administrative agency.”)
       25
            (alteration in original) (quoting Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13,
       26
            19 (D.C. Cir. 2006)), appeal filed, No. 23-5288 (D.C. Cir argued Nov. 22, 2024).
       27
       28


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        1           Second, agency action must be “final.” The Supreme Court has laid out a two-part test for
        2   finality, including that (1) “the action must mark the consummation of the agency’s
        3   decisionmaking process,” rather than being “of a merely tentative or interlocutory nature[;]” and
        4   (2) “the action must be one by which “rights or obligations have been determined,’ or from which
        5   ‘legal consequences will flow[.]’” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations
        6   omitted). The APA expressly excludes “preliminary, procedural, or intermediate agency action[s]
        7   or ruling[s].” 5 U.S.C. § 704.
        8           Here, the Workforce Memorandum does not qualify as “agency action.” As noted above,
        9   the Workforce Memorandum is inter-agency correspondence which states that agencies should
       10   submit Phase 1 ARRPs by March 13 (reports that were already required under the Workforce
       11   Executive Order), and Phase 2 ARRPs by April 14, and sets forth guidance on what those ARRPs
       12   should contain. The APA provides a list of five actions which it considers agency action: rules,
       13   orders, licenses, sanctions, and relief. 5 U.S.C. § 551(13). The Act further defines each of these
       14   terms. Id. § 551(4) (“rule”), (6) (“order”), (8) (“license”), (10) (“sanction”), (11) (“relief”). Even
       15   construed expansively, none of these terms encompasses the Workforce Memorandum.
       16           But even if the Workforce Memorandum qualifies as an agency action, it is not a final
       17   agency action. Plaintiffs do not explain how the Memorandum “consummat[es]” any agency’s
       18   decisionmaking process in such a way that legal consequences flow to Plaintiffs. U.S. Army Corps.
       19   of Eng’rs v. Hawkes Co., Inc., 578 U.S. 590, 597 (2016) (citation omitted). As the D.C. Circuit has
       20   explained, this prong of the Bennet test is measured by the “actual legal effect (or lack thereof) of
       21   the agency action in question on regulated entities.” Nat’l Min. Ass’n v. McCarthy, 758 F.3d 243,
       22   252 (D.C. Cir. 2014).
       23           The Workforce Memorandum has no such effect. It begins an iterative process between
       24   agencies and OPM and OMB, while explaining in broad terms what the agency ARRPs should
       25   include. Although Plaintiffs contend that the Memorandum provides “extensive direction to
       26   agencies,” the examples they cite underscore that it provides broad guidance, some of which just
       27   replicates the Workforce Executive Order. TRO Brief at 10-11; see id. (quoting portions of
       28   Memorandum stating that “Phase 1 ARRPs shall focus on initial agency cuts and reductions,” that



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        1   “Phase 2 plans shall outline a positive vision for more productive, efficient agency operations
        2   going forward.”).
        3           More fundamentally, as Plaintiffs note, the finality requirement is “interpreted in a
        4   pragmatic and flexible manner” that “focus[es] on the practical . . .effects of the agency action.”
        5   Prutehi Litekyan: Save Ritidian v. U.S. Dep’t of Airforce, 128 F.4th 1089, 1108 (9th Cir. 2025)
        6   (citation omitted). The Memorandum is multiple steps removed from any agency action that has
        7   an actual effect on Plaintiffs (i.e., any RIFs undertaken pursuant to the Workforce Executive Order
        8   and an ARRP), which include: (1) the relevant agency’s preparation of a Phase 1 ARRP; (2) that
        9   agency’s preparation of a Phase 2 ARRP; and (3) any RIFs that are noticed and effectuated.
       10           Contrary to Plaintiffs, the statement in the Workforce Memorandum that agencies should
       11   submit ARRPs to OMB and OPM for “review and approval” does not change this analysis. That
       12   language cannot possibly bear the weight that Plaintiffs assign to it and does not alter the
       13   fundamental point that individual agencies (not OPM and OMB) are in charge of crafting and
       14   implementing ARRPs as well as making decisions on RIFs. This is clear for at least nine reasons.
       15   First, the Executive Order simply provides agencies with broad guidance and does not dictate
       16   specific RIFs. Second, the Executive Order directly states that it shall not “be construed to impair
       17   or otherwise affect the authority granted by law to an executive department, agency, or the head
       18   thereof.” Exec. Order 14210, § 5(a)(i). Third, President Trump has publicly stated that agencies
       19   are responsible for developing and implementing RIFs. See supra p. 14. Fourth, the Workforce
       20   Memorandum also contains very broad guidelines, not specific dictates. Fifth, even the Workforce
       21   Memorandum’s very broad guidance concerning the contents of ARRPs relates only to the
       22   information to be included in the ARRPs, not what agencies should do (to take just one example,
       23   Phase 2 ARRPs should include “all reductions (of FTE positions and otherwise)” but a requirement
       24   that the agency list all reductions it has chosen to make does not mean that the agency has to make
       25   any specific reductions in the first place). Sixth, the Workforce Memorandum states at least five
       26   times that agencies should only undertake actions that are consistent with their statutory
       27
       28


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        1   authority.17 Seventh, the Memorandum repeatedly makes clear that agencies should not undertake
        2   any action that would impair service delivery functions.18 Eighth, the ARRPs even once finalized
        3   by the agency are simply agency planning documents that are distinct from any RIFs themselves.
        4   See supra pp. 16-17. And ninth, this argument ignores the roles OMB and OPM play in this
        5   context. “OPM may examine an agency’s preparations for reduction in force at any stage.” 5 C.F.R.
        6   § 351.205. “When OPM finds that an agency’s preparations are contrary to the express provisions
        7   or to the spirit and intent of these regulations or that they would result in violation of employee
        8   rights or equities, OPM may require appropriate corrective action.” And the President’s executive
        9   order directed agency heads to submit their reorganization plans to OMB.
       10           The Workforce Memorandum is thus far removed from any action with an actual effect on
       11   Plaintiffs. Even if Plaintiffs could challenge federal employment decisions under the APA (as
       12   discussed above, they cannot), employment termination decisions would be the relevant final
       13   agency action—even if the Memorandum and ARRPs were “agency action,” they would be
       14   “preliminary, procedural, or intermediate agency action” that “is subject to review on the review
       15   of the final agency action.” 5 U.S.C. § 704. The Memorandum is not itself a final agency action.
       16           2. The Workforce Executive Order and Workforce Memorandum are Lawful
       17           Even if the Court could review the Workforce Executive Order and Workforce
       18   Memorandum, both are plainly lawful. We address each in turn.
       19
       20   17
              Specifically that: (1) any changes made by agencies should seek to “driv[e] the highest-quality,
       21   most efficient delivery of their statutorily-required functions,” ECF No. 37-1 App. 2 at 2; (2)
            agencies should only seek to eliminate “functions that not statutorily mandated,” id.; (3)
       22   “[a]gencies should review their statutory authority and ensure that their plans and actions are
            consistent with such authority,” id.; (4) agencies should only seek to “[e]liminat[e] non-statutorily
       23   mandated functions through RIFs,” id. at 3; and (5) in their initial reports, agencies must provide
       24   “[a]ny statutes that establish the agency, or subcomponents of the agency, as statutorily required
            entities,” id.
       25   18
               Specifically, “(1) Agency field offices should only be closed or consolidated “to the extent
       26   consistent with efficient service delivery,” ECF No. 37-1 App. 2 at 2; (2) ARRPs must include
            “[a]n explanation of how the ARRPs will improve services for Americans and advance the
       27   President’s policy priorities,” id. at 5; (3) ARRPs must include “[t]he framework and criteria the
            agency has used to define and determine efficient use of existing personnel and funds to improve
       28
            services and the delivery of these services,” id.


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        1                            a. The Workforce Executive Order is Lawful
        2           The Workforce Executive Order makes clear that any RIFs may be conducted only where
        3   “consistent with applicable law.” Exec. Order 14210, § 3(c). The Order also states it shall not “be
        4   construed to impair or otherwise affect the authority granted by law to an executive department,
        5   agency, or the head thereof.” Id. § 5(a)(i). In the context of this case—where Plaintiffs effectively
        6   make a facial challenge to the Order and seek an injunction prohibiting its implementation virtually
        7   across the government—that is dispositive. Courts “cannot ignore . . . unambiguous qualifiers
        8   imposing lawfulness and feasibility constraints on implementing” presidential directives, such as
        9   the Workforce Executive Order at issue here. Common Cause v. Trump, 506 F. Supp. 3d 39, 47
       10   (D.D.C. Nov. 25, 2020) (majority opinion for three-judge district court). A court that disregards
       11   such qualifications fails to give effect to the presidential directive as drafted, and also acts contrary
       12   to the presumption of regularity under which courts assume that co-equal branches of government
       13   will follow the law. See NARA v. Favish, 541 U.S. 157, 174 (2004) (stating that “in the absence of
       14   clear evidence to the contrary, courts presume that [public officials] have properly discharged their
       15   official duties” (citation omitted)). Rather, an Executive Order with a lawfulness constraint almost
       16   uniformly cannot be unlawful because, if the agency “may lawfully implement the Executive
       17   Order, then it must do so; if the agency is prohibited, by statute or other law, from implementing
       18   the Executive Order, then the Executive Order itself instructs the agency to follow the law.”
       19   Building & Construction Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28, 33 (D.C. Cir. 2002).
       20           This type of directive is a straightforward way for a President to exercise his undoubted
       21   authority to require a subordinate agency to determine what the law allows and then take whatever
       22   action is legally available to promote the President’s priorities. This Executive Order fits that mold.
       23   It does not mandate any RIFs, but directs agencies to prioritize certain areas in RIFs that do take
       24   place—e.g., “[a]ll offices that perform functions not mandated by statute or other law shall be
       25   prioritized in the RIFs, including all agency diversity, equity, and inclusion initiatives” as well as
       26   “all agency initiatives, components, or operations that my Administration suspends or closes.” And
       27   again, it does so only to the extent the law allows such prioritization. Exec. Order 14210, § 3(c).
       28


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        1           A consistent-with-law proviso does not categorically immunize an Executive Order or
        2   similar directive from review. But in rare instances where courts have held that such consistent-
        3   with-law qualifications are not dispositive, they have done so in only narrow circumstances, where
        4   a directive could not be implemented lawfully. In Allbaugh, for example, the D.C. Circuit
        5   suggested that despite such a clause the plaintiffs there could facially challenge the Executive
        6   Order at issue if it lacked “any valid application.” 295 F.3d at 33. And other courts have reached
        7   similar conclusions where a directive “unambiguously commands action” incompatible with the
        8   law. City and County of San Francisco v. Trump, 897 F.3d 1225, 1240 (9th Cir. 2018); HIAS, Inc.
        9   v. Trump, 985 F.3d 309 (4th Cir. 2021) (similar).
       10           The Ninth Circuit’s decision in San Francisco is particularly instructive on the narrowness
       11   of this exception. There, the Ninth Circuit concluded that giving effect to the savings clause would
       12   mean the Executive Order itself would do nothing, and the court refused to accept the assertion
       13   that the Order there was meaningless. 897 F.3d at 1238 (declining to credit argument “that the
       14   Executive Order is all bluster and no bite”). Similarly, in HIAS the Fourth Circuit considered an
       15   Executive Order it found essentially “supplant[ed]” the statutory criteria. 985 F.3d at 322.
       16           By contrast, the Workforce Executive Order does not come close to commanding actions
       17   that are incompatible with law. Congress has expressly recognized agencies’ authority to
       18   implement RIFs since shortly after the Civil War. They are expressly authorized by 5 U.S.C. §
       19   3502. OPM has promulgated an extensive set of regulations governing use of RIFs (regulations
       20   Congress has also authorized and directed OPM to promulgate). Agencies have repeatedly engaged
       21   in RIFs since the nineteenth century, including Presidentially-directed RIFs during the Truman,
       22   Reagan, and Clinton Administrations. See supra pp. 9-11. There is no colorable argument that the
       23   Workforce Executive Order is unlawful on its face.
       24           Plaintiffs thus spend little time actually engaging with the operative terms of the Executive
       25   Order. Plaintiffs note (TRO Brief at 3) language in the Order that it is intended to “commence[] a
       26   critical transformation of the Federal bureaucracy.” Exec. Order 14210, § 1. Plaintiffs repeat this
       27   rhetoric of “transformation” throughout their brief. TRO Brief at 1, 3, 9, 10. But this language—
       28   located in the Executive Order’s “purpose” section—merely explains why President Trump issued



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        1   the Order and what he hopes will be accomplished by it. This language does not itself do anything.
        2   And Plaintiffs never explain why the Order’s operative provisions (e.g., “promptly undertake
        3   preparations to initiate large-scale reductions in force (RIFs), consistent with applicable law,”
        4   Exec. Order 14210, § 3(c)) constitute a direction to violate the law—presumably because there is
        5   no such colorable argument.
        6           Plaintiffs instead argue that the Order exceeds the President’s authority because the
        7   President purportedly has no Article II or statutory authority to “reorganize” agencies. TRO Brief
        8   at 29-35. But this entire line of discussion is irrelevant. Executive Order 14210 contains one sub-
        9   section—“Developing Agency Reorganization Plans”—dealing with organizational matters. Exec.
       10   Order 14210, § 3(e). And that section simply directs agencies to prepare a report identifying “any
       11   statutes that establish the agency, or subcomponents of the agency, as statutorily required entities,”
       12   and states that the report should “discuss whether the agency or any of its subcomponents should
       13   be eliminated or consolidated.” Id. (emphasis added). This is not a mandate to conduct any
       14   reorganizations at all, let alone a directive to take any illegal action. Nor have plaintiffs pointed to
       15   any statutorily mandated agency structures for any of the agencies they have sued, much less
       16   established that the government intends to violate those statutory requirements. Thus, Plaintiffs’
       17   discussion of this issue is beside the point. If any agency in the future conducts any
       18   “reorganization” that Plaintiffs believe is unlawful, they may attempt to challenge any such action.
       19           Plaintiffs’ discussion of Reorganization Acts, TRO Brief at 7, 33, is similarly an irrelevant
       20   distraction. Although Congress has on occasion enacted Reorganization Acts that authorized the
       21   President to propose reorganization plans to Congress, these enactments do not purport to limit the
       22   authority to conduct RIFs. As noted, such RIFs are specifically authorized by 5 U.S.C. § 3502.
       23   And in OPM’s regulations, OPM sets out when agencies can permissibly undertake them. 5 C.F.R.
       24   §§ 351.201(a)(1), 351.204. Congress also specifically directed OPM to promulgate such
       25   regulations. Plaintiffs thus do not and cannot dispute that federal law expressly allows RIFs.
       26           At bottom, even on Plaintiffs’ telling, this is not a separation-of-powers dispute in the sense
       27   of a dispute about the powers of the Executive Branch vis-à-vis Congress—rather, Plaintiffs make
       28   arguments concerning the exercise of authority within the Executive Branch. According to them,



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        1   “Congress has never delegated to the President the authority to make the decision to remove federal
        2   employees, whether by way of a RIF or for any other reason.” TRO Brief at 32. Instead, they say,
        3   “Congress has delegated authority to determine which employees to employ and how many
        4   (consistent with appropriations) to the heads of the federal agencies, not to the President.” Id.
        5           This argument is contrary to the basic structure of Article II. “Under our Constitution, the
        6   ‘executive Power’—all of it—is ‘vested in a President,’ who must ‘take Care that the laws be
        7   faithfully executed.’” Seila Law, 591 U.S. at 203 (quoting U.S. CONST. art. II, § 1, cl. 1; id., § 3).
        8   To that end, the President has authority to exercise “‘general administrative control of those
        9   executing the laws,’ throughout the Executive Branch of government, of which he is the head.”
       10   Allbaugh, 295 F.3d at 32 (quoting Myers v. United States, 272 U.S. 52, 164 (1926)) (citation
       11   omitted). Indeed, “[b]ecause no single person could fulfill” the responsibilities of faithfully
       12   executing all the laws, “the Framers expected that the President would rely on subordinate officers
       13   for assistance.” Seila Law, 591 U.S. at 203-04. In recognition of this reality, the U.S. Code is
       14   necessarily replete with delegations and authorizations to agencies and other components. Yet
       15   there is obviously no legal principle that federal agencies wield their statutory authorities in siloes
       16   upon which the President cannot intrude. President Trump acted well within his authority in
       17   providing broad direction to agencies on how they should exercise the authority Congress has
       18   concededly given them.
       19           By asserting that the President violates the separation of powers by directing agency heads
       20   to exercise their statutory powers over agency personnel matters and over the structure and
       21   priorities of their agencies, Plaintiffs invert a basic underpinning of our constitutional order.
       22   Federal agencies depend for their “legitimacy and accountability to the public through a ‘clear and
       23   effective chain of command’ down from the President, on whom all the people vote.” United States
       24   v. Arthrex, Inc., 594 U.S. 1, 11 (2021) (quoting Free Enterprise Fund v. Public Company
       25   Accounting Oversight Bd., 561 U.S. 477, 498 (2010)). Our constitutional structure presumes that
       26   federal officers and agencies will be “subject to [the President’s] superintendence.” The Federalist
       27   No. 72, at 374 (Alexander Hamilton) (George W. Carey & James McClellan eds., 2001); see also
       28   Saikrishna Bangalore Prakash, Imperial from the Beginning: The Constitution of the Original



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        1   Executive 184-89 (2015) (collecting Founding Era sources). The President’s “‘ongoing
        2   supervision and control’ of executive officials legitimizes the power that they exert in his or her
        3   name.” Duenas v. Garland, 78 F.4th 1069, 1072 (9th Cir. 2023) (quoting Selia Law LLC v. CFPB,
        4   591 U.S. 197, 224 (2020)). Plaintiffs’ theory is anathema to notions of self-governance under the
        5   Constitution. To accept plaintiffs’ argument that the President may not set the policy direction for
        6   executive agencies is to untether those agencies from any form of political accountability. The
        7   Constitution, of course, demands the opposite conclusion. See U.S. Const., art. II, § 1, cl. 1 (“The
        8   executive Power shall be vested in a President of the United States.”).
        9           Finally, even if there were limits on the President’s authority to direct an agency in the
       10   exercise of the agency’s statutory authority, the Workforce Executive Order would not implicate
       11   any such limits. The Order provides direction only in very broad terms. And President Trump has
       12   made clear that agencies are responsible for developing and implementing their own plans to
       13   engage in reduction-in-force actions. See supra p. 14. Indeed, if anything, the Workforce Executive
       14   Order provides less extensive direction than the direction President Clinton provided in Executive
       15   Order 12839—which directed reductions in the form of specific percentage requirements; directed
       16   that at least ten percent of cuts come from the Senior Executive Service, GS-15 and GS-14 levels;
       17   and provided agencies with a required timeline to complete the cuts. See supra pp. 10-11.
       18           Finally, to the extent the lawfulness question concerning the Executive Order presented a
       19   close case in this context (which it does not), the very high standards for ultra vires claims would
       20   preclude Plaintiffs from succeeding in any challenge to the Executive Order’s legality. To prevail
       21   on an ultra vires claim, a plaintiff must establish that a government official “acted in a blatantly
       22   lawless manner or contrary to a clear statutory prohibition.” Hindes v. FDIC, 137 F.3d 148, 164
       23   (3d Cir. 1998); accord Lundeen v. Mineta, 291 F.3d 300, 312 (5th Cir. 2002) (noting that ultra
       24   vires action must involve “a plain violation of an unambiguous and mandatory provision of the
       25   statute” that “is of a summa or magna quality”)(emphasis omitted)(citations omitted)). Allegations
       26   of constitutional error do not establish ultra vires action. See Eagle Tr. Fund v. USPS, 365 F. Supp.
       27   3d 57, 68 n.6 (D.D.C. 2019) (Jackson, J.), aff’d, 811 F. App’x 669, 670 (D.C. Cir. 2020) (“[A]
       28   constitutional claim is separate from an ultra vires claim.”). Neither do claims that “simply involve



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        1   a dispute over statutory interpretation.” Lundeen, 291 F.3d at 312 (quoting Kirby Corp. v. Pena,
        2   109 F.3d 258, 269 (5th Cir. 1997)). Rather, an officer may be said to act ultra vires “only when he
        3   acts ‘without any authority whatever.’” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,
        4   101-02 n.11 (1984) (citation omitted); see also Larson v. Domestic & Foreign Com. Corp., 337
        5   U.S. 682, 689 (1949) (suit must allege that official is “not doing the business which the sovereign
        6   has empowered him to do”); Kalispel Tribe of Indians v. U.S. DOI, 999 F.3d 683, 691 (9th Cir.
        7   2021). This is a “very stringent standard,” rendering ultra vires claims “essentially a Hail Mary
        8   pass” that “in court as in football, . . . rarely succeeds.” Nyunt v. Chairman, Broad. Bd. of
        9   Governors, 589 F.3d 445, 449 (D.C. Cir. 2009) (Kavanaugh, J.). It does not succeed here.
       10                            b. The Workforce Memorandum is Lawful
       11            Even if the Court could consider the lawfulness of the Workforce Memorandum, it too is
       12   lawful. As we have discussed, the Memorandum merely provides broad guidance on what ARRPs
       13   should contain, guidance which itself only concerns what information the ARRPs should provide.
       14   The Memorandum makes clear to agencies that they should only take actions that are consistent
       15   with their statutory authority. See supra pp. 37-38. Likewise, it makes clear that agencies should
       16   not undertake any action that would impair service delivery functions. See supra p. 38.
       17           In addition, it is logical (and lawful) to rely on OPM and OMB in this manner. As noted
       18   above, Congress expressly empowered OMB to promulgate regulations governing RIFs, and OPM
       19   has done just that. The regulations make clear, among other things, that “OPM may examine an
       20   agency’s preparations for reduction in force at any stage” and that “[w]hen OPM finds that an
       21   agency’s preparations are contrary to the express provisions or to the spirit and intent of these
       22   regulations or that they would result in violation of employee rights or equities, OPM may require
       23   appropriate corrective action.” 5 C.F.R. § 351.205. As to OMB, just as President Trump relied
       24   upon OMB to set out the details of his policy governing reduction of federal personnel, President
       25   Clinton relied upon OMB to prescribe similar guidance on the same issue. Exec. Order 12839, 58
       26   Fed. Reg. 8515 (Feb. 10, 1993). More generally, the Workforce Memorandum is consistent with
       27   the practice of previous administrations that have relied upon OMB to ensure that agency policy
       28   was responsive to the President’s policy goals. As now-Justice Kagan explained, President Clinton



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        1   exercised “presidential directive authority to initiate agency action[,]” thus “accelerat[ing] the shift
        2   toward[s] early White House involvement by establishing an instrument for centralized control
        3   that functioned before the agencies had adopted a proposal (or perhaps even taken up an issue in
        4   the first instance).” See Elena Kagan, Presidential Administration, 114 Harv. L. Rev. 2245, 2316
        5   (2001). In this way, now-Justice Kagan explained, President’s Clinton’s efforts correspond to
        6   President Reagan’s efforts to “attain[] an ever greater capacity to oversee, supervise, and even to
        7   direct administrative action.” Id. at 2317. Such efforts are not unlawful; rather, they “promote[]
        8   accountability” by “enhanc[ing] transparency” and “establish[ing] an electoral link between the
        9   public and the bureaucracy, increasing the latter's responsiveness to the former.” Id. at 2332. The
       10   Workforce Memorandum is more of the same, and is straightforwardly lawful.
       11           3. To the Extent Plaintiffs Purport to Challenge Particular RIFs, Any Such
                       Challenge is Likewise Precluded and In Any Event Lacks any Legal or Factual
       12              Basis
       13           The Complaint also asserts two claims directed at Federal Agency Defendants. But to the
       14    extent Plaintiffs seek to challenge particular RIFs as unlawful, any such claim necessarily fails.
       15           Count VI contends that that the Federal Agency defendants have unlawfully “cede[d] their
       16    decision-making authority with respect to the employees of that agency to the President, OMB,
       17    OPM, or DOGE.” Complaint ¶ 396. For the reasons discussed above, this is incorrect but, in any
       18    event, just repackages Plaintiffs’ complaints about the Workforce Executive Order and
       19    Workforce Memorandum. Claim VII asserts that the agencies’ implementation of the Workforce
       20    Executive Order is arbitrary and capricious. Id. ¶ 403. But this contention too is based on systemic
       21    complaints that Federal Agency Defendants have, inter alia, ceded decisionmaking authority to
       22    OPM and OMB regardless of statutory requirements, are engaging in large-scale RIFs that are
       23    necessarily contrary to statute, and have acted under unrealistic timeframes. Id. Neither claim
       24    identifies any specific RIFs, let alone establishes that any specific RIF violates the relevant
       25    agency’s organic statutes or otherwise does not comply with the law applicable to that agency.
       26           But to the extent Plaintiffs do purport to challenge individual RIFs, any such challenge
       27   fails. Any such challenges also must be channeled through the congressionally required
       28   administrative processes, as discussed above. Plaintiffs provide no facts suggesting that any


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        1   particular RIF that is currently in progress or that will take place is unlawful, but instead merely
        2   state in conclusory fashion that agencies are engaging in large-scale RIFs that are necessarily
        3   contrary to statute, and have acted under unrealistic timeframes. If Plaintiffs believe they have a
        4   basis for challenging specific RIFs based on facts particular to those RIFs, they may attempt to
        5   challenge those RIFs through the review scheme Congress provided. But they are not entitled to a
        6   virtually government-wide injunction based on speculation that agencies will implement the
        7   Workforce Executive Order in an unlawful fashion.
        8        B. Plaintiffs Have Not Demonstrated Irreparable Harm Warranting the Broad TRO
                    They Seek
        9
                    A “court need not consider the other factors” if a movant fails to show a likelihood of
       10
            success on the merits. Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017).
       11
            The Court accordingly need not and should not consider the irreparable-harm requirement.
       12
                    But if it does, Plaintiffs also cannot demonstrate irreparable harm justifying the TRO they
       13
            seek. To meet the irreparable harm requirement, the mere “possibility” of irreparable harm is
       14
            insufficient; instead, the moving party must “demonstrate that irreparable injury is likely in the
       15
            absence of an injunction.” Winter, 555 U.S. at 22. Plaintiffs do not meet that standard here.
       16
                    Plaintiffs most prominently claim irreparable harm in the form of loss of employment for
       17
            employees subject to RIFs. TRO Brief at 13, 49. But most narrowly, any such potential
       18
            employment actions cannot justify the government-wide TRO Plaintiffs seek because employees
       19
            who are the subject of a RIF will receive written notice 60 days before any RIF is implemented (or
       20
            30 days with an OPM waiver). See supra pp. 16-17. OPM regulations require such notice. 5 C.F.R.
       21
            § 351.801(b). Thus, Plaintiffs may attempt to seek emergency relief 19 from any specific RIFs
       22
            during that notice period, which itself is sufficient reason to deny the broad TRO they seek here.
       23
                    More broadly, as the D.C. Circuit recently noted, “[a]lthough we appreciate the gravity of
       24
            these harms . . . [l]oss of government employment generally does not constitute irreparable injury,
       25
            especially since employees seeking to challenge their termination or placement on administrative
       26
       27
            19
              We of course do not mean that Plaintiffs would be entitled to such relief, or even that any tribunal
       28
            could grant it. We just note that they could seek emergency relief while a RIF notice is pending.


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        1   leave may seek emergency stays from the Office of Special Counsel and MSPB.” Widakuswara,
        2   2025 WL 1288817, at *5 (citation omitted). Plaintiffs assert that “[d]amages are not available in
        3   APA cases, making this monetary harm irreparable.” TRO Brief at 49. But the MSPB may order
        4   reinstatement, backpay, and attorney’s fees. 5 U.S.C. §§ 1204(a)(2), 7701(g). See Sampson v.
        5   Murray, 415 U.S. 61, 90 (1974) (finding lack of irreparable harm from loss of government
        6   employment and explaining that “[t]he possibility that adequate compensatory or other corrective
        7   relief will be available at a later date, in the ordinary course of litigation, weighs heavily against a
        8   claim of irreparable harm,” a conclusion that “is fortified by the Back Pay Act” (quotation marks
        9   omitted)); see also Goldie’s Bookstore, Inc. v. Superior Ct. of State of Cal., 739 F.2d 466, 471 (9th
       10   Cir. 1984) ( “[m]ere financial injury . . . will not constitute irreparable harm if adequate
       11   compensatory relief will be available in the course of litigation”). The same is true for Plaintiffs’
       12   concerns that terminated employees “face irreparable injury from losing their wages and health
       13   benefits for themselves and their families and in many cases needing to relocate,” TRO Brief at
       14   49. See Sampson, 415 U.S. at 92 n.68 (“insufficiency of savings or difficulties in immediately
       15   obtaining other employment—external factors common to most discharged employees and not
       16   attributable to any unusual actions relating to the discharge itself—will not support a finding of
       17   irreparable injury”).
       18           Plaintiffs also claim irreparable harm based on the supposedly impending loss of critical
       19   government services. TRO Brief at 49. We dealt with this claim in our standing discussion but,
       20   even if such allegations were (barely) sufficient to establish Article III standing, they are too
       21   speculative to meet Plaintiffs’ much higher burden of demonstrating irreparable harm. See Pom
       22   Wonderful LLC v. Hubbard, 775 F.3d 1118, 1133 (9th Cir. 2014) (plaintiff “must establish a
       23   likelihood of irreparable harm that is grounded in evidence, not in conclusory or speculative
       24   allegations of harm.”). And allegations certainly do not establish irreparable harm justifying a TRO
       25   preventing implementation of the Executive Order virtually government-wide.
       26           Plaintiffs also claim that “the lack of public rulemaking injured Plaintiffs who would have
       27   participated.” TRO Brief at 49. But the Workforce Memorandum is not a “rule” at all. And even
       28   if it were, a rule involving “a matter relating to agency management or personnel” is exempt from



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        1   notice-and-comment requirements. 5 U.S.C. § 553(a)(2); see Curlott v. Campbell, 598 F.2d 1175,
        2   1180 n.8 (9th Cir. 1979) (“The APA … is inapplicable because the Commission decision
        3   [regarding procedures for adjusting employee pay] involves a management/personnel matter.”).
        4   Nor did the Memorandum or the Executive Order dictate any specific RIFs, and any RIFs will be
        5   preceded by at least a 30-day notice period. This is not irreparable harm warranting a TRO.
        6       C. The Balance of the Equities and Public Interest Do Not Favor a TRO
        7           When the nonmovant is the government, the last two Winter factors “merge.” Nken v.
        8   Holder, 556 U.S. 418, 435 (2009). Although there is no need to consider the remaining two TRO
        9   requirements, they too favor the government. Initially, granting the near government-wide TRO
       10   Plaintiffs seek conflicts with “the well-established rule that the Government has traditionally been
       11   granted the widest latitude in the dispatch of its own internal affairs.” Sampson, 415 U.S. at 83
       12   (citation omitted). As to the public interest, although Plaintiffs assert that, “[p]reserving
       13   constitutional and statutory rights ‘is always in the public interest,’” Melendres v. Arpaio, 695 F.3d
       14   990, 1002 (9th Cir. 2012), that principle does not help them here, because the Workforce Executive
       15   Order and the Memorandum are lawful. See supra pp. 38-45. In addition, as the D.C. Circuit has
       16   noted, “the public has an interest in the Judicial Branch’s respect for the jurisdictional boundaries
       17   laid down by Congress.” Widakuswara, 2025 WL 1288817, at *6. “Because personnel and grant
       18   disputes directly concern the public fisc, Congress has limited the resolution of these potentially
       19   costly claims to specialized tribunals such as the MSPB and the” Court of Federal Claims. Id. The
       20   public interest is served when courts “respect those boundaries,” id.—particularly in this context,
       21   where Plaintiffs seek a near government-wide injunction against implementation of an Executive
       22   Order that directs agencies to follow the law, and provides them with substantial discretion.
       23   III. Plaintiffs Are Not Entitled to Release of the ARRPs
       24           Plaintiffs also request that the Court order “OPM and OMB to provide to the Court and to
       25   Plaintiffs the current versions of the ARRPs of the Federal Defendant Agencies identified above.”
       26   TRO Motion at 2. Plaintiffs provides no basis for this request other than the fact that Defendants
       27   have not disclosed them. TRO Brief at 50. If Plaintiffs believe that these documents are subject to
       28   disclosure, they may seek them under FOIA, and litigate any withholdings. And although this


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        1   motion does not challenge any specific RIFs, Plaintiffs do not need the ARRPs to challenge RIFs
        2   in the future since, as previously noted, RIF notices are provided to affected employees.
        3   IV. Plaintiffs Are Not Entitled to any Relief Against USDS or “DOGE”
        4           Although Plaintiffs’ motion and brief are focused on the Workforce Executive Order and
        5   Memorandum, Plaintiffs also seek an injunction against “any further orders by DOGE to agencies
        6   to cut programs or staff in conjunction with implementing the Executive Order, the OMB/OPM
        7   Memorandum, or the ARRPs.” TRO Motion at 2; see also id. (contending “that the actions of
        8   OMB, OPM, and DOGE to implement the Executive Order are” unlawful (emphasis added).
        9           For one, again, it is unclear whether Plaintiffs are referring to USDS or the broader DOGE
       10   structure more generally. If Plaintiffs are referring to USDS, USDS lacks the power to issue any
       11   directives to federal agencies and Plaintiffs do not identify any such directives. If they are referring
       12   to the broader DOGE structure—which consists of USDS, the USDS Temporary Organization,
       13   and Agency DOGE Teams—that is not a distinct entity that can be sued. In any event, Agency
       14   DOGE Teams consist of employees of the relevant agency who answer to agency leadership. Exec.
       15   Order 14,158, § 3(c) (agency heads required to “establish within their respective Agencies a DOGE
       16   Team of at least four employees” (emphasis added)). An agency does not act ultra vires to the
       17   extent it exercises statutory authority the agency possesses, through agency employees. In any
       18   event, Plaintiffs identify no such “orders.” They cite a statement by HHS Secretary Kennedy, but
       19   that statement does not suggest any sort of order directed to HHS. See TRO Brief at 4. Plaintiffs
       20   also note a quote from VA Secretary Collins, in which the Secretary noted that the President and
       21   OPM “have said let’s look at a reduction in force across government” in the context of noting that
       22   the agency’s own goal to cut 80,000 positions. See The Hill, VA secretary: Cutting 80,000 jobs ‘is
       23   our target’ (Mar. 10, 2025), available at https://thehill.com/homenews/state-watch/5186097-va-
       24   seek-cuts-80000-jobs/. Because Plaintiffs’ allegation that USDS or “DOGE” are issuing
       25   unconstitutional directives to agencies lacks any legal or factual basis, the Court should deny this
       26   aspect of the motion for this reason in addition to all the other reasons set forth in this brief.
       27   V. Any Relief Should be Limited
       28           The Court should deny Plaintiffs’ motion in its entirety. But even if the Court determines


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        1   that a TRO is appropriate, it should limit its scope in at least two respects. Nationwide relief would
        2   be improper because “injunctive relief should be no more burdensome to the defendant than
        3   necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512
        4   U.S. 753, 765 (1994) (citation omitted). The Ninth Circuit has repeatedly vacated or stayed
        5   nationwide injunctions. See, e.g., E. Bay Sanctuary Covenant v. Barr, 934 F.3d 1026, 1029 (9th
        6   Cir. 2019); California v. Azar, 911 F.3d 558, 584 (9th Cir. 2018). The Court should thus limit any
        7   relief to any party before it that is able to establish its entitlement to preliminary injunctive relief—
        8   which would, at most, be any individual members of the Plaintiff unions who establish that they
        9   will imminently be subject to a RIF. Second, the court should make clear that any TRO enjoining
       10   implementation of the Workforce Executive Order and/or Workforce Memorandum does not
       11   deprive any enjoined components of their preexisting authority to conduct RIFs and otherwise
       12   manage their workforce independent of the Executive Order and Memorandum. The TRO motion
       13   is clear that it seeks only to prevent the listed components “from taking any action to implement
       14   or enforce” the Executive Order and Memorandum. TRO Motion at 1. And Plaintiffs do not dispute
       15   that agencies have authority to conduct RIFs. Thus, although such a clarification is arguably
       16   unnecessary, the Court should make this limitation clear if it issues a TRO.
       17   VI.      Plaintiffs Should Be Ordered to Post Security in Connection with Any Relief
       18            Should the Court order any injunctive relief, the Court should order security. The Court
       19   may issue an injunction “only if the movant gives security” for “costs and damages sustained” by
       20   Defendants if they are later found to “have been wrongfully enjoined.” Fed. R. Civ. P. 65(c). That
       21   language is mandatory. See Atomic Oil Co. of Okl. v. Bardahl Oil Co., 419 F.2d 1097, 1100–01
       22   (10th Cir. 1969). If the Court issues an injunction, the Court must require Plaintiffs to post an
       23   appropriate bond commensurate with the scope of any injunction. Here, an appropriate bond would
       24   be commensurate to the salaries and benefits the government must pay for any employees it would
       25   prefer to separate from federal service but is unable to for the duration of any preliminary relief.
       26                                                 CONCLUSION
       27            The Court should deny the motion for a temporary restraining order and order to show
       28   cause.


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          16                                  UNITED STATES DISTRICT COURT
          17                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
          18                                      SAN FRANCISCO DIVISION
          19
                 AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
          20     GOVERNMENT EMPLOYEES, AFL-CIO,
                 et al.,                                             REPLY IN SUPPORT OF PLAINTIFFS’
          21                                                         MOTION FOR TEMPORARY
                          Plaintiffs,                                RESTRAINING ORDER
          22

          23         v.

          24     DONALD J. TRUMP, in his official capacity
                 as President of the United States, et al.,
          25
                          Defendants.
          26
          27

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           1           President Trump’s Workforce Executive Order (“EO”) requires agencies across the federal

           2    government to restructure and radically downsize themselves, including by conducting mandatory

           3    “large-scale” reductions-in-force (“RIFs”), for the sole purpose of achieving the “transformation” of

           4    the federal government, without any Congressional authorization. OMB and OPM are implementing

           5    this EO through a Memorandum (“Memo”) mandating that each agency submit for approval its

           6    Agency RIF and Reorganization Plan (“ARRP”). A TRO is needed to freeze implementation of these

           7    unlawful and unprecedented directives, which agencies are currently implementing.

           8           Defendants attempt to portray this EO as business as usual, as similar in kind or scale to

           9    previous Presidential actions; it is not. Never in the history of this country has a President attempted

          10    to reorganize the government without Congressional authorization, including through large-scale

          11    RIFs. Indeed, President Trump acknowledged during his first term that, like other Presidents over the

          12    past century, he could not reorganize the federal government without Congressional approval.

          13           Nor can Defendants defend these ultra vires orders based on the fiction that the President,

          14    OMB, and OPM have merely provided “broad guidance” to federal agencies, which are exercising

          15    their independent discretion to consider whether and how to engage in RIFs. Defendants submit no

          16    evidence to support their portrayal. They cite a single article, but omit the rest of what the President

          17    said: “…if they don’t cut, then Elon will do the cutting.” Mammel Decl. Ex. M. Plaintiffs’ record

          18    proves that agencies have been ordered to downsize and restructure the government, and are

          19    following that order, using RIFs to achieve the parameters and timeframes required by the President.

          20    I.     Defendants Are Implementing the President’s Orders to Reorganize Through RIFs

          21           Defendants rely on a central factual contention that defies the language of the EO, Memo, and

          22    evidentiary record: that agencies are exercising their own discretion to conduct RIFs after being given

          23    only “broad guidance” by the President. This counterfactual narrative relies on no evidence.

          24           1. The EO’s plain language categorically requires that all Agency Heads “shall promptly

          25    undertake preparations to initiate large-scale reductions in force.” ECF 37-1, App. A. It orders that

          26    agencies “shall” “prioritize” in these RIFs “all offices that perform functions not mandated by statute
          27    or other law” including “all agency diversity, equity, and inclusion initiatives;” “all agency

          28    initiatives, components, or operations that my Administration suspends or closes;” and government


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           1    shutdown level staffing. The EO permits (using “may”) Agency Heads to exempt only certain

           2    security positions; and authorizes OPM (not agencies) to grant further exemptions only that

           3    “promot[e] workforce reduction.” These orders are not equivocal, or guidance: “it is generally clear

           4    that ‘shall’ imposes a mandatory duty.” Kingdomware Techs., Inc. v. U.S., 579 U.S. 162, 172 (2016).

           5    Defendants themselves argue that agencies must follow the President’s orders. Opp. 4, 42.

           6           2. The OMB/OPM Memo implementing the EO is equally mandatory: “Each agency will

           7    submit a Phase 1 ARRP to OMB and OPM for review and approval … Phase 1 ARRPs shall focus on

           8    initial agency cuts and reductions. ... Phase 2 plans shall outline a positive vision” for agency

           9    operations. ECF 37-1, Ex. B. Defendants’ “nine reasons” notwithstanding (Opp. 37), there is nothing

          10    equivocal or permissive about the Memo, which removes agency discretion and decision-making.

          11    And Defendants do not deny Plaintiffs’ showing that OMB and OPM have rejected certain agencies’

          12    ARRP submissions for failing to eliminate a sufficient number of positions. ECF 37-1 at 12.

          13           3. Defendants contend that “ARRPs are distinct from RIFs” (to pretend the RIFs are not in

          14    service of a reorganization). Opp. 16. But the EO and Memo order the RIFs as the centerpiece of the

          15    plan to reorganize—OMB and OPM directed each agency to create a single combined ARRP because

          16    reorganization is the sole purpose of these RIFs. See Opp. 7 (citing RIF regs on “reorganization”).

          17           4. The uncontroverted record establishes that Federal Agency Defendants are currently

          18    implementing President Trump’s orders to conduct RIFs in service of reorganizing the government.

          19    See, e.g., Gamble Reply Decl. Exs. A, B, C (Labor Dept. communications and RIF notice stating

          20    abolition of entire program office based on Presidential order, and RIF therefore “due to the impact of

          21    the [EO],” specifically §3(c)’s large-scale reductions order).1 The record further shows that agencies

          22    are eliminating functions on demand;2 that the President is asserting that his Executive Orders

          23

          24      1
                    ECF 37-1 at 14 (AmeriCorps: nearly all staff RIF’d per EO); Mammel Decl. Exs. C-D (EPA:
                scientific research office cut per EO); ECF 37-14 at ¶¶9-12, Exs. A-D (GSA: RIFs and offices cut
          25    “[i]n support of the [EO]”); ECF 37-1 at 4-5 (HHS: cuts “proceeding in accordance with [EO]”
                including entire programs and offices); ECF 41-1 at ¶15, Ex. C (HUD: large-scale RIFs in
          26    “[c]ompliance with [EO]”); ECF 37-1 at 24 (NSF: cutting half of staff under “orders from the White
                House”); id. at 24-25 (SBA: 43% reduction per EO); id. at 25-26 (SSA: plans per EO include
          27    “abolishment of organizations and positions” and RIFs); id. at 27 (State: consolidation, 15%
                reduction per EO); id. (Treasury: 40% IRS cut per EO); id. at 28 (VA: cuts to 2019 levels per EO).
          28      2
                    See, e.g., ECF 37-1 at 4-5 (HHS); id. at 14 (AmeriCorps); Mammel Decl. ¶¶6-7 (EPA Office of
                Research and Development, see 7 U.S.C. §5921(f); 15 U.S.C. §8962).
                                                       Add.293
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           1    abolishing offices make law and therefore eliminate the “statutory and regulatory foundation” for the

           2    offices, e.g., Gamble Reply Decl., ¶¶4, 7, Exs. C, D; and that the reorganization being implemented

           3    transfers functions and offices between agencies.3

           4           USDA Secretary Rollins admitted the reason this is happening, revealing the plan all along

           5    (hatched between Trump terms): “The four years in between term one and term two allowed a lot of

           6    work to be done to really be much more intentional on how we do just that, how we right-size the

           7    federal government, across every single agency.” Mammel Decl. Ex. A (emphasis added).

           8           5. Defendants also distort the history: President Clinton did not order agencies to conduct

           9    RIFs and he secured congressional authorization for his buyout plans. See Exec. Order 12839, 58

          10    Fed. Reg. 8515 (Feb. 10, 1993); Federal Workforce Restructuring Act of 1994, Pub. L. 103-226, 108

          11    Stat. 111 (1994). Defendants’ suggestion that Presidents Reagan or Truman ordered RIFs is

          12    unsupported and Plaintiffs can find no record of this. As far as Plaintiffs are aware, no prior President

          13    has assumed the authority, without express congressional authorization, to require agencies to engage

          14    in RIFs, in service of a reorganization or otherwise. (And even if any prior president had ordered a

          15    RIF, “past practice does not, by itself, create power.” Medellín v. Texas, 552 U.S. 491, 532 (2008).)

          16    II.    There is No Constitutional or Statutory Authority for the EO or Memo

          17           1.      The President’s EO is Unconstitutional. Defendants concede that the President was

          18    not specifically authorized by Congress to reorganize the federal government, Opp. 41, defying 100

          19    years of presidential and congressional precedent. See ECF 37-1 at 29-32. The plain language of the

          20    EO and record evidence establish that President Trump has ordered a reorganization. Supra at 1-2.

          21    Congress’s definition of “reorganization plan” plainly encompasses the types of actions the President

          22    has ordered federal agencies to take, including transfers of functions between agencies, elimination of

          23    functions (including non-statutory functions, 5 U.S.C. §903(a)(2)), and the consolidation of programs

          24    and functions within agencies. Id. §903; ECF 37-1 at 14-29. Regardless of whether agencies

          25    generally have authority to implement some form of RIFs, the President’s order to conduct RIFs to

          26    effectuate a government-wide reorganization lacks Congressional authorization.
          27
                  3
                   See, e.g., Mammel Decl. ¶¶3-4 & Ex. A (USDA plans potentially include consolidating functions
          28    with up to seven other agencies across government, including housing and firefighting); ECF 37-26
                ¶¶42-43 (DOE student aid office planned to move to SBA).
                                                       Add.294
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           1           Nor do Defendants attempt to respond to Plaintiffs’ showing that neither Article II nor

           2    Congress has ever provided the President the authority to lay off rank-and-file federal employees

           3    (ECF 37-1 at 31). The assumption of such authority would defy the purpose of civil service

           4    protections from political influence (5 U.S.C. §2301) and Supreme Court precedent, Seila Law LLC

           5    v. CFPB, 591 U.S. 197, 217 (2020) (reaffirming Article II restrictions on President’s removal powers,

           6    even of officers). Thus, Defendants rely only on the President’s general Article II supervision

           7    authority. Defendants’ argument rests on two faulty premises: first, that agencies are the real actors;

           8    and second, that the President’s orders do not direct agencies to violate the law by acting in a manner

           9    that is entirely arbitrary and capricious and ignores relevant considerations. Opp. 38-45.4

          10           First, the argument that the President is simply giving agencies general guidance defies the

          11    language of the EO, Memo, and record. Supra at 1-2. Defendants rely on (and misleadingly cite) a

          12    single Presidential press comment that the agencies are making the decisions (after public outcry over

          13    DOGE’s directions to agencies). Opp. 14; supra at 1. Defendants submitted no evidence from any

          14    Federal Agency Defendant to show either that 1) they are in fact making these decisions, or 2) that

          15    they are engaging in reasoned decision-making. Defendants have conceded the factual record, which

          16    is filled with admissions by agencies that they are acting pursuant to the President’s instructions and

          17    consistent with the arbitrary EO parameters. Supra n.1.

          18           Next, as a matter of law, no one disputes the President has general supervision powers—that

          19    is a strawman.5 The question is whether the President’s powers of supervision extend to ordering

          20    agencies to take the action the President has categorically required, including giving up their

          21
                  4
                     In Defendants’ view, 100 years of Congressional and Presidential action are “irrelevant” and
          22    apparently misguided, because the Constitution already permits the President to exercise decision-
                making authority over agencies. This is plainly wrong. No court has interpreted Article II’s general
          23    supervision power so broadly as to authorize the President to order agencies across the government to
                dismantle themselves though “large-scale” RIFs for the purpose of reorganization.
          24       5
                     Defendants also overreach, by citing without attribution the concurrence in Arnett v. Kennedy,
                416, 134, 168 (1974), for the proposition that “the Government” has discretion and control, when the
          25    Court was discussing Congressional control over agencies and their employees via legislation. Id.
                Defendants also argue that agencies must implement a President’s orders, citing Sherley v. Sebelius,
          26    689 F.3d 776, 784 (D.C. Cir. 2012). The issue in Sherley was whether HHS regulations regarding
                stem cell research violated an act of Congress, and whether HHS acted in an arbitrary and capricious
          27    manner by rejecting comments made during rule-making that wanted to eliminate all such research,
                contrary to an Executive Order interpreting the statutory authority. President Trump’s Executive
          28    Order makes no attempt at all to interpret statutory authority before imposing his categorical
                requirements.
                                                       Add.295
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           1    decision-making power to OMB, OPM and DOGE; eliminating offices and functions the President

           2    dictates; planning RIFs that prioritize shutdown levels of staffing regardless of agency function; and

           3    otherwise acting in an arbitrary and capricious manner that abuses any discretion. No case holds that

           4    Article II gives the President the authority to do all that. And supervision authority does not include

           5    ordering agencies to violate the APA. New York v. Trump, 133 F.4th 51, 70-71 (1st Cir. 2025); State

           6    v. Su, 121 F.4th 1, 15 (9th Cir. 2024) (agency implementing Exec. Order must comply with APA).

           7           In service of this argument, Defendants rely heavily on the savings clause. Opp. 39-40. This is

           8    a familiar and misleading playbook. City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1242

           9    (9th Cir. 2018) (rejecting same argument); Nat’l Council of Nonprofits v. OMB, 2025 WL 597959, *7

          10    (D.D.C. Feb. 25, 2025) (rejecting contention that “countless federal agencies ... suddenly began

          11    exercising their own discretion to suspend funding across the board at the exact same time” because it

          12    requires “unfathomable” “coincidental assumptions” and “contradicts the record”); accord New York

          13    v. Trump, 133 F.4th at 69. Generically telling agencies to comply with the law while imposing

          14    categorical requirements that make that instruction impossible cannot save the EO: “Because the

          15    Executive Order unambiguously commands action, here there is more than a ‘mere possibility that

          16    some agency might make a legally suspect decision.’ The Executive Order’s savings clause does not

          17    and cannot override its meaning.” City & Cnty of San Francisco, 897 F.3d at 1240.6

          18           Even if the President had the authority to order agencies to exercise their own discretion to

          19    RIF and reorganize themselves, he cannot order them to replace reasoned and rational decision-

          20    making with Presidential fiat (to eliminate offices and functions “My Administration’s” orders

          21    eliminated); improper considerations (to prioritize using government shutdown levels of employment

          22    that by definition cannot support agency functions); and predetermined outcomes (large-scale RIFs).

          23    Even within the scope of discretion the CSRA affords agencies, no agency has the authority to rush

          24    into “large-scale” RIFs that serve the sole purpose of effectuating the President’s goal of downsizing

          25    and reorganizing government and eliminating programs, offices, and functions that he chooses to

          26
          27
                  6
                    Defendants rely on inapplicable out of circuit precedent to argue that an EO cannot be unlawful if
          28    it has any lawful application when it contains a savings clause. Opp. at 39-40; see City & Cnty. of San
                Francisco, 897 F.3d at 1240.
                                                       Add.296
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           1    eliminate (divorced from any proper consideration of agency needs and functions).7 As in New York

           2    v. Trump, even if some of the ARRP elements fell within agency discretion, and even if the agencies

           3    were making considered decisions themselves, that would not save this EO and its breakneck

           4    implementation from falling outside the President’s authority. 133 F.4th at 69-70. Defendants spend

           5    many pages discussing the history of the RIF authority, but whatever general authority exists does not

           6    answer whether the President can order these RIFs, with these parameters, which are being compelled

           7    in service of the President’s unconstitutional reorganization of government. Defendants’ primary

           8    response is simply to claim that agencies are making the decisions. Opp. 43.

           9           Where, as here, Congress has repeatedly declined to reauthorize the power to reorganize that

          10    the President needs to take such action, his power is “at its lowest ebb.” Youngstown Sheet & Tube

          11    Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring); accord City & Cnty. of San

          12    Francisco, 897 F.3d at 1234. The President’s orders to agencies to implement a reorganization on his

          13    terms, including by way of RIFs for the purpose of reorganization, are not grounded in any

          14    Constitutional or statutory authorization, usurp legislative authority, and are unconstitutional and

          15    ultra vires. Id. at 585; Chen v. I.N.S., 95 F.3d 801, 805 (9th Cir. 1996) (“the Executive Order lacked

          16    the force and effect of law because it was never grounded in a statutory mandate or congressional

          17    delegation of authority”); State v. Su, 121 F.4th at 13 (“In sum, the President cannot issue an

          18    executive order instructing agencies to carry out [his] mandate” without Constitutional or statutory

          19    authority); see also City & Cnty. of San Francisco, 897 F.3d at 1235 (enjoining implementation of

          20    unconstitutional Executive Order). This conclusion does not upend the Constitution, as Defendants

          21    claim; it respects it. The agency action implementing the President’s unlawful directives therefore

          22    should be enjoined. Id.8 The Ninth Circuit has conclusively resolved the availability of ultra vires

          23

          24      7
                     The sole RIF statute (5 U.S.C. §3502) does not provide unfettered agency discretion and is of
                course subject to review for “abuse of that discretion, a substantial departure from applicable
          25    procedures, a misconstruction of governing statutes, or the like,” Markland v. OPM, 140 F.3d 1031,
                1033 (Fed. Cir. 1998). By following President Trump’s orders, agencies abuse statutory discretion.
          26    Infra, at 7-9.
                  8
                    See also Washington v. Trump, 847 F.3d 1151, 1156 (9th Cir. 2017) (denying stay of injunction of
          27    Executive Order); Sierra Club v. Trump, 963 F.3d 874, 888-93 (9th Cir. 2020), judgment vacated on
                other grounds, sub nom. Biden v. Sierra Club, 142 S.Ct. 46 (2021); Santa Cruz Lesbian & Gay Cmty.
          28    Ctr. v. Trump, 508 F. Supp. 3d 521, 547 (N.D. Cal. 2020) (enjoining Exec. Order); Cnty. of Santa
                Clara v. Trump, 250 F. Supp. 3d 497, 539 (N.D. Cal. 2017) (same).
                                                       Add.297
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           1    claims and relief to enjoin unlawful Executive Orders; Defendants’ argument that review is

           2    foreclosed by Dalton v. Spencer, 511 U.S. 462 (1994) is another oft-rejected refrain (Opp. 34);9 and

           3    Defendants’ out-of-circuit case law does not apply. Opp. at 43-44.

           4           2.      Defendants Concede OMB, OPM and DOGE Lack Authority. Defendants concede this

           5    point, by identifying no statutory authority for OMB, OPM, or DOGE actions. Opp. 44-45.10

           6    III.   Plaintiffs are likely to succeed on their APA Claims against OMB, OPM, and DOGE

           7           1. Discrete agency action. Plaintiffs’ claims challenging the OMB/OPM Memo and ARRP

           8    approvals are not an impermissible “wholesale” or “programmatic attack” seeking “general judicial

           9    review of [agencies’] day-to-day operations.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891, 899

          10    (1990) (no APA claim where plaintiffs sought court oversight of all “continuing (and thus constantly

          11    changing) operations of the BLM” to manage federal public lands). Plaintiffs properly challenge only

          12    specific and “circumscribed, discrete agency actions” by OMB and OPM. Norton v. S. Utah

          13    Wilderness All., 542 U.S. 55, 62 (2004). The fact that those actions may have widespread impacts

          14    does not convert Plaintiffs’ challenge into a “programmatic” challenge. See New York, 133 F.4th at

          15    67 (APA challenge to OMB directive to freeze all federal financial assistance across all agencies). As

          16    the Supreme Court recognized, an agency’s “specific order or regulation, applying some particular

          17    measure across the board to all individual [agency decisions], … can of course be challenged under

          18    the APA”—even if the challenge will have widespread effects. Lujan, 497 U.S. at 890 n.2.

          19           2. Final agency action. Defendants do not dispute that the Memo sets forth OMB/OPM’s final

          20    position; instead they argue it is too far removed from any legal consequences to Plaintiffs.11 Opp.

          21

          22      9
                     Dalton made clear that constitutional challenges are justiciable where the President’s action lacks
                both “‘statutory authority’ and ‘background constitutional authority.’” Murphy Company v. Biden, 65
          23    F.4th 1122, 1130 (2023). Plaintiffs assert such a separation of powers claim here.Cf. Natl. Treas.
                Employees Union v. Vought, 2025 WL 942772, *8-9 (D.D.C. Mar. 28, 2025).
          24       10
                      Defendants are correct that Plaintiffs seek relief against U.S. DOGE Services (USDS), which is
                often referred to as DOGE and is an agency for the purposes of the APA. AFL-CIO v. Dep’t of Lab.,
          25    2025 WL 1129227, at *22 n.19 (D.D.C. Apr. 16, 2025). But Defendants cannot rely on the opaque
                structure and operations of DOGE to dodge accountability. See AFL-CIO, 2025 WL 1129227, at *17
          26    (explaining that DOGE Teams are tasked with “executing the agenda laid out in the DOGE E.O. and
                other relevant Executive Orders—as interpreted by the USDS Administrator”).
          27       11
                      The Memo is an APA “rule.” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015) (opinion
                letter was a rule; “rule” is “defined broadly to include any ‘statement[s] of general or particular
          28    applicability and future effect’ … to ‘implement, interpret, or prescribe law or policy’”) (quoting 5
                U.S.C. §551(4)).
                                                       Add.298
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           1    36-37. But “[a] federal agency’s assessment, plan, or decision qualifies as final agency action even if

           2    the ultimate impact of that action rests on some other occurrence—for instance, … a decision by

           3    another administrative agency ...” Prutehi Litekyan: Save Ritidian v. U.S. Dep't of Airforce, 128 F.4th

           4    1089, 1109 (9th Cir. 2025). Final agency action includes action that binds or directs government

           5    officials to act in ways that impact plaintiffs. See New York, 133 F.4th at 68 (OMB directive to

           6    agencies to freeze federal funds was final agency action ); Nat’l Council of Nonprofits, 2025 WL

           7    597959, *13 (same).12 The Memo is final agency action because it mandates that agencies perform

           8    large-scale RIFs on a particular timeline according to specific terms and subject to OMB/OPM

           9    approval, ECF 37-1 at 10-11, and those RIFs have legal consequences for Plaintiffs, id. at 44-49. The

          10    record refutes Defendants’ contention that agencies do not need to comply with the Memo. Id. at 12-

          11    28.13 Defendants do not dispute that ARRP approvals and DOGE’s directives are final action.

          12           3. Unlawful action. Defendants do not even attempt to justify these agencies’ failure to

          13    provide any reasoned explanation for the requirements imposed in their Memo or directives; their

          14    disregard for important aspects of the decision (including harm to employees, governments, and the

          15    public); or their unreasonable timelines and demands, including to abolish programs as directed by

          16    the President/his agents and start from a baseline of government shutdown staffing, which by

          17    definition is insufficient to perform basic agency functions. ECF 37-1 at 38-40; Rhode Island v.

          18    Trump, 2025 WL 1303868, at *11-12 (D.R.I. May 6, 2025). Defendants also do not deny that OMB

          19    and OPM did not perform notice-and-comment rulemaking, ECF 37-1 at 41, or provide any statutory

          20    authority for their challenged actions,14 supra at 7. Plaintiffs are likely to succeed on these claims.

          21    IV.    Plaintiffs Are Likely to Succeed on Their APA Claims against Agency Defendants

          22           1. Discrete, final agency action. Plaintiffs challenge Federal Agency Defendants’

          23    implementation of ARRPs through RIFs and reorganizations. Defendants concede terminations

          24    through RIFs are final agency action, Opp. 38; reorganizations by eliminating programs and functions

          25
                  12
                     See also Biden v. Texas, 597 U.S. 785, 807-10 (2022) (DHS memo).
          26      13
                      The Memo’s determination that OMB/OPM are the final decisionmakers about each agency’s
                ARRP is inconsistent with the RIF statute and OPM regulations, under which agencies are the
          27    decision-maker. 5 U.S.C. §3502; 5 C.F.R. § 351.201. The Memo thus alters the status quo of who the
                final decisionmakers will be, and reflects the “consummation of agency decisionmaking regarding
          28    that issue.” Navajo Nation v. U.S. Dep't of Interior, 819 F.3d 1084, 1091 (9th Cir. 2016).
                   14
                      OPM rules are not subject to the APA “personnel” exception. 5 U.S.C. §§1103(b)(1), 1105.
                                                        Add.299
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           1    are as well. These claims are not improper “programmatic” challenges. Each agency is taking action

           2    pursuant to a unified document (ARRP) that implements the categorical mandates of a single EO.

           3    Courts have upheld many similar challenges. See New York, 133 F.4th at 67 (APA applied to all of

           4    agencies’ actions to “implement broad, categorical freezes on obligated funds” pursuant to OMB

           5    directive: “we are not aware of any supporting authority for the proposition that the APA bars a

           6    plaintiff from challenging a number of discrete final agency actions all at once”).15

           7           2. Arbitrary and capricious. Defendants do not even attempt to rebut Plaintiffs’ showing that

           8    Federal Agency Defendants, by complying with the categorical mandates and impossible deadlines

           9    imposed by the President, OMB, OPM, and DOGE when creating their ARRPs, necessarily fail to

          10    meet fundamental requirements to: consider all relevant factors; address reliance interests; consider

          11    alternatives; explain reversals in position; and provide a reasoned explanation for the sudden

          12    elimination of longstanding programs and corresponding workforces. ECF 37-1 at 42-44. An

          13    arbitrary and capricious claim exists regardless of statutory authority—Defendants’ response that

          14    agencies have authority to conduct RIFs is a non sequitur. Defendants also contend, without citation,

          15    that Plaintiffs can only challenge specific future RIFs, after the fact. Opp. 45-46. But Plaintiffs

          16    challenge the ARRPs that are being created and approved pursuant to the EO now. Plaintiffs provided

          17    voluminous evidence, despite Defendants’ refusal to make ARRPs public, establishing the arbitrary

          18    and capricious way in which the 17 agencies against which they seek a TRO are implementing

          19    ARRPs and conducting RIFs. ECF 37-1 at 12-29. That is more than sufficient to support this claim.

          20    V.     Congress Did Not Send These Constitutional and APA Claims to Adjudicative Agencies
                       for Employee Personnel Actions and Labor Disputes
          21
                       Defendants’ channeling argument singularly focuses on a challenge to “RIFs.” Opp. 23-31.
          22
                But as Defendants recognize, Plaintiffs challenge the legality of the EO and Memo (id. at 22),
          23
                approval of ARRPs by OMB/OPM, and implementation of ARRPs as ultra vires and unlawful under
          24
                the APA. ECF 1 at 99-105. Defendants make no argument regarding jurisdiction over those claims,
          25

          26
          27      15
                    See City & Cnty. of San Francisco, 897 F.3d 1225; NTEU v. Vought, 2025 WL 942772, at *13
                (D.D.C. Mar. 28, 2025) (CFPB dismantling); Rhode Island, 2025 WL 1303868, at *8 (D.R.I. May 6,
          28    2025) (IMLS, MBDA, FMCS dismantling); Woonasquatucket River Watershed Council v. USDA,
                2025 WL 1116157, at *10 (D.R.I. Apr. 15, 2025) (IIJA, IRA funding freeze).
                                                        Add.300
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           1    and so waived the issue. Regarding their other arguments, federal courts do not lightly remove

           2    subject matter jurisdiction from federal claims based on implied congressional intent. Mims v. Arrow

           3    Fin. Servs., LLC, 565 U.S. 368, 383 (2012) (“jurisdiction conferred by 28 U.S.C. § 1331 should hold

           4    firm against ‘mere implication flowing from subsequent legislation.’”). Defendants’ arguments

           5    should be rejected because Congress did not preclude federal courts from hearing Plaintiffs’ claims.

           6           1. Local Governments, Non-Federal Employee Unions and Non-Profits. Defendants ignore

           7    the Ninth Circuit’s recent decision. See AFGE v. OPM, 2025 WL 914823, at *1 (9th Cir. Mar. 26,

           8    2025) (“Nor have appellants demonstrated—under existing authority—that they are likely to establish

           9    that Congress has channeled the organizational plaintiffs’ claims to administrative agencies.”).

          10           Defendants’ argument would also require a novel and dramatic expansion of Thunder Basin

          11    Coal Co. v. Reich, 510 U.S. 200, 207-13 (1994), which has been applied to channel only “covered

          12    employees appealing covered agency actions.” Elgin v. Dep’t of the Treasury, 567 U.S. 1, 10 (2012).

          13    But these Plaintiffs are not “covered employees.” No controlling authority has ever sent such

          14    plaintiffs to agencies designed to hear claims brought by federal employees or their unions against

          15    employing agencies—or foreclosed all judicial review—simply because the case involves federal

          16    employment. Defendants also seriously misconstrue Veit v. Heckler, 746 F.2d 508 (9th Cir. 1984),

          17    contending that case’s “exact conclusion” would channel these third parties. Opp. 26. But Veit

          18    involved a single employee, challenging a covered action by his employing agency. Id. at 509-11.

          19           To the extent that Defendants contend that Congress impliedly foreclosed any claims by these

          20    Plaintiffs, implied doctrines cannot be so divorced from statutory text, which evidences no intent to

          21    foreclose jurisdiction. E.g., Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391-92 (2024). The

          22    Congress that enacted the CSRA and FSLMRS referenced the APA at least three times (5 U.S.C.

          23    §§1103, 1105, 7134) and cannot be said to have silently intended to eliminate the bedrock principle

          24    of APA review. Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“A party seeking to suggest that

          25    two statutes cannot be harmonized, and that one displaces the other, bears the heavy burden of

          26    showing a clearly expressed congressional intention that such a result should follow.”); Loper Bright,
          27    603 U.S. at 393 (“The text of the APA means what it says.”). The APA’s judicial review provisions

          28    are a “command,” and the Supreme Court has warned against impliedly expanding exceptions. E.g.,


                                                       Add.301
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           1    Dep’t of Commerce v. N.Y., 588 U.S. 752, 771-72 (2019); see also U.S. Army Corps of Eng’rs v.

           2    Hawkes Co., Inc., 578 U.S. 590, 601-02 (2016); Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 586

           3    U.S. 9, 22-23 (2018). Defendants’ implied foreclosure argument conflicts with this APA precedent.

           4           2. Unions and Other Plaintiffs Representing Federal Employees. The federal sector union

           5    Plaintiffs bring the same claims as the above Plaintiffs, under an express grant of federal jurisdiction.

           6    28 U.S.C. §1331; 5 U.S.C. §702; Sierra Club v. Trump, 963 F.3d 874, 891 (9th Cir. 2020), vacated as

           7    moot, Biden v. Sierra Club, 142 S. Ct. 46 (2021) (confirming equitable jurisdiction to hear ultra vires

           8    claim). The fact that some types of claims brought by federal employees and their unions may be

           9    heard by the MSPB and FLRA does not mean that all claims must go there. Axon, 598 U.S. at 185 (“a

          10    statutory review scheme [that precludes district court jurisdiction] does not necessarily extend to

          11    every claim concerning agency action”); Kerr v. Jewell, 836 F.3d 1048, 1052-53 (9th Cir. 2016).16

          12           Defendants invoke out-of-circuit decisions that treat this administrative channeling doctrine

          13    like field preemption touching on anything employment related—but, as this Court recently held, that

          14    is incorrect. AFGE v. OPM, 2025 WL 900057, at *6.17 Defendants try to cabin the OPM case to the

          15    probationary employee context, but the rationale applies equally here to 1) the government-wide

          16    challenges that can never be heard by the MSPB or FLRA (against the President, OMB, OPM and

          17    DOGE, particularly as this Administration works to destroy those channels), and 2) APA claims

          18    against Federal Agency Defendants for arbitrary and capricious actions, including for the reasons

          19    explained above regarding the command of APA review. The ARRPs are also not covered “personnel

          20    actions”—Defendants attempt to distinguish Feds For Medical Freedom v. Biden as involving a

          21    policy, not a “personnel action”—but so too does this case challenge actions and documents that are

          22    not themselves personnel actions, even if they will ultimately result in personnel actions. 63 F.4th

          23    366, 375 (5th Cir. 2023) (en banc), judgment vac’d on other grounds, 144 S.Ct. 480 (2023). Finally,

          24

          25      16
                     In applying Thunder Basin, the Supreme Court has generally found that individual “run of the
                mine” statutory claims belong in administrative fora, see Elgin, 567 U.S. at 22; Thunder Basin, 510
          26    U.S. at 205, while broader challenges to agencies or their policies (including constitutional
                challenges) should be heard by an Article III district court, see Free Enter. Fund, 561 U.S. at 489;
          27    Axon, 598 U.S. at 189.This trajectory is also consistent with, rather than contrary to, the APA.
                  17
                     Defendants’ out-of-circuit cases also fail to persuade because they do not involve the types of
          28    claims at issue here, or do not consider or reach arguments that Plaintiffs have here pressed,
                particularly with respect to statutory text and the command of judicial review in the APA.
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           1    no controlling authority has ever channeled a procedural APA claim because it involves employment.

           2           In short, this Court can and should conclude that Union Plaintiffs’ claims are not the “type”

           3    that Congress intended to be channeled. But even if the Court were to apply the three-part Thunder

           4    Basin analysis, it would reach the same result. As to the first factor, meaningful judicial review of

           5    these claims, by these parties, would be foreclosed for the reasons explained. Thunder Basin, 510

           6    U.S. at 207. Meaningful review must account for the type of claim and relief Congress intended,

           7    particularly for APA claims (for which the Supreme Court has said judicial review years after agency

           8    adjudication is not meaningful, Hawkes, 578 U.S. at 601-02). As to the second factor, Plaintiffs’

           9    claims are “wholly collateral” to the CSRA’s scheme because they do not challenge individual

          10    adverse personnel actions or employer action under a contract; they concern separation of powers

          11    issues and challenge the substantive and procedural lawfulness of the EO and its implementation

          12    through the ARRPs. Id. at 211. And as to the third factor, the labor agencies have no particular

          13    expertise in resolving constitutional and administrative law questions. Loper Bright, 603 U.S. at 399.

          14    VI.    Plaintiffs Establish Standing and Irreparable Injury

          15           Substantial evidence shows such Defendants’ RIFs have injured and will injure Plaintiff

          16    federal sector unions,18 causing members to lose salaries and health insurance if terminated,19 and

          17    worsening workplace conditions if they remain. See ECF 37-1 at 44-45 & nn. 57-58.20 RIFs will also

          18    injure members Plaintiff organizations and non-federal unions; as many declarants explain, cuts of

          19    this magnitude cannot be made without causing extensive and irreparable harm. ECF 37-1 at 12-29.21

          20
                  18
                     Defendants wrongly assert that Plaintiffs fail to allege imminent RIFs of Plaintiff unions’
          21    members. E.g. ECF 37-14 ¶¶12, 23-25 (AFGE; GSA plans 50% cut, RIF notice with June 6 date);
                ECF 41-1 ¶¶13, 38, Ex. D (AFGE; HUD RIF of 146 members on May 18); ECF 37-18 ¶¶9-14, Exs.
          22    D-F, H (AFGE; SBA RIFs of bargaining unit announced in April with dates in June); ECF 37-12
                ¶¶20, 22, 25 (AFSCME; RIFs to 90% of AmeriCorps unit; some effective June 24); Gamble Reply
          23    Decl. ¶3-5, Exs. A-B (AFGE; DOL RIF of members effective June 6); ECF 37-32 ¶¶10-13 (AFGE;
                White House ordered 50% staff cut at NSF; voluntary early retirement window ends May 8); ECF
          24    41-4 ¶¶15, 22, Ex. E (AFGE; HHS RIF of all but six unit members, likely effective June 30); ECF
                37-9 ¶¶7-9, 13 (AFGE; VA to cut roughly 80,000 jobs, RIF notices anticipated in June).
          25      19
                     Defendants ignore this loss of health insurance. See ECF 37-1 at 49. Plaintiff unions need not
                name specific members, Opp. 32, because it is “clear and not speculative” their members will be
          26    injured. Mi Familia Vota v. Fontes, 129 F.4th 691, 708-09 (9th Cir. 2025).
                  20
                     These allegations are not “conclusory,” Opp. 33, but rely on declarants’ prior and current
          27    experiences with reduced staffing and give specific factual explanations. E.g. ECF 37-20 ¶37; ECF
                37-21 ¶32; ECF 37-35 ¶¶12-13.
          28      21
                     See, e.g., ECF 37-39 ¶¶7-8, 11 (ARA; SSA wait times); ECF 37-37 ¶¶18-21 (NOFA; USDA

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           1    These injuries are fully “grounded in evidence,” not “conclusory or speculative.” Opp. 47. Similarly,

           2    city and county Plaintiffs showed direct injury, including delayed public health grants and staff cuts

           3    from HHS;22 loss of EPA support to remediate hazardous environmental conditions;23 and increased

           4    burdens on local firefighting.24 These are not the types of “indirect” consequences or “peripheral

           5    costs” that Defendants’ authorities warn are insufficient for standing.25 Given this evidence, and

           6    Plaintiffs’ showing that RIFs have already harmed services,26 Defendants cannot defeat Plaintiffs’

           7    evidence of injury by pointing to boilerplate “instructions that agencies should not undertake any

           8    action that would impair service delivery functions.” Opp. 33.

           9           Nor does the potential advance notice to employees obviate these injuries. In fact, Defendants

          10    have been providing no notice before placing employees on immediate administrative leave. See, e.g.,

          11    ECF 37-12 ¶20 (AmeriCorps).27 Many RIFs have already occurred.28 And Defendants offer no reason

          12    why Plaintiffs should be required to make seriatim requests for emergency injunctive relief each time

          13    an agency notices a new RIF, when all stem from the same challenged unlawful acts.

          14
                Farm Service Agency); cf. Harris v. Bd. of Supervisors, 366 F.3d 754, 762 (9th Cir. 2004) (“Given …
          15    existing shortages and delays, it is not speculative to anticipate that reducing the resources available
                will further impede the County’s ability to deliver medical treatment to plaintiffs”).
          16      22
                     E.g. ECF 37-46 ¶23 (80% of Harris County Public Health Preparedness and Response team
                depends on funding from CDC, which has been unresponsive to grant questions); ECF 41-6 ¶33(a)-
          17    (b) (King County is unable to reach grant specialist and is relying on stop-gap funding; CDC Public
                Health Associate at county Sexual Health Clinic was terminated).
          18      23
                     E.g. ECF 37-58 ¶¶31-34 (Santa Clara relies on “EPA’s capacity to deploy the on-scene
                coordinators…during its emergency response to releases of hazardous materials and other harmful
          19    chemicals”); ECF 37-52 ¶¶25-28 (EPA aided Chicago following an industrial structure collapse);
                ECF 37-19 ¶¶8, 22 (effects of EPA cuts on emergency response).
          20      24
                     ECF 37-58 ¶24 (Forest Service cuts will shift wildfire response burden to Santa Clara); ECF 37-
                49 ¶¶2-4 (San Francisco; same); ECF 37-1 at 25-40 (listing additional harms).
          21      25
                     See Opp. 33 (citing United States v. Texas, 599 U.S. 670, 680 n.3 (2023); Arizona v. Biden, 40
                F.4th 375, 386 (6th Cir. 2022)). Those cases also both involved challenges to the Executive’s decision
          22    not to arrest or prosecute, a type of lawsuit that is historically disfavored. Texas, 599 U.S. at 678. In
                contrast, challenges to agency actions reducing services are familiar territory for courts, including
          23    from localities that will experience “an increased demand for aid supplied by the state and local
                entities” as a result. City & Cnty. of San Francisco v. USCIS, 981 F.3d 742, 754 (9th Cir. 2020).
          24      26
                     For example, RIFs at HHS caused CDC to cancel support for Milwaukee public schools with
                lead exposure; severely hindered monitoring, testing, and prevention efforts for communicable
          25    diseases; and endangered disease testing for first responders and firefighters. ECF 37-36 ¶¶17, 25,
                29-34 (APHA). NIOSH shuttered a federal screening program for black lung disease, id. ¶25; and
          26    stopped routine mine safety inspections, ECF 37-21 ¶23.
                  27
                     See also ECF 37-14 ¶11 (GSA); ECF 37-21 ¶18 (HHS); ECF 37-16 ¶10 (DOL). This violates 5
          27    C.F.R. §351.806, which requires, “When possible, the agency shall retain the employee on active
                duty status during the notice period.” The only exception is if “in an emergency the agency lacks
          28    work or funds for all or part of the notice period.”
                  28
                     See ECF 37-13 ¶¶12-14 (EPA); ECF 41-1 ¶¶13-18 (HUD); ECF 37-18 ¶¶8-14 (SBA).
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           1           Finally, FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024), does not foreclose

           2    standing when, as here, a defendant’s actions “perceptibly impaired” the plaintiff’s “core business

           3    activities.” Id. at 395; see, e.g., ECF 37-23 ¶¶10-19 (AFGE); ECF 37-1 at 45 n.59.

           4    VII.   The Equities Otherwise Favor a TRO

           5           Defendants’ argument depends on their contention that their actions were lawful. Opp. 48; cf.

           6    Pangea Legal Servs. v. DHS, 501 F.Supp.3d 792, 826-27 (N.D. Cal. 2020). They provide no evidence

           7    and assert no harm from short-term preservation of the status quo to allow full consideration of a

           8    preliminary injunction. “The public interest is served by compliance with the APA,” as is “ensuring

           9    that the statutes enacted by representatives are not imperiled by executive fiat.” Id. at 825-26.

          10    VIII. The Scope of the Requested Injunction Is Appropriate

          11           Plaintiffs have shown injury to Plaintiffs and their members across the country. Supra at 12-

          12    13. An injunction must be as broad as necessary to give parties relief, as when “a showing of

          13    nationwide impact” is made. Cal. v. Azar, 911 F.3d 558, 584 (9th Cir. 2018); see Bresgal v. Brock,

          14    843 F.2d 1163, 1170-71 (9th Cir. 1987); see also Pangea Legal Servs., 501 F.Supp.3d at 826-27.29

          15    Moreover, the APA’s directive to “hold unlawful and set aside agency action,” is not limited by

          16    “geographic boundaries.” E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 987 (9th Cir. 2020)

          17    (“E. Bay I”).30 Thus, the “ordinary result [in an APA case] is that the rules are vacated—not that their

          18    application to the individual petitioners is proscribed.’” Regents of Univ. of Cal. v. DHS Sec’y, 908

          19    F.3d 476, 511 (9th Cir. 2018), vacated in part on other grounds, 591 U.S. 1 (2020) (cleaned up).

          20           Defendants object to disclosure of the ARRPs as unnecessary, arguing that Plaintiffs can

          21    challenge RIFs after RIF notices issue. Opp. 48-49. But Defendants should reveal to the Court which

          22    further actions implementing the ARRPs are imminent, so this Court can properly evaluate the record

          23    for a preliminary injunction.31 Moreover, good cause exists to expedite this discovery. See Freelancer

          24
                  29
                     Plaintiff unions and nonprofit organizations are not geographically limited. See, e.g., ECF 37-23
          25    ¶2 (AFGE); ECF 37-26 ¶4 (SEIU); ECF 37-36 ¶2 (APHA); ECF 37-39 ¶2 (ARA). Plaintiff cities and
                counties injuries derive not only (or even mainly) from termination of federal employees employed
          26    therein. See, e.g., ECF 37-46 ¶12-26; ECF 37-47 ¶4(c); ECF 41-6 ¶22(e), 29-31.
                  30
                     Defendants cite an earlier motions panel decision in E. Bay Sanctuary, which the Ninth Circuit
          27    deemed non-binding in affirming preliminary injunctive relief in all four border states. See E. Bay I,
                994 F.3d at 985-88; E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 660-62 (9th Cir. 2021).
          28      31
                     Defendants’ suggestion that any TRO should permit them to conduct RIFs that are independent

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           1    Int’l Pty Ltd. v. Upwork Global, Inc., 2020 WL 6929088, *2 (N.D. Cal. Sep. 9, 2020) (expedited

           2    discovery factors include pending preliminary injunction request, purpose, and breadth of request).

           3    IX.    Plaintiffs Did Not Delay Seeking a TRO

           4           Plaintiffs sought a TRO as soon as reasonably practicable after information became public

           5    regarding agencies’ implementation of the EO and Memo, in conjunction with the March 13 and

           6    April 14 ARRP deadlines. See ECF 37-1 at 14-23. The grounds for Plaintiffs’ legal challenge were

           7    not “fully available” in February. Opp. 21-22. Defendants would have challenged standing without

           8    information regarding the agencies’ RIF plans. In fact, in another case, the government argued that

           9    claims challenging this EO were unripe in February because implementation via RIFs had not yet

          10    occurred.32 Plaintiffs also could not show that agencies were following the EO and the Memo—or, in

          11    the case of the NLRB and NSF, that agencies not sufficiently following it were forced to modify their

          12    plans (ECF 37-1 at 12, 23-24)—until the agencies took actions and their plans emerged.33

          13
                X.     No Bond Should Be Required
          14
                       This Court “retains discretion as to the amount of security required, if any.” E. Bay Sanctuary
          15
                Cov. v. Trump, 349 F.Supp.3d 838, 868 (N.D. Cal. 2018) (quotation omitted); see also San Francisco
          16
                v. Trump, 2025 WL 1282637, *38 (N.D. Cal. May 3, 2025); Nat’l Council of Nonprofits, 2025 WL
          17
                597959, *19. A TRO would simply require Defendants to continue the work that these agencies have
          18
                performed for decades. See Pacito v. Trump, 2025 WL 893530, at *15 (W.D. Wash. Mar. 24, 2025).
          19
                                                           CONCLUSION
          20
                       The Court should issue the proposed temporary restraining order.
          21

          22    of the EO and Memo, Opp. 50, could not be effectuated without knowing what is in the ARRPs. See
                also Urgent Need for Transparency and Oversight Regarding Agency Reduction-in-Force and
          23    Reorganization Plans Affecting Scientific and Health Priorities (May 2025), http://united
                sciencealliance.org/united-call-for-transparency (75 science groups call for ARRP transparency)
          24      32
                     NTEU v. Trump, No. 1:25-cv-00420 (D.D.C.), Dkt. 14 at 17; see also NY v. McMahon, No. 1:25-
                cv-10601 (D. Mass.), Dkt. 95 at 9-10 (arguing plaintiffs “lack[ed] understanding of the [Education
          25    Dept’s] ongoing reorganization,” were speculating about harms, and had no standing to stop RIFs).
                  33
                     Regardless, “[d]elay by itself is not a determinative factor.” Cuviello v. City of Vallejo, 944 F.3d
          26    816, 833 (9th Cir. 2019) (17-month delay); see also Doe v. Horne, 115 F.4th 1083, 1111 (9th Cir.
                2024) (7 months); Arc of Cal. v. Douglas, 757 F.3d 975, 990 (9th Cir. 2014) (3 months). And timing
          27    arguments are “not particularly probative in the context of ongoing, worsening injuries,” Arc of Cal.,
                757 F.3d at 990, which Plaintiffs show. See, e.g., Mammel Decl. ¶8 (May 2: EPA RIFs “in the
          28    coming weeks”); ¶11 (Interior May 2: coming RIFs). In Defendants’ cited cases, either the plaintiffs
                did not explain the delay or did not show worsening and irreparable harm.
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                REPLY ISO MOT. FOR TEMPORARY RESTRAINING ORDER, No: 3:25-cv-03698-SI                  18
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                REPLY ISO MOT. FOR TEMPORARY RESTRAINING ORDER, No: 3:25-cv-03698-SI                20
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                                     UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF CALIFORNIA

              Before The Honorable Susan Illston, Judge

              AMERICAN FEDERATION OF         )
              GOVERNMENT EMPLOYEES, AFL-CIO, )
              et al.,                        )
                                             )
                         Plaintiffs,         )
                                             )
                VS.                          )             NO. 3:25-cv-03698-SI
                                             )
              PRESIDENT DONALD J. TRUMP, in )
              his official capacity as       )
              President of the United States,)
              et al.,                        )
                                             )
                         Defendants.         )
                                             )

                                                  San Francisco, California
                                                  Friday, May 9, 2025

                                       TRANSCRIPT OF PROCEEDINGS
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              Reported By:       Ruth Levine Ekhaus, RMR, RDR, FCRR, CCG
                                 Official Reporter, CSR No. 12219



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         1    Friday - May 9, 2025                                        10:30 a.m.

         2                                P R O C E E D I N G S

         3                                        ---o0o---

         4                THE CLERK:      All rise.     Court is now in session, the

         5    Honorable Susan Illston presiding.

         6                THE COURT:      Good morning.

         7                ALL:    Good morning.

         8                THE COURT:      You may all be seated.

         9                THE CLERK:      Now calling Civil Matter 25-CV-3698,

        10    American Federation of Government Employees, AFL-CIO, et al.

        11    versus Trump, et al.

        12                Counsel, please approach the podiums and state your

        13    names for the record.

        14                MS. LEONARD:      Good morning, Your Honor.           Danielle

        15    Leonard from Altshuler Berzon.            With me at counsel table,

        16    appearing on behalf of the plaintiff coalition, are Stacey

        17    Leyton from Altshuler Berzon, Corinne Johnson from Altshuler

        18    Berzon, Elena Goldstein from Democracy Forward, Ravi Rajendra

        19    from Santa Clara County, and Yvonne Mere from San Francisco.

        20                THE COURT:      Good morning.

        21                MR. HAMILTON:       Good morning, Your Honor.          Eric

        22    Hamilton from the U.S. Department of Justice for defendants.

        23    With me is Andrew Bernie from the U.S. Department of Justice,

        24    also for defendants.

        25                THE COURT:      Good morning.




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         1                Good morning.       This is the hearing on plaintiffs'

         2    motion for a temporary restraining order.               I've read and

         3    reviewed the papers submitted by the plaintiffs, by defendants,

         4    and by various amicus briefs which have come in over the last

         5    few days.      On -- and the amicus briefs are on either side of

         6    the issue.

         7                I thought I would give you my preliminary view of how

         8    to approach this first, and then I'll be happy to hear what you

         9    want to add to the papers that you've already submitted.

        10                I've taken a hard look at the law that applies in this

        11    case, and I think it is clear from Supreme Court precedent that

        12    the President has the authority to seek changes in the

        13    executive branch agencies, but he must do so in lawful ways.

        14    And in the case of large-scale reorganizations or critical

        15    transformations, he must do so with the cooperation of

        16    Congress.      The Constitution is structured that way.

        17                It doesn't require the cooperation of the courts;

        18    we're not part of that.          But it requires the approval and

        19    cooperation of the Congress because the agencies were created

        20    by statute by the Congress.

        21                I'm therefore inclined to issue a temporary

        22    restraining order at this stage to protect the power of the

        23    legislative branch, which is what's being affected by these

        24    activities.

        25                Defendants have raised a lot of questions about why we




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         1    ought not get to the merits in the first instance, including

         2    timeliness, standing, and jurisdiction.               I haven't found those

         3    arguments persuasive, but I'll be happy to hear anything you

         4    want to add today.

         5                On the merits, the case involves challenges to three

         6    levels of executive action.           At the top, the President's

         7    executive order 14210; in the middle, the February 26, 2025,

         8    memorandum from the Office of Management and Budget and the

         9    Office of Personnel Management, which was issued in response to

        10    the executive order; and then, at the bottom, the various

        11    agency, RIF, and reorganization plans that were submitted to

        12    OMB and OPM in response to the memo.              And then there are DOGE

        13    actions happening as well.

        14                With respect to the executive order, I think

        15    plaintiffs are likely to succeed on their claim that the

        16    executive -- that the directive to initiate large-scale

        17    reductions in force in Executive Order 14210 is ultra vires, as

        18    the President has neither constitutional nor, at this moment

        19    anyway, statutory authority to reorganize the executive branch

        20    in this way.

        21                The administrative agencies are creatures of statute.

        22    Many past presidents, including President Trump in his first

        23    term, have recognized that they need Congress to initiate major

        24    agency reorganizations.          Nothing has changed since the first

        25    term to alter that law.




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         1                And for similar reasons, the memo requiring that the

         2    agencies submit their plans to OMB and OPM for review and

         3    approval is ultra vires and violates, I believe, the APA.

         4                So that's where I'm starting, which is that -- which

         5    would suggest then that I grant the TRO at this time, but we're

         6    having this hearing so we can flesh out any issues that need to

         7    be fleshed out.

         8                It might be well for the Government to start.

         9                Tell me your name again, sir.

        10                MR. HAMILTON:       Thank you, Your Honor.         Eric Hamilton.

        11                THE COURT:      Good.

        12                MR. HAMILTON:       Your Honor, this Court should deny

        13    plaintiffs' motion for a temporary restraining order.                     As

        14    Your Honor identified, there are a number of arguments we have

        15    raised that are threshold arguments, CSRA channeling, standing,

        16    APA reviewability, the lawfulness of the executive order and

        17    memorandum, and there are others.              To succeed, plaintiffs would

        18    have to persuade the Court on each of those issues and still

        19    others.

        20                But, Your Honor, we think this is the rare motion for

        21    a temporary restraining order where the Court doesn't even have

        22    to get to that.

        23                Your Honor, the motion begins and ends with Rule 65.

        24    Plaintiffs' 51-page brief and 1,300 pages of declarations don't

        25    look anything like a motion for a temporary restraining order;




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         1    they look like a motion for summary judgment.                 And their

         2    months-long delay in filing the motion is enough for the Court

         3    to deny the request.

         4                The first page of plaintiffs' brief calls their case a

         5    challenge to an executive order.             It's an executive order that

         6    was signed on February 11th, months ago, and yet, plaintiffs

         7    did not get their motion on file until May.

         8                There's case law in the Ninth Circuit, as well as

         9    federal district courts in the State of California, that have

        10    recognized that delays of much less are, by itself, enough for

        11    a court to deny a motion for a temporary restraining order.

        12                I want to highlight a case we cite in our brief:              NTEU

        13    against Trump.       It's a case from the DC District Court that was

        14    a challenge to the exact same executive order at issue here

        15    brought by a different union.            The plaintiffs there filed a

        16    motion for a temporary restraining order just three days after

        17    the executive order was signed.

        18                And the delay in this case is even more stark when

        19    compared against the timing of other temporary restraining

        20    order motions filed by plaintiff AFGE during the Trump

        21    administration.

        22                A different case in the Northern District of

        23    California called AFGE against OPM with Judge Alsup was -- had

        24    a TRO motion filed ten days after OPM issued probationary

        25    employee guidance.




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         1                Another AFGE case in this district court, AFGE against

         2    Trump, which is with Judge Donato, a TRO motion was filed

         3    ten days after the President signed the collective bargaining

         4    agreement executive order that the union is challenging.

         5                And looking to Boston, AFGE against Ezell, motion for

         6    a TRO was filed eight days after the plaintiff filed -- excuse

         7    me -- after the OPM began the "Fork in the Road" deferred

         8    resignation program.

         9                And, Your Honor, nothing has happened since

        10    February 11th to justify that sort of delay.                All have known

        11    since at least the February 26th memorandum of OPM and OMB that

        12    there would be ARRPs submitted in mid-March and mid-April.

        13                And when I look through plaintiffs' motion talking

        14    about happenings at different agencies, we see multiple

        15    agencies where nothing can possibly explain the delay in

        16    seeking the extraordinary emergency relief of a temporary

        17    restraining order.

        18                Take, for example, the Department of Energy.                  There,

        19    plaintiffs say that the ARRP was leaked on April 4th.                     Nothing

        20    can explain their month-long delay there.               And as to HHS,

        21    plaintiffs say that a RIF was announced there back on

        22    March 27th; but, again, they can't explain their delay in

        23    seeking emergency relief from a federal court during the

        24    intervening weeks since then.

        25                So, Your Honor, we think the case ends with Rule 65,




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         1    but if the Court turns to the four Winter factors, the

         2    plaintiffs have failed to make the required showing on each.

         3                I'll start with likelihood of success on the merits.

         4    There is no likelihood of success on the merits for plaintiffs.

         5                Your Honor noted the argument that we've made that the

         6    Civil Service Reform Act as well as the FSLMRS preclude subject

         7    matter jurisdiction.

         8                Congress anticipated the problem of there being

         9    disputes over federal employment action, and that's why it

        10    created a specific remedial scheme for litigation over that,

        11    which goes to the Merit System Protection Board or the FLA.

        12                And --

        13                THE COURT:      So it's your argument that Congress

        14    anticipated that the President would issue an order effectively

        15    radically transforming all these federal agencies and that that

        16    should go to the administrative agencies for review?

        17                MR. HAMILTON:       It is, Your Honor.        And other courts

        18    have recognized that the fact that there's an executive order

        19    or constitutional claims or statutory claims -- that isn't

        20    enough to take a case outside of the Merit System Protection

        21    Board.

        22                We cite, for example, the AFGE against Trump case from

        23    the DC circuit in 2019.          That case involved a challenge to

        24    implementation of three executive orders.               And during the

        25    second Trump administration, we've seen courts repeatedly




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         1    recognize that the CSRA and FSLMRS preclude challenges to the

         2    Trump administration's workforce policies.

         3                For example, quite recently, the Fourth Circuit stayed

         4    a preliminary injunction in Maryland against USDA in a

         5    challenge to the -- to an OPM guidance document on probationary

         6    employees.

         7                More recently, the DC circuit stayed a preliminary

         8    injunction in the Widakuswara case which is a challenge to an

         9    executive order that directed changes at the USAGM and resulted

        10    in reductions in force.

        11                Both of those cases, appellate courts recognized that

        12    district court litigation was precluded by --

        13                THE COURT:      I read those cases because you cited them

        14    and relied on them extensively in your briefs.                 And, of course,

        15    each of them is two to one, and the two, the majority opinions

        16    discussions were brief.          Very.

        17                And the dissents, I found very persuasive.               They were

        18    articulate and explained at length why -- why, in the opinion

        19    of those judges, these issues are totally unsuited for the

        20    administrative review.

        21                MR. HAMILTON:       Sure.

        22                THE COURT:      So I just want you to know that I found

        23    persuasive the arguments made in the dissents.

        24                MR. HAMILTON:       Sure.    And those cases proceeded on

        25    appellate emergency dockets.




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         1                We also cite cases that have more extensive treatment

         2    of the issues, including the 2019 DC Circuit case I mentioned,

         3    and we also cite some recent district court --

         4                THE COURT:      Of course, in 2019, the President didn't

         5    even claim to be able to make the sweeping changes that he's

         6    trying to order here.         Back then he recognized he needed to get

         7    the Congress' permission, and he sought it, which is what the

         8    Heritage Foundation said he had to do and what he could have

         9    done here, but he didn't.

        10                MR. HAMILTON:       Certainly true that the executive order

        11    issued in February was not under review there.

        12                But AFGE against Trump from 2019 still involved the

        13    implementation of multiple executive orders.                And as I said, we

        14    also cite the AFGE against Ezell case from the District of

        15    Massachusetts and NTEU against Trump from DDC, a challenge to

        16    the very executive order at issue here, where the Court held

        17    that CSRA FSLMRS precluded federal district court litigation.

        18                And in the end, plaintiffs' theory of district court

        19    litigation would make no sense of Congress' statutes because

        20    Congress anticipated litigation over separations of federal

        21    employees and it created a specific forum for those cases.                But

        22    under plaintiffs' theory, a plaintiff with even less of a stake

        23    in federal employment than the employee himself or herself

        24    doesn't have to go through that scheme and instead can go to

        25    any judicial district of their choosing to bring litigation




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         1    outside of that scheme.

         2                Even if the Court had subject matter jurisdiction over

         3    such a case, plaintiffs still haven't carried their burden to

         4    establish standing to sue.

         5                There are two categories of plaintiffs here.                  One

         6    category is the union plaintiffs.              They're relying on a theory

         7    of standing where they're asserting the rights and interests of

         8    their members.       But the U.S. Supreme Court recognized in

         9    Summers against Earth Island Institute in 2009 that, for that

        10    theory of standing to succeed, a plaintiff has to make specific

        11    allegations establishing that at least one identified member

        12    has suffered or would suffer harm.

        13                Plaintiffs respond to this argument in a footnote, and

        14    they don't dispute that their declarations do not identify

        15    named members, which under our reading of Summers is a

        16    requirement for standing.

        17                The organizational plaintiffs' standing is on even

        18    weaker ground.       They are relying on downstream injuries from

        19    reductions in force in the Federal Government.                 Cases from

        20    the -- like United States against Texas from the U.S. Supreme

        21    Court recognized that that's not a viable theory of standing.

        22    And we also cite circuit precedent like Arizona against Biden,

        23    that is also dismissive of that sort of theory of standing.

        24                But in the end, if the organizational plaintiffs are

        25    concerned about disruption in the services that they feel they




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         1    are entitled to from the Federal Government, the right way to

         2    litigate that isn't to bring a lawsuit enjoining any sort of

         3    personnel changes in the agency with which they might work.

         4    Instead, they should bring a claim against the agency, seeking

         5    a court order, compelling whatever it is they think they've

         6    been denied.

         7                But the fact that one plaintiff might receive funding

         8    from an agency doesn't allow them to cut off any sort of

         9    personnel action that an agency might engage in within that

        10    agency.

        11                Still another threshold barrier to plaintiffs' claim

        12    is the fact that the executive order at issue here is not

        13    reviewable.      The Administrative Procedure Act does not apply to

        14    acts of the President.          The Franklin against Massachusetts case

        15    interpreted the APA and the word "agency" in that statute to

        16    exclude acts of the President, and so that is not a viable

        17    claim for review of the executive order --

        18                THE COURT:      Well, the plaintiffs didn't say it was.

        19    They didn't bring that claim.

        20                MR. HAMILTON:       Their complaint at least is seeking,

        21    I believe, vacatur of an executive order.

        22                THE COURT:      Not under the APA.

        23                MR. HAMILTON:       Well, but there are still problems with

        24    the constitutional and statutory theories that they are

        25    seeking.     Dalton against Specter, for example, rejects the idea




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         1    that any time that a president is allegedly exceeding statutory

         2    authority that that would automatically become a constitutional

         3    claim.

         4                And there are also reviewability problems with the OMB

         5    and OPM memorandum.         Again, plaintiffs are litigating an APA

         6    claim.     Requirements for the APA are that an agency action has

         7    to be both discrete and final.            The February memorandum of OMB

         8    and OPM is neither.

         9                The memorandum is kicking off an interagency

        10    collaborative process.          It is seeking planning documents from

        11    agencies so that there can be discussion and coordination

        12    across the executive branch on workforce policy.

        13                That is not final agency action, which is something

        14    that marks the consummation of the agency's decision-making

        15    process instead of being interlocutory and also is something

        16    from which legal consequences flow.              That does not describe the

        17    OMB and OPM memorandum.

        18                THE COURT:      So then the action is premature?

        19                MR. HAMILTON:       It is premature.

        20                THE COURT:      But I thought you said it was three months

        21    too late.

        22                MR. HAMILTON:       Well, it is -- there are multiple

        23    problems with the way that the lawsuit is structured.

        24    Plaintiffs are using reductions in force as a hook and as their

        25    injury, and for that sort of theory, they are much too soon




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         1    because they haven't structured any of their claims around an

         2    actual reduction in force at the agency level.

         3                Instead, they structure their claims around an

         4    executive order and a memorandum, both of which were issued in

         5    February, and because of that choice, under Rule 65, their

         6    delay in seeking such relief disqualifies them from any sort of

         7    emergency relief and especially a temporary restraining order.

         8                Turning, though, to the merits of plaintiffs' claims.

         9    Again, they argue that the executive order and memorandum both

        10    issued in February are unlawful.

        11                I want to start with the statutory landscape here,

        12    because it's undisputed by the parties that there is a

        13    reduction in force statute on the books, and that statute is

        14    5 U.S.C. 3502.

        15                And there's no reason that the President cannot issue

        16    an executive order against the backdrop of that statutory

        17    authority --

        18                THE COURT:      He didn't do it the way the statute says

        19    to do it.      That's all.

        20                MR. HAMILTON:       Well, the executive order is obligating

        21    agencies to begin preparations for a reduction in force and to

        22    engage in a planning process through which information flows to

        23    the Office of Management and Budget.

        24                And, Your Honor, our brief compares this executive

        25    order to other executive orders issued during past




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         1    administrations, and I want to highlight in particular an

         2    executive order issued during the Clinton administration.

         3                That executive order, like this one, was issued in

         4    February after a new president took office.                And the

         5    February 1993 Clinton executive order -- it actually goes

         6    farther than the executive order under review here.

         7                Plaintiffs say -- that executive order didn't direct

         8    any reduction in force, but I struggle to square that

         9    interpretation with the EO's text.             Section 1 of President

        10    Clinton's executive order says (as read):

        11                "Each executive department or agency with over

        12           100 employees shall eliminate not less than 4 percent

        13           of its civilian personnel positions over the next

        14           three fiscal years."

        15                And plaintiffs respond that legislation was enacted

        16    during the Clinton administration in connection with the

        17    President's workforce policies.            But that legislation postdated

        18    the executive order at issue here.             That is no --

        19                THE COURT:      Probably so did the reductions in force.

        20                MR. HAMILTON:       Well, the executive order sets

        21    different timings.        It even sets -- says, I think, something

        22    like 25 percent of personnel cuts have to happen within the

        23    first year.      And so the President -- President Clinton laid out

        24    that policy before Congress acted.

        25                THE COURT:      But then Congress acted.




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         1                MR. HAMILTON:       Right.    And here, President Trump is --

         2    is requiring agencies to begin preparations for reductions in

         3    force, and --

         4                THE COURT:      The order requires execution of reductions

         5    in force.

         6                MR. HAMILTON:       Well, it's -- it's -- I believe that

         7    the language in Section 3 is -- is requiring preparation for a

         8    reduction in force, and -- and the -- the -- Section 3 also

         9    says that the reductions in force have to be consistent with

        10    law.

        11                That is a reference to statutory limitations on agency

        12    authority, and it would also include implicitly the authority

        13    that agencies have under 5 U.S.C. 3502 to carry out reductions

        14    in force.

        15                And, Your Honor, we also -- there's an additional

        16    clause in the executive order on this point.                Right.        So it's

        17    Section 3C, consistent with applicable law in that reduction in

        18    force subsection.        But then later, in Section 5(a)(1), the

        19    executive order says that it shall not be construed to impair

        20    agencies' statutory authority.            And that belies plaintiffs'

        21    theory of the executive order, which reads it to -- to create

        22    statutory conflicts that do not exist.

        23                And we cite cases like Building and Construction from

        24    the DC circuit, and Common Cause that note that savings clauses

        25    like this that limit applications of executive orders to




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         1    consistency with statutes are meaningful, and -- and that

         2    plaintiffs cannot hold that an executive order is violative of

         3    a statute where that is disavowed.

         4                The exception would be if an executive order perhaps

         5    has no conceivable application of lawfulness.                 But that can't

         6    possibly describe the executive order at issue here, which is

         7    obligating agencies to understand their statutory authorities

         8    and make preparations for workforce improvements consistent

         9    with those authorities.

        10                Plaintiffs focus less so on Section 3's declarative

        11    language and anchor their claims in the purpose language, which

        12    cites a transformation.          But that is -- is just the purpose

        13    section of the executive order, and it explains that this is

        14    the beginning of the Trump administration's implementation of

        15    its workforce agenda.

        16                Also want to note reorganization.             The plaintiffs are

        17    claiming that the President has no authority to reorganize, and

        18    this is a reference to Section 3E of the executive order, but

        19    that section, by its terms, is simply requiring agencies to

        20    prepare a report that's identifying statutes and making

        21    proposals for consolidation and cutting of offices; and it

        22    would be entirely consistent with that section for an agency to

        23    make proposals for legislative changes.

        24                In fact, when we look at the OMB/OPM memorandum that

        25    requires agencies to submit information by mid-March in an




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         1    ARRP, it expressly invites comments and proposals for

         2    legislative engagement as part of policies that those agencies

         3    wish to implement.

         4                So turning to that memorandum, the February 26th

         5    memorandum issued by OMB and OPM, it is setting out guidance

         6    for implementation of the President's executive order.                    It says

         7    that agencies should focus on eliminating nonstatutory

         8    functions and protecting the services that they are providing.

         9                Footnote 17 of our brief identifies the five different

        10    times that agencies are advised in that memorandum to not do

        11    anything in derogation of their statutory requirements.                   I

        12    think it's page 2 of the memorandum which tells agencies to

        13    examine their statutory authority for reductions in force and

        14    to act consistent with their statutory authorities in any sort

        15    of workforce policy that they might carry out.

        16                The organizational plaintiffs rely heavily on the

        17    notion that implementation of the executive order would lead to

        18    changes in the services that they receive inconsistent with

        19    statutes.      Footnote 18 of our brief rebuts that, identifying

        20    the three different times that this memorandum tells agencies

        21    to be mindful of the quality of services that they are

        22    obligated to provide customers, the American people.

        23                Separate and apart from the executive order and the

        24    memorandum at issue, plaintiffs appear to try to challenge

        25    reductions in forces in different agencies; but as I noted




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         1    earlier in my presentation, the plaintiffs aren't actually

         2    structuring any of their claims around particular reductions in

         3    forces in agencies, which reveals a serious mismatch between

         4    the injury that they're claiming and the types of claims that

         5    they're trying to litigate --

         6                THE COURT:      I wonder if you could just start that

         7    sentence over again.         I didn't follow you.

         8                MR. HAMILTON:       Yes.

         9                So the plaintiffs, especially in trying to explain

        10    their lengthy delay in filing the motion --

        11                THE COURT:      Three months.

        12                MR. HAMILTON:       Yes.

        13                They talk about reductions in force happening at

        14    different agencies.         Their brief ticks through a number of the

        15    defendants explaining what they have heard about as far as

        16    reductions in force.

        17                But reviewing the complaint and the claims, they don't

        18    actually structure their claims around specific reduction in

        19    force --

        20                THE COURT:      Well, let me ask you this question:

        21                The Senate sent a letter to, I guess, OMB and OPM,

        22    maybe to the President, saying could we see your ARRPs, please,

        23    which is what you're talking about, the various proposed

        24    reductions in force.

        25                Was there a response to that?




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         1                MR. HAMILTON:       I do not know, Your Honor.

         2                And plaintiffs have requested the same document.              We

         3    think that the right way for that to be litigated is --

         4                THE COURT:      Is through FOIA.

         5                MR. HAMILTON:       Is through Freedom of Information --

         6                THE COURT:      There's no need to speed up FOIA, so we

         7    can go through the normal 18- to 24-month time frame on getting

         8    a response to FOIA requests.           I know there's another lawsuit

         9    pending on that.

        10                But my question to you is:           You're about to say, well,

        11    they haven't tailored their complaint to the specific RIFs.

        12    Well, they haven't been told what they are.                The Senate asked

        13    for that and didn't get it.

        14                So how are challenges supposed to be tailored if you

        15    won't tell them what's happening?

        16                MR. HAMILTON:       Well, actually, the February memorandum

        17    specifies a notice process through which agencies will notify

        18    individuals affected by reductions in force as a default

        19    60 days before it takes effect, and there's a minimum of

        20    30 days.

        21                So plaintiffs' argument that defendants are acting in

        22    secrecy is belied by the February memorandum --

        23                THE COURT:      Why don't -- why won't you, counsel for

        24    the defendants in this case, give counsel for plaintiffs a copy

        25    of the ARRPS -- ARRPs?




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         1                MR. HAMILTON:       Those documents are deliberative

         2    documents.      They're planning documents.           They're the sort of --

         3    you know, deliberative documents that are typically held

         4    confidential.       And as our brief explains, they aren't -- they

         5    aren't final agency actions.           And, you know, the fact that OMB

         6    and OPM will review them highlights that.

         7                And there's multiple stages to them.              There's the

         8    initial document that the memo makes due in mid-March and then

         9    additional documents due in mid-April.

        10                And as I --

        11                THE COURT:      We're now in May, so because they've

        12    waited three months, we are now to the point where those things

        13    should be available.

        14                MR. HAMILTON:       Well, so -- so -- I think the bottom

        15    line point, though, here is to the extent that plaintiffs want

        16    to challenge specific RIFs, it should be in the context of

        17    specific RIFs that have gone out and that employees have

        18    received notice of.         And we've seen litigation like that.            I

        19    cited the USAGM case in the DDC District Court that went up to

        20    the DC circuit.       That was based on specific reduction in force

        21    actions.

        22                And, you know, we made the argument there, which the

        23    DC circuit accepted, that that still was not the right forum.

        24    But what we've identified here is an additional problem on top

        25    of that problem of this fundamental mismatch with the way that




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         1    plaintiffs have structured their case.

         2                Separate and apart from likelihood of success on the

         3    merits is irreparable harm.           Plaintiffs can't show an

         4    irreparable harm that would merit a temporary restraining

         5    order.

         6                Your Honor, again, they brought a facial challenge to

         7    this executive order and memorandum seeking virtual executive

         8    branch-wide implementation of the order, and that is

         9    inconsistent with their attempt to make this case about

        10    specific reductions in force.

        11                We cite the Sampson case, which explains that the loss

        12    of government employment is not an irreparable harm.                      That's a

        13    case of the U.S. Supreme Court, and plaintiffs don't have an

        14    effective response to that case.

        15                In addition, the way that plaintiffs have structured

        16    their temporary restraining order belies their irreparable harm

        17    claims, because they're seeking a forward-looking order that

        18    would prevent future implementation of the executive order.

        19                And so that wouldn't even apply to the specific harms

        20    that they claim to have identified with RIF announcements that

        21    they say have taken place in different agencies --

        22                THE COURT:      Well, it would be a very different matter

        23    to -- and perhaps it will.           I don't know.      But it would be a

        24    different matter to request undoing things that have been done

        25    previously as opposed to simply preserve the status quo by




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         1    preventing further -- further change going forward.

         2                MR. HAMILTON:       But the remedy at stake today is a

         3    motion for a temporary restraining order, and under Rule 65,

         4    that is a 14-day order until there is a later showing by the

         5    plaintiffs.      And given --

         6                THE COURT:      And we'll set -- we'll do that today.

         7    We'll set a further hearing.

         8                MR. HAMILTON:       But my point is for that 14-day period,

         9    because the memorandum that OMB and OPM issued note the notice

        10    that individuals affected by any reduction in force will

        11    receive, it's greater than that 14-day period; and so

        12    plaintiffs can't establish an irreparable harm that would be

        13    addressed by -- during the time period of the temporary

        14    restraining order that they are requesting.

        15                The other factors for a temporary restraining order

        16    are the balance of the equities and the public interest.                  Both

        17    of those disfavor the temporary restraining order that the

        18    plaintiffs are seeking.

        19                The order that they are requesting would be enormously

        20    intrusive on the Federal Government's management of the

        21    workforce.      The President is the head of the executive branch.

        22    The Constitution vests the executive power of our government in

        23    him.    And it -- you know, the plaintiffs are seeking judicial

        24    superintendents of the executive branch management of the

        25    federal workforce.




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         1                THE COURT:      That's not really right.          The plaintiffs

         2    are seeking involvement of the Congress, the legislature, which

         3    created by statute the agencies that the President is directing

         4    to -- to take action.         That's what they want is they want to

         5    test -- they want to bring into balance the separation of

         6    powers that the Constitution sets out, which is that the

         7    Congress legislates and it makes statutes and it creates

         8    agencies, and then the President takes care that the laws be

         9    faithfully executed.

        10                MR. HAMILTON:       Yes, but the executive order and memo

        11    are entirely consistent with that backdrop structure of our

        12    government.      They are beginning this deliberative policy-making

        13    process within the branch of agencies carrying out the

        14    workforce agenda consistent with their statutes.

        15                And I'd add, too, that the plaintiffs' conception of

        16    Article II, where the President cannot direct agencies to

        17    review and understand and plan policies consistent with their

        18    statutory authorities, those agencies' statutory authorities,

        19    is anti-democratic.         They are attempting to sever the

        20    democratically accountable president from the agency heads who

        21    have been accorded statutory authorities, including the RIF

        22    statute that everyone agrees remains on the books in the U.S.

        23    code at 5 U.S.C. 3502.

        24                THE COURT:      But it's not being followed, that statute.

        25                MR. HAMILTON:       Well, the OPM and OMB memorandum sets




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         1    out processes that are consistent with that statute, and the

         2    statute directs OPM to put out regulations for reductions in

         3    force.

         4                OPM --

         5                THE COURT:      It didn't.

         6                MR. HAMILTON:       It did that under previous

         7    administrations, and those regulations remain on the books.

         8                Those regulations even give OPM a role in reviewing

         9    and understanding agencies' carrying out of reductions in

        10    force.     They give OPM the authority to take corrective actions

        11    where there is noncompliance with those regulations.

        12                So in the end, plaintiffs satisfy none of the four

        13    Winter factors to obtain a temporary restraining order.

        14                But, again, we don't think that the analysis even gets

        15    off the ground because of the extraordinary delay that

        16    plaintiffs took to get their motion on file, which is a

        17    challenge to a February temporary restraining order.

        18                If, however, the Court were to enter a temporary

        19    restraining order, we'd ask that the Court not enter nationwide

        20    relief.     Any sort of relief should be limited to the specific

        21    plaintiffs, specific members in plaintiffs, where plaintiffs

        22    are relying on organizational, associational standing.

        23                And in addition, any order of the Court we would

        24    suggest would make clear that the temporary restraining order

        25    would not affect agencies' authorities under their own statutes




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         1    to engage in activities authorized by law.

         2                In addition, if a temporary restraining order is

         3    issued, a bond should be required.             Rule 65 makes a security a

         4    requirement for any emergency injunctive relief in the form of

         5    a TRO or a preliminary injunction, and the amount of that bond

         6    should be consistent with whatever scope of a temporary

         7    restraining order that the Court may issue.

         8                And finally, if the Court does enter a temporary

         9    restraining order, we would ask that the Court could issue a

        10    stay pending any appeal authorized by the Solicitor General.

        11                THE COURT:      All right.     Thank you.

        12                MR. HAMILTON:       Thank you, Your Honor.

        13                THE COURT:      You're welcome.

        14                Tell me your name again.

        15                MS. LEONARD:      Danielle Leonard.        And good morning,

        16    Your Honor.

        17                THE COURT:      Good morning.

        18                MS. LEONARD:      I will endeavor to keep it brief,

        19    because I think much of what defense counsel has raised in the

        20    arguments that the Court just heard has been fully responded to

        21    in plaintiffs' briefs to the Court and in the Court's initial

        22    remarks.

        23                But picking up on something Your Honor just said a

        24    moment ago, plaintiffs absolutely endeavor with this case to

        25    restore the proper balance that is set by the Constitution




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         1    between the legislative branch, Congress, and the President,

         2    where the President seeks to usurp and intrude on that branch.

         3    And it is, of course, the role of the Article III courts to

         4    help maintain that balance when called upon to do so.

         5                And the idea that plaintiffs are asking for an

         6    undemocratic result is contrary to the -- the entire structure

         7    of what I just described.

         8                Congress, democratically elected, has been given the

         9    legislative authority that the President seeks to assume for

        10    himself here.

        11                I'm going to start -- there's a lot to address, but

        12    I'm going to start with the language of the executive order,

        13    because what the Court just heard from counsel is not what the

        14    executive order says.

        15                Defendants would have this Court believe that the

        16    executive order just sets forth a planning process, just tells

        17    the agencies to comply with their statutes:                Go exercise your

        18    discretion.      Come back.      Make a plan.      Maybe we'll talk about

        19    it.

        20                That is not what this order does.             This is a mandatory

        21    order instructing agencies to begin RIFs now and -- and to do

        22    so in the manner that the President is directing and to do so

        23    in furtherance of the President's transformation of the

        24    government.

        25                The RIFs and the reorganization are part and parcel of




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         1    the same thing.       They are the centerpiece of the plan to

         2    reorganize the government.           And the reason we know this is the

         3    OMB and OPM memorandum that put them into the same planning

         4    document, the ARRP.

         5                What counsel refuses to acknowledge is also that the

         6    President and OMB and OPM have assumed the discretion that the

         7    agencies have and the decision-making authority that the

         8    agencies have been given by Congress for themselves.                      And they

         9    cannot do that consistent with the Constitution, because there

        10    is no authority in the Constitution or statute that allows the

        11    President or OMB/OPM to do that.

        12                They are not waiting for these planning documents to

        13    go through some sort of long -- I believe the word was

        14    "dialogue" before they are taking effect.               They are not waiting

        15    for congressional approval.

        16                They are --

        17                THE COURT:      They're not asking for approval.

        18                MS. LEONARD:      They're not asking for approval and

        19    they're not waiting for it, Your Honor, absolutely.                  They are

        20    implementing these now.

        21                The exhibits that we gave you, just one example from

        22    the Department of Labor with the reply brief and the Gamble

        23    Declaration -- it's a perfect example of what's happening.                     The

        24    President eliminated the Office of Contract Compliance.

        25    Eliminated it.       Crossed it out.       Gone.




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         1                Then told all the employees of that, You're being

         2    RIF'd because your office is gone because the President has

         3    eliminated it, and that eliminated the statutory and regulatory

         4    authority for that office.

         5                The President is making the law, and then the agencies

         6    are executing his orders by firing everyone for the offices

         7    that he has eliminated.          He said in the executive order, the

         8    offices and functions that "my administration" eliminates.

         9                That is incredibly telling, Your Honor.               That's one of

        10    the ways in which the President is ordering agencies to ignore

        11    and defy their requirements.

        12                He also said "prioritize government-shutdown levels of

        13    staffing."      That is necessarily in direct contradiction with a

        14    fully functioning agency.           Government shutdown levels of

        15    staffing have nothing to do with proper agency functions.

        16    They're to prevent loss of life and property.                 They cannot

        17    support agency function.

        18                You cannot say to the agencies:            Start there.       Go talk

        19    to DOGE and start there as the basis.              Eliminate the offices

        20    that I tell you to eliminate and also to eliminate anything

        21    that is not mandated by statute, and I will decide what is

        22    mandated by statute.

        23                OMB and OPM, in their memorandum, assume that

        24    authority for themselves.           Maximally eliminate, engage in RIFs

        25    now.    Maximally eliminate nonstatutory functions.




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         1                Congress, when it defined the reorganization power,

         2    included nonstatutory functions in the last go-round as the

         3    thing that the President had to bring to them to talk about how

         4    to implement.

         5                This is absolutely a reorganization.              It is

         6    unconstitutional for the President to assume that authority.

         7                They tellingly do not cite anything other than the

         8    President's general supervisory role over the agency as in

         9    defense of the constitutionality of all of this.                  They didn't

        10    have a specific congressional authorization to cite because

        11    there is none.       They don't have a specific constitutional

        12    provision to cite because there is none.               It's just the general

        13    authority.

        14                So they say the agencies can do something like this,

        15    in their way, if they were to be actually doing that.                     So the

        16    President can order them to do it in any way that he wants, as

        17    he has here.

        18                It is -- it is -- it is an ouroboros.              I believe,

        19    the --

        20                THE COURT:      What?

        21                MS. LEONARD:      An ouroborus; the snake eating its tail,

        22    Your Honor.

        23                A similar argument was made in the Ninth Circuit

        24    decision that counsel did not discuss, The City and County of

        25    San Francisco -- I believe the Ninth Circuit called it "an




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         1    intellectual cul-de-sac" -- one of my favorite lines.

         2                Notably, in counsel's argument, I was keeping track.

         3    I don't believe that counsel cited a single Ninth Circuit case

         4    to Your Honor, discussing a lot of out-of-circuit precedent on

         5    all of this -- all of these issue and jurisdictional roadblocks

         6    that they are trying to throw up, but notably avoiding the

         7    directly on-point many, many cases out of the Ninth Circuit in

         8    which courts have enjoined executive orders as ultra vires and

         9    the implementation of those orders as affecting -- as ultra

        10    vires pursuant to the equitable power of the court and as well

        11    as using the APA to enjoin the implementation of

        12    unconstitutional executive orders and other otherwise arbitrary

        13    and capricious agency acts.

        14                I'm just going to tick a few of the arguments that --

        15    that counsel made.

        16                Your Honor was spot on in saying that they are trying

        17    to have it both ways by saying that plaintiffs are both too

        18    late and too early to file this lawsuit.               I just want to

        19    briefly say there has been no delay.              The attempt by defendants

        20    to hide the ball with respect to how the executive order is

        21    being implemented by not making it public is central to what's

        22    going on here.       They're trying to insulate from judicial review

        23    what is a pretty profoundly unlawful set of instructions by

        24    saying -- by not making them public how they're being

        25    implemented and then saying but plaintiffs should either have




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         1    challenged the executive order from the outset -- to which they

         2    would have responded that plaintiffs have no standing because

         3    there's no injury, actual or concrete -- sorry -- actual or

         4    imminent, concrete and particularized.              We all understand what

         5    that means.

         6                They did make those arguments in response to early

         7    cases challenging executive orders.              And so we have come here

         8    to the Court as they have begun to implement what we believe

         9    are approved or being approved, whether they formally approve

        10    them or not, OMB and OPM have the decision-making authority

        11    here.

        12                And then the agencies are RIF'ing people now.                 They're

        13    reorganizing now.        They're eliminating offices now to great

        14    effect all over the country.           We saw what happened with HHS.

        15    We saw what happened when they implemented with respect to HHS.

        16    Decimating the CDC.         Decimating, incredibly, NIOSH.           Decimating

        17    office after office.

        18                This is being replicated at every federal agency.

        19    That is the extent of -- the President's order reaches that

        20    far.    And so Your Honor's relief should reach that far as well.

        21                THE COURT:      I understood from the declarations that

        22    were submitted in support of the motion -- and tell me if I'm

        23    wrong -- the earliest RIF termination date is May 18, 2025, at

        24    which point some HUD employees will be terminated.

        25                I got that from the Bobbitt AFGE declaration.                 Is that




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         1    correct?

         2                MS. LEONARD:      That sounds right, Your Honor.              There

         3    are a number of actual RIFs that have happened at a number of

         4    different agencies, so I don't want to say I know for certain.

         5    I believe the earliest --

         6                There are two thing there are going on.               For some of

         7    the RIF notices, they are putting people on administrative

         8    leave immediately, so shutting down services immediately,

         9    ending -- closing offices immediately, and they're doing that

        10    by way of OPM's authorization and OMB's authorization.                    So the

        11    services are actually not waiting for the RIF dates to come to

        12    pass, but people are being paid still.              The employees are being

        13    paid.

        14                Then I believe that the RIF date -- the earliest time

        15    frames for some of these are in May.              I think that is -- that

        16    is correct.

        17                THE COURT:      That's like next week is what it is.

        18                MS. LEONARD:      I can't believe we're here already, but

        19    that is correct.

        20                And there are a whole lot of them in June as well.                    I

        21    know that to be true.

        22                And we keep hearing daily of the imminence -- you

        23    know, at the Department of the Interior, EPA -- the imminence

        24    of -- there are RIF's being announced every day.

        25                To briefly touch on some of the jurisdictional




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         1    roadblocks, counsel, in discussing channeling, didn't talk

         2    about the Ninth Circuit and the stay of the probationary case

         3    at all.     And I think -- you know, we've got two different sets

         4    of plaintiffs and their relationship to these channeling

         5    arguments.

         6                With respect to the -- I'll call them nonfederal

         7    sector plaintiffs, I think the Ninth Circuit was quite clear

         8    that the governing law doesn't support the idea that those

         9    plaintiffs should be foreclosed from being able to use the

        10    command of judicial review in the APA or bringing any other

        11    type of claim.

        12                That argument is really out there and is incorrect and

        13    is certainly not what Congress intended.

        14                There's no attempt by the Government to reconcile two

        15    pretty important things:          One, the statute and what CSRA means

        16    when it sets up those administrative agencies, and the APA and

        17    what it means for these types of claims, as well as for claims

        18    against these type of defendants.

        19                That is also true of the union, the federal sector

        20    union defendants.

        21                Of course, there are unions in this case who also

        22    represent nonfederal sector employees, who stand very similarly

        23    as the others receiving services.

        24                THE COURT:      Do you know whether the Merit Systems

        25    Protection Board and the Federal Labor Relations Authority




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         1    currently have quorums to operate?

         2                MS. LEONARD:      I do.    That is a question about the

         3    status of the stays with respect to the President's attempt to

         4    remove members of -- of those boards.

         5                And I believe -- but I will have to confirm -- that

         6    they've gone back and forth a few times.

         7                And that is the --

         8                THE COURT:      Do you know?

         9                MR. HAMILTON:       I do not, Your Honor.

        10                THE COURT:      Okay.    You don't know if there's a reply

        11    to the Senate's request to make -- give them copies of the

        12    ARRPs?     You don't know --

        13                MR. HAMILTON:       Correct.

        14                THE COURT:      -- either way?

        15                Okay.    And you don't know if either of these boards

        16    has a quorum so as to be able to function?

        17                MR. HAMILTON:       Your Honor, we could attempt to

        18    provide, you know, perhaps information supplementally in a

        19    brief, yeah.

        20                THE COURT:      Thank you.

        21                MS. LEONARD:      I think we are going to get the answer

        22    for you in a minute.

        23                THE COURT:      Because that's another reason that it

        24    would be inefficient.

        25                MS. LEONARD:      It -- the channel being destroyed




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         1    argument is something that I think is quite important here,

         2    that the administration has attempted to destroy the very

         3    channels that it then tries to shuttle all of these plaintiffs'

         4    claims to.

         5                I don't think it's the only reason at all.

         6                Thank you.

         7                FSLRA has a quorum and MSPB has one member is the

         8    answer, Your Honor.

         9                And those decisions to remove obviously have been

        10    challenged and are yet another example of, in our view, this

        11    administration's overreach with respect to the Constitution;

        12    but that's a separate set of issues for another day.

        13                But -- but I think that there is a reckoning that is

        14    going to happen at some point in the courts, and the tide is

        15    shifting on these channeling arguments.

        16                It is not field preemption, Your Honor.               It depends on

        17    the claim.      It depends on the defendants.           And it -- there

        18    is -- there is very good argument that these types of

        19    government-wide actions by the President, by OMB, by OPM, as

        20    Judge Alsup held -- simply, Congress never intended for those

        21    to be heard by those agencies.

        22                And then the reckoning is the direct conflict with the

        23    law under the APA, and what the Supreme Court has been very

        24    clearly saying about narrowly, narrowly, narrowly construing

        25    the exceptions to judicial review under that statute, including




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         1    the Hawkes case, which directly addresses the issue of an

         2    administrative scheme for review and says it's not meaningful.

         3    It's not meaningful if you have to wait until the end.

         4                There will be a reckoning between these lines of

         5    cases.     There is very good reasons to think that the Congress

         6    that enacted these statutes did not ever intend to remove

         7    judicial review under the APA, including the fact that the APA

         8    is mentioned in these statutes three times.

         9                So unless the Court has any further questions about

        10    channeling, I'm happy to move on.

        11                I think one of the issues I really wanted to be sure

        12    to address is the savings clause argument, because I think

        13    there is great emphasis and weight put on that, and I think

        14    that the City and County -- City and County of San Francisco

        15    case from the Ninth Circuit that I mentioned, with the

        16    cul-de-sac comment, that really addresses this.

        17                You look at the specific requirements of an executive

        18    order and you interpret that as you would any other enactment,

        19    and does -- do the specific requirements of the executive order

        20    tell the agencies to do something that's inconsistent with this

        21    catch-all papering-over:          Just go comply with the law.

        22                And that is absolutely what's going on here, both with

        23    respect to the executive order and the OMB/OPM memorandum.                 You

        24    cannot say on the one hand:           Cut now.     Cut the amount that we

        25    are telling you to cut.          Cut your agency in half.          Eliminate




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         1    the offices that I tell you to eliminate.               But just go comply

         2    with the law.

         3                They cannot say:        Eliminate to the maximum degree

         4    possible anything that is not mandated by statute, and we get

         5    to say what is mandated by statute.              But just go comply with

         6    the law.

         7                They cannot say effectively:           Abuse your discretion,

         8    and in a rushed time frame, act in a completely arbitrary and

         9    capricious manner to eliminate things that yesterday the agency

        10    believed were necessary, were fully operational, were providing

        11    really important government services, and comply with the law.

        12                The APA's arbitrary and capricious requirement for

        13    agencies applies even when they are acting in accordance with

        14    the President's direction in an executive order.

        15                The Ninth Circuit has said that repeatedly.                   The Su

        16    case and other cases, the Ninth Circuit has said that

        17    repeatedly.

        18                They still cannot act in a way that is arbitrary and

        19    capricious.      And if the President is piggybacking here,

        20    piggybacking on agency authority to have his own authority

        21    under the Constitution to do any of this, he is saying:                     I'm

        22    only telling them to do what they otherwise can do.

        23                Part of what they have to do is comply with the APA.

        24    It is not within the President's authority at all to order

        25    agencies to violate the Administrative Procedure Act.




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         1                And telling them, "Comply with the law when you follow

         2    my orders," is not sufficient.            The Court does not need to

         3    relieve itself of common sense when it is interpreting these

         4    executive orders.        And that's exactly what the Ninth Circuit

         5    has said time and again in the cases that opposing counsel has

         6    not addressed.

         7                The savings clause argument simply cannot be squared

         8    with an executive order that says Trump -- President Trump and

         9    OMB and no one else gets to say what the law is.

        10                That is legislating, Your Honor, and that is what the

        11    President cannot do.

        12                There was a lot that was covered, and I want to make

        13    sure I cover them all.

        14                The APA.     These are final agency action.            The OMB

        15    memoranda gives orders to -- to the -- all of the agencies of

        16    the Federal Government in a very clear way.                It sets forth

        17    standards that they must comply with and timelines and time

        18    frames.     This is classic final agency action in the decisions

        19    that went into making that memorandum.

        20                And then the approvals, whether they're happening

        21    formally or not, OMB and OPM are approving the plans, the ARRPs

        22    that the agencies are implementing, and those approvals are

        23    final decisions as well.

        24                And it matters not, as we addressed in our briefs,

        25    that the effectuation of those decisions happens through




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         1    government actors that then touch on the plaintiffs.                      That's

         2    absolutely -- that doesn't defeat final agency action that is

         3    reviewable for the APA.

         4                So the OMB and OPM action here, which is what the

         5    injunction of the TRO is aimed at, along with the implementing

         6    agencies -- absolutely final agency action.

         7                And then the final -- the agencies themselves are also

         8    now taking action to effectuate those instructions, and that

         9    should be enjoined, whether it's by way of -- because they're

        10    Rule 19 defendants effectuating the unlawful OMB and OPM

        11    actions or stand-alone, arbitrary and capricious claims against

        12    them for their further unlawful actions -- we address both of

        13    those in our briefs -- the Court has absolutely the authority

        14    to do it under the APA as well as top-down, all the way ultra

        15    vires within the equitable power of the Court.

        16                THE COURT:      What about the publication of the ARRPs?

        17                MS. LEONARD:      So counsel's argument that the only way

        18    to do that is through FOIA is wrong.              This Court absolutely has

        19    the authority to order the defendants to turn those over to the

        20    plaintiffs and the Court and -- so that the Court can review

        21    and understand the facts of what is happening related to this

        22    challenge, both under the ultra vires and the APA in the

        23    preliminary injunction context.

        24                So that the Court can understand the facts and assess

        25    a preliminary injunction in that context, we would




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         1    absolutely ask the Court for expedited immediate discovery to

         2    allow us to have those documents.

         3                And that discovery order is a separate -- as we have

         4    asked for, can be separate and apart from the stay that is

         5    issued as part of any temporary restraining order.

         6                THE COURT:      Okay.

         7                MS. LEONARD:      I think that's an answer to Your Honor's

         8    question.      The Court absolutely has the authority to issue

         9    that.

        10                There's another thing that's been happening which I

        11    also wanted to raise because it came in the reply documents.

        12                In the attachment to the Gamble Declaration, we also

        13    give the Court two documents that are quite significant.

        14    They're dated April 14th and April 16th, and it's the

        15    Department of Labor's request to OPM to waive the RIF statutory

        16    notice requirement -- to cut it down.

        17                There are two different interrelated notice

        18    requirements:       One is 90 days and one is 60 days, and they are

        19    cutting those down.

        20                And OPM granted it like that, and the only basis for

        21    the request to shorten the RIF notice time to employees was the

        22    argument that the office has been eliminated by the President

        23    in an executive order.          So the statutory and regulatory basis

        24    for the office is gone, and now you're RIF'd, and now we

        25    shorten the time, and now we put everyone on administrative




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         1    leave.

         2                That is what they are doing, Your Honor.

         3                And so to the extent that OPM is -- I know this is not

         4    in our papers, but to the extent that OPM is receiving and

         5    granting waivers, we would ask that they be required to turn

         6    those documents over as well.

         7                The Court should decide this case on the facts, not on

         8    the Government's contentions, which are divorced from an actual

         9    record.

        10                And it's notable here, as I'm sure Your Honor is

        11    aware, that they have not put in a single piece of evidence in

        12    response to this request.

        13                So with respect to the very end of that exchange with

        14    counsel when they asked for a stay pending appeal, as we all

        15    know, TROs are not appealable, and the stay is particularly

        16    inappropriate where they've made no showing at all and they

        17    have not even made an attempt to show the factors that they

        18    would need to show of harm to the government.

        19                There will be no harm to the government of maintaining

        20    the status quo, Your Honor, of keeping in place the important

        21    functions, offices, programs, and people who do the work in

        22    this government that we all rely on.              Keeping them in place and

        23    maintaining the status quo for now is not going to harm our

        24    Federal Government.         I want to make that very, very clear.

        25                So I think the final question to address with




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         1    Your Honor, unless Your Honor has any questions about all the

         2    legal arguments or other roadblocks, is the scope of relief.

         3                And if there are questions with respect to -- I'm

         4    sorry.     I'm just looking at my notes with respect to opposing

         5    counsel's arguments to make sure I'm covering everything.

         6                If there are questions with respect to standing and

         7    harm in particular, we've obviously given the Court a mountain

         8    of evidence.       My colleague, Stacey Leyton, is ready to answer

         9    any of those.       But we will happily follow Your Honor's lead

        10    with respect to whether you have any questions with respect to

        11    that.

        12                But scope of relief and what does it take to maintain

        13    the status quo here, Your Honor.

        14                So I think the lay of the land as we know it,

        15    notwithstanding the defendants' refusal to inform this Court as

        16    to what is actually happening with respect to approvals, we

        17    certainly are asking the Court to maintain the status quo by

        18    saying:

        19                Stop implementation of this executive order.

        20                Stop OMB/OPM approval of ARRPs.

        21                Stop, I would add, granting of waivers with respect to

        22    the RIF timeline.

        23                Stop agencies issuing RIFs under the ARRPs.

        24                And stop any enforcement of those RIFs.

        25                Stop any reorganization and elimination of offices as




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         1    part of the reorganization.

         2                It's hard not knowing exactly what's in the ARRP, but

         3    I think an order to stop the implementation of them is

         4    perfectly appropriate.

         5                And we have brought to Your Honor not a request, not a

         6    request to enjoin the entire Federal Government from doing

         7    this, although I think we could have.              I think we could have.

         8    This executive order is that unlawful.

         9                We have brought to Your Honor the agencies for which

        10    we had the concrete and real, the best information we possibly

        11    could find, about actual or imminent action to implement.

        12    There are more agencies that are taking action.                 They just

        13    eviscerated the Peace Corps.           There are actions that are

        14    happening every day.

        15                We expect as we go forward into the preliminary

        16    injunction context to raise additional questions.

        17                But what is -- what is before Your Honor -- before

        18    the Court are the federal agency defendants that we have

        19    identified as taking actual or imminent action now, and we ask

        20    that Your Honor enjoin them for further -- from further

        21    implementation.

        22                Counsel said any TRO should allow the agencies to

        23    exercise their statutory powers.             In a normal context, we take

        24    no issue with that.         However, just as with the spending freeze

        25    case, New York v. Trump out of the First Circuit, it would be




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         1    entirely inappropriate for this Court to enjoin the

         2    implementation of the ARRP that they haven't made public, and

         3    for the agencies to turn around and just say "But now we're

         4    doing it on our own."

         5                If the agencies had moved forward in the spending

         6    freeze case the next day, by just freezing all of the spending

         7    after that was enjoined, I think the Court would have had some

         8    serious questions as to the truth of the assertion that that

         9    was happening according to agency discretion.

        10                So I think defendants are going to have do a bit more

        11    to demonstrate -- or should have to do a bit more to

        12    demonstrate to the Court that actually agencies are somehow

        13    exercising discretion and reasoned decision-making and all the

        14    things that -- we have declarations in the record, Your Honor,

        15    from former agency officials that talk about what it takes to

        16    engage in a proper RIF.

        17                THE COURT:      Right.    And aren't there rules and

        18    regulations about what needs to be done?

        19                MS. LEONARD:      They are incredibly lengthy and

        20    complicated, Your Honor.

        21                THE COURT:      And I think that is probably why the

        22    executive order said what it said, because there's some

        23    impatience with how slow that process can be.

        24                But if the statutes provide for that process, then the

        25    process needs to be followed, it would seem to me.




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         1                MS. LEONARD:      I take no issue with that -- with that

         2    at all.

         3                But all I'm saying is that I -- there's a presumption

         4    of regularity that used to exist with respect to the

         5    Government's actions that I think they need to reearn, Your

         6    Honor, given what has happened here.

         7                If I may, if I could take a moment to check with my

         8    team and just make sure that I've covered everything.

         9                THE COURT:      And I want to ask all of you about what

        10    date we should set for the next hearing.

        11                        (Plaintiffs' counsel conferring.)

        12                MS. LEONARD:      I'm getting nods, so they think I've

        13    talked enough, that I've covered it all, Your Honor.

        14                THE COURT:      Come on up, then.       Why don't we talk about

        15    next steps.

        16                Assume for a moment that I do grant the TRO.                  It could

        17    only -- it would be in effect, then, for 14 days; right?

        18                MR. HAMILTON:       That is correct, for a temporary

        19    restraining order.

        20                But, Your Honor, we'd ask that if the Court does enter

        21    an emergency injunctive order that it would convert it to a

        22    preliminary injunction.

        23                THE COURT:      That request is denied.

        24                MR. HAMILTON:       Okay.    In that event, any hearing

        25    should -- you know, I think we should have an opportunity to




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         1    submit briefs on the good cause that would be needed for the

         2    Court to extend beyond 14 days.            And after that point, if a

         3    hearing is --

         4                THE COURT:      We can just set a hearing within 14 days

         5    if you want.

         6                MS. LEONARD:      I think that our preference would be --

         7    I mean, I think we're ready to move very quickly to a

         8    preliminary injunction hearing, and I think that what we would

         9    propose is that we have some very -- the plaintiffs would file

        10    a supplemental brief with any additional things that have

        11    transpired to inform the Court of the current status of -- of

        12    what we understand is happening in the world.

        13                In very short order, maybe two days after any --

        14    assuming -- trying not to be presumptuous, but assuming Your

        15    Honor is going to write a written opinion, if Your Honor is

        16    issuing the opinion, we would be prepared to file something

        17    very quickly supplementing our existing legal briefing, which

        18    is, as Your Honor knows, quite extensive.

        19                Then defendants could have the -- converting our

        20    existing TRO, plus that supplement into the motion for a PI,

        21    and then defendants could have some -- some amount of time

        22    before the hearing, but we'd be ready to go.

        23                THE COURT:      Right.    And I'm not sure I understood what

        24    you were getting at when you were talking about extending the

        25    14 days.




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         1                MR. HAMILTON:       Oh, a temporary restraining order under

         2    Rule 65, by default, expires after 14 days.

         3                THE COURT:      Right.

         4                MR. HAMILTON:       There is, I believe, a good cause --

         5                THE COURT:      To extend it?

         6                MR. HAMILTON:       -- to extend.

         7                THE COURT:      If you guys want to extend it because of

         8    the need for briefing, that's -- that's your choice.                      But I'm

         9    saying I can do it within the 14 days if I have to.

        10                MR. HAMILTON:       No, Your Honor.       We would oppose

        11    extending any temporary restraining order --

        12                THE COURT:      Okay.

        13                MR. HAMILTON:       -- but instead would suggest that

        14    motion be converted to a preliminary injunction.                  We don't

        15    think there's any need for additional briefing.                 Plaintiffs

        16    have submitted 51 pages.          We've submitted 50 pages.          And we

        17    think a preliminary injunction should be entered if the Court

        18    is inclined to enter any sort of emergency relief.

        19                THE COURT:      Okay.    Well, you can say that in 14 days

        20    for sure.

        21                MR. HAMILTON:       Could I address a couple other

        22    housekeeping matters?

        23                THE COURT:      Sure.

        24                MR. HAMILTON:       One is if the Court does enter an

        25    order, I noted earlier our request for a stay pending any




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         1    appeal authorized by the Solicitor General.                We'd ask that any

         2    order issued by the Court would note our request for a stay

         3    pending appeal and rule on that request in the order's text.

         4                Finally, earlier in the hearing, you know, we

         5    discussed possible supplemental submission.                I understand

         6    plaintiffs made a representation on the quorum at two entities,

         7    so we won't plan to provide anything further on that.

         8                THE COURT:      You're not going to give me any

         9    information on that?

        10                MR. HAMILTON:       I believe plaintiffs -- plaintiffs

        11    provided information about --

        12                THE COURT:      They said one of them has one person --

        13    which is probably not a quorum -- and one of them has a quorum.

        14                MR. HAMILTON:       We don't think those issues are

        15    relevant --

        16                THE COURT:      Doesn't matter, because the alternative

        17    forum that you say we should send this case to rather than this

        18    Court is no forum at all if it doesn't have a quorum.

        19                MR. HAMILTON:       Well, Congress could have structured

        20    the statute in a way that altered the, you know, litigation if

        21    there were issues with the quorum at any particular --

        22                THE COURT:      So that's Congress' fault?

        23                MR. HAMILTON:       I beg your pardon?

        24                THE COURT:      That's Congress' fault?

        25                MR. HAMILTON:       Congress could have structured the




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         1    statute differently.         Our argument flows from the Civil Service

         2    Reform Act and the FLSMRS as Congress wrote it.

         3                THE COURT:      All right.     And what about -- you will get

         4    back to me, though, on whether there's been a response to the

         5    Senate request?

         6                MR. HAMILTON:       Well, we don't think it's appropriate

         7    for commentary on interbranch discussions between Congress and

         8    the executive branch.         And we also don't think that any of the

         9    claims turn on that issue.

        10                THE COURT:      So you don't want to tell me, is what

        11    you're saying?

        12                MR. HAMILTON:       We don't think it's relevant to the

        13    litigation, respectfully, Your Honor.

        14                THE COURT:      Okay.

        15                MR. HAMILTON:       Thank you.

        16                THE COURT:      All right.

        17                MS. LEONARD:      One point I just wanted to note, that in

        18    our proposed temporary restraining order, we did ask that

        19    the Court order defendants to verify and file within

        20    two days --

        21                THE COURT:      I know.

        22                MS. LEONARD:      Okay.    And I want to raise this point

        23    because of what counsel is saying here about not wanting any

        24    further briefing, wanting the Court to put in its ruling that

        25    the stay has been denied.




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         1                They are quite clearly intending do take this TRO up

         2    on appeal when it is not an appealable order.                 And

         3    foreshadowing what is coming next, they need to move forward

         4    with respect to Your Honor's order if you do, in fact, enter

         5    this TRO, by informing all of the agencies that they represent

         6    and that the agencies are actually taking action to stop the

         7    implementation of this executive order unless and until some

         8    other court tells them not to.

         9                THE COURT:      Okay.

        10                So back to my housekeeping, which is -- I know that

        11    the statute provides this 14-day limit absent other -- other

        12    consents.

        13                Okay.    My ace courtroom deputy is giving me

        14    information that I don't quite get.

        15                Tell me what you're saying.

        16                THE CLERK:      14 days if it were to be entered today

        17    would be May 23rd.        May 26th is a holiday, so I was suggesting

        18    the 27th or the 29th, a Tuesday or Thursday.

        19                THE COURT:      No, it only goes till the 23rd.               It has to

        20    be before.

        21                THE CLERK:      Okay.    20th we have a pretrial.

        22                THE COURT:      Hang on.     Let's see.     Today is the 9th.

        23    What about the 22nd?

        24                THE CLERK:      22nd is available.

        25                THE COURT:      How about we set a further hearing for




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         1    May 22nd?

         2                MR. HAMILTON:       Sorry.    May 22nd?

         3                THE COURT:      That would be a Thursday.          We could do it

         4    at 10:30.

         5                MS. LEONARD:      That works for plaintiffs, Your Honor.

         6                MR. BERNIE:      For a hearing, Your Honor?

         7                THE COURT:      Yes.

         8                MR. HAMILTON:       That's fine, Your Honor.

         9                THE COURT:      So set a further hearing for 10:30 on

        10    Thursday, May 22nd.

        11                If the plaintiffs want to file anything further, they

        12    should do so by the 14th of May at 4 -- by 4:00.                  And if the

        13    Government wants to file anything further, it should do so by

        14    the 19th of May by 4:00.           Then we'll have the hearing on

        15    May 22nd at 10:30.        Okay?

        16                MS. LEONARD:      Thank you, Your Honor.

        17                THE COURT:      Thank you.     And the matter will be

        18    submitted, but you'll hear from me today.               Thank you.

        19                THE CLERK:      That concludes our hearings for today.

        20                     (Proceedings adjourned at 11:50 a.m.)

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         1

         2                              CERTIFICATE OF REPORTER

         3                I certify that the foregoing is a correct transcript

         4    from the record of proceedings in the above-entitled matter.

         5

         6    DATE:      Friday, May 9, 2025

         7

         8

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        10
                    _______________________________________________________
        11           Ruth Levine Ekhaus, RMR, RDR, FCRR, CCG, CSR No. 12219
                             Official Reporter, U.S. District Court
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                                       4                                   UNITED STATES DISTRICT COURT

                                       5                                  NORTHERN DISTRICT OF CALIFORNIA

                                       6

                                       7     AMERICAN FEDERATION OF                             Case No. 25-cv-03698-SI
                                             GOVERNMENT EMPLOYEES, AFL-CIO,
                                       8     et al.,
                                                                                                ORDER GRANTING TEMPORARY
                                       9                    Plaintiffs,                         RESTRAINING ORDER AND
                                                                                                COMPELLING CERTAIN
                                      10             v.                                         DISCOVERY PRODUCTION
                                      11     DONALD J. TRUMP, et al.,                           Re: Dkt. No. 37
                                      12                    Defendants.
    Northern District of California
     United States District Court




                                      13

                                      14          The new presidential administration has made clear that it intends to change the way the

                                      15   federal government operates.       An Executive Order issued on February 11, 2025 seeks to

                                      16   “commence[] a critical transformation of the Federal bureaucracy” by “eliminating waste, bloat, and

                                      17   insularity[.]” Exec. Order No. 14210, 90 Fed. Reg. 9,669 (Feb. 11, 2025). It is the prerogative of

                                      18   presidents to pursue new policy priorities and to imprint their stamp on the federal government. But

                                      19   to make large-scale overhauls of federal agencies, any president must enlist the help of his co-equal

                                      20   branch and partner, the Congress.       Federal courts should not micromanage the vast federal

                                      21   workforce, but courts must sometimes act to preserve the proper checks and balances between the

                                      22   three branches of government. As a group of conservative former government officials and advisors

                                      23   have written to the Court, “Unchecked presidential power is not what the Framers had in mind.”

                                      24   Dkt. No. 69-1 at 1.

                                      25          The plaintiffs in this case—a collection of unions, non-profit organizations, and local

                                      26   governments—contend that the executive branch cannot lawfully implement large-scale reductions

                                      27   in the federal workforce without the participation of Congress. They bring this suit against President

                                      28   Trump, numerous federal agencies, and their respective agency heads. Specifically, plaintiffs

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                                       1   contest several layers of actions within the executive branch. First, they argue President Trump

                                       2   exceeded his authority when issuing Executive Order 14210, which directs agency heads “to initiate

                                       3   large-scale reductions in force (RIFs),” focusing on “all agency initiatives, components, or

                                       4   operations that my Administration suspends or closes.” See Exec. Order No. 14210 § 3(c). Second,

                                       5   they argue that a subsequent memo from the Office of Management and Budget and the Office of

                                       6   Personnel Management implementing the executive order exceeded those agencies’ authority and

                                       7   violated the Administrative Procedure Act (APA). And third, they argue that the “Agency RIF and

                                       8   Reorganization Plans” submitted by various agencies across the government likewise violate the

                                       9   Administrative Procedure Act. With layoffs pending across multiple federal agencies, plaintiffs

                                      10   seek a temporary restraining order to pause any reductions in force and preserve the status quo as

                                      11   this lawsuit moves forward.

                                      12          The Court GRANTS a temporary restraining order as described below. 1 The Court finds
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                                      13   that plaintiffs are likely to succeed on the merits of at least some of their claims. The irreparable

                                      14   harm that plaintiffs will suffer in the absence of injunctive relief outweighs any burden placed on

                                      15   the government by this two-week pause. In the context of a dynamic situation, the Court’s

                                      16   temporary order seeks to preserve the status quo and protect the power of the legislative branch.

                                      17          Plaintiffs have submitted sixty-two sworn declarations to the Court, constituting more than

                                      18   1,000 pages of evidentiary material. Before proceeding through technical legal arguments, the Court

                                      19   finds it appropriate to highlight several of these declarations to illustrate what is at stake in this

                                      20   lawsuit and some of the ways in which executive and legislative powers intersect.

                                      21          The National Institute for Occupational Safety and Health (NIOSH) is part of the Centers

                                      22   for Disease Control in the Department of Health and Human Services. Dkt. No. 41-1 (“Decl.

                                      23   Niemeier-Walsh AFGE”) ¶ 5. There are (or were) 222 NIOSH employees in the agency’s Pittsburgh

                                      24   office that research health hazards faced by mineworkers. Id. ¶ 28. According to the union that

                                      25   represents many of these employees, the department’s reduction-in-force will terminate 221 of 222

                                      26
                                      27
                                                  1
                                                   At the hearing, the Court denied defendants’ request to convert plaintiffs’ motion for a
                                      28   temporary restraining order into a motion for a preliminary injunction.

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                                       1   of these positions. Id. Congress established NIOSH in the Occupational Safety and Health Act of

                                       2   1970. Pub. L. 91-596 § 22, 84 Stat. 1590, 1612 (1970).

                                       3          The Department of Labor houses the Office of Federal Contract Compliance Programs,

                                       4   which ensures that federal contractors do not discriminate on the basis of race, color, religion, sex,

                                       5   national origin, veteran status, or disability. Dkt. No. 37-24 (“Decl. Levin AFGE”) ¶ 7. In late

                                       6   January of this year, department leadership directed the employees in this office to stop their

                                       7   enforcement efforts. Id. ¶ 9. On April 16, 2025, after giving employees an opportunity to accept a

                                       8   deferred resignation, the department placed remaining employees in the office on administrative

                                       9   leave, effective almost immediately. Id. ¶ 14. On May 6, 2025, employee union representatives

                                      10   were informed that a RIF had been approved and that all positions in the Washington, D.C.

                                      11   Enforcement Division of the office were being abolished. Dkt. No. 70-2 (“Decl. Gamble AFGE

                                      12   ISO Reply”) ¶ 4, Ex. A. Congress has directed by statute that the Department of Labor “shall
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                                      13   promptly investigate” complaints of discrimination against disabled workers or veterans by federal

                                      14   contractors. 29 U.S.C. § 793(b); 38 U.S.C. § 4212.

                                      15          The federal Office of Head Start resides in the Department of Health and Human Services.

                                      16   Plaintiff Santa Clara County, California runs a childcare and early learning program for 1,200

                                      17   infants and preschoolers with funding from federal Head Start, but that funding expires June 30,

                                      18   2025. Dkt. No. 37-26 (“Decl. Neuman SEIU”) ¶ 21. County staff worked with Office of Head Start

                                      19   employees to apply for a grant renewal, but those federal employees have now all been laid off and

                                      20   their San Francisco office closed. Id. Facing uncertainty about whether its grant will be approved

                                      21   before funding expires, the county has notified more than one hundred early learning program

                                      22   workers that they might lose their jobs on July 1, 2025. Id. Congress reauthorized the national Head

                                      23   Start program and provided details for its administration through the Improving Head Start for

                                      24   School Readiness Act of 2007. Pub. L. 110-134, 121 Stat. 1363 (2007).

                                      25          The Farm Service Agency in the U.S. Department of Agriculture provides specialized, low-

                                      26   interest loans to small farmers not available from the private sector. Dkt. No. 37-37 (“Decl. Davis

                                      27   NOFA”) ¶¶ 20-21. After unprecedented flooding in 2024, one Vermont farmer asked the Farm

                                      28   Service Agency for disaster assistance to plant a new crop, but the agency first had to inspect the

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                                       1   fields. Id. ¶ 28. Due to low staffing levels, the farmer had to wait three to four weeks for an

                                       2   inspection and consequently missed the planting window that season. Id. The department now

                                       3   reportedly intends to further reduce staff at the agency. Id. ¶ 18. Other farmers have reported their

                                       4   contacts at the department have been laid off and the remaining staff are not familiar with their farms

                                       5   or their projects. Id. ¶¶ 40-41. Congress granted the Secretary of Agriculture the authority to

                                       6   establish the Farm Service Agency in 1994. Pub. L. 103-354 § 226, 108 Stat. 3178, 3214 (1994)

                                       7   (codified at 7 U.S.C. § 6932).

                                       8           The Social Security Administration seeks to reduce its workforce by 7,000 employees. Dkt.

                                       9   No. 37-11 (“Decl. Couture AFGE”) ¶ 9, Ex. C. Since staff reductions began, retirees have reported

                                      10   long wait times to reach an agency representative on the phone, problems with the agency’s website,

                                      11   and difficulty making in-person appointments. Dkt. No. 37-39 (“Decl. Fiesta ARA”) ¶ 7. One

                                      12   individual got through to a representative only after eleven attempts to call, each involving hours on
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                                      13   hold. Dkt. No. 41-2 (“Decl. Nelson AFSCME”) ¶ 12. Congress first established the Social Security

                                      14   Administration in the Social Security Act of 1935, known at that time as the Social Security Board.

                                      15   Pub. L. 74-271, § 701 et seq., 49 Stat. 620, 635 (1935) (now codified at 42 U.S.C. § 901 et seq.).

                                      16           These examples illustrate there are various ways in which Congress is lawfully involved in

                                      17   the activity of administrative agencies. With this basic point in mind, the Court now turns to the

                                      18   facts of this case.

                                      19

                                      20                                            BACKGROUND

                                      21   I.      Executive Order 14210 and the Challenged Memorandum

                                      22           On February 11, 2025, President Trump issued Executive Order 14210, “Implementing the

                                      23   President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative.” 90 Fed.

                                      24   Reg. 9,669 (Feb. 11, 2025). The order “commences a critical transformation of the Federal

                                      25   bureaucracy[.]” Id. § 1. Section 3(c) of the order states,

                                      26                   Agency Heads shall promptly undertake preparations to initiate large-
                                                           scale reductions in force (RIFs), consistent with applicable law, and
                                      27                   to separate from Federal service temporary employees and
                                                           reemployed annuitants working in areas that will likely be subject to
                                      28                   the RIFs. All offices that perform functions not mandated by statute

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                                                          or other law shall be prioritized in the RIFs, including all agency
                                       1                  diversity, equity, and inclusion initiatives; all agency initiatives,
                                                          components, or operations that my Administration suspends or closes;
                                       2                  and all components and employees performing functions not
                                                          mandated by statute or other law who are not typically designated as
                                       3                  essential during a lapse in appropriations as provided in the Agency
                                                          Contingency Plans on the Office of Management and Budget website.
                                       4                  This subsection shall not apply to functions related to public safety,
                                                          immigration enforcement, or law enforcement.
                                       5
                                           Id. § 3(c). The order also directs agencies to submit a report within thirty days to the Office of
                                       6
                                           Management and Budget that “shall discuss whether the agency or any of its subcomponents should
                                       7
                                           be eliminated or consolidated.” Id. § 3(e).
                                       8
                                                  In response to Executive Order 14210, the directors of the Office of Management and Budget
                                       9
                                           (OMB) and the Office of Personnel Management (OPM) sent a memo to heads of executive
                                      10
                                           departments and agencies on February 26, 2025. Dkt. No. 37-1, Ex. B (“OMB/OPM Memo”). The
                                      11
                                           memo states that “tax dollars are being siphoned off to fund unproductive and unnecessary programs
                                      12
    Northern District of California




                                           that benefit radical interest groups while hurting hard-working American citizens. [¶] The
     United States District Court




                                      13
                                           American people registered their verdict on the bloated, corrupt federal bureaucracy on November
                                      14
                                           5, 2024 by voting for President Trump and his promises to sweepingly reform the federal
                                      15
                                           government.”    Id. at 1.    The memo instructed agency heads to submit Agency RIF and
                                      16
                                           Reorganization Plans (ARRPs) to OMB and OPM for review and approval. Agencies were directed
                                      17
                                           to submit a “Phase 1” ARRP by March 13, 2025 that included, among other information, any
                                      18
                                           Congressional statutes that established the agency, whether parts of the agency should be eliminated,
                                      19
                                           a list of essential positions, how the agency intends to reduce positions, a “suggested plan for
                                      20
                                           congressional engagement to gather input and agreement on major restructuring efforts,” and the
                                      21
                                           agency’s timeline for implementation. Id. at 3-4. The memo directs agencies to submit “Phase 2”
                                      22
                                           ARRPs by April 14, 2025 that include, among other information, all reductions that will occur
                                      23
                                           through RIFs, proposed relocations of offices from the Washington, D.C. area to “less-costly parts
                                      24
                                           of the country,” “[a]n explanation of how the ARRPs will improve services for Americans and
                                      25
                                           advance the President’s policy priorities,” a certification that the ARRPs will improve the delivery
                                      26
                                           of direct services, and a timetable for implementation. Id. at 4-6. The memo also instructs agencies
                                      27
                                           to send monthly progress reports to OMB and OPM on May 14, June 16, and July 16, 2025. Id. at
                                      28

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                                       1   6.    The memo excludes law enforcement, border security, national security, immigration

                                       2   enforcement, public safety, military personnel, the Executive Office of the President, and the U.S.

                                       3   Postal Service. Id.

                                       4

                                       5   II.     The Agency Defendants and Their Locations within the Federal Bureaucracy

                                       6           A.     The Central Agencies: OMB, OPM, and DOGE

                                       7           In 1970, Congress transferred OMB to the president’s authority. Reorganization Plan No. 2

                                       8   of 1970, 84 Stat. 2085 (1970) (located at 5 U.S.C. Appendix, page 213). In 1982, Congress codified

                                       9   OMB’s current location in the Executive Office of the President2 at 5 U.S.C §§ 501-507. Congress

                                      10   established OPM as an “independent establishment in the executive branch” and the agency resides

                                      11   outside of the Executive Office of the President. 5 U.S.C. § 1101. In 2025, President Trump

                                      12   refashioned the U.S. Digital Service—an office that President Obama created within OMB3—into
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                                      13   the U.S. DOGE Service via Executive Order 14158. 90 Fed. Reg. 8,441 (Jan. 20, 2025). DOGE is

                                      14   known colloquially as the Department of Government Efficiency, but it derives no authority from

                                      15   statutes.

                                      16

                                      17           B.     The Other Federal Agency Defendants

                                      18           The defendants include twenty-one other federal departments or agencies that are arguably

                                      19   more public facing. For ease of reference, this order refers to these defendants collectively as the

                                      20   “federal agency defendants.” That term does not include OMB, OPM, or DOGE. Fourteen of the

                                      21   federal agency defendants are considered “executive departments” under 5 U.S.C. § 101 and have

                                      22   been established by Congressional statute.4 See, e.g., 7 U.S.C. § 2201 (USDA); 22 U.S.C. § 2651

                                      23

                                      24
                                                   2
                                                     “Established in 1939, the Executive Office of the President (EOP) consists of a
                                           group of federal agencies immediately serving the President.” Harold C. Relyea, Cong. Rsch. Serv.,
                                      25   98-606, The Executive Office of the President: An Historical Overview (2008).
                                                  3
                                                     See Clinton T. Brass and Dominick A. Fiorentino, Cong. Rsch. Serv., IN12493,
                                      26   Department of Government Efficiency (DOGE) Executive Order: Early Implementation (2025).
                                                  4
                                      27             These include the departments of Agriculture (USDA), Commerce, Defense, Energy,
                                           Health and Human Services (HHS), Homeland Security (DHS), Housing and Urban Development
                                      28   (HUD), Justice (DOJ), Interior, Labor, State, Treasury, Transportation, and Veterans Affairs (VA).
                                           The only executive department not named in this suit is the Department of Education. Plaintiffs’
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                                                                                 Add.372
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                                       1   (State); 38 U.S.C. § 301 (VA); 42 U.S.C. § 3532 (HUD).

                                       2          Six additional defendant agencies have a statutory basis elsewhere in the United States Code

                                       3   and one was created by President Nixon under reorganization authority granted by Congress, as

                                       4   follows:

                                       5          Defendant AmeriCorps, known formally as the Corporation for National and Community

                                       6   Service, received its current statutory formulation through the National and Community Service

                                       7   Trust Act of 1993. Pub. L. 103-82, title II, §§ 202-03, 107 Stat. 785, 873 (1993) (codified at 42

                                       8   U.S.C. § 12651 et seq.). AmeriCorps is a “government corporation.” 42 U.S.C. § 12651 (referring

                                       9   to 5 U.S.C. § 103).

                                      10          Defendant General Services Administration (GSA) was established by Congress in the

                                      11   Federal Property and Administrative Services Act of 1949. Pub. L. 81-152, 63 Stat. 277 (1949).

                                      12   The structure of the agency is now codified at 42 U.S.C. § 301 et seq.
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                                      13          Defendant National Labor Relations Board (NLRB) was created by the National Labor

                                      14   Relations Act of 1935. Pub. L. 74-198, ch. 372, 49 Stat. 449 (1935). The structure of the agency is

                                      15   codified at 29 U.S.C. § 153.

                                      16          Defendant National Science Foundation (NSF) was established by the National Science

                                      17   Foundation Act of 1950. Pub. L. 81-507, ch. 171, 64 Stat. 149 (1950). The structure of the agency

                                      18   is codified at 42 U.S.C. § 1861 et seq.

                                      19          Defendant Small Business Administration (SBA) was established by the Small Business Act

                                      20   of 1953 as amended in 1958. Pub. L. 85-536, 72 Stat. 384 (1958). The structure of the agency is

                                      21   now codified at 15 U.S.C. § 633 et seq.

                                      22          Defendant Social Security Administration (SSA) was first established by Congress in the

                                      23   Social Security Act of 1935, known at that time as the Social Security Board. Pub. L. 74-271, § 701

                                      24   et seq., 49 Stat. 620, 635 (1935) (now codified at 42 U.S.C. § 901 et seq.).

                                      25          Defendant Environmental Protection Agency (EPA) was created by the Reorganization Plan

                                      26
                                      27
                                           TRO motion does not implicate the departments of Defense, Justice, or Homeland Security. See
                                      28   Dkt. No. 37 at 1.

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                                       1   No. 3 of 1970 under statutory reorganization authority granted to the president by Congress at that

                                       2   time. 35 Fed. Reg. 15,623, 84 Stat. 2086 (1970) (located at 5 U.S.C. Appendix, page 216).

                                       3

                                       4   III.   Agency RIF and Reorganization Plans (ARRPs)

                                       5          Pursuant to the terms of the OMB/OPM February 26, 2025 memo, federal agencies were

                                       6   directed to submit Phase 1 ARRPs by March 13, 2025 and Phase 2 ARRPs by April 14, 2025.

                                       7   OMB/OPM Memo at 3-4. Defendants have not publicly released these plans despite requests from

                                       8   the public, employees, and members of Congress. An agency’s action steps would include the

                                       9   following: (1) submitting its ARRP to OMB and OPM; (2) receiving approval of the ARRP by OMB

                                      10   and OPM; (3) sending of RIF notices; (4) placing employees on administrative leave; and

                                      11   (5) terminating employees.

                                      12          As described in sworn declarations submitted by plaintiffs, the defendant agencies appear to
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                                      13   be at different points along this continuum of action. RIFs have started at multiple agencies,

                                      14   including HHS, HUD, Labor, State, AmeriCorps, GSA, and SBA. After sending RIF notices to

                                      15   employees, agencies have sometimes placed these employees on immediate administrative leave

                                      16   until the termination date set by the RIF, usually sixty days after the notice. See, e.g., Dkt. No. 37-

                                      17   14 (“Decl. Fabris AFGE”) ¶¶ 11-15. The earliest RIF termination date that the Court can discern

                                      18   from the declarations is May 18, 2025, at which point some HUD employees will be terminated.

                                      19   Dkt. No. 41-1 (“Decl. Bobbitt AFGE”) ¶¶ 13, 14, Exs. C, D.

                                      20          As directed by Executive Order 14210, the scale of the RIFs is large. Here are some

                                      21   examples. HHS is issuing RIF notices to 8,000-10,000 employees. Dkt. No. 37-17 (“Decl.

                                      22   Garthwaite AFGE”) ¶ 7, Ex. A. Reports indicate the Department of Energy has identified 8,500

                                      23   positions as eligible for cuts, nearly half of its workforce. Dkt. No. 37-8 (“Decl. Braden AFGE”)

                                      24   ¶ 12, Ex. A. The National Oceanic and Atmospheric Administration is reportedly preparing a RIF

                                      25   to reduce its workforce by more than half. Dkt. No. 37-40 (“Decl. Molvar WWP”) ¶ 23. Reports

                                      26   also suggest that HUD is preparing to cut half of its staff and close many field offices. Decl. Bobbitt

                                      27   AFGE ¶¶ 9, 11, Exs. A, B. Department of Labor management have said internally that they intend

                                      28   to cut the agency’s headquarters staff by 70%. Dkt. No. 37-16 (“Decl. Gamble AFGE”) ¶ 12.

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                                       1   Reports suggest the Internal Revenue Service in the Department of the Treasury plans to cut 40%

                                       2   of its staff. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶ 10. The VA is planning to cut 83,000 positions.

                                       3   Dkt. No. 37-5 (“Decl. Bailey SEIU”) ¶ 12. AmeriCorps sent an email to employees announcing a

                                       4   reorganization that will cut more than half of its workers. Dkt. No. 37-12 (“Decl. Daly AFSCME”)

                                       5   ¶ 14, Ex. A. NSF has been directed to cut about half of its 1,700 staff. Dkt. No. 37-32 (“Decl.

                                       6   Soriano AFGE”) ¶¶ 9-10, Ex. A. The SBA announced it planned to cut its workforce by more than

                                       7   40%. Dkt. No. 37-18 (“Decl. Gustafsson AFGE”) ¶ 6, Ex. A.

                                       8

                                       9   IV.      Plaintiffs

                                      10            The union plaintiffs in this case consist of the American Federation of Government

                                      11   Employees (AFGE) and four of its locals (Local 1122, Local 1236, Local 2110, and Local 3172),

                                      12   the American Federation of State County and Municipal Employees (AFSCME), and the Service
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                                      13   Employees International Union (SEIU) and one of its locals (Local 1000). Eleven membership-

                                      14   based non-profit organizations have joined the unions as co-plaintiffs: Alliance for Retired

                                      15   Americans, American Geophysical Union, American Public Health Association, Center for

                                      16   Taxpayer Rights, Coalition to Protect America’s National Parks, Common Defense Civic

                                      17   Engagement, Main Street Alliance, Natural Resources Defense Council, Northeast Organic Farming

                                      18   Association, VoteVets Action Fund, and Western Watersheds Project. Six local governments have

                                      19   also joined the suit: Santa Clara County, CA; King County, WA; Baltimore, MD; Harris County,

                                      20   TX; Chicago, IL; and San Francisco, CA.

                                      21            The plaintiffs in this action are discussed more fully in the Court’s consideration of standing

                                      22   below.

                                      23

                                      24   V.       Procedural History

                                      25            Plaintiffs filed their complaint on Monday, April 28, 2025. Dkt. No. 1. The complaint

                                      26   alleges that President Trump’s Executive Order 14210 is ultra vires and usurps Congressional

                                      27   authority, in violation of the Constitution’s separation of powers (Claim One); that OMB, OPM, and

                                      28   DOGE also acted ultra vires or beyond their authority in directing agencies to submit ARRPs and

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                                       1   engage in RIFs (Claim Two); that the February 26, 2025 memo violated the Administrative

                                       2   Procedure Act in several ways (Claims Three through Five); and that the federal agency defendants’

                                       3   ARRPs also violate the Administrative Procedure Act (Claims Six and Seven).

                                       4           On Thursday, May 1, 2025, plaintiffs filed a motion for a temporary restraining order. Dkt.

                                       5   No. 37 (“Mot.”). Per the Court’s schedule, defendants filed an opposition on Wednesday, May 7,

                                       6   2025, and plaintiffs filed a reply the following day. Dkt. Nos. 60 (“Opp’n”), 70 (“Reply”). The

                                       7   Court has received several briefs from amici curiae. Dkt. Nos. 51, 69, 71, 75. The Court heard oral

                                       8   arguments on the motion on Friday, May 9, 2025.

                                       9

                                      10                                           LEGAL STANDARD

                                      11           A party may seek a temporary restraining order (TRO) to preserve the status quo and prevent

                                      12   irreparable harm until a preliminary injunction hearing may be held. Reno Air Racing Ass’n, Inc. v.
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                                      13   McCord, 452 F.3d 1126, 1131 (9th Cir. 2006) (citing Granny Goose Foods, Inc. v. Teamsters, 415

                                      14   U.S. 423, 438-39 (1974)); Fed. R. Civ. P. 65(b). The standard for evaluating a TRO is “substantially

                                      15   identical” to the standard for evaluating injunctive relief. Babaria v. Blinken, 87 F.4th 963, 976 (9th

                                      16   Cir. 2023), cert. denied sub nom. Babaria v. Jaddou, 145 S. Ct. 160 (2024) (internal quotation marks

                                      17   and citations omitted).

                                      18           “[I]njunctive relief [is] an extraordinary remedy that may only be awarded upon a clear

                                      19   showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, 555 U.S. 7,

                                      20   22 (2008). In order to obtain a preliminary injunction, the plaintiff “must establish that he is likely

                                      21   to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

                                      22   relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.”

                                      23   Id. at 20 (citations omitted). When the nonmoving party is the government, the final two factors

                                      24   merge. Baird v. Bonta, 81 F.4th 1036, 1040 (9th Cir. 2023) (citing Nken v. Holder, 556 U.S. 418,

                                      25   435 (2009)).

                                      26           Alternatively, under the “serious questions” test, the plaintiff may demonstrate “that serious

                                      27   questions going to the merits were raised and the balance of hardships tips sharply in the plaintiff’s

                                      28   favor,” so long as the other two Winter factors are also met. All. for the Wild Rockies v. Cottrell,

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                                       1   632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal quotation marks and citation omitted). This

                                       2   formulation recognizes a sliding scale approach, where “a stronger showing of one element may

                                       3   offset a weaker showing of another.” Id. at 1131, 1134-35.

                                       4

                                       5                                             DISCUSSION

                                       6   I.     Timing

                                       7          To start, the Court addresses defendants’ argument that plaintiffs’ motion for a temporary

                                       8   restraining order should be denied because it was brought too late after the Executive Order was

                                       9   filed and the OMB/OPM Memorandum issued. Opp’n at 19-22. Defendants’ argument is not well-

                                      10   taken. The details of the ARRPs have only trickled into public view due to defendants’ ongoing

                                      11   decision not to release the plans publicly. Moreover, in a case where other plaintiffs challenged

                                      12   Executive Order 14210 shortly after it was issued, as defendants suggests plaintiffs here should have
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                                      13   done, the government’s attorneys argued that plaintiffs’ harm was too “speculative” to establish

                                      14   injury. See Nat’l Treasury Emps. Union v. Trump, No. 25-CV-420 (CRC), Dkt. No. 14 at 10-11

                                      15   (D.D.C. filed Feb. 17, 2025). Defendants cannot have it both ways. The Court finds that plaintiffs

                                      16   reasonably waited to gather what information they could about the harm they may suffer from the

                                      17   Executive Order, the OMB/OPM Memorandum, and the ARRPs.

                                      18
                                      19   II.    Standing

                                      20          Federal courts may only hear a case if plaintiffs can show they have standing to sue. Spokeo,

                                      21   Inc. v. Robins, 578 U.S. 330, 338 (2016, revised May 24, 2016). “As a general rule, in an injunctive

                                      22   case this court need not address standing of each plaintiff if it concludes that one plaintiff has

                                      23   standing.” Nat’l Ass’n of Optometrists & Opticians LensCrafters, Inc. v. Brown, 567 F.3d 521, 523

                                      24   (9th Cir. 2009).

                                      25          To establish standing to sue, plaintiffs must show an injury, trace that injury to the

                                      26   defendants’ conduct, and prove that courts can provide adequate redress for the injury. Lujan v.

                                      27   Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The injury “must be concrete, particularized, and

                                      28   actual or imminent.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation

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                                       1   marks and citation omitted). To be imminent, a threatened injury must be “certainly impending”—

                                       2   “allegations of possible future injury are not sufficient.” Id. (internal quotation marks, brackets, and

                                       3   citations omitted). Plaintiffs cannot base standing on a theory of harm that “relies on a highly

                                       4   attenuated chain of possibilities.” Id. at 410. The standing inquiry must be “rigorous” where the

                                       5   court faces claims that Congress or the executive branch has acted unconstitutionally. Id. at 408.

                                       6           Organizational plaintiffs such as trade unions or membership-based non-profit organizations

                                       7   have two paths to establishing standing. “[A]n association has standing to bring suit on behalf of

                                       8   its members when: (a) its members would otherwise have standing to sue in their own right; (b) the

                                       9   interests it seeks to protect are germane to the organization’s purpose; and (c) neither the claim

                                      10   asserted nor the relief requested requires the participation of individual members in the lawsuit.”

                                      11   Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Organizations without

                                      12   formal members may achieve associational standing if they are “the functional equivalent of a
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                                      13   membership organization.” Fund Democracy, LLC v. S.E.C., 278 F.3d 21, 25 (D.C. Cir. 2002)

                                      14   (citing Hunt, 432 U.S. at 342-45).

                                      15           Injury may come in many forms. The threat of a pending job loss constitutes a concrete

                                      16   economic injury. Am. Fed’n of Lab. v. Chertoff, 552 F. Supp. 2d 999, 1014 (N.D. Cal. 2007). The

                                      17   possible loss of federal funding is also sufficient to establish injury. Nat’l Urb. League v. Ross, 508

                                      18   F. Supp. 3d 663, 688 (N.D. Cal. 2020). A failure to provide relevant information can constitute

                                      19   injury where one might be entitled to such information. Fed. Election Comm’n v. Akins, 524 U.S.

                                      20   11, 20 (1998). While the Ninth Circuit has held an organization can meet the injury requirement by

                                      21   showing it had to divert resources to fight a problem affecting the organization, La Asociacion de

                                      22   Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010), the

                                      23   Supreme Court recently rejected organizations seeking standing “simply by expending money to

                                      24   gather information and advocate against the defendant’s action,” Food & Drug Admin. v. All. for

                                      25   Hippocratic Med., 602 U.S. 367, 394 (2024).

                                      26           With this framework in mind, the Court now turns to the question of standing as applied to

                                      27   plaintiffs in this case. Since the Court need not address the standing of each plaintiff to proceed as

                                      28   long as it finds standing for at least one plaintiff, it limits its discussion below.

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                                       1

                                       2          A.      Injury

                                       3          The numerous plaintiffs in this case can be divided into three general groups, each with its

                                       4   own set of alleged injuries.

                                       5

                                       6                  1.       Union Plaintiffs

                                       7          In the declarations filed in support of their motion for a temporary restraining order, the

                                       8   union plaintiffs assert the following categories of harm.

                                       9          First, and perhaps most obviously, they assert injury on behalf of their federal employee

                                      10   members who have received RIF notices or suffer under the looming threat of such notices. Second,

                                      11   they contend that their federal employees who are not let go will be injured by significantly increased

                                      12   workloads. Third, they assert injury to the unions themselves, in the form of “thousands of hours”
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                                      13   of diverted staff resources and the loss in dues revenue that will result from the loss of employee

                                      14   members. See, e.g., Dkt. No. 37-23 (“Decl. Kelley AFGE”) ¶¶ 12-13, 15, 20.

                                      15          The unions also assert injury on behalf of their non-federal employee members who stand to

                                      16   lose their jobs as a result of federal workforce reductions. For example, SEIU represents 6,000

                                      17   federal contract workers at facilities that may face closure in the wake of staff reductions. Dkt. No.

                                      18   37-3 (“Decl. Adler SEIU”) ¶¶ 4, 9. These workers have lost their jobs during government

                                      19   shutdowns, or in the recent contested closure of the U.S. Institute of Peace facility. Id. ¶¶ 5, 7.

                                      20   Similarly, if staff reductions lead to the delay in processing of Medicare enrollment or other federal

                                      21   fund sources like grant payments, union members that work in sectors that depend on these revenue

                                      22   streams face layoffs. As just two provided examples, AFSCME members work in local housing

                                      23   authorities and local transit agencies that rely on a steady stream of federal funding. Dkt. No. 41-5

                                      24   (“Decl. O’Brien AFSCME”) ¶¶ 39-40, 45-46.

                                      25          In response, defendants first argue that the unions do not show that a specific federal

                                      26   employee has been harmed or will imminently be harmed. Opp’n at 32 (citing Summers v. Earth

                                      27   Island Inst., 555 U.S. 488, 499 (2009)). Defendants are factually mistaken and overstate their legal

                                      28   case. Factually, multiple declarants have asserted personal harm. See, e.g., Decl. Fabris AFGE ¶ 10

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                                       1   (declarant received RIF notice); Dkt. No. 37-24 (“Decl. Levin AFGE”) ¶¶ 14-15 (declarant placed

                                       2   on same-day administrative leave); Decl. Bobbit AFGE, Ex. D (declarant received and provided

                                       3   redacted list of employees in RIF notice). As to the doctrine, the Court in Summers wanted to ensure

                                       4   that injury had been specifically established by sworn affidavits. The Ninth Circuit has later

                                       5   clarified that naming individuals is not necessary “when it is clear and not speculative that a member

                                       6   of a group will be adversely affected by a challenged action and a defendant does not need to know

                                       7   the identity of a particular member to defend against an organization’s claims.” Mi Familia Vota v.

                                       8   Fontes, 129 F.4th 691, 708 (9th Cir. 2025). It is not speculative here that the union’s members are

                                       9   being harmed by defendants’ challenged actions.

                                      10          The unions also establish standing as organizations representing federal employees based on

                                      11   impending direct financial harm to their organizations in the form of lower membership numbers

                                      12   and lower dues.
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                                      13          SEIU has also established standing based on the federal contract workers that it represents.

                                      14   These workers have lost their jobs when federal facilities close. Decl. Adler SEIU ¶¶ 5, 7. The

                                      15   ARRPs are likely to result in the closure of more federal facilities,5 and when that happens SEIU’s

                                      16   contract workers will lose their jobs. This is not like the attenuated five-link chain of cascading

                                      17   events in Clapper—given the breadth of the RIFs that have been announced, these injuries are

                                      18   “certainly impending.” See Clapper, 568 U.S. at 410. AFSCME also represents non-federal

                                      19   employee workers who rely on the federal workforce to process grants to support their work. In the

                                      20   Department of Energy’s Weatherization Assistance Program, reports indicate the number of federal

                                      21   staff will decrease by 75%. Dkt. No. 37-15 (“Decl. Gabel AFSCME”) ¶ 11. If or when these cuts

                                      22   are implemented, AFSCME workers at a non-profit supported by this program will find it

                                      23   “extremely challenging to get the necessary grant money to operate, and layoffs . . . are almost

                                      24   certain.” Id. ¶ 12. While slightly more attenuated than the contract workers’ basis for standing, the

                                      25   Court finds that these facts support an independent basis for standing as well.

                                      26
                                      27
                                                  5
                                                    One of the principles to inform the ARRPs, per the OMB/OPM Memorandum, is “[a]
                                      28   reduced real property footprint.” OMB/OPM Memo at 2.

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                                       1           Defendants also challenge whether the employees who will be saddled with more work will

                                       2   have experienced a concrete harm. Opp’n at 33. The Court need not decide at this stage whether

                                       3   this type of injury is sufficient for standing.

                                       4

                                       5                   2.      Non-Profit Plaintiffs

                                       6           All of these non-profit organizations except for the Natural Resources Defense Council have

                                       7   submitted declarations that detail the harms that significant federal workforce reductions impose

                                       8   upon their members or the organizations themselves. Two consistent themes emerge from these

                                       9   declarations.   First, the organizations’ members benefit from services provided by federal

                                      10   employees, but significant staffing reductions across various agencies impact their ability to

                                      11   continue to benefit. Second, many of the organizations assert that they have had to divert resources

                                      12   away from their primary mission to respond to the impact of federal staffing cuts on their members.
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                                      13           As defendants note, the diversion of resources theory rests on shakier ground after Food &

                                      14   Drug Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367, 394 (2024).6 But at least

                                      15   some of the organization plaintiffs establish injury on other bases. For example, the American

                                      16   Geophysical Union attests that implementation of ARRPs will cause the organization to lose

                                      17   membership, publication authors, and conference attendees, resulting in a loss of revenue to the

                                      18   organization. Dkt. No. 37-45 (“Decl. Shultz AGU”) ¶¶ 9, 28-29. Based on its past experience, the

                                      19   Center for Taxpayer Rights suggests that its low-income members will see delays to the processing

                                      20   of refunds that they rely on for day-to-day expenses. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶¶ 35-

                                      21   37. The Executive Director of the Western Watersheds Project finds personal enjoyment from

                                      22   visiting the Arctic grayling in its natural habitat, an enjoyment threatened by further cuts to the

                                      23   agency currently working on Endangered Species Act findings for that species. Dkt. No. 37-40

                                      24   (“Decl. Molvar WWP”) ¶¶ 15-18. Harm that “affects the recreational or even the mere esthetic

                                      25

                                      26
                                                   6
                                                   The Supreme Court there denied standing when plaintiff organizations incurred costs
                                      27   opposing the government’s actions but explained that organizations have standing when a
                                           defendant’s acts “directly affected and interfered with [plaintiff’s] core business activities.” Food
                                      28   & Drug Admin. v. All. for Hippocratic Med., 602 U.S. at 395.

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                                       1   interests of the plaintiff . . . will suffice” for standing. Summers, 555 U.S. at 494 (citing Sierra Club

                                       2   v. Morton, 405 U.S. 727, 734-736 (1972).

                                       3           The Court finds these types of harm sufficient to establish injury. None are as attenuated as

                                       4   the causal chain of events leading to potential injury in Clapper. The Court reserves a full discussion

                                       5   of standing for each plaintiff for a later stage.

                                       6

                                       7                   3.      Local Government Plaintiffs

                                       8           To establish standing, a local government must assert a harm to its own “proprietary

                                       9   interests,” which “are as varied as a municipality’s responsibilities, powers, and assets.” City of

                                      10   Sausalito v. O’Neill, 386 F.3d 1186, 1197 (9th Cir. 2004). Proprietary interests include a local

                                      11   government’s ability to enforce regulations, its ability to collect revenue, and its ability to protect

                                      12   its natural resources. Id. at 1198.
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                                      13           The local government plaintiffs assert that large-scale reductions in the federal workforce

                                      14   will jeopardize the timely delivery of many different federal funding streams that their budgets rely

                                      15   on. Baltimore also asserts a more direct financial injury in the form of lost municipal tax revenues,

                                      16   given that 12,400 city residents are (or were) federal employees. Dkt. No. 37-54 (“Decl. Leach—

                                      17   Baltimore”) ¶¶ 5-8. The local governments also contend that they will be forced to expend more

                                      18   resources in the absence of federal support, in areas like fighting wildfires or the provision of shelter

                                      19   to the unhoused.

                                      20           The Court finds the local governments have standing on the basis of impending financial

                                      21   harm. For example, King County has a budget that includes more than $200 million in federal

                                      22   revenue for its operating budgets, and $500 million in federal funds in its capital budget for 2025.

                                      23   Dkt. No. 41-6 (“Decl. Dively—King County”) ¶¶ 6, 8. The county communicates with staff across

                                      24   multiple federal agencies to process grants and permits for capital projects; any delay in these

                                      25   communications delays projects and increases costs. Id. ¶¶ 22, 26, 31, 33, 38. With large-scale

                                      26   RIFs happening across agencies, such delay is likely.7 As another example, Harris County Public

                                      27

                                      28
                                                   7
                                                     As one example, the County believes the closure of HUD’s regional office in Seattle will
                                           result in delays in disbursement of the County’s $47 million in federal grant funds. Decl. Dively—
                                                                                            16
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                                       1   Health receives grants from the CDC, but has begun to experience a delay in communication after

                                       2   HHS initiated its RIF. Dkt. No. 37-46 (“Decl. Barton—Harris County”) ¶¶ 23, 26.

                                       3          Finding the above sufficient to establish standing for at least some of the local governments,

                                       4   the Court reserves a fuller analysis for another day.

                                       5

                                       6                  4.      Procedural Injury

                                       7          Lastly, plaintiffs across all of the above categories assert a procedural injury for their notice-

                                       8   and-comment claims, because they contend they would have submitted comments had they been

                                       9   given a chance. See, e.g., Dkt. No. 37-31 (“Decl. Soldner AFGE”) ¶ 27. Some explained that they

                                      10   provided comments in response to notices about similar proposals during President Trump’s first

                                      11   administration. See, e.g., id.

                                      12          A procedural injury must be related to a plaintiff’s concrete interests. Summers, 555 U.S. at
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                                      13   496. As a collection of plaintiffs have established standing based on harm to their concrete interests,

                                      14   the plaintiffs also have standing to challenge a lack of notice and comment procedures.

                                      15

                                      16          B.      Causation and Redressability8

                                      17          The plaintiffs challenge three layers of action: the president’s executive order, the

                                      18   OMB/OPM Memorandum issued pursuant to the executive order, and the agency ARRPs submitted

                                      19   pursuant to the memorandum. The harm experienced by plaintiffs or imminently threatening them

                                      20   comes from the reorganizations and RIFs established by the ARRPs. As many declarants have

                                      21   offered, the agencies had not talked about large-scale RIFs or reorganizations prior to President

                                      22   Trump’s executive order. See, e.g., Decl. Bailey SEIU ¶ 10; Decl. Garthwaite AFGE ¶ 6. These

                                      23   harms are fairly traceable to defendants’ actions at all three levels; beyond the defendants, there are

                                      24   no intervening actors causing these harms. See Lujan, 504 U.S. at 560.

                                      25          Finally, the Court can redress the harms by vacating the unlawful actions as allowed by the

                                      26
                                      27   King County ¶¶ 37-38.
                                                  8
                                                    Defendants do not specifically challenge causation or redressability in their opposition, but
                                      28   the Court must complete the standing inquiry regardless.

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                                       1   APA and Supreme Court precedent.

                                       2

                                       3          C.      Conclusion as to Standing

                                       4           At this stage, the Court finds at least some collection of the plaintiffs have sufficient

                                       5   standing to bring their claims.

                                       6

                                       7   III.   Subject Matter Jurisdiction—Thunder Basin Preclusion

                                       8          Courts generally have jurisdiction under 28 U.S.C. § 1331 to review federal government

                                       9   actions. Califano v. Sanders, 430 U.S. 99, 105 (1977). But Congress sometimes precludes district

                                      10   court review “by specifying a different method to resolve claims about agency action,” Axon Enter.,

                                      11   Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 185 (2023), often through channeling review to an

                                      12   adjudicative body within an agency. In determining whether Congress has removed district court
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                                      13   jurisdiction, courts ask two questions: whether “the ‘statutory scheme’ displays a ‘fairly discernible’

                                      14   intent to limit jurisdiction” and whether “the claims at issue ‘are of the type Congress intended to

                                      15   be reviewed within th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,

                                      16   561 U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)).

                                      17          When examining the second question—whether the particular claims should be channeled

                                      18   to agency review—courts consider three factors from Thunder Basin: “First, could precluding

                                      19   district court jurisdiction foreclose all meaningful judicial review of the claim? Next, is the claim

                                      20   wholly collateral to the statute’s review provisions? And last, is the claim outside the agency’s

                                      21   expertise?” Axon, 598 U.S. at 186 (internal quotation marks, brackets, and citations omitted).

                                      22   Affirmative answers to these questions suggest that Congress did not intend to limit jurisdiction,

                                      23   “[b]ut the same conclusion might follow if the factors point in different directions.” Id. Together,

                                      24   these factors recognize that agency action should rarely evade effective judicial review, but

                                      25   channeling from a district court to an agency adjudication may be appropriate “in the matters [an

                                      26   agency] customarily handles, and can apply distinctive knowledge to.” Id.

                                      27          Defendants argue that the Federal Service Labor-Management Relations Statute and the

                                      28   Civil Service Reform Act of 1978 preclude district court jurisdiction over plaintiffs’ claims. Opp’n

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                                       1   at 23-31. The Federal Service Labor-Management Relations Statute established a Federal Labor

                                       2   Relations Authority to resolve issues related to collective bargaining between federal employee

                                       3   unions and their employers, including “issues relating to the granting of national consultation

                                       4   rights,” “issues relating to determining compelling need for agency rules or regulations,” “issues

                                       5   relating to the duty to bargain in good faith,” and “complaints of unfair labor practices.” 5 U.S.C.

                                       6   § 7105(a)(2). In passing the statute, Congress specified that its provisions “should be interpreted in

                                       7   a manner consistent with the requirement of an effective and efficient Government.” Id. § 7101(b).

                                       8   The Civil Service Reform Act provides a mechanism for employees who have suffered an adverse

                                       9   action to appeal to the Merit Systems Protection Board. 5 U.S.C. §§ 7512, 7513(d); see also 5

                                      10   U.S.C. § 1204 (delineating functions of the Board). The Civil Service Reform Act of 1978 excluded

                                      11   reductions in force from the definition of “adverse action” appealable to the Board. 5 U.S.C.

                                      12   § 7512(B); 5 C.F.R. § 752.401(b)(3). However, per federal regulations issued by OPM, employees
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                                      13   who have been furloughed, separated or demoted by a reduction in force can appeal to the Board. 5

                                      14   C.F.R. § 351.901.9 Judicial review of final orders of both the Authority and the Board is available

                                      15   at circuit courts. 5 U.S.C. §§ 7703, 7123(a).

                                      16          Defendants’ opposition cites to courts across the country that have begun to address this

                                      17   question in the context of similar claims. On February 12, 2025, a District of Massachusetts court

                                      18   declined to enjoin enforcement of the deadline for opting into a deferred resignation program. Am.

                                      19   Fed’n of Gov’t Emps., AFL-CIO v. Ezell, No. CV 25-10276-GAO, 2025 WL 470459, at *1-3 (D.

                                      20   Mass. Feb. 12, 2025). The court determined the plaintiff unions lacked standing and that the claims

                                      21   were precluded by the Federal Service Labor-Management Relations Statute and the Civil Service

                                      22   Reform Act of 1978, which establish “exclusive procedures for disputes involving employees and

                                      23   their federal employers and disputes between unions representing federal employees and the federal

                                      24   government.” Id.

                                      25          In a February 20, 2025 ruling, a D.C. district court denied a temporary restraining order and

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                                                  9
                                                   As defendants’ opposition notes, some employees may be precluded from appealing to the
                                      28   Board under the terms of their collective bargaining agreements. Opp’n at 9 n.4.

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                                       1   preliminary injunction because it found that the union plaintiffs were precluded by the Federal

                                       2   Service Labor-Management Relations Statute under Thunder Basin. Nat’l Treasury Emps. Union

                                       3   v. Trump, No. 25-CV-420 (CRC), 2025 WL 561080, at *8 (D.D.C. Feb. 20, 2025). There, the

                                       4   plaintiffs sought to prevent the termination of probationary employees, anticipated large-scale RIFs,

                                       5   and any renewal of deferred resignation programs. Id. at *1. The court determined that the unions’

                                       6   claimed injuries—financial harm and loss of bargaining power—could be meaningfully reviewed

                                       7   through the Federal Labor Relations Authority, even though that body could not resolve the unions’

                                       8   constitutional claims. Id. at *6-7. The constitutional question could be revived in an appeal of the

                                       9   FLRA’s decision. Id. at * 7.

                                      10          The next day, February 21, 2025, another D.C. district court rejected the injunctive relief

                                      11   requested by two employee unions that sought to pause the administration’s attempt to dismantle

                                      12   the U.S. Agency for International Development. Am. Foreign Serv. Ass’n v. Trump, No. 1:25-CV-
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                                      13   352 (CJN), 2025 WL 573762, at *1 (D.D.C. Feb. 21, 2025). The court held that while “at a high

                                      14   level of generality and in the long run, plaintiffs’ assertions of harm could flow from their

                                      15   constitutional and APA claims regarding the alleged unlawful ‘dismantl[ing]’ of USAID,” the court

                                      16   noted that “the agency is still standing, and so the alleged injuries on which plaintiffs rely in seeking

                                      17   injunctive relief flow essentially from their members’ existing employment relationships with

                                      18   USAID.” Id. at *7. The court held that the Federal Service Labor-Management Relations Statute,

                                      19   the Civil Service Reform Act, and the Foreign Service Act of 1980 indicated that Congress intended

                                      20   for these types of claims to be channeled first to the administrative review offered by those statutory

                                      21   schemes. Id. at *8-10. The court noted that the Foreign Service Act’s scheme was “even broader”

                                      22   than the other two and reasoned that “plaintiffs have presented no irreparable harm they or their

                                      23   members are imminently likely to suffer from the hypothetical future dissolution of USAID” absent

                                      24   immediate judicial review. Id. The court concluded that it likely lacked jurisdiction, so plaintiffs

                                      25   were unlikely to succeed on the merits of their claims. Id. at *11.

                                      26          All three of the above opinions relied on American Federation of Government Employees,

                                      27   AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir. 2019). In that case, federal employee unions challenged

                                      28   executive orders regarding federal labor-management relations from President Trump’s first term.

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                                       1   Id. at 753. The orders directed federal agencies to remove certain subjects from labor negotiations,

                                       2   limit the time employees could spend on union affairs during their workday, and exclude disputes

                                       3   over for-cause terminations from grievance proceedings. Id. The appellate court determined that

                                       4   the unions’ claims—some of which asserted that the Executive Orders violated the Federal Service

                                       5   Labor-Management Relations Statute itself—must be channeled first to the Federal Labor Relations

                                       6   Authority. Id. at 753-54, 761.

                                       7          More recently, on April 22, 2025, in a case involving the administration’s attempt to

                                       8   dismantle the U.S. Agency for Global Media, the district court held that a conclusion that the claims

                                       9   at issue “boiled down to a quotidian employment dispute . . . would ignore the facts on the record

                                      10   and on the ground.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL, 2025 WL 1166400, at *11

                                      11   (D.D.C. Apr. 22, 2025). The district court determined that the administrative tribunals “have no

                                      12   jurisdiction to review the cancelation of congressional appropriations” and that the case involved
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                                      13   administrative and constitutional law issues, separate from federal employment questions. Id. at

                                      14   *11 n.22. On appeal, however, a majority opinion from the D.C. Circuit determined that “[t]he

                                      15   ‘dismantling’ that plaintiffs allege is a collection of ‘many individual actions’ that cannot be

                                      16   packaged together and ‘laid before the courts for wholesale correction under the APA.’”

                                      17   Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *3 (D.C. Cir. May 3, 2025) (citation

                                      18   omitted).

                                      19          Finally, Judge Alsup of this district found that federal employee unions’ challenge to the

                                      20   OPM directive to agencies to terminate probationary employees should not be precluded based on

                                      21   the Thunder Basin analysis. Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 3:25-cv-01780-

                                      22   WHA, 2025 WL 900057 (N.D. Cal. Mar. 24, 2025).10 First, the court decided that the ultra vires

                                      23   and APA claims in that case would not benefit from the administrative expertise of the Federal

                                      24   Labor Relations Authority or the Merit Systems Protection Board. Id. at 3-4. It also found the

                                      25   claims collateral to the review authority of those agencies, because the claims challenged executive

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                                                  10
                                                     The district court reversed its earlier decision finding preclusion under Thunder Basin,
                                      28   upon further briefing.

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                                       1   power, not a specific personnel action. Id. at 5. Lastly, it determined that the district court offered

                                       2   the only opportunity for meaningful judicial review. Id. at 6. The court noted that probationary

                                       3   employees could not appeal a decision to the Merit Systems Protection Board and distinguished the

                                       4   claims in this case from the bargaining-related issues sent to the Federal Labor Relations Authority

                                       5   in American Federation of Government Employees, AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir.

                                       6   2019). Id. at 7-8.11

                                       7

                                       8          A.      Federal Employee Union Plaintiffs

                                       9          The Court starts its analysis with the union plaintiffs. The Court agrees with Judge Alsup in

                                      10   this district that the D.C. Circuit’s 2019 decision in AFGE v. Trump is not particularly helpful to

                                      11   resolving the claims channeling question here. In that case, the claims involved executive orders

                                      12   that touched directly on matters related to collective bargaining, which are central to the purpose of
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                                      13   the Federal Labor Relations Authority. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929

                                      14   F.3d at 753-54, 761. To the extent that other recent orders rely on the 2019 opinion, the Court

                                      15   disagrees with their reasoning. Here, the claims are far afield from the central concerns of the

                                      16   Federal Labor Relations Authority, see 5 U.S.C. § 7105(a)(2), instead touching on fundamental

                                      17   questions of executive authority and separation of powers.

                                      18          Defendants’ opposition also cites two fresh opinions from the Fourth Circuit and the D.C.

                                      19   Circuit that found it likely that plaintiffs with similar claims to those here would ultimately be

                                      20   channeled to administrative review schemes. Opp’n at 24-25 (citing Widakuswara v. Lake, No. 25-

                                      21   5144, 2025 WL 1288817 (D.C. Cir. May 3, 2025); Maryland v. U.S. Dep’t of Agriculture, No. 25-

                                      22   1248, 2025 WL 1073657 (4th Cir. Apr. 9, 2025)). When considering out-of-circuit authority, the

                                      23   Court looks to its persuasive value. See Jones v. PGA TOUR, Inc., 668 F. Supp. 3d 907, 917 (N.D.

                                      24

                                      25          11
                                                     The preliminary injunction in Judge Alsup’s case is currently on appeal. On April 8, 2025,
                                           the Supreme Court granted the government’s application for an emergency stay of the injunction
                                      26   pending appeal, stating that the non-profit organization plaintiffs on whose claims the original
                                           injunction was based had not sufficiently shown standing. OPM v. AFGE, --- S. Ct. ----, No.
                                      27   24A904, 2025 WL 1035208, at *1 (S. Ct. Apr. 8, 2025) (citing Clapper). On return to the district
                                           court, the case proceeded and the court granted relief as to the claims of the plaintiff unions and the
                                      28   State of Washington.

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                                       1   Cal. 2023). Tthe Fourth Circuit offers no reasoning for its conclusion that the district court lacked

                                       2   jurisdiction, and this Court finds the dissenting opinion in that case more robust and more

                                       3   persuasive.     The D.C. Circuit provides slightly more (two paragraphs) on the question of

                                       4   jurisdiction, but again the dissenting judge in that case centered the claims in the appropriate

                                       5   context—the comprehensive dismantling of an entire agency—far more concretely and persuasively

                                       6   than the panel majority.

                                       7            The Court now moves to its own application of Thunder Basin. Recognizing, as other courts

                                       8   have, that the Federal Service Labor-Management Relations Statute and the Civil Service Reform

                                       9   Act indicate an intent to limit jurisdiction in some instances, the Court turns to the second inquiry:

                                      10   “whether the claims at issue are of the type Congress intended to be reviewed within the statutory

                                      11   structure.” Free Enter. Fund, 561 U.S. at 489 (internal quotation marks, brackets, and citation

                                      12   omitted). The Court concludes the answer is no. To explain, the Court examines each of the three
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                                      13   Thunder Basin factors in turn, all three of which favor a finding of subject matter jurisdiction in this

                                      14   Court.

                                      15            First, precluding district court jurisdiction for the union plaintiffs at this time would foreclose

                                      16   meaningful judicial review. Plaintiffs seek an opportunity to challenge “large-scale reductions in

                                      17   force” happening rapidly across multiple agencies in the federal government. In some offices or

                                      18   agencies, nearly all employees are receiving RIF notices. Defendants contend that plaintiffs must

                                      19   take their concerns to what can be a prolonged administrative process and then appeal to present

                                      20   their constitutional claim in federal court. By that point, if they prevailed, they “would return to an

                                      21   empty agency with no infrastructure” to support a resumption of their work. See Widakuswara,

                                      22   2025 WL 1166400, at *11 n.22.

                                      23            Second, the claims at issue here are wholly collateral to the review authority of the Federal

                                      24   Labor Relations Authority and the Merit Systems Protection Board. As noted above, this lawsuit

                                      25   involves questions of constitutional and statutory authority and the separation of powers. Federal

                                      26   employees are simply the ones to suffer most immediately the collateral damage of allegedly

                                      27   unlawful actions. In other words, “[t]he plaintiffs in this lawsuit challenge the evisceration of their

                                      28   jobs only insofar as it is the means by which they challenge defendants’ unlawfully halting the work

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                                       1   of [their offices or agencies] and shutting [them] down.” See Widakuswara, 2025 WL 1288817, at

                                       2   *8 (Pillard, J., dissenting). Moreover, employees’ rights to appeal a RIF to the Merit Systems

                                       3   Protection Board comes not directly from statute but from regulation. See 5 C.F.R. § 351.901;12 see

                                       4   also 5 U.S.C. § 7512(B) (excluding reductions in force from the review provisions for “adverse

                                       5   actions”).13 When Congress did not directly specify Board review for reductions-in-force claims, it

                                       6   seems unlikely that Congress intended the Merit Systems Protection Board to be the exclusive

                                       7   avenue for such claims, let alone claims that involve broader questions about constitutional and

                                       8   administrative law. The same holds true for the Federal Labor Relations Authority—Congress

                                       9   desired that body’s enabling statute to be interpreted “in a manner consistent with the requirement

                                      10   of an effective and efficient Government.” 5 U.S.C. § 7101(b). There is nothing efficient about

                                      11   sending constitutional claims to a body that cannot decide them, only to wait for an opportunity to

                                      12   appeal.14
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                                      13          Third, the claims here involve issues related to the appropriate distribution of authority to

                                      14   and within the executive branch, not the individual employee or labor disputes these two

                                      15   administrative bodies customarily handle.         As the Supreme Court has repeated, “agency

                                      16   adjudications are generally ill suited to address structural constitutional challenges.” Axon, 598 U.S.

                                      17   at 195. Neither the Merit Systems Protection Board nor the Federal Labor Relations Authority have

                                      18
                                      19          12
                                                      5 U.S.C. § 7701 arguably provides indirect statutory authority with its rather circular
                                           proposition: “An employee, or applicant for employment, may submit an appeal to the Merit
                                      20   Systems Protection Board from any action which is appealable to the Board under any law, rule, or
                                           regulation.”
                                      21           13
                                                      Defendants’ opposition cites the adverse actions sections without noting that reductions
                                      22   in force are explicitly excluded from those provisions. Opp’n at 12.
                                                  14
                                                      In Elgin v. Department of Treasury, the Supreme Court decided that there was no
                                      23   exception to Civil Service Reform Act exclusivity for constitutional challenges to federal statutes,
                                           in that case a statute that bars those who fail to register for the draft from federal employment. 567
                                      24   U.S. 1, 12 (2012). The Court held that plaintiffs were obliged to wait to present their constitutional
                                           claim to the Federal Circuit after proceeding through the Merit Systems Protection Board. Id. at 21.
                                      25   However, the Elgin plaintiffs sought to vindicate their own personal rights to employment. Here,
                                           the plaintiffs confront an issue much larger in scope: how to interpret the constitutional structure of
                                      26   the federal government. And while the Elgin plaintiffs were likely to have a job and an agency to
                                           return to in the event they eventually won their case after winding through two layers of
                                      27   administrative and judicial review, the same cannot be said in this case. See id. at 25 (Alito, J.,
                                           dissenting) (“I doubt that Congress intended to channel petitioners’ constitutional claims into an
                                      28   administrative tribunal that is powerless to decide them[.]”).

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                                       1   special expertise to bear on the questions in this suit.

                                       2

                                       3          B.      Other Plaintiffs

                                       4          The rest of the plaintiffs in this case, including the non-profit organizations, the local

                                       5   governments, and the unions in their capacity representing non-federal employees, do not have

                                       6   access to the Federal Labor Relations Authority or the Civil Service Reform Act. Even if the union

                                       7   plaintiffs should be channeled out of court—and this Court thinks they should not—the Thunder

                                       8   Basin factors weigh against claims channeling even more strongly when applied to these other

                                       9   plaintiffs. Defendants fail to show how the cases they cite—involving challenges by federal

                                      10   employees—support the channeling of constitutional and APA claims by non-federal employees,

                                      11   including federal contract workers, non-profit organizations on behalf of their members, or local

                                      12   governments. In U.S. v. Fausto, cited by both defendants and the amici states who filed a brief in
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                                      13   support of defendants, the Supreme Court held that a type of employee that received lesser privileges

                                      14   in the Civil Service Reform Act was not entitled to district court review that was denied to

                                      15   employees who had more privileges under the Act, because holding otherwise would have flipped

                                      16   the structural logic of the Act. 484 U.S. 439, 448-49 (1988). But the Civil Service Reform Act says

                                      17   nothing at all about non-federal employee unions, non-profit organizations, or local governments.

                                      18   The Court is not persuaded that, when Congress created the Merit Systems Protection Board or the

                                      19   Federal Labor Relations Authority, it intended for constitutional and APA claims by these sorts of

                                      20   plaintiffs to be precluded from federal court. See Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No.

                                      21   25-1677, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025) (in denying an application for an

                                      22   emergency stay, finding the government had not shown they are likely to establish that Congress

                                      23   intended to channel claims by non-profit organizations to the same administrative agencies).

                                      24

                                      25   IV.    Analysis of the Winter Factors

                                      26          The Court now proceeds to the Winter factors, examining whether plaintiffs have established

                                      27   they are likely to succeed on the merits, whether they are likely to suffer irreparable harm in the

                                      28   absence of preliminary relief, if the balance of equities tips in their favor, and whether an injunction

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                                       1   is in the public interest. See Winter, 555 U.S. at 22.

                                       2

                                       3          A.      Likelihood of Success on the Merits

                                       4                  1.      Ultra Vires

                                       5          Plaintiffs’ first and second claims for relief allege that Executive Order 14210, and the

                                       6   actions and orders of OMB, OPM, and DOGE to implement the Executive Order, violate the

                                       7   separation of powers and are therefore ultra vires.

                                       8          “When an executive acts ultra vires, courts are normally available to reestablish the limits

                                       9   on his authority.” Sierra Club v. Trump, 963 F.3d 874, 891 (9th Cir. 2020), vacated and remanded

                                      10   on other grounds, sub nom. Biden v. Sierra Club, 142 S. Ct. 46 (2021) (quoting Dart v. United States,

                                      11   848 F.2d 217, 223 (D.C. Cir. 1988)). The ability to enjoin unconstitutional action by government

                                      12   officials dates back to the courts of equity, “reflect[ing] a long history of judicial review of illegal
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                                      13   executive action, tracing back to England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320,

                                      14   327 (2015) (citing Jaffe & Henderson, Judicial Review and the Rule of Law: Historical Origins, 72

                                      15   L.Q. Rev. 345 (1956)). Where the President exceeds his authority, the district court may declare the

                                      16   action unlawful and an injunction may issue. Sierra Club, 963 F.3d at 891 (explaining that, in

                                      17   Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952), “The [Supreme] Court never

                                      18   questioned that it had the authority to provide the requested relief”).

                                      19

                                      20                          a.      Actions by President Trump

                                      21          Plaintiffs are likely to succeed on their claim that the President’s Executive Order 14210 is

                                      22   ultra vires, as the President has neither constitutional nor, at this time, statutory authority to

                                      23   reorganize the executive branch.

                                      24          “In the framework of our Constitution, the President’s power to see that the laws are

                                      25   faithfully executed refutes the idea that he is to be a lawmaker. The Constitution limits his functions

                                      26   in the lawmaking process to the recommending of laws he thinks wise and the vetoing of laws he

                                      27   thinks bad. And the Constitution is neither silent nor equivocal about who shall make laws which

                                      28   the President is to execute.” Youngstown, 343 U.S. at 587.

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                                       1          Article I of the U.S. Constitution vests in Congress the legislative power. U.S. Const. art. I,

                                       2   § 1. “To Congress under its legislative power is given the establishment of offices, [and] the

                                       3   determination of their functions and jurisdiction . . . .” Myers v. United States, 272 U.S. 52, 129

                                       4   (1926). “Congress has plenary power over the salary, duties, and even existence of executive

                                       5   offices.” Free Enter. Fund, 561 U.S. at 500 (emphasis added). While “[t]he President may create,

                                       6   reorganize, or abolish an office that he established,” the Constitution does not authorize him “to

                                       7   enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998)

                                       8   (emphasis added); see also Nat’l Fed’n of Indep. Bus. v. Dep’t of Labor, Occupational Safety &

                                       9   Health Admin., 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of statute.”).

                                      10          In 1952, the Supreme Court considered the validity of an Executive Order by President

                                      11   Truman, who ordered the Secretary of Commerce to seize most of the nation’s steel mills to prevent

                                      12   strikes from halting steel production during the Korean War. Youngstown, 343 U.S. at 582.
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                                      13   Although various statutes authorized the President to seize property under certain circumstances,

                                      14   none of the statutory conditions had been met, and so the President claimed the seizures were lawful

                                      15   pursuant to his constitutional authority. In reviewing whether the district court’s preliminary

                                      16   injunction to stop enforcement of the order was proper, the Supreme Court explained, “The

                                      17   President’s power, if any, to issue the order must stem either from an act of Congress or from the

                                      18   Constitution itself.” Id. at 585. Where President Truman lacked both constitutional and statutory

                                      19   authority to seize the steel mills, the Supreme Court affirmed the district court injunction.

                                      20          Youngstown applies here. Defendants do not claim that Executive Order 14210 issued under

                                      21   the President’s constitutional powers. Rather, they attempt to fit the President’s actions into existing

                                      22   statutory authority. Such statutory authority, however, is plainly lacking. The Ninth Circuit has

                                      23   explained,

                                      24          Justice Jackson’s Youngstown concurrence provides the operative test in this context:

                                      25                  When the President takes measures incompatible with the expressed
                                                          or implied will of Congress, his power is at its lowest ebb, for then he
                                      26                  can rely only upon his own constitutional powers minus any
                                                          constitutional powers of Congress over the matter. Courts can sustain
                                      27                  exclusive presidential control in such a case only by disabling the
                                                          Congress from acting upon the subject. Presidential claim to a power
                                      28                  at once so conclusive and preclusive must be scrutinized with caution,

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                                                          for what is at stake is the equilibrium established by our constitutional
                                       1                  system
                                       2
                                           City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1233 (9th Cir. 2018) (quoting Youngstown,
                                       3
                                           343 U.S. at 637-38 (Jackson, J., concurring)).
                                       4
                                                  As history demonstrates, the President may broadly restructure federal agencies only when
                                       5
                                           authorized by Congress. “Although the U.S. Constitution vests in Congress the authority to organize
                                       6
                                           the Executive Branch,[] former presidential administrations have asked Congress to grant expedited
                                       7
                                           government reorganization authority to execute cross-agency government reorganizations more
                                       8
                                           efficiently.” S. Rep. No. 115-381, at 4 (2018). Since 1932, when President Hoover was the first
                                       9
                                           President to request and receive such reorganization authority, Congress has granted this authority
                                      10
                                           “16 times under both Republican and Democratic administrations[,]” to nine different Presidents.
                                      11
                                           Id.; John W. York & Rachel Greszler, A Model for Executive Reorganization, Heritage Found. Legal
                                      12
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                                           Memorandum          No.       4782,      at      3     (Nov.       3,     2017),       available      at:
     United States District Court




                                      13
                                           https://www.heritage.org/sites/default/files/2017-11/IB4782.pdf         [https://perma.cc/59KD-JVU5]
                                      14
                                           (hereinafter, “Heritage Found. Legal Memorandum No. 4782”). According to a Senate Report
                                      15
                                           issued during President Trump’s first term in office, “[b]etween 1932 and 1984, presidents submitted
                                      16
                                           126 reorganization proposals to Congress, of which 93 were implemented and 33 were affirmatively
                                      17
                                           rejected by Congress.” S. Rep. No. 115-381, at 4 (2018). The most recent statutory authorization
                                      18
                                           for a president to conduct a governmental reorganization expired December 31, 1984. Henry B.
                                      19
                                           Hogue, Cong. Rsch. Serv., R44909, Executive Branch Reorganization 6-7 & n.23 (2017)
                                      20
                                           (hereinafter, “CRS R44909”).
                                      21
                                                  The brief of amicus curiae Constitutional Accountability Center recounts the long history of
                                      22
                                           Congress exercising its “power to restructure and abolish federal agencies as it finds necessary . . . .”
                                      23
                                           Dkt. No. 51-1 at 6-9. Defendants’ opposition brief also recounts this long history, which supports
                                      24
                                           the proposition that large-scale reorganization of the federal agencies stems from a long-standing
                                      25
                                           partnership between the executive and legislative branches. See Opp’n at 5-6 (citing, inter alia, 19
                                      26
                                           Stat. 169; 37 Stat. 413; the Veterans’ Preference Act of 1944; the Federal Employee Pay Act of
                                      27
                                           1945; the 1966 recodification and amendment of the Veterans’ Preference Act of 1944).
                                      28

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                                       1          In recent history, this congressional check on executive reach has stopped Democratic and

                                       2   Republican presidents alike from restructuring federal agencies. Presidents George W. Bush, Barack

                                       3   Obama, and Donald Trump (in his first term) all sought but did not receive Congressional approval

                                       4   to reorganize the executive branch. CRS R44909 at 7; H.R. 6787, 115th Congress (2017-2018); S.

                                       5   3137, 115th Congress (2018). Indeed, during the first months of his first term in office, President

                                       6   Trump attempted a large-scale reorganization of federal agencies when he issued Executive Order

                                       7   13781, entitled, “Comprehensive Plan for Reorganizing the Executive Branch.” See 82 Fed. Reg.

                                       8   13,959 (Mar. 16, 2017). That order called for agency heads to submit plans within 180 days “to

                                       9   reorganize the agency, if appropriate, in order to improve the efficiency, effectiveness, and

                                      10   accountability of that agency.” Id. The accompanying legislation, however, died in Congress. See

                                      11   H.R. 6787, 115th Congress (2017-2018); S. 3137, 115th Congress (2018).

                                      12          The simple proposition that the President may not, without Congress, fundamentally
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                                      13   reorganize the federal agencies is not controversial: constitutional commentators and politicians

                                      14   across party lines agree that “sweeping reorganization of the federal bureaucracy requires the active

                                      15   participation of Congress.” See Heritage Found. Legal Memorandum No. 4782 at 1-2; see also Paul

                                      16   J. Larkin, Jr. & John-Michael Seibler, The President’s Reorganization Authority, Heritage Found.

                                      17   Legal Memorandum No. 210, at 1 (July 12, 2017), available at: https://www.heritage.org/political-

                                      18   process/report/the-presidents-reorganization-authority [https://perma.cc/2T7K-H6EY] (“. . . to

                                      19   accomplish major reorganization objectives, [the President] will need explicit statutory authority

                                      20   from Congress . . .”); Ronald C. Moe, Cong. Rsch. Serv., RL30876, The President’s Reorganization

                                      21   Authority: Review and Analysis 2 (2001) (“It is Congress, through law, that determines the mission

                                      22   of agencies, personnel systems, confirmation of executive officials, and funding, and ultimately

                                      23   evaluates whether the agency shall continue in existence.”) (emphasis added).            As former

                                      24   government officials note in their amicus brief, House Representative James Comer (R-Kentucky)

                                      25   has introduced the Reorganizing Government Act of 2025. See H.R. 1295, 119th Cong. (2025). The

                                      26   bill would allow “Congress to fast-track President Trump’s government reorganization plans by

                                      27   renewing a key tool to approve them swiftly in Congress.” Press Release, House Committee on

                                      28   Oversight and Government Reform, Chairman Comer and Senator Lee Introduce Bill to Fast-Track

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                                       1   President     Trump’s       Government        Reorganization       Plans      (Feb.     13,      2025),

                                       2   https://oversight.house.gov/release/chairman-comer-and-senator-lee-introduce-bill-to-fast-track-

                                       3   president-trumps-government-reorganization-plans/ [https://perma.cc/3XSV-TKWL].               The bill

                                       4   contemplates that the President must partner with Congress on a government reorganization effort,

                                       5   acknowledging that presidential “reorganization authority . . . was last in effect in 1984[.]” Id.

                                       6          In their brief, defendants assert that judicial review of the Executive Order is unavailable,

                                       7   citing Dalton v. Specter, 511 U.S. 462, 470 (1994).15 Opp’n at 34. The facts of Dalton could not be

                                       8   more different from the scenario here. In Dalton, the Supreme Court held that judicial review of the

                                       9   President’s decision is unavailable “[w]here a statute . . . commits decisionmaking to the discretion

                                      10   of the President.” 511 U.S. at 476-77. At issue in Dalton was a decision by the President to close

                                      11   the Philadelphia Naval Shipyard, pursuant to the Defense Base Closure and Realignment Act of

                                      12   1990. The Act provided for the Secretary of Defense, following notice and public comment, to
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                                      13   prepare closure recommendations, which then went to Congress and to an independent commission,

                                      14   which then held public hearings and prepared a report, which then went to the President for approval,

                                      15   following which Congress then could enact a joint resolution of disapproval. Id. at 464-65. As

                                      16   discussed further below regarding the APA claims, nothing close to this level of procedure has

                                      17   occurred here, at least as far as the record shows. More importantly, Dalton challenged Presidential

                                      18   action taken pursuant to statutory authority that Congress delegated to the President. Thus,

                                      19   defendants misread plaintiffs’ ultra vires theory against President Trump. Plaintiffs’ claim is not

                                      20   that the President exceeded his statutory authority, as the Dalton plaintiffs claimed. Instead, Claim

                                      21   One is about the President acting without any authority, constitutional or statutory. As defendants

                                      22   themselves state in their brief, “[A]n officer may be said to act ultra vires ‘only when he acts without

                                      23   any authority whatever.’” Opp’n at 44 (quoting Pennhurst State Sch. & Hosp. v. Halderman, 465

                                      24   U.S. 89, 101-02 n.11 (1984) (internal quotation marks omitted)). This is precisely what plaintiffs

                                      25

                                      26          15
                                                     Defendants appear to conflate the ultra vires and APA claims, arguing that President
                                           Trump is not subject to the APA and that his Executive Order is not reviewable under APA
                                      27   standards. See Opp’n at 34. However, plaintiffs do not sue President Trump under the APA, and
                                           their APA claims challenge the carrying out of the Executive Order by OPM, OMB, DOGE, and
                                      28   the federal agency defendants but do not challenge the Executive Order itself as violating the APA.

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                                       1   here have alleged.

                                       2          Defendants also argue that “federal law expressly permits RIFs, the governing statute

                                       3   expressly directs OPM to promulgate regulations governing RIFs, and Congress has consistently

                                       4   recognized agencies’ authority to engage in RIFs since the nineteenth century.” Opp’n at 35. Maybe

                                       5   so. However, what plaintiffs allege—and what defendants fail to refute—is that Executive Order

                                       6   14210 reaches so broadly as to exceed what the President can do without Congress. The Executive

                                       7   Order mandates that “Agency Heads shall promptly undertake preparations to initiate large-scale

                                       8   reductions-in-force (RIFs), consistent with applicable law,” including submitting plans that “shall

                                       9   discuss whether the agency or any of its subcomponents should be eliminated . . . .”16 Exec. Order

                                      10   14210 § 3(c), (e) (emphasis added). This is not an instance of the President using his “inherent

                                      11   authority to exercise ‘general administrative control of those executing the laws,’” see Opp’n at 4,

                                      12   because Congress has passed no agency reorganization law for the President to execute. Congress
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                                      13   may choose to do so. But as of today, Congress has not.17

                                      14          In defendants’ interpretation, there is no unlawful action here because the President did not

                                      15   order the agencies to take any specific actions, and OMB and OPM were merely providing guidance

                                      16   about how agencies should conduct RIFs. The evidence plaintiffs have presented paints a very

                                      17   different picture: that the agencies are acting at the direction of the President and his team.

                                      18   Defendants submitted no evidence of their own in response. As noted above regarding causation

                                      19   for standing, agencies were not discussing a need for large-scale RIFs prior to the President’s

                                      20   order. In their reply brief, plaintiffs present a declaration that a recently-issued RIF notice at the

                                      21
                                                  16
                                      22              The most recent, now lapsed, Congressional authorization for the President to reorganize
                                           the federal agencies covered precisely these actions, including “the transfer of the whole or a part
                                      23   of an agency” and “the abolition of all or a part of the functions of an agency, except that no
                                           enforcement function or statutory program shall be abolished by the plan . . . .” See 9 U.S.C.
                                      24   § 903(a)(1), (2).
                                                   17
                                                      Amici the State of Montana et al. filed a brief in support of defendants. Dkt. No. 71-1.
                                      25   They argue, among other things, that “Article II provides the President with broad authority to
                                           manage the federal workforce. . . , and the courts have recognized it for more than two centuries
                                      26   except in limited circumstances not relevant here.” Id. at 3 (citing Trump v. United States, 603 U.S.
                                           593, 609 (2024)). However, a closer read of the cited decision shows that the removal power
                                      27   defendants cite applies “with respect to executive officers of the United States whom he has
                                           appointed.” See Trump, 603 U.S. at 609 (emphasis added). The removal of Presidentially-appointed
                                      28   officers is simply not at issue in this case.

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                                       1   Department of Labor attributes the RIF to Executive Order 14210, citing section 3(c) of that order

                                       2   specifically. Decl. Gamble AFGE ISO Reply ¶ 6, Ex. B. The Executive Order itself directs agencies

                                       3   to prioritize RIFs of “all agency initiatives, components, or operations that my Administration

                                       4   suspends or closes.” Exec. Order 14210 § 3(c) (emphasis added). In other words, the President will

                                       5   suspend or close agency operations, and that agency must then be prioritized for a RIF, which is

                                       6   what appears on the present record to be happening. See id. ¶¶ 4-6, Ex. B. The Court reads the

                                       7   mandatory language in the Executive Order as providing specific direction to the agencies.

                                       8          The government also says there are no problems here because the Executive Order and the

                                       9   OMB/OPM Memorandum direct agencies to comply with the law and not to reduce services to the

                                      10   public. Opp’n at 39-40; Exec. Order 14210 §§ 3(c) (“Agency Heads shall promptly undertake

                                      11   preparations to initiate large-scale reductions in force (RIFs), consistent with applicable law”),

                                      12   5(a)(i). As defendants note in their papers, “[a] consistent-with-law provision does not categorically
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                                      13   immunize an Executive Order or similar directive from review.” Opp’n at 40. The Ninth Circuit,

                                      14   in considering “whether, in the absence of congressional authorization, the Executive Branch may

                                      15   withhold all federal grants from so-called ‘sanctuary’ cities and counties[,]” rejected the

                                      16   government’s argument that the words “consistent with law” saved the otherwise unlawful

                                      17   Executive Order. San Francisco, 897 F.3d at 1231, 1239-40.         As the court explained, “‘It is a

                                      18   commonplace of statutory construction that the specific governs the general[,]’ . . . [and t]he

                                      19   Executive Order’s savings clause does not and cannot override its meaning.” Id. at 1239 (quoting

                                      20   RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012)).

                                      21          The Court finds plaintiffs have shown a likelihood of success on the merits of Claim One,

                                      22   which alleges that Executive Order 14210 usurps Congress’s Article I powers and exceeds the

                                      23   President’s lawful authority.

                                      24

                                      25                          b.       Actions by OPM, OMB, and DOGE

                                      26          Plaintiffs also assert that the actions by OPM, OMB, and DOGE in implementing the

                                      27   executive order are ultra vires and therefore unlawful. They argue that none of these defendants

                                      28   “possesses authority to order agencies to reorganize, to engage in ‘large-scale’ RIFs, or to usurp the

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                                       1   decision-making authority delegated by Congress.” Mot. at 35.

                                       2

                                       3           OPM: The question of whether the President, acting without Congress, may engage in en

                                       4   masse termination of rank-and-file employees was recently litigated in a case involving the

                                       5   termination of probationary employees at numerous federal agencies. In issuing a temporary

                                       6   restraining order, Judge Alsup of this district found plaintiffs likely to succeed on their ultra vires

                                       7   claim, explaining, “No statute — anywhere, ever — has granted OPM the authority to direct the

                                       8   termination of employees in other agencies.” Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-

                                       9   cv-1780-WHA, 2025 WL 660053, at *4 (N.D. Cal. Feb. 28, 2025).18 Rather, as laid out in statute,

                                      10   “Each Executive agency . . . may employ such number of employees of the various classes

                                      11   recognized by chapter 51 of this title [regarding classification] as Congress may appropriate for

                                      12   from year to year.” 5 U.S.C. § 3101. With regard to OPM in particular, Congress vested the Director
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                                      13   of OPM with a number of functions, none of which include the termination of employees from, or

                                      14   the restructuring of, other federal agencies outside of OPM. See 5 U.S.C. § 1103(a). In the

                                      15   probationary employee case, “OPM concede[d] that it lacks the authority to direct firings outside of

                                      16   its own walls . . . .” Am. Fed’n of Gov’t Emps., 2025 WL 660053, at *5.

                                      17

                                      18           OMB: Housed within the Executive Office of the President, OMB, like OPM, has its

                                      19   functions laid out in statute. See 31 U.S.C. §§ 501-507. None of the statutes authorize OMB to

                                      20   terminate employees outside of OMB or to order other agencies to downsize, nor do defendants

                                      21   point to any such authority in their brief. See also Nat’l Council of Nonprofits v. Off. of Mgmt. &

                                      22   Budget, --- F. Supp. 3d ----, No. CV 25-239 (LLA), 2025 WL 597959, at *15 (D.D.C. Feb. 25, 2025)

                                      23   (“the structure and provisions of Section 503 strongly suggest that OMB occupies an oversight role”

                                      24   and 31 U.S.C. § 503(a)(5) “further indicates that OMB’s role is mainly supervisory, rather than

                                      25   directly active”).

                                      26
                                      27

                                      28           18
                                                        As noted above, the preliminary injunction in Judge Alsup’s case is currently on appeal.
                                                                                             33
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                                       1          DOGE: As plaintiffs rightly note, DOGE “has no statutory authority at all.” Mot. at 37.

                                       2   DOGE was created by Executive Order out of the United States Digital Service, and is housed in

                                       3   the Executive Office of the President. See Exec. Order No. 14158. DOGE therefore could not have

                                       4   been acting pursuant to statutory authority in ordering large-scale RIFs of the workforces at the

                                       5   defendant federal agencies.

                                       6                                                   ***

                                       7          In sum, no statute gives OPM, OMB, or DOGE the authority to direct other federal agencies

                                       8   to engage in large-scale terminations, restructuring, or elimination of itself. Such action is far

                                       9   outside the bounds of any authority that Congress vested in OPM or OMB, and, as noted, DOGE

                                      10   has no statutory authority whatsoever. “[A]n agency literally has no power to act . . . unless and

                                      11   until Congress confers power upon it.” La. Pub. Serv. Comm’n v. F.C.C., 476 U.S. 355, 357 (1986).

                                      12          Plaintiffs are likely to succeed on the merits of their ultra vires claims (Claim Two) against
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                                      13   OPM, OMB, DOGE, and their Directors.

                                      14

                                      15                  2.      APA Claims

                                      16          Plaintiffs also challenge, as violative of the APA: the OMB/OPM Memo; OPM and OMB’s

                                      17   approvals of specific agencies’ ARRPs; and “DOGE’s directives to specific agencies requiring cuts

                                      18   to programs and staffing[.]” Mot. at 37-38. Plaintiffs’ Third through Seventh Claims assert

                                      19   violations of the Administrative Procedure Act against OMB, OPM, DOGE, and their directors,

                                      20   under 5 U.S.C. § 706(2)(A), (C), and (D), and against the federal agency defendants, under 5 U.S.C.

                                      21   § 706(2)(A) and (C).

                                      22          The APA provides, in relevant part, that

                                      23          The reviewing court shall--
                                                  . . . (2) hold unlawful and set aside agency action, findings, and conclusions found to
                                      24
                                                  be--
                                      25          (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
                                                  law;
                                      26          ...
                                                  (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory
                                      27          right;
                                      28          (D) without observance of procedure required by law; . . . .

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                                       1   5 U.S.C. § 706(2).

                                       2

                                       3                           a.      Final Agency Action

                                       4           The APA provides that “[a]gency action made reviewable by statute and final agency

                                       5   action for which there is no other adequate remedy in a court are subject to judicial review.” 5

                                       6   U.S.C. § 704. Because plaintiffs do not allege that any action here was made reviewable by statute,

                                       7   the threshold question is whether the challenged actions constitute “final agency action.” If not, this

                                       8   Court is without subject matter jurisdiction to decide the APA claim. See San Francisco Herring

                                       9   Ass’n v. U.S. Dep’t of Interior, 683 F. App’x 579, 580 (9th Cir. 2017).

                                      10           The Supreme Court has explained that “two conditions must be satisfied for agency action

                                      11   to be ‘final’: First, the action must mark the ‘consummation’ of the agency’s decisionmaking process

                                      12   . . . —it must not be of a merely tentative or interlocutory nature. And second, the action must be
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                                      13   one by which ‘rights or obligations have been determined,’ or from which ‘legal consequences will

                                      14   flow[.]’” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations omitted).        The Supreme Court

                                      15   has “long taken” a “pragmatic approach” to the question what constitutes final agency action. San

                                      16   Francisco Herring Ass’n v. Dep’t of Interior, 946 F.3d 564, 577-78 (9th Cir. 2019) (quoting U.S.

                                      17   Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 599 (2016)).

                                      18           The record presently before the Court indicates that the challenged actions are final agency

                                      19   actions under the APA. While the ultimate impacts of the RIFs may yet be unknown (in part due to

                                      20   defendants’ refusal to publicize the ARRPs), and while certain ARRPs are still awaiting OMB/OPM

                                      21   approval, nowhere do defendants assert that the OMB/OPM Memo itself is subject to change or is

                                      22   in draft form. Nor do any defendants claim that the ARRPs, once approved, may be modified or

                                      23   rescinded. These actions—the issuance of the OMB/OPM Memo and the approvals of the ARRPs—

                                      24   are done and final. See San Francisco Herring Ass’n, 946 F.3d at 578 (“The Park Service does not

                                      25   suggest it is still in the middle of trying to figure out its position on whether it has jurisdiction over

                                      26   the waters [at issue] . . .”). An agency engages in “final” action, for instance, when it “state[s] a

                                      27   definitive position in formal notices, confirm[s] that position orally, and then send[s] officers out

                                      28   into the field to execute on the directive.” Id. at 579.

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                                       1          So have OMB, OPM, DOGE, and their directors done here. The OMB/OPM Memo required

                                       2   agencies to submit Phase 1 ARRPs by March 13 and Phase 2 ARRPs by April 14. As alleged, the

                                       3   ARRPs “are only effectuated by OMB and OPM (and DOGE) approval.” Compl. ¶ 14. The little

                                       4   evidence presented on how the ARRP approval process has actually played out shows that at least

                                       5   one agency (the National Science Foundation) initially submitted an ARRP that “did not include

                                       6   plans for large-scale RIFs” and that OMB, OPM, and DOGE rejected this plan “and directed the

                                       7   agency to implement large-scale RIFs instead.” Decl. Soriano AFGE ¶¶ 8-9. According to a

                                       8   Program Director at the National Science Foundation, “NSF is now following the orders of the

                                       9   DOGE team embedded within the agency and plans to cut its staff of approximately 1,700

                                      10   employees by half.” Id. ¶ 9.19 “It is the imposition of an obligation or the fixing of a legal

                                      11   relationship that is the indicium of finality of the administrative process.” Getty Oil Co. v. Andrus,

                                      12   607 F.2d 253, 256 (9th Cir. 1979). Based on the record to date, the Court finds the OMB/OPM
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                                      13   Memo and OMB/OPM approval of the ARRPs constitute final agency action under the APA.

                                      14          At this time, the Court will refrain from opining on whether DOGE’s actions are subject to

                                      15   review under the APA. The record is less developed as to DOGE’s actions and would benefit from

                                      16   further factual development. Nevertheless, having found above that any actions by DOGE in

                                      17   directing other federal agencies to engage in large-scale RIFs is ultra vires, the Court need not reach

                                      18   the APA question specifically in order for injunctive relief to cover DOGE. See League of

                                      19   Wilderness Defenders/Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 760 &

                                      20   n.3; Cmty. Legal Servs. in East Palo Alto v. United States Dep’t of Health & Human Servs., --- F.

                                      21   Supp. 3d ----, No. 25-cv-2847-AMO, 2025 WL 1233674, at *8 (N.D. Cal. Apr. 29, 2025) (plaintiffs

                                      22   “need only show a likelihood of success on one claim to demonstrate likelihood of success in support

                                      23   of a preliminary injunction”).

                                      24

                                      25

                                      26
                                                  19
                                                      Of course, defendants may offer countervailing evidence at the preliminary injunction
                                      27   stage. At this stage, defendants submitted no evidence in support of their opposition brief. The
                                           Court emphasizes that releasing the ARRPs will be critical to a full understanding of the facts as
                                      28   this case proceeds.

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                                       1                          b.      Merits

                                       2          The Court likewise reserves ruling on the merits of the APA claim asserting arbitrary and

                                       3   capricious action by OPM, OMB, and DOGE (Claim Four) and the APA claims asserted against the

                                       4   federal agency defendants (Claims Six and Seven). As discussed at the hearing, the release of the

                                       5   ARRPs will significantly aid the Court’s review of the merits of these APA claims.

                                       6          Plaintiffs’ Third Claim—that OMB, OPM, DOGE, and their directors violated the APA by

                                       7   taking action not in accordance with law and exceeding statutory authority—overlaps with the

                                       8   analysis of the ultra vires claim. For the same reasons already stated above, plaintiffs have shown

                                       9   a likelihood of success on their claim that at least OPM and OMB are acting outside their statutory

                                      10   authority by directing large-scale layoffs at other federal agencies.

                                      11          Plaintiffs’ Fifth Claim alleges that OMB, OPM, DOGE, and their directors violated the APA

                                      12   by engaging in “rule-making” without publication and opportunity for notice and comment. In their
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                                      13   brief, defendants assert, incorrectly, that OPM has simply promulgated regulations as they are

                                      14   statutorily authorized to do. See Opp’n at 44 (“Congress expressly empowered OMB [sic] to

                                      15   promulgate regulations governing RIFs, and OPM has done just that.”); see also id. at 35 (“the

                                      16   governing statute expressly directs OPM to promulgate regulations governing RIFs . . .”); id. at 1,

                                      17   7-8, 40-41 (citing 5 U.S.C. § 3502).20 OPM did not promulgate regulations here. Promulgating a

                                      18   regulation would have required a public process, including notice and comment under the APA. See

                                      19   5 U.S.C. § 553. This did not occur. Plaintiffs have shown a likelihood of succeeding on their claim

                                      20   that OPM and OMB engaged in rule-making without notice and comment required by the APA, in

                                      21   issuing the February memorandum and in approving the ARRPs.

                                      22

                                      23          B.      Irreparable Harm

                                      24          The Court discussed plaintiffs’ injuries in the standing section above, but in the context of

                                      25

                                      26          20
                                                     5 U.S.C. § 3502 states, in part, that OPM “shall prescribe regulations for the release of
                                           competing employees in a reduction in force which give due effect to-- (1) tenure of employment;
                                      27   (2) military preference . . .; (3) length of service; and (4) efficiency or performance ratings.” 5
                                           U.S.C. § 3502(a).
                                      28

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                                       1   the Winter analysis the Court must also consider whether this injury is irreparable. Plaintiffs assert

                                       2   that constitutional violations constitute irreparable injury, including violations of the separation of

                                       3   powers. Mot. at 48-49. Plaintiffs assert that union members will face irreparable harm when they

                                       4   lose their wages and health benefits and, in some cases, may need to relocate. Id. The Court agrees

                                       5   that these losses constitute irreparable harm and notes that RIF terminations are beginning in less

                                       6   than two weeks at some agencies. As the Ninth Circuit has noted, “[l]ack of timely access to health

                                       7   care poses serious health risks,” especially for individuals with chronic health conditions. Golden

                                       8   Gate Rest. Ass’n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1125 (9th Cir. 2008). Further,

                                       9   facing the potential loss of federal funding, the local government plaintiffs experience irreparable

                                      10   harm when they are forced to plan how to mitigate that loss. See Cnty. of Santa Clara v. Trump,

                                      11   250 F.Supp.3d 497, 537-38 (N.D. Cal. 2017). These plaintiffs cannot recover damages via an APA

                                      12   claim, making their monetary loss irreparable. See California v. Azar, 911 F.3d 558, 581 (9th Cir.
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                                      13   2018).

                                      14            Defendants and their supportive amici states argue from Sampson v. Murray that plaintiffs

                                      15   have not made a sufficient showing of irreparable harm. In Sampson, the Supreme Court considered

                                      16   whether to enjoin the dismissal of a single employee and determined the plaintiff had not made a

                                      17   sufficient showing of irreparable harm “in this type of case,” even though the plaintiff would suffer

                                      18   at least a temporary loss of income. Sampson v. Murray, 415 U.S. 61, 63, 89-90, 92 (1974). But

                                      19   the Court also recognized “that cases may arise in which the circumstances surrounding an

                                      20   employee’s discharge, together with the resultant effect on the employee, may so far depart from

                                      21   the normal situation that irreparable injury might be found.” Id. at 92 n.68. The present case, simply

                                      22   put, is not the same “type of case” as Sampson. The Court here is not considering the potential loss

                                      23   of income of one individual employee, but the widespread termination of salaries and benefits for

                                      24   individuals, families, and communities.

                                      25

                                      26            C.     Balance of Interests

                                      27            The last two factors—assessing the harm to the opposing party and weighing the public

                                      28   interest—“merge when the Government is the opposing party.” Nken, 556 U.S. at 435. In this

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                                       1   context, these factors require the Court to ask whether pausing the government’s large-scale RIFs

                                       2   and reorganizations harms the government more than it benefits the plaintiffs. Defendants argue,

                                       3   primarily, that there is no public interest in injunctive relief because its actions are lawful. Opp’n

                                       4   at 48. This argument fails, as the Court has found it likely that defendants’ actions are not lawful.

                                       5   Notably, defendants do not argue that the government would suffer by a temporary preservation of

                                       6   the status quo, although their amici states take up the banner. Id.; Dkt. No. 71-1 (“The President

                                       7   suffers harm when he is unable to exercise his Article II powers.”). The Court notes again that its

                                       8   order does not prevent the President from exercising his Article II powers, it prevents him from

                                       9   exercising Congress’ Article I powers.

                                      10          The Court finds that temporary relief as ordered below would serve the public interest,

                                      11   because “[t]here is generally no public interest in the perpetuation of unlawful agency action. To the

                                      12   contrary, there is a substantial public interest in having governmental agencies abide by the federal
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                                      13   laws that govern their existence and operations.” See League of Women Voters of United States v.

                                      14   Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal quotation marks and citations omitted).

                                      15

                                      16   V.     Scope of Remedy and Order

                                      17          Providing relief beyond the named parties is appropriate where necessary to provide relief

                                      18   to the named parties. Bresgal v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987). The Court has

                                      19   found that plaintiffs are likely to succeed on the merits of their challenges to Executive Order 14210,

                                      20   the OMB/OPM Memorandum, and OMB/OPM’s approval of the ARRPs. The Court acknowledges

                                      21   that its temporary restraining order as detailed below will provide relief beyond the named parties,

                                      22   but to do otherwise is impracticable and unworkable, particularly where the agencies’ RIF plans

                                      23   largely remain secret. To be clear, the Court has not ruled on whether plaintiffs are likely to succeed

                                      24   on their APA claims regarding individual agency ARRPs, but finds it necessary to temporarily

                                      25   enjoin further implementation of those plans because they flow from likely illegal directives.

                                      26   Moreover, since the Court requires more information to evaluate the individual ARRPs and what

                                      27   roles OMB, OPM, and DOGE have played in shaping them, it will order their disclosure under the

                                      28   Court’s inherent powers to manage discovery.         The Court finds it appropriate to order this

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                                       1   production on an expedited discovery basis. The timelines required to be in the ARRPs will be

                                       2   particularly useful to the Court as it determines whether further prompt action is necessary.

                                       3          Holding that the President, OMB, OPM, and DOGE have exceeded their authority naturally

                                       4   raises the question of precisely where the line should be drawn between executive and legislative

                                       5   authority over agency reorganization. But as Chief Justice Roberts once wrote, in certain cases

                                       6   “[w]e have no need to fix a line . . . . It is enough for today that wherever that line may be, this

                                       7   [action] is surely beyond it.” See Nat’l Fed’n of Indep. Bus., 567 U.S. at 585.

                                       8          For the foregoing reasons and for good cause shown, the Court therefore ORDERS as

                                       9   follows:

                                      10                  IT IS HEREBY ORDERED that, pending consideration of a
                                                          preliminary injunction, the agency defendants (as delineated below)
                                      11                  and their officers or employees or any other individuals acting under
                                                          their authority or the authority of the President are hereby enjoined
                                      12                  and/or stayed from taking any actions to implement or enforce
    Northern District of California




                                                          sections 3(c) and 3(e) of Executive Order 14210 or the February 26,
     United States District Court




                                      13                  2025 OMB/OPM Memorandum, including but not limited to:
                                                          (1) any further approval of ARRPs or waivers of statutorily-mandated
                                      14                  RIF notice periods by OMB and OPM;
                                      15                  (2) any further orders by DOGE to agencies to cut programs or staff
                                                          in conjunction with implementing the Executive Order, the
                                      16                  OMB/OPM Memorandum, or the ARRPs;
                                                          (3) any further implementation of the Executive Order, the
                                      17                  OMB/OPM Memorandum, or ARRPs by Federal Agency
                                                          Defendants, including but not limited to: execution of any existing
                                      18                  RIF notices (including final separation of employees), issuance of any
                                                          further RIF notices, placement of employees on administrative leave,
                                      19                  and transfer of functions or programs between the agency defendants.
                                      20                  This restraining order shall last fourteen days, through Friday, May
                                                          23, 2025, unless the Court finds good cause to extend it. See Fed. R.
                                      21                  Civ. P. 65(b)(2). The restraining order shall apply to the following
                                                          defendant agencies: OMB, OPM, DOGE, USDA, Commerce,
                                      22                  Energy, HHS, HUD, Interior, Labor, State, Treasury, Transportation,
                                                          VA, AmeriCorps, EPA, GSA, NLRB, NSF, SBA, and SSA.
                                      23                  IT IS FURTHER ORDERED that, good cause having been shown
                                                          pursuant to Federal Rule of Civil Procedure 26(d), OMB and OPM
                                      24                  must provide to the Court and to Plaintiffs (1) the versions of all
                                                          defendant agency ARRPs submitted to OMB and OPM, (2) the
                                      25                  versions of all defendant agency ARRPs approved by OMB and
                                                          OPM, (3) any agency applications for waivers of statutorily-mandated
                                      26                  RIF notice periods, and (4) any responses by OMB or OPM to such
                                                          waiver requests, by 4:00 p.m. (PDT) on Tuesday, May 13, 2025.
                                      27
                                                          IT IS FURTHER ORDERED that, by 3:00 p.m. (PDT) on Tuesday,
                                      28                  May 13, 2025, defendants shall serve and file a declaration(s)

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                                                          verifying that they have complied with this Order, including serving
                                       1                  a copy of this order on every defendant agency head, and detailing
                                                          what additional steps, if any, they have taken to comply.
                                       2

                                       3
                                           VI.    Rule 65(c) Security
                                       4
                                                  Rule 65(c) of the Federal Rules of Civil Procedure provides that a district court “may issue
                                       5
                                           a preliminary injunction or a temporary restraining order only if the movant gives security in an
                                       6
                                           amount that the court considers proper to pay the costs and damages sustained by any party found
                                       7
                                           to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). The district court retains
                                       8
                                           discretion “as to the amount of security required, if any.” Johnson v. Couturier, 572 F.3d 1067,
                                       9
                                           1086 (9th Cir. 2009) (internal quotation marks and citations omitted).
                                      10
                                                  The government has requested that the Court require plaintiffs give security in an amount
                                      11
                                           “commensurate to the salaries and benefits the government must pay for any employees it would
                                      12
    Northern District of California




                                           prefer to separate from federal service but is unable to for the duration of any preliminary relief.”
     United States District Court




                                      13
                                           Opp’n at 50.21 The Court notes, first, that defendants have not provided support for security in any
                                      14
                                           fixed amount, and the Court cannot establish such an amount without the ARRPs or some other
                                      15
                                           evidence showing the comprehensive RIF plans.22 Second, the Court finds there is significant public
                                      16
                                           interest underlying this action, particularly in light of the constitutional claims raised. See Taylor-
                                      17
                                           Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095, 1102-03 (D. Haw. 2015) (citing Save Our Sonoran,
                                      18
                                           Inc. v. Flowers, 408 F.3d 1113, 1126 (9th Cir. 2005)). Although defendants allege they will incur
                                      19
                                           costs for retaining federal employees that they would prefer to separate, Opp’n at 50, so too will the
                                      20
                                           government incur costs if the RIFs are implemented hastily and unlawfully. See, e.g., Compl., Ex.
                                      21

                                      22          21
                                                      On March 11, 2025, President Trump issued a memorandum for the heads of executive
                                      23   departments and agencies, stating that the policy of the United States is to demand the posting of a
                                           bond when a plaintiff seeks an injunction against the federal government. Donald J. Trump,
                                      24   Ensuring the Enforcement of Federal Rule of Civil Procedure 65(c), The White House (Mar. 11,
                                           2025),     https://www.whitehouse.gov/presidential-actions/2025/03/ensuring-the-enforcement-of-
                                      25   federal-rule-of-civil-procedure-65c/ [https://perma.cc/GF6W-9MPE].
                                                   22
                                                      On April 10, 2025, a group of United States Senators sent a letter to the heads of OPM
                                      26   and OMB requesting, among other things, copies of the Phase 1 and Phase 2 ARRPs submitted to
                                           OPM and OMB, the impact of the RIFs relating to costs or savings to agency budgets, and the
                                      27   number of people placed on administrative leave. See Dkt. No. 1-3, Compl., Ex. C. Although the
                                           Senators requested a response by April 21, at the hearing in this case government counsel could not
                                      28   confirm whether a response has issued.

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                                       1   C at 2 (defendant Kennedy stating, with regard to April terminations of HHS employees:

                                       2   “[p]ersonnel that should not have been cut were cut . . . that was always the plan . . . we’re going

                                       3   to do 80% cuts, but 20% of those are going to have to be reinstated, because we’ll make mistakes.”).

                                       4   At this time, the Court waives the requirement that plaintiffs post a bond.

                                       5

                                       6                                             CONCLUSION

                                       7          The Court concludes where it began. The President has the authority to seek changes to

                                       8   executive branch agencies, but he must do so in lawful ways and, in the case of large-scale

                                       9   reorganizations, with the cooperation of the legislative branch. Many presidents have sought this

                                      10   cooperation before; many iterations of Congress have provided it. Nothing prevents the President

                                      11   from requesting this cooperation—as he did in his prior term of office. Indeed, the Court holds the

                                      12   President likely must request Congressional cooperation to order the changes he seeks, and thus
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                                      13   issues a temporary restraining order to pause large-scale reductions in force in the meantime.

                                      14          A temporary restraining order is, by definition, temporary. The Court will not consider

                                      15   defendants’ request for a stay of execution of the temporary restraining order, as doing so would

                                      16   render the exercise pointless. The Court must promptly proceed to consideration of a preliminary

                                      17   injunction.

                                      18          Plaintiffs’ motion for a preliminary injunction shall be filed no later than Wednesday, May

                                      19   14, 2025 at 4:00 p.m. (PDT) and shall not exceed 25 pages; defendants’ opposition is due by

                                      20   Monday, May 19, 2025 at 4:00 p.m. (PDT) and shall not exceed 25 pages. The Court shall hold a

                                      21   preliminary injunction hearing in person on Thursday, May 22, 2025 at 10:30 a.m.

                                      22

                                      23          IT IS SO ORDERED.

                                      24   Dated: May 9, 2025

                                      25                                                    ______________________________________
                                                                                            SUSAN ILLSTON
                                      26                                                    United States District Judge
                                      27

                                      28

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       13
       14                                 UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
       15                                    SAN FRANCISCO DIVISION
       16
       17   AMERICAN FEDERATION OF
            GOVERNMENT EMPLOYEES, et al.
       18
                      Plaintiffs,                                      Case No. 3:25-cv-03698-SI
       19
                              v.
       20                                                DEFENDANTS’ MOTION FOR A
            DONALD J. TRUMP, in his official capacity as PROTECTIVE ORDER OR IN THE
       21                                                ALTERNATIVE FOR
            President of the United States, et al.,
       22                                                RECONSIDERATION AND REQUEST
                     Defendants.                         FOR AN IMMEDIATE
       23                                                ADMINISTRATIVE STAY;
                                                         MEMORANDUM OF POINTS AND
       24
                                                         AUTHORITIES
       25
       26
       27           Defendants respectfully move, pursuant to Federal Rules of Civil Procedure 26(c)(1) and

       28   59(e), for either a protective order relating to or reconsideration of the Court’s order that Agency


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
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        1   RIF and Reorganization Plans (ARRPs) submitted to the Office of Management and Budget
        2   (OMB) and Office of Personnel Management (OPM) be disclosed by Tuesday, May 13 at 4:00
        3   p.m. Pacific Time (Disclosure Order). Defendants respectfully request that the Court rescind the
        4   requirement that Defendants produce these documents, either by issuing a protective order or
        5   reconsidering the Disclosure Order. At the very least (and although Defendants would still seek
        6   relief from the Court of Appeals from any such modified order), Defendants respectfully ask the
        7   Court to enter a protective order restricting any produced ARRPs to Plaintiffs’ counsel and
        8   prohibiting Plaintiffs’ counsel from further disclosing the ARRPs (including to their clients).
        9   Further, Defendants also request an immediate administrative stay of the Disclosure Order while
       10   the Court considers this motion and, if the Court denies this motion, a seven-day administrative
       11   stay to allow for orderly briefing in the Court of Appeals. Given the imminence of the deadline,
       12   Defendants also intend to seek mandamus relief from the Disclosure Order in the Ninth Circuit
       13   tomorrow morning, as well as an immediate administrative stay from that Court. Defendants do
       14   not through this motion seek a stay of the Court’s order granting a temporary restraining order
       15   (TRO). 1 Defendants are seeking a stay of that order from the Ninth Circuit. But this Court already
       16   denied a motion to stay its injunctive order, and Defendants have appealed that order.2
       17           Defendants emailed counsel for Plaintiffs at 1:26 pm Pacific Time today to obtain their
       18   position on this motion but, as of the filing of this motion, Defendants have not received a response.
       19   Due to the urgency of this motion, Defendants are filing this motion now. 3
       20
            1 To be clear, Defendants do not accept that this order is properly characterized as a TRO, see
       21   Sampson v. Murray, 415 U.S. 61, 86-87 (1974), but for ease of reference, Defendants will refer to
            it as a TRO here..
       22
            2 The Court has jurisdiction to enter the relief requested. The Court issued two orders in one
       23   document (the TRO and the Disclosure Order), and Defendants are appealing only the former. And
       24   even if the Disclosure Order were before the Court of Appeals, at most, this Court would be
            divested of jurisdiction to quash that Order; it would not be divested of the authority to impose a
       25   protective order, in the same way a district court can still grant a full or partial stay of a preliminary
            injunction that has been appealed.
       26
            3 Defendants acknowledge that this Court’s Local Rules provide that party must obtain leave of

       27   Court prior to filing a reconsideration motion. Defendants are filing this motion now given the
            exigent circumstances and to give the Court a reasonable opportunity to rule on the motion before
       28
            the Tuesday deadline.

            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
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        1                                                   ARGUMENT
        2            Upon a party’s showing of “good cause,” courts may issue protective orders to “protect a
        3   party or person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed.
        4   R. Civ. P. 26(c)(1). A district court has “broad discretion” to decide “when a protective order is
        5   appropriate and what degree of protection is required,” Seattle Times Co. v. Rhinehart, 467 U.S.
        6   20, 36 (1984). A court may also grant a motion for reconsideration “(1) if such motion is necessary
        7   to correct manifest errors of law or fact upon which the judgment rests; (2) if such motion is
        8   necessary to present newly discovered or previously unavailable evidence; (3) if such motion is
        9   necessary to prevent manifest injustice; or (4) if the amendment is justified by an intervening
       10   change in controlling law.” Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). “A
       11   court considering a Rule 59(e) motion is not limited merely to these four situations.” Id.
       12            The Court should either grant Defendants a protective order from the obligation to disclose
       13   the ARRPs or reconsider the Disclosure Order because the ARRPs are privileged pre-decisional
       14   and deliberative agency planning documents. They also contain significant, highly sensitive
       15   information the disclosure of which will irreparably harm OPM, OMB, and the Defendant
       16   Agencies, harm that cannot be undone once the documents are disclosed. Defendants submit that
       17   the Court’s grant of this extraordinary relief was both substantively and procedurally erroneous.
       18   And although the Court need not consider this separate question to grant the relief requested, the
       19   ARRPs are also simply irrelevant to future proceedings in this Court, and at the very least no one
       20   will be irreparably harmed by granting relief from disclosure (let alone by a brief administrative
       21   stay).
       22            I.      The ARRPs are Privileged
       23            “Federal law recognizes a privilege for pre-decisional, non-factual, non-public
       24   communications occurring within federal agencies.” United States v. Irvin, 127 F.R.D. 169, 172
       25   (C.D. Cal.1989). This deliberative process privilege protects confidential exchanges of opinions
       26   and advice within the executive branch of government. Mansourian v. Bd. of Regents of Univ. of
       27   Cal. at Davis, No. CIVS 03-2591 FCD EFB, 2007 WL 4557104, at *4 (E.D. Cal. Dec. 21, 2007).
       28   Its purpose “is to prevent injury to the quality of agency decisions by ensuring that the frank


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
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        1   discussion of legal or policy matters in writing, within the agency, is not inhibited by public
        2   disclosure.” Maricopa Audubon Soc’y v. U.S. Forest Service, 108 F.3d 1089, 1092 (9th Cir. 1997)
        3   (quoting NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 148 (1975)) (internal quotations omitted).
        4   “The deliberative process privilege is designed to allow agencies to freely explore possibilities,
        5   engage in internal debates, or play devil’s advocate without fear of public scrutiny.” Thomas v.
        6   Cate, 715 F. Supp. 2d 1012, 1019 (E.D. Cal. 2010). “To fall within the deliberative process
        7   privilege, a document must be both ‘predecisional’ and ‘deliberative.’” Carter v. U.S. Department
        8   of Commerce, 307 F.3d 1084, 1089 (9th Cir. 2002). The ARRPs satisfy both requirements.4
        9           The ARRPs are predecisional. “A predecisional document is one prepared in order to assist
       10   an agency decisionmaker in arriving at his decision.” Assembly of State of Cal. v. U.S. Dep’t of
       11   Com., 968 F.2d 916, 920 (9th Cir. 1992) (quotation marks omitted). That is satisfied here. For one,
       12   as explained in the attached declaration, ARRPs are “subject to change at any moment as the
       13   agency’s needs, missions, and staffing evolve or as new leadership joins an agency.” Declaration
       14   of Stephen M. Billy ¶ 5 (Decl.). An ARRP is never final and may change drastically as the agency’s
       15   priorities and thinking changes. Id. ¶ 6. “Indeed, the non-final and frequently changing nature of
       16   ARRPs is one of the reasons OMB and OPM requested that the agencies submit monthly progress
       17   reports in May, June, and July.” Id. Nothing in an ARRP irrevocably commits an agency to taking
       18   any specific step. Id. ¶ 5. But in addition, the ARRPs have many recommendations distinct from
       19   specific RIFs. Id. ¶ 3; see also TRO Opposition at 15-16 (summarizing information to be included
       20   in Phase 1 and Phase 2 ARRPs). They typically include plans for changes that would take place
       21   many years in the future, if at all. Decl. ¶ 3.
       22
            4 The privilege is qualified and may be overcome if a litigant’s “need for the materials and the
       23
            need for accurate fact-finding override the government’s interest in non-disclosure.” FTC v.
       24   Warner Communc’ns, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984) (per curiam). In assessing a claim
            under the privilege, a court must consider “1) the relevance of the evidence; 2) the availability of
       25   other evidence; 3) the government’s role in the litigation; and 4) the extent to which disclosure
       26   would hinder frank and independent discussion regarding contemplated policies and decisions.”
            Id. The Court conducted no such analysis here before ordering disclosure. And Defendants would
       27   prevail in any such analysis since the ARRPs contain significant highly sensitive information,
            while, on the other hand, they bear no relevance to this action globally challenging implementation
       28
            of the Executive Order and Workforce Memorandum.

            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
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        1           They are also deliberative. “A predecisional document is a part of the deliberative process,
        2   if the disclosure of the materials would expose an agency’s decisionmaking process in such a way
        3   as to discourage candid discussion within the agency and thereby undermine the agency’s ability
        4   to perform its functions.” Carter, 307 F.3d at 1089. The foregoing discussion demonstrates why
        5   that requirement is clearly satisfied here. As the Workforce Memorandum and Declaration both
        6   make clear, Phase 1 and Phase 2 ARRPs contain a significant amount of information concerning
        7   the agencies’ future plans and strategies, not all of which will actually be acted upon, at least not
        8   right away. And as discussed further in the next section, that information is highly sensitive,
        9   concerning plans and strategies in a number of core areas. See infra p. 6.
       10            The Court’s opinion appears to reflect fundamental misconceptions about ARRPs. First,
       11   the Court suggested that ARRPs are set in stone following a single discrete event (their “approval”
       12   by OPM/OMB). See TRO Opinion at 35. As explained above, that is incorrect. See supra p. 4; see
       13   also Decl. ¶ 5 (“Nothing in an ARRP, or its review or approval by OPM or OMB, binds the agency
       14   to any particular course of action.”). As a formal matter, ARRPs are always subject to change
       15   based on, among other things, intervening events and changes in the agency’s thinking. The
       16   Court’s opinion, relatedly, appears to rest on a mistaken understanding that the only content in
       17   ARRPs concerns upcoming RIFs and other related subjects directly tied to the TRO decision,
       18   essentially analogizing the ARRPs to an administrative record for imminent RIFs. See TRO
       19   Opinion at 35 (“While the ultimate impacts of the RIFs may yet be unknown (in part due to
       20   defendants’ refusal to publicize the ARRPs)…”). Again, as discussed above, that is mistaken. The
       21   ARRPs are extensive long- and intermediate-term agency planning documents containing the
       22   agencies’ detailed analysis, plans, and strategies on a range of regulatory, legislative, and
       23   organizational subjects. See supra p. 4; infra p. 6.
       24           II.      Disclosure of the ARRPs would Irreparably Harm the Government
       25           Publication of confidential documents is irreversible. “[O]nce a secret is revealed, there is
       26   nothing for [a court order] to protect.” Ace Am. Ins. Co. v. Wachovia Ins. Agency Inc., 306 F. App’x
       27   727, 732 (3d Cir. 2009). A party erroneously required to disclose privileged materials or
       28   communications” is likely to suffer irreparable harm. See Admiral Ins. Co. v. U.S. Dist. Ct., 881


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
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        1   F.2d 1486, 1491 (9th Cir. 1989) (collecting cases). “[A]n order that information be produced that
        2   brushes aside a litigant’s claim of a privilege not to disclose, leaves only an appeal after judgment
        3   as a remedy. Such a remedy is inadequate at best. Compliance with the order destroys the right
        4   sought to be protected.” In re von Bulow, 828 F.2d 94, 98 (2d Cir. 1987). If Defendants are required
        5   to disclose the ARRPs on Tuesday, there can be no putting that toothpaste back in the tube. That
        6   is quintessential irreparable harm.
        7           The irreparable harm to the government would be particularly severe here given the
        8   contents of the ARRPs, which “include highly sensitive information that would seriously
        9   undermine agency operations if they were released.” Decl. ¶ 4. This “information includes
       10   strategies for agency negotiations with unions; plans and strategies for personnel reorganization
       11   that may or may not materialize, but might seriously hurt agency recruitment and retention if
       12   released; plans and strategies regarding present and future regulatory changes; plans and strategies
       13   for present and future appropriations requests; plans and strategies for congressional engagement;
       14   and plans and strategies for agency IT management.” Id.
               III.    The Disclosure Order is Substantively and Procedural Flawed and Highly Unfair
       15
                       to the Government
       16           The Court should not require the Government to hand over this massive trove of
       17   information and suffer this grave and irreparable harm in this highly expedited context. Based on
       18   its opinion, however, the Court may be of the view that the Government did not adequately oppose
       19   Plaintiffs’ supposed discovery request. See TRO Opinion at 35 (“Nor do any defendants claim that
       20   the ARRPs, once approved, may be modified or rescinded.”). Respectfully, that is not the case,
       21   and there is no basis for the Court’s grant of this extraordinary relief.
       22           Initially, the Court did not even have before it a proper motion for discovery. The caption
       23   to Plaintiffs’ motion did not indicate that Plaintiffs were seeking discovery. Compare TRO Motion
       24   (“Motion for Temporary Restraining Order and Order to Show Cause”), with TRO Decision
       25   (“Order Granting Temporary Restraining Order and Compelling Certain Discovery Production.”).
       26   Plaintiffs also did not follow any of the local rule requirements for resolving discovery and
       27   disclosure disputes. See Local Rule 37-1. When counsel for Plaintiffs emailed counsel for
       28   Defendants to obtain a position on their emergency motion and proposed schedule, they did not

            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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        1   indicate that the motion would seek discovery. 5 Nor did Plaintiffs attempt to serve Defendants
        2   with discovery requests, and Defendants never had a chance to make formal objections to any such
        3   request.
        4           Putting those procedural defects aside, Plaintiffs provided no meaningful legal basis for
        5   these materials to be released. Indeed, the entire basis for Plaintiffs’ demand that the ARRPs be
        6   produced in their TRO Brief was a postcard conclusory statement at the bottom of page 50 of their
        7   51-page brief, in which they made no attempt to establish that the ARRPs were non-privileged and
        8   otherwise subject to disclosure. In that context—a TRO briefing posture, where the government
        9   had only three business days to respond to Plaintiffs’ 51-page brief backed by nearly 1,400 pages
       10   of exhibits—Defendants were not required to treat this conclusory and procedurally improper
       11   request as effectively requiring the type of response they would have provided in formal discovery
       12   objections and responses. Rather, Defendants quite appropriately pointed out that Plaintiffs had
       13   provided no legal basis for this request. TRO Opposition at 48.
       14           Notwithstanding all of this, the government explained that “the ARRPs are deliberative
       15   agency planning documents that discuss a number of steps the agency plans to take t[o] … improve
       16   the agency’s efficiency, as well as to focus on statutorily required functions activities that directly
       17   serve the public.” ECF No. 60 at 21. Such documents, “which reflect the agency’s group thinking
       18   in the process of working out its policy,” are definitionally deliberative materials shielded from
       19   disclosure. See NLRB. v. Sears, Roebuck & Co., 421 U.S. 132, 153 (1975). And the Workforce
       20   Memorandum itself and the Government’s extensive discussion of it made clear that ARRPs
       21   contain significant information about the agency’s long term strategies and recommendations. See
       22   supra p. 4; TRO Opposition at 15-16. But without addressing those concerns or purporting to
       23   engage in balancing analysis, this Court concluded that Plaintiffs had shown “good cause” under
       24
            5 The substantive text of that email is as follows: “We are writing to inform you that Plaintiffs in
       25   the above-referenced case will tomorrow be filing a motion for temporary restraining order and to
       26   show cause why a preliminary injunction should not issue. We intend to ask the Court to set a
            deadline for the government’s response of Monday, and will ask for a hearing as soon as possible
       27   next week. Please let me know whether Defendants will consent to this schedule on the TRO. We
            will be asking the Court for additional pages on the memorandum in support of the TRO motion,
       28
            of up to 50 pages. Please let us know if Defendants will consent.”

            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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        1   Federal Rule of Civil Procedure 26(d), and then ordered the government to produce the Plans and
        2   other documents by 4:00 p.m. PDT on Tuesday, May 13.
        3             That analysis is plainly inadequate to dispense with the privilege. In Karnoski v. Trump,
        4   the Ninth Circuit issued a writ of mandamus vacating discovery orders because the district court
        5   did not perform a sufficiently “granular” balancing analysis before holding that the plaintiffs in
        6   that case had overcome the deliberative process privilege. 926 F.3d 1180, 1206 (9th Cir. 2019)
        7   (per curiam) (“The district court appears to have conducted a single deliberative process privilege
        8   analysis covering all withheld documents, rather than considering whether the analysis should
        9   apply differently to certain categories.”); see also id. at 1195 (order covered 15,000 documents).
       10   Here, the problem is not that the Court’s analysis was too vague, but that it conducted no analysis
       11   at all.
       12             Indeed, the scope of the disclosure the Court ordered exceeds even what Plaintiffs sought
       13   in their motion. See ECF No. 37-3 (requesting only “current versions” of the Plans). Plaintiffs first
       14   asked for “waivers” of the 60-day RIF notice period at the end of the live hearing, and they never
       15   asked for “agency applications for waivers” at all. Tr. at 43.
       16             IV.    The ARRPs Are Not Relevant to Future Proceedings before this Court
       17             Given the foregoing, the Court should grant a protective order or reconsider the Disclosure
       18   Order. To grant either form of relief, the Court need not decide whether disclosure of the ARRPs
       19   could be required or should be required in the future. The Court could simply order briefing on
       20   whether the ARRPs should be withheld and the applicability of privileges.
       21             In any event, Defendants respectfully submit that the ARRPs are not relevant to the
       22   preliminary injunction proceedings this Court intends to conduct in the coming weeks—and
       23   certainly no party would be irreparably harmed by the relief the Government seeks here. The Court
       24   enjoined all implementation of the Workforce Executive Order and Workforce Memorandum, as
       25   to all the 21 components against which Plaintiffs sought a TRO. TRO Decision at 40. And the
       26   Court clearly held that both the Workforce Executive Order and the Workforce Memorandum were
       27   ultra vires. TRO Opinion at 26-34. It is unclear how the contents of the ARRPs could affect the
       28


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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        1   conclusions the Court reached in issuing the TRO—since the Court held that the Workforce
        2   Executive Order and Workforce Memorandum cannot be lawfully implemented.
        3           The Court also stated that “the release of the ARRPs will significantly aid the Court’s
        4   review of the merits of” the claims that individual ARRPs are arbitrary and capricious. TRO
        5   Opinion at 37. But Plaintiffs’ arbitrary-and-capricious claims were directly tied to the Workforce
        6   Executive Order and Workforce Memorandum. Plaintiffs did not make freestanding claims that
        7   particular ARRPs violated the APA for reasons independent of these sources—for example, that
        8   particular elements of the ARRPs flunked the arbitrary-and-capricious standard. And any such
        9   fact-bound claim directed at individual ARRPs would of course not provide any basis for enjoining
       10   implementation of the Executive Order and Memorandum, let alone enjoining its implementation
       11   virtually government-wide. In short, no matter how detailed or well-supported the ARRPs may be,
       12   the Court’s opinion indicates that the Court believes they are tainted by an unlawful Executive
       13   Order and Memorandum. True, the Court framed all of its merits conclusions in terms of
       14   “likelihood of success” and Defendants obviously hope that the Court reconsiders these legal
       15   conclusions (which Defendants respectfully submit are mistaken) at a later stage of the case. But
       16   if the Court adheres to its legal conclusion that the Executive Order and Memorandum are
       17   themselves unlawful, an analysis of specific ARRPs would not appear to in any way change those
       18   conclusions.
       19           Even if this Court had conducted a balancing analysis, the deliberative privilege would not
       20   be overcome. Plaintiffs allege that the President has called for “large scale” changes to agencies
       21   and that the separation of powers forbids him from so reforming federal agencies absent express
       22   statutory authorization. Plaintiffs’ claim thus does not turn on the specific Plans agencies have
       23   prepared. Indeed, Plaintiffs do not challenge any Plan at all. Rather, they challenge the President’s
       24   authority to ask agencies to prepare Plans and OPM and OMB’s ability to offer guidance on what
       25   those documents should contain. Because the content of the ARRPS is legally irrelevant to the
       26   claims as pled, Plaintiffs are not entitled to these ARRPs, and the Court erred in concluding
       27   otherwise.
       28


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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                    V.       At a minimum, the Court Should Grant a Protective Order Restricting
        1                    Disclosure of the ARRPs to the Court and Plaintiffs’ Counsel
        2           At the very least, Defendants ask that its disclosure obligation be restricted to only
        3   Plaintiffs’ counsel; this smaller disclosure would obviate some of the most significant harms to
        4   Defendants of having their deliberative work-product made public. The Court should accordingly
        5   direct any ARRPs to be filed under seal and should enter a protective order directing that Plaintiffs’
        6   counsel may not disclose the ARRPs to anyone else (including their clients). Such limited relief
        7   would not eliminate the chilling effect created by disclosures of deliberative materials, nor would
        8   it justify disregarding the government’s interest in maintaining the documents’ confidentiality. Cf.
        9   Perry v. Schwarzenegger, 591 F.3d 1147, 1163-64 (9th Cir. 2009) (granting defendants’
       10   mandamus petition and overruling a district court’s order compelling the defendants to produce
       11   documents whose disclosure threatened to “inhibi[t] internal campaign communications that are
       12   essential to effective association and expression,” while emphasizing that “[a] protective order
       13   limiting dissemination of this information will ameliorate but cannot eliminate these threatened
       14   harms”). And it would not cure the procedural and substantive flaws associated with the Court’s
       15   Disclosure Order discussed in detail above. But it would temper some of the effects of the
       16   disclosure that are most likely to hinder agency operations.
       17
                    VI.      The Court Should Grant an Immediate Administrative Stay
       18
                    Given the pending Tuesday, May 13 deadline, and the grave and irreversible injury to the
       19
            government associated with the disclosure of the ARRPs, Defendants respectfully request that the
       20
            Court rule on this motion as soon as possible and to grant an immediate administrative stay of the
       21
            Disclosure Order. Given the imminence of the deadline, Defendants also intend to seek mandamus
       22
            relief from the Disclosure Order in the Ninth Circuit tomorrow morning, as well as an immediate
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            administrative stay from that Court. Defendants will promptly inform this Court of any relevant
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            developments in the Ninth Circuit.
       25
                                                           CONCLUSION
       26
                    For the foregoing reasons, the Court should relieve Defendants of the obligation to produce
       27
            the ARRPs, and grant an immediate administrative stay while it considers this motion.
       28


            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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            Dated: May 11, 2025                                 Respectfully submitted,
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            Defendants’ Motion for a Protective Order or in the Alternative for Reconsideration and Request for an Immediate
            Administrative Stay
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                                         UNITED STATES DISTRICT COURT
       15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                            SAN FRANCISCO DIVISION
       16
       17                                                 Case No. 3:25-cv-03698-SI
            AMERICAN FEDERATION OF
       18   GOVERNMENT EMPLOYEES, et al.
                                                          DECLARATION OF STEPHEN M. BILLY
       19            Plaintiffs,
       20                     v.
       21   DONALD J. TRUMP, et al.,
       22
                      Defendants.
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            Declaration of Stephen M. Billy           Add.420
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        1           I, Stephen M. Billy, declare, pursuant to 28 U.S.C. § 1746, as follows:
        2           1.       I currently serve as a Senior Advisor for the Office of Management and Budget
        3   (OMB), Executive Office of the President. I have occupied this position since January 24, 2025.
        4           2.       The portion of the Court’s Order requiring disclosure of all Defendant Agency
        5   Reorganization and RIF Plans (ARRPs) will irreparably harm OMB, the U.S. Office of Personnel
        6   Management (OPM), and Defendant Agencies if it is not quashed.
        7           3.       ARRPs are distinct from actual RIFs. ARRPs have many recommendations distinct
        8   from plans for specific RIFs. They typically include plans for changes that would take place many
        9   years in the future, if those changes take place at all.
       10           4.       ARRPs include highly sensitive information that would seriously undermine
       11   agency operations if they were released. Such information includes strategies for agency
       12   negotiations with unions; plans and strategies for personnel reorganization that may or may not
       13   materialize, but might seriously hurt agency recruitment and retention if released; plans and
       14   strategies regarding present and future regulatory changes; plans and strategies for present and
       15   future appropriations requests; plans and strategies for congressional engagement; and plans and
       16   strategies for agency IT management.
       17           5.       In addition to containing significant amounts of sensitive information, ARRPs are
       18   deliberative in nature, subject to change at any moment as the agency’s needs, missions, and
       19   staffing evolve or as new leadership joins an agency. Nothing in an ARRP, or its review or
       20   approval by OPM or OMB, binds the agency to any particular course of action.
       21           6.       No ARRP is ever “final.” ARRPs are living documents that are always subject to
       22   change as agency needs and circumstances may dictate, or simply due to an agency rethinking or
       23   reconsidering an issue. They may change drastically as a result of new leadership joining an
       24   agency, as agency officials are confirmed by the Senate to their posts. Indeed, the non-final and
       25   frequently changing nature of ARRPs is one of the reasons OMB and OPM requested that the
       26   agencies submit monthly progress reports in May, June, and July.
       27           7.       ARRPs are internal agency planning documents that lack any immediate force or
       28   effect. They were developed thoughtfully and carefully by agencies, and invariably include the


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        1   agency’s close consideration of its own statutory functions and authorities and its own long-term
        2   workforce planning needs.
        3           8.       In many cases, ARRPs include ideas for reforms aimed at improving agency
        4   efficiency in delivering services to the American taxpayer—but those reforms, again, frequently
        5   reflect the agency’s current thinking involving potential changes that may or may not take place
        6   in the intermediate or distant future, and are always subject to change for any reason.
        7           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
        8   and correct based on my personal knowledge.
        9   Dated: May 11, 2025
       10
       11
       12                                          /s/ Stephen M. Billy
                                                     Stephen M. Billy
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            Declaration of Stephen M. Billy
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       14                               UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
       15                                  SAN FRANCISCO DIVISION
       16
       17   AMERICAN FEDERATION OF
            GOVERNMENT EMPLOYEES, et al.
       18
                    Plaintiffs,                                  Case No. 3:25-cv-03698-SI
       19
                            v.
       20                                                        NOTICE
            DONALD J. TRUMP, in his official capacity as
       21   President of the United States, et al.,
       22
                     Defendants.
       23
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       25
                   In Defendants’ motion filed earlier this evening, Defendants stated that “Defendants
       26
            emailed counsel for Plaintiffs at 1:26 pm Pacific Time today to obtain their position on this motion
       27
            but, as of the filing of this motion, Defendants have not received a response. Due to the urgency
       28
            of this motion, Defendants are filing this motion now.” Undersigned counsel has since learned that



                                                        Add.423
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        1   Plaintiffs did respond but that they responded to a Department of Justice email address for the
        2   undersigned as to which undersigned counsel has temporarily lost access. Undersigned counsel
        3   sincerely regrets this error. Undersigned counsel has since conferred with Plaintiffs. Plaintiffs state
        4   that they intend to file an opposition Tuesday and do not oppose an order stating that Defendants
        5   need not produce or file the ARRPs until the Court has ruled on Defendants’ motion.
        6   Dated: May 11, 2025                            Respectfully submitted,
        7                                                  PATRICK D. ROBBINS (CABN 152288)
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       12                                                  Branch Director
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                                       4                                     UNITED STATES DISTRICT COURT

                                       5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                       7         AMERICAN FEDERATION OF                          Case No. 25-cv-03698-SI
                                                 GOVERNMENT EMPLOYEES, AFL-CIO,
                                       8         et al.,
                                                                                                 ORDER SETTING BRIEFING
                                       9                      Plaintiffs,                        SCHEDULE FOR MOTION FOR
                                                                                                 PROTECTIVE ORDER AND
                                      10               v.                                        POSTPONING DISCOVERY
                                                                                                 DEADLINE
                                      11         DONALD J. TRUMP, et al.,
                                                                                                 Re: Dkt. No. 88
                                      12                      Defendants.
    Northern District of California
     United States District Court




                                      13

                                      14             On Friday, May 9, 2025, the Court issued an order that compelled certain expedited

                                      15   discovery from defendants, with a deadline for production of Tuesday, May 13, at 4:00 p.m. (PDT).

                                      16   Dkt. No. 85. On Sunday, May 11, 2025, defendants filed a Motion for Protective Order or in the

                                      17   Alternative For Reconsideration on the basis of the deliberative process privilege, seeking a stay of

                                      18   the production deadline. Dkt. No. 88. The parties have conferred and neither plaintiffs nor

                                      19   defendants oppose a postponement of the May 13 discovery deadline while the motion is more fully

                                      20   considered by the Court. Accordingly, the deadline in the Court’s expedited discovery order in

                                      21   Docket Number 85 that requires defendants Office of Budget and Management and Office of

                                      22   Personnel Management to produce certain materials by Tuesday, May 13, 2025 (see Dkt. No. 85 at

                                      23   40), is stayed until the Court rules on defendants’ motion.

                                      24             The Court sets the following briefing schedule:

                                      25             Plaintiffs’ response to defendants’ motion is due on Tuesday, May 13, 2025.

                                      26             Defendants may file a reply on Wednesday, May 14, 2025.

                                      27   ///

                                      28   ///

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                                       1          The Court will determine whether to schedule a hearing on the motion after considering the

                                       2   parties’ written submissions.

                                       3

                                       4          IT IS SO ORDERED.

                                       5   Dated: May 12, 2025

                                       6                                                 ______________________________________
                                                                                         SUSAN ILLSTON
                                       7                                                 United States District Judge
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    Northern District of California
     United States District Court




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          16                                  UNITED STATES DISTRICT COURT

          17                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

          18                                      SAN FRANCISCO DIVISION

          19     AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
                 GOVERNMENT EMPLOYEES, AFL-CIO;
          20     AMERICAN FEDERATION OF STATE                        AMENDED COMPLAINT FOR
                 COUNTY AND MUNICIPAL EMPLOYEES,                     DECLARATORY AND INJUNCTIVE
          21     AFL-CIO; SERVICE EMPLOYEES                          RELIEF
          22     INTERNATIONAL UNION, AFL-CIO;
                 AFGE LOCAL 1122; AFGE LOCAL 1236;
          23     AFGE LOCAL 2110; AFGE LOCAL 3172;
                 SEIU LOCAL 521; SEIU LOCAL 1000; SEIU
          24     LOCAL 1021; ALLIANCE FOR RETIRED
                 AMERICANS; AMERICAN GEOPHYSICAL
          25     UNION; AMERICAN PUBLIC HEALTH
          26     ASSOCIATION; CENTER FOR TAXPAYER
                 RIGHTS; COALITION TO PROTECT
          27     AMERICA’S NATIONAL PARKS;
                 COMMON DEFENSE CIVIC
          28     ENGAGEMENT; MAIN STREET
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI
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           1     ALLIANCE; NATURAL RESOURCES
                 DEFENSE COUNCIL, INC.; NORTHEAST
           2     ORGANIC FARMING ASSOCIATION,
                 INC.; VOTEVETS ACTION FUND INC.;
           3
                 WESTERN WATERSHEDS PROJECT;
           4     COUNTY OF SANTA CLARA,
                 CALIFORNIA; CITY OF CHICAGO,
           5     ILLINOIS; MARTIN LUTHER KING, JR.
                 COUNTY, WASHINGTON; HARRIS
           6     COUNTY, TEXAS; CITY OF BALTIMORE,
                 MARYLAND; and CITY AND COUNTY OF
           7
                 SAN FRANCISCO, CALIFORNIA
           8
                         Plaintiffs,
           9
                    v.
          10
                 DONALD J. TRUMP, in his official capacity
          11     as President of the United States;
          12     UNITED STATES OFFICE OF
                 MANAGEMENT AND BUDGET;
          13     RUSSELL VOUGHT, in his official capacity
                 as Director of U.S. Office of Management and
          14     Budget;
                 UNITED STATES OFFICE OF PERSONNEL
          15     MANAGEMENT;
          16     CHARLES EZELL, in his official capacity as
                 Acting Director of the U.S. Office of Personnel
          17     Management;
                 DEPARTMENT OF GOVERNMENT
          18     EFFICIENCY;
                 ELON MUSK, in his official capacity as the
          19     actual head of the Department of Government
          20     Efficiency;
                 AMY GLEASON, in her official capacity as
          21     the titular Acting Administrator of the
                 Department of Government Efficiency;
          22     UNITED STATES DEPARTMENT OF
                 AGRICULTURE;
          23
                 BROOKE ROLLINS, in her official capacity
          24     as Secretary of the U.S. Department of
                 Agriculture;
          25     UNITED STATES DEPARTMENT OF
                 COMMERCE;
          26     HOWARD LUTNICK, in his official capacity
                 as Secretary of the U.S. Department of
          27
                 Commerce;
          28     UNITED STATES DEPARTMENT OF

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                                                     Add.428
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           1     DEFENSE;
                 PETE HEGSETH, in his official capacity as
           2     Secretary of the U.S. Department of Defense;
                 UNITED STATES DEPARTMENT OF
           3
                 ENERGY;
           4     CHRIS WRIGHT, in his official capacity as
                 Secretary of the U.S. Department of Energy;
           5     UNITED STATES DEPARTMENT OF
                 HEALTH AND HUMAN SERVICES;
           6     ROBERT F. KENNEDY JR., in his official
                 capacity as Secretary of the U.S. Department
           7
                 of Health and Human Services;
           8     UNITED STATES DEPARTMENT OF
                 HOMELAND SECURITY;
           9     KRISTI NOEM, in her official capacity as
                 Secretary of the U.S. Department of Homeland
          10     Security;
          11     UNITED STATES DEPARTMENT OF
                 HOUSING AND URBAN DEVELOPMENT;
          12     SCOTT TURNER, in his official capacity as
                 Secretary of the U.S. Department of Housing
          13     and Urban Development;
                 UNITED STATES DEPARTMENT OF
          14     JUSTICE;
          15     PAM BONDI, in her official capacity as
                 Attorney General of the U.S. Department of
          16     Justice;
                 UNITED STATES DEPARTMENT OF THE
          17     INTERIOR;
                 DOUG BURGUM, in his official capacity as
          18     Secretary of the U.S. Department of the
          19     Interior;
                 UNITED STATES DEPARTMENT OF
          20     LABOR;
                 LORI CHAVEZ-DEREMER, in her official
          21     capacity as Secretary of the U.S. Department
                 of Labor;
          22
                 UNITED STATES DEPARTMENT OF
          23     STATE;
                 MARCO RUBIO, in his official capacity as
          24     Secretary of the U.S. Department of State;
                 UNITED STATES DEPARTMENT OF
          25     TREASURY;
                 SCOTT BESSENT, in his official capacity as
          26
                 Secretary of U.S. Department of Treasury;
          27     UNITED STATES DEPARTMENT OF
                 TRANSPORTATION;
          28     SEAN DUFFY, in his official capacity as
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI
                                                   Add.429
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           1     Secretary for the U.S. Department of
                 Transportation;
           2     UNITED STATES DEPARTMENT OF
                 VETERANS AFFAIRS;
           3
                 DOUG COLLINS, in his official capacity as
           4     Secretary of Veterans Affairs;
                 AMERICORPS (a.k.a. the CORPORATION
           5     FOR NATIONAL AND COMMUNITY
                 SERVICE);
           6     JENNIFER BASTRESS TAHMASEBI, in her
                 official capacity as Interim Agency Head of
           7
                 AmeriCorps;
           8     UNITED STATES ENVIRONMENTAL
                 PROTECTION AGENCY;
           9     LEE ZELDIN, in his official capacity as
                 Administrator of U.S. Environmental
          10     Protection Agency;
          11     UNITED STATES GENERAL SERVICES
                 ADMINISTRATION;
          12     STEPHEN EHIKIAN, in his official capacity
                 as Acting Administrator for U.S. General
          13     Services Administration;
                 NATIONAL LABOR RELATIONS BOARD;
          14     MARVIN KAPLAN, in his official capacity as
          15     Chairman of the National Labor Relations
                 Board;
          16     WILLIAM COWEN, in his official capacity as
                 the Acting General Counsel of the National
          17     Labor Relations Board;
                 NATIONAL SCIENCE FOUNDATION;
          18     BRIAN STONE, in his official capacity as
          19     Acting Director of the National Science
                 Foundation;
          20     PEACE CORPS;
                 ALLISON GREENE, in her official capacity
          21     as Chief Executive Officer of the Peace Corps;
                 UNITED STATES SMALL BUSINESS
          22
                 ADMINISTRATION;
          23     KELLY LOEFFLER, in her official capacity
                 as Administrator of the U.S. Small Business
          24     Administration;
                 UNITED STATES SOCIAL SECURITY
          25     ADMINISTRATION; and
                 LELAND DUDEK, in his official capacity as
          26
                 Acting Commissioner of the U.S. Social
          27     Security Administration,

          28            Defendants.
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           1                                              INTRODUCTION

           2          Plaintiffs are a coalition of labor organizations, non-profit groups, and local governments that

           3   file this amended complaint to hold unlawful and stop the unconstitutional dismantling of the federal

           4   government by the President of the United States on a scale unprecedented in this country’s history

           5   and in clear excess of his authority. Plaintiffs are the American Federation of Government

           6   Employees, AFL-CIO (“AFGE”); American Federation of State County and Municipal Employees,

           7   AFL-CIO (“AFSCME”); Service Employees International Union, AFL-CIO (“SEIU”); AFGE Local

           8   1122; AFGE Local 1236; AFGE Local 2110; AFGE Local 3172; SEIU Local 521; SEIU Local 1000;

           9   SEIU Local 1021; Alliance for Retired Americans; American Public Health Association; American

          10   Geophysical Union; Center for Taxpayer Rights; Coalition to Protect America’s National Parks;

          11   Common Defense Civic Engagement; Main Street Alliance; Natural Resources Defense Council, Inc.;

          12   Northeast Organic Farming Association Inc.; VoteVets Action Fund Inc.; Western Watersheds

          13   Project; the County of Santa Clara, California; Martin Luther King, Jr. County, Washington; the City

          14   of Baltimore, Maryland; Harris County, Texas; the City of Chicago, Illinois; and the City and County

          15   of San Francisco, California (collectively, “Plaintiffs”).

          16          By way of Executive Order, President Donald J. Trump has ordered agencies across the entire

          17   federal government to engage in a “critical transformation of the Federal bureaucracy” for the

          18   purported purpose of “eliminating waste, bloat, and insularity,” including by conducting “large-scale”

          19   Reductions in Force (“RIFs”) to further the reorganization of the federal agencies—all without any

          20   Congressional authorization. See Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025)

          21   (Implementing the President’s ‘‘Department of Government Efficiency’’ Workforce Optimization

          22   Initiative). Executive Order 14210, and the actions taken by the Administration to implement the

          23   President’s order, usurp Congress’s exclusive Article I legislative authority, exceed the President’s

          24   Article II Executive or statutory authority, and therefore violate the Constitution’s fundamental

          25   separation of powers principles. Plaintiffs seek to declare these acts of the President unconstitutional,

          26   unlawful, and otherwise in excess of any constitutional or statutory authority; to hold unlawful and set
          27   aside the acts of agency defendants implementing his orders as unlawful and in violation of the

          28
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                             1

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           1   Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C) and (D); and to enjoin this unconstitutional

           2   reorganization of the federal government without legislative authority. Plaintiffs therefore hereby

           3   plead as follows:

           4             1.    The President does not possess authority to reorganize, downsize, or otherwise

           5    transform the agencies of the federal government, unless and until Congress authorizes such action.

           6    Federal agencies are “creatures of statute.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., OSHA, 595

           7    U.S. 109, 117 (2022). Since the founding of the nation, federal courts have recognized that the

           8    federal agencies are not created by the President: “To Congress under its legislative power is given

           9    the establishment of offices … [and] the determination of their functions and jurisdiction.” Myers v.

          10    United States, 272 U.S. 52, 129 (1926).

          11             2.    When the President takes for himself the legislative power of Congress to recreate

          12    federal agencies in the manner he sees fit, he violates the Constitution. Youngstown Sheet & Tube Co.

          13    v. Sawyer, 343 U.S. 579, 587 (1952) (“In the framework of our Constitution, the President’s power to

          14    see that the laws are faithfully executed refutes the idea that he is to be a lawmaker.… And the

          15    Constitution is neither silent nor equivocal about who shall make laws which the President is to

          16    execute.”). And when the President does so across every federal agency, he threatens the very

          17    constitutional foundation of this nation: “There can be no liberty where the legislative and executive

          18    powers are united in the same person.” Bowsher v. Synar, 478 U.S. 714, 721–22 (1986) (quoting

          19    James Madison in The Federalist No. 47, p. 325 (J. Cooke ed. 1961)). Thus, for nearly 100 years,

          20    when Presidents have wanted to restructure the government by reorganizing both between and within

          21    federal agencies, they have obtained Congressional authorization to do so. See Cong. Rsch. Serv.,

          22    RL31446, Reorganizing the Executive Branch in the 20th Century: Landmark Commissions (June 10,

          23    2002).

          24             3.    President Trump contends he was elected with a mandate to radically transform the

          25    size and organization of the entire federal government. Ignoring applicable constitutional law, he has

          26    engaged in a campaign unprecedented in American history: to eliminate entire federal agencies;
          27    drastically reduce the number of employees, functions, programs, and offices at others; terminate

          28
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           1    leases for government property; terminate government contracts; and sell off government property, all

           2    without Congressional authorization. President Trump has called his plan to downsize and transform

           3    the federal government as he desires “The ‘Manhattan Project’ of our time.”1

           4           4.      As soon as President Trump took office, he immediately began his “large scale

           5    structural reform” project. Id.

           6           5.      First, on January 20, 2025, he created the “Department of Government Efficiency” or

           7    “DOGE” out of a former information technology office and charged it with enacting an “18-month

           8    DOGE agenda” (which the Administration has never made public) and embedding a “DOGE Team”

           9    at every federal agency. Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 20, 2025). He also

          10    immediately ordered DOGE, along with the Office of Management and Budget (“OMB”) and the

          11    Office of Personnel Management (“OPM”), to create “a plan to reduce the size of the Federal

          12    Government’s workforce.” The White House, Presidential Actions: Hiring Freeze (Jan. 20, 2025).

          13           6.      The President then proceeded to dismantle several government agencies, either

          14    eliminating their functions or transferring and subsuming them within other agencies. Exec. Order

          15    No. 14242, 90 Fed. Reg. 13679 (Mar. 20, 2025) (Education); Exec. Order No. 14238, 90 Fed. Reg

          16    13043 (Mar. 14, 2025) (seven agencies); Exec. Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025)

          17    (four agencies); see also Exec. Order No. 14169, 90 Fed. Reg. 8619 (Foreign Aid) and Press Release,

          18    U.S. Dep’t of State, Prioritizing America’s National Interests One Dollar at A Time (Jan. 29, 2025)

          19    (USAID); Nat’l Treasury Emps. Union v. Vought, __ F. Supp. 3d __, No. 25-0381, 2025 WL 942772

          20    (D.D.C. Mar. 28, 2025) (CFPB).

          21           7.      On February 11, 2025, President Trump issued the Executive Order 14210 that is the

          22    subject of this lawsuit. Executive Order 14210 (hereinafter “Workforce Executive Order” or

          23
                   1
          24         Statement by President-elect Donald J. Trump announcing Department of Government
                Efficiency, The American Presidency Project (Nov. 12, 2024):
          25                To drive this kind of drastic change, the Department of Government Efficiency [“DOGE”]
                        will provide advice and guidance from outside of Government, and will partner with the
          26            White House and Office of Management & Budget to drive large scale structural reform,
                        and create an entrepreneurial approach to Government never seen before.
          27
                Available at: https://www.presidency.ucsb.edu/documents/statement-president-elect-donald-j-trump-
          28    announcing-that-elon-musk-and-vivek-ramaswamy (emphasis added).
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                          3

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           1    “Executive Order 14210”) ordered all federal agencies to “commence[]” a “critical transformation

           2    of the Federal bureaucracy” for the purported purpose of “eliminating waste, bloat, and insularity.”

           3    Exec. Order No. 14210, 90 Fed. Reg. 9669 (Feb. 11, 2025) (emphasis added), attached hereto as

           4    Exhibit A.

           5           8.      This Workforce Executive Order, in pertinent part, requires all federal agencies to

           6    effectuate President Trump’s vision for the radical transformation and downsizing of the federal

           7    government by: 1) freezing agency hiring and allowing OMB and DOGE to control future hiring

           8    government-wide; 2) commencing “large-scale reductions in force” (“RIFs”) that serve the purpose

           9    of stripping away agency functions, eliminating the offices and functions that the President chooses

          10    to eliminate, and dramatically reducing staffing levels throughout the government; and 3) creating

          11    corresponding “reorganization” plans reflecting these RIFs that also address whether the “agency or

          12    any of its subcomponents should be eliminated or consolidated.” Id.

          13           9.      The Workforce Executive Order does not simply suggest or encourage agencies to

          14    exercise their own statutory authority to effectuate a government-wide reorganization: it orders them

          15    to act according to the President’s vision, regardless of that statutory authority. The Workforce

          16    Executive Order imposes the following requirements:

          17           a.      Agencies are required to commence large-scale RIFs (irrespective of whether staffing
                               reductions are necessary or even appropriate in light of agency functions, obligations,
          18                   and appropriations);
          19
                       b.      Agencies are required to prioritize in RIFs any “agency initiatives, components, or
          20                   operations that my Administration suspends or closes” (irrespective of statutory
                               requirements, obligations, or authority delegated to the agencies);
          21
                       c.      Agencies are required to prioritize in RIFs levels of staffing equivalent to government
          22                   emergency shutdown levels (which have nothing to do with the staffing needed to
                               properly run fully appropriated agencies);
          23

          24           d.      Agencies are required to consider their own abolition, by addressing whether the
                               agency or any subparts should be eliminated by the President (again, regardless of
          25                   statutory requirements, obligations, or authority delegated to the agencies);
          26           e.      And finally, agencies are required to reorganize themselves by picking up and
          27                   arranging the pieces that are left, following these large-scale reductions.

          28    As the President made plain in the White House “Fact Sheet” that accompanied the Executive Order,
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           1    the Executive Order furthers the President’s goals of “reforming the federal workforce” and

           2    “reducing the unnecessary footprint of government.”2

           3           10.     Again and again, the President has explained his plan to reorganize and reform the

           4    entire federal government: “I got elected on the basis of making our government stronger and smaller,

           5    because we have millions of people that — obviously, they’re paying millions of people that

           6    shouldn’t be paid.” The White House, Remarks by President Trump after Executive Order Signing

           7    (Feb. 18, 2025); see also The White House, Remarks by President Donald J. Trump in Joint Address

           8    to Congress (Mar. 4, 2025) (“Americans have given us a mandate for bold and profound change. For

           9    nearly 100 years, the federal bureaucracy has grown until it has crushed our freedoms, ballooned our

          10    deficits, and held back America’s potential in every possible way. The nation founded by pioneers

          11    and risk-takers now drowns under millions and millions of pages of regulations and debt. … My

          12    administration will reclaim power from this unaccountable bureaucracy, and we will restore true

          13    democracy to America again.”); The White House, Fact Sheet: President Donald J. Trump Continues

          14    the Reduction of the Federal Bureaucracy (Mar. 14, 2025) (“President Trump has made reforming the

          15    federal workforce a key priority for his second term.”).

          16           11.     At no point has Congress authorized President Trump’s actions with respect to the

          17    federal agencies that Congress created in an exercise of its Article I legislative authority, which the

          18    Constitution grants to Congress, not to the President. Unlike President Trump, nine Presidents on 16

          19    occasions, across the political spectrum, have been granted authority by Congress to propose fast-

          20    tracked legislation before reorganizing federal agencies: Presidents Herbert Hoover, Franklin D.

          21    Roosevelt, Harry S. Truman, Dwight D. Eisenhower, John F. Kennedy, Lyndon B. Johnson, Richard

          22    Nixon, Jimmy Carter, and Ronald Reagan. See Cong. Rsch. Serv., RL31446, Reorganizing the

          23    Executive Branch in the 20th Century: Landmark Commissions (June 10, 2002); see also Paul Larkin,

          24    Jr. & John-Michael Seibler, The President’s Reorganization Authority, Heritage Foundation Legal

          25    Memorandum No. 210 (July 12, 2017). Congress has given no such authority to President Trump.

          26
          27       2
                    The White House, Fact Sheet: President Donald J. Trump Works to Remake America’s Federal
          28    Workforce (Feb. 11, 2025).
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                              5

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          1            12.     President Trump should well understand the constitutional limits on his authority to

          2     reorganize the federal government, because he tried and failed to obtain that authorization during his

          3     first term in office. See Exec. Order No. 13781, 82 Fed. Reg. 13959 (Mar. 13, 2017) (Comprehensive

          4     Plan for Reorganizing the Executive Branch) (ordering OMB to engage in public and agency

          5     processes to create a report with recommendations regarding reorganization); Off. of Mgmt. and

          6     Budget, Delivering Government Solutions in the Twenty-First Century: Reform Plan and

          7     Reorganization Recommendations (June 2018).3 As the first-term OMB reorganization report

          8     expressly acknowledged, the plans “establish a vision for the Executive Branch that will require

          9     further exploration and partnership with the Congress.” Id. at 4. Congress did not re-enact

         10     reorganization authority for this first-term plan. President Trump determined that in his second term

         11     he would proceed without Congress.

         12            13.     To serve his goals of radical transformation, the President has also enlisted three

         13     centralized agencies with government-wide reach. OMB, OPM, and DOGE are implementing the

         14     President’s unconstitutional and unlawful orders to federal agencies by way of requiring all those

         15     other agencies to present “Agency RIF and Reorganization Plans” (“ARRPs”) for approval,

         16     according to parameters and requirements imposed on those agencies. See Memorandum from

         17     Russel Vought, OMB Director, and Charles Ezell, OPM Acting Director, to Heads of Executive

         18     Departments and Agencies re: Guidance on Agency RIF and Reorganization Plans Requested by

         19     Implementing The President's "Department of Government Efficiency" Workforce Optimization

         20     Initiative (Feb. 26, 2025) (attached hereto as Exhibit B). DOGE, for its part, has been dictating to

         21     each agency the required cuts to staffing and programs, in the name of “fraud and waste”: “We are

         22

         23

         24

         25        3
                      Available at: https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-
         26     and-Reorg-Plan.pdf. In 2017, President Trump ordered notice and public comment on the creation of
                these reorganization recommendations: “The Director shall publish a notice in the Federal Register
         27     inviting the public to suggest improvements in the organization and functioning of the executive
                branch and shall consider the suggestions when formulating the proposed plan described in
         28     subsection (c) of this section.” Exec. Order No. 13781, Sec. 2(b).
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          1     cutting the waste and fraud in real time. Every day like that passes, our goal is to reduce the waste

          2     and fraud by $4 billion a day every day, seven days a week. And so far, we are succeeding.”4

          3            14.     Through these agents, President Trump’s orders, effectuated by OMB, OPM, and

          4     DOGE, require federal agencies within weeks to create plans to reorganize themselves through

          5     massive layoffs, for the purpose of President Trump’s desire for “large scale structural reform” and

          6     “reducing the size and scope of the federal government.” These orders require agencies to disregard

          7     individual authorizing statutes, regulations, and terms that govern each agency, and the requirements

          8     of reasoned decision-making. To be clear, the agencies that are directed to submit ARRPs are not the

          9     decision-makers here: even if they are quickly creating and submitting these plans, they are required

         10     to submit plans that follow the President’s mandate, according to the President’s designs, and that are

         11     only effectuated by OMB and OPM (and DOGE) approval.

         12            15.     Three months into this Administration, there can be no real doubt that impacted

         13     federal agencies are acting according to the direction being given by President Trump through

         14     DOGE, OMB, and OPM. Courts throughout the country have rejected this Administration’s attempts

         15     to blame agencies for action that this Administration required them to take. See New York v. Trump,

         16     133 F.4th 51, 65 (1st Cir. 2025) (affirming District of Rhode Island’s conclusion that “any

         17     ‘suggest[ion] that the challenged federal funding freezes were purely the result of independent agency

         18     decisions’ was ‘disingenuous.’”); Am. Fed’n of Gov. Emps., AFL-CIO v. Off. of Pers. Mgmt., No. 25-

         19     cv-01780-WHA (N.D. Cal.), ECF Nos. 44, 45, 120, 132 (holding that OPM, not federal agencies,

         20     unlawfully ordered the terminations of probationary employees government-wide); Does v. Musk, __

         21     F. Supp. 3d __, No. 25-0462, 2025 WL 840574 (D. Md. Mar. 18, 2025) (holding DOGE is directing

         22     agency action); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, __ F. Supp. 3d __, No. 25-cv-

         23     239, 2025 WL 597959, at *7 (D.D.C. Feb. 25, 2025) (rejecting contention that “countless federal

         24     agencies ... suddenly began exercising their own discretion to suspend funding across the board at the

         25

         26
                   4
         27           Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
         28     available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                             7

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          1     exact same time” because it requires “unfathomable” “coincidental assumptions” and “contradicts the

          2     record”).

          3              16.       Moreover, President Trump himself has touted his ability to control agencies through

          4     DOGE, stating that, “after he signs an executive order, it gets ‘passed on to [Musk] and his group’

          5     and ‘they’re all getting done.’” Does v. Musk, 2025 WL 840574 at *2 (quoting The White House,

          6     Interview of President Trump and Elon Musk by Sean Hannity, “the Sean Hannity Show”, (Feb. 18,

          7     2025)).5 The President explained further:

          8             [H]e would take that executive order that I’d signed, and he would have those people to
                        whatever agency it was – “when are you doing it? Get it done. Get it done.” And some guy
          9             that maybe didn’t want to do it, all of a sudden, he’s signing – he just doesn’t want to be
                        bothered.
         10

         11     Id.; see also The White House, Remarks by President Trump Before Cabinet Meeting, (Feb. 26,

         12     2025) (President Trump: “We’re cutting down government. We’re cutting down the size of

         13     government. We have to. We’re bloated. We’re sloppy. We have a lot of people that aren’t doing

         14     their job”).6

         15              17.       Those who work for President Trump confirm that the President is controlling federal

         16     agencies according to his vision:

         17                    •   The President’s National Economic Council Director Kevin Hassett, White House
                                   Press Briefing (Feb. 20, 2025):
         18                               I’m saying that we’re studying every agency and deciding who to let go and
                                          why, and we’re doing so very rationally with a lot of support from analysis.
         19                               (Emphasis added.)7
         20

         21                    •   Elon Musk, who according to the President, is head of DOGE, told reporters on
                                   February 11, 2025 that “the people voted for major government reform and that’s what
         22

         23         5
                      Available at: https://www.whitehouse.gov/remarks/2025/02/interview-of-president-trump-and-
         24     elon-musk-by-sean-hannity-the-sean-hannity-show/.
                    6
                      Available at: https://www.whitehouse.gov/remarks/2025/02/remarks-by-president-trump-before-
         25     cabinet-meeting/.
                    7
         26           The White House, Press Briefing by Press Secretary Karoline Leavitt, Deputy Chief of Staff
                Stephen Miller, National Economic Council Director Kevin Hassett, and National Security Advisor
         27     Mike Waltz (Feb. 20, 20250, available at: https://www.whitehouse.gov/remarks/2025/02/press-
                briefing-by-press-secretary-karoline-leavitt-deputy-chief-of-staff-stephen-miller-national-economic-
         28     council-director-kevin-hassett-and-national-security-advisor-mike-waltz/.
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          1                    people are going to get.”8 Musk, again on March 27, 2025: “Well, this is a revolution,
                               and I think it might be the biggest revolution in government since the original
          2                    revolution.”9
          3
                        18.    The Administration has largely not revealed the transformation and downsizing plans
          4
                to the press, to the public (even in response to FOIA requests), in response to union information
          5
                requests, or to Congress. OMB and OPM required all federal agencies to submit the ARRPs in a two-
          6
                stage approval process, by deadlines of March 13 and April 14, 2025. The Administration has
          7
                refused to make either the March 13 or April 14 version of the ARRPs public, claiming they are “pre-
          8
                decisional” because they have not been approved by OMB, and that employees and the public will
          9
                learn what these plans are only when the reorganization occurs and RIF notices come out:
         10
                       It’s no secret the Trump Administration is dedicated to downsizing the federal
         11            bureaucracy and cutting waste, fraud, and abuse. This document is a pre-deliberative
                       draft and does not accurately reflect final reduction in force plans…. When President
         12            Trump’s Cabinet Secretaries are ready to announce reduction in force plans, they will
                       make those announcements to their respective workforces at the appropriate time.
         13
               Email from White House Principal Deputy Press Secretary Harrison Fields, as reported by the
         14
               Washington Post.10
         15
                        19.    What information Plaintiffs have painstakingly collected is gleaned from RIF notices
         16
                that have been issued to date, press coverage of agency sources and leaked government documents,
         17
                and statements by the President and agency heads describing general plans. That information reveals
         18
                that the Administration is actively implementing this unprecedented reorganization now. The
         19
                American people have a right to know what the President is doing to dismantle their federal
         20
                government.
         21

         22

         23        8
                      Gov’t Exec., Trump orders agencies to plan for widespread layoffs and attrition-based hiring,
         24     (Feb. 11, 2025), available at: https://www.govexec.com/workforce/2025/02/trump-orders-agencies-
                plan-widespread-layoffs-and-attrition-based-hiring/402938/.
         25         9
                      Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
         26     available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
                    10
         27            Washington Post, Internal White House document details layoff plans across U.S. agencies
                (March 27, 2025), available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-
         28     layoffs-government-agencies/.
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          1            20.     Details are emerging: in late March, pursuant to the mandate of Executive Order

          2     14210, the Department of Health and Human Services (“HHS”) began eliminating more than 10,000

          3     positions throughout the Center for Disease Control (“CDC”), Food and Drug Administration

          4     (“FDA”), the National Institutes of Health (“NIH”), among other programs, throwing the medical,

          5     public health, and scientific community into utter chaos.11 As of April 15, 2025, the IRS was slated

          6     to commence RIFs ultimately totaling 40% of its workforce, including over 50% of the tax

          7     enforcement staff (the very staff that brings in revenue to the government).12 On April 22, 2025, the

          8     EPA began sending RIF notices to employees across its headquarters and regional offices.13 Other

          9     agencies are right behind (see infra ¶¶189‒256):

         10              •   The Department of Agriculture will eliminate at least 9,000 positions and entire
                             regional offices and Research Stations within the Forest Service, taking staff down to at
         11                  least 2019 levels;
         12
                         •   The Department of Energy will terminate 43% of its staff, eliminating offices and
         13                  functions (including more than 500 positions at the Nuclear National Security
                             Administration and eliminating the Office of Clean Energy Demonstrations entirely);
         14
                         •   The U.S. Environmental Protection Agency will reportedly lose 65% of its staff and
         15                  effectively the entire Office of Research and Development (over 1,000 chemists,
                             biologists, toxicologists and other scientists), among others;
         16

         17              •   The Department of Housing and Urban Development is looking to cut approximately
                             51% of staff, eliminating and consolidating offices and functions;
         18
                         •   The Department of the Interior is going to engage in large-scale RIFs of positions and
         19                  programs that are deemed not “critical to public safety” or not “linked to highest
                             priority programs”;
         20

         21     11
                   See March 27, 2025 Press Release: HHS Announces Transformation to Make America Healthy
                Again, available at: https://www.hhs.gov/press-room/hhs-restructuring-doge.html.
         22     12
                   Fed. News Network, IRS outlines plan to cut up to 40% of workforce, as tax filing season ends,
         23     (Apr. 15, 2025), available at: https://federalnewsnetwork.com/workforce/2025/04/irs-outlines-plan-
                to-cut-up-to-40-of-workforce-as-tax-filing-season-ends/. The IRS began RIFs with one office in
         24     March. Gov’t Exec., IRS sends RIF notices as it begins widespread layoffs (Apr. 4, 2025), available
                at: https://www.govexec.com/workforce/2025/04/irs-sends-rif-notices-it-begins-widespread-
         25     layoffs/404317/. On April 23, 2025, the IRS confirmed the RIFs are ongoing. Fed. News Network,
                IRS layoff notices to employees delayed by ‘glitches,’ (Apr. 23, 2025), available at:
         26     https://federalnewsnetwork.com/workforce/2025/04/irs-layoff-notices-to-employees-delayed-by-
                glitches/.
                13
         27        Reuters, EPA begins layoffs of environmental justice staff (Apr. 22, 2025), available at:
                https://www.reuters.com/business/world-at-work/epa-begins-layoffs-environmental-justice-staff-
         28     2025-04-22/.
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          1
                          •   The Department of Labor will eliminate the entire Office of Federal Contract
          2                   Compliance Programs, among other cuts;
          3               •   The Small Business Administration will lay off 43% of staff;
          4
                          •   The Social Security Administration will engage in “agency-wide organizational
          5                   restructuring that will include significant workforce reductions” that the agency
                              describes as “massive reorganizations” eliminating over 5,000 positions and potentially
          6                   closing up to 47 field offices; and
          7               •   The Department of Veterans’ Affairs looks to roll back to at least 2019 staffing levels
                              by cutting over 83,000 jobs across the country, in critical veterans’ service roles.
          8

          9    The list goes on, because the President has directed nearly every agency to make massive cuts to its

         10    workforce in furtherance of a reorganization of the entire federal government. These are no minor

         11    reforms or policy judgments: this is an express attempt to “transform” the country’s federal

         12    administrative structure.

         13            21.     By ordering and enacting the radical transformation President Trump contends he was

         14     elected to enact, President Trump has exceeded any constitutional authority granted to him in Article

         15     II or statutorily delegated by Congress and has thereby usurped Congress’s Article I authority.

         16     President Trump’s Executive Order 14210 requiring agencies to engage in these large-scale RIF and

         17     reorganization plans is therefore ultra vires and unconstitutional.

         18            22.     Moreover, neither OMB, OPM, nor DOGE have their own authority to order federal

         19     agencies to engage in large-scale RIFs or take any other action in service of government

         20     reorganization. The statutory authority defined by Congress does not give OMB or OPM any

         21     authority to require agencies to RIF employees, or to do so according to specific parameters,

         22     including because the President has decided to eliminate programs, functions, or positions, or take

         23     agencies down to shutdown levels of staff, or for either OMB or OPM to assert decision-making

         24     authority over the agencies. Nor does DOGE have any authority to require agencies to meet targets

         25     imposed by DOGE for reductions of staff and/or spending. By implementing the President’s orders,

         26     OMB, OPM, and DOGE therefore are each exceeding their authority, engaging in arbitrary and

         27     capricious action, and ignoring proper procedure, in violation of the Administrative Procedure Act, 5

         28     U.S.C. § 706(2)(A), (C), and (D).
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          1            23.     Finally, the impacted agencies themselves do not have the authority to do the

          2     President’s unconstitutional bidding, under the terms set by the President rather than by Congress.

          3     Over and over, newly appointed agency heads have explained that they are reorganizing, eliminating

          4     programs, and cutting thousands upon thousands of jobs, because the President directed them to and

          5     because DOGE told them how much and what to cut. As Veterans Affairs Secretary Doug Collins

          6     stated on the “Fox & Friends” program in early March 2025, the VA’s plan to cut 80,000 jobs

          7     pursuant to the President’s Executive Order was not his idea: “No, that is a goal that was put out …

          8     [as] President Trump and [the Office of Personnel Management] have said let’s look at a reduction in

          9     force across government,…And that is a goal, that is our target.”14 See also, e.g., U.S. Dep’t of

         10     Health & Hum. Servs., Fact Sheet: HHS Transformation to Make America Healthy Again (Mar. 27,

         11     2025) (“The restructuring of HHS is proceeding in accordance with President Trump's Executive

         12     Order”).15 By implementing the President’s unconstitutional orders, effectuated by DOGE’s, OMB’s,

         13     and OPM’s requirements, these agencies have acted and are acting not in accordance with law and are

         14     engaged in arbitrary and capricious action in violation of the Administrative Procedure Act, 5 U.S.C.

         15     § 706(2)(A) and (C).

         16            24.     The President’s insistence on implementing this politically driven “mandate” comes at

         17     a nearly immeasurable cost to federal agencies, millions of public employees, state and local

         18     governments, and all those who depend on the services the agencies provide every day. Plaintiffs

         19     stand together to name these harms at their source, pursue their right to judicial review, and stop

         20     actions that threaten the very foundations of our constitutional democracy.

         21            25.     And so it falls upon this Court to play its Article III role in restraining the President’s

         22     unconstitutional acts and the unlawful actions of the agencies that implement those directives.

         23     Marbury v Madison, 5 U.S. 137 (1803). None of the actions at issue here are dedicated by the

         24     Constitution to the President and out of this Court’s reach. Plaintiffs call upon this Court to hold

         25     unlawful President Trump’s unconstitutional reorganization and dismantling of the federal

         26
         27
                14
                   The Hill, VA Secretary: Cutting 80,000 is “our target,” (Mar. 10, 2025), available at:
                https://www.yahoo.com/news/va-secretary-cutting-80-000-170115439.html.
                15
         28        Available at: https://www.hhs.gov/press-room/hhs-restructuring-doge-fact-sheet.html.
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          1     government by and through Executive Order 14210, and to enjoin the actions of the agencies

          2     implementing that unconstitutional presidential order.

          3                                        JURISDICTION AND VENUE

          4               26.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

          5               27.   Venue is appropriate in this district under 28 U.S.C. § 1391(e). Plaintiffs AFGE,

          6     AFGE Local 1122, AFGE Local 1236, AFGE Local 2110, AFGE Local 3172, AFSCME, SEIU, SEIU

          7     Local 521, SEIU Local 1000, and SEIU Local 1021 represent federal, state, and/or local government

          8     employees whose place of employment is within the Northern District of California, and Plaintiffs the

          9     City and County of San Francisco and the County of Santa Clara are located within the Northern

         10     District of California.

         11               28.   Intradistrict assignment is appropriate in the San Francisco/Oakland division of this

         12     Court.

         13                                                    PARTIES

         14               29.   Plaintiff AFGE is a labor organization and unincorporated association headquartered at

         15     80 F Street N.W., Washington, D.C. 20001. AFGE, the largest union of federal employees, represents

         16     approximately 800,000 federal civilian employees through its affiliated councils and locals at 192

         17     Departments, agencies and sub-agencies of the federal government, and in every state in the United

         18     States.

         19               30.   Plaintiff AFSCME is a labor organization and unincorporated association

         20     headquartered at 1625 L Street, N.W., Washington, D.C. 20036. AFSCME is the largest trade union

         21     of public employees in the United States, with 1.4 million members organized into approximately

         22     3,400 local unions, 58 councils and affiliates in 46 states, the District of Columbia, and Puerto Rico.

         23     AFSCME members include nurses, corrections officers, child care providers, emergency medical

         24     technicians, sanitation workers, school bus drivers, civil engineers, policy analysts, and more, all with

         25     one thing in common: a dedication to making our communities stronger, healthier, and safer.

         26     AFSCME represents federal civilian employees in numerous agencies and departments across the
         27

         28
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          1     federal government, and state and local government employees who rely on the services of the

          2     federal government every day.

          3            31.     Plaintiff SEIU is a labor organization of approximately two million working people

          4     united by the belief in the dignity and worth of workers and the services they provide. SEIU’s

          5     members work in healthcare, the public sector, and property services. SEIU has more than 150

          6     affiliates across the United States, Canada, and Puerto Rico, and is headquartered at 1800

          7     Massachusetts Ave., N.W., Washington, D.C. 20036. SEIU members include physicians, technicians,

          8     long-term care workers, janitors, security officers, airport workers, librarians, childcare workers,

          9     educators, fast food workers, employees who work for city, county, and federal governments, and

         10     many more. SEIU, together with its local affiliates, represent approximately 80,000 federal sector

         11     employees in the United States, including nurses, doctors, other healthcare workers, police officers,

         12     firefighters, first responders, office workers, scientists, engineers, analysts, maintenance workers, and

         13     more. SEIU federal sector members provide a broad swath of services and bring a substantial amount

         14     of expertise to numerous agencies across the federal government. SEIU also represents about

         15     785,000 care providers and over 700,000 non-federal public sector employees employed by states,

         16     counties, cities, and school boards across the country, which rely on federal agencies in order to

         17     continue providing essential services to their communities. SEIU’s members also include

         18     approximately 6,000 workers employed by contractors to provide cleaning, security, maintenance,

         19     and other services at federally owned and federally leased sites run by numerous federal agencies.

         20            32.     Plaintiff AFGE Local 1122 is a labor organization and unincorporated association

         21     headquartered in Richmond, California. AFGE Local 1122 represents approximately 600 employees

         22     at a Social Security Administration Western Program Service Center in Richmond, California, in

         23     addition to other units within SSA’s San Francisco region. Those employees work in positions

         24     including Claims Specialists, Benefits Authorizers, and other clerical staff.

         25            33.     Plaintiff AFGE Local 1236 is a labor organization and unincorporated association

         26     headquartered in San Francisco, California. AFGE Local 1236 represents approximately 74 attorney-
         27

         28
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          1     advisors at Environmental Protection Agency Region 9 Headquarters in San Francisco, California,

          2     and EPA’s National Center for Radiation Field Operations in Las Vegas, Nevada.

          3             34.         Plaintiff AFGE Local 2110 is a labor organization and unincorporated association

          4     headquartered in Palo Alto, California. AFGE Local 2110 represents approximately 4,000 employees

          5     at the Department of Veterans’ Affairs Palo Alto Health Care System, including its Menlo Park and

          6     Livermore Divisions, and at several Community-Based Outpatient Clinics in Fremont, San José,

          7     Monterey, and Capitola. Those employees work as doctors, nurses, emergency medical services

          8     personnel, food service workers, custodial staff, and administrative staff.

          9             35.         Plaintiff AFGE Local 3172 is a labor organization and unincorporated association

         10     headquartered in Pacifica, California. AFGE Local 3172 represents approximately 1,600 employees

         11     at SSA field offices in California and Nevada. Those employees work in positions including Claims

         12     Services Representatives, Claims Specialists, Technical Experts, and other administrative and

         13     facilities staff.

         14             36.         Plaintiff SEIU Local 521 is a labor organization and unincorporated association

         15     headquartered in San José, California. SEIU Local 521 represents over 72,000 members who work

         16     for cities, counties, public schools, public offices of education, public hospital districts, transit

         17     authorities, federally qualified healthcare clinics, private non-profits, and Head Start child care

         18     agencies in the state of California, and who operate family childcare provider services. SEIU Local

         19     521’s members live and work throughout the state, including in the counties of San Mateo, Santa

         20     Clara, Santa Cruz, Monterey, and San Benito. The members represented by SEIU Local 521 work in

         21     nearly most classifications in county and public district hospitals, social services agencies, and in

         22     Head Start agencies and family provider childcare settings.

         23             37.         Plaintiff SEIU Local 1000 is a labor organization and unincorporated association

         24     headquartered in Sacramento and has a Coastal & Central Representation office located at 436 14th

         25     Street, Suite 200, in Oakland, California. SEIU Local 1000 represents approximately 96,000

         26     employees who work in the California state government. Those employees live and work throughout
         27     the State, including in San Francisco, Oakland, and Sacramento. The employees represented by

         28
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          1     SEIU Local 1000 work in a wide range of positions across the state government, including as office

          2     assistants, secretaries, data entry staff, technical assistants, information technology analysts,

          3     accounting officers, auditors, and departmental analysts.

          4            38.        Plaintiff SEIU Local 1021 is a labor organization and unincorporated association

          5     headquartered in Oakland, California. SEIU Local 1021 represents approximately 70,000 members

          6     who work for cities, counties, public schools, public hospital districts, transit authorities, federally

          7     qualified healthcare clinics, private non-profits, private higher education institutions, and Head Start

          8     child care agencies in the state of California. SEIU Local 1021’s members live and work throughout

          9     the state, including in the counties of Alameda, Contra Costa, Del Norte, Humboldt, Marin,

         10     Mendocino, Napa, San Francisco, and Sonoma. The members represented by SEIU Local 1021 work

         11     in most classifications in county and public district hospitals, social services agencies, and in Head

         12     Start agencies.

         13            39.        Plaintiff Alliance for Retired Americans (“ARA” or the “Alliance”) is a grassroots

         14     organization with 4.4 million retiree members. Founded by the AFL-CIO Executive Council in 2001,

         15     the Alliance has 40 state alliances and members in every state, including 950,000 members—nearly

         16     300,000 of whom are retirees—in California. The Alliance’s retiree members are from all walks of

         17     life. They are former teachers, industrial workers, state and federal government workers,

         18     construction workers, and community leaders united in the belief that every American deserves a

         19     secure and dignified retirement after a lifetime of hard work.

         20            40.        Plaintiff American Geophysical Union (“AGU”) is a 501(c)(3) membership

         21     association for Earth and space scientists. The organization, founded in 1919, pursues a mission “to

         22     support and inspire a global community of individuals and organizations interested in advancing

         23     discovery in Earth and space sciences and its benefit for humanity and the environment.” AGU has

         24     more than 42,000 members worldwide, with 29,000 residing in the U.S., of whom more than 4,000

         25     are in California; approximately 8,400 of those members work in the federal government, 28,000 are

         26     university researchers, and 2,000 are scientists at nonprofit organizations. In addition to traditional
         27     career support provided by an association, AGU publishes a portfolio of 24 high-impact scholarly

         28
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          1     journals and convenes regular scientific meetings, including its Annual Meeting, which had more

          2     than 30,000 attendees in 2024.

          3            41.     Plaintiff the American Public Health Association (“APHA”) is a non-partisan, non-

          4     profit organization that champions the health of all people and all communities; strengthens the

          5     profession of public health; shares the latest research and information; promotes best practices; and

          6     advocates for public health issues and policies grounded in scientific research. APHA represents

          7     more than 23,000 individual members who reside in all 50 states, including 2,100 individual

          8     members in California, and also has 52 state and regional affiliates. APHA’s membership also

          9     includes organizational members, including groups interested in health, state and local health

         10     departments, and health-related businesses. APHA is the only organization that combines a 150-year

         11     perspective, a broad-based member community, and the ability to influence federal policy to improve

         12     the public’s health. APHA’s membership additionally includes more than 250 California students in

         13     university public health schools or related programs, and over 50 California agency or organizational

         14     members, including the California Department of Public Health, Contra Costa County Public Health,

         15     Marin County Public Health, and the Los Angeles Trust for Children’s Health.

         16            42.     Plaintiff Center for Taxpayer Rights is a nonpartisan nonprofit organization dedicated

         17     to furthering taxpayers’ awareness of and access to taxpayer rights. The Center accomplishes its

         18     mission, in part, by educating the public and government officials about the role taxpayer rights play

         19     in promoting compliance and trust in systems of taxation. The Center provides technical support for

         20     the establishment and expansion of taxpayer advocate and ombuds offices as independent voices of

         21     taxpayer rights and systemic change. The Center develops materials to educate the public about the

         22     function of taxes and taxpayer rights in civil society. The organization also develops training

         23     programs for tax administration officials as a component of leadership training. Through the Center’s

         24     Low Income Taxpayer Clinic (“LITC”), the organization provides free representation to low-income

         25     taxpayers in disputes with the IRS and in the federal courts. All of the clients of the Center’s LITC

         26     are low-income taxpayers. The Center also operates LITC Connect, a nationwide network of Low-
         27     Income Taxpayer Clinics and volunteer attorneys, certified public accountants, and enrolled

         28
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          1     agents that matches LITCs with tax professionals who can provide pro bono representation to low-

          2     income taxpayers and support for specific issues. The Center, through LITC Connect, provides

          3     training when needed to LITC staff and tax professionals supporting LITCs in serving low-income

          4     taxpayers and hosts weekly calls with LITCs who are LITC Connect members. In 2023, LITCs, most

          5     of whom are members of LITC Connect and the weekly calls, represented nearly 20,000 taxpayers

          6     nationwide, educated over 140,000 taxpayers and service providers about their rights and

          7     responsibilities before the IRS, secured over $10 million in tax refunds, and decreased or corrected

          8     over $41 million in tax liabilities.

          9             43.     Plaintiff Coalition to Protect America’s National Parks (“Parks Coalition”) is a non-

         10     profit organization made up of over 4,000 members, all of whom are current, former, and retired

         11     employees and volunteers of the National Park Service. Together, they have accumulated over

         12     50,000 years of experience caring for America’s most valuable natural and cultural resources. The

         13     Coalition’s goal is to support the preservation and protection of the National Park System and the

         14     mission-related programs of the National Park Service (“NPS”) to ensure the survival of the park

         15     system for generations to come. The Coalition’s members are regular and avid users of the National

         16     Park System and NPS programs, as well as the national forests and other public lands, for recreation

         17     and conservation activities.

         18             44.     Plaintiff Common Defense Civic Engagement (“Common Defense”) is a grassroots

         19     membership organization of progressive veterans, military families, and civilian supporters standing

         20     up for our communities against the rising tide of racism, hate, and violence. Common Defense

         21     invests in the leadership of its members through training and deployment in campaigns that connect

         22     directly to their history of service, including voting rights, climate justice, and anti-militarism.

         23     Approximately 33,187 of Common Defense’s members live in California, including approximately

         24     2,000 veterans.

         25             45.     Plaintiff Main Street Alliance (“MSA”) is a national network of small businesses, with

         26     approximately 30,000 members throughout the United States. MSA helps small business owners
         27     realize their full potential as leaders for a just future that prioritizes good jobs, equity, and community

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          1     through organizing, research, and policy advocacy. MSA also seeks to amplify the voices of its small

          2     business membership by sharing their experiences with the aim of creating an economy where all

          3     small business owners have an equal opportunity to succeed. MSA is nonpartisan and is a Section

          4     501(c)(3) organization. MSA has approximately 1,410 small business members in California,

          5     including more than 70 small businesses in Alameda, Santa Clara, San Francisco, Sonoma, and

          6     Contra Costa Counties.

          7            46.     Plaintiff Natural Resources Defense Council, Inc. (NRDC) is a not-for-profit

          8     environmental and public health membership organization that works to ensure the rights of all

          9     people to clean air, clean water, and healthy communities. NRDC has many hundreds of thousands

         10     of members throughout the United States. NRDC engages in research, policy analysis, advocacy,

         11     public education, and litigation to protect public health and the environment. As part of its work,

         12     NRDC petitions federal agencies for rulemaking and other actions to protect the environment and

         13     human health, comments on proposed regulations issued by federal agencies, researches and informs

         14     its members about important environmental and public health issues, and publishes scientific papers

         15     and advocacy briefs to inform the scientific community, policymakers, and the public.

         16            47.     Plaintiff Northeast Organic Farming Association Inc. (“NOFA”) is a non-profit

         17     organization of over 5,000 farmers, farmworkers, gardeners, landscape professionals, and consumers

         18     working to promote healthy food, organic farming practices, and a cleaner environment. NOFA is

         19     comprised of seven state-chapters: Connecticut, Massachusetts, New Hampshire, New Jersey, New

         20     York, Rhode Island, and Vermont. Each of these organizations offers educational conferences,

         21     workshops, farm tours, and printed materials to educate farmers, gardeners, consumers, and land care

         22     professionals on organic farming. NOFA also publishes a quarterly newspaper, The Natural Farmer,

         23     that provides features on organic farming techniques, certification issues, organic market conditions,

         24     and environmental developments that may impact farmers and growers; administers the Organic

         25     Land Care program, which trains landscape professionals and others on the principles and practices

         26     of organic land care, as laid out by the NOFA Standards for Organic Land Care; runs a professional
         27     accreditation program; provides advice, support and cross-credentialing to partner institutions

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          1     engaged in sustainable landscape education; and educates the public about the importance of using

          2     standards-based organic landscaping services.

          3            48.        Plaintiff VoteVets Action Fund Inc. (“VoteVets”) is a non-partisan, non-profit

          4     organization incorporated under the laws of the District of Columbia. Its purpose is to lift up the

          5     voices of veterans on matters of national security, veterans’ care, and everyday issues that affect the

          6     lives of those who served as well as their families including foreign policy, veterans’ unemployment,

          7     robust investment in care for veterans, energy security, protecting the rights of those who serve, and

          8     upholding the Constitution and democracy that every military member swore to uphold and protect.

          9     VoteVets has nearly two million supporters across the country, in all fifty states, with whom it

         10     regularly communicates about issues affecting veterans, including the operations, programs, and

         11     services available through the VA. Approximately 417,000 of VoteVets’ supporters live in California,

         12     including 131,000 in Northern California.

         13            49.        Plaintiff Western Watersheds Project (“WWP”) is a non-profit environmental

         14     conservation group that works to influence and improve public lands management throughout the

         15     western United States to protect native species and conserve and restore the habitats they depend

         16     on. WWP’s primary focus is on the negative impacts of livestock grazing, including harm to

         17     ecological, biological, cultural, historic, archeological, scenic resources, wilderness values, roadless

         18     areas, Wilderness Study Areas, and designated Wilderness. WWP was founded in 1993 and has more

         19     than 14,000 members and supporters and field offices in Colorado, Utah, Idaho, Montana, Wyoming,

         20     Arizona, Nevada, and Oregon. WWP covers over 250 million acres of public land spanning all of the

         21     western states.

         22            50.        The Plaintiffs identified in the preceding paragraphs are all proceeding on their own

         23     behalf as an organization, including based on injury to their mission and organizational activities, as

         24     well as on a representative or associational basis, based on injury to their members.

         25            51.        Plaintiff County of Santa Clara, California (“Santa Clara”) is a charter county and

         26     political subdivision of the State of California.
         27

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          1             52.       Plaintiff Martin Luther King, Jr. County (“King County”) is a home rule charter

          2     county organized and existing under and by virtue of the constitution and laws of the State of

          3     Washington.

          4             53.       Plaintiff the Mayor and City Council of Baltimore (“Baltimore”) is the corporate

          5     identity of the Plaintiff City of Baltimore, Maryland, a home-rule jurisdiction created by the

          6     Baltimore City Charter as an entity that may sue and be sued.

          7             54.       Plaintiff Harris County, Texas (“Harris County”) is a local government entity in the

          8     state of Texas.

          9             55.       Plaintiff the City of Chicago, Illinois (“Chicago”) is a municipal corporation and home

         10     rule unit organized and existing under the constitution and laws of the State of Illinois.

         11             56.       Plaintiff the City and County of San Francisco (“San Francisco”) is a municipal

         12     corporation organized and existing under and by virtue of the laws of the State of California and is a

         13     charter city and county.

         14             57.       Defendant Donald J. Trump is the President of the United States and is sued in his

         15     official capacity.

         16             58.       Defendant Office of Management and Budget (“OMB”) is a federal agency

         17     headquartered in Washington, D.C. OMB is a federal agency within the meaning of the

         18     Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1).

         19             59.       Defendant Russell Vought is the Director of OMB and is sued in his official capacity.

         20             60.       Office of Personnel Management (“OPM”) is a federal agency headquartered in

         21     Washington, D.C. OPM is a federal agency within the meaning of the APA, 5 U.S.C. § 551(1).

         22             61.       Defendant Charles Ezell has been the Acting Director of OPM since January 20, 2025.

         23     He is sued in his official capacity.

         24             62.       Defendant Department of Government Efficiency (“DOGE”) is a federal agency

         25     headquartered in Washington, D.C. DOGE is a federal agency within the meaning of the APA, 5

         26     U.S.C. § 551(1).
         27             63.       Defendant Elon Musk is the actual head of DOGE and is sued in his official capacity.

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          1              64.    Defendant Amy Gleason is the titular Acting Administrator of DOGE and is sued in

          2     her official capacity.

          3              65.    The following federal departments and agencies, including their agency heads, may be

          4     referred to collectively herein as “Federal Agency Defendants.” For purposes of this Amended

          5     Complaint, the Federal Agency Defendants do not include OMB, OPM, or DOGE, which will be

          6     specifically identified. The Federal Agency Defendants are sued for their own unlawful conduct in

          7     Claims Six and Seven below, and also pursuant to Rule 19 for purposes of effectuating complete

          8     relief as to Claims One through Five against the President, OMB, OPM, DOGE and their agency

          9     heads.

         10              66.    Defendant United States Department of Agriculture (“USDA” or “Agriculture”) is a

         11     federal agency headquartered in Washington, D.C. USDA is a federal agency within the meaning of

         12     the APA, 5 U.S.C. § 551(1).

         13              67.    Defendant Brooke Rollins is the Secretary of Agriculture and is sued in her official

         14     capacity.

         15              68.    Defendant United States Department of Commerce (“Commerce”) is a federal agency

         16     headquartered in Washington, D.C. Commerce is a federal agency within the meaning of the APA, 5

         17     U.S.C. § 551(1).

         18              69.    Defendant Howard Lutnick is the Secretary of Commerce and is sued in his official

         19     capacity.

         20              70.    Defendant United States Department of Defense (“DoD” or “Defense”) is a federal

         21     agency headquartered in Washington, D.C. Defense is a federal agency within the meaning of the

         22     APA, 5 U.S.C. § 551(1).

         23              71.    Defendant Pete Hegseth is the Secretary of Defense and is sued in his official capacity.

         24              72.    Defendant United States Department of Energy (“Energy”) is a federal agency

         25     headquartered in Washington, D.C. Energy is a federal agency within the meaning of the APA, 5

         26     U.S.C. § 551(1).
         27              73.    Defendant Chris Wright is the Secretary of Energy and is sued in his official capacity.

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          1            74.    Defendant United States Department of Health and Human Services (“HHS”) is a

          2     federal agency headquartered in Washington, D.C. HHS is a federal agency within the meaning of

          3     the APA, 5 U.S.C. § 551(1).

          4            75.    Defendant Robert F. Kennedy Jr. is the Secretary of HHS and is sued in his official

          5     capacity.

          6            76.    Defendant United States Department of Homeland Security (“DHS”) is a federal

          7     agency headquartered in Washington, D.C. DHS is a federal agency within the meaning of the APA,

          8     5 U.S.C. § 551(1).

          9            77.    Defendant Kristi Noem is the Secretary of DHS and is sued in her official capacity.

         10            78.    Defendant United States Department of Housing and Urban Development (“HUD”) is

         11     a federal agency headquartered in Washington, D.C. HUD is a federal agency within the meaning of

         12     the APA, 5 U.S.C. § 551(1).

         13            79.    Defendant Scott Turner is the Secretary of HUD and is sued in his official capacity.

         14            80.    Defendant United States Department of Justice (“DOJ”) is a federal agency

         15     headquartered in Washington, D.C. DOJ is a federal agency within the meaning of the APA, 5 U.S.C.

         16     § 551(1).

         17            81.    Defendant Pam Bondi is the Attorney General and is sued in her official capacity.

         18            82.    Defendant United States Department of the Interior (“DoI” or “Interior”) is a federal

         19     agency headquartered in Washington, D.C. Interior is a federal agency within the meaning of the

         20     APA, 5 U.S.C. § 551(1).

         21            83.    Defendant Doug Burgum is the Secretary of the Interior and is sued in his official

         22     capacity.

         23            84.    Defendant United States Department of Labor (“DOL”) is a federal agency

         24     headquartered in Washington, D.C. DOL is a federal agency within the meaning of the APA, 5

         25     U.S.C. § 551(1).

         26            85.    Defendant Lori Chavez-DeRemer is the Secretary of Labor and is sued in her official
         27     capacity.

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          1            86.     Defendant United States Department of State (“State”) is a federal agency

          2     headquartered in Washington, D.C. State is a federal agency within the meaning of the APA, 5

          3     U.S.C. § 551(1).

          4            87.     Defendant Marco Rubio is the Secretary of State and is sued in his official capacity.

          5            88.     Defendant United States Department of Treasury (“Treasury”) is a federal agency

          6     headquartered in Washington, D.C. Treasury is a federal agency within the meaning of the APA, 5

          7     U.S.C. § 551(1).

          8            89.     Defendant Scott Bessent is the Secretary of Treasury and is sued in his official

          9     capacity.

         10            90.     Defendant United States Department of Transportation (“DOT”) is a federal agency

         11     headquartered in Washington, D.C. DOT is a federal agency within the meaning of the APA, 5

         12     U.S.C. § 551(1).

         13            91.     Defendant Sean Duffy is the Secretary of Transportation and is sued in his official

         14     capacity.

         15            92.     Defendant United States Department of Veterans Affairs (“the VA”) is a federal

         16     agency headquartered in Washington, D.C. The VA is a federal agency within the meaning of the

         17     APA, 5 U.S.C. § 551(1).

         18            93.     Defendant Doug Collins is the Secretary of Veterans Affairs and is sued in his official

         19     capacity.

         20            94.     Defendant AmeriCorps (a.k.a. the Corporation for National and Community Service)

         21     is a federal agency headquartered in Washington, D.C. AmeriCorps is a federal agency within the

         22     meaning of the APA, 5 U.S.C. § 551(1).

         23            95.     Defendant Jennifer Bastress Tahmasebi is the Interim Agency Head of AmeriCorps

         24     and is sued in her official capacity.

         25            96.     Defendant United States Environmental Protection Agency (“EPA”) is a federal

         26     agency headquartered in Washington, D.C. EPA is a federal agency within the meaning of the APA, 5
         27     U.S.C. § 551(1).

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          1             97.     Defendant Lee Zeldin is the EPA Administrator and is sued in his official capacity.

          2             98.     Defendant United States General Services Administration (“GSA”) is a federal agency

          3     headquartered in Washington, D.C. GSA is a federal agency within the meaning of the APA, 5

          4     U.S.C. § 551(1).

          5             99.     Defendant Stephen Ehikian is the GSA Acting Administrator and is sued in his official

          6     capacity.

          7             100.    Defendant National Labor Relations Board (“NLRB”) is a federal agency

          8     headquartered in Washington, D.C. NLRB is a federal agency within the meaning of the APA, 5

          9     U.S.C. § 551(1).

         10             101.    Defendant Marvin Kaplan is the Chairman of the NLRB and is sued in his official

         11     capacity.

         12             102.    Defendant William Cowen is the Acting General Counsel of the NLRB and is sued in

         13     his official capacity.

         14             103.    Defendant National Science Foundation (“NSF”) is a federal agency headquartered in

         15     Alexandria, Virginia. NSF is a federal agency within the meaning of the APA, 5 U.S.C. § 551(1).

         16             104.    Defendant Brian Stone is the Acting Director of the NSF and is sued in his official

         17     capacity.

         18             105.    Defendant Peace Corps is a federal agency headquartered in Washington, D.C. Peace

         19     Corps is a federal agency within the meaning of the APA, 5 U.S.C. § 551(1).

         20             106.    Defendant Allison Greene is the Chief Executive Officer of the Peace Corps and is

         21     sued in her official capacity.

         22             107.    Defendant United States Small Business Administration (“SBA”) is a federal agency

         23     headquartered in Washington, D.C. SBA is a federal agency within the meaning of the APA, 5 U.S.C.

         24     § 551(1).

         25             108.    Defendant Kelly Loeffler is the Administrator of the SBA and is sued in her official

         26     capacity.
         27

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          1             109.    Defendant United States Social Security Administration (“SSA”) is a federal agency

          2     headquartered in Baltimore, Maryland. SSA is a federal agency within the meaning of the APA, 5

          3     U.S.C. § 551(1).

          4             110.    Defendant Leland Dudek is the Acting Commissioner of the SSA and is sued in his

          5     official capacity.

          6                                         FACTUAL ALLEGATIONS

          7     I.      The Constitution’s Distribution of Legislative and Executive Authority With Respect to
                        the Agencies of the Federal Government
          8
                        111.    Article I vests in Congress the legislative power to create the departments, agencies,
          9
                and offices within the executive branch; to define their duties; and to fund their activities. U.S.
         10
                Const. art. I, § 1 (“All legislative Powers herein granted shall be vested in a Congress of the United
         11
                States, which shall consist of a Senate and House of Representatives.”); INS v. Chadha, 462 U.S. 919
         12
                (1983). Thus, “[t]o Congress under its legislative power is given the establishment of offices …
         13
                [and] the determination of their functions and jurisdiction.” Myers v. United States, 272 U.S. 52, 129
         14
                (1926); U.S. Const. art I, § 8, cl. 18 (“The Congress shall have Power To…make all Laws which shall
         15
                be necessary and proper for carrying into Execution the foregoing Powers, and all other Powers
         16
                vested by this Constitution in the Government of the United States, or in any Department or Officer
         17
                thereof.”). Congress thus “control[s]” the very “existence of executive offices.” Free Enter. Fund v.
         18
                Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 500 (2010); see also Nat’l Fed’n of Indep. Bus. v.
         19
                Dep’t of Lab., OSHA, 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of statute.”).
         20
                        112.    Among Congress’s very first acts were “establishing executive departments and
         21
                staffs.” David Engdahl, Necessary and Proper Clause, The Heritage Guide to the Constitution, The
         22
                Heritage Foundation.16 When the First Congress created the Treasury Department, for example, it
         23
                established therein “distinct offices—Secretary, Comptroller, Auditor, Treasurer and Register—and
         24
                their duties.” Harvey C. Mansfield, Reorganizing the Federal Executive Branch: The Limits of
         25
                Institutionalization, 35 L. & Contemporary Problems 462, 463 (1970).
         26
         27     16
                  Available at: http://www.heritage.org/constitution/#!/articles/1/essays/59/necessary-and-proper-
         28     clause.
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          1            113.    Those executive agencies of the federal government are identified in various statutes,

          2     including 5 U.S.C. §§ 101 (listing Cabinet-level departments), 104 (independent establishments), and

          3     105 (defining “agency” to include, inter alia, Cabinet departments and independent establishments).

          4     Each agency has its own authorizing statutes that govern its administration, including statutory

          5     provisions that authorize one or more individuals to act as the head of the agency. See e.g., 10 U.S.C.

          6     §§ 111, 113 (Defense); 16 U.S.C. § 551 (Agriculture/Forest Service); 38 U.S.C. §§ 301, 303 (VA); 42

          7     U.S.C. §§ 202, 203 (HHS); 42 U.S.C §§ 281, 282 (NIH); 42 U.S.C. § 7131 (Energy).

          8            114.    The President’s Constitutional authority is set forth in Article II. U.S. Const. art. II §

          9     1, cl. 1. (“The executive Power shall be vested in a President of the United States of America.”). The

         10     President has no constitutional legislative authority. INS v. Chadha, 462 U.S. 919, 951, 956–59

         11     (1983); Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952). Thus, the President has

         12     no constitutional power to unilaterally enact, amend, or repeal parts of duly enacted statutes. Clinton

         13     v. City of New York, 524 U.S. 417, 438–39 (1998). The declared purpose of separating and dividing

         14     the powers of government was to “diffuse[] power the better to secure liberty.” Youngstown Sheet &

         15     Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952) (Jackson, J., concurring); see also Bowsher v. Synar,

         16     478 U.S. 714, 721–22 (1986) (“Justice Jackson’s words echo the famous warning of Montesquieu,

         17     quoted by James Madison in The Federalist No. 47, that ‘there can be no liberty where the legislative

         18     and executive powers are united in the same person, or body of magistrates’....” The Federalist No.

         19     47, p. 325 (J. Cooke ed. 1961).”).

         20            115.    The Article II “Take Care Clause” requires that “[the President] shall take Care that

         21     the Laws be faithfully executed.” U.S. Const. art. II, § 3. The Take Care Clause “refutes the idea that

         22     [the President] is to be a lawmaker. The Constitution limits his functions in the lawmaking process to

         23     the recommending of laws he thinks wise and the vetoing of laws he thinks bad.” Youngstown Sheet

         24     & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952).

         25            116.    And yet, the President does not execute the laws alone: “He must execute them by the

         26     assistance of subordinates.” Myers v. United States, 272 U.S. 52, 117 (1926). “To aid him in the
         27

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          1     performance of these duties, he is authorized to appoint certain officers, who act by his authority and

          2     in conformity with his orders.” Marbury v. Madison, 5 U.S. 137, 166 (1803).

          3            117.    The President’s Constitutional authority with respect to those who assist him in taking

          4     care that the law is faithfully executed is established in the Appointments Clause which reads, “The

          5     President … shall nominate, and by and with the Advice and Consent of the Senate, shall appoint …

          6     [the] Officers of the United States, whose Appointments are not herein otherwise provided for, and

          7     which shall be established by Law.” U.S. Const. art. II, § 2, cl. 2. That power extends to removal of

          8     those appointed officers. See Myers, 272 U.S. at 135.

          9            118.    This does not mean, however, that the President has carte blanche authority over

         10     federal agencies. The President may exercise Article II authority to create, reorganize, or abolish an

         11     office that he established (such as the Executive Office of the President), but Article II does not

         12     authorize the President to fundamentally reorganize the executive branch by, for example, ordering

         13     government-wide terminations of federal employees, or restricting or abolishing the congressionally

         14     authorized work of even a single agency that he did not establish. Seila Law LLC v. Consumer Fin.

         15     Prot. Bureau, 591 U.S. 197, 217 (2020); see also Bessent v. Dellinger, No. 24A79 (U.S.) (Feb. 16,

         16     2025 Application to Vacate the Order Issued by the U.S. District Court for the District of Columbia

         17     and Request for an Immediate Administrative Stay), at *27 (U.S. Solicitor General conceding:

         18     “Agency heads…control hiring and firing decisions for subordinates.” (emphasis added)).

         19            119.     “The President’s power, if any, to issue [an] order must stem either from an act of

         20     Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

         21     585 (1952). The President may, therefore, exercise only that legislative authority that Congress has

         22     constitutionally delegated. Id. at 587.

         23            120.    The President does not employ the millions of federal employees; the agencies do. 5

         24     U.S.C. § 3101 (“General authority to employ”: “Each Executive agency, military department, and the

         25     government of the District of Columbia may employ such number of employees of the various

         26     classes recognized by chapter 51 of this title as Congress may appropriate for from year to year.”).
         27     Thus, Congress has largely delegated authority, particularly for employment decisions, to the heads of

         28
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          1     the federal agencies, not to the President. Id.; see also, e.g., 26 U.S.C. §§ 7803, 7804 (IRS: “the

          2     Commissioner of Internal Revenue is authorized to employ such number of persons as the

          3     Commissioner deems proper for the administration and enforcement of the internal revenue laws, and

          4     the Commissioner shall issue all necessary directions, instructions, orders, and rules applicable to

          5     such persons.”).

          6            121.    Congress has never delegated corresponding authority to the President to make the

          7     employment decision to lay off federal employees. Instead, Congress has delegated to the President

          8     only rule-making authority to issue government-wide regulations consistent with merit-systems

          9     principles required by Congress. E.g., 5 U.S.C. § 2301 (delegating to President rule-making authority

         10     “necessary to ensure that personnel management is based on and embodies the merit system

         11     principles.”); id. § 3301 (regulations for the efficiency of hiring); id. § 3302 (authority to create

         12     excepted service from the usual competitive requirements). Likewise, to the extent that the authority

         13     to engage in reductions-in-force is grounded in statute, that statute only delegates the authority to

         14     OPM (not the President) and only to make government-wide rules for the “order of retention,” not to

         15     make the decisions. 5 U.S.C. § 3502.

         16            122.    Nor has Congress delegated to the President the authority to transfer or excise specific

         17     programs, functions, or offices that Congress established and placed within a specific agency’s

         18     statutory authority or discretion. Such a delegation would come dangerously close to the line-item

         19     veto struck down as unconstitutional in Clinton v. City of New York, 524 U.S. 417 (1998). Many of

         20     President Trump’s recent actions effectively assume that line-item veto power, namely the power to

         21     excise programs that do not fall within the President’s desired vision.

         22            123.    Finally, Congress has not delegated to President Trump the broader authority to

         23     impose his transformation on the federal government. When Congress has wanted to grant

         24     reorganization authority to a President, it has done so; but that grant of authority that has been used

         25     by Presidents over the last century has not been reactivated for President Trump.

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          1     II.    The 100-Year History of Congressionally Authorized Government Reorganization

          2            124.      Congress first delegated to a President the legislative authority to propose reforms to

          3     federal agencies in 1932. Economy Act of 1932, Pub. L. 72-212, tit. VI, §§ 401-408, 47 Stat. 413.

          4     Since then, from time to time, Congress has delegated to presidential administrations limited

          5     authority to propose reorganizations of the executive branch under specified conditions, usually

          6     within specified time limits. See, e.g., Economy Act of 1933, Pub. L. 73-2, tit. VI, §§ 401-408, 47

          7     Stat. 1517; Reorganization Act of 1939, Pub. L. 76-19, 53 Stat. 561; Reorganization Act of 1945,

          8     Pub. L. 79-263, 59 Stat. 613; Reorganization Act of 1949, Pub. L. 81-109, 63 Stat. 203, as amended

          9     by 67 Stat. 4 (1953), 69 Stat. 14 (1955), 71 Stat. 611 (1957), 75 Stat. 41 (1961), 78 Stat. 240 (1964),

         10     79 Stat. 135 (1965), 83 Stat. 6 (1969), and 85 Stat. 574 (1971); and the Reorganization Act of 1977,

         11     Pub. L. No. 95-17, 91 Stat. 29 (1977) (codified at 5 U.S.C. §§ 901-913 (1982)), as amended by 94

         12     Stat. 329 (1980) and 98 Stat. 3192 (1984).

         13            125.      Nine different Presidents on 16 occasions have been granted this authority to fast-track

         14     reorganizations of government, large and small, through the legislative process. See Cong. Rsch.

         15     Serv., R42852, Presidential Reorganization Authority: History, Recent Initiatives, and Options for

         16     Congress (Dec. 11, 2012) (“Presidents used the authority for a variety of purposes, from relatively

         17     minor reorganizations within individual agencies to the creation of large new organizations, including

         18     the Department of Health, Education, and Welfare; the Environmental Protection Agency; and the

         19     Federal Emergency Management Agency.”). Presidents have submitted many other proposals that

         20     have not been accepted: “Between 1932 and 1984, presidents submitted 126 reorganization

         21     proposals to Congress, of which 93 were implemented and 33 were affirmatively rejected by

         22     Congress.” Id.

         23            126.      A House of Representatives committee report for the Reorganization Act of 1977

         24     explained the history of such laws: “Reorganizations, of course, may be made in the executive

         25     branch by legislation proposed by the President or originating within the Congress. This

         26     reorganization authority [in the Reorganization Act], however, is a cooperative effort by the President
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          1     and the Congress to expedite needed reorganizations and to respond readily to changed

          2     requirements.” H.R. Rep. 95-105, 2, 1977 U.S.C.C.A.N. 41, 42.

          3             127.   The most recent authorization, the Reorganization Act of 1977, as amended, expired

          4     on December 31, 1984, and has not been renewed. 5 U.S.C. § 905(b). The expired law remains

          5     codified, however, and is instructive. The law defines reorganization as including changes to the

          6     structure of federal agencies effectuated by consolidating and transferring functions between

          7     agencies, and within agencies:

          8             (2) the abolition of all or a part of the functions of an agency, except that no
                        enforcement function or statutory program shall be abolished by the plan;
          9             …
                        (4) the consolidation or coordination of part of an agency or the functions thereof with
         10
                        another part of the same agency or the functions thereof;
         11             …
                        (6) the abolition of the whole or a part of an agency which agency or part does not have,
         12             or on the taking effect of the reorganization plan will not have, any functions.
         13     5 U.S.C. § 903(a).
         14             128.   In that same law, Congress imposed requirements on the President, first requiring the
         15     President to transmit any reorganization plan to Congress, and then that the President explain how
         16     any changes to federal agencies would comport with statutory requirements and congressionally
         17     authorized funding levels to facilitate Congress’s consideration of the reforms reflected in such a
         18     plan:
         19             In his message transmitting a reorganization plan, the President shall specify with
                        respect to each abolition of a function included in the plan the statutory authority for
         20
                        the exercise of the function.
         21
                        The message shall also estimate any reduction or increase in expenditures (itemized so
         22             far as practicable), and describe any improvements in management, delivery of
                        Federal services, execution of the laws, and increases in efficiency of Government
         23             operations, which it is expected will be realized as a result of the reorganizations
         24             included in the plan.

         25             In addition, the President’s message shall include an implementation section which
                        shall (1) describe in detail (A) the actions necessary or planned to complete the
         26             reorganization, (B) the anticipated nature and substance of any orders, directives, and
                        other administrative and operational actions which are expected to be required for
         27             completing or implementing the reorganization, and (C) any preliminary actions which
         28             have been taken in the implementation process, and (2) contain a projected timetable
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          1            for completion of the implementation process.

          2            The President shall also submit such further background or other information as the
                       Congress may require for its consideration of the plan.
          3

          4     5 U.S.C. § 503(b).

          5            129.    On some occasions, Congress has denied presidential requests for reorganization

          6     authority, as when President Barack Obama sought such authority in 2012. See S. 2129, 112th Cong.

          7     (2012); H.R. 4409, 112th Cong. (2012). See also Retooling Government for the 21st Century: The

          8     President’s Reorganization Plan and Reducing Duplication: Hearing Before the S. Comm. on

          9     Homeland Sec. & Gov’t Aff., 112th Cong. (2012) (S. Hrg. 112-531). In 2003, reorganization authority

         10     for then-President Bush passed the House, but was defeated in the Senate. CRS Report R42852,

         11     supra, at 32-33.

         12            130.    Congress, exercising its Article I legislative authority, has also over the decades

         13     rejected specific presidential reorganization plans presented through the regular legislative process.

         14     These have included, for example, proposals to eliminate the Department of Education, see, e.g., H.R.

         15     714, 98th Cong. (1983) and H.R. 1510, 115th Cong. (2017); to merge the Department of Labor, the

         16     Department of Commerce, and the Small Business Administration, see, e.g. S. 1116, 112th Cong.

         17     (2011); and to consolidate parts of several agencies into a new Food Safety Administration. H.R.

         18     609, 114th Cong. (2015); among others.

         19            131.    At other times, Congress has authorized reorganizations via regular legislation, after

         20     legislative debate and compromise by the people’s representatives in Congress, such as when

         21     Congress enacted the Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135;

         22     Communication from the President of the United States: A Reorganization Plan for the Department of

         23     Homeland Sec., 108th Cong. 16 (Jan. 7, 2003); Cong. Rsch. Serv., RL31493, Homeland Security

         24     Department of Organization and Management – Legislative Phase (Feb. 25, 2003). Congress has

         25     also sometimes delegated to the President limited reorganization authority with respect to specific

         26     executive agencies, under specific conditions, and for specific periods of time. One such law, for

         27     example, authorized a reorganization of the U.S. Agency for International Development (“USAID”)

         28     and related foreign affairs agencies in 1998. See, e.g., Pub. L. 105-277, div. G, subdiv. A, § 1601,
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                              32

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          1     112 Stat. 2681-795 (1998) (codified at 22 U.S.C. § 6601). Such laws typically set expiration dates

          2     for the delegated authority: that particular law, for example, prohibits presidential reorganization of

          3     USAID after the effective date of the reorganization plan authorized in 1998. 22 U.S.C. § 6601(e).

          4            132.    The long history of this reorganization authority legislation makes abundantly clear

          5     that the power is legislative, rests with Congress, and is only delegated to the President when

          6     Congress expressly decides to do that.

          7     III.   President Trump’s First Unsuccessful Attempt at Government Reorganization

          8            133.    President Trump should be well aware that he does not possess the constitutional

          9     authority to order reorganization of the government and that that is an authority that rests with

         10     Congress, as evidenced by his experience during his first term.

         11            134.    On March 13, 2017, during his first term, President Trump issued Executive Order

         12     13781, which required the Director of OMB “to propose a plan to reorganize governmental functions

         13     and eliminate unnecessary agencies ... , components of agencies, and agency programs.” Exec. Order

         14     No. 13781, 82 Fed. Reg. 13959 (2017). OMB’s implementing memorandum created a process for

         15     both agency and public input to contribute to a proposed plan. Memorandum from Mick Mulvaney,

         16     OMB Director, to Heads of Executive Departments and Agencies re: Comprehensive Plan for

         17     Reforming the Federal Government and Reducing the Federal Civilian Workforce, M-17-22, at 2

         18     (Apr. 12, 2017).17

         19            135.    OMB released its comprehensive plan to the public on June 21, 2018. OMB,

         20     Delivering Government Solutions in the Twenty-First Century: Reform Plan and Reorganization

         21     Recommendations (June 2018) (hereinafter “2018 Reorganization Plan”).18

         22            136.    The 2018 Reorganization Plan listed 32 proposals and conceded that “significant

         23     changes will require legislative action.” Id. at 4; id. at 21 (emphasizing the Administration’s need for

         24     “the support of the Congress,”); id. at 55 (“Fully and effectively achieving the end-state vision

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                   Available at:
         26     https://web.archive.org/web/20170716192101/https://www.whitehouse.gov/sites/whitehouse.gov/
         27     files/omb/memoranda/2017/M-17-22.pdf.
                18
                   Available at: https://www.whitehouse.gov/wp-content/uploads/2018/06/Government-Reform-and-
         28     Reorg-Plan.pdf.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                             33

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          1     presented here would necessarily require a partnership with the Congress, including the granting of

          2     statutory authorities as necessary.”). The 2018 Plan committed that, in September 2018, OMB would

          3     begin negotiations with Congress for legislative action. Id. at 6.

          4            137.    In 2018, Rep. Jody Hice (R-GA) introduced a bill that would have resurrected 5

          5     U.S.C. ch. 9 to give President Trump reorganization authority. See H.R.6787, 115th Congress (2017-

          6     2018).19 Senator Ron Johnson (R-WI) introduced a companion bill in the Senate. See S.3137,115th

          7     Congress (2018).20 The Senate bill cleared the committee following a hearing, but it was never

          8     brought up for a vote in the Senate. The Senate’s committee report does not appear to indicate (or

          9     even suggest) that the Trump administration expressly requested authority, but OMB’s deputy

         10     director testified in support of Trump’s reorganization plan at the committee hearing. See Reforming

         11     Government Act of 2018 Report of Comm. on Govt’l Aff. to Accompany S. 3137, 115th Cong. 381

         12     (2018).21

         13            138.    In 2019, the Trump administration issued an update on the progress of the 2018 Plan.

         14     Off. of Mgmt. & Budget, Exec. Off. of the President, One Year [sic] Update: Reform Plan and

         15     Reorganization Recommendations (2019) (hereinafter “2019 Update”).22 The update noted that

         16     “some proposals require action by Congress.” Id. at 2. Along those lines, the update acknowledged

         17     that “Congress has taken action to consider at least 10 of the proposals, via hearings, legislation, or

         18     discussions with Members or staff.” Id.

         19            139.    Congress gave due consideration to the Trump administration’s first-term

         20     reorganization ambitions by convening numerous hearings before and after OMB publicly released

         21     the 2018 Plan. See, e.g., FAA Reauthorization: Administration Perspectives: Hearing Before the S.

         22     Comm. on Commerce, Science & Transp., 115th Cong. (June 7, 2017) (S. Hrg. 115-221);23 Agency

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         24     19
                   Available at: https://www.congress.gov/bill/115th-congress/house-bill/6787/subjects.
                20
         25        Available at: https://www.congress.gov/bill/115th-congress/senate-bill/3137.
                21
                   Available at: https://www.congress.gov/115/crpt/srpt381/CRPT-115srpt381.pdf.
         26     22
                   Available at:
         27     https://web.archive.org/web/20200716100903/https://www.performance.gov/GovReform/Reform-
                and-Reorg-Plan-Update.pdf.
                23
         28        Available at: https://www.congress.gov/115/chrg/CHRG-115shrg29974/CHRG-115shrg29974.pdf.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                              34

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          1     Approaches to Reorganization Examining OMB’s Memorandum on the Federal Workforce: Hearing

          2     Before S. Comm. on Homeland Sec. & Govt’l Aff., 115th Cong. (June 15, 2017) (S. Hrg. 115-165);24 A

          3     Review of the State Department Reauthorization Bill for Fiscal Year 2018 and the State Department

          4     Reorganization Plans: Hearing Before the S. Comm. on For. Rel., 115th Cong. (July 17, 2017) (S.

          5     Hrg. 115-704);25 Examining OMB’s Memorandum on The Federal Workforce Part II: Expert Views

          6     on OMB’s Ongoing Government-Wide Reorganization: Hearing Before the S. Comm. on Homeland

          7     Sec. & Govt’l Aff., 115th Cong. (Sep. 13, 2017) (S. Hrg. 115-6177);26 Department of Energy:

          8     Management and Priorities; Hearing Before the H. Comm. on Science, Space, & Tech., 115th Cong.

          9     (Jan. 1, 2018) (Serial No. 115-45);27 Financing Overseas Development: The Administration’s

         10     Proposal: Hearing Before the H. Comm. on For. Rel., 115th Cong. (Apr. 11, 2018) (Serial No. 115-

         11     119);28 Workforce for the 21st Century: Analyzing the President’s Management Agenda: Hearing

         12     Before the H. Comm. on Oversight & Gov’t Reform, 115th Cong. (May 16, 2018) (Serial No. 115-

         13     96);29 USAID Resources and Redesign: Hearing Before the S. Comm. on For. Rel., 115th Cong. (June

         14     20, 2018) (S. Hrg. 115-791);30 Examining the Administration’s Government-Wide Reorganization

         15     Plan: Hearing Before H. Comm. on Oversight & Gov’t Reform, 115th Cong. (June 27, 2018) (Serial

         16     No. 115-88);31 Reviewing the Administration’s Government Reorganization Proposal: Hearing Before

         17     the S. Comm. on Homeland Sec. & Gov’t Aff., 115th Cong. (July 18, 2018) (S. Hrg. 115-547);32

         18     Administration Reorganization and Modernization Proposals Related to the Department of Energy

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                   Available at: https://www.govinfo.gov/content/pkg/CHRG-115shrg27394/pdf/CHRG-
         21     115shrg27394.pdf.
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                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg38105/CHRG-115shrg38105.pdf.
         22     26
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg28405/CHRG-115shrg28405.pdf.
                27
         23        Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg28932/CHRG-
                115hhrg28932.pdf.
                28
         24        Available at: https://www.congress.gov/115/meeting/house/108115/documents/HHRG-115-FA00-
                Transcript-20180411.pdf.
         25     29
                   Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg31422/CHRG-
                115hhrg31422.pdf.
         26     30
                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg40341/CHRG-115shrg40341.pdf.
                31
         27        Available at: https://www.congress.gov/115/chrg/CHRG-115hhrg31276/CHRG-
                115hhrg31276.pdf.
                32
         28        Available at: https://www.congress.gov/115/chrg/CHRG-115shrg34573/CHRG-115shrg34573.pdf.
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          1     and the Department of the Interior: Hearing Before S. Comm. on Energy and Nat’l Resources, 115th

          2     Cong. (July 19, 2018) (S. Hrg. 115-524);33 The Challenges and Opportunities of the Proposed

          3     Government Reorganization on OPM and GSA: Hearing Before the S. Comm. on Homeland Sec. &

          4     Gov’t Aff. (July 26, 2018) (S. Hrg. 115-451);34 Oversight Hearing on No Road Map, No Destination,

          5     No Justification: The Implementation and Impacts of the Reorganization of the Department of the

          6     Interior: Hearing Before the H. Comm. on Nat. Res., 116th Cong. (Apr. 30, 2019) (Serial No. 116-

          7     13);35 The Administration’s War on a Merit Based Civil Service: Hearing Before the Subcomm. on

          8     Gov’t Ops., H. Comm on Oversight & Reform, 116th Cong. (May 21, 2019) (Serial No. 116-26);36

          9     Document Production Status Update: OPM, FBI, and GSA: Hearing Before the Subcomm. on Gov’t

         10     Ops., H. Comm on Oversight & Reform, 116th Cong. 42 (June 27, 2019);37 BLM Disorganization:

         11     Examining the Proposed Reorganization and Relocation of the Bureau of Land Management

         12     Headquarters to Grand Junction, Colorado: Hearing Before the H. Comm. on Nat. Res., 116th Cong.

         13     (Sep. 19, 2019) (Serial No. 116-21).38

         14            140.    The Congressional Research Service aided Congress in its deliberations by preparing a

         15     report, which discussed the 2018 Plan’s 32 proposals and 3 significant subproposals. Cong. Rsch.

         16     Serv., Trump Administration Reform and Reorganization Plan: Discussion of 35 “Government-Wide”

         17     Proposals, at 1 (July 25, 2018).39

         18            141.    Congress largely did not support the proposed reforms. See The Administration’s War

         19     on a Merit Based Civil Service: Hearing Before the Subcomm. on Gov’t Ops., H. Comm on Gov’t

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                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg30984/CHRG-115shrg30984.pdf.
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                   Available at: https://www.congress.gov/115/chrg/CHRG-115shrg32987/CHRG-115shrg32987.pdf.
         22     35
                   Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg36257/CHRG-
         23     116hhrg36257.pdf.
                36
                   Available at: https://docs.house.gov/meetings/GO/GO24/20190521/109516/HMTG-116-GO24-
         24     Transcript-20190521.pdf.
                37
                   Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg37283/CHRG-
         25     116hhrg37283.pdf.
                38
         26        Available at: https://www.congress.gov/116/chrg/CHRG-116hhrg37679/CHRG-
                116hhrg37679.pdf.
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         27        Available at:
                https://www.everycrsreport.com/files/20180725_ZZZ82A53B606F807500_43464c0b3704bd6aa820
         28     6aed6f1bc07c69cfcdfc.pdf.
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          1     Oversight & Reform, 116th Cong. (May 21, 2019) (Serial No. 116-26); see also Fed. News Network,

          2     Congress not yet convinced of Trump administration’s proposed OPM-GSA merger (May 22, 2019)

          3     (“Lawmakers on Tuesday afternoon expressed bipartisan concern and skepticism for the Trump

          4     administration’s proposed merger of the Office of Personnel Management with the General Services

          5     Administration. And they weren’t alone. The Government Accountability Office, OPM’s inspector

          6     general and a former agency director said the administration hasn’t demonstrated enough evidence to

          7     date to show the proposed OPM-GSA merger makes sense.”);40 Gov’t Exec., Omnibus Puts Kibosh

          8     on White House Efforts to Unilaterally Reorganize Agencies, Shed Workers. (Mar. 22, 2018);41 Gov’t

          9     Exec., Congress Begins Formally Blocking Trump’s Government Reorganization Plan. (Sep. 12,

         10     2018).42

         11     IV.    President Trump’s Second-Term Reorganization Without Congressional Authorization

         12            142.    Since Congress, as the representatives duly elected by the American people to the

         13     legislative branch of government, may not support his reform proposals, President Trump has chosen

         14     to proceed with his “Manhattan project of our time” without first obtaining Congressional

         15     authorization—or even providing Congress with clear information about the unprecedented

         16     reorganization he intends. And unlike during President Trump’s first term, there has been absolutely

         17     no public process by which the Administration’s current proposals have been vetted. Instead, the

         18     Administration is proceeding secretly, and by fiat.

         19            143.    The President has acknowledged that he needs and does not have Congressional

         20     authorization. The President responded “Yeah,” when asked in a February 18, 2025 interview by TV

         21     host Sean Hannity whether his Executive Order would “have to be codified into law” and “need the

         22

         23

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         25     40
                   Available at: https://federalnewsnetwork.com/opm-reorganization/2019/05/congress-not-yet-
                convinced-of-trump-administrations-proposed-opm-gsa-merger/.
         26     41
                   Available at: https://www.govexec.com/management/2018/03/omnibus-puts-kibosh-white-house-
         27     efforts-unilaterally-reorganize-agencies-shed-workers/146894/.
                42
                   Available at: https://www.govexec.com/management/2018/09/congress-begins-formally-blocking-
         28     trumps-government-reorganization-plan/151218/.
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          1     Republican Congress to follow up.” The White House: Interview of President Trump and Elon Musk

          2     by Sean Hannity, “the Sean Hannity Show” (Feb. 18, 2025).43

          3            A.      The Mandate to OMB, OPM, and DOGE to Reform and Downsize

          4            144.    On January 20, 2025, the President created DOGE to engage in his project of radically

          5     transforming the size and scope of the federal government. Exec. Order No. 14158, 90 Fed. Reg.

          6     8441 (Jan. 20, 2025) (Establishing and Implementing the President’s ‘‘Department of Government

          7     Efficiency’). That Order reorganized and renamed the U.S. Digital Service as DOGE and moved that

          8     office from reporting to OMB within the Executive Office of the President to reporting directly to the

          9     President’s Chief of Staff. Id. The January 20 Order created two other structures: a “U.S. DOGE

         10     Service Temporary Organization … headed by the [DOGE] Administrator and … dedicated to

         11     advancing the President’s 18-month DOGE agenda” and “DOGE Teams” embedded at each agency

         12     and jointly appointed by DOGE and the agency head. Id. The Administration has never made public

         13     the “18-month DOGE agenda” for the federal government. Id.

         14            145.    On January 20, 2025, the President also issued a Presidential Memorandum imposing

         15     a government-wide hiring freeze on all federal agencies, with limited exceptions. The White House:

         16     Presidential Actions: Hiring Freeze (Jan. 20, 2025).44 The President generally ordered: “this freeze

         17     applies to all executive departments and agencies regardless of their sources of operational and

         18     programmatic funding.” Id. The President then ordered DOGE, OMB, and OPM to create a plan to

         19     reduce the size of the federal government. Id. (“Within 90 days of the date of this memorandum, the

         20     Director of the Office of Management and Budget (OMB), in consultation with the Director of OPM

         21     and the Administrator of the United States DOGE Service (USDS), shall submit a plan to reduce the

         22     size of the Federal Government’s workforce through efficiency improvements and attrition.”).

         23            146.    As other federal courts have found, individuals affiliated with DOGE, hired into the

         24     federal government on a temporary basis, proceeded to embed within federal agencies and centralize

         25     decision-making, with the part of DOGE based in the Executive Office of the President headed by

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                43
         27        Available at: https://www.whitehouse.gov/remarks/2025/02/interview-of-president-trump-and-
                elon-musk-by-sean-hannity-the-sean-hannity-show/.
                44
         28        Available at: https://www.whitehouse.gov/presidential-actions/2025/01/hiring-freeze/.
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          1     Elon Musk. See, e.g., Does v. Musk, __ F. Supp. 3d __, No. 25-0462, 2025 WL 840574, at *1–4 (D.

          2     Md. Mar. 18, 2025); New York v. Trump, __ F. Supp. 3d __, No. 25-CV-01144, 2025 WL 573771, at

          3     *3–7 (S.D.N.Y. Feb. 21, 2025); AFL-CIO v. Dep’t of Lab., __F. Supp. 3d __, No. 25-339, 2025 WL

          4     1129227, at *1–4 (D.D.C. Apr. 16, 2025).

          5            147.    In a March 2025 interview, Elon Musk, on behalf of DOGE, explained the DOGE

          6     goals as follows:

          7            We want to reduce the spending by eliminating waste and fraud, reduce the spending
                       by 15%, which seems really quite achievable.
          8            …
                       We are cutting the waste and fraud in real time. Every day like that passes, our goal is
          9
                       to reduce the waste and fraud by $4 billion a day every day, seven days a week. And
         10            so far, we are succeeding.45

         11            148.    The President issued many other directives aimed at furthering the goals of
         12     transformation of the government and federal employment according to his vision, at each step
         13     enlisting the aid of OPM, OMB and/or DOGE to implement his directives, including:
         14              •    Exec. Order No. 14151, 90 Fed. Reg. 8339 (Jan. 20, 2025) (Ending Radical and
                              Wasteful Government DEI Programs and Preferencing) (OMB and OPM);
         15

         16              •    Exec. Order No. 14170, 90 Fed. Reg. 8621 (Jan. 20, 2025) (Reforming the
                              Federal Hiring Process and Restoring Merit to Government Service) (OMB,
         17                   OPM, DOGE, working with “the Assistant to the President for Domestic
                              Policy”);
         18
                         •    Exec. Order No. 14171, 90 Fed. Reg. 8625 (Jan. 20, 2025) (Restoring
         19
                              Accountability to Policy-Influencing Positions Within the Federal Workforce)
         20                   (OPM); and

         21              •    Exec. Order No. 14173, 90 Fed. Reg. 8633 (Jan. 21, 2025) (Ending Illegal
                              Discrimination and Restoring Merit-Based Opportunity) (OMB).
         22

         23     In the President’s own words: “It is the policy of my Administration … to commence the

         24     deconstruction of the overbearing and burdensome administrative state.” Exec. Order No. 14219, 90

         25     Fed. Reg. 10583 (Feb. 19, 2025) (Ensuring Lawful Governance and Implementing the President’s

         26
                45
         27       Fox News, Elon Musk and DOGE team give exclusive look at how they're cutting waste, handle
                critics (Mar. 27, 2025), available at: https://www.foxnews.com/video/6370654825112. Transcript
         28     available at: https://www.rev.com/transcripts/musk-and-doge-on-brett-baier.
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          1     “Department of Government Efficiency” Deregulatory Initiative) (enlisting DOGE and OMB); see

          2     also Exec. Order No. 14222, 90 Fed. Reg. 11095 (Feb. 26, 2025) (Implementing the President’s

          3     Department of Government Efficiency Cost Efficiency Initiative: enlisting DOGE in “a

          4     transformation in Federal spending”).

          5               149.   The President also eliminated certain agencies with the following proclamation:

          6               It is the policy of my Administration to dramatically reduce the size of the Federal
                          Government, while increasing its accountability to the American people. This order
          7               commences a reduction in the elements of the Federal bureaucracy that the President
                          has determined are unnecessary. Reducing the size of the Federal Government will
          8
                          minimize Government waste and abuse, reduce inflation, and promote American
          9               freedom and innovation.

         10     Exec. Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025) (Commencing the Reduction of the
         11     Federal Bureaucracy) (enlisting OMB and OPM to eliminate the Presidio Trust; the Inter-American
         12     Foundation; the United States African Development Foundation; and the United States Institute of
         13     Peace).
         14               150.   The President further enlisted OMB to “reduce the performance” of the following
         15     agencies to “the minimum presence and function required by law”: the Federal Mediation and
         16     Conciliation Service; the United States Agency for Global Media; the Woodrow Wilson International
         17     Center for Scholars in the Smithsonian Institution; the Institute of Museum and Library Services; the
         18     United States Interagency Council on Homelessness; the Community Development Financial
         19     Institutions Fund; and the Minority Business Development Agency. Exec. Order No. 14238, 90 Fed.
         20     Reg. 13043 (Mar. 14, 2025) (Continuing the Reduction of the Federal Bureaucracy). The President
         21     explained: “This order continues the reduction in the elements of the Federal bureaucracy that the
         22     President has determined are unnecessary.” Id.
         23               151.   The President also ordered the “closure” of the entire United States Department of
         24     Education and transfer of certain functions to other agencies. Exec. Order No. 14242, 90 Fed. Reg.
         25     13679 (Mar. 20, 2025) (Improving Education Outcomes by Empowering Parents, States, and
         26     Communities). The President likewise closed the United States Agency for International
         27

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          1     Development, firing nearly all of its staff, and subsumed what remained into the State Department,46

          2     as well as shuttered the Consumer Financial Protection Bureau, attempting to fire nearly all of its

          3     staff as well.47 Most recently, the President decimated AmeriCorps, ending core programs and

          4     placing nearly all staff on leave before later laying them off and cutting the bulk of grants to

          5     AmeriCorps grantees.48

          6            152.    DOGE and/or OPM have taken a series of other actions since January 20, 2025 aimed

          7     at deconstructing and drastically reducing the size of the federal government, including: the “Fork in

          8     the Road” Deferred Resignation Program, announced via e-mail to millions of federal employees; the

          9     unlawful termination of probationary employees nationwide; the mandated email reporting (“5

         10     bullets”) to all federal employees and corresponding threats for failure to respond; and the placement

         11     of employees throughout the federal government on administrative leave for a variety of reasons.

         12            B.      President’s February 11, 2025 Executive Order to All Federal Agencies to
                               Downsize and Reorganize Themselves Via Agency RIF and Reorganization Plans
         13
                       153.    The President’s February 11, 2025 Workforce Executive Order is in the same vein as
         14
                these other actions, furthering the President’s express goal of “transforming” and “deconstruct[ing]”
         15
                the agencies of the federal government. Ex. A.
         16
                       154.    The Executive Order applies to the executive departments and agencies, including but
         17
                not limited to the Federal Agency Defendants. Id. (citing 44 U.S.C. § 3502). There are currently
         18

         19

         20

         21     46
                   Carnegie Endowment for International Peace, Trump’s Move to Gut USAID Reveals the Crux of
         22     His Foreign Policy (Feb. 4, 2025), available at:
                https://carnegieendowment.org/emissary/2025/02/usaid-trump-foreign-aid-policy-why.
                47
         23        NBC News, Trump administration and Musk's DOGE plan to fire nearly all CFPB staff and wind
                down agency, employees say (Feb. 28, 2025), available at:
         24     https://www.nbcnews.com/business/business-news/trump-administration-musks-doge-plan-fire-cfpb-
                staff-close-agency-rcna194217.
         25     48
                   NY Times, DOGE Guts Agency That Organizes Community Service Programs (Apr. 17, 2025),
                available at: https://www.nytimes.com/2025/04/17/us/politics/doge-cost-americorps-community-
         26     service.html; see also MSN, AmeriCorps Faces Major Blow As Elon Musk-Led DOGE Slashes $400
         27     Million In Federal Grants (Apr. 26, 2025), available at: https://www.msn.com/en-
                in/news/world/americorps-faces-major-blow-as-elon-musk-led-doge-slashes-400-million-in-federal-
         28     grants/ar-AA1DEjSo.
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          1     fifteen executive cabinet-level departments, 5 U.S.C. § 101, and hundreds of federal agencies and

          2     commissions.49

          3              155.     The President ordered, in pertinent part:

          4              a.       Reduction of the number of federal employees via hiring freezes, hiring/departure

          5     ratios, and OMB and DOGE control of agency hiring. Ex. A, Sec. 3. Specifically, the President

          6     required OMB to submit to him a “plan to reduce the size of the Federal Government’s workforce”

          7     that will “require that each agency hire no more than one employee for every four employees that

          8     depart, consistent with the plan and any applicable exemptions and details provided for in the Plan.”

          9     Id. The President allowed limited exceptions for “functions related to public safety, immigration

         10     enforcement, or law enforcement.” The President required all agency heads to submit all career

         11     federal hiring to DOGE for approval. Id.

         12              b.       All federal agencies “shall promptly undertake preparations to initiate large-scale

         13     reductions in force (RIFs).” Id. In making these cuts, the President ordered that “[a]ll offices that

         14     perform functions not mandated by statute or other law shall be prioritized in the RIFs, including”:

         15                   •   “all agency diversity, equity, and inclusion initiatives”;
         16                   •   “all agency initiatives, components, or operations that my Administration suspends or
         17                       closes”; and

         18                   •   “all components and employees performing functions not mandated by statute or other
                                  law who are not typically designated as essential during a lapse in appropriations as
         19                       provided in the Agency Contingency Plans on the Office of Management and Budget
                                  website” (“Funding Lapse Plan Staffing Levels”).
         20

         21     Id. (emphasis added). The President allowed limited exceptions: “This subsection shall not apply to

         22     functions related to public safety, immigration enforcement, or law enforcement.” Id.

         23              c.       All federal agencies shall submit to OMB a “reorganization plan” that “shall discuss

         24     whether the agency or any of its subcomponents should be eliminated or consolidated.” Id.

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         27
                49
         28          Available at: https://www.usa.gov/agency-index.
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          1            156.    The President’s Executive Order removed agency discretion and authority, by ordering

          2     agencies to act. The President’s Executive Order necessarily orders agencies to disregard applicable

          3     statutory authorizations and appropriations, by implementing the following mandates:

          4            a.      Agencies are required to implement “large-scale” RIFs (irrespective of whether

          5                    staffing reductions are necessary or even appropriate in light of agency functions and

          6                    appropriations);

          7            b.      Agencies are required to prioritize in RIFs “all agency initiatives, components, or

          8                    operations that [the] Administration suspends or closes” (irrespective of statutory

          9                    requirements or authority delegated to the agencies);

         10            c.      Agencies are required to prioritize in RIFs “all components and employees” not

         11                    deemed “essential”—and therefore that do not continue working—during a

         12                    government shutdown when annual appropriations have temporarily lapsed (aka

         13                    Funding Lapse Plan Staffing Levels, which have nothing to do with the staffing

         14                    needed to properly run fully appropriated agencies);

         15            d.      Agencies are required to consider their own destruction, by addressing whether the

         16                    agency or any subparts should be eliminated by the President (again, regardless of

         17                    statutory requirements or authority delegated to the agencies);

         18            e.      And finally, agencies are required to reorganize themselves by picking up and

         19                    arranging the pieces that are left, following these large-scale reductions.

         20            157.    The President further granted OPM, rather than the agencies, the power to “grant

         21     exemptions from this order where those exemptions are otherwise necessary and shall assist in

         22     promoting workforce reduction.” Id., Sec. 4.

         23            158.    The President gave agencies a mere 30 days, after commencing their planning for the

         24     massive RIFs, to submit reorganization reports describing how they would pick up and organize the

         25     pieces of what will be left. Id., Sec. 3.

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          1            159.    Notwithstanding all of these requirements that order agencies to apply parameters that

          2     cannot be reconciled with agency statutory authority, the President then stated the Order should be

          3     implemented consistent with applicable law. Id. Sec. 5.

          4            C.      OMB, OPM, and DOGE Implementation of the President’s Orders: February 26
                               Directive, March 13 Deadline, and April 14 Deadline
          5
                       160.    On February 26, 2025, OMB and OPM issued a Memorandum to Heads of Executive
          6
                Departments and Agencies, including but not limited to the Federal Agency Defendants, regarding
          7
                “Guidance on Agency RIF and Reorganization Plans Requested by Implementing The President’s
          8
                ‘Department of Government Efficiency’ Workforce Optimization Initiative.” Ex. B.
          9
                       161.    OMB and OPM echoed the President’s purposes in transforming the federal
         10
                bureaucracy, explaining:
         11
                       The federal government is costly, inefficient, and deeply in debt. At the same time, it
         12            is not producing results for the American public. Instead, tax dollars are being
                       siphoned off to fund unproductive and unnecessary programs that benefit radical
         13            interest groups while hurting hard-working American citizens.
         14
                       The American people registered their verdict on the bloated, corrupt federal
         15            bureaucracy on November 5, 2024 by voting for President Trump and his promises to
                       sweepingly reform the federal government.
         16     Id.
         17            162.    In this Memorandum, OMB and OPM directed federal agencies to comply with the
         18     President’s Executive Order by submitting the “Agency RIF and Reorganization Plans” (“ARRPs”)
         19     required by the Workforce Executive Order to OMB and OPM for “review and approval.” Id.
         20            163.    The OMB and OPM February 26 Memorandum, by imposing onerous requirements
         21
                under exceptionally unreasonable time frames, guarantees that agencies will not be able to comply
         22     with their statutory and regulatory mandates, will not exercise any existing discretion in a manner
         23     that is faithful to those mandates or results from considered, proper decision-making, and will instead
         24     do the President’s unlawful bidding. The OMB and OPM February 26 Memorandum, by endowing
         25     OMB and OPM with ultimate decision-making power as to the ARRPs, transfers decision-making to
         26     those without personal knowledge of or experience with the particular requirements and obligations
         27

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          1     of these agencies, their component parts, or of the work performed by their employees—and the

          2     impacts of eliminating that work.

          3            164.    OMB and OPM set forth requirements for the ARRPs that included instructing that

          4     ARRPs “should” include “[a] significant reduction in the number of full-time equivalent (FTE)

          5     positions by eliminating positions that are not required.” OMB and OPM explained further:

          6     “Pursuant to the President’s direction, agencies should focus on the maximum elimination of

          7     functions that are not statutorily mandated while driving the highest-quality, most efficient delivery of

          8     their statutorily required functions.” Id. OMB and OPM further directed that agencies “should

          9     also[,]” among other things:

         10                •   “seek to consolidate areas of the agency organization chart that are duplicative”;
         11                •   “consolidate management layers where unnecessary layers exist”; and
         12                •   “seek reductions in components and positions that are non-critical[.]”
         13     OMB and OPM further instructed: “When taking these actions, agencies should align closures and/or

         14     relocation of bureaus and offices with agency return-to-office actions to avoid multiple relocation

         15     benefit costs for individual employees.” Id.

         16            165.    OMB and OPM also directed agencies to work with DOGE in planning required RIFs

         17     for non-essential positions, and to use 2019 Funding Lapse Plan Staffing Levels as the “starting

         18     point” for identifying those positions that are “essential.” Ex. B.

         19            166.    Among the “tools” OMB and OPM directed agencies could use: “Eliminating non-

         20     statutorily mandated functions through RIFs (Appendix 1 contains a sample timeline).” Then, OMB

         21     and OPM directed that agencies must include the following in the plans submitted for approval:

         22            ARRPs should also list the competitive areas for large-scale reductions in force, the
                       RIF effective dates (which may be a date prior to when the plan is submitted), the
         23            expected conclusion of the RIFs, the number of FTEs reduced, and additional impact
                       of RIFs such as cancellation of related contracts, leases or overhead.
         24

         25     Id.

         26            167.    OMB and OPM required the ARRPs to be submitted for approval in two phases, the

         27     first of which was due merely two weeks later on March 13, 2025, and the second on April 14, 2025,

         28     and then gave specific requirements for each phase. Id.
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          1               168.   The March 13 “Phase 1 ARRPs shall focus on initial agency cuts and reductions.” Id.

          2     Agencies were required to identify, among other things, Funding Lapse Plan Staffing Levels:

          3               All agency components and employees performing functions not mandated by statute
                          or regulation who are not typically designated as essential during a lapse in
          4               appropriations (because the functions performed by such employees do not fall under
                          an exception to the ADA) using the Agency Contingency Plans submitted to OMB in
          5
                          2019 referenced above.
          6
                Id. (emphasis added). Agencies were also required to identify “[w]hether the agency or any of its
          7
                subcomponents should be eliminated or consolidated.” Id.
          8
                          169.   The April 14 Phase 2 plans were required to contain further information regarding the
          9
                reorganization in light of the required RIFs, including a new organization chart and, among other
         10
                things:
         11
                      •   The agency’s plan to ensure that employees are grouped, to the greatest extent possible, based
         12               on like duties and job functions to promote effective collaboration and management, and that
                          the agency’s real estate footprint is aligned with cross-agency efforts coordinated by GSA to
         13               establish regional federal office hubs.
         14
                      •   Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
         15               National Capital Region to less-costly parts of the country.

         16           •   The competitive areas for subsequent large-scale RIFs.
         17
                      •   All reductions, including FTE positions, term and temporary positions, reemployed
         18               annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.

         19           •   Any components absorbing functions, including how this will be achieved in terms of FTE
                          positions, funding, and space.
         20
                Id.
         21
                          170.   In the sample timeline provided in Appendix 1, OMB and OPM explained that
         22
                “[a]gencies can accelerate [the] timelines” for conducting RIFs by “seek[ing] OPM waiver approval
         23
                for a 30-day notification period,” instead of the 60-day period generally required by the RIF statute
         24
                and regulations. The RIF statute and regulations provide that OPM may approve such a waiver, at the
         25
                request of an agency, “[w]hen a reduction in force is caused by circumstances not reasonably
         26
                foreseeable.” 5 C.F.R. § 351.801; see 5 U.S.C. § 3502. OMB and OPM stated that agencies can also
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          1     speed up the RIF process “through parallel processing . . . expediting process steps, and streamlining

          2     stakeholder coordination.”

          3            171.    Finally, OMB and OPM instructed once again that “law enforcement, border security,

          4     national security, immigration enforcement, or public safety responsibilities” as well as political

          5     appointees were exempt from these “transformation” efforts and that agencies providing services to

          6     the public were not permitted to implement any RIFs without OMB or OPM sign-off. Id.

          7            172.    On information and belief, it is not possible for any federal agency, let alone all federal

          8     agencies, to create an ARRP that both accommodates the specific parameters required by the

          9     President, OMB, and OPM and complies with all of the federal agency’s statutory and regulatory

         10     requirements in a mere two weeks, by the March 13 deadline, or even realistically by the April 14

         11     deadline. The OMB/OPM Memorandum did not provide agencies enough time to properly assess an

         12     agency’s statutory requirements, let alone assess how to comply with them and the President’s

         13     directives.

         14            173.    The requirements for the ARRPs imposed by OMB and OPM on all federal agencies

         15     effectively removed independent decision-making authority from the agencies and required agencies

         16     to disregard the statutory authority governing the agency’s organization, functions, personnel

         17     requirements, and appropriations. The language directing agencies to comply with applicable law in

         18     creating these plans was disingenuous.

         19            174.    The February 26, 2025 OMB and OPM memorandum contained new or modified rules

         20     without engaging in notice and comment rule-making, and effectively required agencies (including

         21     but not limited to Federal Agency Defendants) to comply with these new and modified rules

         22     regardless of any prior existing regulations.

         23            175.    On information and belief, DOGE, via individuals in the Executive Office of the

         24     President and DOGE teams embedded at agencies (including but not limited to Federal Agency

         25     Defendants), has enforced the requirements of the President’s Executive Order and OMB/OPM

         26     Memorandum, including by ordering federal agencies to make mandated cuts eliminating positions,
         27     programs, offices, and functions. On information and belief, DOGE has required federal agencies to

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          1     comply with required targets imposed by DOGE for spending reductions by eliminating positions,

          2     programs, offices, and functions to meet the DOGE stated goal of imposing spending cuts

          3     government-wide.

          4            176.   In sum, OMB, OPM, and DOGE have usurped agency authority, exceeded their own

          5     authority, acted in an arbitrary and capricious manner, and ignored procedural requirements by

          6     requiring federal agencies throughout the government, including but not limited to Federal Agency

          7     Defendants, to:

          8            a.     Submit ARRPs for OMB and OPM approval;

          9            b.     Include in those ARRPs large-scale RIFs (irrespective of whether staffing reductions

         10            are necessary or even appropriate in light of agency functions and appropriations);

         11            c.         Prioritize in those large-scale RIFs any functions that “[the President’s]

         12            Administration suspends or closes” (irrespective of statutory requirements or authority

         13            delegated to the agencies);

         14            d.     Prioritize in those large-scale RIFs 2019 government emergency shutdown levels of

         15            staffing (which have nothing to do with the staffing needed to properly run fully appropriated

         16            agencies);

         17            e.     Include in their ARRPs consideration of their own destruction, by addressing whether

         18            the agency or any subparts should be eliminated by the President (again, regardless of

         19            statutory requirements or authority delegated to the agencies);

         20            f.     Include in their ARRPs a plan to reorganize themselves by picking up and arranging

         21            the pieces that are left, following these large-scale reductions;

         22            g.     Submit these plans for approval on timeframes that do not permit agencies to actually

         23            consider and assess their own needs or their statutory authority; and

         24            h.     Impose cuts to functions and staffing according to “targets” and “goals” imposed by

         25            DOGE.

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          1             D.      OMB, OPM, and DOGE Lack of Statutory Authority to Order Agencies to
                                Reorganize or Engage in a RIF
          2
                        177.    OMB must source its authority either directly from an act of Congress, or a delegation
          3
                by Congress to the President that the President has in turn delegated to OMB. OMB lacks the
          4
                authority to order federal agencies to downsize or reorganize themselves, or to assume final decision-
          5
                making power by requiring agencies to submit such plans for OMB approval. 31 U.S.C. §§ 501-507.
          6
                Insofar as neither Article II nor any act of Congress gives the President authority to reorganize federal
          7
                agencies or order them to engage in massive layoffs of federal employees, OMB cannot cloak itself in
          8
                Presidential authority, either.
          9
                        178.    OPM has no statutory authority to approve agency plans to reorganize or conduct RIFs
         10
                in service of such a reorganization. 5 U.S.C. §§ 1101-1105. OPM’s statutory authority with respect
         11
                to RIFs consists of setting government-wide order of retention rules for the release of employees in a
         12
                RIF. 5 U.S.C. § 3502. OPM cannot order federal agencies to downsize or reorganize themselves, or
         13
                assume final decision-making power by requiring agencies to submit such plans for approval. See,
         14
                e.g., Am. Fed’n of Gov’t Emps., AFL-CIO v. Off. of Pers. Mgmt., No. 3:25-cv-01780-WHA (N.D.
         15
                Cal.), ECF No. 45 (Feb. 28, 2025 Order), ECF No. 132 (Mar. 14, 2025 Order), ECF No. 202 (Apr.
         16
                18, 2025 Order). To the extent that Congress has generally authorized OPM to implement the
         17
                President’s rules for the federal workforce (5 U.S.C. § 1103), that authorization is coextensive with
         18
                the President’s authority and cannot exceed it. Insofar as neither Article II nor any act of Congress
         19
                gives the President authority to reorganize federal agencies or order them to engage in massive
         20
                layoffs of federal employees, OPM cannot cloak itself in Presidential authority, either.
         21
                        179.    DOGE has no statutory authority at all. Insofar as neither Article II nor any act of
         22
                Congress gives the President authority to reorganize federal agencies or order them to engage in
         23
                massive layoffs of federal employees, DOGE cannot cloak itself in Presidential authority, either.
         24
                        E.      The Administration’s Lack of Transparency Regarding Reorganization Plans
         25
                        180.    The Trump Administration has never made public the “18-month DOGE agenda”
         26
                referenced in Executive Order 14158.
         27

         28
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          1               181.     The Trump Administration has never made public any plan being created by DOGE in

          2     conjunction with OPM and OMB pursuant to the President’s January 20, 2025 Memorandum

          3     requiring a “plan to reduce the size of the Federal Government’s workforce.”

          4               182.     When asked by Fox News in March 2025 whether DOGE’s actions would result in a

          5     report (“And the process is a report at some point? At 100 days?”), Elon Musk responded on behalf

          6     of DOGE: “Not really a report. We are cutting the waste and fraud in real time. Every day like that

          7     passes, our goal is to reduce the waste and fraud by $4 billion a day every day, seven days a week.

          8     And so far, we are succeeding.”50

          9               183.     The Trump Administration has refused to make public the phase-one agency ARRPs

         10     that were to be submitted by March 13 to OMB and OPM for approval, including in response to

         11     requests from members of the public via the Freedom of Information Act (“FOIA”), federal employee

         12     unions, the press, and Congress.

         13               184.     In lawsuits filed against the Trump Administration seeking disclosure under FOIA of

         14     the March 13 plans submitted to OMB and OPM, OMB and OPM refused to disclose those plans on

         15     the ground that they were “pre-decisional” and described them as pending OMB review and approval.

         16     See, e.g., Democracy Forward Foundation v. Off. of Mgmt. & Budget, No. 1:25-cv-00858 (D.D.C.),

         17     ECF No. 9 (Defendants’ Apr. 2, 2025 Motion to Dismiss: “‘[A]gency reduction-in-force plans are

         18     still under development by the Executive Branch[,] and OMB is currently actively reviewing these

         19     plans as part of Phase 1’ … OMB explained, the plans Plaintiff requested ‘are part of a longer two-

         20     phase process that has just been initiated.’”).

         21               185.     Executive Order 14210 did not, in ordering agencies to prepare and submit

         22     reorganization plans to OMB and OPM, create any process for notice and public comment, unlike the

         23     reorganization Executive Order issued in President Trump’s first term.

         24               186.     On March 13, 2025, the Washington Post reported: “Agencies across the federal

         25     government faced a Thursday deadline to submit plans for a large-scale firing of employees, but scant

         26     details were made public about what the White House said would be a ‘mass reduction’ of the federal
         27
                50
         28          Supra, n.9.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                            50

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          1     workforce. The White House did not preview the plans, saying only that it would share their contents

          2     ‘once the plans are enacted.’” Wash. Post, White House expects ‘mass reduction’ of federal

          3     workforce as deadline looms (Mar. 13, 2025).51 White House press secretary Karoline Leavitt said:

          4     “The coming mass reduction will ‘streamline our broken bureaucracy, save taxpayers millions of

          5     dollars and make the government more efficient for all.’” Id.

          6            187.    On March 27, 2025, the Washington Post published a report regarding “an internal

          7     White House document obtained by The Washington Post” that “contains closely held draft plans for

          8     reshaping the 2.3-million-person bureaucracy.” Wash. Post, Internal White House document details

          9     layoff plans across U.S. agencies (Mar. 27, 2025).52 The Post explained: “The details are compiled

         10     from plans that President Donald Trump ordered agencies to submit, according to two people familiar

         11     with the document who spoke on the condition of anonymity because they were not authorized to talk

         12     about it.” Id. The document shows that “[f]ederal officials are preparing for agencies to cut between

         13     8 and 50 percent of their employees as part of a Trump administration push to shrink the federal

         14     government.” When confronted with questions regarding this document, the Post reports that White

         15     House Principal Deputy Press Secretary Harrison Fields responded by e-mail:

         16            “It’s no secret the Trump Administration is dedicated to downsizing the federal
                       bureaucracy and cutting waste, fraud, and abuse. This document is a pre-deliberative
         17            draft and does not accurately reflect final reduction in force plans… When President
                       Trump’s Cabinet Secretaries are ready to announce reduction in force plans, they will
         18
                       make those announcements to their respective workforces at the appropriate time.”
         19     Id.

         20            188.    When individuals at agencies have gone public with information regarding the wide-

         21     scale (and unlawful) scope of these plans, the Trump Administration has claimed they are

         22     “fraudulent.” For example: On April 9, 2025, the Las Vegas ABC-news affiliate KTNV published a

         23     report titled, “As concerns among veterans rise, VA source shares details of workforce reduction

         24

         25

         26     51
                   Available at: https://www.washingtonpost.com/politics/2025/03/13/government-agency-
         27     reorganization-rif-federal-workers/.
                52
                   Available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-layoffs-
         28     government-agencies/.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                            51

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          1     plan.”53 The source described in detail the plans for cutting 80,000 jobs. The VA responded by

          2     calling the document “fraudulent” and an “intentionally false leaked document.” Id.

          3            189.    The Trump Administration has largely refused to make the April 14 ARRPs publicly

          4     available either, until it starts issuing RIF notices (and not even then).

          5            190.    Members of Congress have submitted multiple requests for information to the Trump

          6     Administration regarding these reorganization plans.

          7            191.    For example, on April 7, the Ranking Member of the Senate Budget Committee sent a

          8     demand letter requesting the OMB provide the Senate with documents including the March 13 plans

          9     as well as any further plans, and expressing concern that “[t]hese sweeping workforce reductions will

         10     not only strain agency operations and delay critical services for seniors and veterans, but they will

         11     also harm the government’s efforts to protect public health, conserve natural resources, and manage

         12     federal lands.”54

         13            192.    On April 10, another group of Senators wrote to OPM and OMB, requesting

         14     documents pertaining to the RIF and Reorganization plans; expressing concern regarding the

         15     illegality, harm, and lack of transparency; and noting that the parameter to use government-shutdown

         16     levels as a baseline could threaten the jobs of 700,000 federal employees. Letter from Senators to

         17     Off. of Mgmt. and Budget and Off. of Pers. Mgmt. (Apr. 10, 2025), attached hereto as Exhibit C. The

         18     Senators continued:

         19            Further, the size and scope of the reported RIF plans are clearly not about government
                       efficiency. The Department of Education has announced layoffs of 50% and the
         20            Department of Veterans Affairs has proposed cuts of over 80,000 employees. The
                       Department of Defense is seeking to reduce its civilian workforce by 5-8%, or 61,000
         21
                       employees, and the IRS reportedly plans to cut around 25% of its workforce, or 20,000
         22            employees. On April 1, 2025, the Department of Health and Human Services began
                       the process of firing 10,000 employees, in addition to 10,000 employees who left their
         23            positions through the deferred resignation program and other downsizing efforts. Two
                       days later, Secretary Kennedy suggested that 20% of these terminations could be
         24            mistakes. The Secretary stated, “[p]ersonnel that should not have been cut were cut…
         25
                53
         26        Available at: https://www.ktnv.com/news/as-concerns-among-veterans-rise-va-gives-timeline-of-
                how-their-workforce-reduction-plan-will-affect-them.
                54
         27        Letter from Jeffrey Merkley, Ranking Member of S. Comm. on the Budget, to Russell Vought,
                OMB Director (Apr. 7, 2025), available at:
         28     https://www.budget.senate.gov/imo/media/doc/letter_to_omb_re_rif_plans.pdf.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                             52

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          1               that was always the plan. Part of the DOGE, we talked about this from the beginning,
                          is we’re going to do 80% cuts, but 20% of those are going to have to be reinstated,
          2               because we’ll make mistakes.” The Social Security Administration (SSA) has already
                          lost over 7,000 employees through terminations and resignations since February and
          3
                          closed 6 of 10 regional offices, leading to increased wait times and multiple website
          4               crashes over the past month—yet SSA plans to cut thousands more.

          5     Id.
          6               193.     As a result of the Trump Administration’s secrecy, federal employees throughout the
          7     federal agencies, their labor representatives, state and local governments, organizations including
          8     Plaintiffs, non-profits, and the public have been kept in the dark, intentionally, regarding this
          9     Administration’s plans. As late as March 28, 2025, after the March 13 ARRPs with the required
         10     “large-scale RIFs” had been submitted for approval, Elon Musk and his selected DOGE
         11     representatives, sitting down for a lengthy interview with Fox News, minimized the terminations of
         12     federal employees:
         13               [DOGE lead at OPM] Anthony Armstrong:
         14               And President Trump’s been very clear: it’s scalpel not hatchet. And that’s the way
                          it’s getting done.
         15

         16               And then once those decisions are made, there’s a very heavy focus on being
                          generous, being caring, being compassionate, and treating everyone with dignity and
         17
                          respect. And if you look at how people have started to leave the government, it is
         18               largely through voluntary means. There’s voluntary early retirement, there’s
                          voluntary separation payments. We put in place deferred resignation, the eight-month
         19
                          severance program.
         20
                          So there’s a very heavy bias towards programs that are long-dated, that are generous,
         21
                          that allow people to exit and go and get a new job in the private sector. And you’ve
         22               heard a lot of news about RIFs, about people getting fired. At this moment in time,
                          less than .15, not 1. 5, less than .15 of the federal workforce has actually been given a
         23
                          RIF notice.
         24
                          Elon Musk:
         25
                          Basically almost no one’s gotten fired, is what we’re saying.55
         26
         27
                55
         28          Supra, n.9.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                               53

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          1               F.     Current and Impending Implementation of the President’s Mandated ARRPs

          2               194.   Despite the Trump Administration’s failure to provide the public, federal employees

          3     and their labor representatives, the press, and Congress with detailed advance information regarding

          4     these plans, information about the ARRPs that Plaintiffs have been able to obtain confirmation that

          5     some agencies have already begun to implement the large-scale RIFs and reorganization plans

          6     ordered by the President, and many other agencies are poised to do so imminently. Plaintiffs set forth

          7     their current information regarding actual and imminent implementation of President Trump’s plans

          8     to transform the federal government.

          9               1.     Ongoing RIFs and Reorganization

         10               195.   At least the following Federal Agency Defendants have begun to implement their

         11     ARRPs by commencing plans to reorganize, including notifying employees of large-scale RIFs:

         12           •   Health and Human Services
         13               196.   On March 27, 2025, HHS announced: “Today, the U.S. Department of Health and

         14     Human Services (HHS) announced a dramatic restructuring in accordance with President Trump's

         15     Executive Order, ‘Implementing the President’s ‘Department of Government Efficiency’ Initiative.’”

         16     Press Release, U.S. Dep’t of Health and Human Servs., HHS Announces Transformation to Make

         17     America Healthy Again (Mar. 27, 2025).56 The restructuring involves “a reduction in workforce of

         18     about 10,000 full-time employees who are part of this most recent transformation.” Id.

         19               197.   HHS explained the restructuring and consolidation of functions that it was engaging in

         20     as being pursuant to the President, DOGE, and OMB’s orders. Id. Secretary Kennedy explained,

         21     “We aren’t just reducing bureaucratic sprawl. We are realigning the organization….” Id.; see also

         22     Fact Sheet: HHS’ Transformation to Make America Healthy Again, U.S. Dep’t of Health and Human

         23     Servs. (Mar. 27, 2025) (“The restructuring of HHS is proceeding in accordance with President

         24     Trump's Executive Order”).57

         25

         26
         27     56
                     https://www.hhs.gov/press-room/hhs-restructuring-doge.html
                57
         28          https://www.hhs.gov/press-room/hhs-restructuring-doge-fact-sheet.html
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          1            198.     HHS also revealed that the immediate 10,000-person reduction was just the beginning

          2     of a planned reduction: “The current 82,000 full-time employees will be reduced to 62,000.” Id.

          3     The cuts will affect the following subagencies:

          4            •   FDA will decrease its workforce by approximately 3,500 full-time employees;
          5            •   The CDC will decrease its workforce by approximately 2,400 employees;
          6            •   The NIH will decrease its workforce by approximately 1,200 employees;
          7            •   CMS will decrease its workforce by approximately 300 employees;
          8            •   28 divisions will be consolidated to 15;
          9            •   10 regional offices will become 5; and
         10            •   Human Resources, Information Technology, Procurement, External Affairs, and Policy
                           will be centralized.
         11     Id.
         12            199.     The CDC has eliminated the sexually transmitted disease (“STD”) lab branch, put on
         13     leave CDC staff responding to a current measles outbreak in Texas, and has (because of RIFs)
         14     effectively shut its offices on injury control, birth defects, and smoking and health. The
         15     Administration for Children and Families terminated employees administering programs that paid for
         16     the heating and cooling bills for low-income households, and eliminated a division that oversaw a
         17     case management system tracking child abuse and neglect. And the National Institute for
         18     Occupational Safety and Health (NIOSH) shut down a federal screening program for black lung
         19     disease, halting routine mine safety inspections, eliminating a program that investigates and
         20     recommends ways to reduce exposure to health hazards in workplaces, and stopping its evaluation
         21     and approval of respirators (and potentially other forms of personal protective equipment) that are
         22     new to the market. Reporting indicates that HHS’ RIFs have affected programs that were mandated
         23     by Congress, and that “[s]ome congressionally mandated programs saw their entire staff
         24     dismissed.”58
         25

         26
                58
         27       Politico, RFK Jr., DOGE gutted legally required offices. Courts may undo it all (May 11, 2025),
                available    at:      https://www.politico.com/news/2025/05/11/trump-transforms-congressionally-
         28     mandated-health-offices-into-ghost-towns-00340176.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                           55

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          1              200.   Secretary Kennedy told the New York Times, “We’re going to do more with less,”

          2     even as he acknowledged that it would be “a painful period for H.H.S.”59 Senator Patty Murray

          3     “called Mr. Kennedy’s comments about doing more with less an ‘absurd suggestion’ that ‘defies

          4     common sense.’ Her sentiments were echoed by several agency employees, who spoke on the

          5     condition of anonymity to avoid retribution.” Id.

          6              201.   HHS has never made public the ARRPs submitted to OMB and OPM for approval in

          7     conjunction with the March 13 and April 14 deadlines.

          8          •   Department of Labor
          9              202.   On April 15, 2025, the Department of Labor placed the “vast majority” of the staff of

         10     the Office of Federal Contract Compliance Programs (OFCCP) on administrative leave.60 That office

         11     is responsible for ensuring contractors across government agencies comply with a variety of federal

         12     laws. The email to employees stated they were being put on administrative leave “due to the

         13     agency’s ‘significantly reduced scope of mission.’” Id. On May 6, DOL issued RIF notices to

         14     OFCCP’s employees, explaining the Department was conducting a RIF pursuant to the Workforce

         15     Executive Order. A “DOL memo indicated the department plans to ultimately cut 90% of the

         16     OFCCP’s workforce.” Id.

         17              203.     For the RIFs at OFCCP, DOL requested from OPM a waiver of the 90-day notice

         18     period for RIFs involving newly-established competitive areas and approval for a 30-day notice

         19     period. OPM granted the request. The only justification given by OPM for its decision was: “In

         20     accordance with the E.O. stated above, DOL must act quickly to conduct a RIF of employees in the

         21     divisions, offices, and units, mentioned in your request.”

         22

         23

         24

         25
                59
         26        NY Times, 10,000 Federal Health Workers to Be Laid Off (Mar. 27, 2025), available at:
                https://www.nytimes.com/2025/03/27/us/politics/health-department-job-layoffs-rfk-jr.html.
                60
         27        Bloomberg Law, DOL Puts Contractor Watchdog Employees on Leave as Layoffs Loom (Apr. 16,
                2025), available at: https://news.bloomberglaw.com/daily-labor-report/dol-puts-contractor-watchdog-
         28     employees-on-leave-as-layoffs-loom.
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          1              204.   Previously, on April 14, 2025, the Secretary of Labor had also warned publicly that

          2     more layoffs across the Department “should be expected” in the coming weeks.61 One protesting

          3     employee explained: “This is no ordinary federal agency. This is literally the firewall between

          4     workers and exploitation. The people in this building are training people for jobs. They’re ensuring

          5     that they come home safe.” Id.

          6              205.   DOL has never made public the ARRPs submitted for OMB and OPM approval in

          7     conjunction with the March 13 and April 14 deadlines.

          8          •   AmeriCorps
          9              206.   On April 9, 2025, AmeriCorps announced to employees that the agency would be

         10     taking steps to “comply” with the Executive Order and ARRP, including by implementing a RIF of

         11     50% or more of AmeriCorps staff.

         12              207.   On April 16, 2025, AmeriCorps began sending boilerplate notices of administrative

         13     leave to AmeriCorps agency staff, both at headquarters in Washington, D.C. and in regional offices

         14     across the country, placing the vast majority of them on leave and locking them out of their computer

         15     systems shortly thereafter.

         16              208.   AmeriCorps is a federal agency that staffs community service work around the

         17     country, including disaster relief. As the New York Times reported:

         18              The independent federal agency that organizes community service work in the United
                         States has placed on administrative leave almost all of its federal staff at the direction
         19              of Elon Musk’s cost-cutting team, according to people familiar with developments at
                         the agency.
         20

         21     NY Times, DOGE Guts Agency That Organizes Community Service Programs (April 17, 2025).

         22              209.   On Thursday, April 24, 2025, the AmeriCorps employees began to receive RIF notices

         23     from the agency.

         24              210.   AmeriCorps has not made public the ARRP submitted for OMB and OPM approval in

         25     conjunction with the March 13 and April 14 deadlines.

         26
                61
         27       Bloomberg Law, Lawmakers, Workers Push Chavez-DeRemer to Stop Labor DOGE Cuts (Apr. 14,
                2025), available at: https://news.bloomberglaw.com/daily-labor-report/lawmakers-workers-push-
         28     chavez-deremer-to-stop-labor-doge-cuts.
                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                               57

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          1          •   Small Business Administration
          2              211.   On April 18, 2025, employees at the SBA throughout the COVID-19 Economic Injury

          3     Disaster Loan Serving Center were laid off, effective in dates through May 2025.62 “They are firing

          4     us just to fire us,” one SBA employee was quoted as saying. “We literally made money for the

          5     government by taking loan payment and recovering money in bankruptcy.” Id.

          6              212.   Between March and April, employees throughout other offices at the SBA also

          7     received RIF notices, including the Office of Entrepreneurial Development and Office of

          8     Entrepreneurial Education, the procurement office, and positions in field, district, and branch offices.

          9     For example, the entire Office of Entrepreneurial Education received RIF notices; that office is

         10     responsible for administering a $17 million grant that helps small businesses throughout the country.

         11              213.   Previously, on March 21, 2025, the SBA issued a news release stating that, as required

         12     by President Trump’s Workforce Executive Order, “the agency will reduce its workforce by 43% –

         13     ending the expansive social policy agenda of the prior Administration, eliminating non-essential

         14     roles, and returning to pre-pandemic staffing levels.” 63 The agency referred to this elimination of

         15     over 2,700 jobs as a “strategic reorganization.” Id.

         16              214.   The SBA Administrator explained that SBA has “submitted” such a reorganization

         17     plan to OMB for approval. Id. The news release concluded: “SBA’s reorganization plan will

         18     provide for the preservation of public services through a strategic transfer of duties. It will be

         19     actioned in the coming weeks.” Id.

         20              215.   Notwithstanding the RIF notices going out by email on April 18, the SBA has not

         21     made public the ARRPs submitted for OMB and OPM approval in conjunction with the March 13

         22     and April 14 deadlines.

         23

         24

         25

         26
                62
                   Gov’t Exec., SBA hit with more layoffs (Apr. 18, 2025), available at:
                https://www.govexec.com/workforce/2025/04/sba-hit-more-layoffs/404682/.
                63
         27        U.S. Small Bus. Admin., Small Business Administration Announces Agency-Wide Reorganization
                (Mar. 21, 2025), available at: https://www.sba.gov/article/2025/03/21/small-business-administration-
         28     announces-agency-wide-reorganization (emphasis added).
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          1          •   Environmental Protection Agency
          2              216.   On April 22, 2025, the EPA began sending RIF notices to some employees across its

          3     headquarters and regional offices.64

          4              217.   Previously, both President Trump and EPA Administrator Lee Zeldin expressed that up

          5     to 65% of the EPA workforce will eventually be cut.

          6              218.   The New York Times reported on March 17, 2025 that the Trump Administration

          7     intends to “dismantle” EPA’s Office of Research and Development:

          8              The Environmental Protection Agency plans to eliminate its scientific research arm,
                         firing as many as 1,155 chemists, biologists, toxicologists and other scientists,
          9              according to documents reviewed by Democrats on the House Committee on Science,
                         Space and Technology. The strategy is part of large-scale layoffs, known as a
         10
                         “reduction in force,” being planned by the Trump administration, which is intent on
         11              shrinking the federal work force.

         12     NY Times, Trump Administration Aims to Eliminate E.P.A.ʼs Scientific Research Arm (Mar. 17,
         13     2025).65
         14              219.   In response to these public statements, 51 former EPA officials from both Democratic
         15     and Republican Administrations sent an “Open Letter” to Congress on March 18, 2025, that
         16     explained:
         17              We are former Senate-confirmed officials and Regional Administrators who served in
                         the U.S. Environmental Protection Agency during Republican and Democratic
         18              administrations. We adhere to EPA’s long-held core principles that the agency
                         should be apolitical, professional, transparent, and dedicated to following the law and
         19
                         science.
         20
                         We are greatly alarmed by President Trump’s recent comments that his administration
         21              is seeking to cut EPA by 65 percent. We share the concerns expressed by former EPA
                         administrators who recently wrote that “such cuts would render the agency incapable
         22              of protecting Americans from grave threats in our air, water and land.”
         23
                         We are writing to urge Congress to ensure that EPA has sufficient staff and funding to
         24              effectively implement the Clean Air Act, Clean Water Act, and other bedrock
                         environmental laws for the good of all Americans.
         25

         26     64
                   Reuters, EPA begins layoffs of environmental justice staff (Apr. 22, 2025), available at:
         27     https://www.reuters.com/business/world-at-work/epa-begins-layoffs-environmental-justice-staff-
                2025-04-22/.
                65
         28        Available at: https://www.nytimes.com/2025/03/17/climate/trump-eliminates-epa-science.html.
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          1              Deep cuts to EPA threaten more than 50 years of bipartisan progress under Republican
                         and Democratic Congresses and presidents. Actions that diminish EPA’s capabilities
          2              will place at risk the quality of the air our children breathe, the water we all drink, and
                         the waterways we swim, fish and play in. They would jeopardize EPA’s responses to
          3
                         toxic chemical spills and other disasters as well as basic compliance with America’s
          4              environmental laws.

          5              Policy changes are to be expected from one administration to the next, but not the
                         dismantling of EPA. …
          6
                         If the administration does not agree with the laws Congress has passed and the
          7
                         programs it has funded, it should work with Congress to seek changes, not unilaterally
          8              and recklessly freeze, delay, or eliminate funding.66

          9              220.   On May 2, 2025, the EPA announced the next phase of its plans to significantly

         10     reorganize the agency and make major cuts to staffing.67 The EPA is planning to reduce its staff to

         11     Reagan-era levels, which involves cutting its workforce from about 15,000 to as few as 11,000

         12     employees.68 Specifically, EPA will make major cuts to the Office of Research and Development and

         13     has encouraged the Office’s 1,500 employees to apply for the approximately 500 new positions

         14     created in the reorganization.

         15              221.   Notwithstanding the RIF notices that began going out on or about April 22, the EPA

         16     has not made public the ARRPs submitted for OMB and OPM approval in conjunction with the

         17     March 13 and April 14 deadlines.

         18          •   Housing and Urban Development
         19              222.   HUD has commenced the RIF of positions in the Office of Field Policy and

         20     Management (“FPM”) throughout the country, including management analysts, program analysts,

         21     customer service representatives, and labor standards specialists. The FPM serves as the first point of

         22     contact for HUD and housing-related questions and concerns within a community

         23
                66
                   Available at: https://www.environmentalprotectionnetwork.org/wp-
         24     content/uploads/2025/03/Senate-Confirmed-Officials-and-RA-Letter-to-Congress-Final.pdf.
                67
         25        EPA, EPA Announces Next Phase of Organizational Improvements to Better Integrate Science into
                Agency Offices, Deliver Clean Air, Land, and Water to All Americans (May 2, 2025), available at:
         26     https://www.epa.gov/newsreleases/epa-announces-next-phase-organizational-improvements-better-
                integrate-science-agency.
                68
         27        NPR, The Trump administration says it will cut EPA staffing to Reagan-era levels (May 2, 2025),
                available at: https://www.npr.org/2025/05/02/nx-s1-5385272/epa-environmental-protection-agency-
         28     cuts-trump-zeldin.
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          1              223.   Notwithstanding the RIF notices that have been sent at HUD, it has not made public

          2     the ARRPs submitted for OMB and OPM approval in conjunction with the March 13 and April 14

          3     deadlines.

          4          •   General Services Administration
          5              224.   GSA has announced plans for a nearly 50% cut in staff, and has issued RIF notices

          6     throughout the agency.69 The agency issued RIF notices to at least 600 employees in the Public

          7     Buildings Service.70

          8              225.   Notwithstanding the RIF notices that have been sent at GSA, it has not made public

          9     the ARRPs submitted for OMB and OPM approval in conjunction with the March 13 and April 14

         10     deadlines.

         11          •   OPM
         12              226.   On April 18, 2025, OPM issued RIF notices to all employees in the Center for

         13     Leadership Development, which provides leadership development training to federal employees

         14     across the government.71 OPM has also eliminated its office for Human Capital Data Management

         15     and Modernization, Office of Communications, and Office of Procurement as part of its RIF.

         16              227.   Notwithstanding the RIF notices that have been sent at OPM, it has not made public

         17     the ARRPs submitted in conjunction with the March 13 and April 14 deadlines.

         18              2.     Imminent RIFs in Service of Government-wide Reorganization

         19              228.   At least the following federal agencies will begin to implement their ARRPs by

         20     commencing plans to reorganize, including notifying employees of large-scale RIFs, imminently:

         21

         22

         23
                69
                   Fed. News Network, GSA seeks 50% spending cuts, nonvoluntary RIF after OPM’s resignation offer
         24     (Feb. 4, 2025), available at: https://federalnewsnetwork.com/hiring-retention/2025/02/gsa-seeks-50-
                spending-cuts-nonvoluntary-rif-after-opms-resignation-offer/.
         25     70
                   Gov’t Exec., GSA continues slow drip of ROFs, nearly wiping out entire offices (Mar. 7, 2025),
         26     available at:       https://www.govexec.com/workforce/2025/03/gsa-continues-slow-drip-rifs-nearly-
                wiping-out-entire-offices/403573/.
                71
         27        Fed. News Network, OPM shutters office that trained agency leaders, next generation of federal
                talent (May 1, 2025), available at: https://federalnewsnetwork.com/reorganization/2025/05/opm-
         28     shutters-office-that-trained-agency-leaders-next-generation-of-federal-talent/.
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          1          •   USDA
          2              229.   As of filing, the USDA has not yet made public the ARRPs submitted for OMB and

          3     OPM approval in conjunction with the March 13 and April 14 deadlines.

          4              230.   However, on April 7, 2025, Government Executive reported from USDA sources:

          5              Some employees have been told to expect the department to cut back to fiscal 2019
                         staffing levels—which would lead to USDA slashing around 9,000 of its 98,000
          6              employees—while others have been told there is an overall federal workforce
                         reduction number the administration has developed and the department will do its part
          7
                         proportionally to meet that target.
          8
                Gov’t Exec., USDA to slash headquarters, other staff and relocate some to new ‘hubs’ around the
          9
                country (Apr. 7, 2025).72
         10
                         231.   In an email to USDA employees offering them another round of the Fork in the Road
         11
                Deferred Retirement program, Secretary Rollins stated that RIFs were imminent. Id.
         12
                         232.   On April 15, 2025, Government Executive reported further:
         13
                         The Trump administration is planning to severely scale back or outright eliminate
         14              funding for many programs across the Agriculture Department, according to White
                         House documents obtained by Government Executive, as it slashes workers and closes
         15              offices at the local level…. The proposed cuts come as USDA is planning to gut its
                         Washington headquarters, consolidate mission areas and administrative functions and
         16
                         relocate some staff to new “hubs” around the country.73
         17
                     •   Department of Commerce
         18
                         233.   In March, the press began reporting that the Department of Commerce would seek to
         19
                cut 20 percent of the National Oceanic and Atmospheric Administration (“NOAA”) staff. Later in
         20
                March, staff at NOAA were told they could take “voluntary” retirement offers rather than be laid off
         21
                in the coming RIFs. DOGE has also listed 19 NOAA facilities for lease termination, including the
         22
                Radar Operations Center, which houses staff for the nation’s Doppler radar network.74 RIFs have
         23

         24     72
                   Available at: https://www.govexec.com/workforce/2025/04/usda-slash-headquarters-other-staff-
                and-relocate-some-new-hubs-around-country/404371/.
         25     73
                   Gov’t Exec., White House pitches layoffs, local office closures and program eliminations at USDA
         26     (Apr. 15, 2025), available at: https://www.govexec.com/management/2025/04/white-house-pitches-
                layoffs-local-office-closures-and-program-eliminations-usda/404580/.
                74
         27        PBS News, As NOAA braces for more cuts, scientists say public safety is at risk (March 14, 2025),
                available    at:     https://www.pbs.org/newshour/nation/as-noaa-braces-for-more-cuts-scientists-say-
         28     public-safety-is-at-risk.
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          1     also been announced for the National Centers for Environmental Information, which manages climate

          2     data critical to disaster preparation and response.75

          3              234.   The Commerce Department has not made public the ARRPs submitted for OMB and

          4     OPM approval in conjunction with the March 13 and April 14 deadlines.

          5          •   Department of Defense
          6              235.   In March, Military Times reported on Defense Secretary Hegseth’s goal of cutting 5-8

          7     percent of the total Department civilian workforce, which amounts to 50,000 to 70,000 jobs.76

          8              236.   The Defense Department has not made public the ARRPs submitted for OMB and

          9     OPM approval in conjunction with the March 13 and April 14 deadlines.

         10          •   Department of Energy
         11              237.   The Department of Energy’s March 13 ARRP submitted to OMB and OPM for

         12     approval was, according to press reports, leaked to the press.77

         13              238.   According to press reports, that ARRP identified 43 percent of its workforce as “non-

         14     essential” according to the provided parameters. The report admitted: “While the core group of

         15     essential personnel required to remain during a lapse are extremely minimal, such limited capabilities

         16     are neither intended nor capable of sustaining ongoing government operations.” Id.; see also

         17     Associated Press, The Energy Department identifies thousands of nonessential positions at risk of

         18     DOGE cuts (Apr. 4, 2025) (“The Energy Department has identified thousands of federal workers it

         19     deems “nonessential” and would not be protected if there is another round of large-scale firings,

         20     according to a document obtained by The Associated Press.”).78

         21

         22     75
                   Citizen Times, NCEI, office critical to disaster prep and response, hit with more DOGE staffing cuts
                (May 7, 2025), available at: https://www.citizen-times.com/story/news/local/2025/05/07/more-doge-
         23     staffing-cuts-at-ncei-as-reduction-in-force-looms/83477853007/.
                76
                   MilitaryTimes, Almost 21,000 DOD employees approved to resign amid workforce cuts (Mar. 18,
         24     2025), available at: https://www.militarytimes.com/news/pentagon-congress/2025/03/18/almost-
                21000-dod-employees-approved-to-resign-amid-workforce-cuts/.
         25     77
                   Fed. News Network, Energy Department extends hiring freeze, deems 43% workforce non-
         26     ‘essential’ in reorganization plan (Apr. 4, 2025), available at:
                https://federalnewsnetwork.com/workforce/2025/04/energy-department-extends-hiring-freeze-deems-
         27     43-workforce-non-essential-in-reorganization-plan/.
                78
                   Available at: https://apnews.com/article/energy-federal-employees-layoffs-rif-doge-
         28     db7b6446928095c26bfe79c608e1e8e7.
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          1               239.   Then, in early April 2025, U.S. Senate Democrats released a fact sheet detailing

          2     information in the possession of Senators that:

          3               DOGE is reportedly proposing staffing cuts of up to 50% of the workforce at the
                          Department of Energy (DOE), with new reductions in force (RIFs) hitting key
          4               priorities such as clean energy, grid resilience, and state and community programs the
                          hardest while even targeting national security programs.
          5

          6     The document summarizes:

          7               The staffing cuts the Department is reportedly contemplating break down as follows:
                                 1. 54% cut (1,800+ positions) to science and innovation programs
          8                      2. 61% cut (990+ positions) to energy infrastructure and deployment programs
                                 3. 71% cut (3,000+ positions) to the Deputy Secretary’s Office, environmental
          9                      management programs, and other policy programs
                                 4. 18% cut (540+ positions) to the Nuclear National Security Administration (NNSA)
         10
                                 5. 10% cut (520+ positions) to the Power Marketing Administrations (PMAs)
         11
                          240.   The Energy Department has not made public the ARRPs submitted for OMB and
         12
                OPM approval in conjunction with the March 13 and April 14 deadlines.
         13
                      •   Department of the Interior
         14
                          241.   The press began reporting the week of April 7, 2025 that a “major reorganization” of
         15
                the Department of Interior “looms.”79 “DOGE is leading the reorganization plan,” an Interior
         16
                employee anonymously told the press. Id. When asked,
         17
                          Interior spokesperson Elizabeth Peace said that “under President Trump’s leadership,
         18               we are implementing necessary reforms to ensure fiscal responsibility, operational
                          efficiency, and government accountability.”
         19               Peace added, “We do not comment on personnel matters.”
         20     Id.

         21               242.   On April 17, 2025, the Secretary of the Interior issued a Secretary’s Order:

         22     Consolidation, Unification and Optimization of Administrative Functions. The Secretary explained:

         23               The Department is committed to supporting President Trump’s Executive Order (EO)
                          No. 14210, titled “Implementing the President’s ‘Department of Government
         24               Efficiency’ Workforce Optimization Initiative,” issued on February 11, 2025. As part
                          of that commitment, the Department will be unifying and consolidating many of its
         25               functions within the Office of the Secretary.
         26
                79
         27        E&E News, Major reorganization looms for Interior (Apr. 10, 2025), available at:
                https://subscriber.politicopro.com/article/eenews/2025/04/10/major-reorganization-looms-for-
         28     interior-00283745.
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          1     Dept. of the Interior, Order No. 3429. The Secretary then delegated the authority to “lead and

          2     coordinate the consolidation, unification and optimization efforts within the Department and its

          3     Bureaus and Offices” to an individual who is the DOGE Team lead at the Department (Tyler

          4     Hassen). Id.80

          5            243.      Then, on April 23, 2025, news broke that “Interior solicits employees’ resumes in

          6     preparation for widespread layoffs.”81 The U.S. Geological Service emailed employees regarding

          7     coming RIFs, collecting resumes to determine which employees were essential. The NPS was

          8     reportedly not far behind. Alyse Sharpe, an Interior spokesperson, told Government Executive that

          9     the department was “adhering to guidelines as laid out by the Office of Personnel Management but

         10     had no further details on RIF plans at this time[,]” according to that publication.82

         11            244.      Interior has yet to explain the number of employees impacted by this reorganization,

         12     or to provide any further details regarding the ARRPs submitted to OMB for approval, including with

         13     respect to any of its important subagencies (including the National Park Service, the Bureau of Land

         14     Management, and the Bureau of Reclamation). An earlier memo stated that the Department will

         15     implement RIFs “to maximize workforce efficiency,” exempting only positions “critical to public

         16     safety” or “directly linked to the highest priority programs.”

         17            245.      On April 9, 2025, Interior Secretary Doug Blumin denied having a “specific

         18     headcount” for coming RIFs.83 A document provided to the Washington Post previously showed 1 in

         19     4 positions at Interior being considered for cuts.84

         20

         21

         22     80
                   See also The Hill, Interior Department gives broad powers to DOGE-tied official (Apr. 21, 2025).
         23     81
                   Gov’t Exec., Interior solicits employees' resumes in preparation for widespread layoffs (Apr. 23,
                2025), available at: https://www.govexec.com/workforce/2025/04/interior-solicits-employees-
         24     resumes-preparation-widespread-layoffs/404786/.
                82
                   Id.
         25     83
                   E&E News, How many Interior jobs will be cut? Doug Burgum’s not sure, yet (Apr. 9, 2025),
         26     available at: https://www.eenews.net/articles/how-many-interior-jobs-will-be-cut-doug-burgums-not-
                sure-yet/.
                84
         27        Wash. Post, Internal White House document details layoff plans across U.S. agencies (Mar. 27,
                2025), available at: https://www.washingtonpost.com/politics/2025/03/27/federal-worker-layoffs-
         28     government-agencies/.
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          1              246.   On May 7, 2025, the press reported that Interior “is finalizing reduction-in-force plans

          2     expected to target thousands of employees, including 1,500 at the National Park Service, with notices

          3     going out to employees within 10 days.”85 The U.S. Geological Survey is also expected to terminate

          4     1,000 employees focused on its Ecosystems Mission Area, the Bureau of Reclamation is expected to

          5     terminate around 100 to 150 employees, and the Bureau of Land Management and Fish and Wildlife

          6     Service are expected to terminate employees as well.

          7              247.   The Interior Department has not made public the ARRPs submitted for OMB and

          8     OPM approval in conjunction with the March 13 and April 14 deadlines.

          9          •   National Labor Relations Board
         10              248.   The National Labor Relations Board submitted its ARRP for approval to OMB, telling

         11     OMB it had determined it would not engage in any RIF, because the employees’ work was too

         12     essential to the agency’s mission. OMB rejected the NLRB ARRP and required the agency to submit

         13     a different one.86

         14              249.   On information and belief, forced to do so, the NLRB now plans to RIF employees.

         15              250.   The NLRB has not made public the ARRPs submitted for OMB and OPM approval in

         16     conjunction with the March 13 and April 14 deadlines.

         17          •   National Science Foundation
         18              251.   On information and belief, NSF submitted an initial ARRP that did not include large-

         19     scale RIFs and instead relied on voluntary separation offers to satisfy the Workforce Executive Order.

         20

         21

         22

         23     85
                   Gov’t Exec., Thousands of layoffs to hit Interior, National Parks imminently (May 7, 2025), available
         24     at:       https://www.govexec.com/workforce/2025/05/thousands-layoffs-hit-interior-national-parks-
                imminently/405145/.
         25
                86
                   Bloomberg Law, White House pushed job cuts at agency that’s clashed with Musk (2) (April 29,
                2025),                                             available                                         at:
         26     https://news.bloomberglaw.com/product/blaw/bloomberglawnews/exp/eyJpZCI6IjAwMDAwMTk2L
                TgyOTAtZDg3Yi1hM2Y2LWRlYjQ1NTZhMDAwNCIsImN0eHQiOiJETE5XIiwidXVpZCI6IjRtV
         27     HNJOURUOUpCSDN3U0o2dzZtS1E9PURoNGFpbGdwTjNMZjh0WUNRRXZBU1E9PSIsInRpb
                WUiOiIxNzQ1OTQ3NTQ3NzIwIiwic2lnIjoiVFpIbkdwaEVOYkw1NEc1VG9xamtsNDZZcURNPSI
         28     sInYiOiIxIn0=?source=newsletter&item=read-text&region=digest&channel=daily-labor-report.
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          1     But in late April, OMB, OPM, and DOGE rejected that plan, and according to the press, instructed

          2     NSF to lay off half of the agency’s employees under “orders from the White House.”87

          3              252.   The press has also reported that NSF’s “37 divisions—across all eight NSF

          4     directorates—are being abolished and the number of programs within those divisions will be

          5     drastically reduced.”88 Current directors will also lose their titles and may be reassigned to other

          6     positions. Id. The press also reported that, as soon as May 9, 2025, NSF was expected to send layoff

          7     notices. Id. On May 9, 2025, NSF sent RIF notices to all employees working in the Division of

          8     Equity for Excellence in STEM.

          9              253.   NSF has not made public the ARRPs submitted for OMB and OPM approval in

         10     conjunction with the March 13 and April 14 deadlines.

         11          •   Social Security Administration
         12              254.   On April 7, 2025, Government Executive reported that it had obtained a copy of the
         13     SSA’s ARRP.89 That plan “includes ‘field office consolidation’ as a goal for next year—even as the
         14     agency maintains publicly that it isn’t closing field offices.” Id. This was after Elon Musk posted a
         15     list of federal real estate for sale that included 47 Social Security Administration field offices.90
         16              255.   That same leaked document confirmed a planned cut of approximately 5,000 to 7,000
         17     employees. Id.
         18              256.   Back in February, the SSA confirmed that it would implement President Trump’s
         19     executive order by implementing reductions in force that “could include abolishment of organizations
         20     and positions” and would “soon implement agency-wide organizational restructuring.” Press
         21

         22
                87
                   Science, Exclusive: NSF director to resign amid grant terminations, job cuts, and controversy (Apr.
         23     24, 2025), available at:         https://www.science.org/content/article/nsf-director-resign-amid-grant-
                terminations-job-cuts-and-controversy.
         24     88
                   Science, Exclusive: NSF faces radical shake-up as officials abolish its 37 divisions (May 8, 2025),
                available at:
         25     89
                   Gov’t Exec., SSA reorg plan contemplates field office closures, contradicting public statements
         26     (Apr. 7, 2025), available at: https://www.govexec.com/management/2025/04/ssa-reorg-plan-
                contemplates-field-office-closures-contradicting-public-statements/404369/.
                90
         27        Associated Press, A list of the Social Security offices across the US expected to close this year
                (Mar. 19, 2025), available at: https://apnews.com/article/social-security-offices-closures-doge-trump-
         28     b2b1a5b2ba4fb968abc3379bf90715ff.
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          1     Release, Social Security Administration, Social Security Announces Workforce and Organization

          2     Plans (Feb. 28, 2025).91

          3              257.   The SSA has not made public the ARRPs submitted for OMB and OPM approval in

          4     conjunction with the March 13 and April 14 deadlines.

          5          •   State Department
          6              258.   The State Department has put forward conflicting accounts of a massive

          7     reorganization plan. Initially, on April 20, 2025, the New York Times reported on a draft

          8     reorganization plan that would require congressional approval and would take the form of another

          9     Executive Order.92 The State Department disclaimed responsibility and claimed that draft was “fake

         10     news.” Id.

         11              259.   On April 22, 2025, the Department officially announced a reorganization plan as

         12     follows:

         13              To deliver on President Trump’s America First foreign policy, we must make the State
                         Department Great Again.
         14              …
                         In its current form, the Department is bloated, bureaucratic, and unable to perform its
         15              essential diplomatic mission in this new era of great power competition. Over the past
                         15 years, the Department’s footprint has had unprecedented growth and costs have
         16              soared. …

         17              That is why today I am announcing a comprehensive reorganization plan that will
                         bring the Department into the 21 Century. This approach will empower the
         18              Department from the ground up, from the bureaus to the embassies. Region-specific
                         functions will be consolidated to increase functionality, redundant offices will be
         19              removed, and non-statutory programs that are misaligned with America’s core national
                         interests will cease to exist.93
         20
                The announcement explained that “The Department will implement the changes methodically over
         21
                the next several months.” Id.
         22

         23

         24

         25     91
                   Available at: https://blog.ssa.gov/social-security-announces-workforce-and-organization-plans/.
                92
         26        New York Times, Trump Administration Draft Order Calls for Drastic Overhaul of State
                Department (April 20, 2025), available at https://www.nytimes.com/2025/04/20/us/politics/trump-
         27     state-department-overhaul.html.
                93
                   U.S. State Dept., Building an America First State Department, available at:
         28     https://www.state.gov/building-an-america-first-state-department/.
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          1            260.    The Department explained in a “Fact Sheet” that: “As part of the plan, the Under

          2     Secretaries will also submit a path to reducing staff in domestic offices by 15 percent, consistent with

          3     the President’s Workforce Optimization Initiative.” 94

          4            261.    The Department also issued an “FAQ” that explained the RIFs are coming within the

          5     next 60 days. That FAQ included such questions as “Q: My office is being eliminated. What

          6     happens to me and my colleagues?” and “Q: My bureau is being moved to another office. What

          7     happens to me and my colleagues?”

          8            262.    The Department also explained the efforts to integrate the U.S. Agency for

          9     International Development (dismantled by prior Executive Order) into the State Department:

         10            While implemented separately, these two distinct reorganization efforts are highly
                       complementary, and the Secretary and Department leadership continue to carefully consider
         11            the integration of former USAID programs and functions in developing and implementing the
                       Department’s reorganization plan.
         12
                       263.    Secretary of State Rubio explained further: “To transfer the remaining functions of
         13
                USAID to such a monstrosity of bureaus would be to undo DOGE’s work to build a more efficient
         14
                and accountable government.”95
         15
                       264.    Additional information regarding State Department RIFs have trickled out. The press
         16
                has reported that the State Department is planning to terminate 3,400 employees beginning in early
         17
                June,96 and employees have begun to receive informal notifications that their roles will be cut. A cut
         18
                of 3,400 employees amounts to more than 15 percent of Department staff.
         19
                       265.    The State Department has not made public the ARRPs submitted for OMB and OPM
         20
                approval in conjunction with the March 13 and April 14 deadlines.
         21

         22

         23

         24
                94
                   Available at: https://www.nbcnews.com/politics/trump-administration/marco-rubio-unveils-
         25     massive-overhaul-state-department-reduction-staff-rcna202458.
                95
         26        Available at: https://statedept.substack.com/p/a-new-state-department-to-meet-the.
                96
                   Gov’t Exec., State Dept. cuts poised to be more severe than previously outlined, with 3,400
         27     employees        on      the      chopping     block     (May       9,    2025),      available at:
                https://www.govexec.com/management/2025/05/state-dept-cuts-poised-be-more-severe-previously-
         28     outlined-3400-employees-chopping-block/405171/.
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          1          •   Department of Transportation
          2              266.   On May 2, 2025, the press reported that Transportation Secretary Sean Duffy

          3     announced at a town hall meeting that the Department of Transportation “will perform reductions in

          4     force at the end of May as part of the Trump’s administration goal to reduce the federal employee

          5     headcount.”97 Secretary Duffy stated that the number of employees subject to the RIF will depend on

          6     the number of employees who participate in the second round of the deferred resignation program.

          7              267.   The Department of Transportation has not made public the ARRPs submitted for OMB

          8     and OPM approval in conjunction with the March 13 and April 14 deadlines.

          9          •   Peace Corps
         10              268.   On April 28, 2025, the press reported that the Peace Corps was “planning to reduce the

         11     number of full-time staff who support volunteers overseas” at the direction of DOGE.98 The agency

         12     warned staff of “significant restructuring efforts at the agency.” Id.

         13              269.   On May 9, 2025, the press reported that the “Peace Corps may reduce its global staff

         14     by 25 percent, potentially closing some of its 60 international posts.” 99 Cuts at the Washington D.C.

         15     headquarters were anticipated to be even more severe – ranging from 50 to 80 percent of headquarter

         16     staff. Id.

         17              270.   It is also common knowledge among Peace Corps employees that RIFs are on the

         18     horizon. Departments of the Peace Corps told staff in all-staff meetings that RIFs were a possibility,

         19     and some managers have told employees that their positions will be cut in a RIF. Employees have

         20     also overheard conversations and seen documents that indicate that the Peace Corps will soon RIF its

         21     employees.

         22

         23
                97
                   Gov’t Exec., Initial layoffs at Transportation Department expected in late May (May 2, 2025),
         24     available at: https://www.govexec.com/workforce/2025/05/initial-layoffs-transportation-department-
                expected-late-may/405041/.
         25     98
                   N.Y. Times, Peace Corps, under review by DOGE, is said to plan ‘significant’ staff cuts (April 28,
         26     2025), available at: https://www.nytimes.com/2025/04/28/us/politics/peace-corps-cuts-doge.html.
                99
                   Independent, JFK-created Peace Corps prep for ‘significant restructuring efforts’ as DOGE targets
         27     humanitarian            group          (May         9,          2025),          available         at:
                https://www.independent.co.uk/news/world/americas/us-politics/peace-corps-restructuring-doge-
         28     review-b2748241.html.
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          1           •   Department of the Treasury
          2               271.    On April 15, 2025, an internal IRS memo was leaked to the press detailing planned

          3     cuts of up to 40% of its workforce, including approximately 60,000 to 70,000 positions, through bi-

          4     weekly RIF notices starting “this week.”100

          5               272.    Previously, on April 9, 2025, leaked ARRP plans indicated that Treasury plans to cut

          6     up to 50% of its tax enforcement staff, and 20% across the board for other components.101

          7               273.    The Treasury Department has not made public the ARRPs submitted for OMB and

          8     OPM approval in conjunction with the March 13 and April 14 deadlines.

          9           •   Veterans Affairs
         10               274.    On March 4, 2025, the Chief of Staff of the Department of Veterans Affairs issued a

         11     Memorandum – Department of Veterans Affairs Agency Reduction in Force (RIF) and Reorganization

         12     Plan (ARRP), Dep’t of Veterans Affairs (Mar. 4, 2025). That memo implements the President’s

         13     Executive Order, and explains: “For planning purposes, the Department’s initial objective is to return

         14     to our 2019 end-strength numbers of 399,957 employees,” which reflects an approximate cut of

         15     80,000 jobs.102

         16               275.    In early March, VA Secretary Doug Collins appeared on Fox & Friends and was asked

         17     about the plans to cut 80,000 jobs:

         18               “So, the 80,000 number that has come out, is that number already done? Have you
                          already decided who to let go?” Fox’s Brian Kilmeade questioned.
         19                “No, that is a goal that was put out … [as] President Trump and [the Office of
                          Personnel Management] have said let’s look at a reduction in force across
         20

         21

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                100
                    Fed. News Network, IRS outlines plan to cut up to 40% of workforce, as tax filing season ends
         23     (Apr. 15, 2025), available at: https://federalnewsnetwork.com/workforce/2025/04/irs-outlines-plan-
                to-cut-up-to-40-of-workforce-as-tax-filing-season-ends; see also CNBC, Tax attorneys say IRS has
         24     become a ‘zombie’ as agency cuts staff and halts audits of the wealthy (Apr. 17, 2025), available at:
                https://www.cnbc.com/2025/04/17/irs-staff-cuts-fewer-audits-of-wealthy.html.
         25     101
                    Fed. News Network, Treasury plans to cut up to 50% of IRS enforcement staff, 20% of other
         26     components (Apr. 9, 2025), available at:
                https://federalnewsnetwork.com/reorganization/2025/04/treasury-plans-to-cut-up-to-50-of-irs-
         27     enforcement-staff-20-of-other-components/.
                102
                    Available at: https://www.afge.org/globalassets/documents/generalreports/2025/va-memo-3-4-
         28     25.pdf.
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          1            government,” Collins replied. “And that is a goal, that is our target.”103

          2            276.    In April 2025, as the deadline for the April 14 ARRP approached, a VA employee
          3     leaked the contents of the plans to the press. The plan is to RIF the 80,000 employees in four
          4     categories, in phases including:
          5            1.      Administrative and Support Roles:
                               • Policy and program analysts
          6
                               • HR personnel
          7                    • IT support staff in non-critical functions
                               • Clerical and data entry positions
          8            2.      Medical and Healthcare Support Staff
                               • Non-patient-facing administrative healthcare roles
          9
                               • Some contract positions in VA medical centers
         10                    • Certain research positions with reduced funding
                       3.      Regional and Central Office Staff:
         11                    • Veterans Affairs Central Office (VACO) will see cuts in operational,
                                   administrative, and policy roles
         12
                               • Reductions in public affairs, strategic planning, and some procurement functions
         13            4.      Field Office and Call Center Reductions:
                               • VA call centers are expected to be streamlined with automation, reducing the need
         14                        for live agents
                               • Some regional field office roles will be merged or reassigned104
         15

         16     The VA responded to this report claiming the document was “fraudulent.” Id.

         17            277.    On April 10, 2025, at a press conference in Chesapeake, Virginia, VA Secretary Doug

         18     Collins was questioned about the VA’s plan to cut 80,000 jobs:

         19            One reporter asked, “Did you end up doing this backwards? Talking about how many people
                       you were going to cut before you actually had a plan to restructure the VA and to make it
         20            more efficient?”
                       “No, I think one of the things is, it was put across when Donald Trump was elected, he said
         21            ‘We’re going to make government smaller and more efficient,’” Collins replied.105
         22

         23
                103
                    The Hill, VA Secretary: Cutting 80,000 is “our target,” (Mar. 10, 2025), available at:
         24     https://www.yahoo.com/news/va-secretary-cutting-80-000-170115439.html.
                104
         25         KTNV Las Vegas, As concerns among veterans rise, VA source shares details of workforce
                reduction plan (Apr. 11, 2025), available at: https://www.ktnv.com/news/as-concerns-among-
         26     veterans-rise-va-gives-timeline-of-how-their-workforce-reduction-plan-will-affect-them.
                105
                    The American Homefront Project, How much of the VA's budget savings will go to patient care?
         27     Collins     says    it's   'up    to    the    President',  (April    17,    2025),    available at:
                https://americanhomefront.wunc.org/news/2025-04-17/how-much-of-the-vas-budget-savings-will-go-
         28     to-patient-care-collins-says-its-up-to-the-president.
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          1               278.   The VA has not made public the ARRPs submitted for OMB and OPM approval in

          2     conjunction with the March 13 and April 14 deadlines.

          3                                                       ***

          4               279.   The agency plans described above are being created and implemented pursuant to the

          5     Workforce Executive Order. Taken alone, as well as in conjunction with other government-wide

          6     actions ordered by this Administration, each would have constituted a “reorganization” within the

          7     meaning of the most recent, but now expired, statute authorizing the President to propose

          8     reorganizations. 5 U.S.C. § 903.

          9               280.   There are no public reports, anywhere, of any federal agency planning to engage in

         10     “large-scale” RIFs of employees prior to President Trump’s February 11, 2025 Executive Order.

         11               281.   On information and belief, no agency had decided such reductions would be consistent

         12     with agency mission, statutory obligations, or good policy prior to President Trump’s order to plan

         13     such reductions.

         14               282.   On information and belief, as confirmed by the public statements of VA Secretary

         15     Collins and OMB and OPM’s rejection of the initial ARRPs of at least NLRB and NSF (which

         16     proposed few or no RIFs), the “target” cuts in staff are being dictated to agencies by DOGE, in

         17     service of the President’s policy agenda of “transforming” the federal government.

         18               283.   On information and belief, no agency has or would independently decide to cut the

         19     entire offices, programs and functions that DOGE, acting the President’s behalf, is ordering agencies

         20     to cut.

         21     V.        Widespread Actual and Imminent Irreparable Harm

         22               284.   The above ongoing and imminent actions taken by the President, OMB and OPM,

         23     DOGE, and the Federal Agency Defendants to implement Executive Order 14210 and the

         24     OMB/OPM Memorandum and the resulting ARRPs, have and will cause harm, including irreparable

         25     harm, to Plaintiffs, their members, and others, including but not limited to the following:

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          1            285.    Plaintiffs were denied the opportunity for advance notice and to publicly comment on

          2     the rules imposed by OMB and OPM in the February 26, 2025 Memorandum and thereby prevented

          3     from exercising a right guaranteed by the Administrative Procedure Act.

          4            286.    Plaintiffs AFGE, the AFGE locals, AFSCME, and SEIU each represent, and have as

          5     members, federal employees who have been or will be laid off as a result of the ARRPs created

          6     pursuant to the President’s Executive Order No. 14210. Those federal employees will lose their

          7     income, their health benefits, and other incidents of employment, causing severe irreparable harm to

          8     them, their families, and their communities.

          9            287.    Plaintiffs AFGE, AFGE locals, AFSCME, and SEIU each represent, and have as

         10     members, federal employees who, if they keep their job, will be subject to a reorganization resulting

         11     from the large-scale RIFs that makes doing their job more difficult as result of the ARRPs created

         12     pursuant to the President’s Executive Order 14210. Each federal employee who remains will be

         13     required to do more to meet the agency’s statutory mission and obligations, without the support of

         14     colleagues who, until the implementation of the President’s orders, the agency believed were needed

         15     to perform the work of the agency.

         16            288.    Each union Plaintiff has the core function of representing employees, including those

         17     in federal bargaining units, in collective bargaining and providing counseling, advice, and

         18     representation to employees in the event of adverse employment actions. Each union Plaintiff has

         19     and will be imminently prevented, by the mass terminations ordered by the President and directed by

         20     DOGE, OMB, and OPM as part of the purported reorganization of the federal government, from

         21     exercising those core functions as employee representatives.

         22            289.    Each union Plaintiff has expended substantial time and resources as a result of the

         23     President’s Executive Order and OMB/OPM’s implementing Memorandum, and the federal agencies’

         24     implementing ARRPs, addressing member concerns and attempting to provide employees with

         25     effective representation. Each Plaintiff has been forced to divert resources that would be devoted to

         26     representing employees who have or will experience adverse employment actions.
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          1            290.    Each union Plaintiff has been harmed in multiple other ways by the actual and

          2     imminent termination of its members, including by the loss of dues income and bargaining power.

          3     For example, Plaintiffs AFSCME, SEIU, SEIU Local 521, SEIU Local 1000, and SEIU Local 1021

          4     have each been harmed because the well-being, job security, and working conditions of their

          5     members who work for state, local government, and private employers are significantly and adversely

          6     impacted by the reduction in federal government services occasioned by the President’s Executive

          7     Order, the OMB/OPM implementing Memorandum and the resulting ARRPs.

          8            291.    Each non-profit organization Plaintiff and its members have suffered or will

          9     imminently suffer actual and ongoing harm as a result of the implementation of Executive Order

         10     14210, the OMB/OPM Memorandum and the resulting ARRPs, as the direct result of delays and

         11     reduction in services provided by the federal agencies on which they rely.

         12            292.    The Plaintiff non-profit organizations are being adversely impacted by these large-

         13     scale, agency-wide reorganizations and RIFs across the country and the harms caused by the

         14     reductions in staff are and will not be limited to a defined and particular geographic area.

         15            293.    Each local government Plaintiff has suffered or will imminently suffer actual and

         16     ongoing harm as a result of the implementation of Executive Order 14210, the OMB/OPM

         17     Memorandum and the resulting ARRPs, as the direct result of delays and reduction in services

         18     provided by the federal agencies on which they rely.

         19            294.    The Plaintiff local governments are being adversely impacted by these large-scale,

         20     agency-wide reorganizations and RIFs that have and will result in reductions in staff and services

         21     both within and without their borders, and often involve staff performing work in locations across the

         22     country not within the geographic borders of the local government.

         23            295.    Plaintiffs describe some of those harms to the Plaintiffs, by Federal Agency

         24     Defendant, as follows. Plaintiffs would also face severe and irreparable injury to the extent that other

         25     Federal Agency Defendants that have not publicly announced their plans, or taken action that has

         26     been made public, move forward with reorganization and reductions-in-force, including at the
         27     Department of Defense, Department of Homeland Security, and Department of Transportation.

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          1        •   USDA
          2            296.    Implementing the Executive Order and USDA ARRP to imminently terminate many

          3     thousands of USDA staff, to return staffing to 2019 levels, will irreparably and immediately harm the

          4     federal employees who are terminated, those who remain, and their labor representatives including

          5     Plaintiff AFSCME and Plaintiff AFGE. It will also irreparably and immediately harm the non-federal

          6     employee members of Plaintiffs AFSCME and SEIU who work in food service in K-12 schools that

          7     rely on USDA’s school food programs for funding and for dietary guidelines or provide family

          8     childcare services that rely on USDA’s childcare food program reimbursements.

          9            297.    These actions will also have a direct and severely detrimental impact on Plaintiff

         10     NOFA, its members, and the farmers and other communities the USDA serves. For example,

         11     NOFA’s members rely financially on the services provided by the Farm Services Agency (FSA) and

         12     the Natural Resources Conservation Service (NRCS), including FSA loans to purchase and improve

         13     farms, farm equipment, and anything necessary to run the farms, and rely on their local FSA and

         14     NRCS officers to understand their specific farm’s physical characteristics and business plans and to

         15     conduct in-person business because many lack reliable internet access or proficiency.

         16            298.    These actions will also have a severely detrimental impact on the American

         17     Geophysical Union as well as its members, who rely on the USDA’s funding, collaboration with its

         18     scientists, and use of its research, which is vital to, among other things, supporting the health of

         19     forests and rangelands in the face of climate change and other ecological stressors. Western

         20     Watersheds Project will also face injury from the impairment of the Department’s ability to control

         21     livestock grazing on Forest Service lands, causing damage to riparian habitats and spawning streams

         22     that are critical to the survival of certain species, including on WWP-owned land.

         23            299.    In addition, the implementation of the Executive Order and USDA ARRP will cause a

         24     direct, immediate and seriously detrimental injury to local governments that interact directly with this

         25     agency and rely on its services every day, specifically including but not limited to Plaintiffs King

         26     County, Harris County, County of Santa Clara, and the City and County of San Francisco.
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          1            300.    For example, Plaintiffs King County and Harris County own and/or operate some of

          2     the busiest airports and ports of entry in the nation. The Department of Agriculture provides

          3     personnel at these major transportation centers to manage prey animals that attract predatory birds

          4     that create hazards to air traffic through risk of bird strikes to aircraft. The Department also helps

          5     Plaintiff Harris County protect the food supply at food manufacturing facilities processing meat and

          6     dairy products. Absent these critical food safety staff provided by the agency, Plaintiff Harris County

          7     lacks the staff capacity, expertise, training, and authority to replace these critical food safety roles and

          8     would struggle to prevent outbreaks of food borne illnesses and pathogens such as avian flu that

          9     necessitate the destruction of food supply.

         10            301.    Similarly, Plaintiff Santa Clara relies on the USDA Wildlife Services program to

         11     depredate predators and other animals, including, for example, mountain lions, bears, and pigs, and

         12     then tests them to determine if they have any infectious diseases or pose any other risks. In a recent

         13     example, USDA Wildlife Services staff depredated several feral swine in Santa Clara, and upon

         14     testing them learned—and alerted Santa Clara staff—that those specific swine carried diseases

         15     threatening residents, pets, agricultural producers, and the human food supply. Reductions to the

         16     USDA Wildlife Services program within and outside Santa Clara, will cause an information gap that

         17     will heighten the risks to Santa Clara, its agriculture industry, and its residents, and that Santa Clara

         18     (and no other local government) could make up for.

         19            302.    Local jurisdictions also rely on USDA to prepare for, respond to, and recover from

         20     natural disasters and other emergencies. For instance, in the aftermath of a major wildfire in Summer

         21     2020, Santa Clara’s Office of Emergency Management coordinated with USDA to facilitate USDA

         22     employees coming to the affected area. The USDA set up and staffed a field station to help ranchers

         23     who lost grazing lands apply for low-interest loans, obtain machinery and tools, and even repair

         24     damaged equipment. Reducing and relocating staff will necessarily adversely impact Santa Clara’s

         25     ability to support its residents, including those who live in remote areas that are more difficult to

         26     serve, in the aftermath of wildfires and other natural disasters, particularly those that affect the
         27     substantial amount of agricultural production in the area. The results could include a weakened

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          1     economy, potential loss or relocation of agricultural businesses, diminished community resilience

          2     after disasters, and additional costs to Santa Clara itself (in the form of staff time and funds) to

          3     support recovery.

          4             303.    Diminishment of the U.S. Forest Service staffing would force local and state

          5     firefighting agencies to carry more of the burden of responding to wildfires and go without the

          6     assistance on which they often rely. The U.S. Forest Service performs essential work to manage

          7     federal wildland, to mitigate the risks of wildfire, and to fight wildfires when they occur. It is a

          8     critical component of the system of mutual aid used by firefighters across the United States. Santa

          9     Clara has experienced several very large wildfires in recent years, including several that were, at the

         10     time, the largest in California history.

         11             304.    Reduction of the USDA’s already understaffed Food Safety Inspection Service, which

         12     is responsible for ensuring that the nation’s meat supply is free from disease and contamination, will

         13     directly impact local governments by increase the risks of suffer foodborne illness and disease, which

         14     will burden local governments’ health and hospital systems and public health departments, including

         15     those operated by Plaintiff Santa Clara. Reductions to the USDA’s Animal and Plant Health

         16     Inspection Service will hamper local governments’ efforts to monitor and respond to agricultural

         17     pests (such as the Mediterranean fruit fly, which was detected in the Bay Area in August 2024, after

         18     which Santa Clara worked with USDA officials to establish a quarantine area to prevent its spread)

         19     and could hamper or altogether eliminate Santa Clara’s practical ability and legal authority to issue

         20     certifications necessary to export agricultural goods or collect fees for the inspection and issuance of

         21     those certifications. Similarly, Santa Clara’s Division of Agriculture also relies on USDA’s

         22     Smuggling Interdiction and Trade Compliance Program and reductions there would hamper local

         23     government’s ability to detect and respond to invasive pests arriving from overseas (such as the

         24     invasive pests that Santa Clara staff biologists found living in camellias illicitly imported from China,

         25     and then coordinated immediately with USDA staff to establish a federal quarantine). Agriculture

         26     Departments across California coordinate with USDA in the same way.
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          1        •   AmeriCorps
          2            305.    The implementation of the Executive Order and ARRP to virtually eliminate

          3     AmeriCorps programs has harmed and will irreparably and immediately harm the employees and

          4     members who are terminated, those who remain, and their labor representatives including Plaintiff

          5     AFSCME.

          6            306.    These actions will also have a detrimental impact on organizations that rely on

          7     AmeriCorps programs. For example, Plaintiff the American Public Health Association has a program

          8     working with the CDC on the education and training of Public Health AmeriCorps members, and its

          9     decimation will cause harm to the ability of APHA to build capacity to improve community health.

         10            307.    In addition, the implementation of the Executive Order and AmeriCorps ARRP will

         11     cause a direct and seriously detrimental injury to local governments that interact directly with this

         12     agency and rely on its services every day, specifically including but not limited to AmeriCorps’ work

         13     in schools; AmeriCorps’ Disaster Response Team, which is often involved in disaster recovery work

         14     for months and years after disasters such as the recent California wildfires; and King County’s work

         15     with AmeriCorps to expand capacity to deliver public health services, which will face increased costs

         16     and reduced program reach if King County’s partnerships with AmeriCorps are lost or diminished.

         17        •   Department of Commerce
         18            308.    The implementation of the Executive Order and ARRP to imminently reduce of staff in

         19     the Department of Commerce, including its announced plan to eliminate thousands of positions at

         20     NOAA and closure of the Minority Business Development Agency, will have direct and severely

         21     detrimental impacts on federal employees who are terminated, employees who remain, and their labor

         22     representatives including Plaintiff AFGE.

         23            309.    Terminations of staff at NOAA, which media reports indicate could eliminate 20

         24     percent or more of the agency’s 13,000 employees, will prevent NOAA from effectively carrying out

         25     its critical work, ranging from research supporting the health of the ocean and aquatic species

         26     conducted by the National Marine Fisheries Service to the foundational research conducted and data
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          1     collected by the Office of Oceanic and Atmospheric Research to understand hurricanes, weather

          2     forecasts, extreme storms, and natural disasters.

          3            310.    These actions will have a severely detrimental impact on Plaintiff AGU and its

          4     members, who collaborate with NOAA scientists and rely on funding from NOAA as well as on

          5     NOAA’s funding, science, and research to provide AGU members with the foundational research and

          6     data to understand hurricanes, weather forecasts, extreme storms, climate change, the oceans, and

          7     natural disasters, among many other services. For example, AGU members will be harmed by the

          8     loss of NOAA’s provision of essential data services that they use to model coastal hazards and

          9     research that tailors climate adaptation guidance to community organizations. These actions will also

         10     cause injury to the Plaintiff Western Watersheds Project, which relies on NOAA’s climate data, data

         11     collected by NOAA’s National Weather Service, and conservation services by NOAA’s National

         12     Marine Fisheries Service, and Plaintiff NRDC, which relies on research from NOAA and the Census

         13     Bureau, as well as NRDC members, who rely on NOAA support and services.

         14            311.    In addition, the implementation of the Executive Order and Commerce ARRP will

         15     cause a direct and seriously detrimental injury to local governments that interact directly with this

         16     agency and rely on its services every day, specifically including but not limited to all Plaintiff local

         17     governments.

         18            312.    All local government Plaintiffs rely on data, staff, services, and expertise provided by

         19     NOAA, including data they need to inform emergency preparations, planning, and response. For

         20     example, Plaintiffs Chicago, King County, Santa Clara, and San Francisco specifically rely on

         21     forecasts, modeling, and real-time information for major public event safety planning and weather-

         22     related operations at a granular level of detail with real-time updates, and Plaintiffs Harris County,

         23     King County, Santa Clara County, and others use this same information for major weather events.

         24     Plaintiff Chicago also relies on NWS personnel during large-scale outdoor City events, who are often

         25     present on site to assist in real-time assessment and response to weather data as it comes in. And

         26     King County relies on interagency County and National Weather Service teams to coordinate and
         27     conduct outreach to communities and provide education before major weather events like the

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          1     November 2024 “bomb cyclone” windstorm that resulted in several fatalities. Plaintiff local

          2     governments would lose valuable information and services that are essential to human safety and

          3     resilience.

          4             313.   King County also relies on NOAA Fisheries to assist in the development and

          5     implementation of Puget Sound Salmon Recovery Plans that are critical to the recovery, management,

          6     and protection of several species of salmon within King County—an essential component of the

          7     region’s economic, recreational, and cultural life. Also, NOAA Fisheries’ consultation and review of

          8     capital projects for Endangered Species Act and Essential Fish Habitat compliance is a critical step in

          9     permitting projects. Delays would escalate construction costs, and elimination of review would

         10     undermine progress toward salmon recovery and other marine life management and protection goals.

         11         •   Department of Energy
         12             314.   The implementation of the Executive Order and ARRP to impose imminent reductions

         13     of up to 50% of the staff at the Department of Energy will irreparably and immediately harm the

         14     federal employees who are terminated, those who remain, and their labor representatives including

         15     Plaintiff AFGE.

         16             315.   These reductions, which are proposed to cut half of the science and innovation

         17     programs, will also have a direct and substantially detrimental impact on the members of Plaintiff

         18     American Geophysical Union who rely on research by and funding from the Department and

         19     regularly collaborate with its scientists, and will directly impair the AGU’s financial resources and

         20     mission. They will also harm Plaintiff NRDC, which relies on publications and databases updated

         21     and maintained by the Federal Energy Regulatory Commission, National Renewable Energy

         22     Laboratory, and Energy Information Administration. By eliminating weatherization programs, they

         23     will harm Plaintiff AFSCME, which has non-federal-employee members who perform weatherization

         24     work funded, overseen, and assisted by the Department, which will be interrupted and injured. And

         25     they will cause substantial harm to members of the public, who depend on the Department to keep

         26     them safe including by maintaining the nation’s nuclear stockpile and operating environmental
         27

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          1     management programs that, among other things, clean up radioactive waste and prevent the material

          2     from contaminating the soil and groundwater.

          3            316.    In addition, the implementation of the Executive Order and Energy ARRP will cause a

          4     direct and seriously detrimental injury to local governments that interact directly with this agency and

          5     rely on its services every day.

          6            317.    Crises stemming from understaffing of the programs of the Department of Energy will

          7     enormously burden city and county governments, which will be left to handle environmental

          8     disasters, specifically including but not limited to Plaintiffs City and County of San Francisco and the

          9     City of Baltimore.

         10            318.    For example, the Executive Order and AARP have already caused, and will continue

         11     to cause, disruptions and harms to vital funding sources and supports. For example, Plaintiff San

         12     Francisco has received federal financial support from the Department of Energy to develop green

         13     building standards, deploy EV charging infrastructure, and continue to transition city vehicles to Zero

         14     Emission Vehicles. Three 2024 Department of Energy grants awarded to San Francisco for these

         15     purposes are in stasis awaiting information from San Francisco’s last known federal program officers

         16     on these grants—several of whom are no longer employed at the Department of Energy. Similarly,

         17     King County expects these actions to delay implementation of critical work funded by grants from

         18     the Department of Energy. As one example, Plaintiff King County is currently implementing a block

         19     grant under the DOE’s Energy Efficiency and Conservation Block Grant Program. This grant will

         20     allow King County to continue its efforts to reduce fossil fuel emissions and energy use, and improve

         21     energy efficiency in various sectors. On April 24, 2025, Plaintiff King County was advised that the

         22     technical project officer for that particular grant was leaving the agency, and that it may reach out to

         23     various email addresses unattached to specific people for issues and questions, and that a new

         24     technical project officer has not yet been assigned to the grant. King County expects that the

         25     reductions at the Department of Energy have reduced or eliminated its ability to work on this grant.

         26     Likewise, Plaintiff City of Baltimore also relies on the Department’s data, models, training, and
         27     support and funding for climate goals that affect it as a coastal city.

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          1        •   Environmental Protection Agency
          2            319.    The implementation of the Executive Order and ARRP to impose imminent substantial

          3     cuts at EPA—including the initial terminations of nearly 300 employees at environmental justice

          4     offices, planned elimination of the Office of Research and Development and layoffs of more than

          5     1,000 employees working there, and targets to cut up to 65 percent of the budget, including

          6     employees—will directly and significantly harm the federal employees who are terminated, those

          7     who remain, and their labor representatives including Plaintiffs AFGE and SEIU.

          8            320.    The actions will also have a direct and severely detrimental impact on Plaintiff

          9     American Geophysical Union and its members, who collaborate with and rely on the EPA’s research

         10     and funding, as well as the public. They will stop the EPA’s research, tracking, and responses to

         11     health hazards in the air, water, and land. And they will harm non-profits that rely on data, analysis,

         12     and funding from the EPA for their work, including Plaintiffs American Geophysical Union and the

         13     NRDC. In particular, the cuts to the EPA include large-scale staffing reductions at the EPA Office of

         14     Research and Development, which produces critical research on PFAS and lead contamination on

         15     which NRDC relies, as well as at the EPA Office of Environmental Justice and External Civil Rights,

         16     which ran EJScreen, an environmental justice screening and mapping tool on which NRDC relies.

         17            321.    In addition, the implementation of the Executive Order and ARRP will cause a direct

         18     and seriously detrimental injury to local governments, specifically including but not limited to

         19     Plaintiffs the City of Baltimore, City of Chicago, County of Santa Clara, City and County of San

         20     Francisco, and King County.

         21            322.    For example, Plaintiffs including King County and Chicago rely on the EPA in dealing

         22     with hazardous materials including Superfund sites, where EPA staffing and support is necessary to

         23     protect public health through remediation and technical assistance. Similarly, local government

         24     plaintiffs including Santa Clara rely on the EPA for tracking, tracing, and managing hazardous

         25     materials while in transit to, from, or through their jurisdictions, for which they rely on the e-Manifest

         26     system and protocols developed and managed by EPA. Plaintiffs Santa Clara and Chicago also rely
         27     on the EPA in the aftermath of disasters, including clearing hazardous waste and determining whether

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          1     and when it is safe for residents to return to disaster-affected areas. If the EPA’s ARRP diminishes

          2     EPA’s capacity to deploy staff on-site after fires and other natural disasters, that will make it more

          3     difficult and more protracted for Plaintiff Santa Clara to fulfill its role of protecting its residents and

          4     the environment from hazardous material leaks and exposures and to facilitate recovery from natural

          5     disasters.

          6               323.   Localities like Plaintiff King County rely on EPA staff expertise, collaboration, and

          7     data sharing to support effective climate and environmental assessments and program

          8     implementation. Diminished access to EPA staff could hinder accurate greenhouse gas inventories

          9     and mitigation planning and limit Plaintiff King County’s ability to target mitigation efforts in areas

         10     with high pollution burdens and vulnerable populations.

         11               324.   Localities, including Plaintiffs King County and San Francisco, also rely on EPA staff

         12     for funding and resources to support local environmental justice work. Without EPA staff to manage

         13     and process grants, support mapping tools and other resources, and provide technical assistance,

         14     localities like Plaintiffs will be seriously harmed. Plaintiff San Francisco’s Environment Department

         15     will also be impaired in fulfilling its mission to promote environmental justice, and these cuts will

         16     detrimentally impact communities in San Francisco that are already harder hit by environmental

         17     issues.

         18               325.   In addition, the implementation of the Executive Order and ARRP will cause serious

         19     injury to local governments with respect to their agricultural work. EPA’s ongoing work is a linchpin

         20     for the agricultural industry across the country, including, for example, in Santa Clara. Plaintiff Santa

         21     Clara’s Division of Agriculture regulates and monitors the use of pesticides in this industry, including

         22     by issuing use permits and receiving and reviewing reports from producers of when the pesticides are

         23     used. But EPA, not local governments, primarily manages and implements the Federal Insecticide,

         24     Fungicide, and Rodenticide Act, which governs the registration, labeling, distribution, sale, and use of

         25     pesticides in the United States, by determining whether a given manufacturer’s product can be

         26     registered as a pesticide, which in turn requires EPA to determine its safety for use in the food supply.
         27     The EPA’s involvement is essential not only for registering new pesticides, but also when Plaintiff

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          1     Santa Clara detects new invasive species or pests that require urgent response but for which there is

          2     not yet a registered pesticide. In those instances, the EPA must issue approvals for “off-label” use of

          3     registered pesticides. Execution of EPA’s ARRP could diminish if not altogether destroy EPA’s

          4     ability to register new pesticides and its ability to act promptly to permit famers to protect their crops

          5     from new and emerging threats. The risk is especially acute for Plaintiff Santa Clara: because the

          6     Bay Area is a site of significant international travel, there is an especially heightened chance that

          7     harmful pests will be detected first in or near Santa Clara.

          8            326.    EPA’s reorganization could also diminish or altogether block EPA’s capacity to deploy

          9     the on-scene coordinators who assist local governments including Plaintiff Santa Clara during

         10     emergency response to releases of hazardous materials and other harmful chemicals. Plaintiff Santa

         11     Clara relies heavily and directly on EPA staff to provide interpretation, guidance, and training for

         12     EPA’s Spill Prevention, Control, and Countermeasure regulations. Likewise, Plaintiff Santa Clara’s

         13     Department of Environmental Health also relies on modeling software that EPA develops, maintains,

         14     and updates in order to assess potential offsite consequences of catastrophic releases of hazardous

         15     substances. If EPA does not maintain or continue to update this software, it would substantially

         16     diminish the ability of Plaintiff Santa Clara—and, on information and belief, other local and state

         17     agencies—to respond to these releases in ways that effectively protect residents.

         18        •   General Services Administration
         19            327.    The implementation of the Executive Order and ARRP to impose imminent drastic

         20     cuts to GSA staff—including a 63 percent reduction in Public Buildings Service staff, which will

         21     eliminate more than 3,500 positions—will have direct and severely detrimental impacts on the federal

         22     employees who are terminated, employees who remain, their labor representatives including Plaintiff

         23     AFGE, and the public.

         24            328.    Federal employees who work at and members of the public who visit federal office

         25     buildings, courthouses, and other federal facilities rely on Public Buildings Service staff to ensure

         26     their health and safety in the facilities by overseeing the testing of water in the buildings for the
         27     presence of bacteria, lead, and copper; maintaining fire prevention systems; managing indoor air

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          1     quality, including during wildfires; and containing the spread of infectious diseases in the buildings.

          2     The severe reduction in Public Buildings Service staff will threaten the health and safety of AFGE

          3     members, as well as other federal employees and visitors, at federal buildings and facilities

          4     throughout the country. Cuts to other parts of GSA will similarly undermine the agency’s ability to

          5     provide real estate, facilities management, procurement, technology, and other services to the federal

          6     government and the public.

          7              329.   SEIU has hundreds of members who are employed by federal contractors to provide

          8     cleaning services at GSA locations, who are at risk of losing their jobs due to the reduction in GSA

          9     staff.

         10         •    Department of Health and Human Services
         11              330.   The implementation of the Executive Order and ARRP has already included RIFs

         12     carried out at HHS in late March 2025 that eliminated roughly 10,000 positions across the agency,

         13     including 3,500 at the Food and Drug Administration (FDA), 2,400 at the Centers for Disease Control

         14     and Prevention (one-fifth of all CDC employees), 1,200 at the National Institutes of Health (NIH),

         15     and 300 at the Centers for Medicare & Medicaid Services (CMS). Many offices and programs were

         16     eliminated entirely or lost the vast majority of their employees, including the National Center for

         17     Injury Prevention and Control, National Institute for Occupational Safety and Health, Office of

         18     Health Equity, National Center on Birth Defects and Developmental Disabilities, certain programs

         19     within the National Center for Environmental Health, and various CDC laboratories. Five large HHS

         20     offices were shuttered: in New York City, Boston, Chicago, Seattle, and San Francisco.

         21              331.   These layoffs have caused immediate and severe harm to the federal employees who

         22     were terminated, as well as those who remain, and to their labor representatives including Plaintiffs

         23     AFGE. They are also directly harming Plaintiffs AFSCME and SEIU, and their non-federal

         24     employee members, some of whom are employed by Head Start programs that rely on HHS-

         25     administered funding, training, technical support, and investigation and enforcement of rules; some of

         26     whom are family childcare providers who depend upon HHS’s Office of Child Care for the timely
         27     receipt of grant funds, regulatory compliance guidance, and oversight; and many of whom work in

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          1     state administration of Medicaid and in public health positions who have been and will continue to be

          2     injured by cuts to CMS and the CDC. SEIU also has members who are employed by federal

          3     contractors to provide cleaning services at HHS locations, who are at risk of losing their jobs due to

          4     the reduction in HHS staff.

          5            332.    The actions will also have a direct and severely detrimental impact on Plaintiff

          6     American Public Health Association and its members. Many APHA members are public health

          7     officials who work in state and local health departments who have lost access to critical services. For

          8     example, the CDC terminated employees who had been working on the ground responding to the

          9     worsening measles outbreak in Texas that has already claimed the lives of two children and lead

         10     experts who had been ready to provide essential on-the-ground support to Milwaukee public schools

         11     that were closed due to the discovery of widespread presence of lead. State and local public health

         12     officials and offices that relied on data, expertise, and support from HHS will have to expend

         13     significant resources in response to these sweeping terminations and reorganization and run the risk

         14     of new or worsening public health crises. The actions will also harm Plaintiff American Geophysical

         15     Union and its members, who regularly collaborate with CDC and NIH researchers, as well as Plaintiff

         16     NRDC, all of whom rely on CDC and NIH research including on lead contamination.

         17            333.    The virtual elimination of NIOSH, which has seen 93% of the staff given RIF notices,

         18     will harm non-federal employee members of Plaintiffs SEIU and AFSCME because it will halt

         19     NIOSH’s research, investigations, and guidance to prevent, mitigate, and address occupational

         20     injuries and illnesses across all types of workplaces, including coal mines, fire departments, oil and

         21     gas wells, healthcare facilities, and small businesses (including Plaintiff Main Street Alliance

         22     members) and thereby increase health and safety risks to workers across the country. In particular,

         23     cuts to a longstanding program offering coal miners free screenings for black lung, and an

         24     opportunity for miners at risk of advancing their black lung to transfer to less dangerous positions,

         25     has been eliminated. Firefighter safety programs, which address exposure to toxins and chemicals

         26     and cancer risk, have also been shuttered or virtually eliminated.
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          1            334.    NIOSH is also essential to a wide range of activities undertaken by the local

          2     government plaintiffs, so its demise is already harming, and will continue to harm, those plaintiffs.

          3     For instance, Plaintiff Santa Clara relies on NIOSH’s review, testing, evaluation, and/or certification

          4     of stafety equipment, including Personal Protective Equipment (PPE) such as N95 respirators,

          5     protective gowns, and equipment designed to protect against hearing loss, across its operations. If

          6     NIOSH remains shuttered, Santa Clara expects it will be forced to make impossible choices, such as

          7     choosing between cancelling medical procedures that are clinically indicated for patients, or

          8     procuring and using PPE that NIOSH has not reviewed or certified, and which may therefore fail to

          9     comply with applicable regulations and inadequately protect workers and patients from harm. And if

         10     the decimation of NIOSH is not forestalled, Plaintiff Santa Clara and its residents—and likely

         11     governments and residents across the country—will be left exposed to new and emerging hazards for

         12     which there is not yet any NIOSH guidance or NIOSH-reviewed PPE. That risk is especially

         13     pronounced for Plaintiff Santa Clara for numerous reasons, including because it operates a large

         14     health and hospital system, is a hub for international travel, is the home of numerous sites considered

         15     to be targets for potential bioterrorist attacks, and has a location that leaves it susceptible to new and

         16     emerging infections as well as respiratory and other atmospheric risks caused by wildfires and

         17     exacerbated by climate change.

         18            335.    In addition, the implementation of the Executive Order and HHS ARRP will cause a

         19     direct and seriously detrimental injury to local governments that interact directly with the CDC and

         20     rely on its services every day, specifically including but not limited to all local government Plaintiffs.

         21            336.    For example, Plaintiff San Francisco operates an extensive public health system that

         22     relies on CDC services in numerous ways. The CDC supports San Francisco’s public health efforts,

         23     including through trainings, guidance, public health pipeline programs, transportation services for

         24     rare but particularly infectious patients who cannot be treated at San Francisco’s public hospital,

         25     reference lab services, and surveillance support that is crucial for identifying and tracking the spread

         26     of infections and diseases, including resistant strains. Absent adequate CDC support, Plaintiff San
         27     Francisco will have to divert and expend resources.

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          1            337.    The RIFs and reorganization at HHS are limiting or eliminating national data

          2     collection projects, and limiting access to staff with related subject-matter expertise, which will

          3     negatively affect the ability of local governments to respond to public health emergencies. For

          4     example, Plaintiff Chicago’s Department of Public Health relies upon CDC data and guidance to

          5     effectively surveil the spread of sexually transmitted diseases, control the spread of infectious

          6     diseases like measles and Mpox, and efficiently allocate resources to address chronic diseases like

          7     diabetes and opioid addiction.

          8            338.    Local governments, including Plaintiff Santa Clara, also rely heavily on the CDC’s

          9     Laboratory Response Network, as well as several CDC laboratories that are the only ones authorized

         10     or capable of testing for certain infectious diseases, including some sexually transmitted diseases.

         11     Delays or disruptions in CDC’s ability to test specimens or report results to Plaintiff Santa Clara’s

         12     Public Health Department will produce information gaps and delays that result in unnecessary spread

         13     of infectious diseases as well as inadequate directions or recommendations to affected patients.

         14     Indeed, Plaintiff Santa Clara’s Public Health Department has protocols that often require its staff to

         15     contact and share specimens with the CDC very quickly and to monitor results that the CDC shares

         16     not only for its own specimens, but for tests of specimens from other parts of the country. When the

         17     CDC operates the only laboratory that can conduct the testing, HHS’s reorganization could mean the

         18     difference between life and death, between effective and ineffective treatment, between spread or

         19     containment of infectious disease, and whether residents suffer.

         20            339.    Reductions to the CDC’s extensive work developing information about emerging

         21     infectious-disease threats in other parts of the world, will directly impact Santa Clara and other local

         22     governments where there is frequent travel between Santa Clara and those areas. When the CDC

         23     develops and shares information about outbreaks of Ebola, novel influenza, mpox, and other

         24     diseases—including not only COVID-19, but more recently Marburg virus disease (formerly known

         25     as Marburg haemorrhagic fever) and tuberculosis—localities including Plaintiff Santa Clara can be

         26     better prepared to handle potential cases that may emerge locally. The CDC played a critical role in
         27     assisting Santa Clara in its response to these threats, including by sending experts with specific

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          1     expertise in medicine, epidemiology, infection control, community mitigation, and communications

          2     to Santa Clara to coordinate with Santa Clara’s Emergency Operations Center, and to develop a

          3     community mitigation plan.

          4            340.    When there is a terrorist attack, disease outbreak, earthquake, or other emergency, and

          5     local government health systems (including both public health departments and hospitals) require use

          6     of medicines, including those that are not quickly or commercially available or in quantities that

          7     would exhaust local supplies, those departments can access medicine from the Strategic National

          8     Stockpile, which is administered and staffed by HHS’s Administration for Strategic Preparedness and

          9     Response (ASPR). The time-sensitive availability of the Strategic National Stockpile is critical. If

         10     HHS’s ARRP closes or reduces the capacity of ASPR to operate the Strategic National Stockpile,

         11     CDC to operate the Drug Service, or FDA to operate the expanded access program, it would reduce if

         12     not altogether block the ability of Plaintiff Santa Clara’s Public Health Department and Health

         13     System—and other local and state hospitals, clinics, and public health departments—to access these

         14     vital, life-preserving resources in times of emergency.

         15            341.    Additionally, NIOSH provides local governments with essential investigative support

         16     in fire safety, particularly in the aftermath of industrial incidents. Plaintiff Harris County contains

         17     extensive petrochemical infrastructure, and has relied on NIOSH to identify causation in fires where

         18     initial assessments were inconclusive. Loss of NIOSH personnel and institutional knowledge will

         19     compromise this function, leaving Plaintiff Harris County ill-equipped to respond to industrial

         20     hazards and fire risks.

         21        •   Department of Housing and Urban Development
         22            342.    The implementation of the Executive Order and ARRP to impose an imminent RIF of

         23     up to 50 percent reduction in HUD staff, which will eliminate certain offices and more than 4,000

         24     positions, will directly and significantly harm the federal employees who are terminated, those who

         25     remain, their labor representatives including Plaintiff AFGE, and members of the public who depend

         26     on HUD’s services. It will prevent individuals and communities across the country from being able
         27     to access funding and support for disaster relief, community development, rental assistance,

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          1     homeownership, homelessness, and housing discrimination complaints, and exacerbate the housing

          2     crisis and housing-related issues throughout the country.

          3              343.   These actions will also cause irreparable injury to Plaintiff AFSCME and SEIU, and

          4     their non-federal employee members, who work at housing authorities across the country—including

          5     in California—that depend on the regular and timely distribution of HUD funding and who will be

          6     harmed by the closure of local HUD offices. SEIU also represents hundreds of members employed

          7     by service contractors who provide cleaning, security, and other services at housing authorities in

          8     numerous states, and risk losing their jobs due to the significant reduction in HUD staff and closure

          9     of offices. SEIU Local 1000 members work at a California state agency that administers affordable

         10     housing programs funded exclusively by HUD, and the cuts to HUD staff and dozens of office

         11     closures will imperil the agency’s critical functions and services, impede oversight and enforcement,

         12     diminish critical technical assistance and support, and threaten affordable housing programs and

         13     projects, harming SEIU Local 1000’s members and the members of the public whom they serve.

         14              344.   These actions will cause a direct and seriously detrimental injury to local governments

         15     that interact directly with this agency and rely on its services every day, specifically including but not

         16     limited to Plaintiffs City of Baltimore, County of Santa Clara and King County.

         17              345.   For example, delays in receiving technical assistance and guidance from HUD staff on

         18     topics critical to the governance of the Community Development Block Grant, HOME programs, and

         19     Section 108 Loan Programs will impact localities like Plaintiff Baltimore. These programs rely on

         20     HUD staff to, inter alia, review and provide approvals necessary for processing the flow of funds

         21     under these programs; reduced staff will hamper the ability of localities like Plaintiff Baltimore to use

         22     these funds and to refinance loans through the 108 Loan program, causing financial and economic

         23     harms.

         24              346.   In addition, HUD’s reorganization will cause delays in processing invoices and

         25     payment to local governments and nonprofits in connection with nationwide housing assistance and

         26     grant programs. HUD’s inability to timely process invoices and payments to grantees, provide
         27     technical assistance, or manage future grant cycles will not only hamper the ability of local

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          1     governments to assist beneficiaries through housing support offices such as Plaintiff Santa Clara’s

          2     Office of Supportive Housing, but will also cause more residents to experience homelessness due to

          3     lack of availability of shelters and services.

          4        •   Department of Interior
          5            347.    The implementation of the Executive Order and ARRP to impose imminent mass

          6     layoffs at the Department of the Interior will have an immediate and detrimental impact on the federal

          7     employees who are terminated, those who remain, and their labor representatives including Plaintiffs

          8     AFGE and SEIU.

          9            348.    These actions will also inflict irreparable injury upon Plaintiff American Geophysical

         10     Union and its members, who regularly collaborate with and depend on the agency—in particular, on

         11     the U.S. Geological Survey (USGS), Bureau of Land Management, and Fish and Wildlife—for

         12     funding and research. The targeting of USGS will compromise vital public services, including

         13     providing reliable science to resource managers, emergency response, other scientists who rely on it,

         14     and the public. For example, the planned reductions of 20 percent will eliminate regional centers that

         15     partner with local natural resource managers and communities to help them deal with mounting

         16     challenges of climate change, from wildfires to sea level rise.

         17            349.    The reductions in staffing will also harm Plaintiff NRDC, which relies on publications

         18     and databases updated and maintained by the Fish and Wildlife Service, U.S. Geological Survey, and

         19     the Bureau of Land Management; and Plaintiff Coalition to Protect America’s National Parks and its

         20     members, because inadequate staffing will endanger animal and plant species and compromise park

         21     functioning and operations, harming the recreational activities of members in national parks. It will

         22     harm Plaintiff Western Watersheds Project, by impeding timely access to public records necessary to

         23     accomplish its conservation mission, adversely affecting the Bureau of Land Management’s

         24     prevention of ecologically destructive grazing on federal public lands, hindering WWP’s ability to

         25     research and obtain information related to conservation efforts, impacting the U.S. Fish and Wildlife

         26     Service’s ability to categorize and protect endangered species such as the Wyoming toad and Arctic
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          1     grayling, and causing other adverse effects that will decimate the National Wildlife Refuge, harm

          2     WWP’s ability to protect native wildlife, and impede the enjoyment of land by WWP’s members.

          3            350.    In addition, the implementation of the Executive Order and the Interior ARRP will

          4     cause a direct and seriously detrimental injury to local governments, specifically including but not

          5     limited to Plaintiffs Santa Clara and King County. It will harm Plaintiff Santa Clara’s emergency-

          6     planning efforts and capabilities, which rely on information about earthquake hazards developed by

          7     USGS to plan for and respond to earthquakes. Indeed, Plaintiff Santa Clara is a member of the

          8     Association of Bay Area Governments, which partners closely with USGS to provide resources and

          9     guidance related to earthquakes. Similarly, implementation of the Executive Order and the Interior

         10     ARRP would significantly slow Plaintiff King County’s ability to complete infrastructure,

         11     transportation, and environmental projects, increase costs, and reduce the effectiveness of efforts to

         12     protect endangered species and historic resources. It would result in Plaintiff King County

         13     experiencing, among other things, increased uncertainty and project delays due to extended

         14     consultation and permit review and issuance in ESA and EFH reviews conducted by U.S. Fish and

         15     Wildlife Service along with NOAA Fisheries, which oversee species like Chinook Salmon and Bull

         16     Trout. It would also cause delays in compliance with federal laws requiring consultation with the

         17     Bureau of Indian Affairs and other DOI agencies on the impacts of federally funded or permitted

         18     projects on historic properties, potentially stalling project approvals.

         19        •   Department of Labor
         20            351.    The implementation of the Executive Order and ARRP to impose imminent large-scale

         21     layoffs at the Department of Labor will have a direct and severely detrimental impact on the federal

         22     employees who are terminated, those who remain, and their labor representatives including Plaintiff

         23     AFGE. For example, the Department has eliminated the enforcement division of the Office of

         24     Federal Contract Compliance Programs (OFCCP) and plans to cut OFCCP by 90 percent.

         25            352.    These actions will also have a direct and severely detrimental impact on Plaintiffs

         26     AFSCME and SEIU, whose non-federal employee members depends on many programs and
         27     subagencies of the Department including the Occupational Health and Safety Administration

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          1     (“OSHA”), Wage and Hour Division, Bureau of Labor Statistics, and Employee Benefits Security

          2     Administration. SEIU also represents members employed by service contractors who provide

          3     cleaning services at DOL offices, and risk losing their jobs due to the significant reduction in staff.

          4     Plaintiff AFGE and its members will also be harmed by cuts to OSHA which, among many other vital

          5     roles, is responsible for ensuring effective occupational safety and health programs within federal

          6     agencies, and the Office of Workers’ Compensation Programs, which administers Federal Employees’

          7     Compensation Act claims.

          8            353.    In addition, the implementation of the Executive Order and the Labor ARRP will

          9     cause a direct and seriously detrimental injury to local governments.

         10        •   National Labor Relations Board
         11            354.    The implementation of the Executive Order and ARRP to impose a large-scale

         12     reduction-in-force at the NLRB will have a direct and severely detrimental impact on the federal

         13     employees who are terminated, those that remain, and their labor representatives.

         14            355.    In addition, these actions will also have a direct and severely detrimental impact on

         15     Plaintiffs AFSCME and SEIU, both of whom represent private-sector members who depend on the

         16     NLRB and who regularly file unfair practice charges and representation petitions at the NLRB. Due

         17     to flat-line budgeting, case processing time has increased over the past decade from 100 days to 444

         18     days. Decreasing staff will further extend the time it takes for the NLRB to prosecute violations of

         19     federal labor law, leaving workers and unions unprotected. Plaintiffs AFSCME and SEIU who

         20     regularly file unfair practice charges at the NLRB presently have significant pending petitions for

         21     representation and unfair labor practice charges that are not being timely processed due to current low

         22     staffing levels. The delay will mean that NLRA violations will effectively go unremedied and

         23     workers will be thwarted in having unions certified as their collective bargaining representatives

         24     because the NLRB will not be able to conduct timely elections.

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          1        •   National Science Foundation
          2            356.    The implementation of the Executive Order and ARRP to impose imminent layoffs of

          3     up to half of NSF staff will have a direct and severely detrimental impact on the federal employees

          4     who are terminated, those who remain, and their labor representatives including Plaintiff AFGE.

          5            357.    They will also cause severe harm to science in the United States. NSF has already

          6     abolished eleven of its thirteen advisory panels. It is a major funder of critical scientific research, and

          7     the elimination of staff will cause serious disruptions in funding that created chaos and instability

          8     among researchers. For these reasons, the reduction in NSF staff will have a direct and substantially

          9     detrimental impact on the members of Plaintiff the American Geophysical Union, who rely on

         10     research by and funding from, and often collaborate with, the NSF. It will also harm Plaintiff

         11     Western Watersheds Project, which regularly uses NSF-funded research for protection and restoration

         12     of wildlife and native ecosystems,

         13        •   OPM
         14            358.    Planned RIFs at OPM will cause imminent harm to Plaintiff AFGE’s members, who

         15     will lose their jobs, and to Plaintiff AFGE itself by: impairing its mission, depriving it of membership

         16     dues, and forcing it to allocate resources and attention to responding to RIFs instead of other

         17     organizational goals.

         18        •   Peace Corps
         19            359.    Planned RIFs at the Peace Corps will cause imminent harm to Plaintiff AFSCME’s

         20     members who will lose their jobs, and to Plaintiff AFSCME itself by: impairing its mission, depriving

         21     it of membership dues, and forcing it to allocate resources and attention to responding to RIFs instead

         22     of other organizational goals.

         23        •   Small Business Administration
         24            360.    The implementation of the Executive Order and ARRP to impose an imminent 43

         25     percent reduction in SBA staff, which will eliminate thousands of positions, will cause a direct and

         26     severely detrimental impact on the federal employees who are terminated, those who remain, and
         27     their labor representatives including Plaintiff AFGE.

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          1            361.    This reduction will also cause harm to Plaintiffs AFGE, AFSCME, and SEIU members

          2     who carry student loan debt, many of whom have benefited from the Public Service Loan

          3     Forgiveness program and income-driven repayment options that attach to the federal student loans of

          4     those employed in the public sector. Because the Administration intends to transfer the processing of

          5     student loans from the (now eliminated) Department of Education to the SBA, understaffing in the

          6     SBA will cause delays in processing loan forgiveness or requests to adjust income-based repayment,

          7     causing significant financial harm to AFSCME, SEIU, and AFGE members.

          8            362.    The reductions will also have a severely detrimental impact on the small businesses

          9     across the United States, including the members of Plaintiff Main Street Alliance, who rely on SBA

         10     services, which include loans, loan guarantees, grants, disaster relief, assistance connecting with

         11     government contracting opportunities, a mentoring program, and a national network of Small

         12     Business Development Centers that provide counseling and training to help entrepreneurs start their

         13     own businesses.

         14            363.    In particular, Main Street Alliance members and other small businesses that have

         15     suffered substantial injuries in national disasters rely on the SBA’s Emergency Injury Disaster Loan

         16     (“EIDL”) program. But without adequate staff, EIDL loan processing will be delayed and loan

         17     recipients facing repayment difficulty will be unable to reach EIDL to renegotiate payments, causing

         18     them to end up in default and be sent to collection. Reductions in staffing will also slow the

         19     processing of loan guarantees, which will have detrimental effects not only on small business loan

         20     recipients but also on contractors and suppliers, and their employees. Many of these effects have

         21     already begun to occur. The SBA office that funds an important mentoring program has been

         22     effectively eliminated. At least one Small Business Development Center has already closed, with

         23     more to come. As the RIFs continue to unfold, they will have extremely detrimental effects on small

         24     businesses throughout the nation including many members of Main Street Alliance.

         25            364.    In addition, the implementation of the Executive Order and SBA ARRP will cause a

         26     direct and seriously detrimental injury to local governments that interact directly with this agency and
         27     rely on its services every day, specifically including but not limited to Plaintiffs the City and County

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          1     of San Francisco and King County. The elimination of positions at the SBA threatens the Plaintiff

          2     local governments’ ability to support communities that are recovering after major disasters, by

          3     slowing critical financial assistance. They will cause delays in, among other things, damage

          4     assessments, establishment of Disaster Loan Outreach Centers, and servicing of disaster loans, which

          5     are currently fully managed by SBA employees. In addition, residents and businesses that depend on

          6     timely access to disaster loans will face financial harm. Without sufficient SBA staff to travel to

          7     disaster locations to perform assessments and provide loan application technical assistance, residents

          8     in disaster areas will face difficulty obtaining low-interest federal disaster loans, therefore hindering

          9     their ability to rebuild and recover from disasters

         10        •   Social Security Administration
         11            365.    The implementation of the Executive Order and ARRP to imminently eliminate the

         12     jobs of 7,000 of the 57,000 SSA employees—at a time when the SSA was already at a 50-year

         13     staffing low just as the peak of the Baby Boomer generation become eligible for SSA retirement

         14     benefits—will have a direct and severely detrimental impact on the federal employees who are

         15     terminated, those who remain, and their labor representatives including Plaintiff AFGE.

         16            366.    These layoffs will also affect Plaintiffs AFSCME, SEIU, and SEIU Local 1000 and

         17     their non-federal employee members who work for state agencies that determine eligibility for Old

         18     Age, Survivors and Disability Insurance and depend on SSA-administered technology to make their

         19     assessments, for local or state determination entities, and/or for medical providers that make those

         20     determinations, which also depend on SSA staff. SEIU Local 1000 members are employed by the

         21     California state agencies that rely on the provision of social security numbers when issuing driver’s

         22     licenses and processing unemployment benefits applications, and will likely face long delays in

         23     speaking with SSA staff and resolving problems with social security numbers, which, in turn, will

         24     delay the provision of state service, including driver’s licenses and unemployment/disability

         25     insurance.

         26            367.    In addition, these actions will also have a direct and severely detrimental impact on
         27     Plaintiff Alliance for Retired Americans and its members, who are already experiencing long wait

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          1     times for appointments in person and long wait times (already up to 90 minutes) on the 800-number

          2     to apply for benefits or to correct benefit problems by phone. Employees processing benefits

          3     applications will no longer have the necessary information technology support, causing problems

          4     including website disruptions that prevent ARA members and others from applying for benefits or

          5     calculating benefits to make retirement decisions. And adding the caseload of employees who are

          6     terminated to SSA employees’ already overwhelming caseload will mean the current problem of

          7     almost one-fifth of benefit applications not being timely processed will expand and people who are

          8     entitled to receive Social Security benefits, including ARA members, will not timely receive them.

          9     These same issues will also affect Plaintiffs AFSCME’s and AFGE’s significant number of retired

         10     members and their families.

         11        •   State Department
         12            368.    The implementation of the Executive Order and ARRP imminently to impose

         13     sweeping cuts at the State Department—including staff reductions in domestic offices of 15%, on top

         14     of the elimination of entire offices—will have a direct and severely detrimental impact on the federal

         15     employees who are terminated, those who remain, and their labor representatives including Plaintiff

         16     AFGE. SEIU also represents members employed by service contractors who provide cleaning

         17     services at State Department offices, and risk losing their jobs due to the significant reduction in staff.

         18            369.    These reductions will also cause immediate, substantial, and irreparable harm to the

         19     vital diplomatic work the Department performs. For example, the planned reorganization eliminates

         20     numerous Special Envoys, Representatives, and Coordinators, positions that provide high-level,

         21     specialized attention to pressing issues such as climate change, global criminal justice, hostage

         22     affairs, nuclear nonproliferation and particularly geopolitically sensitive States like Iran, Sudan, and

         23     North Korea. The scale of the Reorganization Plan announced on April 22 will also make it

         24     extremely hard for the employees who remain to keep the work of their offices going without severe

         25     disruptions.

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          1         •   Department of Transportation
          2             370.    The implementation of the Executive Order and ARRP to cut many positions at the

          3     Department of Transportation will have a negative impact on federal employees who are terminated,

          4     those that remain, and their labor representatives including SEIU, AFSCME, and AFGE.

          5             371.    Planned reductions will harm plaintiff AFSCME, whose members work as, among

          6     other positions, highway maintenance workers that would be impacted if reduced DOT staff are

          7     unable to timely process grant applications. Plaintiff AFSCME also employs members that work at

          8     transit agencies, which rely on the federal government to cover large portions of operations and

          9     maintenance costs. Any disruption in federal grants, caused by staffing levels at DOT, would risk

         10     AFSCME members’ livelihoods.

         11             372.    Planned reductions will also cause immediate harm to city and county plaintiffs.

         12     Reductions will imperil the approval of DOT grants, environmental reviews, and airport certifications

         13     for plaintiff King County. Plaintiff Baltimore will suffer from slower and lower quality responses to

         14     transportation disasters, including to its ports and bridges, and grant delays for infrastructure and

         15     traffic projects.

         16         •   Department of the Treasury
         17             373.    The implementation of the Executive Order and ARRP to impose the planned and

         18     ongoing 40 percent reduction to the IRS workforce will have a direct and severely detrimental impact

         19     on the federal employees who are terminated, those who remain, and their labor representatives.

         20             374.    The IRS plans to reduce its workforce from 102,000 employees to roughly 60,000 to

         21     70,000, with especially high staffing cuts in taxpayer services and compliance, and to close more than

         22     110 offices with taxpayer assistance centers. These staffing cuts will reduce the IRS’s ability to

         23     accomplish its core functions and will directly and severely harm Plaintiff the Center for Taxpayer

         24     Rights, the members of its LITC Connect program, the clients of its own Low Income Tax Clinic, and

         25     taxpayers across the country. The planned IRS staffing shortfalls will cause simple, quick cases to

         26     snowball into labor-intensive, years-long matters for the Center’s advocates, requiring more technical
         27     assistance from the Center and leaving low-incoming taxpayers unassisted. The Center’s members

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          1     will be required to expend more resources per case and be less able to accomplish their missions.

          2     Clients will suffer financially through delayed or denied tax refunds, the inability to reach the IRS to

          3     stop automatic assessments, and—for some prospective clients— the inability to be served by

          4     overwhelmed LITCs that are forced to impose client caps.

          5             375.   These actions will also have a direct and severely detrimental impact on local

          6     governments that interact directly with this agency and rely on its services every day, specifically

          7     including but not limited to Plaintiff Santa Clara. Federal law entitles local governments to

          8     reimbursement from the IRS for certain interest payments they make on “Qualified Energy

          9     Conservation Bonds.” For example, Plaintiff Santa Clara issued such bonds to provide low-interest

         10     financing to promote alternative energy usage, and is therefore entitled to monthly reimbursement

         11     payments from the IRS. Because these reimbursements depend on staff for processing,

         12     reorganization will likely cause slowdowns in the issuance of these reimbursement payments.

         13             376.   The Department of Treasury is also responsible for processing federal payments and

         14     disbursing them to state and local governments, including money for block grants, formula grants,

         15     and direct payments for specified use by those state and local governments. The predicted across the

         16     board staffing cuts at the Department pose a significant threat to a functional Treasury. With a lower-

         17     staffed Treasury Department, these payments could be delayed or stop altogether, severely harming

         18     members of AFSCME and SEIU who work in state and local government, and jeopardizing their

         19     jobs.

         20        •    Department of Veterans Affairs
         21             377.   The implementation of the Executive Order and ARRP to imminently roll out the

         22     elimination of approximately 80,000 positions at the VA will directly and significantly harm the

         23     federal employees who are terminated, those who remain, and their labor representatives including

         24     Plaintiffs AFGE, AFSCME, and SEIU.

         25             378.   This massive reorganization will also harm Plaintiffs AFSCME, SEIU, and SEIU

         26     Local 1000 and their non-federal employee members, who are employed by facilities that provide
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          1     care to veterans and are operated by state government but depend on the VA to timely process

          2     government funding.

          3            379.    These actions will also cause immediate and irreparable injuries to veterans who rely

          4     on VA services including members of Plaintiffs Common Defense and VoteVets, and to the

          5     organizational mission of those organizations. For example, cuts to support medical and healthcare

          6     support staff, IT support, and clerical and data entry positions make it significantly more difficult for

          7     VA health care providers to do their jobs and for veterans to make medical appointments and be

          8     connected with services. The RIFs will exacerbate staffing shortages that already exist at many VA

          9     facilities and make it harder for veterans to access health care, including mental health care, and other

         10     veterans’ services including crisis support. Cuts to research staff will also disrupt important work that

         11     benefits veterans and the public generally. The reductions will stress understaffed veterans’ hospitals

         12     and other services to the breaking point. These same issues will also affect Plaintiff AFGE’s

         13     significant number of members who are veterans.

         14            380.    In addition, the implementation of the Executive Order and VA ARRP will have

         15     substantial and deleterious effects on the veterans living in Plaintiff cities and counties and will also

         16     impose costs and burdens on the local governments themselves, specifically including but not limited

         17     to the County of Santa Clara.

         18            381.    For example, the delays, closures, and loss of staff at the VA—both at VA hospitals

         19     and in offices that perform centralized functions like call centers and benefits processing—will also

         20     prevent or hinder Plaintiff Santa Clara’s Office of Veterans Services from doing its primary, core

         21     function of connecting veterans to the healthcare and benefits-processing staff at the VA. Reduction

         22     in force at the VA will also impose additional burdens on hospitals, like those operated by Plaintiff

         23     Santa Clara, that operate emergency departments because delays and/or elimination of care options

         24     for veterans will make them more reliant on services provided by Plaintiff Satna Clara and other local

         25     governments such as housing support and behavioral and medical health care. And reduced VA staff

         26     will impact Plaintiff King County’s ability to serve veterans experiencing homelessness or housing
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          1     instability, weakening a nationally recognized, award-winning program that had been advancing

          2     veteran support services.

          3                                             CLAIMS FOR RELIEF

          4                                                     Claim I:
                                                    Separation of Powers/Ultra Vires
          5                                   Against Defendant President Donald J. Trump

          6             382.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
          7             383.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official
          8     action that is ultra vires.
          9             384.    The Constitution vests the legislative power in Congress. U.S. Const., art. I.; I.N.S. v.
         10     Chadha, 462 U.S. 919, 951 (1983). Congress exercised that Article I legislative authority to create
         11     the agencies of the federal government. Congress has not delegated to the President the authority to
         12     employ and discharge the subordinate employees of the agencies or to spend appropriated funds on
         13     those positions; rather, it delegated those functions exclusively to the heads of federal agencies.
         14             385.    From time to time in this nation’s history, Congress has delegated to the President the
         15     authority to fast-track legislation proposing the reorganization of federal agencies. But Congress has
         16     given President Trump no such authority. While Congress has also delegated certain authorities to
         17     President Trump to enact regulations with respect to the management and conduct of the federal civil
         18     service, none of those delegations authorize the sweeping authority President Trump has claimed for
         19     himself to order agencies to engage in large-scale RIFs, eliminate programs and offices at his
         20     direction, reduce staffing to 2019 or government shutdown levels, and otherwise reorganize the
         21     federal government.
         22             386.    The Constitution vests executive power in the President, U.S. Const., art. II, and
         23     imposes on the President a duty to “take Care that the Laws be faithfully executed,” U.S. Const. art.
         24     II, § 3. The President cannot usurp Congress’s legislative authority on his own mandate; any
         25     legislative authority wielded by the President must have been delegated within the confines of the
         26     Constitutional limitations protecting the respective spheres. The President has no constitutional
         27     power to enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S.
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          1     417, 438–39 (1998). The President lacks the constitutional or statutory authority to order large-scale

          2     terminations of federal employees, to require agencies to eliminate offices and functions, to require

          3     agencies to consider their own elimination, to move agency functions as between agencies, or

          4     otherwise to engage in large-scale government reorganization. The President likewise has no

          5     constitutional or statutory authority to impose parameters and requirements for such RIFs and

          6     reorganizations that require agencies to defy and ignore their authorizing statutes.

          7            387.    Executive Order 14210 exceeds the President’s lawful authority, at a minimum, by

          8     ordering agencies, including but not limited to Federal Agency Defendants, to:

          9            a.      Implement large-scale RIFs (irrespective of whether staffing reductions are necessary

         10            or even appropriate in light of agency functions, needs, and appropriations);

         11            b.      Prioritize in RIFs any functions that “my Administration suspends or closes”

         12            (irrespective of statutory requirements or authority delegated to the agencies);

         13            c.      Prioritize in RIFs 2019 and/or government emergency shutdown levels of staffing

         14            (aka, Funding Lapse Plan Staffing Levels, which have nothing to do with the staffing needed

         15            to properly run fully appropriated agencies);

         16            d.      Consider their own abolition in whole or part, by addressing whether the agency or

         17            any subparts should be eliminated by the President (again, regardless of statutory

         18            requirements or authority delegated to the agencies); and

         19            e.      Reorganize themselves by picking up and arranging the pieces that are left, following

         20            these large-scale reductions.

         21            388.    Therefore, the President’s Executive Order 14210 ordering agencies to engage in

         22     large-scale RIFs and reorganization plans, and impose hiring freezes, limits, and controls, is not

         23     authorized by Article II and usurps Congress’s Article I authority, and is thus ultra vires.

         24                                                Claim II:
                                                Separation of Powers/Ultra Vires
         25                            Against Defendants OMB, OPM, DOGE and their Directors
         26            389.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
         27

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          1             390.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

          2     action that is ultra vires.

          3             391.    Congress exercised its Article I legislative authority to create the agencies of the

          4     federal government. See generally United States Code, Title 5 (Government Organization and

          5     Employees). To the agency heads, Congress has also expressly delegated the power to manage the

          6     functions of the agencies, including the right to employ and discharge subordinate employees of the

          7     agencies and to spend appropriated funds on those positions.

          8             392.    In addition to agency-specific authorizing statutes, Congress has also generally

          9     authorized the heads of administrative agencies to make employment decisions (5 U.S.C. § 3101),

         10     manage the employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the

         11     management decisions, including the hiring and firing of employees (5 U.S.C. § 302).

         12             393.    Neither OMB, OPM nor DOGE have the statutory authority to supplant the decision-

         13     making authority of the federal agencies with respect to federal agency employment or organization;

         14     to require agencies to take general or specific action with respect to employment or organization; or

         15     to impose substantive requirements that effectively demand agencies to disregard statutory and

         16     regulatory requirements.

         17             394.    The February 26, 2025 Memorandum from OMB and OPM to agency heads exceeds

         18     statutory authority and usurps the authority delegated by Congress to the agencies, not to OMB or

         19     OPM, by, at a minimum, requiring agencies, including but not limited to Federal Agency Defendants,

         20     to:

         21             a.      Submit ARRPs for OMB and OPM approval;

         22             b.      Include in those ARRPs large-scale RIFS (irrespective of whether staffing reductions

         23             are necessary or even appropriate in light of agency functions and appropriations);

         24             c.       Prioritize in those large-scale RIFs any functions that “[the President’s]

         25             Administration suspends or closes” (irrespective of statutory requirements or authority

         26             delegated to the agencies);
         27

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          1            d.      Prioritize in those large-scale RIFs 2019 government emergency shutdown levels of

          2            staffing (which have nothing to do with the staffing needed to properly run fully appropriated

          3            agencies);

          4            e.      Include in their ARRPs consideration of their own abolition in whole or part, by

          5            addressing whether the agency or any subparts should be eliminated by the President (again,

          6            regardless of statutory requirements or authority delegated to the agencies);

          7            f.      Include in their ARRPs a plan to reorganize themselves by picking up and arranging

          8            the pieces that are left, following these large-scale reductions; and

          9            g.      Submit these plans for approval on timeframes that do not permit agencies to actually

         10            consider and assess their own needs or the staffing needed to meet their statutory

         11            responsibilities.

         12            395.    DOGE has no statutory authority. DOGE exceeds any authority it may have to

         13     implement the President’s orders by usurping the authority delegated by Congress to the agencies, not

         14     to the President or DOGE. DOGE has no authority at all to dictate to the agencies created and

         15     governed by Congress any level of staffing cut or spending reduction. DOGE therefore exceeds any

         16     authority by ordering agencies, including but not limited to Federal Agency Defendants, to impose

         17     cuts to functions and staffing according to “targets” and “goals” imposed by DOGE.

         18            396.    Therefore, the actions and orders of OMB, OPM, and DOGE to implement the

         19     President’s February 11, 2025 Executive Order, including but not limited to the February 26, 2025

         20     Memorandum to all agencies, as well as any direction, approval, or requirement imposed with respect

         21     to any ARRPs that result from that Executive Order, exceed OMB, OPM, and DOGE’s authority and

         22     are contrary to statute and thus ultra vires.

         23                                               Claim III:
                                   Administrative Procedure Act, 5 U.S.C § 706(2)(A) and (C)
         24                        Against Defendants OMB, OPM, DOGE and their Directors
                            (Action Not in Accordance With Law and Exceeding Statutory Authority)
         25

         26            397.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

         27            398.    The Plaintiff unions’ federal employee members are subject to the requirements of

         28     OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons
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          1     who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the

          2     actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal

          3     Directors, for purposes of 5 U.S.C. § 702.

          4            399.    Congress exercised its Article I legislative authority to create the agencies of the

          5     federal government. See generally United States Code, Title 5 (Government Organization and

          6     Employees). To the agency heads, Congress has also expressly delegated the power to manage the

          7     functions of the agencies, including the right to employ and discharge subordinate employees of the

          8     agencies and to spend appropriated funds on those positions.

          9            400.    In addition to specific authorizing statutes, Congress has also generally authorized the

         10     heads of administrative agencies to make employment decisions (5 U.S.C. § 3101), manage the

         11     employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the management

         12     decisions, including the hiring and firing of employees (5 U.S.C. § 302).

         13            401.    Neither OMB, OPM nor DOGE have the statutory authority to supplant the decision-

         14     making authority of the federal agencies with respect to federal agency employment.

         15            402.    The February 26, 2025 Memorandum from OMB and OPM to agency heads exceeds

         16     statutory authority and usurps the authority delegated by Congress to the agencies (including but not

         17     limited to Federal Agency Defendants), and not to OMB or OPM, by: requiring agencies to submit

         18     Agency RIF and Reorganization Plans to OMB and OPM for approval; requiring agencies to include

         19     in those plans large-scale RIFs; and imposing an assortment of other parameters and requirements,

         20     including considering Funding Lapse Plan Staffing Levels as a baseline.

         21            403.    DOGE has no statutory authority. DOGE exceeds any authority it may have to

         22     implement the President’s orders by usurping the authority delegated by Congress to the agencies

         23     (including but not limited to Federal Agency Defendants), not to the President or DOGE. DOGE has

         24     no authority at all to dictate to the agencies created and governed by Congress any level of staffing

         25     cut or spending reduction.

         26            404.    Therefore, the actions and orders of OMB, OPM, and DOGE to implement the
         27     President’s February 11, 2025 Executive Order, including but not limited to the February 26, 2025

         28
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          1     Memorandum to all agencies, and any direction, approval, or requirement imposed with respect to

          2     any ARRPs that result from that Executive Order, exceed authority and are contrary to statute.

          3            405.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.

          4     5 U.S.C. § 701. OMB and OPM’s issuance and implementation of the February 26, 2025

          5     Memorandum, any decision “approving” an ARRP, and DOGE’s directives ordering agencies to

          6     make staffing and spending cuts are all final agency action under the APA. 5 U.S.C. § 704.

          7            406.    Under the APA, a court shall “hold unlawful and set aside agency action” that is “not

          8     in accordance with law” (5 U.S.C. § 706(2)(A)), or that is “in excess of statutory jurisdiction,

          9     authority, or limitations, or short of statutory right” (5 U.S.C. § 706(2)(C)).

         10            407.    The actions of OMB, OPM, and DOGE therefore violate the Administrative Procedure

         11     Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A) and exceed statutory

         12     authority in violation of 5 U.S.C. § 706(2)(C), and for those reasons are also arbitrary and capricious

         13     in violation of 5 U.S.C. § 706(2)(A).

         14                                               Claim IV:
                                       Administrative Procedure Act, 5 U.S.C § 706(2)(A)
         15                        Against Defendants OMB, OPM, DOGE and their Directors
                                           (Arbitrary and Capricious Agency Action)
         16
                       408.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
         17
                       409.    The Plaintiff unions’ federal employee members are subject to the requirements of
         18
                OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons
         19
                who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the
         20
                actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal
         21
                Directors, for purposes of 5 U.S.C. § 702.
         22
                       410.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.
         23
                5 U.S.C. § 701. OMB and OPM’s issuance and implementation of the February 26, 2025
         24
                Memorandum, any decision “approving” an ARRP, and DOGE’s directives ordering agencies to
         25
                make staffing and spending cuts are all final agency action under the APA. 5 U.S.C. § 704.
         26
                       411.    The actions of OMB and its Director, OPM and its Acting Director, and DOGE and its
         27
                actual and nominal Directors, violate the APA because they are arbitrary and capricious, in violation
         28
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          1     of 5 U.S.C. § 706(2)(A), including because they: 1) order federal agencies to cede decision-making

          2     authority to OMB OPM, and/or DOGE, regardless of the requirements of any applicable statute or

          3     regulation; 2) require agencies to disregard their authorizing statutes and regulations and follow the

          4     President’s unconstitutional directions and directions of OMB,OPM, and/or DOGE; 3) categorically

          5     impose requirements to engage in large-scale RIFs that are necessarily contrary to agency function

          6     and authorizing statutes and regulations; 4) categorically impose requirements to RIF employees at

          7     the President’s direction, according to the offices, programs and functions the President and his

          8     Administration eliminate regardless of statute or regulation; 5) categorically require agencies to

          9     engage in RIFs that will align the agency with Funding Lapse Plan Staffing Levels, which necessarily

         10     and by definition cannot adequately staff agencies; 6) require agencies to abandoned reasoned

         11     decision-making considering all relevant factors, in service of the President’s orders; 7) require

         12     agencies to act under unrealistic timeframes that necessarily will result in plans that are not supported

         13     by rational reasoning or the agency’s considered judgment; and 8) require the process for the creation

         14     and approval of plans to radically transform the entire federal government to proceed in secret.

         15                                                Claim V:
                                       Administrative Procedure Act, 5 U.S.C § 706(2)(D)
         16                        Against Defendants OMB, OPM, DOGE and their Directors
                                                    (Notice and Comment)
         17

         18            412.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

         19            413.    The Plaintiff unions’ federal employee members are subject to the requirements of

         20     OMB, OPM, and DOGE actions here at issue, and all Plaintiffs (and/or their members) are persons

         21     who have suffered legal wrong as a result of, and have been adversely affected or aggrieved by the

         22     actions of OMB and its Director, OPM and its Acting Director, and DOGE and its actual and nominal

         23     Directors, for purposes of 5 U.S.C. § 702.

         24            414.    OMB, OPM, and DOGE are all agencies that Congress has made subject to the APA.

         25     5 U.S.C. § 701.

         26            415.    Under the APA, a court shall “hold unlawful and set aside agency action …found to be

         27     …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

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          1            416.    OMB and OPM’s February 26, 2025 Memorandum, and any decision “approving” an

          2     ARRP, and DOGE’s directives ordering agencies to make staffing and spending cuts, are all “rules”

          3     for purposes of the APA. 5 U.S.C. § 551(4).

          4            417.    Neither OMB, nor OPM, nor DOGE, has published and provided opportunity for

          5     notice and comment on its actions pursuant to Executive Order 14210, including but not limited to

          6     the February 26, 2025 Memorandum, any decision “approving” an ARRP, or DOGE’s directives

          7     ordering agencies to make staffing or spending cuts.

          8            418.    Neither OMB nor its Director, OPM nor its Acting Director, nor DOGE and its actual

          9     and nominal Directors complied with the rule-making provisions set forth in 5 U.S.C. § 553 before

         10     issuing OMB and OPM’s February 26, 2025 Memorandum. That memorandum, as well as any

         11     decision “approving” an ARRP and DOGE’s directives ordering agencies to make staffing or

         12     spending cuts, are all “rules” for purposes of the APA. 5 U.S.C. § 551(4).

         13            419.    OMB, OPM, and DOGE’s actions therefore also violate 5 U.S.C. § 706(2)(D) by

         14     failing to observe procedures required by law.

         15                                               Claim VI:
                                   Administrative Procedure Act, 5 U.S.C § 706(2)(A) and (C)
         16                                  Against Federal Agency Defendants
                                            (Action Not in Accordance With Law)
         17

         18            420.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

         19            421.    The Plaintiff unions’ federal employee members are subject to the requirements of

         20     Federal Agency Defendants’ actions here at issue, and all Plaintiffs (and/or their members) are

         21     persons who have suffered legal wrong as a result of, and have been adversely affected or aggrieved

         22     by the actions of the Federal Agency Defendants, for purposes of 5 U.S.C. § 702.

         23            422.    Each Federal Agency Defendant is an agency that Congress has made subject to the

         24     APA. 5 U.S.C. § 701. The implementation of ARRPs by RIFing federal employees, closing offices,

         25     functions, and programs, and otherwise reorganizing agency functions are all final agency action

         26     under the APA. 5 U.S.C. § 704.

         27

         28
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          1             423.    On information and belief, each of the Federal Agency Defendants has created and

          2     submitted for OMB and OPM approval an ARRP, according to the parameters imposed by OMB,

          3     OPM and DOGE.

          4             424.    None of the Federal Agency Defendants have the statutory authority to cede their

          5     decision-making authority with respect to the employees of that agency to the President, OMB, OPM,

          6     or DOGE. None of the Federal Agency Defendants have the statutory authority to implement the

          7     President’s unconstitutional direction to engage in large-scale RIFs, including with respect to

          8     functions, programs, or offices that the President and those acting on his authority have decided to

          9     cut; or to impose staffing cuts that take an agency, irrespective of duty or need, back to government-

         10     shutdown lapse levels. The Federal Agency Defendants have exceeded their authority by

         11     implementing the President’s unconstitutional plans.

         12             425.    Under the APA, a court shall “hold unlawful and set aside agency action” that is

         13     “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” (5 U.S.C.

         14     § 706(2)(A)), or that is “in excess of statutory jurisdiction, authority, or limitations, or short of

         15     statutory right” (5 U.S.C. § 706(2)(C)).

         16             426.    The actions of Federal Agency Defendants therefore violate the Administrative

         17     Procedure Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A) and exceed

         18     statutory authority in violation of 5 U.S.C. § 706(2)(C), and are for those reasons also arbitrary and

         19     capricious in violation of 5 U.S.C. § 706(2)(A).

         20                                                 Claim VII:
                                         Administrative Procedure Act, 5 U.S.C § 706(2)(A)
         21                                    Against Federal Agency Defendants
                                            (Arbitrary and Capricious Agency Action)
         22
                        427.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
         23
                        428.    The Plaintiff unions’ federal employee members are subject to the requirements of
         24
                Federal Agency Defendants’ actions here at issue, and all Plaintiffs (and/or their members) are
         25
                persons who have suffered legal wrong as a result of, and have been adversely affected or aggrieved
         26
                by the actions of the Federal Agency Defendants for purposes of 5 U.S.C. § 702.
         27

         28
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          1            429.     Congress made each Federal Agency Defendant subject to the APA. 5 U.S.C. § 701.

          2     The implementation of ARRPs by RIFing federal employees, closing offices, functions, and

          3     programs, and otherwise reorganizing agency functions are all final agency action under the APA. 5

          4     U.S.C. § 704.

          5            430.     Each of the Federal Agency Defendants has created and submitted for OMB and OPM

          6     approval an ARRP, according to the parameters imposed by OMB, OPM and DOGE.

          7            431.     The actions of the Federal Agency Defendants, including but not limited to

          8     implementing the President’s unconstitutional orders to reorganize and RIF employees, pursuant to

          9     the terms dictated by the President, violate the APA because they are arbitrary and capricious, in

         10     violation of 5 U.S.C. § 706(2)(A), for reasons that include the following: they 1) cede decision-

         11     making authority to OMB and OPM, regardless of the requirements of any applicable statute; 2)

         12     disregard their authorizing statutes and follow the President’s unconstitutional directions and

         13     directions of OMB and OPM; 3) engage in large-scale RIFs that are necessarily contrary to agency’s

         14     ability to maintain required function and authorizing statute; 4) RIF employees at the President’s

         15     direction, according to the offices, programs and functions the President and his Administration

         16     eliminate regardless of statute; 5) RIF according to Funding Lapse Plan Staffing Levels, which

         17     necessarily and by definition cannot staff agencies at the level necessary to adequately perform; 6)

         18     abandon reasoned decision-making considering all relevant factors, in service of the President’s

         19     orders; 7) act under unrealistic timeframes that necessarily will result in plans that are not supported

         20     by rational reasoning or agencies’ considered judgment; and 8) conduct the process for the creation

         21     and approval of plans to radically transform the entire federal government in secret.

         22                                            PRAYER FOR RELIEF

         23     Wherefore, Plaintiffs pray that this Court:

         24            1. Declare that President Donald J. Trump has violated the United States Constitution by

         25                engaging in wholesale transformation of the federal government without any

         26                Congressional authorization by and through the Workforce Executive Order;
         27

         28
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          1           2. Declare that OMB, OPM, and DOGE have exceeded statutory authority and acted in an

          2              arbitrary and capricious manner and therefore acted unlawfully by ordering federal

          3              agencies to act in accordance with the President’s unconstitutional mandate by and

          4              through the Workforce Executive Order and the February 26, 2025 OMB/OPM

          5              Memorandum;

          6           3. Declare that Federal Agency Defendants have acted contrary to statutory authority and in

          7              an arbitrary and capricious manner and therefore acted unlawfully by implementing the

          8              President’s unconstitutional Workforce Executive Order and the February 26, 2025

          9              OMB/OPM Memorandum to reorganize the federal government and RIF large numbers of

         10              federal employees, without Congressional authorization;

         11           4. Vacate the February 11, 2025 Workforce Executive Order, the February 26, 2025 OMB

         12              and OPM Memorandum implementing that order; any and all approvals or exemptions

         13              awarded by OMB, OPM, or DOGE; any and all orders by OMB, OPM, or DOGE with

         14              respect to federal agency ARRPs; and the ARRPs; and issue all necessary and appropriate

         15              process to preserve status or rights pending conclusion of the review proceedings under 5

         16              U.S.C. § 705;

         17           5. Temporarily restrain and enjoin the Defendants from implementing or enforcing the

         18              February 11, 2025 Workforce Executive Order; the February 26, 2025 OMB and OPM

         19              Memorandum implementing that order; any and all approvals or exemptions awarded by

         20              OMB, OPM, or DOGE; any and all orders by OMB, OPM, or DOGE with respect to

         21              federal agency ARRPs; and the ARRPs, pending further orders from this Court;

         22           6. Pursuant to 5 U.S.C. § 706, vacate, hold unlawful and set aside the February 11, 2025

         23              Workforce Executive Order; the February 26, 2025 OMB and OPM Memorandum

         24              implementing that order; any and all approvals or exemptions awarded by OMB, OPM, or

         25              DOGE; any and all orders by OMB, OPM, or DOGE with respect to federal agency

         26              ARRPS; and the ARRPs;
         27           7. Enter preliminary and/ permanent injunctive relief;

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          1           8. Award Plaintiffs their costs, reasonable attorneys’ fees, and other disbursements as

          2              appropriate; and

          3           9. Grant such other relief as this Court may deem proper.

          4
                DATED: May 14, 2025                        Stacey M. Leyton
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         27                                                Harris County, TX; and City of Baltimore, MD
         28
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         28
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                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                  115

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                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                    117

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                AMENDED COMPLAINT, No. 3:25-cv-03698-SI                                                118

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                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                   SAN FRANCISCO DIVISION
          20
                 AMERICAN FEDERATION OF                                Case No. 3:25-cv-03698-SI
          21
                 GOVERNMENT EMPLOYEES, AFL-CIO, et
          22     al.,                                                  PLAINTIFFS’ MOTION FOR
                                                                       PRELIMINARY INJUNCTION
          23              Plaintiffs,

          24         v.

          25     DONALD J. TRUMP, in his official capacity
                 as President of the United States, et al.,
          26
          27              Defendants.

          28

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           1                               MOTION FOR PRELIMINARY INJUCTION

           2           TO ALL DEFENDANTS: PLEASE TAKE NOTICE that on May 22, 2025, at 10:30 a.m. in

           3    Courtroom 1, 17th Floor, United States District Court, Northern District of California, located at 450

           4    Golden Gate Avenue, San Francisco, CA, all Plaintiffs will move the Court pursuant to Rule 65 of the

           5    Federal Rules of Civil Procedure and Rule 65-1 of the Civil Local Rules and this Court’s authority to

           6    “issue all necessary and appropriate process to postpone the effective date of an agency action or to

           7    preserve status or rights,” 5 U.S.C. §705, for a preliminary injunction as follows:

           8           1.      Enjoin and/or stay Defendants Office of Management and Budget (“OMB”), Office of

           9    Personnel Management (“OPM”), Department of Government Efficiency (“DOGE”), AmeriCorps,

          10    Department of Agriculture, Department of Commerce, Department of Energy, Environmental

          11    Protection Agency, General Services Agency, Department of Health and Human Services,

          12    Department of Housing and Urban Development, Department of Interior, Department of Labor,

          13    National Labor Relations Board, National Science Foundation, Peace Corps, Small Business

          14    Association, Social Security Administration, Department of State, Department of Transportation,

          15    Department of Treasury, and Department of Veteran Affairs and their agency heads named in their

          16    official capacities as Defendants in this lawsuit, their officers, agents, servants, employees, and

          17    attorneys, and all persons acting by, through, under, or in concert with these Defendants, from taking

          18    any action to implement or enforce Sections 3(c) and (e) of Executive Order 14210, 90 Fed. Reg.

          19    9669 (Feb. 11, 2025) or the OMB/OPM Memorandum re: Guidance on Agency RIF and

          20    Reorganization Plans Requested by Implementing The Presidents “Department of Government

          21    Efficiency” Workforce Optimization Initiative (Feb. 26, 2025), including but not limited to:

          22           (a) any further OMB or OPM action to implement Sections 3(c) and (e) of Executive Order

          23    14210 or the February 26, 2025 OMB/OPM Memorandum, including but not limited to approval or

          24    disapproval of any federal agency Agency RIF and Reorganization Plans (“ARRPs”), whether

          25    express or implied, formal or informal;

          26           (b) any further orders, directives, or commands by DOGE to any federal agency to eliminate
          27    programs, functions, or staff in conjunction with implementing Executive Order 14210, the

          28    OMB/OPM Memorandum, or ARRPs, whether express or implied, formal or informal;

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           1           (c) any further implementation of Executive Order 14120, the OMB/OPM Memorandum, or

           2    ARRPs by Federal Agency Defendants, including but not limited to any of the following actions to

           3    the extent taken to implement Executive Order 14210and/or the OMB/OPM Memorandum:

           4           i.      the elimination or consolidation of programs or functions;

           5           ii.     transfer of functions or programs between any Federal Agency Defendants or to/from

           6           any other federal agency;

           7           iii.    execution of any existing reduction in force (“RIF”) notices including final separation

           8           of employees,

           9           iv.     issuance of any further RIF notices, and

          10           v.      placement of employees on administrative leave.

          11           2.       Further enjoin and/or stay Defendant DOGE by ordering DOGE to rescind and/or

          12    take no further action to enforce any prior orders, directives, or commands to Federal Agency

          13    Defendants regarding any aspect of ARRPs, including but not limited to RIFs or amounts of staff to

          14    cut (whether communicated by way of target numbers of employees, positions, or amounts of

          15    spending) or programs, functions, and offices to cut;

          16           3.      Further enjoin and/or stay Federal Agency Defendants to rescind and/or take no

          17    further action to enforce any prior action taken to implement Executive Order 14210 and/or the

          18    OMB/OPM Memorandum and/or the ARRPs, including but not limited to rescinding any RIFs issued

          19    to effectuate Executive Order 14210; restoring offices, programs, and functions previously eliminated

          20    to effectuate Executive Order 14210; and transferring any federal employees previously moved into

          21    administrative leave status to effectuate Executive Order 14210 back to the status they held prior to

          22    implementation of the Executive Order;

          23           4.      Further order that by no later than ________, 2025, Defendants shall provide to

          24    Plaintiffs and the Court a proposed compliance plan that, at a minimum, identifies and describes all

          25    actions previously taken to implement the EO at each covered agency and details the specific

          26    proposed steps for implementation of this Court’s orders. Plaintiffs shall review and respond with
          27    any objections or concerns. By no later than ________________, 2025, the parties shall jointly

          28    submit an agreed upon plan for implementation of these orders, or, if agreement cannot be reached in

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           1    whole or part, Defendants shall submit their proposal as previously provided to Plaintiffs, and

           2    Plaintiffs shall submit their objections thereto.

           3            The Motion is made on the grounds that (1) Plaintiffs are likely to prevail on their claims that

           4    President Trump’s Workforce Executive Order No. 14210 is ultra vires and unconstitutional; that the

           5    actions of OMB, OPM, and DOGE to implement the Executive Order are ultra vires and violate the

           6    Administrative Procedure Act (“APA”), 5 U.S.C. §706(2)(A), (C), and that OMB and OPM failed to

           7    engage in notice-and-comment rulemaking as required under 5 U.S.C. §706(2)(D); and that the

           8    actions of the other Federal Agency Defendants named above to implement the Executive Order, the

           9    OMB/OPM Memorandum, and the ARRPs violate the Administrative Procedure Act, id. §706(2)(A),

          10    (C); (2) that Plaintiffs will suffer irreparable injury unless the relief requested is granted; and (3) that

          11    the balance of equities and public interest favor injunctive relief.

          12            This Motion is supported by the accompanying Plaintiffs’ Memorandum in Support of Motion

          13    for Preliminary Injunction; the Declarations listed in the accompanying Index of Evidence in Support

          14    of Preliminary Injunction (including but not limited to the Supplemental Declaration of Jesus Soriano

          15    (ECF 96-1)); Plaintiffs’ Memorandum in Support of Motion for Temporary Restraining Order and

          16    Appendices, Reply Memorandum, Evidence, and Reply Evidence filed in support thereof; this

          17    Court’s May 9, 2025 Order Granting Temporary Restraining Order and Compelling Certain

          18    Discovery Production; the Complaint; the Amended Complaint; and the entire record in this case.

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                Plfs Motion for Preliminary Injunction, Case No. 3:25-cv-03698-SI                                       3
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          17
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          18
                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
          19
                                                  SAN FRANCISCO DIVISION
          20

          21     AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
                 GOVERNMENT EMPLOYEES, AFL-CIO,
          22     et al.,                                             PLAINTIFFS’ MEMORANDUM IN
                                                                     SUPPORT OF MOTION FOR
          23
                          Plaintiffs,                                PRELIMINARY INJUNCTION
          24
                     v.
          25
                 DONALD J. TRUMP, in his official capacity
          26     as President of the United States, et al.,
          27              Defendants.
          28


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           1                                              INTRODUCTION

           2           As this Court found in its May 9, 2025 Order granting Plaintiffs’ Motion for TRO, “[t]he new

           3    presidential administration has made clear that it intends to change the way the federal government

           4    operates.” ECF 85 at 1.1 It is axiomatic that the President’s authority to act “must stem either from

           5    an act of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343

           6    U.S. 579, 585 (1952). Despite this bedrock constitutional law, President Donald Trump is

           7    implementing a plan to restructure the entire federal government through unconstitutional actions, for

           8    which he plainly does not have any authority. To effectuate this plan, the President issued his

           9    Workforce Executive Order, requiring all federal agencies to commence this “transformation” by

          10    engaging in large-scale RIFS and reorganizations, on the President’s terms. Exec. Order No. 14210,

          11    90 Fed. Reg. 9669 (Feb. 11, 2025) (Implementing the President’s “Department of Government

          12    Efficiency” Workforce Optimization Initiative, hereinafter “Workforce Executive Order” or “EO”)

          13    (attached as App. A). Notwithstanding Defendants’ attempts to mischaracterize the President’s Order

          14    and agency implementation as a mere planning process for agency decision-making, the EO contains

          15    directives that all federal agencies “shall” implement, and federal agencies acting on these orders are

          16    proceeding to dismantle the government now. The President and the implementing agencies should

          17    not be permitted to dismantle the federal government in violation of the Constitution and federal law,

          18    and then claim at the conclusion of this case that it is too late to put the government back together.2

          19           Based on briefing and argument on the Plaintiffs’ Motion for Temporary Restraining Order

          20    (“TRO”) (to which Defendants responded but did not submit any evidence), this Court concluded that

          21    Plaintiffs are likely to establish that Sections 3(c) and (e) of the Workforce Executive Order exceed

          22
                1
          23      The President has been quite clear about his plans, referring to this “large scale structural reform”
                the “Manhattan Project of our time.” ECF 37-1 at 1 (citation provided) (emphasis added); see also
          24    id. (“It is the policy of my Administration … to commence the deconstruction of the
                overbearing and burdensome administrative state.” (citing Exec. Order No. 14219, 90 Fed. Reg.
          25    10583 (Feb. 19, 2025); “It is the policy of my Administration to dramatically reduce the size of
                the Federal Government, while increasing its accountability to the American people.” Exec.
          26    Order No. 14217, 90 Fed. Reg. 10577 (Feb. 19, 2025); “I got elected on the basis of making our
                government stronger and smaller, because we have millions of people that — obviously, they’re
          27    paying millions of people that shouldn’t be paid.” Remarks by President after Executive Order
                Signing, The White House (Feb. 18, 2025)) (emphases added).
                2
          28      “All the King’s horses and all the King’s men — Couldn’t put Humpty Dumpty in his place again.”
                Lewis Caroll, Through the Looking-Glass and What Alice Found There.
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           1    the President’s lawful authority by directing the restructuring of entire agencies, elimination of

           2    agency programs and functions, and drastic reduction of the number of employees within every

           3    agency, all without any Congressional authorization, and therefore violate the fundamental separation

           4    of powers principles embodied in the U.S. Constitution. ECF 85 at 26-32. As this Court also held,

           5    Plaintiffs are also likely to prove that the President’s implementing agencies—the Office of

           6    Management and Budget (“OMB”), Office of Personnel Management (“OPM”), and Department of

           7    Government Efficiency (“DOGE”)—have exceeded their authority as well, and engaged in ultra vires

           8    actions in implementing this EO. Id. at 32-34; App. B (Memo). This Court further concluded that

           9    OMB and OPM’s February 26, 2025 Memorandum implementing the EO (“Memo”), and the

          10    approvals of the Agency RIF and Reorganization Plans (“ARRPs”) required by the EO and the

          11    Memo, violate the substantive and procedural provisions of the Administrative Procedure Act

          12    (“APA”), 5 U.S.C. §701 et seq. ECF 85 at 34-38. In that Order, this Court reserved judgment on the

          13    merits of two additional claims: whether DOGE violated the APA, and whether the Federal Agency

          14    Defendants violated the APA by acting arbitrarily and capriciously in implementing the EO through

          15    their ARRPs. Id. at 38. The Court issued a TRO halting further implementation of these unlawful

          16    government acts and orders, and set a schedule for Plaintiffs’ preliminary injunction motion.3

          17           Plaintiffs now hereby move for a preliminary injunction to restore the status quo pending the

          18    duration of this litigation. As this Court recognized in granting the TRO, restoring and maintaining

          19    the status quo is necessary to protect both this Court’s ability to grant effective relief and Congress’s

          20    role in establishing and regulating the federal administrative agencies, and thereby restore the proper

          21    separation of powers enshrined in the Constitution, and to prevent irreparable harm. ECF 85 at 2, 39-

          22    40. Because Plaintiffs have already extensively briefed and provided evidence regarding the issues

          23    raised by Defendants’ actions, and because this Court has written on many of the issues raised by this

          24    Motion, Plaintiffs incorporate by reference their prior briefing and evidence on the TRO Motion and

          25    Reply, as well as this Court’s decision granting that Motion. ECF 37, 70, and 85. This brief

          26
                3
                 The Government’s “compliance” declaration raises more questions than it answers. ECF 95, 95-1.
          27    Defendants did not, for example, provide this Court with the requested explanation “detailing what
                additional steps, if any, they have taken to comply.” ECF 85 at 40 (emphasis added). Defendants
          28    provided a declaration from counsel only, claiming privilege, not a factual explanation of the steps
                Defendants have actually taken to comply with this Court’s order.
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           1    supplements that existing record with the following points:

           2           1.      Plaintiffs update the record regarding agency actions, in particular actions that have

           3    taken place and information and documents obtained after the filing of Plaintiffs’ TRO briefing, and

           4    briefly summarize some of the evidence to date.

           5           2.      Plaintiffs have filed an amended complaint adding two Plaintiffs, SEIU Locals 521

           6    and 1021, and one Federal Agency Defendant, the Peace Corps, and therefore address the evidence

           7    pertaining to these parties.

           8           3.      Plaintiffs address the record evidence to respond to Defendants’ recent arguments that

           9    misconstrue the nature and relevance of the ARRPs to the EO, Memo, and Plaintiffs’ claims.

          10           4.      Plaintiffs further address the merits of their constitutional and APA claims in light of

          11    the current factual record.

          12           5.      Plaintiffs address the scope of relief requested by this Motion.

          13           Plaintiffs initially requested a TRO that temporarily paused further implementation of the EO

          14    and Memo to allow this Court to hear this full preliminary injunction request. Plaintiffs now ask the

          15    Court to issue a preliminary injunction that maintains the proper, pre-unlawful conduct, status quo.

          16    This relief is necessary to preserve this Court’s ability to rule, in the end, that the President’s actions

          17    and agency implementation thereof are ultra vires and unlawful pursuant to the APA, to issue the

          18    remedies the law provides for vacating such unlawful action, and to prevent the irreparable harm this

          19    unprecedented and improper assertion of power is wreaking nationwide. The scope and scale of the

          20    relief requested are a function of the President’s overreach and Defendants’ continuing actions to

          21    implement the unlawful EO, and do not exceed the proper authority of this Article III court.

          22                                                BACKGROUND

          23    I.     Additional Plaintiffs and Defendants

          24           Plaintiffs that previously moved for a TRO included six local government agencies, ten non-

          25    profits, and eight labor unions representing federal and non-federal employees impacted by the EO.

          26    Those Plaintiffs are now joined by SEIU Locals 521 and 1021, which represent workers who provide
          27    critical child care, health care, and other services affected by the challenged reorganization and RIFs;

          28    and Plaintiff Natural Resources Defense Council (“NRDC”) joins this Motion.

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          1            Plaintiffs’ amended complaint also adds the Peace Corps as a defendant. On May 9, 2025,

          2     public reports revealed that the Peace Corps is poised to implement the President’s EO by “reduc[ing]

          3     its global staff by 25 percent, potentially closing some of its 60 international posts,” and cutting its

          4     Washington, DC headquarters staffing even more drastically, terminating anywhere from 50 to 80%

          5     of existing staff. Black Decl. ¶¶12-14, Ex. A (AFSCME).

          6    II.      Restructuring and RIFs at Agencies Pursuant to the EO Are Causing Widespread
                        Irreparable Harm
          7
                       A.      Ongoing Restructuring and RIFs Pursuant to the EO
          8
                       As Plaintiffs have previously shown, federal agencies are currently implementing the ARRPs
          9
                that the President required them to create and the Memo required them to submit to OMB/OPM for
         10
                approval. The uncontroverted record evidence to date establishes that the agencies are, in fact,
         11
                following the President’s orders to reorganize the entire federal government, including by eliminating
         12
                offices and functions that the President and his agents direct; engaging in large-scale RIFs that greatly
         13
                reduce the size of federal agencies; and transferring functions across agencies. See ECF 37-1 at 12-
         14
                29; ECF 70 at 2-3; see also ECF 96-1 ¶15, Ex. 1 at 2, 5 (Soriano Supp. Decl.). The RIFs are plainly
         15
                the centerpiece of the reorganization plans, and indeed, OMB and OPM ordered federal agencies to
         16
                conduct RIFS first, and then arrange the pieces of what remains of these agencies. ECF 37-1, App.
         17
                A, B. The evidence submitted to date conclusively demonstrates:
         18
                       1.      Agencies confirm they are implementing the President’s orders. Federal Agency
         19
                Defendants have repeatedly stated that they are implementing the EO to conduct RIFs and other
         20
                actions in service of reorganizing the government. See, e.g., ECF 70-2 Exs. A, B, C (DOL:
         21
                communications and RIF notice stating that abolition of program office was based on Presidential
         22
                order, and RIF “due to the impact of the [EO]”); ECF 96-1 ¶15 (NSF: RIF of Division of Equity for
         23
                Excellence in STEM likely dictated by OPM, OMB, and DOGE); accord ECF 70-1 Ex. A (quoting
         24
                USDA Secretary Rollins); ECF 37-1 at 14 (AmeriCorps: nearly all staff RIF’d per EO); ECF 70-1 ¶6,
         25
                Ex. C (EPA: scientific research office cut per EO); ECF 37-14 at ¶¶9-12, Exs. A-D (GSA: RIFs and
         26
                offices cut “[i]n support of the [EO]”); ECF 37-1 at 4-5 (HHS: cuts “proceeding in accordance with
         27
                [EO]” including entire programs and offices); ECF 41-1 ¶15, Ex. C (HUD: large-scale RIFs in
         28
                “[c]ompliance with [EO]”); ECF 37-1 at 24 (NSF: cutting half of staff under “orders from the White
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          1     House”); id. at 24-25 (SBA: 43% reduction per EO); id. at 25-26 (SSA: plans per EO include

          2     “abolishment of organizations and positions” and RIFs); id. at 27 (State: consolidation, 15%

          3     reduction per EO); id. (Treasury: 40% IRS cut per EO); id. at 5, 28 (VA: cuts to 2019 levels per EO).

          4            OMB, OPM, and DOGE continue to implement the President’s mandates by directing

          5     agencies to cut offices and functions and RIF their staff. ECF 37-1 at 12 (NLRB, NSF); ECF 96-1

          6     ¶¶7-8, 15 (Soriano Supp. Decl.) (“the Division [of Equity for Excellence in STEM] was not originally

          7     included in the Phase 1 ARRP that NSF had submitted for OMB and OPM approval, and … OPM,

          8     OMB, and DOGE instructed NSF leadership to eliminate the Division after reviewing and rejecting

          9     the Phase 1 ARRP.”); ECF 37-12 (Daly) (OMB rejected AmeriCorps ARRP for not including RIF).

         10            Plaintiffs have submitted what appears to be the standardized format for Phase 2 ARRP

         11     documents required by OMB/OPM: the “Agency ARRP Phase 2 Cover Sheet,” recently disclosed to

         12     a union by a federal agency. In that Agency ARRP Phase 2 Cover Sheet, OMB/OPM instructs that

         13     “[e]ach Agency is directed to notate the figures defined in this sheet and reflect them with additional

         14     context in their Phase 2 plans” including, inter alia, “RIFs/Terminations” conducted through 4/15

         15     and between 4/15 and 9/30, with corresponding cost savings calculations. ECF 96-1, Ex. 1, Att. D

         16     (Soriano Supp. Decl.) (emphases added). That document, along with other record evidence, makes

         17     clear that RIFs are not the only actions being taken to implement the ARRPs. Rather, the ARRPs are

         18     being used to implement the EO and Memo through a range of actions to achieve the “Anticipated

         19     Reduction in FTEs.” Id. Thus, consistent with the original OMB/OPM Memo, agencies are also

         20     directed by OMB/OPM to detail the other actions required by these ARRPs (including but not limited

         21     to hiring freezes, Deferred Resignation Program and other voluntary retirement measures, and

         22     terminating other employees including probationary employees). Id.; see also ECF 37-1, App. B at 2

         23     (Available Tools: “In their ARRPs, agencies should employ all available tools to effectuate the

         24     President’s directive for a more effective and efficient government and describe how they will use

         25     each.”); ECF 37-28 ¶¶13-14 & Ex. C (SSA); ECF 37-17 ¶17 (FDA); ECF 37-24 ¶14 (DOL); Black

         26     Decl. ¶12 (Peace Corps). In disclosing that document, the agency explained to the union:
         27            In accordance with President Trump’s February 11, 2025 Executive Order titled
                       “Implementing The President’s ‘Department of Government Efficiency’ Workforce
         28            Optimization Initiative,” the Department of Government Efficiency (DOGE) instructed
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          1            [non-defendant agency] to reduce the agency’s workforce through a Reduction In Force
                       (RIF).
          2
                ECF 96-1, Ex. 1 at 5; see also id. at 6 (“[T]he AR[R]P Phase 1 was a pre-decisional document and
          3
                submitted to OPM for approval. After submission of that report, DOGE instructed NEH to conduct a
          4
                RIF on an expedited basis.”).4 The President’s agents rejected that agency’s (and those of others like
          5
                NSF) initial ARRPs and instructed them to cut substantially more staff. Id. ¶¶7-8, 15.
          6
                       2. Agencies are closing the offices and programs that the President eliminates. The EO
          7
                requires agencies to RIF the employees who work in “all agency initiatives, components, or
          8
                operations that my Administration suspends or closes” government-wide. App. A (§3(c)). As this
          9
                Court recognized in the TRO Order, that is exactly what agencies are doing. ECF 85 at 2-4.
         10
                       For example, the Department of Health and Human Services (“HHS”) has shut down
         11
                numerous statutorily mandated offices and programs. The Administration for Children and Families
         12
                terminated every employee administering a program to cover heating and cooling bills for millions of
         13
                low-income households and eliminated the division overseeing a case management system tracking
         14
                child abuse and neglect. ECF 37-36 ¶¶22-23 (APHA). The statutorily mandated National Institute
         15
                for Occupational Safety and Health (“NIOSH”), which is part of the Centers for Disease Control
         16
                (“CDC”) within HHS, plans to implement deep cuts that will decimate NIOSH. ECF 85 at 2-3 (citing
         17
                ECF 41-4 & Pub. L. 91-596 322, 84 Stat. 1590, 1612 (1970)); see also ECF 41-4 ¶21 (AFGE;
         18
                estimating that “93% of NIOSH employees … received RIF notices”); Mammel PI Decl. Ex. E.
         19
                NIOSH RIFs also initially closed a federal screening program for black lung disease. ECF 37-36 ¶25
         20

         21
                4
                  As Plaintiffs explained in opposing Defendants’ Motion for Protective Order, the ARRPs produced
         22     to Plaintiffs were provided by a non-defendant agency, but are illustrative and provide factual support
                for the directions being imposed government-wide. ECF 96 at 4 & n.2. It is noteworthy that with
         23     respect to that agency, the instructions from DOGE on timing and content of the cuts were mandatory
                and urgent: on April 14, 2025, the agency wrote: “The Department of Government Efficiency
         24     (DOGE) instructed NEH to start the workforce restructuring and Reduction in Force (RIF)
                processes last week… [describing RIFs]… Therefore, NEH is already in the process of
         25     completing its Phase 2 workforce restructuring process in compliance with the Executive Order
                and approved by DOGE.” ECF 96-1 (Supp. Soriano Decl.) Ex. A at internal Att. D (emphases
         26     added). This instruction from DOGE is consistent with the OMB/OPM memo instruction: “ARRPs
                should also list the competitive areas for large-scale reductions in force, the RIF effective dates
         27     (which may be a date prior to when the plan is submitted), the expected conclusion of the RIFs,
                the number of FTEs reduced, and additional impact of RIFs such as cancellation of related contracts,
         28     leases or overhead.” App. B at 3 (emphasis added). OMB/OPM/DOGE are plainly approving these
                cuts and demanding compliance, consistent with the plain language of the Memo.
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          1     (APHA). At the Department of Labor (“DOL”), all positions with the Office of Federal Contract

          2     Compliance Programs were given RIF notices because the office was being abolished. ECF 85 at 3

          3     (citing ECF 37-24). While Congress has directed that DOL “shall promptly investigate” complaints

          4     of discrimination against disabled workers and veterans by federal contractors, id. (citing 29 U.S.C.

          5     §793(b), 38 U.S.C. §4212), the elimination of this office has made compliance with that mandate

          6     impossible. See also ECF No. 37-24 ¶9, Ex. C (AFGE; DOL has directed that enforcement efforts

          7     cease). AmeriCorps has been similarly gutted, with over 80% of its staff placed on leave, leaving it

          8     “unable to complete the day-to-day work required to keep the Agency running.” ECF 37-12 ¶¶14,

          9     18, 20-22, 25-26, 36, Ex. A (AFSCME). And the entire Office of Research and Development (an

         10     arm of the Environmental Protection Agency (“EPA”), with 1155 chemists, biologists, toxicologists

         11     and other scientists) will be dismantled, with more than 1500 EPA scientists informed they can

         12     reapply for just 500 jobs elsewhere. ECF 37-19 ¶¶8, 17, Exs. A, E (AFGE); ECF 70-1 Ex. D.

         13            3. Functions are being transferred between agencies. Federal Defendant Agencies are also

         14     transferring functions and offices between agencies. See, e.g., ECF 37-26 ¶¶42-43 (SEIU; DOE

         15     student aid office planned to move to SBA); ECF 70-1 ¶¶3-4, Ex. A (USDA plans potentially include

         16     consolidating functions with up to seven other agencies across government, including housing and

         17     firefighting); ECF 37-1 at 13, 26-27 (USAID functions transferred to Department of State)

         18            4. Agencies are implementing the President’s “large-scale” RIFs. Plaintiffs identified at

         19     least seven agencies that had issued RIF notices as of the May 1 TRO Motion filing: AmeriCorps,

         20     EPA, GSA, HHS, HUD, Labor, and the SBA. ECF 37-1 at 12. Additional agencies had announced

         21     RIFs, ECF 70-1 Exs. L, H (DOT and Interior), or instituted RIFs, id. Ex. K (OPM), as of the May 8

         22     Reply. As of today, May 14, Plaintiffs have identified additional RIFs at the Department of State and

         23     National Science Foundation. Mammel PI Decl. Ex. A (State: employees “have begun to receive

         24     informal notifications [that] their roles will be cut”; RIF notices will go out June 2); ECF 96-1 ¶15

         25     (AFGE; NSF sent RIF notices to all employees working in Division of Equity for Excellence in

         26     STEM on May 9, 2025). There are also imminent RIFs at the Peace Corps, Black Decl. ¶13
         27     (AFSCME), and a RIF slated at the National Centers for Environmental Information in the National

         28     Oceanic and Atmospheric Administration (“NOAA”), Mammel PI Decl. Ex. B.

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          1            B.      Ongoing and Imminent Harms from the Reorganization and RIFs

          2            Plaintiffs’ TRO evidence demonstrated detailed harms at each enjoined Defendant Federal

          3     Agency. See ECF 37-1 at 14-29; ECF 70 at 12-13. These significant harms are either already

          4     occurring or imminent. Many employees have been placed on immediate administrative leave, e.g.,

          5     ECF 37-12 ¶20 (AmeriCorps); ECF 37-14 ¶11 (GSA); ECF 37-21 ¶18 (HHS); 37-16 ¶10 (DOL); and

          6     others have already been subjected to RIFs, see, e.g., ECF 37-13 ¶¶12-14 (EPA); ECF 41-1 ¶¶13-18

          7     (HUD); ECF 37-18 ¶¶8-14 (SBA); ECF 96-1 ¶¶15, 18 (NSF; RIF notices sent but temporarily

          8     suspended due to this Court’s TRO). The harms directly stemming from the gutting of these agencies

          9     range from local governments’ and non-profits’ loss of AmeriCorps’ assistance in providing disaster

         10     relief, public health services, wildfire mitigation, emergency management, and more, ECF 41-6 ¶¶8-

         11     20 (King County), ECF 37-36 ¶39 (APHA); see ECF 37-1 at 25; to harms from the loss of USDA

         12     programs including but not limited to food safety inspections, assistance in quarantining invasive

         13     pests, and processing of food service and child and adult care programs, see ECF 37-1 at 26 (citing

         14     declarations from Plaintiffs AFGE, Harris County, County of Santa Clara, King County, WWP,

         15     NOFA, AFSCME, and AGU); to severe public health threats from cuts to the CDC, including

         16     decreased ability to control outbreaks of contagious diseases such as measles, to improve prevention

         17     of birth defects, and to treat drug-resistant STDs and stop disease transmission, ECF 37-1 at 19-21

         18     (citing declarations); to termination of every employee administering the program that covers the

         19     heating and cooling bills for millions of low-income households, and elimination of the division

         20     overseeing a tracking of child abuse and neglect, ECF 37 at 20 (citing ECF 37-36 ¶¶22-23 (APHA)).

         21            Added to this catalogue of harm detailed in Plaintiffs’ TRO papers is additional evidence of

         22     harms flowing from the evisceration of the Peace Corps, EPA, NIOSH, NOAA, USDA, CDC,

         23     Department of Energy (“DOE”), and Department of Interior (“Interior”).

         24            Peace Corps: Planned RIFs will cause imminent harm to Plaintiff AFSCME’s members who

         25     will lose their jobs and be prevented from “the promotion of world peace and friendship through

         26     public service” to which they “have dedicated [their] lives.” Black Decl. ¶¶2, 14-15, 19. Plaintiff
         27     AFSCME will itself be harmed by impairing its mission, depriving it of membership dues, and

         28     forcing it to allocate resources and attention to responding to RIFs. Id. ¶¶15-16.

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          1             EPA: The announced elimination of the Office of Research and Development (“ORD”) will

          2     impede the abatement of lead contamination in drinking water across the nation, including ongoing

          3     NRDC programs that rely on ORD testing, technical support, and expertise. Olson Decl. ¶¶19-27,

          4     36-39 (NRDC). The elimination of the Energy Star program, which was created at the direction of

          5     Congress and certifies and identifies energy-efficient products for the information of business and

          6     consumers, will severely hinder energy efficiency efforts, including NRDC’s building efficiency

          7     program. Cunningham Decl. ¶¶2-12 (NRDC); Mammel PI Decl. Exs. C. D.

          8             NIOSH: RIFs have halted certification of personal protective equipment (PPE), without

          9     which Santa Clara will be forced to discontinue clinically indicated medical procedures, to the

         10     detriment of patients (and resulting loss of revenue), or to use equipment that is not certified and may

         11     inadequately protect patients or workers or fail to comply with applicable regulations. Supp.

         12     Williams Decl. ¶¶8-¶9. RIFs will also impair the County’s ability to respond to the measles outbreak,

         13     develop guidance that limits injury risk for its workforce, and protect its workers from industrial

         14     chemical exposure. Id. ¶¶9-15.

         15             USDA: The Animal and Plant Health Inspection Service (“APHIS”) is responsible for

         16     training and accrediting local officials to inspect agricultural products being exported to other

         17     countries, of which Santa Clara County exports a considerable amount. Supp. Williams Decl. ¶¶4-5

         18     (Santa Clara). Planned RIFs at APHIS could impair certification of local officials and grind

         19     agricultural exports to a halt; even short delays may cause products to spoil, eat into farms’ thin

         20     margins, cause irreparable harm to local industry, and cause Santa Clara fiscal harm. Id.

         21             DOE, Interior, CDC, NOAA, EPA, NIOSH: These agencies maintain public databases of vital

         22     scientific information on which researchers, including NRDC staff, regularly rely; loss or degradation

         23     of these datasets due to cuts will obstruct important environmental and public health research and

         24     policy initiatives. McKinzie Decl. ¶¶7-20 (NRDC); Sass Decl. ¶¶6-13 (NRDC).

         25             Appendix C to this brief is a chart identifying the agencies for which each Plaintiff asserts

         26     harm.
         27

         28

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          1                                                  ARGUMENT

          2     I.     This Court Should Enjoin Defendants’ Implementation of Executive Order 14210 and
                       the Resulting Agency RIF and Reorganization Plans
          3
                       Plaintiffs show (1) likely success on the merits; (2) likely irreparable harm in the absence of
          4
                preliminary relief; and (3) the balance of equities and (4) public interest support an injunction. Winter
          5
                v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see also Fed. R. Civ. P. 65(a), (b)(3).
          6
                       A.      Defendants’ Government-wide Order and Actions Are Causing Ongoing,
          7                    Nationwide Irreparable Harm and the Balance of the Equities and Public
                               Interest Weigh Heavily in Favor of a Preliminary Injunction
          8
                       Plaintiffs have extensively documented irreparable harms they and their members face. ECF
          9
                37-1 at 12-29; ECF 70 at 12-14; ECF 85 at 14-17. As previously explained, “the deprivation of
         10
                constitutional rights ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d
         11
                990, 1002 (9th Cir. 2012). Hundreds of thousands of federal employee members of union and
         12
                organizational Plaintiffs are at risk of employment termination, losing their incomes and long careers
         13
                in public service as well as health insurance for themselves and their families, and even being
         14
                required to relocate. ECF 37-1 at 13 n.24 (citing declarations; ECF 70 at 12); Black Decl. ¶¶2, 13-14,
         15
                19 (AFSCME); see Golden Gate Rest. Ass’n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1126
         16
                (9th Cir. 2008) (loss of health benefits is irreparable harm). Workers who remain face degraded and
         17
                dangerous working conditions and significantly increased workloads, risking termination for cause if
         18
                they cannot cover the work of those RIF’ed. ECF 37-20 ¶37; see also ECF 37-35 ¶¶12-13 (SSA
         19
                layoffs included staff who tested water for Legionnaire’s Disease, which caused death of two
         20
                employees several years ago); ECF 37-21 ¶32 (RIFs leave CDC employees with disabilities no way
         21
                to seek accommodations); ECF 37-1 at 13, 45 n.58; 70 at 12 n.20. Local government Plaintiffs are
         22
                suffering and will suffer irreparable harm from disruption of the federal services, sources, and
         23
                support that they rely on, impeding their ability to serve and protect their residents, imposing direct
         24
                fiscal harms, and necessitating the expenditure of substantial resources. ECF 37-1 at 14-29, 46; ECF
         25
                70 at 14 & nn. 22-26; Williams Supp. Decl ¶¶5-15 (Santa Clara). This monetary harm is irreparable
         26
                because Plaintiffs cannot recover monetary damages in this case. See California v. Azar, 911 F.3d
         27
                558, 581 (9th Cir. 2018). Non-profit organization Plaintiffs’ members, and labor Plaintiffs’ non-
         28
                federal members, face irreparable injury from loss or degradation of important government services
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          1     they rely on, including difficulty obtaining government benefits, halting of critical scientific research,

          2     increased risks to public health, underenforcement of safety and labor standards, and environmental

          3     destruction. See Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983) (loss of government benefits

          4     is irreparable); League of Wilderness Defs./Blue Mountains Biodiversity Project v. Connaughton, 752

          5     F.3d 755, 764 (9th Cir. 2014) (“[E]nvironmental injury, by its nature, … is … irreparable.”) (citation

          6     omitted); ECF 37-1 at 14-29 (detailing injuries); ECF 70 at 12-13 (same).5

          7            Defendants, on the other hand, have to date put forth no evidence of harm they will incur from

          8     preserving the status quo.6 To the extent they argue they will be required to temporarily retain

          9     employees they otherwise would have terminated under the EO and Memo, that purported harm pales

         10     by comparison to the injuries to Plaintiffs and their members. See Lopez, 713 F.2d at 1437 (“Faced

         11     with such a conflict between financial concerns and preventable human suffering, we have little

         12     difficulty concluding that the balance of hardships tips decidedly in plaintiffs’ favor.”). Moreover,

         13     Plaintiffs’ requested preliminary injunction would not prevent the President from carrying out any

         14     lawful plan to reorganize the government—by obtaining authorization from Congress. A preliminary

         15     injunction would simply help ensure that the President and agencies act constitutionally and in

         16     accordance with statutes, which “is always in the public interest.” Melendres, 695 F.3d at 1002.

         17            B.      Plaintiffs Are Likely to Succeed on the Merits of Their Claims that the Executive
                               Order and Agency Implementation are Unlawful
         18
                       This Court should again reject Defendants’ assertion that the EO and Memo provide only
         19
                “guidance” for “planning.” ECF 85 at 31-34. As discussed previously, the record evidence
         20
                conclusively demonstrates that President Trump has ordered federal agencies to engage in a
         21
                government-wide reorganization and to RIF massive numbers of employees in service of that
         22
                reorganization. The plain language of the EO and Memo mandate these actions and remove agency
         23
                decision-making and discretion. “As is true of interpretation of statutes, the interpretation of an
         24

         25
                5
         26       Irreparable injuries also include deprivation of the ability to participate in notice-and-comment and
                harm to the organizations’ mission, activities, and finances. See ECF 37-1 at 45-46 (organizational and
         27     procedural injuries); ECF 70 at 14 (organizational injuries); Black Decl. ¶¶15-16 (harm to mission)
                6
                  Defendants’ “compliance” declaration (ECF 95.1) identifies no difficulty complying with the
         28     Court’s TRO. At least one federal agency jumped at the chance: NSF immediately reinstated
                employees and halted RIFs based on the TRO. ECF 96-1 ¶19 & Ex. 4 (Soriano Supp. Decl.).
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          1     Executive Order begins with its text, which must be construed consistently with the Order's object

          2     and policy.” City & County of San Francisco v. Trump, 897 F.3d 1225, 1238 (9th Cir. 2018)

          3     (cleaned up); see also Bassidji v. Goe, 413 F.3d 928, 934 (9th Cir. 2005); Nw. Forest Res. Council v.

          4     Glickman, 82 F.3d 825, 830 (9th Cir. 1996). The Court should take President Trump at his word that

          5     the EO commences systemic “transformation,” by “eliminating” what he perceives to be problematic

          6     aspects of government, as set forth in “Section 1. Purpose.” App. A (“To restore accountability to the

          7     American public, this order commences a critical transformation of the Federal bureaucracy. By

          8     eliminating waste, bloat, and insularity, my Administration will empower American families,

          9     workers, taxpayers, and our system of Government itself.”) (emphasis added).

         10            The EO goes on in Section 3 (entitled, “Reforming the Federal Workforce to Maximize

         11     Efficiency and Productivity”) to order agencies to take actions in mandatory language (“shall”) that is

         12     not consistent with mere “guidance.” E.g., Kingdomware Techs., Inc. v. U.S., 579 U.S. 162, 172

         13     (2016) (“It is generally clear that ‘shall’ imposes a mandatory duty.”). The President is also plainly

         14     acting categorically with respect to all federal agencies and the entire federal workforce. Among

         15     these mandates imposed on all agencies, the President orders that agencies “shall” engage in

         16     mandatory “large-scale” RIFs. He then requires agencies to “prioritize” a list of required items that

         17     “shall” be included, expressly defining a sole exception. Nothing about the President’s language is

         18     permissive or advisory. The structure of this EO, containing a list of mandatory items with an

         19     identified exclusion, reinforces the mandatory force, as the Ninth Circuit has concluded with respect

         20     to a parallel structure, and leads to the same conclusion:

         21            “Under the doctrine of ‘inclusio unius est exclusio alterius’ (the inclusion of one is the
                       exclusion of the other), ‘when a statute limits a thing to be done in a particular mode,
         22            it includes a negative of any other mode.’ ” …. The canon applies here. By specifically
                       excluding grants “deemed necessary for law enforcement purposes,” the Executive
         23
                       Order directs the Attorney General and the Secretary to cut all other grant programs.
         24
                San Francisco, 897 F.3d at 1239.
         25
                       Finally, savings clause language, such as “consistent with applicable law,” cannot override the
         26
                EO’s plain text: “Savings clauses are read in their context, and they cannot be given effect when the
         27
                Court, by rescuing the constitutionality of a measure, would override clear and specific language.” Id.
         28
                at 1239-40 (holding “distinguishable” Building & Construction Trades Department v. Allbaugh, 295
                PLS.’ MEM. ISO MOT. FOR PRELIMINARY INJUNCTION, NO. 3:25-cv-03698-SI                      12
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          1     F.3d 28 (D.C. Cir. 2002)); see also New York, 133 F.4th at 70-71 (rejecting same argument regarding

          2     funding freeze Executive Order). This Court’s conclusion at the TRO stage that the EO-imposed

          3     mandatory actions in service of federal government reorganization, removing agency decision-

          4     making and discretion (ECF 85 at 31-32), was supported by all applicable maxims of interpretation.

          5            The same analysis applies to the Memo, which, like the EO, contains mandatory, not

          6     permissive, language. Like the President, OMB and OPM should be taken at their word. And OMB

          7     and OPM told Agency Heads that the EO was mandatory, stating that the EO “directed agencies to

          8     ‘eliminat[e] waste, bloat, and insularity’ in order to ‘empower American families, workers, taxpayers,

          9     and our system of Government itself.’” App. B (emphasis added). OMB and OPM confirmed the

         10     RIFs were for the purpose of reorganization: they required agencies to combine these in the same

         11     ARRP document. Id. OMB and OPM imposed mandatory requirements for those ARRPs, not mere

         12     guidance: “the instruction that such plans be submitted to OMB and OPM”; requiring that agencies

         13     “will submit” the plans for “approval” by required deadlines. Id. (emphases added).

         14            Defendants’ portrayal of these documents as permitting agencies to exercise meaningful

         15     discretion or to make their own considered decisions as to the offices or functions removed, size of

         16     the cuts reflected in these plans, or timeframe under which they will be effectuated, is directly

         17     contrary to the EO and Memo’s plain language. So too is the attempt to portray the Memo as simply

         18     beginning an ongoing planning process: the President ordered agencies to act and OMB/OPM

         19     reinforced that directive by requiring submission of the initial phase of plans focusing on RIFs within

         20     a mere two weeks, with the second to follow only a month later. App. B. Nor does Defendants’

         21     attempt to rely on the later “report” dates as a basis for arguing that the ARRPs are mere planning

         22     purposes to be revised ad infinitum (ECF 88-1 ¶6) work either: the Memo separately defines “plans”

         23     (for approval in March and April) and “reports” submitted later (plainly referring to how the

         24     implementation of the approved plans is proceeding). App. B. The Memo also sets an ultimate

         25     implementation deadline: “Phase 2 plans should be planned for implementation by September 30,

         26     2025.” Id., App. B at 4. As with the EO, this Court’s conclusion regarding the mandatory orders
         27     contained in the OMB/OPM directive is backed by all maxims of interpretation. ECF 85 at 33-34.

         28            Plaintiffs’ evidence confirms the plain language of these documents: agencies are following

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          1     the President and OMB/OPM’s orders, by implementing plans that reflect the President’s elimination

          2     of programs and functions and by commencing large-scale RIFs. Supra at 4-6.

          3            From the plain language of the EO and the OMB/OPM Memo, and the uncontroverted record

          4     that agencies are, indeed, implementing these mandatory orders, flows the inevitable conclusion that

          5     Defendants’ actions are ultra vires. Defendants identify no specific source of Constitutional or

          6     statutory authority for the President’s actions, beyond general Article II supervisory powers, which in

          7     Defendants’ view give the President plenary power over the federal agencies. But the Constitution is

          8     predicated on the idea that Executive power is not unlimited: “The President’s power, if any, to issue

          9     [an] order must stem either from an act of Congress or from the Constitution itself.” Youngstown

         10     Sheet & Tube Co., 343 U.S. at 585.7 And where, as here, Congress has declined to reauthorize the

         11     power to reorganize the federal government that the President needs to take such action, his power is

         12     “at its lowest ebb.” Id. at 637 (Jackson, J., concurring); accord San Francisco, 897 F.3d at 1233-34.

         13     There is no real dispute that the President lacks the authority to reorganize the federal government

         14     without Congressional authorization. E.g., Paul J. Larkin, Jr. & John-Michael Seibler, The

         15     President’s Reorganization Authority, Heritage Foundation Legal Mem. No. 210, at 1, 3 (July 12,

         16     2017) (“The President may create, reorganize, or abolish an office that he established, but he cannot

         17     fundamentally reorganize the executive branch in direct violation of an act of Congress. … [T]he

         18     President does not have constitutional authority to reorganize the executive branch on his own.”).8

         19            Nor can there be any real dispute that this EO does in fact order a reorganization of the entire

         20     federal government—imposing a radical transformation of all federal agencies, at the same time, by

         21     eliminating programs and functions, transferring functions between agencies, and ordering agencies

         22     to restructure themselves through large-scale RIFs. The actions the EO requires fall squarely within

         23     the previously granted reorganization authority that expired in 1984, and which Congress, thus far,

         24
                7
         25       “Unchecked presidential power is not what the Framers had in mind.” ECF 85 at 1 (quoting amicus
                brief filed by former federal officials, Dkt. No. 69-1 at 1). Indeed, “[t]here can be no liberty where the
         26     legislative and executive powers are united in the same person.” Bowsher v. Synar, 478 U.S. 714, 721-
                22 (1986) (quoting James Madison in The Federalist No. 47, p. 325 (J. Cooke ed. 1961).
                8
         27       Accord John W. York & Rachel Greszler, A Model for Executive Reorganization, Heritage
                Foundation Legal Memorandum No. 4782, at 1-2 (Nov. 3, 2017) (recognizing that “[s]ince [INS v.]
         28     Chadha, [462 U.S. 919 (1983)], sweeping reorganization of the federal bureaucracy requires the active
                participation of Congress.”), both available at: www.heritage.org.
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          1     has not granted. See 5 U.S.C. §903.

          2            Defendants’ argument regarding the Article II executive power to supervise agencies

          3     necessarily piggybacks on the authority granted to those agencies by Congress. But no statute

          4     delegating authority to an agency (such as the statute addressing RIFs, 5 U.S.C. §3502) gives the

          5     President the power to reorganize the government. ECF 85 at 27-28.9 Indeed, 5 U.S.C. §3502

          6     predates the last congressional authorization of Presidential reorganization authority in 1984. Pub. L.

          7     89-554, Sept. 6, 1966, 80 Stat. 428-29. That conclusion is further supported by the EO and

          8     OMB/OPM Memo’s directions, which go far beyond asking agencies to exercise their own statutory

          9     authority and discretion. The President has imposed government-wide, categorical requirements that

         10     include the (1) mandate to commence imposing “large-scale” RIFs across all agencies; (2) removal of

         11     agency decision-making power and transfer of that authority to OMB/OPM/DOGE; (3) requirement

         12     that agencies RIF employees in programs and functions that the President and his agents eliminate;

         13     (4) requirement that agencies maximally RIF and eliminate all non-statutory mandated functions

         14     (with the President and his agents defining those requirements), regardless of the agencies’ prior

         15     assessment of need or reasons for those functions; and (5) directive to prioritize government shut-

         16     down levels of staffing that cannot, by definition, support proper agency function.10

         17            This Court has thus correctly concluded that Plaintiffs are likely to succeed on claims that the

         18     President’s order that agencies implement a reorganization on his mandated terms and conditions,

         19     including through RIFs for the purpose of reorganization, and the consolidation, transfer, and

         20     elimination of agency functions, usurp legislative authority and are unconstitutional and ultra vires.

         21     ECF 85 at 26-32; see Chen v. I.N.S., 95 F.3d 801, 805 (9th Cir. 1996) (“the Executive Order lacked

         22     the force and effect of law because it was never grounded in a statutory mandate or congressional

         23
                9
         24       This Court also correctly concluded that no statute authorizes OMB, OPM or DOGE to assume the
                authority to direct agencies to act in the manner that they have here. ECF 85 at 32-34. Defendants
         25     effectively seek to cloak these agencies in the President’s borrowed power, but to the extent the
                President has none, neither do OMB, OPM, or DOGE.
                10
         26        The Contingency Plans referenced in the EO and Memo, known as “Lapse Plans,” set forth the
                minimum staffing needed (to protect, for example, against the destruction of property or loss of life)
         27     when agencies receive no appropriations at all. In such circumstances, agencies by law cannot perform
                their normal Congressionally authorized functions. Dep’t of Commerce, Plan for Orderly Shutdown
         28     Due to Lapse of Congressional Appropriations (September 27, 2023), available at:
                https://www.commerce.gov/sites/default/files/2023-09/DOC-Lapse-Plan-2023.pdf.
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          1     delegation of authority”); State v. Su, 121 F.4th 1, 13 (9th Cir. 2024) (“In sum, the President cannot

          2     issue an executive order instructing agencies to carry out [his] mandate” without Constitutional or

          3     statutory authority); San Francisco, 897 F.3d at 1235 (enjoining implementation of unconstitutional

          4     Executive Order). This conclusion does not upend the Constitution, as Defendants have claimed.

          5     Rather, it reestablishes the proper balance of authority between the democratically elected Congress

          6     and the executive branch, as this Court previously concluded.

          7            Likewise, this Court’s prior conclusions that OMB, OPM, and DOGE’s actions are ultra vires

          8     apply with equal force to this motion. ECF 85 at 34-37. This Court need not decide whether DOGE

          9     is subject to the APA (although for reasons explained by other courts, it is, notwithstanding

         10     Defendants’ attempts to cloak it within the Executive Office of the President—where OMB, which is

         11     subject to the APA, is also housed). Id. at 36. Plaintiffs are likely to succeed on APA claims against

         12     OMB and OPM for actions that exceed authority and fail to comply with notice-and-comment

         13     rulemaking, for reasons previously given. Id. at 37. And while for purposes of this Motion

         14     (including because Plaintiffs do not yet have access to the ARRPs) this Court need not reach

         15     Plaintiffs’ claims against OMB/OPM and the Federal Agency Defendants for engaging in arbitrary

         16     and capricious action, it could, for the reasons provided by the First Circuit in New York, 133 F.4th at

         17     70-71. The President’s and OMB/OPM’s categorical instructions and the agencies’ implementation

         18     of those instructions are necessarily divorced from reasoned decision-making that takes into account

         19     all appropriate factors (because the categorial instruction took into account nothing other than the

         20     President’s will to restructure government according to his plans). See ECF 37-1 at 42-44.

         21            C.      This Court Has Jurisdiction Over All Plaintiffs’ Claims

         22                    1.      Standing

         23            Plaintiffs have amply demonstrated Article III standing through the TRO briefing and

         24     accompanying declarations, which Plaintiffs incorporate. See ECF 37-1 at 44-46 & nn. 57-63 (citing

         25     to plaintiff declarations); ECF 70 at 12-14 & nn. 19-27.

         26            New plaintiffs SEIU Local 521 and SEIU Local 1021, and new movant NRDC, also have
         27     Article III standing. Local 521’s members include employees at an early learning services program

         28     in Santa Clara who have been notified that they will be laid off on July 1, 2025 unless the federal

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          1     Head Start program is functional and able to renew the grant—but all the federal employees with

          2     whom the local program staff previously worked have been removed from their positions. Woodard

          3     Decl. ¶9; see also id. ¶¶10-12; ECF 37-26 ¶27 (impacts on Local 521 members who are family child

          4     care providers and depend on federal agencies’ technical assistance). Local 1021’s members are also

          5     severely impacted by actions taken to implement the Executive Order, including cuts to federal Head

          6     Start programs, which will harm members who work at those programs; members who work as

          7     counselors, care coordinators, case managers and more, who are directly impacted by HHS’s

          8     shuttering of its Substance Abuse and Mental Health Services Administration; and health care worker

          9     members whose ability to provide services is impacted by the lack of normal operations at the Social

         10     Security Administration and its effect on Medicare and Medi-Cal processing. See ECF 37-30.

         11            NRDC’s members are injured by the environmental harm that results from staffing and

         12     program cuts at environmental agencies. See, e.g., Asmutis-Silvia Decl. ¶¶4-19, 23-26 (NOAA cuts

         13     will inhibit member’s ability to respond to whale strandings and increase endangered whales’ risk of

         14     extinction). NRDC also has standing to sue because the elimination of programs at EPA, CDC,

         15     NIOSH, Interior, DOE, and NOAA “directly affects and interferes with [NRDC’s] core business

         16     activities” of research, policy analysis, advocacy, and public education to protect public health and

         17     the environment. Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024).

         18     NRDC’s activities are hindered by the loss of these agencies’ research, data, and collaboration, and

         19     NRDC will be required to divert and expend resources to try to fill the gaps. See McKinzie Decl.

         20     ¶¶7-20; Sass Decl. ¶¶6-13; Olson Decl. ¶¶19-27, 36-39; Cunningham Decl. ¶¶5-13; Fellowship of

         21     Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 682 (9th Cir. 2023)

         22     (organization has standing where government’s “behavior has frustrated its mission and caused it to

         23     divert resources in response to that frustration of purpose”).

         24                    2.      Administrative Channeling

         25            Plaintiffs have explained, and this Court correctly concluded, that the Court has subject matter

         26     jurisdiction over Plaintiffs’ claims challenging a government-wide Presidential Executive Order and
         27     agencies’ implementation of that order, and that no Plaintiff is required to “channel” its claims. ECF

         28     37-1 at 46-48; ECF 70 at 10-11. The claims of NRDC and the SEIU Locals are no more “channeled”

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          1     than those of the existing government, non-profit organization, and labor union Plaintiffs. The

          2     Court’s authority to hear the claims of these Plaintiffs has not been removed, implicitly, by Congress.

          3     See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 383 (2012) (“[J]urisdiction conferred by 28

          4     U.S.C. §1331 should hold firm against ‘mere implication flowing from subsequent legislation’”).

          5            Defendants’ argument appears to be that, because Congress created administrative agencies to

          6     handle some claims by employees involving federal employment, all claims bearing on federal

          7     employees are excluded from federal court.11 To the contrary, as the Supreme Court recently

          8     cautioned, “a statutory review scheme [that precludes district court jurisdiction] does not necessarily

          9     extend to every claim concerning agency action.” Axon Enters., Inc. v. FTC, 598 U.S. 175, 185

         10     (2023); Kerr v. Jewell, 836 F.3d 1048, 1052-53 (9th Cir. 2016).

         11            Plaintiffs do not, as Defendants previously argued, attempt to evade an inapplicable

         12     procedure: they simply bring different claims than what those statutory schemes are designed for, by

         13     challenging ultra vires Presidential action and ensuing violations of the APA, which fall under well-

         14     established express federal jurisdiction. 28 U.S.C. §1331. Far more textual indication of

         15     Congressional intent is needed before removing the “command” of APA review of government

         16     action. Dep’t of Commerce v. New York, 588 U.S. 752, 771-72 (2019); see also Loper Bright Enters.

         17     v. Raimondo, 603 U.S. 369, 391-93 (2024) (“The text of the APA means what it says.”).

         18            NRDC and the SEIU Locals are situated similarly to the local government entities, nonprofit

         19     organizations, and non-federal sector labor unions, in that the two administrative agencies that

         20     Defendants invoke—the Merit Systems Protection Board (“MSPB”) and Federal Labor Relations

         21     Authority (“FLRA”)—could never hear these Plaintiffs’ claims.12 The SEIU Locals (like AFSCME

         22     and SEIU) do not represent federal employee workers: their members are child care, health care, and

         23
                11
         24        ECF 60 (TRO Opp.) at 23. While the Ninth Circuit has channeled individual employee claims against
                employing agencies, it has never done so with respect to a third-party claim, nor to any challenge of a
         25     government-wide Executive Order or its implementation through OMB or OPM. See Veit v. Heckler,
                746 F.2d 508 (9th Cir. 1984); Saul v. United States, 928 F.2d 829 (9th Cir. 1991) (individual employee);
         26     Russell v. U.S. Dep’t of the Army, 191 F.3d 1016 (9th Cir. 1999) (same).
                12
                   See 5 U.S.C. §7701 (MSPB appeals limited to “employee” or “applicant” claims challenging
         27     employer actions listed in §7512); §7703 (appeal rights similarly limited); §§7103(a)(1), 7118 (FLRA:
                individual, labor organization, or agency); §7123 (FLRA: appeal rights similarly limited). The FLRA
         28     expressly cannot hear disputes arising from “government-wide” action. NTEU and Dep’t of Treasury,
                IRS, 60 F.L.R.A. 783, 783 (2005); 5 U.S.C. §7117(a)(1).
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          1     other service providers whose jobs are impacted by the EO-directed reorganization and RIFs. See,

          2     e.g., ECF 41-5 ¶¶7-49 (O’Brien); ECF 37-3 ¶¶4-11 (Adler); ECF 37-22 ¶¶3-14 (Jefferies); ECF 41-3

          3     ¶¶3, 6-15 (Nelson). Those impacted members are third parties to any relationship between federal

          4     employees and their employing agencies. As the Ninth Circuit recently noted, the notion that

          5     Congress intended such third-party plaintiffs’ claims to be sent to these agencies lacks any support.

          6     AFGE v. OPM, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025) (“Nor have appellants

          7     demonstrated—under existing authority—that they are likely to establish that Congress has channeled

          8     the organizational plaintiffs’ claims to administrative agencies.”); see also Feds for Med. Freedom v.

          9     Biden, 63 F.4th 366, 375 (5th Cir.) (en banc), judgment vac’d as moot, 144 S.Ct. 480 (2023)

         10     (employee organization challenge to government-wide federal employee vaccine mandate was not

         11     channeled to MSPB or FLRA). Defendants previously invoked United States v. Fausto, 484 U.S.

         12     439, 455 (1988) (ECF 60 at 25), which involved an employee’s attempt to challenge a personnel

         13     action by his employing agency; nothing in that decision requires channeling of third-party claims or

         14     claims involving government-wide action simply because they impact federal employment.

         15            Moreover, the concept of “channeling” is based entirely on an implied doctrine, which cannot

         16     exist divorced from the underlying statutory text. E.g., Loper Bright Enters., 603 U.S. at 391-92;

         17     Alexander v. Sandoval, 532 U.S. 275, 287 (2001). Any such separation would contravene a host of

         18     APA precedent, which requires exceptions to judicial review to be read narrowly. Dep’t of

         19     Commerce, 588 U.S. at 771-72 (holding that judicial review in APA is mandatory); see also U.S.

         20     Army Corps of Eng’rs v. Hawkes Co., Inc., 578 U.S. 590, 601-02 (2016) (holding that administrative

         21     review provisions did not foreclose APA review); Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,

         22     586 U.S. 9, 22-23 (2018) (holding that express exceptions to APA review must be construed

         23     narrowly to effectuate purposes of the Act). The Congress that enacted the CSRA and FSLMRS

         24     referenced the APA at least three times (5 U.S.C. §§1103, 1105, 7134) and cannot be said to have

         25     silently demonstrated an intent to eliminate the bedrock principle of APA review. Epic Sys. Corp. v.

         26     Lewis, 584 U.S. 497, 510 (2018) (“A party seeking to suggest that two statutes cannot be harmonized,
         27     and that one displaces the other, bears the heavy burden of showing a clearly expressed congressional

         28

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          1     intention that such a result should follow.”).13

          2            Defendants try to shoehorn Plaintiffs’ claims into this doctrine by mischaracterizing them as

          3     challenging only specific RIF decisions. But the shoe does not fit. The EO, Memo, and ARRPs are

          4     not covered employment actions. The MSPB hears only challenges to covered employment actions

          5     and the FLRA cannot hear any claim involving a “government-wide rule” at all. Supra, n.12.

          6            Applying the three-part analysis from Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207-13

          7     (1994), this Court correctly concluded that all of the claims at issue in this case—involving

          8     constitutional separation of powers issues and APA challenges to the implementation of government-

          9     wide Executive Order and OMB/OPM Memorandum—fail all three factors. ECF 85 at 23-35. As to

         10     the first factor, meaningful judicial review of these claims would be foreclosed because no Plaintiff

         11     can ever sue the President, OMB, OPM, or DOGE before these agencies, and even the federal

         12     employee labor unions cannot sue the Federal Agency Defendants for arbitrary and capricious

         13     ARRPs implementing a government-wide Executive Order. Thunder Basin, 510 U.S. at 207.

         14     Moreover, “meaningful” judicial review must account for the type of claim and relief Congress

         15     intended, particularly for APA claims (for which the Supreme Court has said judicial review years

         16     after agency adjudication is not meaningful, Hawkes, 578 U.S. at 601-02).

         17            As to the second factor, Plaintiffs’ claims are “wholly collateral” to the CSRA’s scheme

         18     because they do not challenge individual adverse personnel actions or employer actions under a

         19     contract; they concern separation of powers issues and challenge the substantive and procedural

         20     lawfulness of the EO and its implementation. Thunder Basin, 510 U.S. at 212.

         21            And as to the third, the labor agencies have no particular expertise in resolving constitutional

         22     and administrative law questions. Loper Bright Enters., 603 U.S. at 399.

         23            This Court’s correct ruling should be extended to the new Plaintiffs as well.

         24

         25
                13
                  This Court also correctly held that the claims brought by the federal union Plaintiffs are not of the
         26
                type that Congress intended to be heard by administrative agencies. ECF 85 at 23-24. While
         27     employees and their labor representatives can bring certain claims before these agencies, they cannot
                bring these claims involving constitutional separation of powers issues and APA challenges to the
         28     implementation of government-wide Executive Order and OMB/OPM Memorandum, for the same
                reasons explained above.
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          1     II.    Plaintiffs’ Proposed Relief Is Necessary to Maintain the Status Quo for the Duration of
                       this Litigation and to Prevent Ongoing Nationwide Irreparable Harm
          2
                       Intervention in the form of a preliminary injunction is necessary to protect the status quo and
          3
                this Court’s authority to enter relief ultimately vacating and remedying unlawful government action.
          4
                Plaintiffs first describe the injunction they seek and then discuss legal issues pertaining to that relief.
          5
                       A.      Plaintiffs’ Proposed Injunction
          6
                       As set forth in Plaintiffs’ motion and proposed order, Plaintiffs seek a preliminary injunction
          7
                that enjoins and/or stays Defendants OMB, OPM, DOGE, and the Federal Agency Defendants from
          8
                implementing or enforcing Sections 3(c) and (e) of the EO or any portion of the Memo, including any
          9
                OMB/OPM approval or disapproval of ARRPs, DOGE directives to eliminate programs or staff, or
         10
                Federal Agency Defendant implementation of ARRPs, including but not limited to elimination,
         11
                consolidation, or transfer of programs, functions, or offices; issuance or execution of RIF notices; or
         12
                placement of employees on administrative leave, among any other actions required by the ARRPs.
         13
                       Plaintiffs seek further to enjoin DOGE to rescind and take no further action to enforce any
         14
                prior orders or directives regarding ARRPs, and to enjoin Federal Agency Defendants to rescind and
         15
                cease enforcement of previous actions to enforce the EO or Memo, including by rescinding RIFs,
         16
                restoring offices, programs, and functions, and transferring employees to administrative leave status.
         17
                       Finally, Plaintiffs request that the Court set deadlines for Defendants to provide a proposed
         18
                compliance plan, for Plaintiffs to review and respond to that plan, and for a joint submission to the
         19
                Court of an agreed-upon plan or Defendants’ proposal and Plaintiffs’ objections.
         20
                       B.      The Injunction Protects the Status Quo
         21
                       The status quo is “the legally relevant relationship between the parties before the controversy
         22
                arose.” Fellowship of Christian Athletes, 82 F.4th at 684-85. Thus, in Doe #1 v. Trump, the Ninth
         23
                Circuit squarely rejected the government’s argument that implementation of the challenged
         24
                government action constituted the relevant status quo for purpose of a preliminary injunction: “In the
         25
                government’s re-imagining of the status quo in this context, this factor would always tip in the
         26
                government’s favor, effectively rendering the Court powerless to exercise its discretion[.]” 957 F.3d
         27
                1050, 1068-69 (9th Cir. 2020). Instead, the Ninth Circuit held that it was the government’s action
         28

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          1     “that altered the status quo for the Plaintiffs.” Id. at 1068. Likewise here, the last uncontested status

          2     before the “controversy arose” was prior to the President’s unconstitutional EO, prior to

          3     OMB/OPM’s unlawful Memo and any unlawful DOGE directions, and prior to any Federal

          4     Defendant Agency action implementing these unlawful directives, including by (but not limited to)

          5     RIFs and actions reorganizing agencies pursuant to the unlawful EO and Memo. The requested

          6     preliminary injunction restores that status quo.

          7            To be clear, the requested injunction would not order reinstatement of employees to former

          8     federal employment. As far as Plaintiffs are aware, no employees have yet been separated from

          9     service due to the EO and Memo; they have received RIF notices and, in some cases, been placed on

         10     paid administrative leave in advance of separation. ECF 37-1 at 12, ECF 70 at 13 & nn. 27-28. The

         11     injunction would thus require only that Defendants undo actions taken to implement the EO and

         12     Memo by, inter alia, rescinding pending RIF notices and allowing employees to resume work rather

         13     than be paid the same amount and receive the same benefits to remain on paid administrative leave.

         14     While, as here, “it is sometimes necessary to require a party who has recently disturbed the status quo

         15     to reverse its actions, … such an injunction restores, rather than disturbs, the status quo ante.”

         16     League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014).

         17            C.      The Scope of the Injunction Is Necessitated by the Scope of Defendants’
                               Government-Wide Actions and Extent of the Harm to Plaintiffs
         18
                       It is axiomatic that “courts must tailor the scope [of injunctions] ‘to meet the exigencies of the
         19
                particular case.’” Cal. v. Azar, 911 F.3d 558, 584 (9th Cir. 2018) (quoting Trump v. Int’l Refugee
         20
                Assistance Project, 582 U.S. 571, 580 (2017)). Broad relief is appropriate when it is “‘necessary to
         21
                give prevailing parties the relief to which they are entitled.’” Azar, 911 F.3d at 583 (quoting Bresgal
         22
                v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987)) (emphasis in Azar).
         23
                       As an initial matter, it would be impossible to take a piecemeal approach to relief here.
         24
                Plaintiffs have shown injury to themselves and their members across the country. And the harms
         25
                Plaintiffs complain of arise from implementation of the EO, which is impacting Federal Agency
         26
                Defendants’ ability to provide key public services throughout the country, ranging from the loss of
         27
                food safety inspections, farm certifications, food service programs, and research by USDA, with
         28
                impacts to local governments, as well as Plaintiffs Western Watersheds Project, Northeast Organic
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          1     Farming Association, American Geophysical Union, and to unions like AFSCME (impacts to federal,

          2     state, and local employee members) and AFGE (impacts to federal members);14 to the devastation

          3     wreaked by gutting HHS and its ability to maintain, inter alia, lead exposure testing, monitoring and

          4     prevention of infectious diseases, research and funding to prevent overdose, suicide, drowning, motor

          5     vehicle crashes, and other injuries, support of Head Start programs, safety inspections for mines, and

          6     research into reducing cancer risks for firefighters, with impacts on AFGE’s federal employee

          7     members, on unions representing state and local employees (SEIU and AFSCME), on nonprofit

          8     Plaintiffs American Public Health Association and NRDC, and on each of the local government

          9     Plaintiffs.15 Plaintiffs are harmed by Defendants’ actions occurring all across the country, and in

         10     centralized offices, that are far from the physical location of the Plaintiffs and their members.16 It

         11     would be nearly impossible, if not impossible, for the Court to slice and dice injunctive relief,

         12     creating a patchwork among Plaintiffs’ members—who are spread throughout the country—and the

         13     harms emanating from layoffs, reorganization of agencies, and cuts to agency services. Cf. City &

         14     Cnty. of San Francisco v. Barr, 965 F.3d 753, 766 (9th Cir. 2020) (limiting injunction to California’s

         15     geographical boundaries because plaintiffs operated within “neat geographic boundaries,” while

         16     distinguishing case from one “involving plaintiffs that operate and suffer harm in a number of

         17     jurisdictions, where the process of tailoring an injunction may be more complex”).

         18            Further, where, as here, the action complained of is unconstitutional not simply as applied to

         19     certain plaintiffs, but across the board, a nationwide injunction is appropriate and necessary. See

         20
                14
                   ECF 37-59 ¶¶23-28 (Chicago); ECF 37-46 ¶¶10-12 (Harris County); ECF 37-37 ¶¶18-21 (NOFA);
         21     ECF 37-40 ¶¶28-33 (WWP); ECF 37-45 ¶19 (AGU); ECF 37-4 ¶¶14-24 (AFSCME); ECF 37-31 ¶¶15-
                24 (AFGE).
         22     15
                   ECF 37-36 ¶¶12-34 (APHA); ECF 37-56 ¶¶4-5, 7-8 (San Francisco); ECF 37-52 ¶¶6-23 (Chicago);
         23     ECF 37-54 ¶¶37-43 (Baltimore); ECF 37-46 ¶¶13-26 (Harris County); ECF 41-6 ¶¶33-34 (King
                County); ECF 37-58 ¶¶35-39 (Santa Clara County); ECF 37-21 ¶¶22-28 (AFGE); ECF 41-4 ¶¶21-31
         24     (AFGE); ECF 41-5 ¶¶4-16 (AFSCME); ECF 37-30 ¶¶7-16 (SEIU); Olson Decl. ¶¶29-38 (NRDC).
                16
                   Plaintiff unions and nonprofit organizations are not geographically limited. See, e.g., ECF 37-23
         25     ¶2 (AFGE); ECF 37-26 ¶4 (SEIU); ECF 37-36 ¶2 (APHA); ECF 37-39 ¶2 (ARA). Plaintiff cities
                and counties’ injuries derive not only (or even mainly) from termination of federal employees
         26
                employed therein, but also the evisceration of federal programs that are based in Washington, D.C. or
         27     throughout the country. See, e.g., McKinzie Decl. ¶¶7-20 (NRDC); ECF 37-46 ¶¶12-26 (Harris
                County); ECF 37-47 ¶4(c) (San Francisco County); ECF 41-6 ¶¶22(e), 29-31 (King County);
         28     Williams Supp. Decl. ¶¶5-15 (Santa Clara); ECF 37-59 ¶¶4-6 (Chicago); ECF 37-57 ¶¶5-7 (Chicago);
                ECF 37-56 ¶¶4-10 (San Francisco); ECF 37-54 ¶¶15-19 (Baltimore).
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          1     County of Santa Clara v. Trump, 250 F.Supp.3d 497, 539 (N.D. Cal. 2017), quoted in PFLAG, Inc. v.

          2     Trump, No. CV 25-337-BAH, 2025 WL 510050, at *24 (D. Md. Feb. 14, 2025). It would make no

          3     sense for this Court to rule that the actions of the President, OMB, OPM, and DOGE are ultra vires

          4     and should be enjoined only as to members of the Plaintiffs and to residents of the Plaintiff local

          5     governments, and yet could somehow otherwise be permitted to continue.

          6            Separately, the APA’s directive to “hold unlawful and set aside agency action,” is not limited

          7     by “geographic boundaries.” E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 987 (9th Cir.

          8     2020). Thus, the “ordinary result [in an APA case] is that the rules are vacated—not that their

          9     application to the individual petitioners is proscribed.’” Regents of Univ. of Cal. v. DHS Sec’y, 908

         10     F.3d 476, 511 (9th Cir. 2018), vacated in part on other grounds, 591 U.S. 1 (2020) (cleaned up);

         11     accord Pangea Legal Servs. v. DHS, 501 F.Supp.3d 792, 827-28 (N.D. Cal. 2020).

         12            D.      The Proposed Injunction Does Not Exceed the Equitable Powers of this Court

         13            This Court is well within both its intrinsic equitable powers and the APA to require

         14     Defendants to rescind their unlawful actions. Federal courts have the equitable power to grant

         15     injunctive relief “with respect to violations of federal law by federal officials.” Armstrong v.

         16     Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (citing American Sch. of Magnetic Healing v.

         17     McAnnulty, 187 U.S. 94, 110 (1902)). “[W]hen district courts are properly acting as courts of equity,

         18     they have discretion unless a statute clearly provides otherwise.” U.S. v. Oakland Cannabis Buyers’

         19     Coop., 532 U.S. 483, 496 (2001); see also Hecht Co. v. Bowles, 321 U.S. 321, 329 (1944) (“The

         20     essence of equity jurisdiction has been the power of the Chancellor to do equity and to mould each

         21     decree to the necessities of the particular case. Flexibility rather than rigidity has distinguished it.”).

         22            Further, under the APA, courts are empowered to “‘set aside’ [unlawful] agency action,”

         23     which is “more than a mere non-enforcement remedy.” Griffin v. HM Florida-ORL, LLC, 144 S. Ct.

         24     1, 2 n.1, (2023) (Kavanaugh, J., concurring in the denial of the application for stay) (Mem.). The “set

         25     aside” remedy also encompasses “the power to ‘strike down’ an agency’s work,” so that “the

         26     disapproved agency action is treated as though it had never happened.” Id.; see also Monsanto v.
         27     Geertson Seed Farms, 561 U.S. 139, 156-57 (2010) (recognizing vacatur as a presumptively

         28     appropriate remedy for APA violation); United Steel v. Mine Safety & Health Admin., 925 F.3d 1279,

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          1     1287 (D.C. Cir. 2019) (“The ordinary practice is to vacate unlawful agency action.”). “Vacatur [of

          2     agency action] retroactively undoes or expunges a past [agency] action. … [V]acatur unwinds the

          3     challenged agency action.” Driftless Area Land Conservancy v. Valcq, 16 F.4th 508, 522 (7th Cir.

          4     2021). Thus, in this case, the standard remedy of vacatur includes the rescission of the actions taken

          5     to date to implement the EO, including through the ARRPs, and including but not limited to

          6     unlawfully issued RIF notices, DOGE directives, ARRP approvals, and administrative leave

          7     placements, because only that will actually “undo[]” or “expunge[]” the unlawful agency action. Id.

          8     This injunction is also consistent with 5 U.S.C. §705’s broad grant of authority to “issue all necessary

          9     and appropriate process to postpone the effective date of an agency action or to preserve status or

         10     rights pending conclusion of the review proceedings” to “the extent necessary to prevent irreparable

         11     injury.” 5 U.S.C. §705. Such an order enjoining the actions caused by the EO does not preclude the

         12     government from planning, proposing, and engaging in action authorized by Congress, but to do so

         13     the government would need to comply with all applicable laws, including the APA. Cf. NTEU v.

         14     Vought, D.C. Circuit Case No. 25-5091 (Apr. 28, 2025 Order: lifting stay pending appeal to allow

         15     district court’s injunction of further RIFs, where stay order permitted RIFs based on agency’s

         16     “particularized assessment” and defendants issued RIFs of “nearly 90 percent of agency employees”).

         17                                                CONCLUSION

         18            For the foregoing reasons, Plaintiffs respectfully request this Court grant this Motion and

         19     enter the accompanying proposed preliminary injunction.

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                                                   Title 3—                                            Executive Order 14210 of February 11, 2025

                                                   The President                                       Implementing the President’s ‘‘Department of Government Ef-
                                                                                                       ficiency’’ Workforce Optimization Initiative

                                                                                                       By the authority vested in me as President by the Constitution and the
                                                                                                       laws of the United States of America, it is hereby ordered:
                                                                                                       Section 1. Purpose. To restore accountability to the American public, this
                                                                                                       order commences a critical transformation of the Federal bureaucracy. By
                                                                                                       eliminating waste, bloat, and insularity, my Administration will empower
                                                                                                       American families, workers, taxpayers, and our system of Government itself.
                                                                                                       Sec. 2. Definitions. (a) ‘‘Agency’’ has the meaning given to it in section
                                                                                                       3502 of title 44, United States Code, except that such term does not include
                                                                                                       the Executive Office of the President or any components thereof.
                                                                                                         (b) ‘‘Agency Head’’ means the highest-ranking official of an agency, such
                                                                                                       as the Secretary, Administrator, Chairman, or Director, unless otherwise
                                                                                                       specified in this order.
                                                                                                          (c) ‘‘DOGE Team Lead’’ means the leader of the Department of Government
                                                                                                       Efficiency (DOGE) Team at each agency, as defined in Executive Order
                                                                                                       14158 of January 20, 2025 (Establishing and Implementing the President’s
                                                                                                       ‘‘Department of Government Efficiency’’).
                                                                                                         (d) ‘‘Employee’’ has the meaning given to it by section 2105 of title
                                                                                                       5, United States Code, and includes individuals who serve in the executive
                                                                                                       branch and who qualify as employees under that section for any purpose.
                                                                                                          (e) ‘‘Immigration enforcement’’ means the investigation, enforcement, or
                                                                                                       assisting in the investigation or enforcement of Federal immigration law,
                                                                                                       including with respect to Federal immigration law that penalizes a person’s
                                                                                                       presence in, entry, or reentry to, or employment in, the United States,
                                                                                                       but does not include assisting individuals in applying for immigration bene-
                                                                                                       fits or efforts to prevent enforcement of immigration law or to prevent
                                                                                                       deportation or removal from the United States.
                                                                                                          (f) ‘‘Law enforcement’’ means:
                                                                                                          (i) engagement in or supervision of the prevention, detection, investigation,
                                                                                                          or prosecution of, or the incarceration of any person for, any violation
                                                                                                          of law; or
                                                                                                         (ii) the protection of Federal, State, local, or foreign government officials
                                                                                                         against threats to personal safety.
                                                                                                         (g) ‘‘Temporary employee’’ has the meaning given to it in 5 C.F.R. part
                                                                                                       316.
                                                                                                          (h) ‘‘Reemployed annuitant’’ has the meaning given to it in 5 C.F.R.
                                                                                                       part 837.
                                                                                                       Sec. 3. Reforming the Federal Workforce to Maximize Efficiency and Produc-
                                                                                                       tivity. (a) Hiring Ratio. Pursuant to the Presidential Memorandum of January
                                                                                                       20, 2025 (Hiring Freeze), the Director of the Office of Management and
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                                                                                                       Budget shall submit a plan to reduce the size of the Federal Government’s
                                                                                                       workforce through efficiency improvements and attrition (Plan). The Plan
                                                                                                       shall require that each agency hire no more than one employee for every
                                                                                                       four employees that depart, consistent with the plan and any applicable
                                                                                                       exemptions and details provided for in the Plan. This order does not affect
                                                                                                       the standing freeze on hiring as applied to the Internal Revenue Service.
                                                                                                       This ratio shall not apply to functions related to public safety, immigration


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                                                                                                       enforcement, or law enforcement. Agency Heads shall also adhere to the
                                                                                                       Federal Hiring Plan that will be promulgated pursuant to Executive Order
                                                                                                       14170 of January 20, 2025 (Reforming the Federal Hiring Process and Restor-
                                                                                                       ing Merit to Government Service).
                                                                                                         (b) Hiring Approval. Each Agency Head shall develop a data-driven plan,
                                                                                                       in consultation with its DOGE Team Lead, to ensure new career appointment
                                                                                                       hires are in highest-need areas.
                                                                                                         (i) This hiring plan shall include that new career appointment hiring
                                                                                                         decisions shall be made in consultation with the agency’s DOGE Team
                                                                                                         Lead, consistent with applicable law.
                                                                                                          (ii) The agency shall not fill any vacancies for career appointments that
                                                                                                          the DOGE Team Lead assesses should not be filled, unless the Agency
                                                                                                          Head determines the positions should be filled.
                                                                                                          (iii) Each DOGE Team Lead shall provide the United States DOGE Service
                                                                                                          (USDS) Administrator with a monthly hiring report for the agency.
                                                                                                          (c) Reductions in Force. Agency Heads shall promptly undertake prepara-
                                                                                                       tions to initiate large-scale reductions in force (RIFs), consistent with applica-
                                                                                                       ble law, and to separate from Federal service temporary employees and
                                                                                                       reemployed annuitants working in areas that will likely be subject to the
                                                                                                       RIFs. All offices that perform functions not mandated by statute or other
                                                                                                       law shall be prioritized in the RIFs, including all agency diversity, equity,
                                                                                                       and inclusion initiatives; all agency initiatives, components, or operations
                                                                                                       that my Administration suspends or closes; and all components and employ-
                                                                                                       ees performing functions not mandated by statute or other law who are
                                                                                                       not typically designated as essential during a lapse in appropriations as
                                                                                                       provided in the Agency Contingency Plans on the Office of Management
                                                                                                       and Budget website. This subsection shall not apply to functions related
                                                                                                       to public safety, immigration enforcement, or law enforcement.
                                                                                                         (d) Rulemaking. Within 30 days of the date of this order, the Director
                                                                                                       of the Office of Personnel Management (OPM) shall initiate a rulemaking
                                                                                                       that proposes to revise 5 C.F.R. 731.202(b) to include additional suitability
                                                                                                       criteria, including:
                                                                                                         (i) failure to comply with generally applicable legal obligations, including
                                                                                                         timely filing of tax returns;
                                                                                                          (ii) failure to comply with any provision that would preclude regular
                                                                                                          Federal service, including citizenship requirements;
                                                                                                          (iii) refusal to certify compliance with any applicable nondisclosure obliga-
                                                                                                          tions, consistent with 5 U.S.C. 2302(b)(13), and failure to adhere to those
                                                                                                          compliance obligations in the course of Federal employment; and
                                                                                                         (iv) theft or misuse of Government resources and equipment, or negligent
                                                                                                         loss of material Government resources and equipment.
                                                                                                         (e) Developing Agency Reorganization Plans. Within 30 days of the date
                                                                                                       of this order, Agency Heads shall submit to the Director of the Office
                                                                                                       of Management and Budget a report that identifies any statutes that establish
                                                                                                       the agency, or subcomponents of the agency, as statutorily required entities.
                                                                                                       The report shall discuss whether the agency or any of its subcomponents
                                                                                                       should be eliminated or consolidated.
                                                                                                         (f) Within 240 days of the date of this order, the USDS Administrator
                                                                                                       shall submit a report to the President regarding implementation of this
                                                                                                       order, including a recommendation as to whether any of its provisions
                                                                                                       should be extended, modified, or terminated.
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                                                                                                       Sec. 4. Exclusions. (a) This order does not apply to military personnel.
                                                                                                         (b) Agency Heads may exempt from this order any position they deem
                                                                                                       necessary to meet national security, homeland security, or public safety
                                                                                                       responsibilities.
                                                                                                         (c) The Director of OPM may grant exemptions from this order where
                                                                                                       those exemptions are otherwise necessary and shall assist in promoting
                                                                                                       workforce reduction.


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                                                                                                       Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                                                                                       to impair or otherwise affect:
                                                                                                         (i) the authority granted by law to an executive department, agency, or
                                                                                                         the head thereof; or
                                                                                                         (ii) the functions of the Director of the Office of Management and Budget
                                                                                                         relating to budgetary, administrative, or legislative proposals.
                                                                                                         (b) This order shall be implemented consistent with applicable law and
                                                                                                       subject to the availability of appropriations.
                                                                                                         (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                       substantive or procedural, enforceable at law or in equity by any party
                                                                                                       against the United States, its departments, agencies, or entities, its officers,
                                                                                                       employees, or agents, or any other person.




                                                                                                       THE WHITE HOUSE,
                                                                                                       February 11, 2025.


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                            U.S. Office of                                   U.S. Office of
                            Management and Budget                    Personnel Management


                                               MEMORANDUM

            TO:                     Heads of Executive Departments and Agencies
            FROM:                   Russell T. Vought, Director, Office of Management and Budget;
                                    Charles Ezell, Acting Director, Office of Personnel Management.

            DATE:                   February 26, 2025
            RE:                     Guidance on Agency RIF and Reorganization Plans Requested by
                                    Implementing The President’s “Department of Government
                                    Efficiency” Workforce Optimization Initiative


                  I.      Background
                  The federal government is costly, inefficient, and deeply in debt. At the same time, it is not
           producing results for the American public. Instead, tax dollars are being siphoned off to fund
           unproductive and unnecessary programs that benefit radical interest groups while hurting hard-
           working American citizens.

                   The American people registered their verdict on the bloated, corrupt federal bureaucracy
           on November 5, 2024 by voting for President Trump and his promises to sweepingly reform the
           federal government.

                  On February 11, 2025, President Trump’s Executive Order Implementing The President’s
           “Department of Government Efficiency” Workforce Optimization Initiative (Workforce
           Optimization) “commence[d] a critical transformation of the Federal bureaucracy.” It directed
           agencies to “eliminat[e] waste, bloat, and insularity” in order to “empower American families,
           workers, taxpayers, and our system of Government itself.”

                    President Trump required that “Agency Heads shall promptly undertake preparations to
           initiate large-scale reductions in force (RIFs), consistent with applicable law.” President Trump
           also directed that, no later than March 13, 2025, agencies develop Agency Reorganization Plans.

                The U.S. Office of Management and Budget (“OMB”) and the U.S. Office of Personnel
           Management (“OPM”) now submit guidance on these Agency RIF and Reorganization Plans
           (“ARRP”), along with the instruction that such plans be submitted to OMB and OPM.

                  II.     Principles to Inform ARRPs

                  ARRPs should seek to achieve the following:

                  1. Better service for the American people;




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                  2. Increased productivity;

                  3. A significant reduction in the number of full-time equivalent (FTE) positions by
                     eliminating positions that are not required;

                  4. A reduced real property footprint; and

                  5. Reduced budget topline.

                  Pursuant to the President’s direction, agencies should focus on the maximum elimination
           of functions that are not statutorily mandated while driving the highest-quality, most efficient
           delivery of their statutorily-required functions.

                  Agencies should also seek to consolidate areas of the agency organization chart that are
           duplicative; consolidate management layers where unnecessary layers exist; seek reductions in
           components and positions that are non-critical; implement technological solutions that automate
           routine tasks while enabling staff to focus on higher-value activities; close and/or consolidate
           regional field offices to the extent consistent with efficient service delivery; and maximally reduce
           the use of outside consultants and contractors. When taking these actions, agencies should align
           closures and/or relocation of bureaus and offices with agency return-to-office actions to avoid
           multiple relocation benefit costs for individual employees.

                  Agencies should review their statutory authority and ensure that their plans and actions are
           consistent with such authority.

                  Agency heads should collaborate with their Department of Government Efficiency
           (“DOGE”) team leads within the agency in developing competitive areas for ARRPs. In addition,
           the agency should specifically identify competitive areas that include positions not typically
           designated as essential during a lapse in appropriations. When making this determination, agencies
           should refer to the functions that are excepted from the Antideficiency Act (ADA) in the Agency
           Contingency Plans submitted to OMB in 2019 as the starting point for making this determination.

                  III.    Available Tools

                   In their ARRPs, agencies should employ all available tools to effectuate the President’s
           directive for a more effective and efficient government and describe how they will use each. Such
           tools include:

              1. Continuing to comply with the hiring freeze outlined in the January 20, 2025 Presidential
                 Memorandum Hiring Freeze or (with approval of OPM and OMB) implementing the
                 general principle that, subject to appropriate exemptions, no more than one employee
                 should be hired for every four employees that depart;

              2. Establishing internal processes that ensure agency leadership has visibility and/or direct
                 sign-off on all potential job offers and candidates prior to extending offers;



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              3. Eliminating non-statutorily mandated functions through RIFs (Appendix 1 contains a
                 sample timeline);

              4. Removing underperforming employees or employees engaged in misconduct, and
                 continuing to evaluate probationary employees;

              5. Reducing headcount through attrition and allowing term or temporary positions to expire
                 without renewal;

              6. Separating reemployed annuitants in areas likely subject to RIFs; and

              7. Renegotiating provisions of collective bargaining agreements (CBAs) that would inhibit
                 enhanced government efficiency and employee accountability.

                   ARRPs should also list the competitive areas for large-scale reductions in force, the RIF
           effective dates (which may be a date prior to when the plan is submitted), the expected conclusion
           of the RIFs, the number of FTEs reduced, and additional impact of RIFs such as cancellation of
           related contracts, leases or overhead.

                  Agencies should also closely consider changes to regulations and agency policies,
           including changes that must be pursued through notice-and-comment rulemaking, that would lead
           to the reduction or elimination of agency subcomponents or speed up the implementation of
           ARRPs.

                  IV.     Phase 1 ARRPs

                   Each agency will submit a Phase 1 ARRPs to OMB and OPM for review and approval no
           later than March 13, 2025. Phase 1 ARRPs shall focus on initial agency cuts and reductions.
           Each Phase 1 ARRP should identify:

              1. A list of agency subcomponents or offices that provide direct services to citizens. Such
                 subcomponents or offices should be included in ARRPs to improve services to citizens
                 while eliminating costs and reducing the size of the federal government. But for service
                 delivery subcomponents or offices, implementation shall not begin until certified by OMB
                 and OPM as resulting in a positive effect on the delivery of such services.

              2. Any statutes that establish the agency, or subcomponents of the agency, as statutorily
                 required entities. Agency leadership must confirm statutes have not been interpreted in a
                 way that expands requirements beyond what the statute actually requires. Instead, statutes
                 should be interpreted to cover only what functions they explicitly require.

              3. All agency components and employees performing functions not mandated by statute or
                 regulation who are not typically designated as essential during a lapse in appropriations
                 (because the functions performed by such employees do not fall under an exception to the
                 ADA) using the Agency Contingency Plans submitted to OMB in 2019 referenced above.



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              4. Whether the agency or any of its subcomponents should be eliminated or consolidated; and
                 which specific subcomponents or functions, if any, should be expanded to deliver on the
                 President’s priorities.

              5. The specific tools the agency intends to use to achieve efficiencies, including, as to each,
                 the number of FTEs reduced and any potential savings or costs associated with such actions
                 in Fiscal Years 2025, 2026 and 2027:

                  a. Continuation of the current hiring freeze;
                  b. Regular attrition (e.g., retirement, movement between agencies and the private sector);
                  c. Attrition through enhanced policies governing employee performance and conduct;
                  d. Attrition through the termination or non-renewal of term or limited positions or
                     reemployed annuitants;
                  e. Attrition achieved by RIFs. Please refer to Appendix 1 for specific steps and timing.
                     For purposes of the Phase 1 ARRP, the agency should include the following
                     information:

                        i. The competitive areas and organizational components that the agency has
                           targeted or will target for initial RIFs, and
                       ii. The agency’s target for reductions in FTE positions via RIFs.

              6. A list by job position of all positions categorized as essential for purposes of exclusion
                 from large-scale RIFs, including the number per each job position and total by agency and
                 subcomponent.

              7. The agency’s suggested plan for congressional engagement to gather input and agreement
                 on major restructuring efforts and the movement of fundings between accounts, as
                 applicable, including compliance with any congressional notification requirements.


              8. The agency’s timetable and plan for implementing each part of its Phase 1 ARRP.

                  V.     Phase 2 ARRPs

                   Agencies should then submit a Phase 2 ARRP to OMB and OPM for review and approval
           no later than April 14, 2025. Phase 2 plans shall outline a positive vision for more productive,
           efficient agency operations going forward. Phase 2 plans should be planned for implementation by
           September 30, 2025. The Phase 2 plan should include the following additional information:

              1. The agency’s proposed future-state organizational chart with its functional areas,
                 consolidated management hierarchy, and position titles and counts clearly depicted.

              2. Confirmation that the agency has reviewed all personnel data, including each employee’s
                 official position description, four most recent performance ratings of record, retention
                 service computation date, and veterans’ preference status.

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              3. The agency’s plan to ensure that employees are grouped, to the greatest extent possible,
                 based on like duties and job functions to promote effective collaboration and management,
                 and that the agency’s real estate footprint is aligned with cross-agency efforts coordinated
                 by GSA to establish regional federal office hubs.

              4. Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
                 National Capital Region to less-costly parts of the country.

              5. The competitive areas for subsequent large-scale RIFs.

              6. All reductions, including FTE positions, term and temporary positions, reemployed
                 annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.

              7. Any components absorbing functions, including how this will be achieved in terms of FTE
                 positions, funding, and space.

              8. The agency’s internal processes that ensure agency leadership has visibility and/or direct
                 sign-off on all potential job offers and candidates prior to extending offers.

              9. The agency’s data-driven plan to ensure new career appointment hires are in highest-need
                 areas and adhere to the general principle that, subject to appropriate exemptions, no more
                 than one employee should be hired for every four employees that depart. Until the agency
                 has finalized its post-hiring-freeze plan, agencies should continue to adhere to the current
                 hiring freeze.

              10. Any provisions of collective bargaining agreements that would inhibit government
                  efficiency and cost-savings, and agency plans to renegotiate such provisions.

              11. An explanation of how the ARRPs will improve services for Americans and advance the
                  President’s policy priorities.

              12. The framework and criteria the agency has used to define and determine efficient use of
                  existing personnel and funds to improve services and the delivery of these services.

              13. For agencies that provide direct services to citizens (such as Social Security, Medicare, and
                  veterans’ health care), the agency’s certification that implementation of the ARRPs will
                  have a positive effect on the delivery of such services. The certification should include a
                  written explanation from the Agency Head and, where appropriate, the agency’s CIO and
                  any relevant program manager.

              14. The programs and agency components not impacted by the ARRP, and the justification for
                  any exclusion.



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              15. Plans to reduce costs and promote efficiencies through improved technology, including
                  through the adoption of new software or systems, and elimination of duplicative systems.

              16. Any changes to regulations and agency policies, including changes that must be pursued
                  through notice-and-comment rulemaking, that would lead to the reduction or elimination
                  of agency subcomponents, or speed up implementation of ARRPs.

              17. The agency’s timetable and plan for implementing each part of its Phase 2 ARRP, and its
                  plan for monitoring and accountability in implementing its ARRPs.

                  Agencies should continue sending monthly progress reports each month on May 14, 2025,
           June 16, 2025, and July 16, 2025. All plans and reports requested by this memorandum should be
           submitted to OPM at tracking@opm.gov and OMB at workforce@omb.eop.gov; when submitting
           plans and reports, please ensure both OPM and OMB addresses are included on the message.

                  VI.    Exclusions

                  Nothing in this memorandum shall have any application to:

              1. Positions that are necessary to meet law enforcement, border security, national security,
                 immigration enforcement, or public safety responsibilities;

              2. Military personnel in the armed forces and all Federal uniformed personnel, including the
                 U.S. Coast Guard, the Commissioned Corps of the U.S. Public Health Service, and the
                 Commissioned Officer Corps of the National Oceanic and Atmospheric Administration;

              3. Officials nominated and appointed to positions requiring Presidential appointment or
                 Senate confirmation, non-career positions in the Senior Executive Service or Schedule C
                 positions in the excepted service, officials appointed through temporary organization hiring
                 authority pursuant to 5 U.S.C. § 3161, or the appointment of any other non-career
                 employees or officials, if approved by agency leadership appointed by the President;

              4. The Executive Office of the President; or

              5. The U.S. Postal Service.

                  Finally, agencies or components that provide direct services to citizens (such as Social
           Security, Medicare, and veterans’ health care) shall not implement any proposed ARRPs until
           OMB and OPM certify that the plans will have a positive effect on the delivery of such services.

           cc: Chief Human Capital Officers (“CHCOs”), Deputy CHCOs, Human Resources Directors,
           Chiefs of Staff, and DOGE team leads.




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                                        Appendix 1- Sample RIF Timeline

                   This sample timeline is prepared in accordance with the U.S. Office of Personnel
           Management Workforce Reshaping Operations Handbook. RIF timing may vary based on
           agency-specific requirements, collective bargaining agreements, and workforce considerations.
           Agencies can accelerate these timelines through parallel processing, securing OPM waivers to
           policy, expediting process steps, and streamlining stakeholder coordination.

           Step 1: Identification of Competitive Areas and Levels (by March 13, 2025 for Phase 1
           ARRPs)

              1. Identify competitive areas and levels and determine which positions may be affected. If
                 applicable, seek OPM waiver approval to adjust competitive areas within 90 days of the
                 RIF effective date.
              2. For Phase 1 ARRPs, this step should be completed no later than March 13, 2025.

           Step 2: Planning, Preparation & Analysis (up to 30 days)

              1. Explore use of VSIP/VERA.
              2. Conduct an impact assessment.
              3. Review position descriptions for accuracy, validate competitive levels, and verify
                 employee retention data (e.g., veteran preference, service computation dates).
              4. Develop retention register.
              5. Draft RIF notices and seek OPM waiver approval for a 30-day notification period.
              6. Develop transition materials.
              7. Notify unions (if required).
              8. Prepare congressional notification (if required).

           Step 3: Formal RIF Notice Period (60 days, shortened to 30 days with an OPM waiver)

              1. Issue official RIF notices.
              2. Provide employees with appeal rights, career transition assistance, and priority placement
                 options.
              3. Execute any required congressional notification and notice to the Department of Labor,
                 state, and local officials, if applicable.

           Step 4: RIF Implementation & Separation (Final Step)

              1. Officially implement separations, reassignments, or downgrades.
              2. Provide final benefits counseling, exit processing, and documentation.
              3. Update HR systems and notify OPM of personnel actions.




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             Appendix C: Plaintiff Declarations By Federal Defendant Agency, With Accompanying
                                             ECF Docket Numbers

               Federal         Union Plaintiff        Non-Profit          Local Government
              Defendant         Declarations         Organization        Plaintiff Declarations
               Agency                                  Plaintiff
                                                     Declarations
                            - Blake (AFSCME)      - Benjamin (APHA)   - Dively (King County)
                              (37-6)               (37-36)             (41-6)
            AmeriCorps
                            - Daly (AFSCME)
                              (37-12)
                            - Kelley (AFGE)       - Shultz (AGU)      - Barton (Harris County)
                            (37-23)                 (37-45)             (37-46)
                          - Soldner (AFGE)        - Davis (NOFA)      - Dively (King County)
                            (37-31)                 (37-37)             (41-6)
                          - Bachelder             - Molvar (WWP)      - Williams (Santa Clara
                            (AFSCME) (37-4)         (37-40)             County) (37-58)
            Department of - Blake (AFSCME)        - McKinzie          - Supp. Williams (Santa
            Agriculture     (37-6)                  (NRDC)*             Clara County)*
                          - O’Brien (AFSCME)                          - Crispen (San Francisco)
                            (41-5)                                      (37-49)
                          - Adler (SEIU) (37-3)

                          - Neuman (SEIU)
                            (37-26)
                            - Kelley (AFGE)       - Shultz (AGU)      - Leach (Baltimore) (37-54)
                             (37-23)                (37-45)           - Velez (Chicago) (37-57)
                                                  - Neubacher         - Pena (Harris County)
                                                    (CPANP) (37-41)     (37-55)
                                                  - McKinzie          - Dively (King County)
            Department of                           (NRDC)*             (41-6)
            Commerce
                                                  - Asmutis-Silvia
                                                                      - Williams (Santa Clara
                                                    (NRDC)*             County) (37-58)
                                                  - Molvar (WWP)      - Bechelli (San Francisco)
                                                    (37-40)
                                                                      - Jue (San Francisco)


                            - Braden (AFGE)       - Shultz (AGU)      - Leach (Baltimore) (37-54)
                              (37-8)                (37-45)           - Dively (King County)
            Department of   - Kelley (AFGE)       - McKinzie            (41-6)
            Energy            (37-23)               (NRDC)*           - Jue (San Francisco)
                                                                        (37-53)


                                                      1

                                                  Add.609
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               Federal         Union Plaintiff         Non-Profit          Local Government
              Defendant         Declarations          Organization        Plaintiff Declarations
               Agency                                   Plaintiff
                                                      Declarations
                           - Gabel (AFSCME)
                            (37-15)
                           - Howell (AFGE)         - Shultz (AGU)      - Leach (Baltimore) (37-54)
                            (37-19)                  (37-45)           - Ige (Chicago) (37-52)
                          - Kelley (AFGE)          - Cunningham        - Worthington (Chicago)
                            (37-23)                  (NRDC)*             (37-59)
            Environmental - Dreyfus (AFGE          - McKinzie
                                                                       - Dively (King County)
            Protection      Local 1236) (37-13)      (NRDC)*             (41-6)
            Agency
                          - Bailey (SEIU) (37-5)   - Olson (NRDC)*     - Williams (Santa Clara
                          - Neuman (SEIU)          - Molvar (WWP)        County) (37-58)
                            (37-26)                  (37-40)           - Jue (San Francisco)
                                                                         (37-53)
                           - Fabris (AFGE)
                             (37-14)
            General        - Kelley (AFGE)
            Services         (37-23)
            Administration - Adler (SEIU) (37-3)
                           - Neuman (SEIU)
                             (37-26)
                           - Garthwaite (AFGE)     - Benjamin (APHA)   - Leach (Baltimore) (37-54)
                             (37-13)                 (37-36)           - Ige (Chicago) (37-52)
                           - Jacobs (AFGE)         - McKinzie
                                                                       - Barton (Harris County)
                             (37-21)                 (NRDC)*             (37-46)
                           - Kelley (AFGE)         - Olson (NRDC)*     - Pena (Harris County)
                             (37-23)               - Sass (NRDC)*        (37-55)
                           - Niemeier-Walsh                            - Dively (King County)
            Department of (AFGE) (41-4)
                                                                         (41-6)
            Health and
                           - Gabel (AFSCME)
            Human                                                      - Williams (Santa Clara
                             (37-15)                                     County) (37-58)
            Services
                           - O’Brien (AFSCME)                          - Supp. Williams (Santa
                             (41-5)                                      Clara County)*
                           - Adler (SEIU) (37-3)                       - Philip (San Francisco)
                           - Neuman (SEIU)                               (37-56)
                             (37-26)
                           - Woodard (SEIU
                             Local 521)*

                                                       2

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               Federal         Union Plaintiff        Non-Profit          Local Government
              Defendant         Declarations         Organization        Plaintiff Declarations
               Agency                                  Plaintiff
                                                     Declarations
                           - Prendiville (SEIU
                            Local 1021) (37-30)
                           - Bobbitt (AFGE)                           - Leach (Baltimore) (37-54)
                            (41-1)                                    - Dively (King County)
                          - Kelley (AFGE)                               (41-6)
                            (37-23)                                   - Williams (Santa Clara
                          - O’Brien (AFSCME)                            County) (37-58)
            Department of (41-5)
            Housing and   - Adler (SEIU) (37-3)
            Urban
            Development - Neuman (SEIU)
                            (37-26)
                          - Woodard (SEIU
                            Local 521)*
                          - Wander (SEIU Local
                            1000) (37-34)
                           - Cochran (AFGE)       - Shultz (AGU)      - Dively (King County)
                            (41-2)                  (37-45)             (41-6)
                          - Kelley (AFGE)         - Neubacher         - Williams (Santa Clara

            Department of (37-23)                   (CPANP) (37-41)     County) (37-58)
            the Interior  - Adler (SEIU) (37-3)   - McKinzie          - Bechelli (San Francisco)

                          - Neuman (SEIU)           (NRDC)*             (37-47)
                            (37-26)               - Molvar (WWP)
                                                    (37-40)
                           - Gamble (AFGE)                            - Campos (Chicago)
                            (37-16)                                    (37-48)
                          - Gamble Reply
                            (AFGE) (70-2)
                          - Levin (AFGE)
                            (37-24)
            Department of - Kelley (AFGE)
            Labor           (37-23)
                          - O’Brien (AFSCME)
                            (41-5)
                          - Adler (SEIU) (37-3)

                          - Neuman (SEIU)
                            (37-26)

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               Federal         Union Plaintiff         Non-Profit            Local Government
              Defendant         Declarations          Organization          Plaintiff Declarations
               Agency                                   Plaintiff
                                                      Declarations
                           - O’Brien (AFSCME)
            National         (41-5)
            Labor
                           - Neuman (SEIU)
            Relations
            Board            (37-26)

                           - Kelley (AFGE)         - Shultz (AGU)
                             (37-23)                 (37-45)
                           - Soriano (AFGE)        - Molvar (WWP)
                             (37-32)                 (37-40)
            National
            Science        - Supp. Soriano
            Foundation       (AFGE) (96-1)
                           - Adler (SEIU) (37-3)

                           - Neuman (SEIU)
                             (37-26)
                           - Black (AFSCME)*
            Peace Corps
                           - Gustafsson (AFGE)     - Phetteplace (MSA)   - Dively (King County)
                             (37-18)                (37-43)                (41-6)
                           - Kelley (AFGE)                               - Bechelli (San Francisco)
            Small            (37-23)                                       (37-47)
            Business
                           - O’Brien (AFSCME)
            Administration
                             (41-5)
                           - Neuman (SEIU)
                             (37-26)
                           - Couture (AFGE )       - Fiesta (ARA)
                             (37-11)                (37-39)
                           - Kelley (AFGE)
                             (37-23)
                           - Wilson (AFGE Local
            Social
            Security         1122) (37-35)
            Administration - Norman (AFGE
                             Local 3172) (37-28)
                           - O’Brien (AFSCME)
                             (41-5)
                           - Adler (SEIU) (37-3)




                                                       4

                                                   Add.612
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               Federal          Union Plaintiff           Non-Profit           Local Government
              Defendant          Declarations            Organization         Plaintiff Declarations
               Agency                                      Plaintiff
                                                         Declarations
                            - Prendiville (SEIU
                              Local 1021) (37-30)
                            - Jefferies (SEIU Local
                              1000) (37-22)
                            - Hunter (AFGE)                                 - Dively (King County)
                            (37-20)                                           (41-6)
                          - Supp. Hunter                                    - Williams (Santa Clara
                            (AFGE) (96-2)                                     County) (37-58)
            Department of - Kelley (AFGE)
            State           (37-23)
                          - Adler (SEIU) (37-3)

                          - Neuman (SEIU)
                            (37-26)
                            - Kelley (AFGE)                                 - Dively (King County)
                             (37-23)                                          (41-6)
                           - Blake (AFSCME)                                 - Leach (Baltimore) (37-54)
                             (37-6)
            Department of - O’Brien (AFSCME)
            Transportation (41-5)
                           - Bailey (SEIU) (37-5)

                           - Neuman (SEIU)
                             (37-26)
                            - Kelley (AFGE)           - Olson (CTR)
                            (37-23)                    (37-42)
                          - O’Brien (AFSCME)
            Department of (41-5)
            Treasury
                          - Adler (SEIU) (37-3)

                          - Neuman (SEIU)
                            (37-26)
                            - Burke (AFGE) (37-9)     - Shah (Common        - Dively (King County)

                            - Kelley (AFGE)             Defense) (37-44)      (41-6)
            Department of     (37-23)                 - Eaton (Vote Vets)   - Williams (Santa Clara
            Veterans                                    (37-38)               County) (37-58)
                            - Turner-Nichols
            Affairs
                              (AFGE Local 2110)
                              (37-33)


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               Federal         Union Plaintiff         Non-Profit           Local Government
              Defendant         Declarations          Organization         Plaintiff Declarations
               Agency                                   Plaintiff
                                                      Declarations
                           - Blake (AFSCME)
                             (37-6)
                           - O’Brien (AFSCME)
                             (41-5)
                           - Neuman (SEIU)
                             (37-26)
                           - Bailey (SEIU) (37-5)




           * Filed concurrently with Plaintiffs’ Motion for Preliminary Injunction




                                                        6

                                                    Add.614
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                                       1

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                                       4                                     UNITED STATES DISTRICT COURT

                                       5                                    NORTHERN DISTRICT OF CALIFORNIA

                                       6

                                       7     AMERICAN FEDERATION OF                            Case No. 25-cv-03698-SI
                                             GOVERNMENT EMPLOYEES, AFL-CIO,
                                       8     et al.,
                                                                                               ORDER RE: PRODUCTION OF
                                       9                      Plaintiffs,                      CERTAIN DISCOVERY DOCUMENTS
                                      10               v.                                      Re: Dkt. No. 88
                                      11     DONALD J. TRUMP, et al.,
                                      12                      Defendants.
    Northern District of California
     United States District Court




                                      13

                                      14          This order addresses the government’s request to reconsider, rescind, and/or otherwise

                                      15   modify the Court’s order that the government must produce Agency RIF1 and Reorganization Plans

                                      16   (ARRPs) on an expedited basis. Pursuant to the President’s Executive Order 14210 and a February

                                      17   26, 2025 joint memorandum, the Office of Management and Budget (OMB) and the Office of

                                      18   Personnel Management (OPM) required the heads of federal departments and agencies to submit

                                      19   “Phase 1” and “Phase 2” ARRPs by March 13 and April 14. Dkt. No. 37-1, Exs. A, B. In its May

                                      20   9, 2025 order granting a temporary restraining order, the Court ordered the ARRPs of the federal

                                      21   agency defendants produced (both the ARRPs the agencies submitted and the versions that OMB

                                      22   and OPM approved). Dkt. No. 85 at 40.

                                      23          The government now argues that these plans “are simply irrelevant to future proceedings in

                                      24   this Court,” that the plans are covered by the deliberative process privilege, and that “[n]othing in

                                      25   an ARRP irrevocably commits an agency to taking any specific step.” Dkt. No. 88 (“Mot.”) at 3, 4

                                      26   & n.4. Meanwhile, heads of defendant agencies have announced their intent to lay off large swathes

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                                                  1
                                                      A “RIF” is a reduction in force.

                                                                                   Add.615
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                                       1   of their agencies, and employees are receiving RIF notices.2 Based on the positions the parties have

                                       2   staked out thus far, it is clear this case is headed toward a factual dispute: did President Trump,

                                       3   OPM, OMB, and DOGE simply instruct agencies to begin planning for RIFs in the future and

                                       4   provide guidance on how to make those plans? Or are these defendants directing agencies to make

                                       5   “large-scale” RIFs and to make them now? If the government’s position is to be believed—that the

                                       6   ARRPs are non-final planning documents that do not commit an agency to take any specific action—

                                       7   that begs another question: pursuant to what, then, are the agencies implementing their large-scale

                                       8   RIFs?

                                       9           On May 9, 2025, this Court issued a temporary restraining order putting in place a two-week

                                      10   pause on implementation of RIFs at the defendant agencies, in order to preserve the status quo while

                                      11   this case can be more fully litigated. At that point, the Court had received more than 1,000 pages

                                      12   of declarations in support of plaintiffs’ position and no evidence to support the government’s
    Northern District of California
     United States District Court




                                      13   contentions. The temporary restraining order is set to expire on May 23, 2025, and the Court set a

                                      14   preliminary injunction hearing for May 22 at 10:30 a.m.

                                      15           Given the gravity of what defendants assert is at issue, and in the interest of transparency,

                                      16   the Court now reconsiders the question of whether defendants must provide copies of ARRPs to

                                      17   plaintiffs and the Court.

                                      18

                                      19                                            BACKGROUND

                                      20           In its May 9, 2025 order, the Court ordered defendants to provide to the Court and to

                                      21   plaintiffs the following categories of documents: “(1) the versions of all defendant agency ARRPs

                                      22   submitted to OMB and OPM, (2) the versions of all defendant agency ARRPs approved by OMB

                                      23   and OPM, (3) any agency applications for waivers of statutorily-mandated RIF notice periods, and

                                      24

                                      25           2
                                                    See, e.g., Am. Compl. ¶ 20 & n.11 (March 27 press release that the Department of Health
                                      26   and Human Services plans to RIF 10,000 employees), ¶ 20 n. 13 (Environmental Protection Agency
                                           RIF notices sent to certain staff, and agency head targeting 65% budget cut), ¶ 213 & n.63 (March
                                      27   21 Small Business Administration announcement of plan to reduce workforce by 43%, pursuant to
                                           Executive Order 14210), ¶¶ 251-252 (National Science Foundation’s 37 divisions are being
                                      28   abolished and RIF notices to some staff went out on May 9).

                                                                                 Add.616 2
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                                       1   (4) any responses by OMB or OPM to such waiver requests[.]”3 Dkt. No. 85 at 40. The Court

                                       2   ordered this production because it “requires more information to evaluate the individual ARRPs and

                                       3   what roles OMB, OPM, and DOGE have played in shaping them.” Id. at 39. The Court set a

                                       4   production deadline of 4:00 p.m. (PDT) on May 13, 2025. Id.

                                       5          On May 11, 2025, defendants moved for a protective order or in the alternative for

                                       6   reconsideration and request for an immediate administrative stay of the Court’s discovery order.

                                       7   Dkt. No. 88 (“Mot.”). Defendants support their arguments with a declaration from Stephen Billy, a

                                       8   Senior Advisor in the Office of Management and Budget. Dkt. No. 88-1 (“Decl. Billy”).

                                       9          The Court set a briefing schedule on defendants’ motion and stayed the deadline for the

                                      10   government to produce the materials until after the Court ruled on the motion. Dkt. No. 92.

                                      11   Plaintiffs have filed an opposition and the government has filed a reply. Dkt. Nos. 96, 103.

                                      12
    Northern District of California
     United States District Court




                                      13                                             DISCUSSION

                                      14          Defendants invoke the deliberative process privilege to argue that they should not be

                                      15   compelled to release the ARRPs. As the Ninth Circuit has explained,

                                      16          This privilege permits the government to withhold documents that reflect advisory
                                                  opinions, recommendations and deliberations comprising part of a process by which
                                      17          government decisions and policies are formulated. NLRB v. Sears, Roebuck & Co.,
                                                  421 U.S. 132, 150, 95 S.Ct. 1504, 1516, 44 L.Ed.2d 29 (1975). It was developed to
                                      18          promote frank and independent discussion among those responsible for making
                                                  governmental decisions, Environmental Protection Agency v. Mink, 410 U.S. 73, 87,
                                      19          93 S.Ct. 827, 836, 35 L.Ed.2d 119 (1973), and also to protect against premature
                                                  disclosure of proposed agency policies or decisions. Coastal States Gas Corp. v.
                                      20          Department of Energy, 617 F.2d 854, 866 (D.C. Cir.1980). The ultimate purpose of
                                                  the privilege is to protect the quality of agency decisions. Sears, 421 U.S. at 151, 95
                                      21          S.Ct. at 1517.
                                      22   F.T.C. v. Warner Commc’ns Inc., 742 F.2d 1156, 1161 (9th Cir. 1984).

                                      23          To resolve whether the government may assert the deliberative process privilege to avoid

                                      24   production of ARRPs involves asking several questions. First, are the documents relevant to the

                                      25   litigation? If so, are the documents of the nature to be covered by the privilege—that is, are they

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                                      27          3
                                                     Plaintiffs had asked for disclosure of “current versions” of ARRPs. The Court provided
                                      28   greater specificity in its order to assist in evaluating one of the core factual disputes between the
                                           parties: the extent of OMB/OPM/DOGE’s involvement in directing the content of the ARRPs.
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                                                                                 Add.617
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                                       1   pre-decisional and deliberative?     Even if so, should the privilege be overridden by other

                                       2   considerations?4 Finally, if the documents are ordered produced, should their disclosure be limited

                                       3   by a protective order?

                                       4          The challenge facing the Court is that the parties characterize the contents of the ARRPs in

                                       5   starkly different terms. According to the government’s declaration, “Nothing in an ARRP, or its

                                       6   review or approval by OPM or OMB, binds the agency to any particular course of action.” Decl.

                                       7   Billy ¶ 5. Moreover, “[a]n ARRP is never final and may change drastically as the agency’s priorities

                                       8   and thinking changes.” Mot. at 4 (citing Decl. Billy ¶ 6). The government further asserts that

                                       9   ARRPs “include highly sensitive information that would seriously undermine agency operations if

                                      10   they were released,” including labor negotiation strategy, reorganization plans that might hurt

                                      11   agency recruitment and retention, and plans for regulatory changes or future appropriations requests.

                                      12   Decl. Billy ¶ 4. On the other hand, the evidence presented by plaintiffs so far in this litigation
    Northern District of California
     United States District Court




                                      13   suggest the plans are final agency decisions that have led to quick, tangible actions with widespread

                                      14   effects. Plaintiffs have received one ARRP from a non-defendant federal agency (the National

                                      15   Endowment for the Humanities) and the contents of that plan do not neatly align with the

                                      16   government’s characterization of ARRPs in general. See Dkt. No. 96-1, Ex. 1, Attachs. C, D. The

                                      17   Court sees no “highly sensitive information [that] would seriously undermine agency operations if

                                      18   they were released,” see Decl. Billy ¶ 4, though the Court acknowledges the government’s position

                                      19   that this ARRP is not representative of ARRPs in general and that plaintiffs attached only the Phase

                                      20   2 cover sheet, not the full Phase 2 ARRP.

                                      21          To assess whether the deliberative process privilege applies to the ARRPs of the federal

                                      22   agency defendants in this case, the Court would benefit from a better understanding of their contents.

                                      23   The Court therefore ORDERS as follows:

                                      24          By Monday, May 19, 2025 at 12:00 p.m. (PDT), defendants shall submit to the Court for in

                                      25

                                      26

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                                                  4
                                                     The deliberative process privilege is qualified, not absolute. See Warner Commc’ns, 742
                                           F.2d at 1161. “A litigant may obtain deliberative materials if his or her need for the materials and
                                      28   the need for accurate fact-finding override the government’s interest in non-disclosure.” Id.
                                           (citations omitted).
                                                                                             4
                                                                                  Add.618
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                                       1   camera review the following documents for four federal agency defendants:5 (1) the versions of

                                       2   ARRPs submitted to OMB and OPM and (2) the versions of ARRPs approved by OMB and/or

                                       3   OPM. Plaintiffs shall designate two of the agencies for which the ARRPs are to be produced and

                                       4   shall provide those agency names to defendants by 10:00 a.m. (PDT) on Friday, May 16, 2025.

                                       5   Defendants may designate the other two agencies for which it will provide ARRPs.

                                       6          By Monday, May 19, 2025 at 12:00 p.m. (PDT), defendants will also provide the same

                                       7   ARRPs to plaintiffs’ counsel, but plaintiffs’ counsel may not share the plans or their contents with

                                       8   their clients or any third parties unless or until the Court orders otherwise.

                                       9          The parties should be prepared to argue the merits of applying the deliberative process

                                      10   privilege to the ARRPs at the May 22, 2025 hearing.

                                      11

                                      12          IT IS SO ORDERED.
    Northern District of California
     United States District Court




                                      13   Dated: May 15, 2025

                                      14                                                     ______________________________________
                                                                                             SUSAN ILLSTON
                                      15                                                     United States District Judge
                                      16

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                                                  5
                                                     Documents for in camera review may be mailed or hand-delivered to the Clerk’s Office,
                                           clearly stamped “DO NOT FILE—IN CAMERA REVIEW.”
                                                                                        5
                                                                                  Add.619
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       12
            Counsel for Defendants
       13
       14                                 UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
       15                                    SAN FRANCISCO DIVISION
       16
                                                                        Case No. 3:25-cv-03698-SI
       17   AMERICAN FEDERATION OF
            GOVERNMENT EMPLOYEES, et al.                               DEFENDANTS’ OPPOSITION TO
       18                                                              PLAINTIFFS’ MOTION FOR
                      Plaintiffs,                                      PRELIMINARY INJUNCTION;
       19
                                                                       MEMORANDUM OF POINTS AND
                              v.
       20                                                              AUTHORITIES
       21   DONALD J. TRUMP, in his official capacity as
            President of the United States, et al.,      Hearing Date: May 22, 2025
       22                                                Time: 10:30 am
                     Defendants.                         Judge: Hon. Susan Illston
       23                                                Place: San Francisco Courthouse
                                                                Courtroom 1
       24
       25
       26
       27
       28


            Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction
            3:25-cv-3698-SI                                     Add.620
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        1                                                 INTRODUCTION
        2           Plaintiffs’ motion for a preliminary injunction, ECF No. 101 (PI Motion), and
        3   memorandum in support, ECF No. 101-1 (PI Brief), confirm that this sprawling lawsuit and
        4   Plaintiffs’ request for near government-wide relief does not belong in federal district court. The
        5   essence of Plaintiffs’ Complaint and the PI motion is a challenge to the legality of steps taken by
        6   the Executive Branch—principally President Trump, the Office of Personnel Management (OPM),
        7   and the Office of Management and Budget (OMB)—to facilitate reductions in force (RIFs) within
        8   agency workforces. That is unquestionably a suit concerning “employee relations in the federal
        9   sector” and “federal labor-management relations,” the subject matters that Congress enacted the
       10   Civil Service Reform Act (CSRA) and the Federal Service Labor-Management Relations Statute
       11   (FSLMRS) to govern, and which preclude district court jurisdiction here. And even if this Court
       12   had jurisdiction, Plaintiffs lack a viable Administrative Procedure Act (APA) or ultra vires cause
       13   of action to challenge the Workforce Executive Order or Workforce Memorandum in the abstract.
       14           In any event, Plaintiffs’ claims are meritless. Plaintiffs devote a significant portion of their
       15   PI Brief to describing actions that Agency Defendants 1 have allegedly taken pursuant to the
       16   Workforce Executive Order and Workforce Memorandum. But Plaintiffs do not even attempt to
       17   argue—let alone establish—that any of these agency activities or future agency activities are
       18   unlawful, in the sense of exceeding the relevant agencies’ authority under their governing statutes
       19   or other legal sources. Nor could they. Federal law expressly permits RIFs, Congress has
       20   consistently recognized agencies’ authority to engage in RIFs since the nineteenth century, and
       21   judicial review of RIF decisions (in the Federal Circuit, not this Court), is highly deferential.
       22           To succeed on the merits then, Plaintiffs must show that the Workforce Executive Order
       23   and Workforce Memorandum necessarily direct illegal agency action and cannot be implemented
       24   lawfully. That is not the case. The President plainly has constitutional and statutory authority to
       25   tell agencies how to exercise their own statutory authorities to conduct RIFs within the boundaries
       26   1
              Again, for ease of reference Defendants use the term “Agency Defendants” and “agencies” in
       27   describing Defendants other than President Trump, OPM, OMB, and the United States DOGE
            Service (USDS). Defendants do not concede that all these components are properly characterized
       28
            as agencies for purposes of the APA, FOIA, Federal Records Act, or any other purpose.


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        1   set by Congress. That is what the Workforce Executive Order does. The Order makes clear that
        2   RIFS may be conducted only where “consistent with applicable law,” that in proposing RIFs,
        3   agencies should ensure that they do not eliminate any “subcomponents” that are “statutorily
        4   required” or prevent the performance of “functions” that are “mandated by statute or other law”;
        5   the Workforce Memorandum similarly reaffirms that “[a]gencies should review their statutory
        6   authority and ensure that their plans and actions are consistent with such authority.” There is
        7   nothing plausibly unlawful about an Executive Order directing agency heads to “promptly
        8   undertake preparations to initiate large-scale reductions in force” consistent with all applicable
        9   statutory restrictions. In granting a temporary restraining order (TRO), 2 the Court focused on the
       10   President’s supposed lack of operative “statutory authority to reorganize the executive branch.”
       11   But this is not a basis for challenging the Workforce Executive Order. A RIF is not a reorganization
       12   and, in any event, the Workforce Executive Order does not even arguably direct any
       13   reorganizations that conflict with agencies’ statutory mandates. And although this Court faulted
       14   OPM and OMB for exceeding their authority by unilaterally ordering agencies to carry out RIFs,
       15   the Workforce Memorandum leaves that decision to agencies. Finally, to the extent the Court’s
       16   previous analysis of the merits rested on a conclusion that the President lacks any authority to
       17   direct agencies how to exercise the statutory authority that the agencies have, that conclusion, is
       18   incorrect and upends both Article II and basic principles of democratic accountability.
       19           The other Winter factors likewise weigh against relief. Plaintiffs do not establish
       20   irreparable harm sufficient to warrant relief. This Court primarily rested its contrary finding on the
       21   prospect of members of Plaintiffs unions being subjected to RIFs. That form of injury is by no
       22   means irreparable, as the Supreme Court has made clear. And any harm to Plaintiffs is outweighed
       23   by harm to the Government. A preliminary injunction would require the Government to retain—
       24   at taxpayer expense—thousands of employees whose continuance in federal service agencies have
       25   determined not to be in the public interest. That unrecoverable monetary loss is irreparable.
       26           Any preliminary injunction should also be significantly narrower than the TRO Order (let
       27
            2
             Defendants contest that this Court’s prior order is properly characterized as a TRO, but for ease
       28
            of reference, Defendants will refer to it as a TRO here.


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        1   alone Plaintiffs’ PI Motion, which inexplicably seeks relief even broader than they sought in their
        2   TRO Motion). For one, it should not extend beyond the parties to the litigation. For another,
        3   Defendants once again ask the Court to make clear that agencies may conduct RIFs under their
        4   existing authorities that are independent of the Workforce Executive Order and the process set
        5   forth in the Workforce Memorandum. In addition, any injunction should clearly and concretely
        6   identify what conduct is permitted and prohibited, and should be crafted to be no broader than
        7   necessary to prevent any irreparable harm to Plaintiffs. Respectfully, the TRO Order reflects
        8   neither of these limitations.
        9                                                 BACKGROUND
       10           Defendants incorporate by reference the statutory and regulatory background, and factual
       11   background set forth in their brief in opposition to Plaintiffs’ motion for a preliminary injunction.
       12   See ECF No. 60 (TRO Opposition) at 5-17. In litigating against Plaintiffs’ TRO Motion,
       13   Defendants did not make any factual representations and instead relied upon the Workforce
       14   Executive Order and Workforce Memorandum themselves, as well as other legal sources plainly
       15   establishing agencies’ longstanding authority to conduct RIFs, which in turn establishes that the
       16   Workforce Executive Order and Workforce Memorandum can be implemented lawfully. We
       17   similarly do not make or rely on any factual representations here.
       18           And indeed, no factual development is necessary to resolve Plaintiffs’ preliminary
       19   injunction motion. Plaintiffs’ legal theory, which this Court endorsed at the TRO stage, was that
       20   the Executive Order and Workforce Memorandum were facially unlawful. Plaintiffs PI Brief
       21   repeats this point. To be sure, Plaintiffs’ PI Brief, like their TRO Reply, devotes significant space
       22   to discussing how components are supposedly implementing the Workforce Executive Order and
       23   Workforce Memorandum. See PI Brief at 4-11. But even Plaintiffs apparently do not believe that
       24   these allegations are relevant to the merits of their claims, since they frame these allegations only
       25   in terms of their alleged irreparable harm, id., and their merits section does not discuss these
       26   purported agency-specific facts, id. at 11-16. And for good reason. If how an agency is
       27   implementing the Workforce Executive Order and Workforce Memorandum were relevant to the
       28   merits of Plaintiffs’ claims, then that is just another way of saying that the Executive Order and



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        1   Memorandum can be implemented lawfully—in which case there would be no basis for enjoining
        2   implementation of them virtually across the Executive Branch. And the fact that Plaintiffs
        3   nominally bring two claims challenging agency actions does not change the analysis; neither claim
        4   is based on (or even discusses) any particular agency decision. ECF No. 103 at 12-13. Nor does
        5   Plaintiffs’ preliminary injunction motion even attempt to develop an argument that any of the
        6   alleged agency activities they discuss are unlawful except by reference to the Workforce Executive
        7   Order and Workforce Memorandum.
        8                                           STANDARD OF REVIEW
        9           Rule 65 of the Federal Rules of Civil Procedure empowers district courts to issue
       10   preliminary injunctions. See Fed. R. Civ. P. 65(a). “A preliminary injunction is an extraordinary
       11   remedy never awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
       12   Plaintiffs must establish that (1) they are “likely to succeed on the merits,” (2) they are “likely to
       13   suffer irreparable harm in the absence of preliminary relief,” (3) “the balance of equities tips in
       14   [their] favor,” and (4) “an injunction is in the public interest.” Id. at 20.
       15                                                    ARGUMENT
       16           Plaintiffs satisfy none of the four Winter requirements, let alone all of them. Defendants
       17   incorporate by reference our previous arguments on this point (including our argument that
       18   Plaintiffs have not established standing, which we will not repeat here). See TRO Opposition at
       19   22-48. Below, Defendants further respond to Plaintiffs’ arguments while also explaining why,
       20   respectfully, the Court’s previous analysis of these issues was incorrect.
       21   I. Plaintiffs’ Delay Warrants Denial of the PI Motion
       22           The Court should deny a preliminary injunction on the threshold ground that Plaintiffs
       23   waited too long to seek this relief —a circumstance which weighs against finding that irreparable
       24   harm or the balance of the equities favor Plaintiffs. See Arc. of Cal. v. Douglas, 757 F.3d 975, 989
       25   (9th Cir. 2014); Benisek v. Lamone, 585 U.S. 155, 160 (2018). As previously noted, Plaintiffs filed
       26   their motion for a TRO on May 1, more than eleven weeks after the President signed the Workforce
       27   Executive Order (on February 11, 2025), and more than nine weeks after OPM and OMB issued
       28   the Workforce Memorandum. They have since filed their PI Motion on May 14, more than three


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        1   months following issuance of the Workforce Executive Order. PI Motion; PI Brief. Plaintiffs’
        2   delay forecloses preliminary injunctive relief. A “long delay before seeking a preliminary
        3   injunction implies a lack of urgency and irreparable harm.” NLRB v. Cal. Pac. Med. Ctr., 991 F.2d
        4   536, 544 (9th Cir. 1993); see also Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762 F.2d 1374,
        5   1377 (9th Cir. 1985) (“Plaintiff’s long delay before seeking a preliminary injunction implies a lack
        6   of urgency and irreparable harm”); Lydo Enters., Inc. v. City of Las Vegas, 745 F.2d 1211, 1213
        7   (9th Cir. 1984) (“A delay in seeking a preliminary injunction is a factor to be considered in
        8   weighing the propriety of relief”); W. Watersheds Project v. Salazar, 692 F.3d 921, 923 (9th Cir.
        9   2012) (holding that the district court properly considered the plaintiff’s “delay in seeking a
       10   preliminary injunction” when it found that “the balance of equities and the public interest”
       11   “weighed against issuing a preliminary injunction”).
       12           The Court previously excused Plaintiffs’ delay, stating that “[t]he details of the ARRPs
       13   have only trickled into public view due to defendants’ ongoing decision not to release the plans
       14   publicly.” TRO Opinion at 11. But Plaintiffs’ claims are not based on the contents of any particular
       15   ARRPs. The gravamen of Plaintiffs’ claims, which this Court accepted, is that the Workforce
       16   Executive Order and Workforce Memorandum are unlawful on their face and cannot be lawfully
       17   implemented. Plaintiffs repeat this argument in their PI briefing. See PI Brief at 11 (“The plain
       18   language of the EO and Memo mandate these actions and remove agency decision-making and
       19   discretion.”); id. at 16 (“The President’s and OMB/OPM’s categorical instructions and the
       20   agencies’ implementation of those instructions are necessarily divorced from reasoned decision-
       21   making that takes into account all appropriate factors (because the categorial instruction took into
       22   account nothing other than the President’s will to restructure government according to his
       23   plans).”). And Plaintiffs’ merits argument in their PI briefing focuses entirely on the supposed
       24   illegality of the Executive Order and Memorandum. PI Brief at 11-16. 3 No further factual
       25
       26   3
              Any criticism of Defendants for not releasing the ARRPs is also mistaken since, as Defendants
            have previously explained, ARRPs are predecisional and deliberative agency planning documents
       27
            that contain discussion of many topics aside from RIFs. If an agency actually decides to go forward
       28   with steps that might affect Plaintiffs, Plaintiffs and the public will learn about those decisions
            when they are made. ECF No. 103 at 7. Indeed, when final determinations have been made,

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        1   development was needed for Plaintiffs to challenge the Workforce Executive Order and Workforce
        2   Memorandum on their face.
        3           The Court also noted that in another case “where other plaintiffs challenged Executive
        4   Order 14210 shortly after it was issued . . . the government’s attorneys argued that plaintiffs’ harm
        5   was too ‘speculative’ to establish injury.’” TRO Decision at 11 (quoting Nat’l Treasury Emps.
        6   Union v. Trump, No. 25-CV-420 (CRC), Dkt. No. 14 at 10-11 (D.D.C. filed Feb. 17, 2025)). But
        7   the Government’s claim in that case that the asserted injury was “speculative” was based on the
        8   union’s claim that it would lose membership and dues. Nat’l Treasury Emps. Union v. Trump, No.
        9   25-CV-420 (CRC), Dkt. No. 14 at 10-11 (D.D.C. filed Feb. 17, 2025). And in any event Judge
       10   Cooper did not rely on that ground in denying relief; he concluded that the lawsuit was
       11   jurisdictionally barred by the CSRA and FSLMRS. Nat’l Treasury Emps. Union v. Trump, No. 25-
       12   cv-420, 2025 WL 561080, at *5-*8 (D.D.C. Feb. 20, 2025). More fundamentally, a party who
       13   seeks the extraordinary remedy of a TRO or a preliminary injunction is required to move with
       14   dispatch, and cannot delay seeking relief based on the mere possibility that the Government might
       15   assert that the motion is premature. That is particularly true here, when Plaintiffs seek to enjoin
       16   implementation of the Workforce Executive Order and Workforce Memorandum virtually across
       17   the government, based solely on the content of those documents.
       18   II. Plaintiffs Satisfy None of the Winter Requirements
       19       A. Plaintiffs Are Unlikely to Succeed on the Merits of their Claims
       20           The likelihood-of-success factor “is a threshold inquiry and is the most important factor.”
       21   Env’t Prot. Info. Ctr. v. Carlson, 968 F.3d 985, 989 (9th Cir. 2020). Plaintiffs can show no
       22   likelihood of success in their challenge to the Workforce Executive Order and the Workforce
       23   Memorandum. Neither may be challenged here and, even if they could, both are lawful.
       24           1. The FSLMRS and CSRA Preclude District-Court Jurisdiction Over Plaintiffs’
                       Challenge to the Workforce Executive Order and Workforce Memorandum.
       25
                    The CSRA “establishe[s] a comprehensive system for reviewing personnel action taken
       26
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            agencies are publicly releasing their final plans (see, e.g., https://www.state.gov/building-an-
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            america-first-state-department/).


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        1   against federal employees.” United States v. Fausto, 484 U.S. 439, 455 (1988). It provides that
        2   “[a]n employee . . . may submit an appeal to the Merit Systems Protection Board from any action
        3   which is appealable to the Board under any law, rule, or regulation.” 5 U.S.C. § 7701(a). In
        4   addition, “[a]n employee who has been furloughed for more than 30 days, separated, or demoted
        5   by a reduction in force action may appeal to the Merit Systems Protection Board.” 5 C.F.R.
        6   § 351.901; see Alder v. Tennessee Valley Auth., 43 F. App’x 952, 956 (6th Cir. 2002) (describing
        7   a “reduction-in-force decision” as “a fundamental employment claim subject to MSPB review”),
        8   cert. denied, 537 U.S. 1112 (2003). The MSPB can order relief to prevailing employees, including
        9   reinstatement. 5 U.S.C. § 1204(a)(2), 7701(g). The Federal Circuit has exclusive jurisdiction to
       10   review final decisions of the MSPB, including decisions concerning RIFs. 5 U.S.C. § 7703(b)(1);
       11   Knight v. Department of Def., 332 F.3d 1362, 1364 (Fed. Cir. 2003) (RIF demotion claim). The
       12   CSRA also includes the FSLMRS, which governs labor relations between the Executive Branch
       13   and its employees. See 5 U.S.C. §§ 7101-7135; Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump
       14   (AFGE ), 929 F.3d 748, 752 (D.C. Cir. 2019) (AFGE v. Trump). The Federal Labor Relations
       15   Authority (FLRA) is charged with adjudicating federal labor disputes. 5 U.S.C. § 7105(a)(2).
       16   Congress has authorized review of the FLRA’s decisions only in the courts of appeals, not in
       17   federal district courts. 5 U.S.C. § 7123(a).
       18           This statutory framework precludes jurisdiction. Plaintiffs’ suit concerns “employee
       19   relations in the federal sector” and “federal labor-management relations.” AFGE v. Trump, 929
       20   F.3d at 755 (citations and internal quotation marks omitted). Congress would not have enacted the
       21   “ ‘elaborate’ framework” of the CSRA and FSLMRS for reviewing federal-employee terminations
       22   and labor disputes, Elgin v. Department of the Treasury, 567 U.S. 1, 11 (2012) (citation omitted),
       23   while allowing an end-run around those procedures in the form of a preemptive district-court
       24   action like this one. The statutory scheme laid out in the CSRA and FSLMRS preclude jurisdiction
       25   here.
       26           As this Court acknowledged, see TRO Opinion at 19-22, numerous courts in recent months
       27   and years have applied the same preclusion principle to similar federal-employment suits. See,
       28   e.g., AFGE v. Trump, 929 F.3d at 753, 761 (challenge to three executive orders governing



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        1   collective bargaining and grievance processes); Maryland v. U.S. Dep’t of Agriculture, No. 25-
        2   1248, 2025 WL 1073657 (4th Cir. Apr. 9, 2025) (termination of probationary employees); Am.
        3   Foreign Serv. Ass’n v. Trump, No. 25-cv-352, 2025 WL 573762, at *8-*11 (D.D.C. Feb. 21, 2025)
        4   (challenge to employees’ placement on administrative leave); Nat’l Treasury Emps. Union, 2025
        5   WL 561080, at *5-*8 (challenge to terminations of probationary employees, anticipated RIFs, and
        6   deferred-resignation program); Am. Fed’n of Gov’t Emps., AFL-CIO v. Ezell, No. 25-cv-10276,
        7   2025 WL 470459, at *1-*3 (D. Mass. Feb. 12, 2025) (challenge to deferred-resignation program);
        8   but see Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-cv-01780, 2025 WL 900057 (N.D.
        9   Cal. Mar. 24, 2025) (asserting jurisdiction over challenge to probationary-employee
       10   terminations). 4 And in concluding that the Court had jurisdiction over Plaintiffs’ claims, the
       11   Court’s TRO opinion seemed to acknowledge that it was departing from this weight of authority.
       12   See TRO Opinion at 22-23.
       13           The Court’s jurisdictional analysis was in error. The Court highlighted the “pre-
       14   implementation” nature of the suit, concluding that precluding Plaintiffs’ suit would “foreclose
       15   meaningful judicial review” because they seek to challenge, in advance, “ ‘large-scale reductions
       16   in force’ happening rapidly across multiple agencies.” TRO Opinion at 23. This distinction does
       17   not provide the Court with jurisdiction. In Thunder Basin Coal Co. v. Reich, the Supreme Court
       18   held that district-court jurisdiction was precluded by a scheme that did not permit pre-enforcement
       19   review at all. 510 U.S. 200, 212-16 (1994). The D.C. Circuit correctly recognized this in AFGE v.
       20   Trump. 929 F.3d at 755 (“The unions argue that the scheme does not provide for meaningful
       21   judicial review because they are unable to obtain ‘pre-implementation’ review of the executive
       22   orders or immediate relief barring all agencies from implementing the executive orders. This
       23   argument is foreclosed by the Supreme Court’s decision in Thunder Basin . . .”).
       24           This Court also suggested that it was “unlikely” Congress intended to channel review of
       25   RIF claims because “employees’ rights to appeal a RIF to the Merit Systems Protection Board
       26   comes not directly from statute but from regulation.” TRO Opinion at 24; see also 5 C.F.R.
       27
            4
              Defendants explained in their TRO opposition why Judge Alsup’s opinion in that case was
       28
            incorrect but, in any event, clearly distinguishable from this case. See TRO Opposition at 30-31.


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        1   § 351.901. But Congress expressly authorized MSPB review of “any action which is appealable
        2   to the Board under any law, rule, or regulation.” 5 U.S.C. § 7701(a) (emphasis added). There is
        3   no reason to think Congress intended to allow federal employees to bypass available review in the
        4   MSPB and the Federal Circuit based merely on the source of their right to seek MSPB review.
        5           The Court also emphasized that Plaintiffs raise “fundamental questions of executive
        6   authority and separation of powers,” “not the individual employee or labor disputes [the MSPB
        7   and FLRA] customarily handle.” TRO Opinion at 22, 24. Plaintiffs similarly assert that “they
        8   simply bring different claims than what those statutory schemes are designed for, by challenging
        9   ultra vires Presidential action and ensuing violations of the APA.” PI Brief at 18. But again, this
       10   makes no difference. The plaintiffs in Elgin v. Department of the Treasury, 567 U.S. 1, 7 (2012)
       11   similarly raised “fundamental questions” concerning the Constitution’s equal-protection guarantee
       12   when they challenged the Military Selective Service Act’s requirement that men and only men are
       13   required to register. And the Court held that such claims were still precluded: Plaintiffs’
       14   “constitutional claims are the vehicle by which they seek to reverse the removal decisions, to return
       15   to federal employment.” Id. at 22. And “[a] challenge to removal is precisely the type of personnel
       16   action regularly adjudicated by the MSPB and the Federal Circuit within the CSRA scheme.” Id.
       17           So too here. What matters is that Plaintiffs challenge federal employment actions, most
       18   prominently RIFs. It makes no difference that their theory is that the Executive Order and
       19   Memorandum are unlawful. Indeed, when the federal government is the employer, practically any
       20   employment or labor-management-relations claim can be dressed up in constitutional garb. That
       21   is not a basis for bypassing the CRSRA and FSLMRS’s exclusive schemes.
       22           This Court further noted that, even if the union Plaintiffs and their members could seek
       23   relief under the FSLMRS and CSRA, the other Plaintiffs (such as nonprofits and local
       24   governments) could not. TRO Opinion at 25. But the Supreme Court has held that the CSRA’s
       25   comprehensive remedial scheme precludes a federal district court action even if a particular
       26   plaintiff could not receive relief under the CSRA. See Fausto, 484 U.S. at 447-55. Indeed, the
       27   Court reached that conclusion in Fausto even though the plaintiffs there were federal employees.
       28   As then-Judge Roberts observed, even where “the CSRA provides no relief,” it “precludes other



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        1   avenues of relief.” Graham v. Ashcroft, 358 F.3d 931, 935 (D.C. Cir. 2004) (Roberts, J.) (citation
        2   omitted). Since the CSRA precludes federal employees and their unions from themselves raising
        3   claims or remedies that the CSRA does not recognize, third parties (indeed, on this theory,
        4   presumably any third party who can clear the minimum threshold of establishing Article III
        5   standing) cannot bypass Congress’s comprehensive scheme to bring claims second-guessing the
        6   Government’s treatment of its employees in federal district court. See PI Brief at 19 (characterizing
        7   these other Plaintiffs as “third parties to any relationship between federal employees and their
        8   employing agencies”).
        9           Finally, to the extent specific consideration of the Thunder Basin factors is required, they
       10   reinforce that Plaintiffs are required to channel their federal employment and labor disputes. The
       11   first step under Thunder Basin—Congress’s intent to preclude—is satisfied here. TRO Opposition
       12   at 26-27. As to the factors under the second step, they too all support channeling. Both statutory
       13   schemes provide meaningful judicial review over Plaintiffs’ claims. TRO Opposition at 27. As
       14   Defendants previously argued, affected employees can bring Plaintiffs’ constitutional, ultra vires,
       15   and related claims within the administrative scheme and, even if the FLRA and MSPB cannot
       16   resolve them, a reviewing Court can. See TRO Opposition at 27. Plaintiffs have no meaningful
       17   response. And although Plaintiffs complain that they could not obtain relief directly against the
       18   President, OPM, OMB, or USDS, PI Brief at 20, that is irrelevant even if true; Plaintiffs do not
       19   seek injunctive relief against the President here and any relief they receive against employing
       20   agencies would be sufficient to redress any injuries associated with those agencies’ RIFs. See
       21   AFGE v. Trump, 929 F.3d at 758.
       22           Nor are Plaintiffs’ claims “wholly collateral” to the CSRA and FLRA scheme. Plaintiffs
       23   say their claims “concern separation of powers issues and challenge the substantive and procedural
       24   lawfulness of the EO and its implementation.” PI Brief at 20. But again, Plaintiffs simply ignore
       25   that, as the Supreme Court explained in Elgin, what matters for purposes of this inquiry is whether
       26   the subject of Plaintiffs’ challenge is a matter covered by the CSRA and FSLMRS schemes, not
       27   how Plaintiffs describe the claims they are advancing. 567 U.S. at 22. Here, the subject of
       28   Plaintiffs’ actions is RIFs and related federal employment and labor matters; their contention that



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        1   the Workforce Executive Order and Memorandum are unlawful is simply the “vehicle” by which
        2   they seek to stop RIFs from taking place. Id.; TRO Opposition at 28. Plaintiffs ask “for the same
        3   relief that they could ultimately obtain through the statutory scheme, namely rulings on whether
        4   the executive orders are lawful and directives prohibiting agencies from following the executive
        5   orders.” AFGE v. Trump, 929 F.3d at 760. Thus, “[t]heir challenge is not wholly collateral to the
        6   statutory scheme.” Id. 5
        7           Finally, although Plaintiffs assert that “the labor agencies have no particular expertise in
        8   resolving constitutional and administrative law questions,” PI Brief at 20, Plaintiffs contend that
        9   the Workforce Executive Order and Workforce Memorandum effectively compel agencies to
       10   engage in large-scale RIFs that are necessarily contrary to statute. The application of the RIF
       11   regulations, and the statutes governing agency operations are indeed matters on which
       12   administrative agencies have expertise. TRO Opposition at 28; AFGE v. Trump, 929 F.3d at 760
       13   (reasoning that “[m]any of [plaintiffs] claims allege that the executive orders direct agencies to
       14   violate the Statute by refusing to bargain over mandatory subjects or by taking actions that are
       15   inconsistent with the duty to bargain in good faith” and that “[t]hese matters lie at the core of the
       16   FLRA’s ‘specialized expertise in the field of federal labor relations’”). 6
       17   5
              As explained in Defendants’ TRO opposition, this case is fundamentally unlike Axon Enters.,
       18   Inc. v. FTC, 598 U.S. 175 (2023), where the Supreme Court held that the claims at issue did not
            need to be channeled. In that case, the core of each plaintiffs’ claim was that they were being
       19   subjected to “an illegitimate proceeding, led by an illegitimate decisionmaker,” which qualified as
       20   a “here-and-now injury” that could not be remedied after the fact, because “[a] proceeding that has
            already happened cannot be undone.” Id. at 191. Here, Plaintiffs’ claims are not based on a claim
       21   that the administrative schemes are unconstitutionally structured or otherwise invalid. Nor is this
            case like Feds for Med. Freedom v. Biden, 63 F.4th 366 (5th Cir.) (en banc) (since vacated as
       22   moot), where the Fifth Circuit rejected channeling arguments because it concluded that the subject
       23   of the challenge—a vaccine mandate—was not a personnel action covered by the CSRA. 63 F.4th
            at 375. Contra PI Brief at 19 (incorrectly characterizing this case as standing broadly for the
       24   proposition that “employee organization challenge to government-wide federal employee vaccine
            mandate was not channeled to MSPB or FLRA”). Plaintiffs’ PI Brief relies on these inapt cases,
       25   without addressing Defendants’ previous arguments.
       26   6
              Plaintiffs claim the mantle of textualism, asserting, inter alia, that “the concept of ‘channeling’
            is based entirely on an implied doctrine, which cannot exist divorced from the underlying statutory
       27
            text.” PI Brief at 19. But although Congress has empowered the judiciary to hear “claims ‘arising
       28   under’ federal law” “by way of 28 U.S.C. § 1331’s grant of jurisdiction,” it is an equally well-
            established canon that “[a] special statutory review scheme, . . . may preclude district courts from

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                    2. The Workforce Executive Order and Workforce Memorandum are Not
        1              Reviewable
        2           Statutory preclusion aside, neither the Workforce Executive Order nor the Workforce
        3   Memorandum may be reviewed in the abstract, as opposed to in a challenge to a specific
        4   reviewable final agency action implementing them. The President is not an agency, see Franklin
        5   v. Massachusetts, 505 U.S. 788, 800-01 (1992), and therefore “actions of the President . . . are not
        6   reviewable under the APA,” Dalton v. Specter, 511 U.S. 462, 470 (1994). Thus, APA review of
        7   the Workforce Executive Order is unavailable here, as no one seems to dispute.
        8           And even assuming that an ultra vires action outside of the APA’s framework may some-
        9   times be cognizable, Plaintiffs’ ultra vires claim is not. To even potentially state an ultra vires
       10   claim, Plaintiffs must clear at least two significant hurdles. First, the substantive standard for doing
       11   so is extremely high. An “officer may be said to act ultra vires only when he acts without any
       12   authority whatever.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101 n.11 (1984).
       13   And second, Plaintiffs must show that the Executive Order directs conduct that the President lacks
       14   any authority whatsoever to direct even though the Executive Order does not direct agencies to
       15   take any actions inconsistent with law—to the contrary, it contains express language doing the
       16   opposite, emphasizing the need to comply with applicable law. See infra p. 17.
       17           That standard is not met here. Federal law expressly recognizes that the Government may
       18   conduct RIFs, and the President has authority to exercise “ ‘general administrative control of those
       19   executing the laws,’ throughout the Executive Branch of government, of which he is the head.”
       20   Building & Constr. Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28, 32 (D.C. Cir. 2002) (quoting
       21   Myers v. United States, 272 U.S. 52, 164 (1926)).
       22           In nonetheless concluding that Plaintiffs were likely to succeed on the merits of their ultra
       23   vires claim, this Court in its TRO Opinion repeatedly framed the inquiry in terms of the President’s
       24   supposed lack of authority to “broadly restructure federal agencies” and using similar language.
       25   TRO Opinion at 28; see also id. at 26 (“the President has neither constitutional nor, at this time,
       26
            exercising jurisdiction over challenges to federal agency action.” Axon, 598 U.S. at 185. And even
       27   if Plaintiffs’ textualist arguments were persuasive as a matter of first principles—which they are
            not—this Court is not writing on a blank slate. Supreme Court and lower court precedent clearly
       28
            forecloses district court jurisdiction over the claims Plaintiffs assert here.


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        1   statutory authority to reorganize the executive branch”); id. at 28 (“large-scale reorganization of
        2   the federal agencies stems from a long-standing partnership between the executive and legislative
        3   branches”); id. at 29 (“The simple proposition that the President may not, without Congress,
        4   fundamentally reorganize the federal agencies is not controversial.”). The Court’s prior analysis
        5   rests on several misconceptions about the President’s authority.
        6           First, even if the Executive Order is properly framed as directing certain “reorganizations,”
        7   this is not an area in which the President has “no authority whatever.” To the contrary, in Nixon v.
        8   Fitzgerald, 457 U.S. 731 (1982), the Supreme Court explained that “[i]t clearly is within the
        9   President’s constitutional and statutory authority to prescribe the manner in which” his
       10   subordinates conduct their business, and “this mandate of office must include the authority to
       11   prescribe reorganizations and reductions in force.” Id. at 757 (emphasis added). And as discussed
       12   in the next section explaining why the Workforce Executive Order is lawful, nothing in the
       13   Executive Order directs “large-scale reorganization,” let alone reorganizations that would violate
       14   any agencies’ organic statutes. See infra pp. 15-16. And as Defendants also discuss in that section,
       15   to the extent the Court suggests that the President acts ultra vires when he directs agencies how to
       16   exercise their lawful authority, see TRO Opinion at 31 (“agencies were not discussing a need for
       17   large-scale RIFs prior to the President’s order”), any such suggestion is plainly incorrect.
       18           The Workforce Memorandum is also not reviewable because it is not “final agency action”
       19   subject to APA review, 5 U.S.C. § 704—that is, action “mark[ing] the ‘consummation’ of the
       20   agency’s decisionmaking process” and “by which ‘rights or obligations have been determined,’ or
       21   from which ‘legal consequences will flow,’ ” Bennett v. Spear, 520 U.S. 154, 178 (1997) (citations
       22   omitted). Nothing in the Workforce Memorandum finally determines rights or obligations or
       23   imposes legal consequences. While The Workforce Memorandum is a final draft (as the Court
       24   emphasized, TRO Opinion at 35), but it is not agency action under the APA at all, let alone final
       25   agency action. Instead, it sets forth a framework for preparation and review of proposed agency
       26   RIF plans. Such a general programmatic document is not subject to APA review. See Lujan v.
       27   National Wildlife Fed’n, 497 U.S. 871, 893 (1990). Indeed, as Defendants have already explained
       28   at length, see ECF Nos. 88, 103, not even the ARRPs themselves are final agency action since they



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        1   are always subject to change and agencies are not bound to follow all of the recommendations,
        2   strategies, and proposals ARRPs contain. The Workforce Memorandum—which contains OMB
        3   and OPM’s guidance on the topics ARRPs should address—is even more clearly not final agency
        4   action.
        5             3. The Workforce Executive Order is Lawful
        6             Even if the Court could review the Workforce Executive Order, it is plainly lawful. The
        7   legal basis for the Executive Order is straightforward. Federal law expressly permits agencies to
        8   conduct RIFs; Congress has consistently recognized agencies’ authority to engage in RIFs since
        9   the nineteenth century; and the federal government has repeatedly exercised its authority to
       10   conduct RIFs, including in large-scale Presidentially-directed RIFs, most recently during the
       11   Clinton Administration. 5 U.S.C. § 3502; TRO Opposition at 5-11. All of that has been done for
       12   nearly 150 years with very little apparent legal controversy. And as the Federal Circuit—where
       13   challenges to RIFs are properly channeled following required MSPB review—has explained,
       14   “[w]e accord an agency wide discretion in conducting a reduction-in-force.” Markland v. OPM,
       15   140 F.3d 1031, 1033 (Fed. Cir. 1998). That being so, the President unquestionably had the
       16   authority to direct agencies to conduct RIFs, consistent with law, in furtherance of his policy
       17   objectives and with the guidance of OPM and OMB.
       18             While this Court did not dispute that agencies may lawfully conduct RIFs, TRO Opinion
       19   at 31, it treated as “evidence” of “unlawful action” the prospect that “the agencies are acting at the
       20   direction of the President and his team” in planning and executing RIFs, id. To be clear, Defendants
       21   do not dispute, and have never disputed, that agencies are required to comply with the Executive
       22   Order and that they are implementing it. And there is nothing wrong with that—that is how Article
       23   II is supposed to work. Our constitutional structure presumes that federal officers and agencies
       24   will be “subject to [the President’s] superintendence,” The Federalist No. 72, at 487 (Alexander
       25   Hamilton) (Jacob E. Cooke ed., 1961), and the President thus “bears responsibility for the actions
       26   of the many departments and agencies within the Executive Branch,” Trump v. United States, 603
       27   U.S. 593, 607 (2024). Federal agencies depend for their “legitimacy and accountability to the
       28   public [on] a ‘clear and effective chain of command’ down from the President, on whom all the


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        1   people vote.” United States v. Arthrex, Inc., 594 U.S. 1, 11 (2021) (citation omitted); see Elena
        2   Kagan, Presidential Administration, 114 Harv. L. Rev. 2245, 2331-2340 (2001). There is thus
        3   nothing plausibly unlawful about an Executive Order directing agency heads to “promptly
        4   undertake preparations to initiate large-scale reductions in force” consistent with all applicable
        5   statutory restrictions. 7
        6           Of course, although an Executive Order cannot validly direct an agency to violate the law,
        7   the Workforce Executive Order does not do that. As noted above, the Court repeatedly faulted the
        8   Executive Order by reference to the President’s supposed lack of authority to “reorganize,”
        9   “fundamentally reorganize,” or “broadly restructure.” See supra pp. 12-13. The premise that the
       10   President and federal agencies have no reorganizational authority at all is incorrect. Fitzgerald,
       11   457 U.S. at 757; McKenna v. Dep’t of Interior, 996 F.2d 1235 (Fed. Cir. 1993) (table) (“The
       12   decision to undertake a reorganization necessitating a [RIF] is within the discretion of the
       13   agency.”). In any event, as Defendants noted, the Workforce Executive Order contains one sub-
       14   section—“Developing Agency Reorganization Plans”—dealing with organizational matters. Exec.
       15   Order 14210, § 3(e). And that subsection simply directs agencies to prepare a report identifying
       16   “any statutes that establish the agency, or subcomponents of the agency, as statutorily required
       17   entities,” and states that the report should “discuss whether the agency or any of its subcomponents
       18
            7
       19     The Court’s Production Order, see ECF No. 109, reflects a similarly limited conception of
            Executive Branch authority and, respectfully, also appears to misunderstand the Government’s
       20   position.. See id. at 2 (asking whether there was “directing” to agencies to make “‘large-scale’
            RIFs” or the provision of “guidance” and suggesting that this is a factual dispute between the
       21
            parties); id. (“if ARRPs are non-final planning documents then “pursuant to what, then, are the
       22   agencies implementing their large-scale RIFs?”). But there is no factual dispute the Court needs to
            resolve. The Workforce Executive Order does direct action on the part of the agencies, and the
       23   ARRPs are part of the process by which the agencies determine how to implement the Order. The
            Government has never disputed either of these propositions. And it makes no difference whether
       24
            the President is “directing” RIFs on one hand or “providing guidance” about RIFs on the other,
       25   because he has unquestioned authority to do both, provided that any directives or guidance do not
            require the agency to violate any statutes or other sources of laws governing their activities. The
       26   Government’s position, rather, is twofold: (1) the Executive Order, while mandatory, provides
            agencies with broad discretion to determine how to implement it consistent with any applicable
       27
            legal restrictions; and (2) either way, the ARRPs are deliberative because they are subject to
       28   change, and an agency need not (and in many cases will not) implement all of the guidance,
            recommendations, and strategies set forth within them.

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        1   should be eliminated or consolidated.” Id. (emphasis added). This is not a mandate to conduct any
        2   reorganizations at all, let alone a directive to take any illegal action.
        3           In holding otherwise, the Court reasoned that there is no action the agencies can take that
        4   is not itself unlawful, because “[t]he evidence plaintiffs have presented paints a very different
        5   picture: that the agencies are acting at the direction of the President and his team.” TRO Opinion
        6   at 31. But even if this is accurate, it does not support a claim that the Executive Order directs
        7   agencies to violate the law. For one, it is entirely consistent to acknowledge—as the Government
        8   does—that the Workforce Executive Order provides broad direction that agencies must follow,
        9   while also noting that it does not direct any specific actions (and again, even if the Executive Order
       10   did direct specific actions, there would be nothing wrong with that unless the specific directed
       11   actions were illegal). And if the Court meant to suggest that agencies are engaging in broad-scale
       12   restructuring in violation of agency-specific statutes—a contention that Plaintiffs have not
       13   attempted to establish here—that would not mean that the Executive Order itself directs actions in
       14   violation of the law.
       15           And although this Court suggested the Executive Order raises statutory concerns because
       16   it contemplates “large-scale” RIFs, TRO Opinion at 31, RIFs, like analogous layoffs in the private
       17   sector, are often large-scale by their nature. See TRO Opposition at 9-11 (discussing RIFs after
       18   World War II and President Clinton’s 1993 order of a 4-percent reduction in the federal
       19   workforce). And federal law explicitly recognizes that they will sometimes involve “the separation
       20   of a significant number of employees.” 5 U.S.C. § 3502(d)(1)(B); see also 5 C.F.R. § 351.803(b).
       21   A large RIF that comports with the agency’s statutory structure and function is just as lawful as a
       22   small one. And since there is no prohibition on “large” RIFs, neither the RIF statute nor any other
       23   legal source provides any judicially manageable standards in determining how to decide whether
       24   a particular RIF qualifies as “large.” A RIF itself is not a reorganization, which generally refers to
       25   a changing an agency’s structure either by legislation or internal agency directives, rather than the
       26   elimination of positions within an existing agency structure. Thus, while a RIF can be conducted
       27   because of a “reorganization,” it can also be conducted for other reasons, such as “lack of work”
       28


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        1   or “shortage of funds.” 5 C.F.R. § 351.201(a)(2); see, e.g., 5 U.S.C. § 5361(7). Nothing in the
        2   Executive Order directs unlawful action..
        3           Were there any further doubt on this score, the Workforce Executive Order makes clear
        4   that any RIFs may be conducted only where “consistent with applicable law.” Exec. Order 14210,
        5   § 3(c). The Order also states it shall not “be construed to impair or otherwise affect the authority
        6   granted by law to an executive department, agency, or the head thereof,” id. § 5(a)(i), and directs
        7   agencies to identify “any statutes that establish the agency, or subcomponents of the agency, as
        8   statutorily required entities,” id. § 3(e). Courts “cannot ignore . . . unambiguous qualifiers imposing
        9   lawfulness and feasibility constraints on implementing” presidential directives, such as the
       10   Workforce Executive Order at issue here. Common Cause v. Trump, 506 F. Supp. 3d 39, 47
       11   (D.D.C. Nov. 25, 2020) (majority opinion for three-judge district court).
       12           Contrary to this Court’s analysis, see TRO Decision at 32, the Ninth Circuit’s decision in
       13   City and County of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018), does not at all justify
       14   ignoring the Workforce Executive Order’s repeated and unambiguous directives to agencies to
       15   comply with their governing statutes in conducting RIFs. As the Court noted, San Francisco
       16   involved a Presidential directive to “withhold all federal grants from so-called ‘sanctuary’ cities
       17   and counties[,]” TRO Opinion at 32. Because the Executive Order at issue there unambiguously
       18   directed action consistent with the law, giving effect to the Savings Clause would deprive the Order
       19   itself of any meaning. 897 F.3d at 1238 (declining to credit argument “that the Executive Order is
       20   all bluster and no bite”). By contrast, a directive to agencies to “promptly undertake preparations
       21   to initiate large-scale reductions in force (RIFs), consistent with applicable law,” does not even
       22   plausibly direct agencies to take action incompatible with law. Indeed, the Executive Order at issue
       23   here is on all fours with the D.C. Circuit’s decision in Allbaugh, which the Ninth Circuit
       24   distinguished. 295 F.3d at 33 (rejecting Plaintiffs’ argument that “notwithstanding the President’s
       25   instruction that the Executive Order be applied only ‘[t]o the extent permitted by law,’ a particular
       26   agency may try to give effect to the Executive Order when to do so is inconsistent with the relevant
       27   funding statute”).
       28


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        1            Plaintiffs’ arguments are likewise unavailing on this point. Plaintiffs stress again that the
        2   Order states that it is intended to “commence[] a critical transformation of the Federal
        3   bureaucracy.” Exec. Order 14210, § 1. Defendants underscored that this language—located in the
        4   Executive Order’s “purpose” section—merely explains why President Trump issued the order and
        5   what he hopes will be accomplished by it. It does not by itself direct the agencies to do anything.
        6   This aspirational language does not direct anything by itself, nor is it a specific direction to
        7   agencies to violate the law. Plaintiffs note also that the Executive Order uses mandatory language.
        8   PI Brief at 12. But it provides agencies with broad discretion to determine how to implement it
        9   consistent with any applicable legal restrictions specific to their agency.
       10           Plaintiffs also note that the Executive Order identifies certain offices that “shall be
       11   prioritized in the RIFs.” Exec. Order 14210, § 3(c); PI Brief at 12. There is nothing improper about
       12   a President directing an agency to identify what the law allows, and then take whatever action is
       13   legally available to promote the President’s priorities. Nothing in the Executive Order directs an
       14   agency to prioritize offices for RIFs even if an agency is not lawfully permitted to do so. To take
       15   one concrete example: the workforce Executive Order directs “components and employees
       16   performing functions not mandated by statute or other law who are not typically designated as
       17   essential during a lapse in appropriations” to be prioritized in RIFs. Exec. Order 14210, § 3(c). Of
       18   course, if a particular agency’s governing statutes require such components, the agency would
       19   presumably conclude that it was required to maintain those components—and in that scenario, the
       20   Workforce Executive Order directs the agency to follow the law. But there is nothing unlawful
       21   about the President directing that agencies prioritize such initiatives in exercising their lawful RIF
       22   authority.
       23           4. The Workforce Memorandum is Lawful
       24           The Workforce Memorandum is likewise plainly lawful. It provides high-level guidance,
       25   setting forth principles that agency RIF Plans “should seek to achieve,” tools that agencies “should
       26   employ” in developing ARRPs, and information that ARRPs “should include.” ECF No. 37-1 App.
       27   B at 2, 4, 7 (emphases added). It states at least five times that agencies should only undertake
       28   actions that are consistent with their statutory authority. TRO Opposition at 37-38 & n.17. And it


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        1   repeatedly makes clear that agencies should not undertake any action that would impair service
        2   delivery functions. Id. at 38 & n.18. And although the Workforce Memorandum states certain
        3   topics ARRPs should address, it does not constrain agencies’ discretion as to how they should
        4   address them. Given all of this, Plaintiffs’ contention that the Memorandum does not “permit[]
        5   agencies to exercise meaningful discretion,” PI Brief at 13, is mistaken.
        6           Insofar as the Workforce Memorandum can be characterized as issuing directives to
        7   agencies at all, such as by instructing them to submit Plans to OPM and OMB “for review and
        8   approval” by specified dates, it falls comfortably within OPM’s and OMB’s statutory authorities
        9   and the process established by the President in the Executive Order. OPM has express statutory to
       10   “prescribe regulations for the release of competing employees in a reduction in force,” 5 U.S.C.
       11   § 3502(a), and other statutes supplement that authority, see, e.g., 5 U.S.C. § 1301 (OPM “shall aid
       12   the President, as he may request, in preparing the rules he prescribes under this title for the
       13   administration of the competitive service”); 5 U.S.C. § 1302(b) (OPM “shall prescribe and enforce
       14   regulations for the administration of the provisions of this title, and Executive orders issued in
       15   furtherance thereof, that implement the Congressional poli-cy” governing, inter alia, preferences
       16   for employee “retention”); see also 5 U.S.C. §§ 1103(a)(5)(A) and (c), 1104(b)(2). OPM exercised
       17   those authorities in promulgating detailed, Executive-wide RIF regulations, 5 C.F.R. Pt. 351,
       18   whose validity Plaintiffs do not question. Those regulations provide for OPM to “establish further
       19   guidance and instructions for the planning, preparation, conduct, and review of reductions in force”
       20   and to “examine an agency’s preparations for reduction in force at any stage,” 5 C.F.R. § 351.205,
       21   which squarely encompasses OPM’s directives here. As for OMB, that office is likewise statutorily
       22   authorized to “establish general management policies for executive agencies” and “[f ]acilitate
       23   actions by . . . the executive branch to improve the management of Federal Government operations
       24   and to remove impediments to effective administration.” 31 U.S.C. §§ 503(b). Moreover, the
       25   Executive Order directs agency heads to submit plans. Exec. Order 14210, § 3(e).
       26       B. The Remaining Winter Factors Likewise Favor the Government
       27           A “court need not consider the other factors” if a movant fails to show a likelihood of
       28   success on the merits. Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017).


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        1   The Court accordingly need not and should not consider the other requirements. In any event, they
        2   too favor the Government. As to irreparable harm, any harm to employees associated with RIFs
        3   themselves are not irreparable. The MSPB may make wrongly removed employees whole through
        4   reinstatement, retroactive benefits, backpay, and attorney’s fees. 5 U.S.C. §§ 1204(a)(2), 7701(g).
        5   Given these remedies, the Supreme Court has expressly held that loss of governmental
        6   employment does not ordinarily qualify as irreparable harm. See Sampson v. Murray, 415 U.S. 61,
        7   90 (1974). In its TRO opinion, the Court held that removed employees “will lose wages and health
        8   benefits and, in some cases, may need to relocate.” TRO Opinion at 38. Although aware of similar
        9   circumstances in Sampson, the Supreme Court explained that these sorts of burdens common to
       10   most losses of government employment are insufficient. See 415 U.S. at 92 n.68 (“[I]nsufficiency
       11   of savings or difficulties in immediately obtaining other employment—external factors common
       12   to most discharged employees and not attributable to any unusual actions relating to the discharge
       13   itself—will not support a finding of irreparable injury”); see also Smith v. Department of the Army,
       14   89 M.S.P.R. 82, 83 (2001) (noting remedial actions for life and health insurance for federal
       15   employee reinstated after RIF).
       16           The Court also noted Sampson’s qualification “that cases may arise in which the
       17   circumstances surrounding an employee’s discharge, together with the resultant effect on the
       18   employee, may so far depart from the normal situation that irreparable injury might be found.” 415
       19   U.S. at 92 n.68. The Court found this exception applicable because “[t]he Court here is not
       20   considering the potential loss of income of one individual employee, but the widespread
       21   termination of salaries and benefits for individuals, families, and communities.” TRO Opinion at
       22   38. But as the plain language from this passage in Sampson makes clear, the Supreme Court was
       23   talking about “circumstances surrounding an employee’s discharge, together with the resultant
       24   effect on the employee.” 415 U.S. at 92 n.68 (emphasis added)—in other words, an extraordinary
       25   injury to a particular employee. This does not mean that an injury “common to most discharged
       26   employees” can be transformed into an irreparable one by multiplying it across a group of affected
       27   employees. Id. Plaintiffs also heavily emphasize other types of alleged harm associated with RIFs,
       28   allegedly suffered by other parties. See PI Brief at 9 (speculating that RIFs at EPA “will impede



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        1   the abatement of lead contamination in drinking water” and that other RIFs will allegedly impair
        2   a “County’s ability to respond to the measles outbreak”). But assuming that those asserted
        3   speculative, indirect, downstream harms sufficed for standing, which they do not, irreparable
        4   injury for purposes of injunctive relief requires more. See Monsanto Co. v. Geertson Seed Farms,
        5   561 U.S. 139, 162 (2010). If the employees who face RIFs are not entitled to injunctive relief as
        6   an equitable matter, it would turn equity on its head to grant injunctive relief based on more remote
        7   harms to third parties claiming that they are indirectly affected by the employees’ treatment.
        8           By contrast, this Court’s TRO has inflicted—and a preliminary injunction will further
        9   inflict—irreparable harm on the Government and the public interest. Such orders prevent the
       10   implementation of agency RIFs pursuant to the Executive Order and Memorandum and seriously
       11   hampering agencies’ control over their own administration. As the Supreme Court has observed,
       12   “the Government has traditionally been granted the widest latitude” in personnel matters and “the
       13   ‘dispatch of its own internal affairs.’ ” Sampson, 415 U.S. at 83 (citation omitted). Even more
       14   concretely, the inevitable consequence of Plaintiffs’ requested injunction against 22 components
       15   including 12 Cabinet-level Departments, see PI Motion at 1, is to compel federal agencies to keep
       16   large numbers of employees on the payroll without necessity, at unrecoverable taxpayer expense,
       17   thereby frustrating the government’s efforts to impose budgetary discipline and build a more
       18   efficient workforce. The Supreme Court has expressed concern about the intrusion inflicted by a
       19   court order directing the reinstatement of a single government employee, see Sampson, 415 U.S.
       20   at 91-92; it follows that an order freezing much larger layoffs unquestionably inflicts substantial
       21   and irreparable injury on the government as an employer and steward of public funds. The Supreme
       22   Court has also recognized much smaller fiscal and administrative injuries as constituting
       23   irreparable harm. See Department of Education v. California, 145 S. Ct. 966 (2025) (stay granted
       24   where TRO permitted potentially unrecoverable drawdowns of $65 million in grant funds);
       25   Heckler v. Turner, 468 U.S. 1305, 1307-08 (1984) (Rehnquist, J., in chambers) (prospect of the
       26   government being forced to make $1.3 million in improper payments per month supported a stay).
       27   And because the TRO broadly enjoins implementation of the Executive Order’s directive to
       28   prepare for RIFs, it has sown confusion throughout the Executive Branch over what internal



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        1   administrative and planning actions agencies are permitted to undertake consistent with the order’s
        2   terms. See infra p. 23.
        3   III. Any Relief Should be Limited
        4           The Court should deny Plaintiffs’ motion in its entirety. But even if the Court determines
        5   that an injunction is appropriate, it should limit its scope in multiple respects.
        6           First, the Court should limit relief to the named parties. Nationwide relief would be
        7   improper because “injunctive relief should be no more burdensome to the defendant than necessary
        8   to provide complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753,
        9   765 (1994) (citation omitted). In granting broader relief, this Court acknowledged that its order
       10   would “provide relief beyond the named parties,” but it claimed that “to do otherwise is
       11   impracticable and unworkable, particularly where the agencies’ RIF plans largely remain secret.”
       12   TRO Opinion at 39. Plaintiffs repeat this point. PI Brief at 22-23. But it is up to the government to
       13   determine whether complying with a properly limited injunction is sufficiently unworkable that it
       14   should choose to extend broader relief to make it easier to comply. See Arizona v. Biden, 40 F.4th
       15   375, 398 (6th Cir. 2022) (Sutton, C.J., concurring) (“that is initially the National Government’s
       16   problem, not ours”).
       17           Second, Defendants again request that the Court make clear that any injunction enjoining
       18   implementation of the Workforce Executive Order and/or Workforce Memorandum does not
       19   deprive any enjoined components of their preexisting authority to conduct RIFs and otherwise
       20   manage their workforce independent of the Executive Order and the ARRP process set forth in the
       21   Workforce Memorandum, authority this Court did not question.
       22           Independent of these arguments, any injunction should be considerably narrower than the
       23   TRO Order and significantly narrower than the preliminary injunction Plaintiffs have requested.
       24   “Although a district court has considerable discretion in fashioning suitable relief and defining the
       25   terms of an injunction, injunctive relief must be tailored to remedy the specific harm alleged.”
       26   Flathead-Lolo-Bitterroot Citizen Task Force v. Montana, 98 F.4th 1180, 1195 (9th Cir. 2024). An
       27   injunction also must “describe in reasonable detail—and not by referring to the complaint or other
       28   document—the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1)(C).


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        1           The TRO is not consistent with these principles. It broadly enjoined all implementation or
        2   enforcement “sections 3(c) and 3(e) of Executive Order 14210.” TRO Opinion at 40. Because
        3   Section 3(c) directs agencies to “undertake preparations” for RIFs, the TRO limits agencies’
        4   latitude to engage in a wide variety of internal planning and organizational activities. By its literal
        5   terms, the TRO at least arguably prevents (to take just some examples), drafting of Federal Register
        6   notices or similar draft documents, discussions among agency staff and agency counsel about
        7   potential future RIFs that might be taken pursuant to the Executive Order, and any other
        8   preparatory activities. But mere preparations do not harm Plaintiffs, and the breadth of the TRO
        9   represents an unjustified intrusion into the internal affairs of a coequal branch of government. And
       10   by broadly enjoining preparations, the TRO runs afoul of the principle that “an ordinary person
       11   reading the court’s order should be able to ascertain from the document itself exactly what conduct
       12   is proscribed,” Scott v. Schedler, 826 F.3d 207, 211-12 (5th Cir. 2016). Any preliminary injunction
       13   should be limited to discrete, clear actions that affect individual employees, and that are easily
       14   understood by any enjoined parties: issuance of new RIF notices or execution of existing notices
       15   pursuant to the Executive Order and Memorandum or, at most, these activities in addition to
       16   administrative leave placements, elimination or consolidation of programs or functions, transfer
       17   of functions or programs between the Agency Defendants taken pursuant to the challenged
       18   Executive Order and Memorandum. So limited to clear and identifiable prohibited actions, there
       19   is also no need for—and the Court should not order—“a proposed compliance plan” with the
       20   proposed review/response/objection process Plaintiffs propose, ECF No. 101 at 2. That laborious
       21   process is also demeaning to a coequal branch of government.
       22           Finally, the Court should reject out of hand Plaintiffs’ request “to rescind . . . any prior
       23   action taken to implement Executive Order 14210 and/or the OMB/OPM Memorandum and/or the
       24   ARRPs.” ECF No. 101 at 2. Although not entirely clear, Defendants understand Plaintiffs to seek
       25   restoration of the full state of affairs virtually government-wide as it existed on February 10 (the
       26   day before the Workforce Executive Order was issued), including by undoing completed actions.
       27   Thus, for example, although Plaintiffs allow that “the requested injunction would not order
       28   reinstatement of employees to former federal employment,” that is only because, on Plaintiffs’



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        1   understanding, no employees have yet been separated, PI Brief at 22.
        2           Notably, this is far broader than Plaintiffs’ TRO motion which sought only prospective
        3   relief. ECF No. 37 at 2 (seeking to enjoin “any further approval of” ARRPs, “any further” supposed
        4   specified orders by USDS, “any further implementation,” and “any further transfer of functions or
        5   programs”); see also PI Brief at 3 (acknowledging that preliminary injunction motion extends
        6   beyond what Plaintiffs requested in seeking a TRO). And any such backward looking relief would
        7   be both highly burdensome and contrary to the principle that “courts must be ‘institutionally wary
        8   of granting relief that disrupts, rather than preserves, the status quo.’” Hanson v. Dist. of Columbia,
        9   120 F.4th 223, 247 (D.C. Cir. 2024) (quoting Singh v. Berger, 56 F.4th 88, 95 (D.C. Cir. 2022)).
       10           Plaintiffs cite Doe #1 v. Trump, 957 F.3d 1050 (9th Cir. 2020), and Fellowship of Christian
       11   Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 682 (9th Cir. 2023), for the
       12   proposition that the “status quo” represents the state of affairs before the challenged assertedly
       13   unlawful action. But in those cases the Ninth Circuit simply addressed whether enforcement of the
       14   challenged action (a Presidential Proclamation in Doe #1 and a school district policy in Fellowship
       15   of Christian Athletes) represented the status quo for purposes of determining whether an injunction
       16   enjoining its implementation should be subject to a higher standard. The courts there did not also
       17   hold that it would be appropriate on a programmatic level to reach and attempt to unwind every
       18   action that might have taken pursuant to the challenged action, including by subjecting the
       19   government to a complex and judicially supervised “compliance plan.” ECF No. 101 at 2. And in
       20   any event, even if the relevant “status quo” were February 10 (and it is not), it would be an abuse
       21   of discretion to issue an injunction requiring a virtual Executive Branch wide effort to restore the
       22   world as it existed on that date, particularly since Plaintiffs waited more than three months to seek
       23   that relief and did not seek it in their TRO Motion.
       24           Finally, whether it grants or denies a preliminary injunction, the Court should leave in place
       25   its directive to Plaintiffs’ counsel not to “share the [ARRPs] or their contents with their clients or
       26   any third parties unless or until the Court orders otherwise.” ECF No. 109 at 5. Following the
       27   disposition of this motion, Defendants intend to move the Court for an order requiring Plaintiffs’
       28   counsel to destroy all copies of the disclosed ARRPs and to certify compliance with any such



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        1   order.
        2   IV.      Plaintiffs Should Be Ordered to Post Security in Connection with Any Relief
        3            The Government repeats and incorporates by reference its argument that Plaintiffs should
        4   be required to post a security bond, as well as its argument about the appropriate scope of any such
        5   bond. TRO Opposition at 50.
        6                                                  CONCLUSION
        7            The Court should deny the motion for a preliminary injunction.
        8   Dated: May 19, 2025                                  Respectfully submitted,
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          17
                                              UNITED STATES DISTRICT COURT
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                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                  SAN FRANCISCO DIVISION
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          21     AMERICAN FEDERATION OF                              Case No. 3:25-cv-03698-SI
                 GOVERNMENT EMPLOYEES, AFL-CIO,
          22     et al.,                                             PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                     MOTION FOR PRELIMINARY
          23
                          Plaintiffs,                                INJUNCTION
          24
                     v.
          25
                 DONALD J. TRUMP, in his official capacity
          26     as President of the United States, et al.,
          27              Defendants.
          28


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           1             Plaintiffs submit this brief reply to address arguments made by Defendants in opposition to

           2    Plaintiffs’ Motion for Preliminary Injunction.

           3    1.       Defendants cannot separate RIFs from the challenged reorganization of the government.

           4             Defendants insist that this case is only about the implementation of RIFs, which, they argue,

           5    have nothing to do with reorganization of the government. E.g, Opp. at 1 (“the essence of Plaintiffs’

           6    Complaint…”), 2 (“a RIF is not a reorganization…”), 16 (same). This defies not only the plain

           7    language of the Executive Order (“EO”) and implementing OMB/OPM Memorandum (“Memo”), but

           8    also the record evidence. Indeed, the sole purpose of the RIFs is to effectuate the President’s

           9    “transformation” of federal agencies according to his vision of radical downsizing, including

          10    eliminating all discretionary functions and the offices and programs he decides to eliminate. ECF 37-

          11    1 App. A (EO, §§3, 4); App. B (ordering agencies to create ARRPs).1

          12             In furtherance of this point, Defendants attempt to separate the President’s orders regarding

          13    RIFs and reorganization in different “subsections,” and downplay the EO as “simply direct[ing]

          14    agencies to prepare a report” with respect to reorganization. Opp. at 15. But Defendants eventually

          15    concede that agencies are developing and implementing these ARRPs (including the RIFs) only

          16    because of the President’s order to transform the government. Opp. at 14. Defendants also do not

          17    deny that the record is replete with examples of agencies cutting offices and programs that the

          18    President deemed should be eliminated, and engaging in substantial internal and external

          19    reorganizations that reflect large-scale RIFs and eliminate the positions and functions that the

          20    Administration believes are not required by statute or considered “essential” during an agency

          21    shutdown. Indeed, Defendants now concede that they are not contesting any facts. Opp. at 3.

          22             Even if there could be any doubt regarding what the President has ordered, the OMB/OPM

          23    Memo puts that to rest: all agencies government-wide are instructed that the President has “directed

          24    them to ‘eliminat[e] waste, bloat, and insularity.’” ECF 37-1, App. B at 1. All agencies are therefore

          25    instructed to create a combined ARRP on an incredibly truncated timeline, which includes: “A

          26
                     1
                      Defendants ignore Ninth Circuit law in contending that the EO’s purpose is irrelevant. Opp. at
          27    18; see City & County of San Francisco v. Trump, 897 F.3d 1225, 1238 (9th Cir. 2018) (“As is true of
          28    interpretation of statutes, the interpretation of an Executive Order begins with its text, which must be
                construed consistently with the Order’s object and policy.” (internal quotations omitted)).

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           1    significant reduction in the number of full-time equivalent (FTE) positions by eliminating positions

           2    that are not required.” Id. at 2. OMB and OPM further instruct:

           3           “Pursuant to the President’s direction, agencies should focus on the maximum elimination of
                       functions that are not statutorily mandated while driving the highest-quality, most efficient
           4           delivery of their statutorily-required functions” and
           5
                       “Agencies should also seek to consolidate areas of the agency organization chart that are
           6           duplicative; consolidate management layers where unnecessary layers exist; seek reductions
                       in components and positions that are non-critical…” and
           7
                       “Agency heads should collaborate with their Department of Government Efficiency
           8           (“DOGE”) team leads within the agency in developing competitive areas for ARRPs. [T]he
                       agency should specifically identify competitive areas that include positions not typically
           9
                       designated as essential during a lapse in appropriations. When making this determination,
          10           agencies should refer to the functions that are excepted from the Antideficiency Act (ADA) in
                       the Agency Contingency Plans submitted to OMB in 2019 as the starting point for making
          11           this determination.”
          12    Id. (emphases added). Then, once the initial substantial RIFs are accomplished, the agencies are
          13    further ordered to rearrange the pieces that are left, in the Phase 2 plans (which also include
          14    “subsequent large-scale RIFs”). Id. at 4-6.
          15           Defendants also do not contest the record evidence showing that OMB and OPM are
          16    enforcing these requirements. For example, they do not dispute that the National Labor Relations
          17    Board (“NLRB”)’s mid-March ARRP, which stated that NLRB staff were necessary to perform the
          18    agency’s statutorily-mandated functions and therefore should not be RIF’d, was rejected by OMB
          19    and OPM, which informed the agency it did not “meet expectations” and directed the NLRB to cut
          20    staff. ECF 36, Ex. 1. Nor do they dispute that the same occurred to the National Science Foundation
          21    (“NSF”) which was similarly told by OMB/OPM to go back to the drawing board and impose large
          22    RIFs, and NSF complied by submitting a revised ARRP and issuing the RIFs required by OMB,
          23    OPM, and DOGE. ECF 37-32 ¶¶8-14; ECF 96-1 ¶¶15-20.2
          24
                   2
          25          While Plaintiffs lack access to OMB/OPM approvals and disapprovals and DOGE orders,
                Plaintiffs have uncovered and submitted evidence showing OMB/OPM is responding in writing to at
          26    least some agencies. ECF 36 Ex. 1 (NLRB); see also ECF 37-12 ¶24 (OMB rejected AmeriCorps
                ARRP for not including RIF). For example, OMB/OPM directed non-defendant agency National
          27    Endowment for the Humanities to modify its proposal dramatically to cut at least 70% of its staff and
          28    to start implementing the RIFs immediately. ECF 96-1 ¶¶6-13, Ex. 1 at 4-6 & Atts. D, I. Defendants
                have provided no counter-evidence.

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           1           The undisputed record shows that the President has ordered all agencies to reorganize by

           2    cutting the functions and positions that OMB/OPM determine are not mandated by statute, regardless

           3    of the reason Congress provided agencies with that discretion or appropriated funds for those

           4    programs and functions. And that is exactly what agencies are doing, on an unprecedented scale. See

           5    ECF 37-1, App A, B; ECF 37-1 at 12-29; ECF 70 at 1-35; ECF 101-1 at 11-13.3 While agencies may

           6    have some leeway in their proposals and recommendations to OMB and OPM (for OMB and OPM

           7    decision-making) regarding how and when to implement the actions that serve the purpose of

           8    reorganizing, the actions result from these unlawful order to reorganize.4

           9           It matters not, as Defendants also contend here, that OPM’s regulations discuss RIFs for the

          10    purpose of reorganization (Opp. at 16), because in this case the reorganization that the RIFs are

          11    effectuating is not authorized by law. When a President wishes to implement such a plan to

          12    transform the government, the order of action required by the Constitution is: propose a legislative

          13    plan to Congress, get Congressional approval, and then RIF, if Congress has approved the reductions.

          14    By proceeding in the opposite order, without congressional authorization, the President violates the

          15    Constitution, and his implementing agencies violate the law, including the APA.

          16           2. Defendants cannot absolve OMB, OPM, and DOGE.

          17           Defendants attempt to shield OMB, OPM, and DOGE by claiming that the Federal Agency

          18    Defendants are, in fact, making all the decisions here (notwithstanding having conceded that they are

          19    not relying on any facts, (Opp. at 3). But besides the mandatory language discussed above, and the

          20    requirement of OPM/OMB approval, Defendants ignore language limiting Agency Heads’ discretion

          21    to grant exceptions to the requirements of the EO to a single basis (for “any position they deem

          22    necessary to meet national security, homeland security, or public safety responsibilities”) while

          23

          24       3
                      This Court correctly concluded in its TRO that the record includes many examples of Defendants
                cutting statutorily authorized programs as well. ECF 85 at 2-4.
          25
                    4
                      See, e.g., New York v. Trump, 133 F.4th 51, 68 (1st Cir. 2025) (affirming conclusion that “any
          26    ‘suggest[ion] that the challenged federal funding freezes were purely the result of independent agency
                decisions’ was ‘disingenuous’”); Nat’l Council of Nonprofits v. OMB, 2025 WL 597959 at *7 (D.D.C.
          27    Feb. 25, 2025) (rejecting contention that “countless federal agencies ... suddenly began exercising their
          28    own discretion to suspend funding across the board at the exact same time” because it requires
                “unfathomable” “coincidental assumptions” and “contradicts the record”).

                                                  Add.658
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           1    giving OPM broad authority to “grant exemptions from this order where those exemptions are

           2    otherwise necessary and shall assist in promoting workforce reduction.” ECF 37-1, App. A (§4).

           3           Defendants’ hypothesizing that agencies could implement these actions without OPM/OMB

           4    approval entirely ignores the Memo’s requirement of approval for all ARRPs. See ECF 37-1, App.

           5    B. Defendants also ignore the language expressly stating that agencies cannot implement without

           6    this particular OMB/OPM certification: “agencies or components that provide direct services to

           7    citizens (such as Social Security, Medicare, and veterans’ health care) shall not implement any

           8    proposed ARRPs until OMB and OPM certify that the plans will have a positive effect on the delivery

           9    of such services.” ECF 37-1, App. B at 6 (emphasis added).

          10           Defendants do not rehabilitate OMB and OPM on the law either. It is not “comfortably

          11    within OPM’s and OMB’s statutory authorities” (Opp. at 19) for either agency to require other

          12    agencies to engage in massive layoffs in service of a government-wide reorganization that includes

          13    the “maximum elimination of functions” that OMB and OPM determined are not “required,”

          14    pursuant to the President’s EO and the Memo. ECF 37-1, App. A, B at 1-2. None of the statutes

          15    cited by Defendants that delegate rule-making functions to OPM authorize OPM decision-making

          16    authority regarding the fact, scale, or timing of actions reorganizing agencies or imposing RIFs. 5

          17    U.S.C. §§1103, 1105, 3502. As OPM’s own implementing regulations state: not OPM, but “Each

          18    agency is responsible for determining the categories within which positions are required, where they

          19    are to be located, and when they are to be filled, abolished, or vacated.” 5 C.F.R. § 351.201. Nor do

          20    OMB’s statutorily authorized functions include wielding final decision-making authority over other

          21    agencies’ RIFs or reorganization plans. See 31 U.S.C. §§501-507; see also 5 U.S.C. §3502 (RIF

          22    retention order statute, identifying no role for OMB). The Government cites only 31 U.S.C. §503,

          23    which authorizes OMB to “establish general management policies for executive agencies” and to

          24    “[f]acilitate actions by the Congress and the executive branch to improve the management of Federal

          25    Government operations.” 31 U.S.C. §503(b) and (b)(4). But the plain language of these provisions

          26    does not extend to approving or rejecting the content or timing of RIF or reorganization plans.
          27            The only remaining claimed source of authority for OMB and OPM is the EO itself. But the

          28    President can only execute the laws, not make them. And Congress plainly gave basic employment


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           1    authority to the federal agencies, not OPM or OMB, 5 U.S.C. §3101, and the President has no

           2    authority to transfer that delegated authority between agencies without congressional approval. And,

           3    because the EO’s directives are unlawful, OMB and OPM’s Memorandum and any ARRP approvals

           4    premised thereon are similarly without authority.

           5           3.      Defendants overstate agencies’ authority to RIF.

           6           Even if they were not acting pursuant to orders by the President and his implementing

           7    agencies (which they are), agencies would abuse their discretion and act arbitrarily and capriciously

           8    by: eliminating every discretionary function at the same time regardless of need or purpose,

           9    eliminating the offices and programs the President dictates, and eliminating all positions not

          10    considered “essential” during government shut-downs. Defendants erroneously contend that

          11    Plaintiffs do not identify any independent basis to conclude that the agencies violate any statute even

          12    if they were taking these actions on their own: across the board, agencies are violating the APA by

          13    engaging in these reorganizations according to the President’s required parameters.5

          14           Defendants also misconstrue the relevant statutes to claim that agencies have unfettered

          15    discretion to RIF employees, for any purpose at all. Congress has generally authorized agencies to

          16    “employ such number of employees” that “Congress may appropriate for from year to year,” 5 U.S.C.

          17    §3101, and to “prescribe regulations for the government of his department, the conduct of its

          18    employees, the distribution and performance of its business, and the custody, use, and preservation of

          19    its records, papers, and property.” Id. §301.6 And while Congress has enacted a “Retention

          20    Preference” that requires agencies to use a particular order of retention if conducting a RIF, 5 U.S.C.

          21    §§3501-04, that retention order statute (and implementing regulations) do not independently provide

          22    the authority to engage in a RIF, nor discuss the scope of that authority. 5 U.S.C. §3502; 5 C.F.R. Pt.

          23    351. All of the historical statutes invoked by Defendants (Opp. at 1, “since the nineteenth

          24
                   5
          25          Whether agencies are also violating any of their organic statutes or appropriations requirements
                is an additional issue, but Plaintiffs need not demonstrate each and every action in these ARRPs that
          26    violates some additional law, to demonstrate that the President and these agencies have violated the
                Constitution and the APA.
          27        6
                      Section 301 is known as the “housekeeping” statute and “authoriz[es] what the APA terms ‘rules
          28    of agency organization procedure or practice’ as opposed to ‘substantive rules.’” Chrysler Corp. v.
                Brown, 441 U.S. 281, 310 (1979).

                                                  Add.660
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           1    century…”) also address retention preference, not the source of authority to conduct a RIF. E.g., Ch.

           2    287, §3, 19 Stat. 143, 169 (Aug. 15, 1876); see also Veterans’ Preference Act of 1944, Pub. L. No.

           3    78-359, §12, 58 Stat. 390 (predecessor of the modern 5 U.S.C. §3502).

           4           The authority to conduct a RIF, like the general “housekeeping” and employment authority

           5    delegated to agencies by Congress, is best understood as attendant to federal agencies’ authority to

           6    establish positions to carry out functions Congress has assigned them and to observe and respect

           7    appropriations. E.g., 5 U.S.C. §301; §3101. Thus, historically, prior Administrations have addressed

           8    workforce reduction as part of the budget dialogue with Congress, and have not unilaterally ordered

           9    government-wide RIFs, as the Government inaccurately asserts here. Opp. at 14. Again, President

          10    Clinton did not order a RIF. Exec. Order No. 12,839, §1, 58 Fed. Reg. 8515 (Feb. 10, 1993).7

          11    President Clinton obtained congressional authorization for his buyout plans. Federal Workforce

          12    Restructuring Act of 1994, Pub. L. 103-226, 108 Stat. 111 (1994); see Exec. Order No. 12,839, 58

          13    Fed. Reg. 8515 (Feb. 10, 1993). When Congress has wanted to authorize the executive branch to

          14    reduce the federal workforce, it has done so by legislation. See, e.g., Workforce Restructuring Act of

          15    1994, 108 Stat. 116 (directing President to meet targets for reduction of federal civilian workforce);

          16    Defense Authorization Amendments and Base Closure and Realignment Act, 102 Stat. 2623, 2627

          17    (1988) (authorizing several rounds of closures of military installations that employed military and

          18    civilian personnel), as amended by 104 Stat. 1485, 1808-14 (1990), and by 108 Stat. 2626 (1994),

          19    and by 115 Stat. 1342 (2004); Federal Employees’ Pay Act of 1945, Pub. L. 79-106, § 607(b), 59

          20    Stat. 295 (granting budget director authority to set agency personnel ceilings and order reductions in

          21    staffing), repealed 64 Stat. 843 (1950); see also, generally, 5 U.S.C. §2301 (merit system principles

          22    constrain removal of civil service employees).

          23           Finally, Defendants misconstrue Nixon v. Fitzgerald, 457 U.S. 731 (1982), which involved

          24    the President’s authority with respect to military departments under Title 10 of the U.S. Code. Id.

          25    (citing the former 10 U.S.C. § 8012(b), now codified at 10 U.S.C. § 9013(g)); see Opp. at 13, 15.

          26
          27       7
                      See also House Rep. 103-386, available at 1994 U.S.C.C.A.N. 49, 52 (Nov. 19, 1993) (“The
          28    [OMB] bulletin specified that neither it nor the Executive Order [No. 12839] authorized special early
                out programs or required agencies to undergo reductions-in-force.”) (emphasis added).

                                                   Add.661
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           1    The President’s constitutional authority over military departments as Commander in Chief, and how

           2    that impacts statutory authority over those departments, is not at issue in this case. The Nixon Court

           3    also cautioned, even as to the President’s authority with respect to the military: “This is not to say

           4    that, in a given case, it would not be appropriate to raise the question whether an official—even a

           5    President—had acted within the scope of the official’s constitutional and statutory duties.” Id. at 761

           6    n.4. That is the question here—whether the President acted ultra vires with respect to non-military

           7    agencies—and Nixon does not remotely answer it.

           8           4. Defendants concede they are not relying on facts or evidence.

           9           Defendants state they are relying on no facts to support their opposition: “Defendants did not

          10    make any factual representations” in opposition to Plaintiffs’ Motion for Temporary Restraining

          11    Order (“TRO”), and “[w]e similarly do not make or rely on any factual representations here,” Opp. at

          12    1. However, Defendants’ brief is actually rife with factual assertions. The following statements of

          13    fact are not supported by any evidence, as Defendants have expressly conceded:

          14           •   “ARRPs are always subject to change and agencies are not bound to follow all of the
                           recommendations, strategies and proposals ARRPs contain” (Opp. at 14).
          15

          16           •   “RIFS, like analogous layoffs in the private sector, are often large-scale by their nature”
                           (Opp. at 16);
          17
                       •   “A RIF is not a reorganization” (Opp. at 2);
          18
                       •   “Of course, if a particular agency’s governing statutes require such components, the
          19
                           agency would presumably conclude that it was required to maintain those components”
          20               (Opp. at 18) (emphasis removed);

          21           •   “[A]ny harm to employees associated with RIFs themselves are not irreparable” (Opp. at
                           20);
          22

          23           •   “Such orders prevent the implementation of agency RIFs pursuant to the Executive Order
                           and Memorandum and [sic] seriously hampering agencies’ control over their own
          24               administration.” (Opp. at 21) (emphasis added);

          25           •   “[I]t follows that an order freezing much larger layoffs unquestionably inflicts substantial
                           and irreparable injury on the government as an employer and steward of public funds”
          26
                           (Opp. at 21); and
          27
                       •   “[T]he inevitable consequence of Plaintiffs’ requested injunction… is to compel federal
          28               agencies to keep large numbers of employees on the payroll without necessity, at

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           1                 unrecoverable taxpayer expense, thereby frustrating the government’s efforts to impose
                             budgetary discipline and build a more efficient workforce.” (Opp. at 21).
           2
                       Defendants therefore concede that they are not relying on facts or evidence to support their
           3
                assertions of purported harm to the government’s budget. They also greatly overreach. Congress,
           4
                not the President, sets the budget for the federal agencies, and it is for Congress, not the President, to
           5
                impose “budgetary discipline.” U.S. Const. art. 1, §9; see also, e.g., 31 U.S.C. §1105(a) (requiring
           6
                the President to submit his proposal for federal budget to Congress no later than “on or after the first
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                Monday in January but not later than the first Monday in February of each year”). The President is
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                the steward of the laws that Congress enacts; he does not establish or alter those laws, and he does
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                not unilaterally determine the budget for the federal agencies. See U.S. Const. art. II, §3.8 To the
          10
                extent that Defendants’ assertions of “harm” effectively admit that the purpose of the President’s EO
          11
                is to usurp congressional budgetary authority by slashing spending (and particularly spending on the
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                federal civil service)—the President simply has no authority to do that, for all the reasons previously
          13
                explained.
          14
                       5. The scope of the proposed preliminary injunction is appropriate.
          15
                       The scope of the unlawful action challenged in this litigation extends to the ARRPs created
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                for the sole purpose of effectuating the President, OMB, and OPM’s unlawful orders, and being
          17
                implemented now, to effectuate those orders. Defendants argue that relief should be limited to the
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                named parties, Opp. at 22, but the Supreme Court has long recognized that injunctions may properly
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          20

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                   8
                      Cnty. of Santa Clara v. Trump, 250 F.Supp.3d 497, 531 (N.D. Cal. 2017) (“Where Congress has
                failed to give the President discretion in allocating funds, the President has no constitutional authority
          22    to withhold such funds and violates his obligation to faithfully execute the laws duly enacted by
                Congress if he does so.”); see also Widakuswara v. Lake, 2025 WL 1166400, at *15 (D.D.C. Apr. 22,
          23    2025) (“defendants’ unwillingness to expend funds in accordance with the congressional
          24    appropriations laws is a direct affront to the power of the legislative branch”); Aids Vaccine Advoc.
                Coal. v. United States Dep't of State, 2025 WL 752378, at *15 (D.D.C. Mar. 10, 2025) (President
          25    lacks authority “to rescind or defer the funds Congress has appropriated); PFLAG, Inc. v. Trump,
                2025 WL 685124, at *19 (D. Md. Mar. 4, 2025) (President may not direct agencies to withhold
          26    congressionally appropriated funds “in order to further an administrative policy”); Nat’l Council of
                Nonprofits v. OMB, 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025) (OMB may not “interfer[e] with
          27    Congress’s appropriation of federal funds); New York v. Trump, 2025 WL 357368, at *2 (D.R.I. Jan.
          28    31, 2025) (“The Executive Branch has a duty to align federal spending and action with the will of the
                people as expressed through congressional appropriations, not through ‘Presidential priorities.’”).

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           1    benefit nonparties when “necessary to redress the [harm to the] complaining parties.” Califano v.

           2    Yamasaki, 442 U.S. 682, 702 (1979); see also Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv.

           3    Sys., 603 U.S. 799, 830-31 (2024) (Kavanaugh, J., concurring) (“[T]his Court has affirmed countless

           4    decisions that vacated agency actions … rather than merely providing injunctive relief that enjoined

           5    enforcement of the rules against the specific plaintiffs.” (citations omitted)) (collecting cases). This

           6    is appropriate when there is no other workable way to provide complete relief, because the harm

           7    cannot be selectively blocked only as to the named plaintiffs. See, e.g., Allen v. Milligan, 599 U.S. 1,

           8    17 (2023) (affirming grant of preliminary injunction of Alabama’s redistricting plan in racial

           9    gerrymandering case); Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 9

          10    (2020) (holding that agency rescission of a national immigration program “must be vacated”).

          11            As this Court previously correctly found, it would be “impracticable and unworkable” to

          12    attempt to grant piecemeal relief that enjoins Defendants’ unlawful reorganization of entire agencies

          13    only to the extent that it affects Plaintiffs, but not otherwise. ECF 85 at 39. Plaintiffs demonstrated

          14    actual and imminent harm to Plaintiffs and their millions of members across the country. See ECF

          15    37-1 at 13-29.9 As explained above, the President’s orders are being implemented through ARRPs

          16    that include eliminating entire offices, programs, and functions that the President decides to cut, and

          17    to the “maximum extent” possible eliminating functions deemed non-essential for statutory mandates

          18    (as determined by the President, OMB, and OPM), and then those decisions are being implemented

          19    by RIFing federal employees. Those impacted by the resulting RIFs include hundreds of thousands

          20    of Plaintiffs’ federal employee union members. Rescinding individual union members’ RIF notices

          21    does little if there is no office or position to return to as the result of Defendants’ reorganization.

          22            Nor can injuries to Plaintiffs and their members due to the disruption and harm to government

          23    services be redressed by piecemeal recission either. For instance, the Social Security

          24    Administration’s agency-wide RIFs will drastically increase processing and assistance times and

          25    impede or delay the provision of benefits nationwide, including to nonprofit defendant Alliance for

          26
                    9
                     See also ECF 37-39 ¶2 (Alliance for Retired Americans); ECF 37-26 ¶4 (SEIU); ECF 41-5 ¶3
          27
                (AFSCME); ECF 37-23 ¶2 (AFGE); ECF 101-8 ¶3 (NRDC); ECF 37-44 ¶5 (Common Defense); ECF
          28    37-45 ¶5 (AGU); ECF 37-43 ¶2 (Main Street Alliance); ECF 37-36 ¶2 (American Public Health
                Association); ECF 37-37 ¶1 (NOFA); ECF 37-41 ¶3 (CPANP); ECF 37-40 ¶4 (WWP).

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           1    Retired Americans’ 4.4 million members. ECF 37-1 at 26; ECF 37-39 at 1. The reduction of Small

           2    Business Administration (“SBA”) staff by almost half will cause significant delays to loans, disaster

           3    loan guarantees, and other services SBA provides to small businesses, harming nonprofit defendant

           4    Main Street Alliance’s 30,000 members nationwide. ECF 37-1 at 25; ECF 37-43 at 1. The expected

           5    termination of 80,000 positions at Department of Veterans Affairs will severely hinder its ability to

           6    provide health care, help veterans access other benefits, and process claims, harming nonprofit

           7    Common Defense and its 40,000 veteran members (and their families) nationwide. ECF 37-1 at 28-

           8    29; ECF 37-44 ¶¶7-22; see also ECF 37-38 ¶¶2-19 (VoteVets has 2 million supporters nationwide);

           9    ECF 37-5 ¶21.

          10           The NSF’s 50% staffing cuts will have devasting effects on scientific research and

          11    technology, including on the 29,000 scientist members of nonprofit American Geophysical Union

          12    (“AGU”) in the United States. ECF 37-1 at 24; ECF 37-45 ¶¶5, 21-26. The National Oceanic and

          13    Atmospheric Administration’s (“NOAA”) planned nationwide cuts will compromise public safety in

          14    cities and counties nationwide that rely on NOAA’s National Weather Service for real-time weather

          15    information, data, and expertise. ECF 37-1 at 16. Interior’s nationwide reorganization and

          16    impending RIFs in service of that reorganization will undermine conservation, wildlife protection,

          17    and public land management nationwide, including jeopardizing national parks and national wildlife

          18    refuges, to the detriment of WWP’s 14,000 members, Coalition to Protect America’s National Parks’

          19    4000 members, and local government Plaintiffs. ECF 37-1 at 22-23; ECF 37-40 ¶¶4, 6-8, 10-22, 39.

          20    These types of nationwide and indivisible harms are shown for every federal agency defendant

          21    named in the preliminary injunction motion. See ECF 37-1 at 12-29.

          22           Defendants have presented no contrary evidence disputing Plaintiffs’ showing of harm to

          23    Plaintiffs across the entire country. And they do not deny that these widespread cuts are imminent.

          24    See, e.g., Defs. App. for Stay, U.S. Supreme Court No. 24A1106 (May 16, 2025) at 29 (“[A]bout 40

          25    RIFs in 17 agencies were in progress and are currently enjoined by the TRO.”). Contrary to

          26    Defendants’ assertion that “it is up to the government to determine whether complying with a
          27    properly limited inunction is sufficiently unworkable,” Opp. at 22, it is the province of this Court to

          28    decide the appropriate scope of relief to remedy the Executive Branch’s extensive unlawful actions.


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           1           2. Defendants also mis-portray Plaintiffs’ requested relief as seeking to unwind the clock to a

           2    government-wide “state of affairs” as it “existed on February 10.” Opp. at 23-24. Plaintiffs do no

           3    such thing. The record shows agencies began implementing the President’s orders in roughly late

           4    March. See, e.g., ECF 37-17 ¶¶7-9 (HHS March 27 RIF). Moreover, Defendants are well aware of

           5    the specific, concrete actions that each agency has taken to implement the President’s EO, which are

           6    identified in the plans and timelines that agencies submitted to OMB/OPM, and which are well

           7    within this Court’s ability to address to maintain the status quo. Contrary to Defendants’ professed

           8    “confusion,” the proposed PI does not preclude agencies from “planning.” Opp at 21-22. Agencies

           9    may plan, including planning to request legislative approval. What Plaintiffs seek is to preclude them

          10    from implementing unlawful plans. And Plaintiffs have proposed a reasonable process by which any

          11    such confusion could be addressed by meeting and conferring to formulate a specific and concrete

          12    plan to implement any preliminary injunction. Alternatively, the Court could order Defendants to

          13    identify each action they have taken to implement or comply with the EO, Memo, and ARRPs, and

          14    order them to cease implementing those specified actions.

          15                                               CONCLUSION

          16           For the foregoing reasons, Plaintiffs respectfully request this Court grant Plaintiffs’ Motion

          17    and enter the accompanying proposed preliminary injunction.

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                                       4                                   UNITED STATES DISTRICT COURT

                                       5                                  NORTHERN DISTRICT OF CALIFORNIA

                                       6

                                       7     AMERICAN FEDERATION OF                            Case No. 25-cv-03698-SI
                                             GOVERNMENT EMPLOYEES, AFL-CIO,
                                       8     et al.,
                                                                                               ORDER GRANTING PRELIMINARY
                                       9                    Plaintiffs,                        INJUNCTION
                                      10             v.                                        Re: Dkt. No. 101
                                      11     DONALD J. TRUMP, et al.,
                                      12                    Defendants.
    Northern District of California
     United States District Court




                                      13

                                      14          Presidents may set policy priorities for the executive branch, and agency heads may

                                      15   implement them. This much is undisputed. But Congress creates federal agencies, funds them, and

                                      16   gives them duties that—by statute—they must carry out. Agencies may not conduct large-scale

                                      17   reorganizations and reductions in force in blatant disregard of Congress’s mandates, and a President

                                      18   may not initiate large-scale executive branch reorganization without partnering with Congress. For

                                      19   this reason, nine Presidents over the last one hundred years have sought and obtained authority from

                                      20   Congress to reorganize the executive branch. Other Presidents—including President George W.

                                      21   Bush, President Obama, and President Trump in his first term—asked Congress for agency

                                      22   reorganization authority but did not receive it.

                                      23          The defendants in this case are President Trump, numerous federal agencies, and the heads

                                      24   of those agencies. Defendants insist that the new administration does not need Congress’s support

                                      25   to lay off and restructure large swathes of the federal workforce, essentially telling the Court,

                                      26   “Nothing to see here.” In their view, federal agencies are not reorganizing. Rather, they have

                                      27   simply initiated reductions in force according to established regulations and “consistent with

                                      28   applicable law.” The Court and the bystanding public should just move along.

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                                       1          Yet the role of a district court is to examine the evidence, and at this stage of the case the

                                       2   evidence discredits the executive’s position and persuades the Court that plaintiffs are likely to

                                       3   succeed on the merits of their suit. On February 11, 2025, the President ordered agencies to plan

                                       4   for “large-scale reductions in force” (RIFs) and reorganizations. The agencies began submitting

                                       5   “Agency RIF and Reorganization Plans” for review and approval by the President’s centralized

                                       6   decisionmakers. Agencies then rapidly began to implement these reorganizations and large-scale

                                       7   reductions in force (RIFs) without Congressional approval. In some cases, as plaintiffs’ evidence

                                       8   shows, agency changes intentionally or negligently flout the tasks Congress has assigned

                                       9   them. After dramatic staff reductions, these agencies will not be able to do what Congress has

                                      10   directed them to do.1

                                      11          Defendants try to refute this conclusion by insisting there are no relevant facts to review. In

                                      12
    Northern District of California
     United States District Court




                                      13          1
                                                     To illustrate what is at stake in this litigation, the Court highlights a few examples from the
                                      14   evidence submitted by plaintiffs.
                                                   The National Institute for Occupational Safety and Health (NIOSH) is part of the Centers
                                      15   for Disease Control in the Department of Health and Human Services. Dkt. No. 41-1 (“Decl.
                                           Niemeier-Walsh AFGE”) ¶ 5. There are (or were) 222 NIOSH employees in the agency’s Pittsburgh
                                      16   office that research health hazards faced by mineworkers. Id. ¶ 28. According to the union that
                                           represents many of these employees, the department’s reduction in force will terminate 221 of 222
                                      17   of these positions. Id.
                                                   The federal Office of Head Start resides in the Department of Health and Human Services.
                                      18   Plaintiff Santa Clara County, California runs a childcare and early learning program for 1,200
                                           infants and preschoolers with funding from federal Head Start, but that funding expires June 30,
                                      19   2025. Dkt. No. 37-26 (“Decl. Neuman SEIU”) ¶ 21. County staff worked with Office of Head Start
                                           employees to apply for a grant renewal, but those federal employees have now all been laid off and
                                      20   their San Francisco office closed. Id. Unsure whether its funding will continue, the county has
                                           notified more than one hundred early learning program workers that they might lose their jobs on
                                      21   July 1, 2025. Id.
                                                   The Farm Service Agency in the U.S. Department of Agriculture provides specialized, low-
                                      22   interest loans to small farmers not available from the private sector. Dkt. No. 37-37 (“Decl. Davis
                                           NOFA”) ¶¶ 20-21. After unprecedented flooding in 2024, one Vermont farmer asked the Farm
                                      23   Service Agency for disaster assistance to plant a new crop, but the agency first had to inspect the
                                           fields. Id. ¶ 28. Due to low staffing levels, the farmer had to wait three to four weeks for an
                                      24   inspection and consequently missed the planting window that season. Id. The department now
                                           reportedly intends to further reduce staff at the agency. Id. ¶ 18. Other farmers have reported their
                                      25   contacts at the department have been laid off and the remaining staff are not familiar with their farms
                                           or their projects. Id. ¶¶ 40-41.
                                      26           The Social Security Administration seeks to reduce its workforce by 7,000 employees.
                                           Dkt. No. 37-11 (“Decl. Couture AFGE”) ¶ 9, Ex. C. Since staff reductions began, retirees have
                                      27   reported long wait times to reach an agency representative on the phone, problems with the
                                           agency’s website, and difficulty making in-person appointments. Dkt. No. 37-39 (“Decl. Fiesta
                                      28   ARA”) ¶ 7. One individual got through to a representative only after eleven attempts to call, each
                                           involving hours on hold. Dkt. No. 41-2 (“Decl. Nelson AFSCME”) ¶ 12.
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                                       1   the face of dozens of declarations in support of plaintiffs, defendants have submitted only one sworn

                                       2   declaration by an agency official. Defendants fought the Court’s order for them to disclose the most

                                       3   relevant documents—the agencies’ RIF and reorganization plans themselves.

                                       4          Defendants maintain that the federal agencies are acting of their own accord and not at the

                                       5   President’s direction, asking this Court to review the relevant executive actions using tunnel vision

                                       6   and ignore whatever may be happening on the ground. Numerous courts have rejected similar

                                       7   arguments in recent months. See New York v. Trump, 133 F.4th 51, 69 (1st Cir. 2025) (approving

                                       8   district court’s finding that the “suggest[ion] that the challenged federal funding freezes were purely

                                       9   the result of independent agency decisions rather than the OMB Directive or the Unleashing

                                      10   Guidance . . . [was] disingenuous”); Am. Fed’n of Gov’t Employees, AFL-CIO v. OPM, No. 25-cv-

                                      11   1780-WHA, --- F. Supp. 3d ----, 2025 WL 820782, at *5-6 (N.D. Cal. Mar. 14, 2025) (rejecting the

                                      12   government’s contention that OPM did not issue a “directive” to terminate probationary employees
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                                      13   and stating, “even the fig leaf of agency discretion allowed for in the [OPM memo] was illusory”);

                                      14   Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, --- F. Supp. 3d ----, Civil Action No. 25-239

                                      15   (LA), 2025 WL 597959, at *6-7 (D.D.C. Feb. 25, 2025) (“Defendants would have the court believe

                                      16   that countless federal agencies . . . suddenly began exercising their own discretion to suspend

                                      17   funding across the board at the exact same time. That would be a remarkable—and unfathomable—

                                      18   coincidence.”).

                                      19          Put simply, in this case, defendants want the Court to either declare that nine Presidents and

                                      20   twenty-one Congresses2 did not properly understand the separation of powers, or ignore how the

                                      21   executive branch is implementing large-scale reductions in force and reorganizations. The Court

                                      22   can do neither. On May 9, 2025, the Court ordered defendants to pause their activities for two weeks

                                      23   while it received further arguments from the parties. Dkt. No. 85. Plaintiffs—a collection of unions,

                                      24   non-profit organizations, and local governments—now ask the Court to approve a preliminary

                                      25   injunction that pauses further RIFs and reorganization of the executive branch for the duration of

                                      26
                                      27
                                                  2
                                                      Cong. Rsch. Serv., R42852, Presidential Reorganization Authority: History, Recent
                                      28   Initiatives, and Options for Congress (2012).

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                                       1   this lawsuit. To preserve the status quo and protect the power of the legislative branch, the Court

                                       2   GRANTS the motion.

                                       3

                                       4                                            BACKGROUND

                                       5   I.     Executive Order 14210 and the Challenged Memorandum

                                       6          On February 11, 2025, President Trump issued Executive Order 14210, “Implementing the

                                       7   President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative.” 90 Fed.

                                       8   Reg. 9669 (Feb. 11, 2025). The order “commences a critical transformation of the Federal

                                       9   bureaucracy[.]” Id. § 1. Section 3(c) of the order states,

                                      10                  Agency Heads shall promptly undertake preparations to initiate large-
                                                          scale reductions in force (RIFs), consistent with applicable law, and
                                      11                  to separate from Federal service temporary employees and
                                                          reemployed annuitants working in areas that will likely be subject to
                                      12                  the RIFs. All offices that perform functions not mandated by statute
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                                                          or other law shall be prioritized in the RIFs, including all agency
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                                      13                  diversity, equity, and inclusion initiatives; all agency initiatives,
                                                          components, or operations that my Administration suspends or closes;
                                      14                  and all components and employees performing functions not
                                                          mandated by statute or other law who are not typically designated as
                                      15                  essential during a lapse in appropriations as provided in the Agency
                                                          Contingency Plans on the Office of Management and Budget website.
                                      16                  This subsection shall not apply to functions related to public safety,
                                                          immigration enforcement, or law enforcement.
                                      17   Id. § 3(c). The order also directs agencies to submit a report within thirty days to the Office of
                                      18   Management and Budget that “shall discuss whether the agency or any of its subcomponents should
                                      19   be eliminated or consolidated.” Id. § 3(e).
                                      20          In response to Executive Order 14210, the directors of the Office of Management and Budget
                                      21   (OMB) and the Office of Personnel Management (OPM) sent a memo to heads of executive
                                      22   departments and agencies on February 26, 2025. Dkt. No. 37-1, Ex. B (“OMB/OPM Memo”). The
                                      23   memo states that “tax dollars are being siphoned off to fund unproductive and unnecessary programs
                                      24   that benefit radical interest groups while hurting hard-working American citizens. [¶] The
                                      25   American people registered their verdict on the bloated, corrupt federal bureaucracy on November
                                      26   5, 2024 by voting for President Trump and his promises to sweepingly reform the federal
                                      27   government.”     Id. at 1.   The memo instructed agency heads to submit Agency RIF and
                                      28

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                                       1   Reorganization Plans (ARRPs) to OMB and OPM for review and approval. Agencies were directed

                                       2   to submit a “Phase 1” ARRP by March 13, 2025—i.e., in two weeks—that included, among other

                                       3   information, any Congressional statutes that established the agency, whether parts of the agency

                                       4   should be eliminated, a list of essential positions, how the agency intends to reduce positions, a

                                       5   “suggested plan for congressional engagement to gather input and agreement on major restructuring

                                       6   efforts,” and the agency’s timeline for implementation. Id. at 3-4. The memo directs agencies to

                                       7   submit “Phase 2” ARRPs by April 14, 2025 that include, among other information, all reductions

                                       8   that will occur through RIFs, proposed relocations of offices from the Washington, D.C. area to

                                       9   “less-costly parts of the country,” “[a]n explanation of how the ARRPs will improve services for

                                      10   Americans and advance the President’s policy priorities,” a certification that the ARRPs will

                                      11   improve the delivery of direct services, and a timetable for implementation. Id. at 4-6. The memo

                                      12   also instructs agencies to send monthly progress reports to OMB and OPM on May 14, June 16, and
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                                      13   July 16, 2025. Id. at 6. The memo excludes law enforcement, border security, national security,

                                      14   immigration enforcement, public safety, military personnel, the Executive Office of the President,

                                      15   and the U.S. Postal Service. Id.

                                      16

                                      17   II.    The Agency Defendants and Their Locations Within the Federal Bureaucracy

                                      18          A.      The Central Agencies: OMB, OPM, and DOGE

                                      19          In 1970, Congress transferred OMB to the President’s authority. Reorganization Plan No. 2

                                      20   of 1970, 84 Stat. 2085 (1970) (located at 5 U.S.C. Appendix, page 213). In 1982, Congress codified

                                      21   OMB’s current location in the Executive Office of the President3 at 5 U.S.C §§ 501-507. In 1978,

                                      22   Congress established OPM as an “independent establishment in the executive branch” and the

                                      23   agency resides outside of the Executive Office of the President. 5 U.S.C. § 1101; Pub. L. No. 95-

                                      24   454, Title II, § 201(a), 92 Stat. 1111, 1118 (1978). In 2025, President Trump refashioned the U.S.

                                      25

                                      26
                                      27          3
                                                     “Established in 1939, the Executive Office of the President (EOP) consists of a
                                           group of federal agencies immediately serving the President.” Harold C. Relyea, Cong. Rsch. Serv.,
                                      28   98-606, The Executive Office of the President: An Historical Overview (2008).

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                                       1   Digital Service—an office that President Obama created within OMB4—into the U.S. DOGE

                                       2   Service via Executive Order 14158. 90 Fed. Reg. 8441 (Jan. 20, 2025). DOGE is known

                                       3   colloquially as the Department of Government Efficiency, but it derives no authority from statutes.

                                       4

                                       5          B.      The Other Federal Agency Defendants

                                       6          The defendants include twenty-two other federal departments or agencies that are arguably

                                       7   more public facing. For ease of reference, this order refers to these defendants collectively as the

                                       8   “federal agency defendants.” That term does not include OMB, OPM, or DOGE. Fourteen of the

                                       9   federal agency defendants are considered “executive departments” under 5 U.S.C. § 101 and have

                                      10   been established by Congressional statute.5 See, e.g., 7 U.S.C. § 2201 (USDA); 22 U.S.C. § 2651

                                      11   (State); 38 U.S.C. § 301 (VA); 42 U.S.C. § 3532 (HUD).

                                      12          Seven additional defendant agencies have a statutory basis elsewhere in the United States
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                                      13   Code and one was created by President Nixon under reorganization authority granted by Congress,

                                      14   as follows:

                                      15          Defendant AmeriCorps, known formally as the Corporation for National and Community

                                      16   Service, received its current statutory formulation through the National and Community Service

                                      17   Trust Act of 1993. Pub. L. No. 103-82, Title II, §§ 202-03, 107 Stat. 785, 873 (1993) (codified at

                                      18   42 U.S.C. § 12651 et seq.). AmeriCorps is a “government corporation.” 42 U.S.C. § 12651

                                      19   (referring to 5 U.S.C. § 103).

                                      20          Defendant Peace Corps was created by Congressional adoption of the Peace Corps Act in

                                      21   1961. Pub. L. No. 87-293, 75 Stat. 612 (1961) (now codified at 22 U.S.C. § 2501 et seq.).

                                      22          Defendant General Services Administration (GSA) was established by Congress in the

                                      23

                                      24          4
                                                     See Clinton T. Brass and Dominick A. Fiorentino, Cong. Rsch. Serv., IN12493,
                                      25   Department of Government Efficiency (DOGE) Executive Order: Early Implementation (2025).
                                                  5
                                                    These include the departments of Agriculture (USDA), Commerce, Defense, Energy,
                                      26   Health and Human Services (HHS), Homeland Security (DHS), Housing and Urban Development
                                           (HUD), Justice (DOJ), Interior, Labor, State, Treasury, Transportation, and Veterans Affairs (VA).
                                      27   The only executive department not named in this suit is the Department of Education. Plaintiffs’
                                           preliminary injunction request does not implicate the departments of Defense, Justice, or Homeland
                                      28   Security. See Dkt. No. 101 at 1.

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                                       1   Federal Property and Administrative Services Act of 1949. Pub. L. No. 81-152, 63 Stat. 277 (1949).

                                       2   The structure of the agency is now codified at 42 U.S.C. § 301 et seq.

                                       3          Defendant National Labor Relations Board (NLRB) was created by the National Labor

                                       4   Relations Act of 1935. Pub. L. No. 74-198, ch. 372, 49 Stat. 449 (1935). The structure of the agency

                                       5   is codified at 29 U.S.C. § 153.

                                       6          Defendant National Science Foundation (NSF) was established by the National Science

                                       7   Foundation Act of 1950. Pub. L. No. 81-507, ch. 171, 64 Stat. 149 (1950). The structure of the

                                       8   agency is codified at 42 U.S.C. § 1861 et seq.

                                       9          Defendant Small Business Administration (SBA) was established by the Small Business Act

                                      10   of 1953 as amended in 1958. Pub. L. No. 85-536, 72 Stat. 384 (1958). The structure of the agency

                                      11   is now codified at 15 U.S.C. § 633 et seq.

                                      12          Defendant Social Security Administration (SSA) was first established by Congress in the
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                                      13   Social Security Act of 1935, known at that time as the Social Security Board. Pub. L. No. 74-271,

                                      14   § 701 et seq., 49 Stat. 620, 635 (1935) (now codified at 42 U.S.C. § 901 et seq.).

                                      15          Defendant Environmental Protection Agency (EPA) was created by the Reorganization Plan

                                      16   No. 3 of 1970 under statutory reorganization authority granted to the President by Congress at that

                                      17   time. 35 Fed. Reg. 15623, 84 Stat. 2086 (1970) (located at 5 U.S.C. Appendix, page 216). Congress

                                      18   later ratified the agency’s creation by statute. Pub. L. No. 98-532, 98 Stat. 2705 (1984).

                                      19

                                      20   III.   Agency RIF and Reorganization Plans (ARRPs)

                                      21          Pursuant to the terms of the OMB/OPM February 26, 2025 memo, federal agencies were

                                      22   directed to submit Phase 1 ARRPs by March 13, 2025 and Phase 2 ARRPs by April 14, 2025.

                                      23   OMB/OPM Memo at 3-4. Defendants have not publicly released these plans despite requests from

                                      24   the public, employees, and members of Congress. The Court has reviewed in camera the ARRPs

                                      25   of four defendant agencies. See Dkt. No. 109.

                                      26          From the Court’s understanding of the evidence filed in this case, an agency’s action steps

                                      27   in response to the OMB/OPM Memo would include the following: (1) submitting its ARRP to OMB

                                      28   and OPM; (2) receiving approval of the ARRP by OMB and OPM, either formally or informally;

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                                       1   (3) sending RIF notices; (4) placing employees on administrative leave; and (5) terminating

                                       2   employees.

                                       3          As described in sworn declarations submitted by plaintiffs, the federal agency defendants

                                       4   are at different points along this continuum. In a May 16 filing, the Solicitor General told the

                                       5   Supreme Court that his office “has been informed by OPM that about 40 RIFs in 17 agencies were

                                       6   in progress and are currently enjoined by [this Court’s May 9] TRO.” Application for Stay, No.

                                       7   24A1106 (U.S.), 29. From plaintiffs’ evidence, these agencies include defendants HHS, HUD,

                                       8   Labor, State, AmeriCorps, GSA, and SBA. After sending RIF notices to employees, agencies have

                                       9   sometimes placed these employees on immediate administrative leave until the termination date set

                                      10   by the RIF, usually sixty days after the notice. See, e.g., Dkt. No. 37-14 (“Decl. Fabris AFGE”) ¶¶

                                      11   11-15. The earliest RIF termination date that the Court can discern from the declarations would

                                      12   have been May 18, 2025, at which point some HUD employees would have been terminated but for
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                                      13   the Court’s temporary restraining order. Dkt. No. 41-1 (“Decl. Bobbitt AFGE”) ¶¶ 13-14, Exs. C,

                                      14   D.

                                      15          As directed by Executive Order 14210, the scale of the RIFs is “large.” Here are some

                                      16   examples. HHS is issuing RIF notices to 8,000-10,000 employees. Dkt. No. 37-17 (“Decl.

                                      17   Garthwaite AFGE”) ¶ 7, Ex. A. Reports indicate the Department of Energy has identified 8,500

                                      18   positions as eligible for cuts, nearly half of its workforce. Dkt. No. 37-8 (“Decl. Braden AFGE”)

                                      19   ¶ 12, Ex. A. The National Oceanic and Atmospheric Administration is reportedly preparing a RIF

                                      20   to reduce its workforce by more than half. Dkt. No. 37-40 (“Decl. Molvar WWP”) ¶ 23. Reports

                                      21   also suggest that HUD is preparing to cut half of its staff and close many field offices. Decl. Bobbitt

                                      22   AFGE ¶¶ 9, 11, Exs. A, B. Department of Labor management have said internally that they intend

                                      23   to cut the agency’s headquarters staff by 70%. Dkt. No. 37-16 (“Decl. Gamble AFGE”) ¶ 12.

                                      24   Reports suggest the Internal Revenue Service in the Department of the Treasury plans to cut 40%

                                      25   of its staff. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶ 10. The VA is planning to cut 83,000 positions.

                                      26   Dkt. No. 37-5 (“Decl. Bailey SEIU”) ¶ 12. AmeriCorps sent an email to employees announcing a

                                      27   reorganization that will cut more than half of its workers. Dkt. No. 37-12 (“Decl. Daly AFSCME”)

                                      28   ¶ 14, Ex. A. National Science Foundation has been directed to cut about half of its 1,700 staff. Dkt.

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                                       1   No. 37-32 (“Decl. Soriano AFGE”) ¶¶ 9-10, Ex. A. The Small Business Administration announced

                                       2   it planned to cut its workforce by more than 40%. Dkt. No. 37-18 (“Decl. Gustafsson AFGE”) ¶ 6,

                                       3   Ex. A.

                                       4

                                       5   IV.      Plaintiffs

                                       6            The union plaintiffs in this case consist of the American Federation of Government

                                       7   Employees (AFGE) and four of its locals (Local 1122, Local 1236, Local 2110, and Local 3172);

                                       8   the American Federation of State, County and Municipal Employees (AFSCME); and the Service

                                       9   Employees International Union (SEIU) and three of its locals (Local 521, Local 1000, and Local

                                      10   1021). Eleven membership-based non-profit organizations have joined the unions as co-plaintiffs:

                                      11   Alliance for Retired Americans, American Geophysical Union, American Public Health

                                      12   Association, Center for Taxpayer Rights, Coalition to Protect America’s National Parks, Common
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                                      13   Defense Civic Engagement, Main Street Alliance, Natural Resources Defense Council, Northeast

                                      14   Organic Farming Association, VoteVets Action Fund, and Western Watersheds Project. Six local

                                      15   governments have also joined the suit: Santa Clara County, CA; King County, WA; Baltimore, MD;

                                      16   Harris County, TX; Chicago, IL; and San Francisco, CA.

                                      17            The plaintiffs in this action are discussed more fully in the Court’s consideration of standing

                                      18   below.

                                      19

                                      20   V.       Procedural History

                                      21            Plaintiffs filed suit on April 28, 2025. Dkt. No. 1. The complaint alleges that President

                                      22   Trump’s Executive Order 14210 is ultra vires and usurps Congressional authority, in violation of

                                      23   the Constitution’s separation of powers (Claim One); that OMB, OPM, and DOGE also acted ultra

                                      24   vires or beyond their authority in implementing Executive Order 14210, including by issuing the

                                      25   OMB/OPM Memo (Claim Two); that the OMB/OPM Memo violated the Administrative Procedure

                                      26   Act (APA) in several ways (Claims Three through Five); and that the federal agency defendants’

                                      27   ARRPs also violate the Administrative Procedure Act (Claims Six and Seven).

                                      28            On May 1, 2025, plaintiffs filed a motion for a temporary restraining order. Dkt. No. 37-1

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                                       1   (“TRO Mot.”). Per the Court’s schedule, defendants filed an opposition on May 7, 2025, and

                                       2   plaintiffs filed a reply the following day. Dkt. Nos. 60 (“TRO Opp’n”), 70 (“TRO Reply”). The

                                       3   Court received several briefs from amici curiae. Dkt. Nos. 51, 69, 71, 75. The Court heard oral

                                       4   arguments on the motion on Friday, May 9, 2025 and issued a two-week temporary restraining order

                                       5   (TRO) later that day. Dkt. No. 85.

                                       6           Defendants then asked the Court to reconsider a portion of that order that compelled

                                       7   production of the ARRPs. Dkt. No. 88. The Court stayed that part of its order to receive further

                                       8   briefing from the parties. Dkt. No. 92. After reviewing the parties’ arguments, the Court ordered

                                       9   defendants to produce a sampling of the ARRPs to the Court for in camera review and to plaintiffs’

                                      10   counsel for their eyes only. Dkt. No. 109.6

                                      11           On May 14, 2025, plaintiffs filed an amended complaint, adding two local union plaintiffs

                                      12   (SEIU Locals 521 and 1021) and one additional federal agency defendant (the Peace Corps). Dkt.
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                                      13   No. 100. Plaintiffs filed a motion for a preliminary injunction that same day. Dkt. No. 101-1 (“PI

                                      14   Mot.”). On May 19, 2025, defendants filed an opposition to the motion for a preliminary injunction.

                                      15   Dkt. No. 117 (“PI Opp’n”). Plaintiffs replied on May 20, 2025. Dkt. No. 120 (“PI Reply”). The

                                      16   Court heard oral argument on the preliminary injunction motion on May 22, 2025.

                                      17

                                      18                                           LEGAL STANDARD

                                      19           “[I]njunctive relief [is] an extraordinary remedy that may only be awarded upon a clear

                                      20   showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, 555 U.S. 7,

                                      21   22 (2008). In order to obtain a preliminary injunction, the plaintiff “must establish that he is likely

                                      22   to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

                                      23   relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.”

                                      24   Id. at 20 (citations omitted). When the nonmoving party is the government, the final two factors

                                      25   merge. Baird v. Bonta, 81 F.4th 1036, 1040 (9th Cir. 2023) (citing Nken v. Holder, 556 U.S. 418,

                                      26
                                      27
                                                   6
                                                  Though defendants provided the documents, the parties continue to dispute whether the
                                      28   ARRPs defendants provided are the versions “approved” by OMB and OPM. See Dkt. No. 119.

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                                       1   435 (2009)).

                                       2          Alternatively, under the “serious questions” test, the plaintiff may demonstrate “that serious

                                       3   questions going to the merits were raised and the balance of hardships tips sharply in the plaintiff’s

                                       4   favor,” so long as the other two Winter factors are also met. All. for the Wild Rockies v. Cottrell,

                                       5   632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal quotation marks and citation omitted). This

                                       6   formulation recognizes a sliding scale approach, where “a stronger showing of one element may

                                       7   offset a weaker showing of another.” Id. at 1131, 1134-35.

                                       8

                                       9                                               DISCUSSION

                                      10   I.     Timing

                                      11          As at the TRO stage, defendants first argue that plaintiffs’ motion for a preliminary

                                      12   injunction should be denied because it was brought too late after the Executive Order and the
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                                      13   OMB/OPM Memo issued. TRO Opp’n at 19-22; PI Opp’n at 4-6. Defendants’ argument is not

                                      14   well-taken. Due to defendants’ ongoing decision not to release the ARRPs publicly, the details of

                                      15   the federal agency defendants’ RIF and reorganization plans have come into public view only slowly

                                      16   and at random. Moreover, in a case where other plaintiffs challenged Executive Order 14210 shortly

                                      17   after it was issued, as defendants suggest should have been done here, the government’s attorneys

                                      18   argued that plaintiffs’ harm was still too “speculative” to establish injury. See Nat’l Treasury Emps.

                                      19   Union v. Trump, No. 25-CV-420 (CRC), Dkt. No. 14 at 10-11 (D.D.C. filed Feb. 17, 2025).

                                      20   Defendants cannot have it both ways. If defendants’ position is that people will find out about the

                                      21   RIFs when the RIF notices begin to go out, then the Court finds that plaintiffs reasonably waited to

                                      22   gather what information they could about the harm they may suffer from the Executive Order, the

                                      23   OMB/OPM Memorandum, and the ARRPs before moving for emergency relief. When the harm

                                      24   became readily apparent, they filed suit.

                                      25

                                      26   II.    Standing

                                      27          Federal courts may only hear a case if plaintiffs can show they have standing to sue. Spokeo,

                                      28   Inc. v. Robins, 578 U.S. 330, 338 (2016, revised May 24, 2016). “As a general rule, in an injunctive

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                                       1   case this court need not address standing of each plaintiff if it concludes that one plaintiff has

                                       2   standing.” Nat’l Ass’n of Optometrists & Opticians LensCrafters, Inc. v. Brown, 567 F.3d 521, 523

                                       3   (9th Cir. 2009).

                                       4          To establish standing to sue, plaintiffs must show an injury, trace that injury to the

                                       5   defendants’ conduct, and prove that courts can provide adequate redress for the injury. Lujan v.

                                       6   Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The injury “must be concrete, particularized, and

                                       7   actual or imminent.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation

                                       8   marks and citation omitted). To be imminent, a threatened injury must be “certainly impending”—

                                       9   “allegations of possible future injury are not sufficient.” Id. (internal quotation marks, brackets, and

                                      10   citations omitted). Plaintiffs cannot base standing on a theory of harm that “relies on a highly

                                      11   attenuated chain of possibilities.” Id. at 410. The standing inquiry must be “rigorous” where the

                                      12   court faces claims that Congress or the executive branch has acted unconstitutionally. Id. at 408.
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                                      13          Organizational plaintiffs such as trade unions or membership-based non-profit organizations

                                      14   have two paths to establish standing. “[A]n association has standing to bring suit on behalf of its

                                      15   members when: (a) its members would otherwise have standing to sue in their own right; (b) the

                                      16   interests it seeks to protect are germane to the organization’s purpose; and (c) neither the claim

                                      17   asserted nor the relief requested requires the participation of individual members in the lawsuit.”

                                      18   Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Organizations without

                                      19   formal members may achieve associational standing if they are “the functional equivalent of a

                                      20   membership organization.” Fund Democracy, LLC v. S.E.C., 278 F.3d 21, 25 (D.C. Cir. 2002)

                                      21   (citing Hunt, 432 U.S. at 342-45).

                                      22          Injury may come in many forms. The threat of a pending job loss constitutes a concrete

                                      23   economic injury. Am. Fed’n of Lab. v. Chertoff, 552 F. Supp. 2d 999, 1014 (N.D. Cal. 2007). The

                                      24   possible loss of federal funding is also sufficient to establish injury. Nat’l Urb. League v. Ross, 508

                                      25   F. Supp. 3d 663, 688 (N.D. Cal. 2020). A failure to provide relevant information can constitute

                                      26   injury where one might be entitled to such information. Fed. Election Comm’n v. Akins, 524 U.S.

                                      27   11, 20 (1998). While the Ninth Circuit has held an organization can meet the injury requirement by

                                      28   showing it had to divert resources to fight a problem affecting the organization, La Asociacion de

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                                       1   Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010), the

                                       2   Supreme Court recently rejected organizations seeking standing “simply by expending money to

                                       3   gather information and advocate against the defendant’s action,” Food & Drug Admin. v. All. for

                                       4   Hippocratic Med., 602 U.S. 367, 394 (2024).

                                       5           With this framework in mind, the Court now turns to the question of standing as applied to

                                       6   plaintiffs in this case. Since the Court need not address the standing of each plaintiff to proceed, so

                                       7   long as it finds standing for at least one plaintiff, it limits its discussion below.

                                       8

                                       9           A.       Injury

                                      10           The numerous plaintiffs in this case can be divided into three general groups, each with its

                                      11   own set of alleged injuries.

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                                      13                    1.       Union Plaintiffs

                                      14           In the declarations filed in support of their motions for a temporary restraining order and

                                      15   preliminary injunction, the union plaintiffs assert the following categories of harm.

                                      16           First, and perhaps most obviously, they assert injury on behalf of their federal employee

                                      17   members who have received RIF notices or who suffer under the looming threat of such notices.

                                      18   See, e.g., Dkt. No. 37-23 (“Decl. Kelley AFGE”) ¶ 16. Second, they contend that their federal

                                      19   employees who are not let go will be injured by significantly increased workloads. See, e.g., Dkt.

                                      20   No. 37-9 (“Decl. Burke AFGE”) ¶ 21; Decl. Daly AFSCME ¶ 30. Third, they assert injury to the

                                      21   unions themselves, in the form of “thousands of hours” of diverted staff resources and the loss in

                                      22   dues revenue that will result from the loss of employee members. See, e.g., Decl. Kelley AFGE ¶¶

                                      23   12-13, 15, 20.

                                      24           The unions also assert injury on behalf of their non-federal employee members who stand to

                                      25   lose their jobs as a result of federal workforce reductions. For example, SEIU represents 6,000

                                      26   federal contract workers at facilities that may face closure in the wake of staff reductions. Dkt. No.

                                      27   37-3 (“Decl. Adler SEIU”) ¶¶ 4, 9. These workers have lost their jobs during government

                                      28   shutdowns, or in the recent contested closure of the U.S. Institute of Peace facility. Id. ¶¶ 5, 7. SEIU

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                                       1   Local 521 represents Head Start workers who have been informed they may lose their jobs on July

                                       2   1, 2025, because staffing reductions at the Office of Head Start has created uncertainty about the

                                       3   renewal of funding. Dkt. No. 101-4 (“Decl. Woodard SEIU”) ¶ 9. Similarly, if staff reductions lead

                                       4   to the delay in processing of Medicare enrollment or other federal funding sources like grant

                                       5   payments, union members that work in sectors that depend on these revenue streams face layoffs.

                                       6   As just two provided examples, AFSCME members work in local housing authorities and local

                                       7   transit agencies that rely on a steady stream of federal funding. Dkt. No. 41-5 (“Decl. O’Brien

                                       8   AFSCME”) ¶¶ 39-40, 45-46; Decl. Woodard SEIU ¶¶ 10-11.

                                       9          At the TRO stage, defendants first argued that the unions do not show that a specific federal

                                      10   employee has been harmed or will imminently be harmed. TRO Opp’n at 32 (citing Summers v.

                                      11   Earth Island Inst., 555 U.S. 488, 499 (2009)). Defendants are factually mistaken and overstate their

                                      12   legal case. Factually, multiple declarants have asserted personal harm. See, e.g., Decl. Fabris AFGE
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                                      13   ¶ 10 (declarant received RIF notice); Dkt. No. 37-24 (“Decl. Levin AFGE”) ¶¶ 14-15 (declarant

                                      14   placed on same-day administrative leave); Decl. Bobbit AFGE, Ex. D (declarant received and

                                      15   provided redacted list of employees in RIF notice). As to the doctrine, the Court in Summers wanted

                                      16   to ensure that injury had been specifically established by sworn affidavits. The Ninth Circuit later

                                      17   clarified that naming individuals is not necessary “when it is clear and not speculative that a member

                                      18   of a group will be adversely affected by a challenged action and a defendant does not need to know

                                      19   the identity of a particular member to defend against an organization’s claims.” Mi Familia Vota v.

                                      20   Fontes, 129 F.4th 691, 708 (9th Cir. 2025). It is not speculative here that the unions’ members are

                                      21   being harmed by defendants’ challenged actions.

                                      22          The unions also establish standing as organizations representing federal employees based on

                                      23   impending direct financial harm to their organizations in the form of lower membership numbers

                                      24   and lower dues. See, e.g., Decl. Kelley AFGE ¶¶ 12-13, 15, 20.

                                      25          SEIU has also established standing based on the federal contract workers that it represents.

                                      26   These workers have lost their jobs when federal facilities close. Decl. Adler SEIU ¶¶ 5, 7. The

                                      27

                                      28

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                                       1   ARRPs are likely to result in the closure of more federal facilities,7 and when that happens SEIU’s

                                       2   contract workers will lose their jobs. This is not like the attenuated five-link chain of cascading

                                       3   events in Clapper; given the breadth of the RIFs that have been announced, these injuries are

                                       4   “certainly impending.” See Clapper, 568 U.S. at 410.

                                       5          AFSCME also represents non-federal employee workers who rely on the federal workforce

                                       6   to process grants to support their work. In the Department of Energy’s Weatherization Assistance

                                       7   Program, reports indicate the number of federal staff will decrease by 75%. Dkt. No. 37-15 (“Decl.

                                       8   Gabel AFSCME”) ¶ 11. If or when these cuts are implemented, AFSCME workers at a non-profit

                                       9   supported by this program will find it “extremely challenging to get the necessary grant money to

                                      10   operate, and layoffs . . . are almost certain.” Id. ¶ 12. While slightly more attenuated than the

                                      11   contract workers’ basis for standing, the Court finds that these facts support an independent basis

                                      12   for standing as well.
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                                      13          Defendants have also challenged whether the employees who will be saddled with more

                                      14   work will have experienced a concrete harm. TRO Opp’n at 33. The Court need not decide at this

                                      15   stage whether this type of injury is sufficient for standing.

                                      16

                                      17                  2.       Non-Profit Plaintiffs

                                      18          All the non-profit organization plaintiffs have submitted declarations that detail the harms

                                      19   that significant federal workforce reductions impose upon their members or the organizations

                                      20   themselves. Two consistent themes emerge from these declarations. First, the organizations’

                                      21   members benefit from services provided by federal employees, but significant staffing reductions

                                      22   across various agencies impact their ability to continue to benefit.       Second, many of the

                                      23   organizations assert that they have had to divert resources away from their primary mission to

                                      24   respond to the impact of federal staffing cuts on their members.

                                      25          As defendants note, the diversion of resources theory rests on shakier ground after Food &

                                      26
                                      27
                                                  7
                                                    One of the principles to inform the ARRPs, per the OMB/OPM Memorandum, is “[a]
                                      28   reduced real property footprint.” OMB/OPM Memo at 2.

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                                       1   Drug Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367, 394 (2024).8 But at least

                                       2   some of the non-profit organization plaintiffs establish injury on other bases. For example, the

                                       3   American Geophysical Union attests that implementation of ARRPs will cause the organization to

                                       4   lose membership, publication authors, and conference attendees, resulting in a loss of revenue to the

                                       5   organization. Dkt. No. 37-45 (“Decl. Shultz AGU”) ¶¶ 9, 28-29. Based on its past experience, the

                                       6   Center for Taxpayer Rights suggests that its low-income members will see delays to the processing

                                       7   of refunds that they rely on for day-to-day expenses. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶¶ 35-

                                       8   37.

                                       9           The Court finds these types of harm sufficient to establish injury. None are as attenuated as

                                      10   the causal chain of events leading to potential injury in Clapper. The Court reserves a full discussion

                                      11   of standing for each non-profit plaintiff for a later stage.

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                                      13                   3.      Local Government Plaintiffs

                                      14           To establish standing, a local government must assert a harm to its own “proprietary

                                      15   interests,” which “are as varied as a municipality’s responsibilities, powers, and assets.” City of

                                      16   Sausalito v. O’Neill, 386 F.3d 1186, 1197 (9th Cir. 2004). Proprietary interests include a local

                                      17   government’s ability to enforce regulations, collect revenue, and protect its natural resources. Id.

                                      18   at 1198.

                                      19           The local government plaintiffs assert that large-scale reductions in the federal workforce

                                      20   will jeopardize the timely delivery of many different federal funding streams that their budgets rely

                                      21   on. Baltimore also asserts a more direct financial injury in the form of lost municipal tax revenues,

                                      22   given that 12,400 city residents are (or were) federal employees. Dkt. No. 37-54 (“Decl. Leach—

                                      23   Baltimore”) ¶¶ 5-8. The local governments also contend that they will be forced to expend more

                                      24   resources in the absence of federal support, in areas like fighting wildfires or providing shelter. Dkt.

                                      25

                                      26
                                                   8
                                                   The Supreme Court there denied standing when plaintiff organizations incurred costs
                                      27   opposing the government’s actions but explained that organizations have standing when a
                                           defendant’s acts “directly affected and interfered with [plaintiff’s] core business activities.” All. for
                                      28   Hippocratic Med., 602 U.S. at 395.

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                                       1   No. 37-58 (“Decl. Williams—SCC”) ¶¶ 24, 43.

                                       2          The Court finds the local governments have standing on the basis of impending financial

                                       3   harm. For example, King County has a budget that includes more than $200 million in federal

                                       4   revenue for its operating budgets and $500 million in federal funds in its capital budget for 2025.

                                       5   Dkt. No. 41-6 (“Decl. Dively—King County”) ¶¶ 6, 8. The county communicates with staff across

                                       6   multiple federal agencies to process grants and permits for capital projects; any delay in these

                                       7   communications delays projects and increases costs. Id. ¶¶ 22, 26, 31, 33, 38. With large-scale

                                       8   RIFs happening across agencies, such delay is likely.9 As another example, Harris County Public

                                       9   Health receives grants from the Centers for Disease Control and Prevention, an agency within

                                      10   defendant HHS, but has begun to experience a delay in communication after HHS initiated its RIF.

                                      11   Dkt. No. 37-46 (“Decl. Barton—Harris County”) ¶¶ 23, 26.

                                      12          Finding the above sufficient to establish standing for at least some of the local governments,
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                                      13   the Court reserves a fuller analysis for another day.

                                      14

                                      15                  4.      Procedural Injury

                                      16          Lastly, plaintiffs across all of the above categories assert a procedural injury for their notice-

                                      17   and-comment claims, because they contend they would have submitted comments had they been

                                      18   given a chance. See, e.g., Dkt. No. 37-31 (“Decl. Soldner AFGE”) ¶ 27. Some explained that they

                                      19   provided comments in response to notices about similar proposals during President Trump’s first

                                      20   administration. See, e.g., id.

                                      21          A procedural injury must be related to a plaintiff’s concrete interests. Summers, 555 U.S. at

                                      22   496. As a collection of plaintiffs have established standing based on harm to their concrete interests,

                                      23   the plaintiffs also have standing to challenge a lack of notice and comment procedures.

                                      24

                                      25

                                      26
                                      27          9
                                                     As one example, King County believes the closure of HUD’s regional office in Seattle will
                                           result in delays in disbursement of the County’s $47 million in federal grant funds. Decl. Dively—
                                      28   King County ¶¶ 37-38.

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                                       1          B.      Causation and Redressability10

                                       2          Plaintiffs challenge three layers of action: the President’s Executive Order, the OMB/OPM

                                       3   Memo issued pursuant to the Executive Order, and the agency ARRPs submitted pursuant to the

                                       4   memorandum. The harm experienced by plaintiffs or imminently threatening them comes from the

                                       5   reorganizations and RIFs established by the ARRPs. As many declarants have offered, the agencies

                                       6   had not talked about large-scale RIFs or reorganizations prior to President Trump’s February 11,

                                       7   2025 Executive Order. See, e.g., Decl. Bailey SEIU ¶ 10; Decl. Garthwaite AFGE ¶ 6. These harms

                                       8   are fairly traceable to defendants’ actions at all three levels; beyond the defendants, there are no

                                       9   intervening actors causing these harms. See Lujan, 504 U.S. at 560.

                                      10          Finally, the Court can redress the harms by vacating the unlawful actions as allowed by the

                                      11   APA and Supreme Court precedent.

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                                      13          C.      Conclusion as to Standing

                                      14           At this preliminary injunction stage, the Court finds at least some collection of the plaintiffs

                                      15   have sufficient standing to bring their claims.

                                      16

                                      17   III.   Subject Matter Jurisdiction—Thunder Basin Preclusion

                                      18          Courts generally have jurisdiction under 28 U.S.C. § 1331 to review federal government

                                      19   actions. Califano v. Sanders, 430 U.S. 99, 105 (1977). But Congress sometimes precludes district

                                      20   court review “by specifying a different method to resolve claims about agency action,” Axon Enter.,

                                      21   Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 185 (2023), often through channeling review to an

                                      22   adjudicative body within an agency. In determining whether Congress has removed district court

                                      23   jurisdiction, courts ask two questions: whether “the ‘statutory scheme’ displays a ‘fairly discernible’

                                      24   intent to limit jurisdiction” and whether “the claims at issue ‘are of the type Congress intended to

                                      25   be reviewed within th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,

                                      26
                                      27
                                                  10
                                                      Defendants do not specifically challenge causation or redressability in their opposition
                                      28   briefs, but the Court must complete the standing inquiry regardless.

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                                       1   561 U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)).

                                       2          When examining the second question—whether the particular claims should be channeled

                                       3   to agency review—courts consider three factors from Thunder Basin: “First, could precluding

                                       4   district court jurisdiction foreclose all meaningful judicial review of the claim? Next, is the claim

                                       5   wholly collateral to the statute’s review provisions? And last, is the claim outside the agency’s

                                       6   expertise?” Axon, 598 U.S. at 186 (internal quotation marks, brackets, and citations omitted).

                                       7   Affirmative answers to these questions suggest that Congress did not intend to limit jurisdiction,

                                       8   “[b]ut the same conclusion might follow if the factors point in different directions.” Id. Together,

                                       9   these factors recognize that agency action should rarely evade effective judicial review, but

                                      10   channeling from a district court to an agency adjudication may be appropriate “in the matters [an

                                      11   agency] customarily handles, and can apply distinctive knowledge to.” Id.

                                      12          Defendants argue that the Federal Service Labor-Management Relations Statute and the
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                                      13   Civil Service Reform Act of 1978 preclude district court jurisdiction over plaintiffs’ claims. TRO

                                      14   Opp’n at 23-31; PI Opp’n at 6-11. The Federal Service Labor-Management Relations Statute

                                      15   established a Federal Labor Relations Authority to resolve issues related to collective bargaining

                                      16   between federal employee unions and their employers, including “issues relating to the granting of

                                      17   national consultation rights,” “issues relating to determining compelling need for agency rules or

                                      18   regulations,” “issues relating to the duty to bargain in good faith,” and “complaints of unfair labor

                                      19   practices.” 5 U.S.C. § 7105(a)(2). In passing the statute, Congress specified that its provisions

                                      20   “should be interpreted in a manner consistent with the requirement of an effective and efficient

                                      21   Government.” Id. § 7101(b). The Civil Service Reform Act provides a mechanism for employees

                                      22   who have suffered an adverse action to appeal to the Merit Systems Protection Board. 5 U.S.C.

                                      23   §§ 7512, 7513(d); see also 5 U.S.C. § 1204 (delineating functions of the Board). The Civil Service

                                      24   Reform Act of 1978 excluded reductions in force from the definition of “adverse action” appealable

                                      25   to the Board. 5 U.S.C. § 7512(B); 5 C.F.R. § 752.401(b)(3). However, per federal regulations

                                      26   issued by OPM, employees who have been furloughed, separated or demoted by a reduction in force

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                                       1   can appeal to the Board. 5 C.F.R. § 351.901.11 Judicial review of final orders of both the Authority

                                       2   and the Board is available at circuit courts. 5 U.S.C. §§ 7703, 7123(a).

                                       3          Defendants’ opposition cites to courts across the country that have begun to address this

                                       4   question in the context of similar claims. On February 12, 2025, a District of Massachusetts court

                                       5   declined to enjoin enforcement of the deadline for opting into a deferred resignation program. Am.

                                       6   Fed’n of Gov’t Emps., AFL-CIO v. Ezell, No. CV 25-10276-GAO, 2025 WL 470459, at *1-3 (D.

                                       7   Mass. Feb. 12, 2025). The court determined the plaintiff unions lacked standing and that the claims

                                       8   were precluded by the Federal Service Labor-Management Relations Statute and the Civil Service

                                       9   Reform Act of 1978, which establish “exclusive procedures for disputes involving employees and

                                      10   their federal employers and disputes between unions representing federal employees and the federal

                                      11   government.” Id.

                                      12          In a February 20, 2025 ruling, a D.C. district court denied a temporary restraining order and
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                                      13   preliminary injunction because it found that the union plaintiffs were precluded by the Federal

                                      14   Service Labor-Management Relations Statute under Thunder Basin. Nat’l Treasury Emps. Union

                                      15   v. Trump, No. 25-CV-420 (CRC), 2025 WL 561080, at *8 (D.D.C. Feb. 20, 2025). There, the

                                      16   plaintiffs sought to prevent the termination of probationary employees, anticipated large-scale RIFs,

                                      17   and any renewal of deferred resignation programs. Id. at *1. The court determined that the unions’

                                      18   claimed injuries—financial harm and loss of bargaining power—could be meaningfully reviewed

                                      19   through the Federal Labor Relations Authority, even though that body could not resolve the unions’

                                      20   constitutional claims. Id. at *6-7. The constitutional question could be revived in an appeal of the

                                      21   Federal Labor Relations Authority’s decision. Id. at * 7.

                                      22          The next day, February 21, 2025, another D.C. district court rejected the injunctive relief

                                      23   requested by two employee unions that sought to pause the administration’s attempt to dismantle

                                      24   the U.S. Agency for International Development. Am. Foreign Serv. Ass’n v. Trump, No. 1:25-CV-

                                      25   352 (CJN), 2025 WL 573762, at *1 (D.D.C. Feb. 21, 2025). The court held that while “at a high

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                                                     As defendants’ TRO opposition noted, some employees may be precluded from appealing
                                      28   to the Board under the terms of their collective bargaining agreements. TRO Opp’n at 9 n.4.

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                                       1   level of generality and in the long run, plaintiffs’ assertions of harm could flow from their

                                       2   constitutional and APA claims regarding the alleged unlawful ‘dismantl[ing]’ of USAID,” the court

                                       3   noted that “the agency is still standing, and so the alleged injuries on which plaintiffs rely in seeking

                                       4   injunctive relief flow essentially from their members’ existing employment relationships with

                                       5   USAID.” Id. at *7. The court held that the Federal Service Labor-Management Relations Statute,

                                       6   the Civil Service Reform Act, and the Foreign Service Act of 1980 indicated that Congress intended

                                       7   for these types of claims to be channeled first to the administrative review offered by those statutory

                                       8   schemes. Id. at *8-10. The court noted that the Foreign Service Act’s scheme was “even broader”

                                       9   than the other two and reasoned that “plaintiffs have presented no irreparable harm they or their

                                      10   members are imminently likely to suffer from the hypothetical future dissolution of USAID” absent

                                      11   immediate judicial review. Id. The court concluded that it likely lacked jurisdiction, so plaintiffs

                                      12   were unlikely to succeed on the merits of their claims. Id. at *11.
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                                      13          All three of the above opinions relied on American Federation of Government Employees,

                                      14   AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir. 2019). In that case, federal employee unions challenged

                                      15   executive orders regarding federal labor-management relations from President Trump’s first term.

                                      16   Id. at 753. The orders directed federal agencies to remove certain subjects from labor negotiations,

                                      17   limit the time employees could spend on union affairs during their workday, and exclude disputes

                                      18   over for-cause terminations from grievance proceedings. Id. The appellate court determined that

                                      19   the unions’ claims—some of which asserted that the Executive Orders violated the Federal Service

                                      20   Labor-Management Relations Statute itself—must be channeled first to the Federal Labor Relations

                                      21   Authority. Id. at 753-54, 761.

                                      22          More recently, on April 22, 2025, in a case involving the administration’s attempt to

                                      23   dismantle the U.S. Agency for Global Media, the district court held that a conclusion that the claims

                                      24   at issue “boiled down to a quotidian employment dispute . . . would ignore the facts on the record

                                      25   and on the ground.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL, 2025 WL 1166400, at *11

                                      26   (D.D.C. Apr. 22, 2025). The district court determined that the administrative tribunals “have no

                                      27   jurisdiction to review the cancelation of congressional appropriations” and that the case involved

                                      28   administrative and constitutional law issues, separate from federal employment questions. Id. at

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                                       1   *11 n.22. On appeal, however, a majority opinion from the D.C. Circuit determined that “[t]he

                                       2   ‘dismantling’ that plaintiffs allege is a collection of ‘many individual actions’ that cannot be

                                       3   packaged together and ‘laid before the courts for wholesale correction under the APA.’”

                                       4   Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *3 (D.C. Cir. May 3, 2025) (citation

                                       5   omitted).

                                       6          Finally, Judge Alsup of this district found that federal employee unions’ challenge to the

                                       7   OPM directive to agencies to terminate probationary employees should not be precluded based on

                                       8   the Thunder Basin analysis. Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-cv-1780-WHA,

                                       9   2025 WL 900057 (N.D. Cal. Mar. 24, 2025).12 First, the court decided that the ultra vires and APA

                                      10   claims in that case would not benefit from the administrative expertise of the Federal Labor

                                      11   Relations Authority or the Merit Systems Protection Board. Id. at *2. It also found the claims

                                      12   collateral to the review authority of those agencies, because the claims challenged executive power,
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                                      13   not a specific personnel action. Id. at *3. Lastly, it determined that the district court offered the

                                      14   only opportunity for meaningful judicial review. Id. at *4-5. The court noted that probationary

                                      15   employees could not appeal a decision to the Merit Systems Protection Board and distinguished the

                                      16   claims in this case from the bargaining-related issues sent to the Federal Labor Relations Authority

                                      17   in American Federation of Government Employees, AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir.

                                      18   2019). Id.13

                                      19

                                      20          A.      Federal Employee Union Plaintiffs

                                      21          The Court starts its analysis with the union plaintiffs. The Court agrees with Judge Alsup in

                                      22   this district that the D.C. Circuit’s 2019 decision in AFGE v. Trump is not particularly helpful to

                                      23
                                                  12
                                      24              The district court reversed its earlier decision finding preclusion under Thunder Basin,
                                           upon further briefing.
                                      25           13
                                                      The preliminary injunction in Judge Alsup’s case is currently on appeal. On April 8, 2025,
                                           the Supreme Court granted the government’s application for an emergency stay of the injunction
                                      26   pending appeal, stating that the non-profit organization plaintiffs on whose claims the original
                                           injunction was based had not sufficiently shown standing. OPM v. AFGE, --- S. Ct. ----, No.
                                      27   24A904, 2025 WL 1035208, at *1 (S. Ct. Apr. 8, 2025) (citing Clapper). On return to the district
                                           court, the case proceeded and the court granted relief as to the claims of the plaintiff unions and the
                                      28   State of Washington.

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                                       1   resolving the claims channeling question here. In that case, the claims involved executive orders

                                       2   that touched directly on matters related to collective bargaining, which are central to the purpose of

                                       3   the Federal Labor Relations Authority. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929

                                       4   F.3d at 753-54, 761. To the extent that other recent orders rely on the 2019 opinion, the Court

                                       5   disagrees with their reasoning. Here, the claims are far afield from the central concerns of the

                                       6   Federal Labor Relations Authority, see 5 U.S.C. § 7105(a)(2), instead touching on fundamental

                                       7   questions of executive authority and separation of powers.

                                       8          Defendants also cite two opinions from the Fourth Circuit and the D.C. Circuit that found it

                                       9   likely that plaintiffs with similar claims to those here would ultimately be channeled to

                                      10   administrative review schemes. TRO Opp’n at 24-25 (citing Widakuswara v. Lake, No. 25-5144,

                                      11   2025 WL 1288817 (D.C. Cir. May 3, 2025); Maryland v. U.S. Dep’t of Agriculture, No. 25-1248,

                                      12   2025 WL 1073657 (4th Cir. Apr. 9, 2025)); PI Opp’n at 7-8. When considering out-of-circuit
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                                      13   authority, the Court looks to its persuasive value. See Jones v. PGA TOUR, Inc., 668 F. Supp. 3d

                                      14   907, 917 (N.D. Cal. 2023). The Fourth Circuit offers no reasoning for its conclusion that the district

                                      15   court lacked jurisdiction, and this Court finds the dissenting opinion in that case more robust and

                                      16   more persuasive. The D.C. Circuit provides slightly more (two paragraphs) on the question of

                                      17   jurisdiction, but again the dissenting judge in that case centered the claims in the appropriate

                                      18   context—the comprehensive dismantling of an entire agency—more concretely and persuasively

                                      19   than the panel majority.

                                      20          The Court now moves to its own application of Thunder Basin. Recognizing, as other courts

                                      21   have, that the Federal Service Labor-Management Relations Statute and the Civil Service Reform

                                      22   Act indicate an intent to limit jurisdiction in some instances, the Court turns to the second inquiry:

                                      23   “whether the claims at issue are of the type Congress intended to be reviewed within the statutory

                                      24   structure.” Free Enter. Fund, 561 U.S. at 489 (internal quotation marks, brackets, and citation

                                      25   omitted). The Court concludes the answer is no. To explain, the Court examines each of the three

                                      26   Thunder Basin factors in turn, all of which favor a finding of subject matter jurisdiction.

                                      27          First, precluding district court jurisdiction for the union plaintiffs at this time would foreclose

                                      28   meaningful judicial review. Plaintiffs seek an opportunity to challenge “large-scale reductions in

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                                       1   force” happening rapidly across multiple agencies in the federal government. In some offices or

                                       2   agencies, nearly all employees are receiving RIF notices. Defendants contend that plaintiffs must

                                       3   take their concerns to what can be a prolonged administrative process and then appeal in order to

                                       4   present their constitutional claim in federal court. By that point, if they prevailed, they “would

                                       5   return to an empty agency with no infrastructure” to support a resumption of their work. See

                                       6   Widakuswara, 2025 WL 1166400, at *11 n.22.

                                       7          Defendants contend that Thunder Basin forecloses this line of argument but they overstate

                                       8   the holding in that case. See PI Opp’n at 8. There, a mining company sought “pre-enforcement

                                       9   injunctive relief” against a regulation that required the company to post union material or face a

                                      10   penalty, arguing that the regulation conflicted with the National Labor Relations Act. Thunder

                                      11   Basin, 510 U.S. at 204-05. The company also argued that it should not be channeled to the federal

                                      12   Mine Act’s comprehensive administrative review scheme because doing so would violate the
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                                      13   company’s due process rights by forcing it to choose noncompliance and penalties or compliance

                                      14   with an unlawful regulation. Id. at 205. In reviewing the statute, the Supreme Court found the Mine

                                      15   Act “facially silent with respect to pre-enforcement claims” but ultimately held the company’s

                                      16   “statutory and constitutional claims here can be meaningfully addressed in the Court of Appeals”

                                      17   after administrative review. Id. at 208-09, 215. Importantly, however, the Court determined that

                                      18   “neither compliance with, nor continued violation of, the statute will subject petitioner to a serious

                                      19   prehearing deprivation.” Id. at 216. In other words, the company would not suffer any serious harm

                                      20   from having to go first through the administrative tribunal, because any penalty was only due after

                                      21   exhausting appellate review. Id. at 218. Plaintiffs here face a very different situation. They cannot

                                      22   continue business as usual as they wind their way through the administrative scheme with the goal

                                      23   of reaching an appellate court. Rather, they face immediate and life-altering consequences in the

                                      24   absence of prompt judicial review.

                                      25          Second, the claims at issue here are wholly collateral to the review authority of the Federal

                                      26   Labor Relations Authority and the Merit Systems Protection Board. As noted above, this lawsuit

                                      27   involves questions of constitutional and statutory authority and the separation of powers. Federal

                                      28   employees are simply the ones to suffer most immediately the collateral damage of the allegedly

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                                       1   unlawful actions. In other words, “[t]he plaintiffs in this lawsuit challenge the evisceration of their

                                       2   jobs only insofar as it is the means by which they challenge defendants’ unlawfully halting the work

                                       3   of [their offices or agencies] and shutting [them] down.” See Widakuswara, 2025 WL 1288817, at

                                       4   *8 (Pillard, J., dissenting). Moreover, employees’ rights to appeal a RIF to the Merit Systems

                                       5   Protection Board come not directly from statute but from regulation. See 5 C.F.R. § 351.901;14 see

                                       6   also 5 U.S.C. § 7512(B) (excluding reductions in force from the review provisions for “adverse

                                       7   actions”). When Congress did not directly specify Board review for reductions-in-force claims, it

                                       8   seems unlikely that Congress intended the Merit Systems Protection Board to be the exclusive

                                       9   avenue for such claims, let alone claims that involve broader questions about constitutional and

                                      10   administrative law. The same holds true for the Federal Labor Relations Authority—Congress

                                      11   desired that body’s enabling statute to be interpreted “in a manner consistent with the requirement

                                      12   of an effective and efficient Government.” 5 U.S.C. § 7101(b). There is nothing efficient about
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                                      13   sending constitutional claims to a body that cannot decide them, only to wait for an opportunity to

                                      14   appeal.15 See Elgin, 567 U.S. at 25 (Alito, J., dissenting) (“I doubt that Congress intended to channel

                                      15   petitioners’ constitutional claims into an administrative tribunal that is powerless to decide

                                      16   them[.]”).

                                      17          Third, the claims here involve issues related to the appropriate distribution of authority to

                                      18   and within the executive branch, not the individual employee or labor disputes these two

                                      19
                                                  14
                                      20               5 U.S.C. § 7701 arguably provides indirect statutory authority with its rather circular
                                           proposition: “An employee, or applicant for employment, may submit an appeal to the Merit
                                      21   Systems Protection Board from any action which is appealable to the Board under any law, rule, or
                                           regulation.” Defendants argue that it does not matter whether the authority for Board review was
                                      22   direct or indirect. PI Opp’n at 8-9. The Court disagrees: when the question is about what Congress
                                           intended, it matters that Congress chose not to provide an administrative path to RIF challenges
                                      23   themselves.
                                                    15
                                                       In Elgin v. Department of Treasury, the Supreme Court decided that there was no
                                      24   exception to Civil Service Reform Act exclusivity for constitutional challenges to federal statutes,
                                           in that case a statute that bars those who fail to register for the draft from federal employment. 567
                                      25   U.S. 1, 12 (2012). The Court held that plaintiffs were obliged to wait to present their constitutional
                                           claim to the Federal Circuit after proceeding through the Merit Systems Protection Board. Id. at 21.
                                      26   However, the Elgin plaintiffs sought to vindicate their own personal rights to employment. Here,
                                           plaintiffs confront an issue much larger in scope: how to interpret the constitutional structure of the
                                      27   federal government. And while the Elgin plaintiffs were likely to have a job and an agency to return
                                           to in the event they eventually won their case after winding through two layers of administrative
                                      28   and judicial review, the same cannot be said in this case.

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                                       1   administrative bodies customarily handle. The heart of this case does not concern whether agencies

                                       2   followed established RIF regulations and procedures—subject matters within the administrative

                                       3   tribunals’ expertise—but whether agencies were unlawfully instructed to initiate large-scale RIFs

                                       4   and reorganizations in the first place. As the Supreme Court has repeated, “agency adjudications

                                       5   are generally ill suited to address structural constitutional challenges.” Axon, 598 U.S. at 195.

                                       6   Neither the Merit Systems Protection Board nor the Federal Labor Relations Authority have special

                                       7   expertise to bear on the questions in this suit.

                                       8

                                       9          B.      Other Plaintiffs

                                      10          The rest of the plaintiffs in this case, including the non-profit organizations, the local

                                      11   governments, and the unions in their capacity representing non-federal employees, do not have

                                      12   access to the Federal Labor Relations Authority or the Civil Service Reform Act. Even if the union
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                                      13   plaintiffs should be channeled out of court—and this Court thinks they should not—the Thunder

                                      14   Basin factors weigh against claims channeling even more strongly when applied to these other

                                      15   plaintiffs. Defendants fail to show how the cases they cite—involving challenges by federal

                                      16   employees—support the channeling of constitutional and APA claims by non-federal employees,

                                      17   including federal contract workers, non-profit organizations on behalf of their members, or local

                                      18   governments. In U.S. v. Fausto, cited by both defendants and the amici states who filed a brief in

                                      19   support of defendants, the Supreme Court held that a type of employee that received lesser privileges

                                      20   in the Civil Service Reform Act was not entitled to district court review that was denied to

                                      21   employees with greater privileges under the Act, because holding otherwise would have flipped the

                                      22   structural logic of the Act. 484 U.S. 439, 448-49 (1988). But the Civil Service Reform Act says

                                      23   nothing at all about non-federal employee unions, non-profit organizations, or local governments.

                                      24   The Court is not persuaded that, when Congress created the Merit Systems Protection Board or the

                                      25   Federal Labor Relations Authority, it intended for constitutional and APA claims by these sorts of

                                      26   plaintiffs to be precluded from federal court. See Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No.

                                      27   25-1677, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025) (in denying an emergency stay, finding

                                      28   the government had not shown it was likely to establish that Congress intended to channel claims

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                                       1   by non-profit organizations to the same administrative agencies).

                                       2

                                       3   IV.    Analysis of the Winter Factors

                                       4          The Court now proceeds to the Winter factors, examining whether plaintiffs have established

                                       5   they are likely to succeed on the merits, whether they are likely to suffer irreparable harm in the

                                       6   absence of preliminary relief, if the balance of equities tips in their favor, and whether an injunction

                                       7   is in the public interest. See Winter, 555 U.S. at 22.

                                       8

                                       9          A.      Likelihood of Success on the Merits

                                      10                  1.      Ultra Vires

                                      11          Plaintiffs’ first and second claims for relief allege that President Trump, OMB, OPM, and

                                      12   DOGE have violated the separation of powers and therefore acted ultra vires by ordering agencies
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                                      13   to engage in large-scale RIFs and reorganizations. They challenge Executive Order 14210, the

                                      14   OMB/OPM Memo, as well as any other actions and orders of OMB, OPM, and DOGE to implement

                                      15   the President’s Executive Order.

                                      16          “When an executive acts ultra vires, courts are normally available to reestablish the limits

                                      17   on his authority.” Sierra Club v. Trump, 963 F.3d 874, 891 (9th Cir. 2020), vacated and remanded

                                      18   on other grounds, sub nom. Biden v. Sierra Club, 142 S. Ct. 46 (2021) (quoting Dart v. United States,

                                      19   848 F.2d 217, 223 (D.C. Cir. 1988)). The ability to enjoin unconstitutional action by government

                                      20   officials dates back to the courts of equity, “reflect[ing] a long history of judicial review of illegal

                                      21   executive action, tracing back to England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320,

                                      22   327 (2015) (citing Jaffe & Henderson, Judicial Review and the Rule of Law: Historical Origins, 72

                                      23   L.Q. Rev. 345 (1956)). Where the President exceeds his authority, the district court may declare the

                                      24   action unlawful and an injunction may issue. Sierra Club, 963 F.3d at 891 (explaining that, in

                                      25   Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952), “The [Supreme] Court never

                                      26   questioned that it had the authority to provide the requested relief.”).

                                      27

                                      28

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                                       1                          a.      Presidential Authority

                                       2          Plaintiffs are likely to succeed on their claim that the President’s Executive Order 14210 is

                                       3   ultra vires, as the President has neither constitutional nor, at this time, statutory authority to

                                       4   reorganize the executive branch.

                                       5          “In the framework of our Constitution, the President’s power to see that the laws are

                                       6   faithfully executed refutes the idea that he is to be a lawmaker. The Constitution limits his functions

                                       7   in the lawmaking process to the recommending of laws he thinks wise and the vetoing of laws he

                                       8   thinks bad. And the Constitution is neither silent nor equivocal about who shall make laws which

                                       9   the President is to execute.” Youngstown, 343 U.S. at 587.

                                      10          Article I of the U.S. Constitution vests in Congress the legislative power. U.S. Const. art. I,

                                      11   § 1. “To Congress under its legislative power is given the establishment of offices, [and] the

                                      12   determination of their functions and jurisdiction . . . .” Myers v. United States, 272 U.S. 52, 129
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                                      13   (1926). “Congress has plenary power over the salary, duties, and even existence of executive

                                      14   offices.” Free Enter. Fund, 561 U.S. at 500 (emphasis added). While “[t]he President may create,

                                      15   reorganize, or abolish an office that he established,” the Constitution does not authorize him “to

                                      16   enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998)

                                      17   (emphasis added); see also Nat’l Fed’n of Indep. Bus. v. Dep’t of Labor, Occupational Safety &

                                      18   Health Admin., 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of statute.”).

                                      19          In 1952, the Supreme Court struck down an Executive Order by President Truman, who had

                                      20   ordered the Secretary of Commerce to seize most of the nation’s steel mills to prevent strikes from

                                      21   halting steel production during the Korean War. Youngstown, 343 U.S. at 582. Although various

                                      22   statutes authorized the President to seize property under certain circumstances, none of the statutory

                                      23   conditions had been met, and so the President claimed the seizures were lawful pursuant to his

                                      24   constitutional authority. In reviewing whether the district court’s preliminary injunction to stop

                                      25   enforcement of the order was proper, the Supreme Court explained, “The President’s power, if any,

                                      26   to issue the order must stem either from an act of Congress or from the Constitution itself.” Id. at

                                      27   585. Where President Truman lacked both constitutional and statutory authority to seize the steel

                                      28   mills, the Supreme Court affirmed the district court injunction.           Youngstown applies here.

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                                       1   Defendants do not claim that Executive Order 14210 issued under the President’s constitutional

                                       2   powers. See PI Opp’n at 14-18. Rather, they attempt to fit the President’s actions into existing

                                       3   statutory authority. Such statutory authority, however, is plainly lacking. The Ninth Circuit has

                                       4   explained,

                                       5                  Justice Jackson’s Youngstown concurrence provides the operative test
                                                          in this context:
                                       6
                                                                 When the President takes measures incompatible with
                                       7                         the expressed or implied will of Congress, his power
                                                                 is at its lowest ebb, for then he can rely only upon his
                                       8                         own constitutional powers minus any constitutional
                                                                 powers of Congress over the matter. Courts can sustain
                                       9                         exclusive presidential control in such a case only by
                                                                 disabling the Congress from acting upon the subject.
                                      10                         Presidential claim to a power at once so conclusive and
                                                                 preclusive must be scrutinized with caution, for what
                                      11                         is at stake is the equilibrium established by our
                                                                 constitutional system.
                                      12   City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1233 (9th Cir. 2018) (quoting Youngstown,
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                                      13   343 U.S. at 637-38 (Jackson, J., concurring)).
                                      14          As history demonstrates, the President may broadly restructure federal agencies only when
                                      15   authorized by Congress. “Although the U.S. Constitution vests in Congress the authority to organize
                                      16   the Executive Branch,[] former presidential administrations have asked Congress to grant expedited
                                      17   government reorganization authority to execute cross-agency government reorganizations more
                                      18   efficiently.” S. Rep. No. 115-381, at 4 (2018). Since 1932, when President Hoover was the first
                                      19   President to request and receive such reorganization authority, Congress has granted this authority
                                      20   to nine different Presidents, both Republican and Democrat. Id.; John W. York & Rachel Greszler,
                                      21   A Model for Executive Reorganization, Heritage Found. Legal Memorandum No. 4782, at 3 (Nov.
                                      22   3,   2017),     available    at:   https://www.heritage.org/sites/default/files/2017-11/IB4782.pdf
                                      23   [https://perma.cc/59KD-JVU5] (hereinafter, “Heritage Found. Legal Memorandum No. 4782”).
                                      24   According to a Senate Report issued during President Trump’s first term in office, “[b]etween 1932
                                      25   and 1984, presidents submitted 126 reorganization proposals to Congress, of which 93 were
                                      26   implemented and 33 were affirmatively rejected by Congress.” S. Rep. No. 115-381, at 4 (2018).
                                      27   The most recent statutory authorization for a President to conduct a governmental reorganization
                                      28

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                                       1   expired December 31, 1984. See 5 U.S.C. § 905(b); Henry B. Hogue, Cong. Rsch. Serv., R44909,

                                       2   Executive Branch Reorganization 6-7 & n.23 (2017) (hereinafter, “CRS R44909”).

                                       3          The brief of amicus curiae Constitutional Accountability Center recounts the long history of

                                       4   Congress exercising its “power to restructure and abolish federal agencies as it finds necessary . . . .”

                                       5   Dkt. No. 51-1 at 6-9. Defendants’ TRO opposition brief also recounts this long history, which

                                       6   supports the proposition that large-scale reorganization of the federal agencies stems from a long-

                                       7   standing partnership between the executive and legislative branches. See TRO Opp’n at 5-6 (citing,

                                       8   inter alia, 19 Stat. 169; 37 Stat. 413; the Veterans’ Preference Act of 1944; the Federal Employee

                                       9   Pay Act of 1945; the 1966 recodification and amendment of the Veterans’ Preference Act of 1944).

                                      10          The last time Congress gave the President reorganization authority demonstrates what

                                      11   Congress considered to be a “reorganization.”            In 5 U.S.C. § 902, Congress defined a

                                      12   “reorganization” as “a transfer, consolidation, coordination, authorization, or abolition, referred to
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                                      13   in section 903 of this title.” Section 903 then specified what a reorganization plan might entail,

                                      14   including:

                                      15                  (1) the transfer of the whole or a part of an agency, or of the whole or
                                                          a part of the functions thereof, to the jurisdiction and control of
                                      16                  another agency;
                                                          (2) the abolition of all or a part of the functions of an agency, except
                                      17                  that no enforcement function or statutory program shall be abolished
                                                          by the plan;
                                      18
                                                          (3) the consolidation or coordination of the whole or a part of an
                                      19                  agency, or of the whole or a part of the functions thereof, with the
                                                          whole or a part of another agency or the functions thereof;
                                      20                  (4) the consolidation or coordination of part of an agency or the
                                                          functions thereof with another part of the same agency or the
                                      21                  functions thereof;
                                      22                  (5) the authorization of an officer to delegate any of his functions; or
                                                          (6) the abolition of the whole or a part of an agency which agency or
                                      23                  part does not have, or on the taking effect of the reorganization plan
                                                          will not have, any functions.
                                      24
                                           5 U.S.C. § 903. As noted above, the President’s authority to submit a reorganization plan to
                                      25
                                           Congress under this chapter expired in 1984. See id. § 905(b). Since Congress first enacted this
                                      26
                                           statute in 1966, Congress extended the deadline for presidential reorganization plans several times
                                      27
                                           but has not done so again since 1984. See Pub. L. No. 89-554, 80 Stat. 378, 396 (1966); Pub. L. No.
                                      28

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                                       1   91-5, 83 Stat. 6 (1969); Pub. L. No. 92-179, § 4, 85 Stat. 576 (1971); Pub. L. No. 95-17, § 2, 91

                                       2   Stat. 29, 32 (1977); Pub. L. No. 96-230, 94 Stat. 329 (1980); Pub. L. No. 98-614, 98 Stat. 3192

                                       3   (1984).

                                       4             In recent history, the congressional check on executive reach has stopped Democratic and

                                       5   Republican presidents alike from restructuring federal agencies. Presidents George W. Bush, Barack

                                       6   Obama, and Donald Trump (in his first term) all sought but did not receive Congressional approval

                                       7   to reorganize the executive branch. CRS R44909 at 7; H.R. 6787, 115th Congress (2017-2018); S.

                                       8   3137, 115th Congress (2018). Indeed, during the first months of his first term in office, President

                                       9   Trump attempted a large-scale reorganization of federal agencies when he issued Executive Order

                                      10   13781, entitled, “Comprehensive Plan for Reorganizing the Executive Branch.” See 82 Fed. Reg.

                                      11   13959 (Mar. 16, 2017). That order called for agency heads to submit plans within 180 days “to

                                      12   reorganize the agency, if appropriate, in order to improve the efficiency, effectiveness, and
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                                      13   accountability of that agency.” Id. The accompanying legislation, however, died in Congress. See

                                      14   H.R. 6787, 115th Congress (2017-2018); S. 3137, 115th Congress (2018).

                                      15             The simple proposition that the President may not, without Congress, fundamentally

                                      16   reorganize the federal agencies is not controversial: constitutional commentators and politicians

                                      17   across party lines agree that “sweeping reorganization of the federal bureaucracy requires the active

                                      18   participation of Congress.” See Heritage Found. Legal Memorandum No. 4782 at 1-2; see also Paul

                                      19   J. Larkin, Jr. & John-Michael Seibler, The President’s Reorganization Authority, Heritage Found.

                                      20   Legal Memorandum No. 210, at 1 (July 12, 2017), available at: https://www.heritage.org/political-

                                      21   process/report/the-presidents-reorganization-authority [https://perma.cc/2T7K-H6EY] (“. . . to

                                      22   accomplish major reorganization objectives, [the President] will need explicit statutory authority

                                      23   from Congress . . .”); Ronald C. Moe, Cong. Rsch. Serv., RL30876, The President’s Reorganization

                                      24   Authority: Review and Analysis 2 (2001) (“It is Congress, through law, that determines the mission

                                      25   of agencies, personnel systems, confirmation of executive officials, and funding, and ultimately

                                      26   evaluates whether the agency shall continue in existence.”) (emphasis added). As conservative

                                      27   former government officials and advisors note in their amicus brief, House Representative James

                                      28   Comer (R-Kentucky) has introduced the Reorganizing Government Act of 2025. See Dkt. No. 69-

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                                       1   1 at 3 n.3 (citing H.R. 1295, 119th Cong. (2025)). The bill would allow “Congress to fast-track

                                       2   President Trump’s government reorganization plans by renewing a key tool to approve them swiftly

                                       3   in Congress.” Press Release, House Committee on Oversight and Government Reform, Chairman

                                       4   Comer and Senator Lee Introduce Bill to Fast-Track President Trump’s Government Reorganization

                                       5   Plans (Feb. 13, 2025),           https://oversight.house.gov/release/chairman-comer-and-senator-lee-

                                       6   introduce-bill-to-fast-track-president-trumps-government-reorganization-plans/

                                       7   [https://perma.cc/3XSV-TKWL].         The bill contemplates that the President must partner with

                                       8   Congress on a government reorganization effort, acknowledging that presidential “reorganization

                                       9   authority . . . was last in effect in 1984[.]” Id.

                                      10           In their brief, defendants assert that judicial review of the Executive Order is unavailable,

                                      11   citing Dalton v. Specter, 511 U.S. 462, 470 (1994).16 PI Opp’n at 12; TRO Opp’n at 34. The facts

                                      12   of Dalton could not be more different from the scenario here. In Dalton, the Supreme Court held
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                                      13   that judicial review of the President’s decision is unavailable “[w]here a statute . . . commits

                                      14   decisionmaking to the discretion of the President.” 511 U.S. at 476-77. At issue in Dalton was a

                                      15   decision by the President to close the Philadelphia Naval Shipyard, pursuant to the Defense Base

                                      16   Closure and Realignment Act of 1990. The Act provided for the Secretary of Defense, following

                                      17   notice and public comment, to prepare closure recommendations, which then went to Congress and

                                      18   to an independent commission, which then held public hearings and prepared a report, which then

                                      19   went to the President for approval, following which Congress then could enact a joint resolution of

                                      20   disapproval. Id. at 464-65. As discussed further below regarding the APA claims, nothing close to

                                      21   this level of procedure has occurred here, at least as far as the record shows. More importantly,

                                      22   Dalton challenged Presidential action taken pursuant to statutory authority that Congress delegated

                                      23   to the President. Thus, defendants misread plaintiffs’ ultra vires theory against President Trump.

                                      24   Plaintiffs’ claim is not that the President exceeded his statutory authority, as the Dalton plaintiffs

                                      25

                                      26           16
                                                     Defendants appear to conflate the ultra vires and APA claims, arguing that President
                                           Trump is not subject to the APA and that his Executive Order is not reviewable under APA
                                      27   standards. See TRO Opp’n at 34. However, plaintiffs do not sue President Trump under the APA,
                                           and the APA claims challenge the carrying out of the Executive Order by OPM, OMB, DOGE, and
                                      28   the federal agency defendants but do not challenge the Executive Order itself as violating the APA.

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                                       1   claimed. Instead, Claim One is about the President acting without any authority, constitutional or

                                       2   statutory.

                                       3           Nor is the Court persuaded that the President’s authority derives from a right articulated in

                                       4   Nixon v. Fitzgerald, 457 U.S. 731 (1982), as defendants claim. See PI Opp’n at 13. That case

                                       5   examined the scope of presidential immunity from a lawsuit for damages brought by a former Air

                                       6   Force analyst who lost his job during a departmental reorganization. In deciding whether the

                                       7   President should be immune from such suits, the Supreme Court explained, “It clearly is within the

                                       8   President’s constitutional and statutory authority to prescribe the manner in which the Secretary will

                                       9   conduct the business of the Air Force. See 10 U.S.C. § 8012(b).[17] Because this mandate of office

                                      10   must include the authority to prescribe reorganizations and reductions in force, we conclude that

                                      11   petitioner’s alleged wrongful acts lay well within the outer perimeter of his authority.” Fitzgerald,

                                      12   457 U.S. at 757 (emphasis added). The reorganization and RIF authority referenced in the case,
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                                      13   therefore, was derivative of the President’s military authority. No President in the 40-plus years

                                      14   since Fitzgerald has used that case to justify reorganizing federal agencies more broadly.18

                                      15           As a group of conservative former government officials and advisors have written to the

                                      16

                                      17
                                                   17
                                                       This statute is now codified at 10 U.S.C. § 9013(g). See Pub. L. No. 99-433, Title V,
                                      18   § 521(a)(3), 100 Stat. 1055, § 8013 (1986); Pub. L. No. 115-232, Div. A, Title VIII, § 806(c), 132
                                           Stat. 1833 (2018).
                                      19            18
                                                       Defendants further argue that in the 1990s the Clinton Administration engaged in “large-
                                      20   scale Presidentially-directed RIFs[.]” PI Opp’n at 14 (citing 5 U.S.C. § 3502; TRO Opp’n at 5-
                                           11). This misstates history. Defendants rely on President Clinton’s Executive Order 12839—
                                      21   Reduction of 100,000 Federal Positions, which issued the month after he took office. But that
                                           Executive Order says nothing about RIFs. Rather, it states that “positions shall be vacated through
                                      22   attrition or early out programs established at the discretion of the department and agency
                                           heads.” Exec. Order 12839, § 1, 58 Fed. Reg. 8515 (Feb. 12, 1993); see also House Rep. 103-386,
                                      23   available at 1994 U.S.C.C.A.N. 49, 52 (Nov. 19, 1993) (stating that the OMB bulletin on
                                           implementing Executive Order 12839 “specified that neither it [the bulletin] nor the Executive Order
                                      24   authorized special early out programs or required agencies to undergo reductions-in-force.”).
                                                    Moreover, this Court cannot ignore the issues of scale and timing. Executive Order 12839
                                      25   directed that agencies “shall eliminate not less than 4 percent of its civilian personnel positions . . .
                                           over the next 3 fiscal years.” Exec. Order 12839 § 1. One of the questions to be litigated in this
                                      26   case, and which will require further development of the factual record, is whether the RIFs here are
                                           so extensive that they essentially “eliminate” Congressionally-created agencies or prevent those
                                      27   agencies from fulfilling their statutory mandates. A related but separate question will be whether
                                           defendants’ actions were taken so hastily as to constitute arbitrary and capricious action under the
                                      28   APA.

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                                       1   Court, “Unchecked presidential power is not what the Framers had in mind. . . . By proclaiming

                                       2   and implementing Executive Order 14210, the President has usurped for himself the power to

                                       3   restructure entire federal agencies, which can only be accomplished through the constitutionally

                                       4   mandated collaboration between the President and Congress.” Dkt. No. 69-1 at 1. Defendants

                                       5   themselves state in their brief: “[A]n officer may be said to act ultra vires ‘only when he acts without

                                       6   any authority whatever.’” TRO Opp’n at 44 (quoting Pennhurst State Sch. & Hosp. v. Halderman,

                                       7   465 U.S. 89, 101-02 n.11 (1984) (internal quotation marks omitted)). This is precisely what

                                       8   plaintiffs here have alleged.

                                       9

                                      10                           b.      Authority of OPM, OMB, and DOGE

                                      11          Plaintiffs also assert that the actions by OPM, OMB, and DOGE in implementing the

                                      12   Executive Order are ultra vires and therefore unlawful. Plaintiffs argue that none of these defendants
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                                      13   “possesses authority to order agencies to reorganize, to engage in ‘large-scale’ RIFs, or to usurp the

                                      14   decision-making authority delegated by Congress.” TRO Mot. at 35.

                                      15

                                      16          OPM: The question of whether the President, acting without Congress, may engage in en

                                      17   masse termination of rank-and-file employees was recently litigated in a case involving the

                                      18   termination of probationary employees at numerous federal agencies. In issuing a temporary

                                      19   restraining order, Judge Alsup of this district found plaintiffs likely to succeed on their ultra vires

                                      20   claim, explaining, “No statute — anywhere, ever — has granted OPM the authority to direct the

                                      21   termination of employees in other agencies.” Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-

                                      22   cv-1780-WHA, 2025 WL 660053, at *4 (N.D. Cal. Feb. 28, 2025).19 Rather, as laid out in statute,

                                      23   “Each Executive agency . . . may employ such number of employees of the various classes

                                      24   recognized by chapter 51 of this title [regarding classification] as Congress may appropriate for

                                      25   from year to year.” 5 U.S.C. § 3101. With regard to OPM in particular, Congress vested the Director

                                      26   of OPM with a number of functions, none of which include the termination of employees from, or

                                      27

                                      28          19
                                                       The preliminary injunction in Judge Alsup’s case is currently on appeal.

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                                       1   the restructuring of, other federal agencies outside of OPM. See 5 U.S.C. § 1103(a). In the

                                       2   probationary employee case, “OPM concede[d] that it lacks the authority to direct firings outside of

                                       3   its own walls . . . .” Am. Fed’n of Gov’t Emps., 2025 WL 660053, at *5.

                                       4          Defendants cite a host of statutes and regulations that they assert provides OPM with the

                                       5   authority to issue the OMB/OPM Memo. See PI Opp’n at 19. Upon review of the laws cited, the

                                       6   Court finds that none support the authority that OPM now claims. By contrast, 5 C.F.R. § 351.201

                                       7   specifies that “[e]ach agency is responsible for determining the categories within which positions

                                       8   are required, where they are to be located, and when they are to be filled, abolished, or vacated.” 5

                                       9   C.F.R. § 351.201(a)(1) (emphasis added).

                                      10

                                      11          OMB: Housed within the Executive Office of the President, OMB, like OPM, has its

                                      12   functions laid out in statute. See 31 U.S.C. §§ 501-507. None of the statutes authorize OMB to
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                                      13   terminate employees outside of OMB or to order other agencies to downsize, nor do defendants

                                      14   point to any such authority in their brief. See also Nat’l Council of Nonprofits, 2025 WL 597959,

                                      15   at *15 (“the structure and provisions of Section 503 strongly suggest that OMB occupies an

                                      16   oversight role” and 31 U.S.C. § 503(a)(5) “further indicates that OMB’s role is mainly supervisory,

                                      17   rather than directly active”).   Defendants cite only to 31 U.S.C. § 503(b), which empowers the

                                      18   Deputy Director to “establish general management policies for executive agencies and perform . . .

                                      19   general management functions[.]” See PI Opp’n at 19. Nothing in that subsection remotely

                                      20   authorizes the level of direction over other agencies that plaintiffs challenge here.

                                      21

                                      22          DOGE: As plaintiffs rightly note, DOGE “has no statutory authority at all.” TRO Mot. at

                                      23   37. DOGE was created by Executive Order out of the United States Digital Service and is housed

                                      24   in the Executive Office of the President. See Exec. Order No. 14158. DOGE therefore could not

                                      25   have been acting pursuant to statutory authority in ordering large-scale RIFs and reorganizations of

                                      26   the workforces at the defendant federal agencies.

                                      27                                                    ***

                                      28          In sum, no law gives OPM, OMB, or DOGE the authority to direct other federal agencies to

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                                       1   engage in large-scale terminations, restructuring, or elimination of that agency itself. Such action

                                       2   far exceeds the bounds of any authority that Congress vested in OPM or OMB, and, as noted, DOGE

                                       3   has no statutory authority whatsoever. “[A]n agency literally has no power to act . . . unless and

                                       4   until Congress confers power upon it.” La. Pub. Serv. Comm’n v. F.C.C., 476 U.S. 355, 357 (1986).

                                       5

                                       6                          c.      The Challenged Executive Actions

                                       7          Having examined whether the President and OPM, OMB, and DOGE have authority to direct

                                       8   other federal agencies to conduct large-scale RIFs and reorganizations, the Court now turns to the

                                       9   executive actions challenged in this case: Executive Order 14210, the OMB/OPM Memo, and other

                                      10   implementation steps by OMB, OPM, and DOGE.

                                      11          In defendants’ interpretation, there is no unlawful action here because the President did not

                                      12   order the agencies to take any specific actions, and OMB and OPM were merely providing guidance
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                                      13   about how agencies should conduct RIFs. Defendants would have the Court look only to the

                                      14   Executive Order and the OMB/OPM memo, arguing that “no factual development is necessary to

                                      15   resolve Plaintiffs’ preliminary injunction motion.” PI Opp’n at 3; see also id. at 15 n.7 (“But there

                                      16   is no factual dispute the Court needs to resolve.”).

                                      17          The evidence plaintiffs have presented tells a very different story: that the agencies are acting

                                      18   at the direction of the President and his team. At this stage, the Court has now reviewed in camera

                                      19   the ARRPs from four of the federal agency defendants.20 Those plans support plaintiffs’ contention

                                      20   that the agencies’ understanding is that OMB/OPM “approval,” whether formal or otherwise, is a

                                      21   necessary triggering step in the agencies’ current RIF and reorganization processes. Other evidence

                                      22   in the record supports this. For instance, an official at the Department of Labor attributes the RIF

                                      23   to Executive Order 14210, citing section 3(c) of that order specifically. Dkt. No. 70-2 (“Decl.

                                      24   Gamble AFGE ISO Reply”) ¶ 6, Ex. B. Plaintiffs have come forward with evidence that some of

                                      25   the federal agency defendants have been pressured to institute RIFs on a larger scale than what the

                                      26
                                      27
                                                  20
                                                      The Court will not disclose the specific contents of the ARRPs while defendants’ motion
                                           for a protective order remains pending. See Dkt. No. 88.
                                      28

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                                       1   agencies themselves initially sought to do in their plans. See Dkt. No. 36, Ex. 1 (April 29 news

                                       2   article that OMB deemed NLRB’s proposed cuts to be inadequate); Decl. Soriano NSF ¶¶ 8-14

                                       3   (reports that OMB, OPM, and DOGE rejected NSF’s phase 1 ARRP that lacked large-scale RIFs

                                       4   and directed large-scale RIFs instead); Decl. Daly AFSCME ¶ 24 (OMB rejected AmeriCorps’ mid-

                                       5   March ARRP that did not recommend RIFs).            In interpreting the Executive Order and the

                                       6   OMB/OPM Memo, the Court cannot ignore the evidence showing that agencies have received

                                       7   extrinsic instructions on how to interpret and respond to these documents.

                                       8          Moreover, while defendants go to lengths to focus on the “RIF” side of what is happening,

                                       9   the factual record indicates the RIFs are not easily separated from the reorganization. Defendants

                                      10   argue that “federal law expressly permits RIFs, the governing statute expressly directs OPM to

                                      11   promulgate regulations governing RIFs, and Congress has consistently recognized agencies’

                                      12   authority to engage in RIFs since the nineteenth century.” TRO Opp’n at 35. Maybe so. But the
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                                      13   RIFs at issue here appear inextricably intertwined with broad agency reorganization, which the

                                      14   President undoubtedly cannot undertake without Congress. Indeed, when arguing that agencies are

                                      15   making their final ARRPs public, defendants point to a press release where Secretary of State Marco

                                      16   Rubio announces “a comprehensive reorganization plan.” See PI Opp’n at 5 n.3; Marco Rubio,

                                      17   Building an America First State Department, U.S. Department of State, Apr. 22, 2025,

                                      18   https://www.state.gov/building-an-america-first-state-department [https://perma.cc/MV3Z-6GX5];

                                      19   see also Dkt. No. 37-20 (“Decl. Hunter AFGE”) Ex. I (department fact sheet linking reorganization

                                      20   and RIFs). Defendants’ proposition that RIFs can be conducted for reasons such as a “lack of work”

                                      21   or “shortage of funds” is irrelevant when they provide no evidence to suggest those were the reasons

                                      22   for the RIFs at issue here. See PI Opp’n at 16-17. The OMB/OPM Memo, as plaintiffs note,

                                      23   “confirmed the RIFs were for the purpose of reorganization: they required agencies to combine these

                                      24   in the same document.” PI Mot. at 13 (citing OMB/OPM Memo). The memo requires ARRPs be

                                      25   submitted in two “phases”: Phase 1 for “initial agency cuts and reductions” and Phase 2 for “more

                                      26   productive, efficient agency operations going forward.” OMB/OPM Memo at 3-4. Or, as plaintiffs

                                      27   observe: “OMB and OPM ordered federal agencies to conduct RIFS first, and then arrange the

                                      28   pieces of what remains of these agencies.” PI Mot. at 4.

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                                       1          Even looking to the text of the Executive Order and the OMB/OPM Memo, as defendants

                                       2   encourage this Court to do, these documents are not so permissive as defendants claim. The

                                       3   Executive Order mandates that “Agency Heads shall promptly undertake preparations to initiate

                                       4   large-scale reductions in force (RIFs), consistent with applicable law,” including submitting plans

                                       5   that “shall discuss whether the agency or any of its subcomponents should be eliminated . . . .” Exec.

                                       6   Order 14210 § 3(c), (e) (emphasis added). The Executive Order directs agencies to prioritize RIFs

                                       7   of “[a]ll offices that perform functions not mandated by statute or other law[,]” regardless of any

                                       8   impact on the agency’s overall ability to perform its required functions. And the order directs

                                       9   prioritization of RIFs of “all agency initiatives, components, or operations that my Administration

                                      10   suspends or closes.” Id. § 3(c) (emphasis added). In other words, the President will suspend or

                                      11   close agency operations, and that agency must then be prioritized for a RIF.21 The Executive Order

                                      12   also gives OPM the authority to “grant exemptions from this order,” undercutting defendants’
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                                      13   argument that OPM’s role is merely advisory. See Exec. Order 14210 § 4(c).

                                      14          The OMB/OPM Memo interprets Executive Order 14210 as a directive. It states that the

                                      15   Executive Order “directed agencies to ‘eliminat[e] waste, bloat, and insularity[;]’” that “President

                                      16   Trump required that ‘Agency Heads shall promptly undertake preparations to initiate large-scale

                                      17   reductions in force (RIFs) . . .[;]’” and that “President Trump also directed that, no later than March

                                      18   13, 2025, agencies develop Agency Reorganization Plans.” OMB/OPM Memo at 1 (italics added).

                                      19   The memo states, “Pursuant to the President’s direction, agencies should focus on the maximum

                                      20   elimination of functions that are not statutorily mandated . . . .” Id. at 2. The memo specifies, “Each

                                      21   agency will submit a Phase 1 ARRPs [sic] to OMB and OPM for review and approval no later than

                                      22   March 13, 2025.” Id. at 3 (italics added); see also id. at 4 (agencies shall submit Phase 2 ARRP “to

                                      23   OMB and OPM for review and approval” by April 14). “Phase 1 ARRPs shall focus on initial

                                      24   agency cuts and reductions.” Id. at 3 (emphasis added). “Phase 2 plans shall outline a positive

                                      25   vision for more productive, efficient agency operations going forward[,]” with Phase 2 to “be

                                      26   planned for implementation by September 30, 2025.” Id. at 4 (emphasis added). The Memo further

                                      27

                                      28
                                                  21
                                                    On the present record, this appears to be what is happening. See Decl. Gamble AFGE ISO
                                           Reply ¶¶ 4-6, Ex. B.
                                                                                            38
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                                       1   instructs that “agencies or components that provide direct services to citizens (such as Social

                                       2   Security, Medicare, and veterans’ health care) shall not implement any proposed ARRPs until OMB

                                       3   and OPM certify that the plans will have a positive effect on the delivery of such services.” Id. at

                                       4   3, 6. Thus, for some of the federal agency defendants, such as the Social Security Administration,

                                       5   the memo explicitly instructs that the agencies cannot implement proposed plans without OMB and

                                       6   OPM approval. Defendants’ position that the memo simply “provides high-level guidance, setting

                                       7   forth principles” for what the ARRPs should seek to do, see PI Opp’n at 18, is belied by the

                                       8   mandatory nature of what the memo actually instructs. Like other directives from the current

                                       9   administration, the Court finds the memo “amounted to a command, not a suggestion.” See New

                                      10   York v. Trump, No. 25-CV-39-JJM-PAS, 2025 WL 715621, at *8 (D.R.I. Mar. 6, 2025).

                                      11            Defendants also argue that the Executive Order and OMB/OPM Memo are lawful because

                                      12   they tell agencies to comply with the law. This argument falls short on three grounds. First, the
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                                      13   Court need not give the savings clauses in the Executive Order and OMB/OPM Memo the weight

                                      14   defendants attribute to them. As defendants note in their papers, “[a] consistent-with-law provision

                                      15   does not categorically immunize an Executive Order or similar directive from review.” TRO Opp’n

                                      16   at 40. The Ninth Circuit, in considering “whether, in the absence of congressional authorization,

                                      17   the Executive Branch may withhold all federal grants from so-called ‘sanctuary’ cities and

                                      18   counties[,]” rejected the government’s argument that the words “consistent with law” saved an

                                      19   otherwise unlawful Executive Order. San Francisco, 897 F.3d at 1231, 1239-40.              The court

                                      20   explained, “‘It is a commonplace of statutory construction that the specific governs the general[,]’ .

                                      21   . . [and t]he Executive Order’s savings clause does not and cannot override its meaning.” Id. at 1239

                                      22   (quoting RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012)). Like the

                                      23   Ninth Circuit in the “sanctuary cities” case, this Court is not persuaded by the government’s reliance

                                      24   on Building & Construction Trades Department, AFL-CIO v. Allbaugh, 295 F.3d 28, 32 (D.C. Cir.

                                      25   2002).    See PI Opp’n at 17.      “Allbaugh is distinguishable.     Because the Executive Order

                                      26   unambiguously commands action, here there is more than a ‘mere possibility that some agency

                                      27   might make a legally suspect decision.’” See San Francisco, 897 F.3d at 1239-40 (citing Allbaugh,

                                      28   295 F.3d at 33). Likewise here, the mandatory language of the Executive Order, and of the

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                                       1   OMB/OPM Memo interpreting it, create more than a mere possibility of unlawful action if the

                                       2   federal agencies do the large-scale RIFs and reorganizations that are commanded.

                                       3          Second, the Court is not convinced that a directive to respect statutory mandates is a message

                                       4   the agencies have actually received, as the scale of workforce terminations raise significant

                                       5   questions about some agencies’ or sub-agencies’ capacities to fulfill their statutory missions. For

                                       6   example, it appears the Department of Health and Human Services is planning to practically wipe

                                       7   out the National Institute for Occupational Safety and Health, an office established by Congress.

                                       8   Decl. Niemeier-Walsh AFGE ¶ 28 (“my understanding is that approximately 93% of NIOSH

                                       9   employees have received RIF notices”); Pub. L. No. 91-596 § 22, 84 Stat. 1590, 1612 (1970). The

                                      10   cuts to AmeriCorps have reduced agency staff from more than 700 to around 150, a number so small

                                      11   that those remaining cannot fulfill the agency’s statutory duties. Decl. Daly AFSCME ¶¶ 25, 30-

                                      12   31. Other agencies have plans to reduce staff by 50% or more, a level that raises serious questions
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                                      13   about their ability to fulfill the responsibilities Congress has bestowed upon them. And it is

                                      14   understandable that agencies have interpreted the directives from the President and OMB, OPM,

                                      15   and DOGE to require these cuts when President Trump has made public statements about the federal

                                      16   workforce such as: “obviously, they’re paying millions of people that shouldn’t be paid” and “It is

                                      17   the policy of my Administration . . . to commence the deconstruction of the overbearing and

                                      18   burdensome administrative state.” See TRO Mot. at 1 n.1 (citing Remarks by President after

                                      19   Executive Order Signing, The White House (Feb. 18, 2025); Exec. Order No. 14219, 90 Fed. Reg.

                                      20   10583 (Feb. 19, 2025)); cf. San Francisco, 897 F.3d at 1238 (“consideration of those statements

                                      21   suggests that the Administration’s current litigation position is grounded not in the text of the

                                      22   Executive Order but in a desire to avoid legal consequences”).

                                      23          Third, even if agencies consider all their organic statutory mandates, the executive branch

                                      24   still cannot reorganize at this scale without authority from Congress. What plaintiffs allege—and

                                      25   what defendants have so far failed to refute—is that Executive Order 14210 and the

                                      26   OMB/OPM/DOGE actions to implement it reach so broadly as to exceed what the President can do

                                      27   without Congress. In the last presidential reorganization law, Congress defined executive branch

                                      28   reorganizations as including transfers of functions between agencies, abolition of some functions of

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                                       1   an agency, and consolidations of different components within or between agencies. See 5 U.S.C.

                                       2   § 903. Based on the Court’s review of plaintiffs’ evidence and the submitted ARRPs, these acts are

                                       3   taking place now, following direction from the Executive Order and the OMB/OPM Memo. This is

                                       4   not an instance of the President using his “inherent authority to exercise ‘general administrative

                                       5   control of those executing the laws,’” see TRO Opp’n at 4, because Congress has passed no agency

                                       6   reorganization law for the President to execute. Congress may choose to do so. But as of today,

                                       7   Congress has not.22

                                       8          The Court finds plaintiffs have shown a likelihood of success on the merits of Claim One,

                                       9   which alleges that Executive Order 14210 usurps Congress’s Article I powers and exceeds the

                                      10   President’s lawful authority. Plaintiffs are also likely to succeed on the merits of their ultra vires

                                      11   claims (Claim Two) against OPM, OMB, DOGE, and their Directors.

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                                      13                  2.      APA Claims

                                      14          Plaintiffs also challenge, as violative of the APA: the OMB/OPM Memo; OPM and OMB’s

                                      15   approvals of specific agencies’ ARRPs; and “DOGE’s directives to specific agencies requiring cuts

                                      16   to programs and staffing[.]” TRO Mot. at 37-38. Plaintiffs’ Third through Seventh Claims assert

                                      17   violations of the Administrative Procedure Act against OMB, OPM, DOGE, and their directors,

                                      18   under 5 U.S.C. § 706(2)(A), (C), and (D), and against the federal agency defendants, under 5 U.S.C.

                                      19   § 706(2)(A) and (C).

                                      20          The APA provides, in relevant part, that

                                      21                  The reviewing court shall--
                                                          . . . (2) hold unlawful and set aside agency action, findings, and
                                      22
                                                          conclusions found to be--
                                      23

                                      24
                                                  22
                                                      Amici the State of Montana et al. filed a brief in support of defendants. Dkt. No. 71-1.
                                      25   They argue, among other things, that “Article II provides the President with broad authority to
                                           manage the federal workforce. . . , and the courts have recognized it for more than two centuries
                                      26   except in limited circumstances not relevant here.” Id. at 3 (citing Trump v. United States, 603 U.S.
                                           593, 609 (2024)). However, a closer read of the cited decision shows that the removal power at
                                      27   issue involved “executive officers of the United States whom he has appointed.” See Trump, 603
                                           U.S. at 609 (emphasis added). The removal of Presidentially-appointed officers is simply not at
                                      28   issue in this case.

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                                                          (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
                                       1                  accordance with law;
                                       2                  ...
                                       3                  (C) in excess of statutory jurisdiction, authority, or limitations, or
                                                          short of statutory right;
                                       4
                                                          (D) without observance of procedure required by law; . . . .
                                       5   5 U.S.C. § 706(2).
                                       6

                                       7                          a.      Final Agency Action
                                       8          The APA provides that “[a]gency action made reviewable by statute and final agency
                                       9   action for which there is no other adequate remedy in a court are subject to judicial review.” 5
                                      10   U.S.C. § 704. Because plaintiffs do not allege that any action here was made reviewable by statute,
                                      11   the threshold question is whether the challenged actions constitute “final agency action.” If not, this
                                      12   Court is without subject matter jurisdiction to decide the APA claim. See San Francisco Herring
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                                      13   Ass’n v. U.S. Dep’t of Interior, 683 F. App’x 579, 580 (9th Cir. 2017).
                                      14          The Supreme Court has explained that “two conditions must be satisfied for agency action
                                      15   to be ‘final’: First, the action must mark the ‘consummation’ of the agency’s decisionmaking process
                                      16   . . . —it must not be of a merely tentative or interlocutory nature. And second, the action must be
                                      17   one by which ‘rights or obligations have been determined,’ or from which ‘legal consequences will
                                      18   flow[.]’” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations omitted).        The Supreme Court
                                      19   has “long taken” a “pragmatic approach” to the question what constitutes final agency action. San
                                      20   Francisco Herring Ass’n v. Dep’t of Interior, 946 F.3d 564, 577-78 (9th Cir. 2019) (quoting U.S.
                                      21   Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 599 (2016)).
                                      22          The record presently before the Court indicates that the challenged actions are final agency
                                      23   actions under the APA. While the ultimate impacts of the RIFs may yet be unknown (in part due to
                                      24   defendants’ refusal to publicize the ARRPs), and while certain ARRPs may still be awaiting
                                      25   OMB/OPM approval, nowhere do defendants assert that the OMB/OPM Memo itself is subject to
                                      26   change or is in draft form. These actions—the issuance of the OMB/OPM Memo and the approvals
                                      27   of the ARRPs—are done and final. See San Francisco Herring Ass’n, 946 F.3d at 578 (“The Park
                                      28   Service does not suggest it is still in the middle of trying to figure out its position on whether it has
                                                                                              42
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                                       1   jurisdiction over the waters [at issue] . . .”). An agency engages in “final” action, for instance, when

                                       2   it “state[s] a definitive position in formal notices, confirm[s] that position orally, and then send[s]

                                       3   officers out into the field to execute on the directive.” Id. at 579.

                                       4           So have OMB, OPM, DOGE, and their directors done here. The OMB/OPM Memo required

                                       5   agencies to submit Phase 1 ARRPs by March 13 and Phase 2 ARRPs by April 14. As alleged, the

                                       6   ARRPs “are only effectuated by OMB and OPM (and DOGE) approval.” Amended Compl. ¶ 14.

                                       7   Defendants argue that the ARRPs are living documents, always subject to change. But they have

                                       8   neither released those plans nor submitted any evidence, save one scant declaration, to shed light on

                                       9   how the ARRP process works. The evidence plaintiffs presented on how the ARRP approval process

                                      10   has actually played out shows that at least three defendant agencies initially submitted an ARRP that

                                      11   “did not include plans for large-scale RIFs” and that OMB, OPM, and DOGE rejected this plan “and

                                      12   directed the agency to implement large-scale RIFs instead.” Decl. Soriano AFGE ¶¶ 8-9 (NSF); see
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                                      13   also Decl. Daly AFSCME ¶ 24 (AmeriCorps); Dkt. No. 36, Ex. 1 (NLRB). “It is the imposition of

                                      14   an obligation or the fixing of a legal relationship that is the indicium of finality of the administrative

                                      15   process.” Getty Oil Co. v. Andrus, 607 F.2d 253, 256 (9th Cir. 1979). Based on the record to date,

                                      16   the Court finds the OMB/OPM Memo and OMB/OPM approval of the ARRPs constitute final

                                      17   agency action under the APA.

                                      18           At this time, the Court will refrain from opining on whether DOGE’s actions are subject to

                                      19   review under the APA. The record is less developed as to DOGE’s actions and would benefit from

                                      20   further factual development. Nevertheless, having found above that any actions by DOGE in

                                      21   directing other federal agencies to engage in large-scale RIFs is ultra vires, the Court need not reach

                                      22   the APA question specifically in order for injunctive relief to cover DOGE. See League of

                                      23   Wilderness Defenders/Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 760 &

                                      24   n.3; Cmty. Legal Servs. in East Palo Alto v. United States Dep’t of Health & Human Servs., --- F.

                                      25   Supp. 3d ----, No. 25-cv-2847-AMO, 2025 WL 1233674, at *8 (N.D. Cal. Apr. 29, 2025) (plaintiffs

                                      26   “need only show a likelihood of success on one claim to demonstrate likelihood of success in support

                                      27   of a preliminary injunction”).

                                      28

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                                       1                          b.     Merits

                                       2          The Court likewise reserves ruling on the merits of the APA claim asserting arbitrary and

                                       3   capricious action by OMB, OPM, and DOGE (Claim Four) and the APA claims asserted against the

                                       4   federal agency defendants (Claims Six and Seven). As previously discussed, a full review of the

                                       5   ARRPs will significantly aid the Court’s review of the merits of these APA claims.

                                       6          Plaintiffs’ Third Claim—that OMB, OPM, DOGE, and their directors violated the APA by

                                       7   taking action not in accordance with law and exceeding statutory authority—overlaps with the

                                       8   analysis of the ultra vires claim. For the reasons already stated above, plaintiffs have shown a

                                       9   likelihood of success on their claim that at least OPM and OMB are acting outside their statutory

                                      10   authority by directing large-scale layoffs and reorganizations at other federal agencies.

                                      11          Plaintiffs’ Fifth Claim alleges that OMB, OPM, DOGE, and their directors violated the APA

                                      12   by engaging in “rule-making” without publication and opportunity for notice and comment. In their
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                                      13   TRO brief, defendants asserted, incorrectly, that OPM has simply promulgated regulations as they

                                      14   are statutorily authorized to do. See TRO Opp’n at 44 (“Congress expressly empowered OMB [sic]

                                      15   to promulgate regulations governing RIFs, and OPM has done just that.”); see also id. at 35 (“the

                                      16   governing statute expressly directs OPM to promulgate regulations governing RIFs . . .”); id. at 1,

                                      17   7-8, 40-41 (citing 5 U.S.C. § 3502).23 OPM did not promulgate regulations here. Promulgating a

                                      18   regulation would have required a public process, including notice and comment under the APA. See

                                      19   5 U.S.C. § 553. This did not occur. Plaintiffs have shown a likelihood of succeeding on their claim

                                      20   that OPM and OMB engaged in rule-making without notice and comment required by the APA, in

                                      21   issuing the OMB/OPM Memo and in approving the ARRPs.

                                      22

                                      23          B.      Irreparable Harm

                                      24          The Court discussed plaintiffs’ injuries in the standing section above, but in the context of

                                      25

                                      26
                                                  23
                                                     5 U.S.C. § 3502 states, in part, that OPM “shall prescribe regulations for the release of
                                      27   competing employees in a reduction in force which give due effect to-- (1) tenure of employment;
                                           (2) military preference . . .; (3) length of service; and (4) efficiency or performance ratings.” 5
                                      28   U.S.C. § 3502(a).

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                                       1   the Winter analysis the Court must also consider whether this injury is irreparable. Plaintiffs assert

                                       2   that constitutional violations constitute irreparable injury, including violations of the separation of

                                       3   powers. TRO Mot. at 48-49. Plaintiffs assert that union members will face irreparable harm when

                                       4   they lose their wages and health benefits and, in some cases, may need to relocate. Id. As the Ninth

                                       5   Circuit has noted, “[l]ack of timely access to health care poses serious health risks,” especially for

                                       6   individuals with chronic health conditions. Golden Gate Rest. Ass’n v. City & Cnty. of San

                                       7   Francisco, 512 F.3d 1112, 1125 (9th Cir. 2008). The Court agrees that these losses constitute

                                       8   irreparable harm and notes, from its review of plaintiffs’ declarations and the ARRPs submitted in

                                       9   camera, that some RIF terminations were scheduled to begin mid-May or soon thereafter. On May

                                      10   16, 2025, the government told the Supreme Court “that about 40 RIFs in 17 agencies were in

                                      11   progress and are currently enjoined by the TRO.” Application for Stay, No. 24A1106 (U.S.), 29.

                                      12          Further, facing the potential loss of federal funding, the local government plaintiffs
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                                      13   experience irreparable harm when they are forced to plan how to mitigate that loss. See Cnty. of

                                      14   Santa Clara v. Trump, 250 F. Supp. 3d 497, 537-38 (N.D. Cal. 2017). These plaintiffs cannot

                                      15   recover damages via an APA claim, making their monetary loss irreparable. See Cal. v. Azar, 911

                                      16   F.3d 558, 581 (9th Cir. 2018).

                                      17          Defendants and their supportive amici states argue from Sampson v. Murray that plaintiffs

                                      18   have not made a sufficient showing of irreparable harm. In Sampson, the Supreme Court considered

                                      19   whether to enjoin the dismissal of a single employee and determined the plaintiff had not made a

                                      20   sufficient showing of irreparable harm “in this type of case,” even though the plaintiff would suffer

                                      21   at least a temporary loss of income. Sampson v. Murray, 415 U.S. 61, 63, 89-90, 92 (1974). But

                                      22   the Court also recognized “that cases may arise in which the circumstances surrounding an

                                      23   employee’s discharge, together with the resultant effect on the employee, may so far depart from

                                      24   the normal situation that irreparable injury might be found.” Id. at 92 n.68. The present case, simply

                                      25   put, is not the same “type of case” as Sampson. The Court here is not considering the potential loss

                                      26   of income of one individual employee, but the widespread termination of salaries and benefits for

                                      27   individuals, families, and communities. Moreover, given the scale and speed of defendants’ actions,

                                      28   if the reorganization continues, the agencies will not easily return to their prior level of operations.

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                                       1   This is irreparable harm.

                                       2

                                       3          C.      Balance of Interests

                                       4          The last two factors—assessing the harm to the opposing party and weighing the public

                                       5   interest—“merge when the Government is the opposing party.” Nken, 556 U.S. at 435. In this

                                       6   context, these factors require the Court to ask whether pausing the government’s large-scale RIFs

                                       7   and reorganizations harms the government more than it benefits the plaintiffs. Defendants have

                                       8   argued that there is no public interest in injunctive relief because its actions are lawful. TRO Opp’n

                                       9   at 48. This argument fails, as the Court has found it likely that defendants’ actions are not lawful.

                                      10   The Court notes again that its order does not prevent the President from exercising his Article II

                                      11   powers; it prevents him from exercising Congress’s Article I powers.

                                      12          Defendants further argue that a continued injunction would “frustrat[e] the government’s
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                                      13   efforts to impose budgetary discipline and build a more efficient workforce.” PI Opp’n at 21. As

                                      14   plaintiffs note in their reply, the Constitution gives Congress the power—and responsibility—of the

                                      15   purse. PI Reply at 8 (citing U.S. Const. art. 1, § 9). Further, the fact that defendants have placed

                                      16   many employees on paid administrative leave for the duration of the RIF notice period—rather than

                                      17   have them to continue working for their pay—undercuts their ostensible concern for efficient and

                                      18   effective government.24 So too do admissions from agency heads that cuts have been or might be

                                      19   made too fast. See, e.g., TRO Mot. at 4-5 (defendant Kennedy stating, with regard to April

                                      20   terminations of HHS employees: “[p]ersonnel that should not have been cut were cut . . . that was

                                      21   always the plan . . . we’re going to do 80% cuts, but 20% of those are going to have to be reinstated,

                                      22   because we’ll make mistakes.”). Some of the ARRPs reviewed by the Court indicate that cuts may

                                      23   be too deep or that cost savings will not be realized in the short term. In sum, the Court does not

                                      24   find that pausing hastily constructed and likely unconstitutional RIF and reorganization plans

                                      25

                                      26
                                                  24
                                                      As amicus curiae Public Employees for Environmental Responsibility note in their brief,
                                      27   such widespread use of paid leave may also violate the Administrative Leave Act, 5 U.S.C. § 6329a.
                                           Dkt. No. 116-1. Violation of this statute is not charged in the complaint and is not directly at issue
                                      28   in this case.

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                                       1   constitutes irreparable harm to the government.

                                       2              Furthermore, the Court finds that injunctive relief as ordered below would serve the public

                                       3   interest, because “[t]here is generally no public interest in the perpetuation of unlawful agency

                                       4   action. To the contrary, there is a substantial public interest in having governmental agencies abide

                                       5   by the federal laws that govern their existence and operations.” See League of Women Voters of

                                       6   United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal quotation marks and citations

                                       7   omitted).

                                       8

                                       9   V.         Scope of Remedy and Order

                                      10              Providing relief beyond the named parties is appropriate where necessary to provide relief

                                      11   to the named parties. Bresgal v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987). The Court has

                                      12   found that plaintiffs are likely to succeed on the merits of their challenges to Executive Order 14210,
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                                      13   the OMB/OPM Memo, and OMB/OPM’s approval of the ARRPs. The Court limits its injunction

                                      14   to the named agency defendants, but acknowledges that its order as detailed below will provide

                                      15   relief beyond the named plaintiffs. To do otherwise remains impracticable and unworkable, in

                                      16   particular considering the diversity of plaintiffs in this case. See City & Cnty. of San Francisco v.

                                      17   Barr, 965 F.3d 753, 766 (9th Cir. 2020) (noting that where “a case involve[es] plaintiffs that operate

                                      18   and suffer harm in a number of jurisdictions . . . the process of tailoring an injunction may be more

                                      19   complex”). To be sure, relief must be narrowly tailored, but narrowly tailored does not necessarily

                                      20   mean small. The Court’s relief must be sized to fit the problems presented by the case, no more and

                                      21   no less.

                                      22

                                      23              A.     Prospective Relief

                                      24              For the foregoing reasons and for good cause shown, the Court therefore ORDERS as

                                      25   follows:

                                      26                     IT IS HEREBY ORDERED that the agency defendants (as delineated
                                                             below) and their officers or employees or any other individuals acting
                                      27                     under their authority or the authority of the President are hereby
                                                             enjoined and/or stayed from taking any actions to implement or
                                      28                     enforce sections 3(c) and 3(e) of Executive Order 14210 or the

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                                                          February 26, 2025 OMB/OPM Memorandum, including but not
                                       1                  limited to:
                                       2                  (1) any further approval, disapproval, or certification of ARRPs by
                                                          OMB and OPM, whether formal or informal, express or implied;
                                       3                  (2) any further waivers of statutorily-mandated RIF notice periods by
                                                          OMB and OPM, whether formal or informal, express or implied;
                                       4
                                                          (3) any further orders by DOGE, whether formal or informal, express
                                       5                  or implied, to agencies to cut programs or staff in conjunction with
                                                          implementing the Executive Order, the OMB/OPM Memorandum, or
                                       6                  the ARRPs;
                                                          (4) any further implementation of ARRPs, including but not limited
                                       7                  to the following actions, to the extent they are taken to implement
                                                          Executive Order 14210 and/or the OMB/OPM Memorandum:
                                       8
                                                                 (a) execution of any existing RIF notices (including final
                                       9                         separation of employees),
                                                                 (b) issuance of any further RIF notices,
                                      10
                                                                 (c) placement of employees on administrative leave, and
                                      11                         (d) transfer of functions or programs between the agency
                                                                 defendants.
                                      12
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                                                          However, this injunction shall not limit federal agency defendants
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                                      13                  from presenting reorganization proposals for legislative approval or
                                                          engaging in their own internal planning activities without the
                                      14                  involvement of OMB, OPM, or DOGE, provided that they do not
                                                          implement any of the prohibited actions above.
                                      15          This injunction shall apply to the following defendant agencies: OMB, OPM, DOGE
                                      16   (USDS), USDA, Commerce, Energy, HHS, HUD, Interior, Labor, State, Treasury, Transportation,
                                      17   VA, AmeriCorps, Peace Corps, EPA, GSA, NLRB, NSF, SBA, and SSA. Plaintiffs have presented
                                      18   evidence that these agencies are implementing, or preparing to soon implement, large-scale RIFs
                                      19   and reorganizations pursuant to the Executive Order and OMB/OPM Memo. See PI Mot. App’x C
                                      20   (identifying plaintiffs’ submitted evidence for each agency). To the extent that defendants need
                                      21   clarification about whether certain activities are prohibited or allowed by the order, they may seek
                                      22   such clarification from the Court. By 3:00 p.m. (PDT) on Friday, May 30, defendants shall file a
                                      23   declaration verifying that all defendants have been given notice of this order and have taken steps
                                      24   to comply. The Court defers decisions about further compliance reporting to a later day.
                                      25

                                      26          B.      Retrospective Relief
                                      27          Plaintiffs further request that defendant DOGE and the federal agency defendants be ordered
                                      28

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                                       1   to rescind earlier actions taken to implement the ARRPs, to restore the status quo prior to the likely

                                       2   unlawful action. Dkt. No. 101 ¶¶ 2-3. As the Ninth Circuit has stated, “the ‘status quo’ refers to

                                       3   the legally relevant relationship between the parties before the controversy arose.” Ariz. Dream Act

                                       4   Coal. v. Brewer, 757 F.3d 1053, 1061 (9th Cir. 2014). If the government issues a new policy that

                                       5   is challenged, the status quo is the situation before the issuance of the policy. Id.; see also Doe #1

                                       6   v. Trump, 957 F.3d 1050, 1068 (9th Cir. 2020) (holding a challenged presidential proclamation

                                       7   changed the status quo); Doe v. Samuel Merritt Univ., 921 F. Supp. 2d 958, 963 (N.D. Cal. 2013)

                                       8   (holding, where a student challenged her disenrollment from a university, the status quo would be

                                       9   the “last uncontested status,” which was the student’s status as enrolled). Defendants contend that

                                      10   the “status quo” should not be set to before the Executive Order and, even if it was, argue “that it

                                      11   would be an abuse of discretion to issue an injunction requiring a virtual Executive Branch wide

                                      12   effort to restore the world as it existed” before February 11, 2025. PI Opp’n at 24.
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                                      13          The Court holds that Ninth Circuit authority squarely supports the conclusion that the status

                                      14   quo in this case, for purposes of an injunction, is the situation prior to the February 11, 2025 issuance

                                      15   of the challenged Executive Order 14210. However, the Court’s ability to impose retrospective

                                      16   relief is limited by practical considerations.

                                      17                  The Court therefore ORDERS that federal agency defendants
                                                          (1) rescind any RIFs issued pursuant to Executive Order 14210 and
                                      18                  (2) transfer any federal employees who were moved into
                                                          administrative leave status to effectuate Executive Order 14210 back
                                      19                  to the status they held prior to being placed on such leave; but the
                                                          Court STAYS these two components of retrospective relief for the
                                      20                  duration of any appeal of this injunctive order.
                                           Plaintiffs may later ask for reconsideration of the stay with a specific showing of harm.
                                      21
                                                  At the preliminary injunction hearing, defendants requested a stay of all injunctive relief, but
                                      22
                                           the Court denies that request.
                                      23
                                                                                            ***
                                      24
                                                  In summary, the Court largely continues the prospective relief issued in its temporary
                                      25
                                           restraining order, with some refinement. The Court also imposes limited retrospective relief, but
                                      26
                                           stays the retrospective relief pending appeal.
                                      27
                                                  Holding that the President, OMB, OPM, and DOGE have exceeded their authority naturally
                                      28

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                                       1   raises the question of precisely where the line should be drawn between executive and legislative

                                       2   authority over agency reorganization. But as Chief Justice Roberts once wrote, in certain cases

                                       3   “[w]e have no need to fix a line . . . . It is enough for today that wherever that line may be, this

                                       4   [action] is surely beyond it.” See Nat’l Fed’n of Indep. Bus., 567 U.S. at 585.

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                                       6   VI.     Rule 65(c) Security

                                       7           Rule 65(c) of the Federal Rules of Civil Procedure provides that a district court “may issue

                                       8   a preliminary injunction or a temporary restraining order only if the movant gives security in an

                                       9   amount that the court considers proper to pay the costs and damages sustained by any party found

                                      10   to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). The district court retains

                                      11   discretion “as to the amount of security required, if any.” Johnson v. Couturier, 572 F.3d 1067,

                                      12   1086 (9th Cir. 2009) (internal quotation marks and citations omitted).
    Northern District of California
     United States District Court




                                      13           The government has requested that the Court require plaintiffs give security in an amount

                                      14   “commensurate to the salaries and benefits the government must pay for any employees it would

                                      15   prefer to separate from federal service but is unable to for the duration of any preliminary relief.”

                                      16   TRO Opp’n at 50; see also PI Opp’n at 25 (incorporating by reference defendants’ arguments from

                                      17   its TRO opposition). The Court notes, first, that defendants have not provided support for security

                                      18   in any fixed amount, and the Court cannot establish such an amount without the ARRPs or some

                                      19   other evidence showing the anticipated financial impact. Second, the Court finds there is significant

                                      20   public interest underlying this action, particularly in light of the constitutional claims raised. See

                                      21   Taylor-Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095, 1102-03 (D. Haw. 2015) (citing Save Our

                                      22   Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1126 (9th Cir. 2005)). Although defendants allege they

                                      23   will incur costs for retaining federal employees that they would prefer to separate, TRO Opp’n at

                                      24   50, so too will the government incur costs if the RIFs are implemented hastily and unlawfully.

                                      25   There is also indication in the record before the Court that agencies may not realize immediate cost-

                                      26   savings for separating employees. This consideration further weighs against the government’s

                                      27   request that plaintiffs be required to give security. At this time, the Court will require that plaintiffs

                                      28   post a nominal bond of $10 in total (not per plaintiff) by no later than Friday, May 30, 2025.

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                                       1

                                       2                                            CONCLUSION

                                       3          The Court reiterates the conclusion from its temporary restraining order. The President has

                                       4   the authority to seek changes to executive branch agencies, but he must do so in lawful ways and,

                                       5   in the case of large-scale reorganizations, with the cooperation of the legislative branch. Many

                                       6   presidents have sought this cooperation before; many iterations of Congress have provided it.

                                       7   Nothing prevents the President from requesting this cooperation—as he did in his prior term of

                                       8   office. Indeed, the Court holds the President likely must request Congressional cooperation to order

                                       9   the changes he seeks, and thus issues a preliminary injunction to pause large-scale reductions in

                                      10   force and reorganizations in the meantime.

                                      11

                                      12          IT IS SO ORDERED.
    Northern District of California
     United States District Court




                                      13   Dated: May 22, 2025

                                      14                                                   ______________________________________
                                                                                           SUSAN ILLSTON
                                      15                                                   United States District Judge
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